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 1   MICHAEL DARDEN
     1801 Shore Line Drive
 2
     Apartment 307
     Alameda. CA 94501
 3   917-868-8780
     mad2255@tc.columbia.edu
     Self-Represented Plaintiff                                   JAI'i 2 8 2025
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                                                                                               /O
 5                                                         CLERK. U.S, DISTRICT COURT           I
                                                         northern district of CALIFORNIA
 6


 7



                                  IN THE UNITED STATES DISTRICT COURT
                                                                                        PART 1 of 2
 9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                         OAKLAND DIVISION

11

                                                   )   Case No?
12   MICHAEL DARDEN,                               )
                                                   )   DISABILITY PAYMENTS RELIEF
                             Plaintiff.
13
                                                   )
                                                   )   COMPLAINT (ERISA)
14          V.
                                                   )
                                                   )
15
     ANTHEM BLUE CROSS LIFE AND HEALTH )
16
     INSURANCE COMPANY (Long-Term Disability)
17
     (LTD) Plan)/ELEVANCE HEALTH, a Georgia j
                                                   )
18   corporation,                                  )
                                                   )
19                           Defendant.            )
                                                   )
20
                                                   )
                                                   )
21
                                                   )
                                                   )
22
                                                   )
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28



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 1                                             JURISDICTION

 2


 3   1.    Plaintiff brings this action for monetary relief pursuant to Employee Retirement Income Security
 4         Act of 1974 (ERISA) § 502 (a) (1) (B), 29 United States Code (U.S.C.) § 1132 (a) (1). This
 5         Court has subject matter jurisdiction over Plaintiffs claims pursuant to ERISA §§ 502 (e) and
 6         (f), 29 U.S.C. §§1132 (e) and (f), and 28 U.S.C. § 1331.
 7




 9                                                  VENUE

10   2.    Venue lies in the Northern District of California pursuant to ERISA § 502 (e) (2), 29 U.S.C. §
11         1132 (e) (2), because the Defendant Anthem Blue Cross Life and Health Insurance Company
12         (Long-Term Disability (LTD) Plan)/Elevance Health (Anthem Elevance LTD)’s Long-Term
13         Disability Plan is administered in this District, the improper claim denial and breaches alleged
14         took place in this District, and Defendants may be found in this District.
15


16                                    INTRADISTRICT ASSIGNMENT

17   3.    This lawsuit should get assigned to the Court’s Oakland Division because a substantial portion of
18         events or omissions which give rise to this lawsuit occurred in Alameda County.
19


20                                                 PARTIES

21   4.    At all relevant times, Plaintiff Michael A. Darden has been a participant of Anthem Elevance’s
22         LTD Plan, as defined by ERISA § 3 (7), 29 U.S.C. § 1002 (7). Mr. Darden resides in Alameda,
23         California.

24


25   5.    Defendant Anthem Elevance’s LTD Plan is an employee welfare benefit plan as defined by the
26         Employee Retirement Income Security Act of 1974 (“ERISA”) § 3 (3), 29 U.S.C. § 1002 (3). At
27         all relevant times, Anthem Elevance’s LTD Plan provided disability benefits (i.e., monthly
28         payments) to “Plan Sponsor,” Nuro, Inc.’s employees, including Mr. Darden, a former Nuro

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 1            employee. (Exhibit la, Anthem LTD Plan’s Insurance Certificate (Certificate) atpp. 13-76‘.)
 2            Nuro is a California Corporation.
 3


 4      6.    Defendant Anthem Elevance’s LTD Plan is the Plan Administrator within the meaning of ERISA

 5            § 3 (16) (A), 29 U.S.C. § 1002 (16) (A). {And see Exhibit la, Certificate at pp. 21, 25, 29, 30-
 6            32, 66-68.)
 7



        7.    Defendant Anthem Elevance LTD is a Georgia Corporation. Anthem Elevance LTD is a
 9             fiduciary” of Anthem Elevance’s LTD Plan within the meaning of ERISA § 3 (21), 29 U.S.C. §
10            1002 (21), in that it exercises authority or control respecting management or disposition of the
11            Plan’s assets, it exercises discretionary authority or discretionary control respecting management
12            of the Plan, and/or it has discretionary authority or discretionary responsibility in the
13            administration of the Plan. {And see Exhibit la. Certificate at pp. 21,25, 29, 30-32, 66-68.)
14


15


16                                                       FACTS

17      8.    Michael Darden was aNuro employee in 2020 and 2021. (Exhibit lb, Job Offer Letter;
18            Exhibit 2, Disability Leave Approval (Kenneth Keough, Psychotherapist).)
19


20      9.    Around or on April 15, 2021, Psychotherapist Kenneth Keough signed Mr. Darden out of work
21            at Nuro on Psychological Disability Leave, and Mr. Darden received biweekly Short-Term
22            Disability (STD) Payments from California between approximately April 2021-July 2021.
23            (Exhibit 2, Disability Leave Approval; Exhibit 3, Emanuel Vergis and John Gillian Doctor’s
24            Certifications, California Disability Payments; Exhibit 4, California’s STD-Disability Payments
25            Account.)
26


27
     1 Throughout, except for caselaw precedent page-number citations, page number (including respective.
28   Exhibit page number) citations are to this “Complaint” document’s own (and no other document’s)
     upper-riehthand page numbers (e.g., “p. 16” refers to this “Complaint” document’s own “p. 16.”).
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 1


 2   10. Around April 2021, Plaintiff Mr. Darden applied for and received through Plaintiff Darden’s
 3      employer Nuro’s insurer Anthem Elevance, Short-Term Disability, monthly STD Payments
 4      between approximately April 2021 -July 2021. (Exhibit 5, Anthem Short-Term Disability
 5      Correspondence.)
 6


 7   11. Michael Darden applied for and received from his employer Nuro’s insurer Anthem LTD,

        monthly Long-Term Disability (LTD) payments for his psychological disability, from
 9      approximately July 2021-July 2023, per the December 20, 2021, Disability Claim “Approved
10      Letter that Anthem emailed to Darden. (Exhibit 6, Anthem Psychological, LTD-Claim

11      Application and Approval Correspondence.)
12


13   12. Michael Darden in or around September 2022, again applied to, but instead not until July 2023
14      (approximately eleven (11) months, or about 300 davs^ later) received a rejection from, his
15      former employer Nuro’s insurer, Anthem LTD: Although Mr. Darden then applied to Anthem in
16      order to receive monthly payment from Anthem LTD for his physical or medical disability
17      claim, Anthem declined that claim application. (Exhibit la, Certificate at pp. 38, 66-68
18      (“ERISA Information [-] The following statement is required by federal law and regulation;...
19      ERISA was signed into law to provide additional protection of your rights under this plan.. .A
20      decision for a disability claim will be made by Anthem Blue Cross Life and Health within
21      45 days of the date the claim is filed. Under special circumstances, this decision may take up to
22      another 60 days. You will be notified and the reason for the delay will be explained to you.
23      (emphasis added).); Exhibit 7, Anthem Physical or Medical LTD-Claim Application, Denial and
24      Appeal Correspondence.)
25


26   13. Defendant Anthem Elevance’s decision to deny Plaintiff Michael Darden’s physical-disability

        claim application was “imprope[r],” “arbitrary and capricious” and an         abuse of discretion.
                                                                                m u

27


28      given that Anthem is an administrator or (as previously mentioned) a ‘“fiduciary”’ concerning
                                  DARDEN V. ANTHEM ELEVANCE LTD'
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 1          Plaintiff’s employer Nuro’s Disability Insurance Plan. (Exhibit 7; Miller v. Metropolitan Life
 2          Ins. Co. (1991) 925 F.2d 979, 984 {Miller) (“[A]n ERISA benefit plan administrator’s decisions
 3          on eligibility for benefits are not arbitrary and capricious if they are ‘rational in light of the
 4          plan’s provisions.’”); Metropolitan Life Ins. Co. v. Glenn (2008) 128 S.Ct. 2343,2347-2348,
 5          2360 {Metropolitan Life Ins. Co.) (“If ‘a benefit plan gives discretion to an administrator or
 6          fiduciary^ who is operating under a conflict of interest [i.e.. Defendant disability-insurance
 7          administrator had ‘“authori[ty] both to decide whether an employee is eligible for benefits and to

            pay those benefits’”], that conflict must be weighed as a ‘factor in determining whether there is
 9          an abuse of discretion.     (italics in original); (dissent dicta. Justices Scalia and Thomas)
10            [UJnreasonableness alone suffices to establish an abuse of discretion... A reasonable decision is
11          one over which reasonable minds seeking the ‘best’ or ‘right’ answer could disagree. It is a
12          course that a [Plan administrator] acting in the best interest of the beneficiary might have
13          chosen.” (italics in original)); Vest v. Nissan Supplemental Executive Retirement Plan //No.
14          3:19-cv-01021 (M.D. Tenn. August 29, 2022) (unpublished) {Vest 2022) (Concerning a
15          Defendant-employer’s “ERISA [retirement] plan,” but analogously in the instant case: “[In its
16          Benefit Plan, Defendant] cannot simply conjure up a ground for [Claim denial] not included in
17          the Plan [Documentation]...Had Defendants wanted to include [a] purported requirement as
18          grounds for [Claim denial], Defendants could and should have included such a requirement.
19          They did not...Thus, [Defendants’ decision to deny Plaintiff’s claim to receive Plan benefits]
20          was incorrect....”); Vestv. Nissan Supplemental Executive Retirement Plan //No. 3:I9-cv-01021
21          (M.D. Tenn. December 28, 2020) (unpublished) {Vest 2020) (Concerning as well the earlier
22          indicated Defendant-employer’s “ERISA [retirement] Plan,” but analogously in the instant case
23          too: “...Defendants simply were not following their Claims Procedure, but rather were injecting
24          unwarranted steps [or, as here, apparently given internal, Anthem dysfunction (briefly described
25


26
     2 ERISA § 404 (a), 29 U.S.C. § 1104 (a), requires that a fiduciary discharge his or her duties with
27
     respect to a [Benefit] plan solely in the interest of the participants and beneficiaries and for the exclusive
     purpose of providing benefits to participants and their beneficiaries and defraying reasonable expenses
28   of administering the Plan.

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 1    later below and demonstrated in Exhibit 7 at pp. 218-638, 718-815), ‘injecting’ multiple (at least
 2    three (3)) review processes] into the procedure that served to delay [Defendants’ Claim
 3    Procedure’s] completion. In particular,... Defendants [as here] apparently ignored the time
 4    frames set out [or here too, that ERISA ‘required’ as ‘more beneficial to [Plaintiff]’] in
 5    [Defendant’s] own Claims Procedure..., which states that ‘[a claim review decision] shall be
 6    made no later than 60 days after [Defendants receive a claim review request]...From the Plan
 7    language, there is no indication that this time period may or should be stayed or otherwise

      postponed....”); Black & Decker Disability Plan v. Nord (2003) 538 U.S. 822, 825, 833-834
 9    {Black & Decker Disability Plan) (Although “plan administrators are not obliged to accord
10    special deference to the opinions of [a Plaintiff’s] treating physicians...‘[T]he validity of a claim
11    to benefits under an ERISA plan,’ on the other hand, ‘is likely to turn,’ in large part, ‘on the
12    interpretation of terms in the plan at issue’... [While it] is the [United States] Secretary of
13    Labor’s view that ERISA is best served by ‘preserv[ing] the greatest flexibility possible
14    for...prudent administration of a plan’... Plan administrators, of course, may not arbitrarily
15    refuse to credit a claimant’s reliable evidence, including the opinions of a treating physician.”);
16    Certificate at pp. 21, 38, 66-68.) Indeed, Defendants’ hired physician-consultants based
17    Anthem’s Darden, Physical-Claim Denial decision upon several incorrect conclusions. {Ibid.
18    (Exhibit 7 at pp. 588-613 (Dr. Patricia Maska, 12/9/2022 and 2/9/2023 Notes); pp. 621-625, 626-
19    630, 632-638 (Anthem 7/27/23, Physical-Claim Denial Correspondence)); pp. 850-878 (Anthem
20    9/7/23, Physical-Claim, Appeal Denial Correspondence)).) One conclusion occurred
21     purported[ly]” because Darden apparently received negative (favorable) or “normal” results on
22    machine tests regarding his nevertheless ongoing or “constant,” vestibular migraine symptoms
23    (i.e., dizziness, typically ranging from 6/10 - 8/10 in “Severity”). {Ibid. (Exhibit 7 at pp. 328-
24    339 (Dr. Jeffrey Sharon, 1/31/23 Notes)).) Another conclusion occurred because Plaintiffs
25    physician Dr. Maska, a neurologist, appeared to observe some improvement of Plaintiff Darden’s
26    mentioned symptoms when Plaintiff had (in February 2023) begun to take Topamax
27    (Topiramate) medication, a treatment which (during Defendant Anthem’s Physicians’
28    approximately July 2023 and also September 2023 so-called “review[s]”) Defendant Anthem’s

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 1          physicians in addition failed to inquire further about and confirm if said purported outcome was
 2          still true for, or if Topamax was even tolerable by, Darden: Indeed, Plaintiff Darden, as of April
 3          2024, no longer takes Topamax, given that his migraine symptoms ultimately did not
 4          consistently improve or remain at a better and acceptable level while he took that medication,
 5          and Plaintiff Darden also ultimately claimed he could not tolerate Topamax’s “Common” side
 6          effects-   Confusion,” “Impaired cognition,” “Memory impairment.” {Ibid. \ Exhibit 8 at pp.
 7          978-994 (Dr. Mai, 04/2024 Notes).)^ Meanwhile, Defendant Anthem’s hired physician-
            consultants used the discussed conclusions to decide “incorrect[ly]” that Plaintiff Michael

            Darden therefore did not provide Anthem’s physicians sufficient “evidence” to support
10          Plaintiffs claim that his vestibular migraines made him physically disabled, and also Darden did
11          not provide Anthem’s physicians sufficient “evidence” to support his claim that consequently
12          Plaintiff Darden “could not” under any conditions “work full-time.” {Ibid.) This is despite that
13          fact that, as Darden had informed Defendant Anthem, both the United States’ and California’s
14          governments respectively have declared Plaintiff Michael Darden permanently psychologically
15          (i.e., “mentalfly]”) and physically disabled. {Ibid. (Exhibit 7 at pp. 533-568, 680-686 California
16          Disability Determination - Michael Darden; pp. 221-242, 573-584, US (Dept, of Education)
17          Disability Determination - M. Darden; pp. 917-920, US (Social Security Disability Insurance
18          (SSDI)) Disability Determination ~ M. Darden.; Ball v. Blue Cross and Blue Shield Association
19          Nov. 4:06-cv-2. (W.D. Mich. January 23, 2007) (unpublished) {Ball) (While “a determination
20          that a claimant is disabled under the Social Security regulations [i.e., SSDI] does not require an
21          ERISA plan administrator to reach the same conclusion... [Courts will determine if there is] a
22          reasonable basis for [a Defendant, Disability-Benefits Plan Administrator’s] denial of [a
23          Plaintiffs] claim for benefits.”); Exhibit la. Certificate at pp. 21, 25, 29, 30-32, 38, 66-68
24          (“Coverage Provisions...Definition of Disability and Disabled for Long Term Disability [-]
25          You will be considered disabled if You meet the definition of Total Disability... included below:

26


27
     3 During February 2023-October 2023 (an estimated eieht (8)-month period), due to financial and other
     difficulties, as Plaintiff Michael Darden alerted Anthem staff and Plaintiff Darden’s providers, Darden
28   was unable to afford health insurance or medicines such as Topamax and therefore was unable to
     consistently take these medications then. {Ibid.; Exhibit 7 at pp. 621-638, 719-815; Exhibit 8.)
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 1      Total Disability means that:... following the first 24 months of disability benefits, as a result of
 2      Illness or Injury, You are not able to engage with reasonable continuity in any occupation in
 3      which You could reasonably be expected to perform satisfactorily in light of Your age,
 4      education, training, experience, station in life, and physical and mental capacity.” (boldface in
 5      original; italics added).)
 6


 7
     14. Importantly, Plaintiffs physicians and providers (Sharon, Maska, Vergis, Centore) also
        performed personal or physical (non-machine) tests regarding Plaintiff Michael Darden’s
 9      vestibular migraine symptoms. (Exhibit 7 at pp. 328-339, 589-613, 569-584.) Based upon those
10      test results. Plaintiff Darden’s physicians and providers diagnosed him with a chronic,
             intractable,” vestibular migraine condition, a fact which Defendant Anthem’s hired physician-
        u
11


12      consultants ignored but which nevertheless “reasonably” and in fact “‘rationally]”’ supports
13      Darden’s claim that Michael Darden’s chronic, vestibular migraine condition made him

14      physically disabled and not able to work. {Ibid; Exhibit 7 at pp. 38, 621-638, 825-826, 852-
15      880; Ball Nov. 4:Q6-cv-2.; Miller 925 F.2d 984; Metropolitan Life Ins. Co. 128 S.Ct. 2347-2348,
16      2360; Black & Decker Disability Plan 538 U.S. 825, 833-834.)
17


18   15. Instead, to reiterate, the Anthem Defendants prohibitively “conjure[d] up” undocumented Plan
19      terms—e.g., “sedentary occupation” (i.e., “.. .clinical information does not indicate that you [Mr.
20      Darden] could not do a sedentary occupation”)—to attempt to make Defendant’s otherwise
             arbitrar[y]” denial of Plaintiff s “reasonable,” physical disability claim appear ‘“rational.
        li
21


22               No. 3:19-cv-01021 2022; Exhibit 7 at pp. 38,218-638, 632-634; Black & Decker
23      Disability Plan 538 U.S. 825, 833-834; Metropolitan Life Ins. Co. 128 S.Ct. 2347-2348, (dissent)
24      236^; Miller 925 F.2d 9.)
25


26   16. And, to reiterate too, the Anthem Defendants prohibitively “conJure[d] up” additional,
27      undocumented Plan terms—e.g.. Beneficiaries will receive a disability-claim decision response
28      apparently in about 300 days, when compared with “ERISA[’s]...re quired...within 45 days of
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 1          the date the claim is filed” deadline (“[u]nder special circumstances,.. .another 60 days
 2          deadline)—therefore, note these further “arbitrar[y],” Plan term “conjur[ings]” that are neither
                reasonable” nor ‘“rational’” (indeed, the facts Plaintiff Michael Darden alleges here
            u
 3


 4          demonstrate “Defendan[t] simply [was] not following their [Plan’s] Claims Procedure [and]
 5          ignored the time frames set out [which ERISA ‘required’ as ‘more beneficial to [Plaintiff]’] in
 6          [Defendant’s] own Claims Procedure...”), yet as the previous discussion indicates: “Had
 7          Defendants wanted to include [the discussed, ‘conjure[d] up’ terms in their Anthem, Disability

            Insurance Plan], Defendants could and should have included such [terms]. They did not...Thus,
 9          [Defendant’s decision to deny Plaintiffs claim to receive Disability Plan benefits] was
10          incorrect....” and even “impruden[t].” (Vesl No. 3:i9-cv-QlQ21 2022; Exhibit 7 at pp. 38, 66-
11          68, 218-638, 632-634, 718-815; Black & Decker Disability Plan 538 U.S. 825, 833-834;
12          Metropolitan Life Ins. Co. 128 S.Ct. 2347-2348, (dissent) 2360; Miller 925 F.2d 9; Vest No.
13          3:19-cv-01021 2020; 29 Code of Federal Regulations (C.F.R.) § 2560.503-1 (a)-(b), (h)-(i), (/),
14          (P) (4) (ii)-)
15


16      17. Consequently, 29 C.F.R. § 2560.503-1 (/) deems that given the previously alleged facts, Plaintiff
17          Michael Darden has exhausted Plaintiff Darden’s administrative remedies in this case. {Ibid.)

18


19       18. And also given the previously alleged facts, Darden Requests that this Court to Award to
20          Plaintiff from Defendant Anthem Elevance LTD both “prejudgment interest” (“measured ‘from
21          the date that [Plaintiff] was entitled to have [his] benefits paid to the date of the Court’s
22          judgment’”)'^ and “postjudgment interest” (“measured ‘from the date of the Court’s judgment to
23          the date that the benefits are paid.’”) {Ibid.\ {Vest No. 3:i9-cv-0102l 2022 (“Awarding
24          prejudgment interest in this matter would incentivize Defendan[t] to conduct themselves in a
25          manner that accords with the procedures set forth in the Plan for evaluating one’s eligibility for
26


27
     ^ According to Anthem Elevance’s LTD Plan, for Plaintiff Michael Darden’s permanent physical
     disability. Plaintiff Darden is due monthly benefits payments from the Plan until July 2033, the year in
28   which Darden would be “67 years [old].” (Exhibit 7 at pp. 21-24.)

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 1      benefits”; “[Federal] district courts are required to award postjudgment interest...on ‘all money
 2      judgments,’ including those in ERISA cases.”)
 3


 4


 5                                        CLAIM FOR RELIEF

 6       [Claim for Benefits Pursuant to ERISA § 502 (a) (1) (B), 29 U.S.C. § 1132 (a) (1) (B)
 7                             Against Defendant Anthem Elevance LTD]


 9   19. Plaintiff Michael Darden incorporates Paragraphs 1 through 18 fully here.
10


11   20. ERISA § 502 (a) (I) (B), 29 U.S.C. § 1132 (a) (1) (B), permits Plaintiff Darden, a plan
12      beneficiary, to bring a civil action to recover benefits due to him under the terms of a plan, to
13      enforce his rights under the terms of a plan, or to clarify his rights to future benefits under the
14      terms of apian.
15


16   21. Per the prior discussion, because Plaintiff Michael Darden in his mentioned 2022 Application to
17      Defendant Anthem LTD timely presented Anthem LTD with a claim that he suffered from said
18      physical disability which reasonably prevented him from engaging in full-time or any
19      employment, but Defendant Anthem, in addition to failing to follow Anthem’s Disability
20      Insurance Plan’s own claim decision Procedures, arbitrarily and capriciously, and therefore
21      unreasonably, denied Darden’s physical benefits claim. Plaintiff Darden has entitlement to a
22      monthly, disability benefit payment under the terms of Anthem Elevance LTD’s Disability
23      Insurance Plan.

24


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28



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 1


 2                                           PRAYER FOR RELIEF

 3


 4          WHEREFORE, Plaintiff Michael Darden Prays that the Court Grants the following Relief:
 5


 6     A.   Declare that Defendant Anthem Elevance has violated the terms of Anthem’s LTD Plan by

 7          failing to pay Plaintiff Darden a monthly, physical disability benefit under the Plan’s terms;


 9     B.   Order that Anthem Elevance LTD’s Plan pay Darden a monthly benefit for the period from July
10          2023 through the date of judgment herein, plus prejudgment interest thereon and postjudgment
11          interest as specified earlier;
12


13     C.   Declare Mr. Darden’s entitlement to monthly. Plan benefits payments until July 2033 (a total of
14          $576,000.00 approximately);
15


16     D.   Declare that Anthem’s LTD Plan has no entitlement to recoup any overpayment to Plaintiff that

17          the Plan’s Administrator’s described failures have caused.

18


19     E.   Provide such other relief as the Court deems equitable and just.
20


21                                                        Respectfully,
22


     Dated: January 28, 2025                               MICHAEL A. DARDEN
23


24

                                                           By:
25


26
                                                           Self-Represented Plaintiff

27


28



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 1
       EXfflBIT la
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                                                                                                                                   BlueCross




                                                                                                                    Long^ermDisabilit^J[nsiu|ai^



                                                                                                                          A guide to
                                                                                                                        your benefits

                                                     r                                                       You've made a good decision in choosing
                                                                                   Anthem® Blue Cross Life and Health Insurance Company




Plan Sponsor:           NURO INC

Policy:                 281837

Class:                  01

Class Description:      ALL ELIGIBLE EMPLOYEES

Effective Date:         JULY 1, 2018



NOTE: If You are 65 years or older at the time Your Certificate is issued, You may examine your
      certificate and, within 30 days, decide to cancel and request a refund of premiums paid.

                                                                                                                                                    anthem.com/ca
                         Life and DisabiliQ' products underwritten by Anthem Blue Cn»s Life and Health Insurance Company, an independent licensee of the Blue Cross Associahon.
                     *ANTHEM is a re^ter^trademaik of Anthem Insurance Conq»njcs, Inc. The Blue Cross name and symbol are registered mailis of the Blue Cross AssodalioiL
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                                       Benefits Guide
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 Section I. - Your Certificate of Coverage
 Section II. - ERISA Information

 Section III. - Notice of Privacy Practices
 Section IV. - Value Added Services

Note: The Value Added additional services and the Notice of Privacy Practices are not a part of
Your Certificate of Coverage and do not modify your insured benefits.

 The Value Added Services are provided based on negotiated agreements between the insurance
 company and certain service providers. Although the insurance company endeavors to make these
 services available to all policyholders and certificateholders as described below, modifications to Our
 agreements with service providers may require that services be periodically modified or terminated.
 Such modification or termination of services may be made based on cost to the insurer, availability
 of services, or other business reasons at the discretion of the insurer or service providers.


                          1.      Resource Advisor

                         2.       SpecialOffers@Anthem

This Group, on behalf of itself and its participants, hereby expressly acknowledges its understanding this
policy constitutes a contract solely between iis Group and Anthem Blue Cross Life and Health Insurance
Company, which is an independent corporation operating under a license from the Blue Cross and Blue
Shield Association, an association of independent Blue Cross and Blue Shield Plans, (the “Association”)
permitting Anthem Blue Cross Life and Health Insurance Company to use the Blue Cross and/or Blue Shield
Service Mark in California and that Anthem Blue Cross Life and Health Insurance Company is not
contracting as the agent of the Association. This Group further acknowledges and agrees that it has not
entered into this policy based upon representations by any person other than Anthem Blue Cross Life and
Health Insurance Company and that no person, entity, or organization other than Anthem Blue Cross Life and
Health Insurance Company shall be held accountable or liable to this Group for any of Anthem Blue Cross
Life and Health Insurance Company’s obligations to the Group created under this policy. This paragraph shall
not create any additional obligations whatsoever on the part of Anthem Blue Cross Life and Health Insurance
Company other than those obligations created under other provisions of this agreement.




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         ANTHEM BLUE CROSS LIFE AND HEALTH INSURANCE COMPANY

                            DISABILITY INCOME INSURANCE

                          REQUIRED DISCLOSURE STATEMENT


The following oara^aph is included in the disclosure if the plan has a pre-existin2
condition exclusion.
This policy contains a pre-existing condition exclusion. A pre-existing condition is a
condition for which medical advice was given, treatment was recommended by or
received from a physician within the number of months specified in Your booklet prior to
Your becoming insured under this Policy. Please see the Exclusions section for
important details.

This Policy does not pay benefits for any disability which is related to any of the
following, or for any of the following specified periods: (1) an act of war, declared or
imdeclared, whether civil or international; (2) service in the armed forces, military
reserves or National Guard of any country or international authority, or in a civilian unit
serving with such forces; (3) any attempt at suicide or intentionally self-inflicted injury,
while sane or insane; (4) active participation in a riot, insurrection, or terrorist activity;
(5) committing or attempting to commit a felony; (6) being intoxicated, as defined by the
jurisdiction where the disability or loss occurred; (7) voluntary intake of any drug, unless
prescribed or administered by a physician and taken in accordance with the physician’s
instructions; (8) engaging in an illegal occupation; (9) any illness or injury arising in the
course of any occupation or employment for which you receive benefits under any
Workers’ Compensation Act or similar law, if applicable; (10) any period You are not
under the regular care of a physician, or You or Your physician unreasonably fail to
provide Proof of continuing Disability, or any medical or any psychiatric records which
We request; (11) for a mental disorder, any period during which You are not under the
continuing regular care of an appropriate specialist in psychiatric care; with respect to
alcoholism and drug addiction, any period during which You are not being actively
supervised by and receiving continuing treatment from a rehabilitation center or a
designated institution approved for such treatment by an appropriate body in the
governing jurisdiction, or, if none, by Us; (12) You have applied for benefits under
fraudulent circumstances and these circumstances resulted in a conviction of fraud;
(13) You unreasonably fail to submit to an independent medical exam requested by Us;
and (14) cosmetic or reconstructive surgery, except for complications arising from such
surgery, or surgery necessary to correct a deformity caused by illness or accidental injury.

The following varasraph is included in the disclosure ifthe plan has a limitation for mental
illness, alcoholism, or drus addiction.
This Policy limits benefit payments for mental illness, alcoholism and drug addiction to
24 months.




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The following parap'aph is included in the disclosure if the plan states the benefit is
reduced bv certain deductible sources of income.
This Policy reduces by any of the following deductible sources of income: (1) the
amount You receive or are eligible to receive under a workers compensation law,
occupational disease law, or any other act or law with similar intent; (2) the amoimt You
receive or are eligible to receive as disability income payments under any state
compulsory benefit act or law, governmental retirement system as a result of Your
employment with the Plan Sponsor, Veteran’s Administration or other foreign or
domestic governmental agency, automobile liability insurance policy, individual
disability income plan which is wholly or partially paid for by the Plan Sponsor, other
group insurance plan, or any plan or arrangement of disability coverage, whether insured
or not, resulting from Your employment or association with the Plan Sponsor or any
employer, or resulting from Your membership in or association with any group,
association, union or other organization; (3a) the amount that You, Your spouse and
children receive, or are eligible to receive as disability payments because of Your
disability under the United States Social Security Act, the Canada Pension Plan, the
Quebec Pension plan, or any similar plan or act; (3b) the amount that You receive, or are
eligible to receive, as retirement payments, or the amount Your spouse and children
receive as retirement payments because You are receiving retirement payments under the
United States Social Security Act, the Canada Pension Plan, the Quebec Pension Plan, or
any similar plan or act; (4) the amount that You receive as disability payments under the
Plan Sponsor’s retirement plan, voluntarily elect to receive as retirement payments under
the Plan Sponsor’s retirement plan, or are eligible to receive as retirement payments when
You reach the later of age 62 or normal retirement age, as defined in the Plan Sponsor’s
retirement plan; (5) the amount You receive as a result of any action brought under Title
46, United States Code Section 688 (The Jones Act); (6) the amount You receive from a
third party (after subtracting attorney’s fees) by judgment, settlement or otherwise;
(7) the amount You receive under the mandatory portion of any “no-fault” motor vehicle
plan; (8) the amount You receive under any salary continuation or accumulated sick leave
plans; (9) commissions, severance allowance, sick pay or any similar employer sponsored
paid time off plan where You receive income from the employer, vacation pay or any
salary continuation plan. Any earnings from any work or employment may be used to
reduce Your monthly benefit payment unless otherwise specified by the terms of the
Policy; (10) any amounts from partnership, proprietorship draws, or similar draws.

The following parasraph is included in the disclosure if the plan has a termination ase.
This Policy terminates benefits at age 65 or Your normal retirement age under the 1983
amendments to the United States Social Security Act. Additional payments may be made
in accordance with the maximum benefit period table found in Your booklet.

The above disclosure statement is a very brief summary of Your Policy.

The Policy itself sets forth the rights and obligations of both You and the insurance
company. It is therefore important that You:

                        READ YOUR POLICY CAREFULLY




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                             COMPLAINT NOTICE

  Should you have any complaints or questions regarding your coverage, and this
certificate was delivered by a broker, you should first contact the broker. You may
                                also contact us at:

             Anthem Blue Cross Life and Health Insurance Company
                                Customer Service
                               21555 Oxnard Street
                            Woodland HiUs, CA 91367
                                  1-818-234-2700


 If the problem is not resolved, you may also contact the California Department of
                                  Insurance at:

                       California Department of Insurance
                        Claims Service Bureau, 11th Floor
                             300 South Spring Street
                          Los Angeles, California 90013
                     1-800-927-HELP (4357) - In California
                        1-213-897-8921 - Out of CaUfornia

             1-800-482-4833 - Telecommunication Device for the Deaf

                   E-mail Inquiry: "Consumer Services” link at
                              www.insurance.ca.gov




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  Section I.            Your Certificate of Coverage


                Long Term Disability Insurance




The Policy contains a Pre-Existing Conditions Exclusion. See the Exclusions section for
important details.


The policy does not replace or affect the requirements for coverage by any Worker’s
Compensation or state disability insurance.




         Anthem Blue Cross Life and Health Insurance Company
                                  21555 Oxnard Street
                              Woodland Hills, CA 91367
                                 Phone: 818-234-2700



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                                     Introduction

Anthem Blue Cross Life and Health Insurance Company certifies that it has issued a
Group Policy insuring certain eligible employees of the Plan Sponsor.

This Certificate describes the benefits provided as of the effective date. For purposes of
effective dates and ending dates under the Policy, all days begin at 12:01 a.m. and end at
12:00 midnight at the Plan Sponsor’s address.

Certain terms of the Group Policy which affect Your insurance are contained in the
following pages. Anthem Blue Cross Life and Health has written this Certificate in plain
English. However, a few terms and provisions are written as required by insurance law.
Anthem Blue Cross Life and Health urges You to read Your Certificate carefully and
keep it in a safe place.

If the terms and provisions of the Certificate (issued to You) are different from the Policy
(issued to the Plan Sponsor), the Policy will govern. Your coverage may be cancelled or
changed in whole or in part under the terms and provisions of the Policy.
The Group Policy was issued in the state of California. Its laws and rules will govern in
resolving any questions about the Group Policy, except to the extent that the Policy may
be governed by the Employee Retirement Income Security Act of 1974, as amended
(ERISA).

While You remain insured, this booklet is Your Certificate of insurance. It replaces any
prior booklet or Certificate given to You for the types of insurance described here. It is
void and of no effect if You are not entitled to or have ceased to be entitled to the
insurance coverage. Many of the provisions of this Certificate are interrelated, and You
should read the entire Certificate to get a full understanding of Your coverage. This
Certificate also contains exclusions, so please be sure to read this Certificate carefully.

               Anthem Blue Cross Life and Health Insurance Company
                                   21555 Oxnard Street
                               Woodland HiUs, CA 91367




                                      J. Brian Ternan
                                     President and CEO


Fraud: Any person who knowingly presents a false or fraudulent claim for payment
of a loss is guilty of a crime and may be subject to fines and confinement in state
prison.




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                                  Schedule of Benefits

About this Schedule

This Schedule of Benefits shows highlights of the coverage available under the Group
Policy. Final interpretation of all provisions and coverages will be governed by the
Group Policy on file with Anthem Blue Cross Life and Health Insurance Company at its
Administrative Office.


Your amount of insurance is determined by this schedule.

Your Long Term DisabiUty Benefits help to protect You fi’om loss of income due to a
Disability as defined under the Policy. Your Long Term Disability Benefits are subject
to any limitations, maximums, exclusions and reductions under the Policy, including any
reductions by Your Deductible Sources of Income. Refer to the Long Term Disability
Insurance Benefits section for details about how Your Monthly Benefit Payment is
calculated.



Loag Term Disability Benefit

 Benefit Percentage:                            60%



 Maximum Monthly Benefit:                  $8,000


Proof of Insurability is required for any amount for which application is received more
than 31 days after the employee is initially eligible to purchase the insurance.


Minimum Monthly Benefit:
 At no time will Your Monthly Benefit Payment be less than $100 per month or 10% of
 the Gross Monthly Benefit amount, whichever is greater unless otherwise provided under
 the terms and conditions of the Policy.

Elimination Period:            The longer of:

               ●   90 days; or
               ●   until the expiration of any Employer sponsored short term disability
                   benefits.




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Maximum Benefit Period: If you are eligible for Long Term Disability Benefits under
the Policy, We will send You a Monthly Benefit Payment each month up to the
Maximum Benefit Period. Your Maximum Benefit Period is based on Your age at
Disability as follows:
 Social Security Normal Retirement Age duration (SSNRA)
 For a disability which begins before You reach age 60, the Maximum Benefit Period will be until
 the Social Security Normal Retirement Age (SSNRA) as shown in the following table:

  Year of Birth                                     *SQcial Security Normal Retirement Aue
  Before 1938                                       65 years
  1938                                              65 years and 2 months
  1939                                              65 years and 4 months
  1940                                              65 years and 6 months
  1941                                              65 years and 8 months
  1942                                              65 years and 10 months
  1943-1954                                         66 years
  1955                                              66 years and 2 months
  1956                                              66 years and 4 months
  1957                                                66 years and 6 months
  1958                                                66 years and 8 months
   1959                                               66 years and 10 months
   1960 and after                                     67 years
 * Age at which you are entitted to unreduced Social Security benefits based on the Social Security Amendments of
 1983.


 For a disability which starts on or after You reach age 60, the Maximum Benefit Period will be
 determined according to the following table:

  Your Age When Disability Begins                    Maximum Benefit Period

  Less than age 60                                   To Social Security Normal Retirement Age (SSNRA)*
  Age 60                                             60 months or to SSNRA*, whichever is greater
  Age 61                                             48 months or to SSNRA*, whichever is greater
  Age 62                                             42 months or to SSNRA*, whichever is greater
  Age 63                                             36 months or to SSNRA*, whichever is greater
  Age 64                                             30 months or to SSNRA*, whichever is greater
  Age 65                                             24 months
  Age 66                                             21 months

  Age 67                                              18 months
  Age 68                                              15 months
  Age 69 and over                                     12 months




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Premium Contributions:



Your coverage is Non-Contributory. This means Your Employer pays all of Your premium for
Your Long Term Disability coverage.




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Additional Benefits:

Additional Benefit for Survivor (Lump Sum)
Additional Benefit for Vocational Rehabilitation with Additional Benefit for
Work Incentive

Additional Benefit for Social Security Assistance
Additional Benefit for Workplace Modification Program
Additional Benefit for Work Retention Assistance

Specific information regarding the Policy and its terms may be obtained fi’om the Plan
Sponsor. The provisions, terms and conditions listed in any Policy document, including
but not limited to this Certificate may be modified, amended, or changed at any time.
Consent fi’om any Insured or beneficiary is not required for such modification,
amendment, or change.




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                                        Definitions

Below, the definitions of the Policy are discussed. Where these terms are used in
this Certificate, unless specified otherwise, they have the meaning explained here.

Accident or Accidental means accidental bodily Injury for which the primary cause is
not a disease, Illness, or bodily infirmity.

Act or Law means the original enactments of the Act or Law, and all amendments.

Actively at Work means that You are performing the normal duties of Your Own
Occupation and working Your normal hours. You must be working the minimum
number of hours per week required for the Plan Sponsor on a permanent full-time basis
and must be paid regular earnings.

Your work site must be:

          ●   at the Plan Sponsor’s usual place of business; or
          ●   at a location to which the Plan Sponsor’s business requires You to travel.

You are not considered Actively at Work when You are off work or lose time due to
Illness, Injury, Leave of Absence, Strike or Layoff. Paid days off will count as Actively
at Work if You were fully capable of performing the normal duties of Your Own
Occupation during the paid days off, provided that You were Actively at Work on the last
working day prior to the paid days off.

Additional Benefit or Additional Provision means an addendum to the Policy which
increases or limits coverage for a specified set of conditions. The provisions, limitations,
and exclusions in the entire Policy will apply unless specifically stated otherwise in the
Additional Benefit or Additional Provision.


 Annual Pre-disability Earnings means Your annual salary fi’om the Plan Sponsor in
 effect immediately prior to Your date of disability. Commissions, bonuses, overtime
 pay, and extra compensation will be excluded when determining Your salary. Annual
 Pre-disability Earnings will be determined according to the Plan Sponsor’s records.

 Your amount of insurance will be calculated based on the lesser of Your Aimual Pre-
 disability Earnings as calculated above or the premium actually received by us.

Certificate means this document which provides a description of the coverage available
under the Policy.

Claimant means a person who has filed a claim for benefits imder the Policy.

Class means a grouping of Insureds based on criteria agreed on between the Plan Sponsor
and Us.



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Contributory means that You pay all or a portion of the premium for the coverage.

Disabled and Disability are defined in the Coverage Provisions section of this
Certificate.


Disability Work Earnings means monthly earnings which You receive while You are
Disabled and working.

Eligible Employee means You meet all of the following:
        ●      You are a regular full-time employee of the Plan Sponsor, working for pay on
               a scheduled normal week of at least 30 hours; and
        ●      You perform that work at the Plan Sponsor’s usual place of business, except
               for duties of a kind that must be done elsewhere, and
        ●      You are in a covered Class named under the Policy; and
        ●      You are a legal citizen or legal resident of the United States or Canada. You
               will become ineligible for insurance if You leave the United States or Canada
               for one hundred eighty (180) or more consecutive days.

Temporary, seasonal, or contract employees are not included as Eligible Employees
under the Policy.

Eligibility Waiting Period means the continuous length of time that You must serve in
an eligible Class to reach Your eligibility date and begin Your coverage. The number of
days for Your Eligibility Waiting Period is determined by the Plan Sponsor.

Elimination Period means the period of continuous Disability which must be satisfied
before You are eligible to receive benefits xmder the Policy. The Elimination Period is
shown in the Schedule of Benefits of this plan and begins on the first day You meet the
Definition of Disability.

 If You do return to work for 45 or less days during the Elimination Period, those days
 will interrupt the Elimination Period. However, the Disability will be treated as
 continuous if it is from the same or a related condition. Only those days during which
 You are Disabled will be used to satisfy the Elimination Period. You must complete
 the full 90 day Elimination Period within a total period of not more than 135
 consecutive days.

Full-Time Basis means the ability to work and earn more than 80% of Your Indexed
Monthly Pre-disability Earnings . Ability is based on capacity and not market
availability.

Gross Monthly Benefit means Your gross Long Term Disability Benefit as calculated
from the Schedule of Benefits, prior to any reductions for Deductible Sources of Income.




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Guaranteed Issue Amount means an amount of insurance for which We do not require
Proof of Insurability.

Hospital or Medical Facility means a facility accredited by JCAHO (Joint Commission
on Accreditation of Health Care Organizations) duly licensed by the state to provide
medical evaluation and treatment of patients under the direction of an active staff of
licensed physicians.

Hospitalization means being an in-patient 24 hours a day.

Illness means a sickness or disease and will include pregnancy. Disability resulting from
the sickness or disease must begin while You are covered under the Policy.

Independent Medical Exam means an examination by a Physician of the appropriate
specialty for Your condition at Our expense. Such examination, scheduled by Us may be
used for the purpose of determining eligibility for insurance or benefits, including
eligibility under the Additional Benefits or Additional Provisions, if any, associated with
the Policy.

Indexed means Your Monthly Pre-disability Earnings adjusted on each anniversary of
Monthly Benefit Payments by the lesser of 7% or the current annual percentage increase
of the Consumer Price Index. Your Indexed Monthly Pre-disability Earnings may
increase or remain the same, but will never decrease.

The Consumer Price Index (CPI-U) is published by the U.S. Department of Labor. We
reserve the irght to use some other similar measurement if the Department of Labor
changes or stops publishing the (CPI-U).

Indexing is only used to determine Your percentage of lost earnings while You are
Disabled and working.

Injury means bodily injury resulting from an Accident, and which produces at the time
of the Accident objective symptoms. The Injury must occur and Disability must begin
while You are insured under the Policy. An Injury that occurs before You are covered
under the Policy will be treated as an Illness for any subsequent claims.

Any Disability which begins more than 60 days after an Injury will be considered an
Illness for the purpose of determining Long Term Disability benefits.

Insured means an individual covered under the Policy.

Leave of Absence means an arrangement where You and the Plan Sponsor agree that
You will not be Actively at Work for a specific period of time and You are expected to be
Actively at Work at the end of that period. If You become Disabled while on a Leave of
Absence, Benefit Payments will be based upon Monthly Pre-disability Earnings as last
reported and premiums paid to Us immediately prior to the beginning of the Leave of
Absence. Refer to When Your Insurance Ends to determine how long Your coverage can
be continued during a Leave of Absence.


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Long Term Disability Benefits are the monthly benefits provided under the terms of the
Policy.

Monthly Benefit Payment means the amount of income replacement payable to You
while You are Disabled, subject to the terms of the Policy, and after any amounts shown
in the Deductible Sources of Income section of the Policy and any Disability Work
Earnings have been subtracted.

Monthly Pre-Disability Earnings means Your Annual Pre-disability Earnings divided
by 12.
Motorized Vehicle means any self-propelled vehicle or conveyance, including but not
limited to automobiles, trucks, motorcycles, ATV’s, snowmobiles, tractors, golf carts,
motorized scooters, lawn mowers, heavy equipment used for excavating, boats, and
personal watercraft. Motorized Vehicle does not include a medically necessary
motorized wheelchair.


Part-Time Basis means the ability to woric and earn between 20% and 80% of Your
Indexed Monthly Pre-disability Earnings. Ability is based on capacity and not market
availability.

Physician means;
           a person licensed to practice medicine in the jurisdiction where such services
           are performed; or
           any other person whose services must be treated as a Physician’s for the
           purposes of the Policy according to applicable law. Each such person must be
           licensed in the jurisdiction where he or she performs the service and must act
           within the scope of that license. He or she must also be certified and/or
           registered if required by such jurisdiction.

Physician does not include:
           You

           Your Spouse
           Anyone employed by the Plan Sponsor, or any business partner of You or the
           Plan Sponsor.
           Any member of Your immediate family, including Your and/or Your
           Spouse’s:
                   Parents;
                   Children (natural, step, or adopted);
                   Siblings;
                   Grandparents;
                   Grandchildren;
                   In-Laws.


Plan Sponsor means the employer who makes the Policy available to you.


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Policy or Group Policy means the policy issued by Us to the Plan Sponsor and described
in this Certificate.


Prior Plan means a group plan providing similar Long Term Disability insurance
benefits carried by the Plan Sponsor on the day before the Policy’s effective date with Us.

Proof means evidence which allows the determination that the terms and provisions of
the Policy have been met Proofmay include but is not limited to: questionnaires,
physical exams, or Written documentation and records as required by Us. Proof must be
received by Us at Our Administrative Office. All Proof must be given at Your expense
(or that of Your representative or beneficiary), unless otherwise specifically provided by
the terms of the Policy. If any additional Proof is reasonably required by Us, an Insured
may be required to give Us authorization to obtain such additional Proof. The following
are some specific types of Proof referenced under the Policy:

Proof of Claim or Proof of Disability means evidence which allows the determination
that a person has satisfied the conditions and requirements for a benefit under the Policy.
The Proof must establish:

        ●   the nature and extent of the loss or condition; and
        ●   our obligation to pay the claim under the Policy; and
        ●   the Claimant’s right to receive payment.

Proof of Insurability means evidence of a person’s health and other information related
to insurability that is used to determine whether the person can become insured, or is
eligible for an increase in coverage.

Recurrent Disability means a Disability which is related or due to the same cause(s) as a
prior Disability for which a benefit was payable.

Regular Care means:
        ●   You are imder the continuing care of and personally visit a Physician as
            required according to standard medical practice, to effectively diagnose,
            manage and treat Your disabling condition(s); and
        ●   You are receiving appropriate treatment and care of Your disabling
            condition(s) which conforms with standard medical practice by a Physician
            whose specialty and clinical experience is ^propriate for Your disabling
            condition(s) according to standard medical practice.

Retirement Plan means a defined contribution plan or defined benefit plan. These are
plans which provide retirement benefits to employees and are not funded entirely by
employee contributions.




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Sign or Signed means use of any symbol or method executed or adopted by a person with
the present intention to authenticate a record. Such authentication may be executed
and/or transmitted by paper or electronic media, provided it is acceptable to Us and
consistent with applicable law.

We, Us, and Our mean the insurer Anthem Blue Cross Life and Health Insurance
Company

Written or Writing means a record which is on or transmitted by paper or electronic
media which is acceptable to Us and consistent with applicable law.

You and Your mean an Eligible Employee.

Other terms are defined elsewhere under the Policy.




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                     When Insurance Begins and Ends
This section tells how You may become insured.

Obtaining Your Insurance

To obtain insurance imder the Policy, You must be an Eligible Employee and be Actively
at Work.


Specific information regarding the Group Policy and its terms may be obtained from the
Plan Sponsor.

If You are an Eligible Employee on the effective date of the Policy, You are eligible for
insurance on that date. Otherwise, You become eligible on the first day of the month
coinciding with or next following the date You satisfy the Eligibility Waiting Period.

If You have been continuously employed by the Plan Sponsor for a period of time equal
to the Eligibility Waiting Period, we will waive the Eligibility Waiting Period when You
enter an eligible Class. We will apply any prior period of woric with the Plan Sponsor
toward the Eligibility Waiting Period to determine the date You are eligible for insurance.

Enrollment


If you contribute to the cost of your Coverage:

You must apply for Your insurance if the coverage is Contributory.

An application for You to become insured must be completed on a form approved for that
puipose by Us. The Plan Sponsor must send the completed application to Us at Our
Administrative Office. If lYoof of Insurability is required for any coverage, the
completed Proof of Insurability statement must be sent to us at our Administrative Office.

If you do not contribute to the cost of your Coverage:

You must enroll for Your insurance if the coverage is not Contributory.

An enrollment form for You to become insured must be completed on a form approved
for that purpose by Us. The Plan Sponsor must send the completed enrollment form to
Us at Our Administrative Office.




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Effective Date of Insurance

This section tells when Your insurance will begin once You have become eligible and are
Actively at Work.

Except as explained in this section, Your insurance will begin on the first day of the
Policy month coinciding with or next following the date You become eligible for such
insurance.


The Plan Sponsor may require You to contribute toward the cost of Your insurance. Any
such Contributory insurance will not become effective for You before You Sign a form
agreeing to make those contributions. The form may be obtained from the Plan Sponsor.
If You Sign the form more than 31 days after You became eligible, Your Contributory
insurance will be deferred until the date We approve Your Written Proof of Insurability.

If Your coverage is not Contributory, Your insurance begins on the first day You are
Actively at Work following the date that You become an Eligible Employee and have
satisfied the Eligibility Waiting Period. An application to become insured must be
completed on a form approved for that purpose by Us. The Plan Sponsor must send Your
completed enrollment to Us at our Administrative Office unless We and the Plan Sponsor
have agreed that the Plan Sponsor will retain the applications.

If Your coverage is Contributory, Your insurance begins on the first day You are
Actively at Work coincident with or following one of the dates below:
     ●   If Your application to become insured is completed on or before the earliest date
         on which You may become insured. Your insurance will take effect on that
         earliest date; or
     ●   If Your application to become insured is completed no more than 31 days after
         the earliest date on which You may become insured. Your insurance will take
         effect on the date on which Your application has been completed; or
     ●   If Your application to become insured is completed more than 31 days after the
         earliest date on which You may become insured. Your insurance will take effect
         on the date on which We have, in Writing, either approved Proof of Insurability
         or waived, in Writing, such requirement. Any Proof of Insurability must be
         provided without expense to Us.

If You are required to give Proof of Insurability for all or a portion of Your insurance,
that insurance for which Proof of Insurability is required begins on the date We approve,
in Writing, Your Proof of Insurability.

Delayed Effective Date of Your Insurance

If You are not Actively at Work on the date Your insurance would otherwise begin. Your
insurance begins on the date You are again Actively at Work.




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Proof of Insurability Provision

You must give Proof of Insurability:
     ●   If You pay all or part of the premium for Youx insurance and You apply for
         insurance under the Policy more than 31 days after the date You become an
         Eligible Employee; or
     ●   If You pay all or part of the premium for Your insurance and Your insurance
         would increase because of a change in Your Class membership or a change in
         the amount of Annual Pre-disability Earnings or Your election and the Plan
         Sponsor does not tell Us in Writing about the change within 31 days after the
         change occurs; or
     ●   If You pay all or part of the premium for Your insurance and Your insurance
         ended at Your request or because a premium was not paid by You and You are
         re-applying for coverage; or
     ●   For insurance for which You pay all or part of the premium if You were entitled
         to coverage under the Prior Plan and You had declined coverage; or
     ●   If You apply for a Long Term Disability Benefit that exceeds the Guaranteed
         Issue Amount, if required.

We will use the Proof of Insurability form and other information You give as Proof of
Insurability to determine whether You can become insured. If the Proof of Insurability is
not satisfactory to Us, the insurance for which You are required to give Proof of
Insurability will not take effect. If the Proof is accepted. Your insurance will take effect
on the date We approve Your Proof of Insurability in Writing

Guaranteed Issue Amount: The maximum Long Term Disability amount for which a
covered person can become insured without fiunishing Proof of Insurability is as stated in
the Schedule of Benefits.


If You are eligible for more than the Guaranteed Issue Amount as shown in the Schedule
of Benefits, You will be limited to the Guaranteed Issue Amount imtil You give Us Proof
of Insurability. If the Proof is accepted, the additional amount of insurance will take
effect on the date We approve Your Proof of Insurability. Future increases will also
require Proof of Insurability.

We may require that You undergo an Independent Medical Exam as part of Your Proof
of Insurability.




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Changes in Your Insurance
Change in Class or Monthly Pre-disability Earnings

The amount of Your insurance may change if;
     ●    You become a member of a different Class; or
     ●    The amount of Your Annual Pre-disability Earnings changes.

If the change would increase Your amount of insurance, the increase takes effect on the
first day You are Actively at Work following the latest of the date:
     ●    The change occurs; or
     ●    The Plan Sponsor tells Us in Writing about a change in Class or a change in the
          amount of Your Annual Pre-disability Earnings; or
     ●    We approve, in Writing, Your Proof of Insurability, if You are required to give
          Proof of Insurability.

If the change would decrease the amount of insurance, the decrease takes effect on the
date of the change.

When Insurance Ends


Your insurance coverage will end on the first to occur of the following dates:
    1.    The date the Policy is canceled; or
   2.     The date on which You cease to be a member of a Class under the Pohcy; or
   3.     The date Your employment terminates. For the purpose of this provision,
          employment terminates when You are no longer Actively at Work, unless due
          to Disability; or
   4.     The date the Policy is changed to end the insurance for Your Class; or
   5.     The last day of the period for which premium was paid, if a premium is not paid
          within the Policy’s grace period; or
   6.     Preceding the date of Your death; or
   7.     The date Your Monthly Benefit Payments end, if You are not again Actively at
          Work the following day; or
   8.     The date You cease to be an Eligible Employee as defined in the Definitions of
          the Policy; or
   9.     You request, in Writing, for Yom insurance to be terminated; or
    10.   The date You cease to be Actively at Work. However, the Plan Sponsor may
          continue Your insurance unless it ends due to any of the above reasons during
          the following periods:
          a) until the end of month 3 following the date You cease to be Actively at
               Work due to a temporary layoff; or
          b) until the end of month 3 following the date You cease to be Actively at
               Work due to a Leave of Absence or due to Your being called to active duty
               as a reservist with the U.S. Armed Forces Reserve; or


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              c)     during an absence from work due to a Leave of Absence that is in
                     compliance with the Family Medical Leave Act of 1993 (“FMLA”) or
                     applicable state, family and medical leave law; or
              d)     during the longest of the periods in above items (a), (b), and (c), if You
                     cease to be Actively at Work due to Your being called to active duty as a
                     reservist with the U.S. Armed Forces.


Any Leave of Absence must have been authorized in Writing by the Plan Sponsor.
Unless otherwise specifically stated under the terms of the Policy, all premium required
by the Policy must be paid in order for any continuance of insurance provision to be
applicable.

If coverage is continued in accordance with the Leave of Absence provisions above, such
continued coverage will cease immediately if any one or more of the following events
occurs:


          ●        the leave terminates prior to the agreed upon date; or
          ●        the Policy terminates or Your employer ceases to be an associated employer
                   with the Plan Sponsor; or
          ●        You or the Plan Sponsor fail to pay premium when due; or
          ●        the Policy no longer insures Your Class.

During the period that You are Disabled, Your Monthly Benefit Payments will not be
affected by:
          ●        termination or cancellation of the Plan Sponsor’s Policy; or
          ●        termination of Your coverage; or
          ●        termination of Your employment; or
          ●        any amendment to the Policy that becomes effective after the date You are
                   Disabled.


Continuity of Coverage upon Transfer of Insurance Carriers

In order to prevent loss of coverage for You because of a transfer of insurance carriers,
this provision will provide coverage for certain plan members as follows:

Failure to be in Active Employment Due to Injury or Illness

If You are not Actively at Work due to Injury, illness, leave of absence or temporary
layoff on the date the Plan Sponsor changes insurance carriers to Anthem Blue Cross Life
and Health, and You were covered under the prior policy at the time the Anthem Blue
Cross Life and Health Policy became effective, We will provide continuity of coverage
under the Anthem Blue Cross Life and Health Policy. In order for this provision to
apply, the prior policy must have provided similar coverage to the Anthem Blue Cross
Life and Health Policy.




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If You are not Actively at Work due to injury, illness, leave of absence or temporary
layoff on the effective date of the Anthem Blue Cross Life and Health Policy, and You
would otherwise be eligible to become insured under the Policy, We will provide limited
coverage under the Anthem Blue Cross Life and Health Policy. Coverage under this
provision will begin on the Anthem Blue Cross Life and Health Policy effective date and
will continue until the earliest of:

        ●   the end of the month following the date You return to active employment; or
        ●   the end of any period of continuance or extension provided under the prior
            policy; or
        ●   the date coverage would otherwise end, according to the provisions of the
            Anthem Blue Cross Life and Health Policy.

Your coverage under this provision is subject to payment of premium.

Any benefits payable under this provision will be paid as if the prior policy had remained
in force. We will reduce Your Monthly Benefit Payment by any amount for which the
prior carrier is liable.

If coverage ends imder this provision, or if You were not covered imder the prior policy
on the date that policy terminated, the Effective Date of Insurance provision under the
Anthem Blue Cross Life and Health Policy will apply.

No Benefits are payable under this provision for any period of Disability:
        ●   that begins prior to this Policy’s effective date; or
        ●   for which benefits are paid under the Prior Plan; or
        ●   for which benefits would have been paid under the Prior Plan in the absence
            of this provision.

Continuity of Coverage - Disability due to a Pre-existing Condition

We may waive the Pre-Existing Condition Exclusion of the Policy to make a benefit
payment for Your Disability which is caused by, contributed to by, or resulting from a
Pre-Existing Condition if:
        ●   You were insured by the prior policy at the time the Plan Sponsor changed
            insurance carriers to Anthem Blue Cross Life and Health; and
        ●   You have been continuously covered under the Policy from the effective date
            of the Plan Sponsor’s Anthem Blue Cross Life and Health Policy through the
            date Your Disability began.

In order to receive a payment. You must satisfy:
        ●   The terms of Anthem Blue Cross Life and Health’s Pre-Existing Condition
            Exclusion; or
        ●   The terms of the prior policy’s pre-existing condition provision, if benefits
            would have been paid had that policy remained in force.


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If You satisfy the terms of the Pre-Existing Condition Exclusion of Anthem Blue Cross
Life and Health’s Policy, We will determine Your Monthly Benefit Payments according
to Anthem Blue Cross Life and Health Policy provisions.

If You do not satisfy the terms of the Pre-Existing Condition Exclusion of Anthem Blue
Cross Life and Health’s Policy, but You do satisfy the terms of the prior policy’s pre
existing condition provision:

         ●   Your Monthly Benefit Payment will be the lesser of:
             -   The monthly benefit payment that would have been payable under the
                 terms of the prior policy if it had remained in force; or
             -   The monthly benefit payment according to Anthem Blue Cross Life and
                 Health’s Policy provisions; and

         ●   Benefits will end on the earlier of

             -   The date benefits would otherwise end under the Anthem Blue Cross Life
                 and Health Policy, as described under the When Disability Benefits End
                 provision; or
             -   The date benefits would have ended under the prior policy’s provisions if
                 it had remained in force.


If You do not satisfy either Anthem Blue Cross Life and Health’s Policy or the prior
policy’s pre-existing condition provisions as described above, We will not make any
payments.

We will require proof that You were insured under the prior policy.

All other terms and conditions of the Anthem Blue Cross Life and Health Policy will
apply.




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                                 Coverage Provisions
Description of the Coverage
The pages of this section specify when Policy benefits will be paid. Conditions
governing whether, and how much benefit is paid are also discussed in this section.
To receive Policy benefits, You must be insured under the terms of the Policy, and as
described in the When Insurance Begins and Ends section. Then, Your amounts of
insurance are as shown in the Schedule of Benefits, subject to the terms of the Policy.

Detinition of Disability and Disabled for Long Term Disability
You will be considered disabled if You meet the definition of Total Disability or the definition
of Partial Disability included below:
Total Disability means that:
   ● during the Elimination Period and for the first 24 months of disability benefits, as a result
       of Illness or Injury, You are not able to perform with reasonable continuity the
       Substantial and Material Acts necessary to pursue Your Own Occupation in the usual or
       customary way; and
   ● following the first 24 months of disability benefits, as a result of Illness or Injury, You
       are not able to engage with reasonable continuity in any occupation in which You could
       reasonably be expected to perform satisfactorily in light of Your age, education, training,
       experience, station in life, and physical and mental capacity.
Partial Disability means that:
    ●   during the Elimination Period and for the first 24 months of disability benefits, while
        working in Your Own Occupation, as a result of Illness or Injury, You are unable to earn
        more than 80% of Your Monthly Indexed Pre-disability Earnings.
    ●   following the first 24 months of disability benefits, as a result of Illness or Injury, You
        are not able to perform with reasonable continuity in any occupation in which You could
        reasonably be expected to perform satisfactorily in light of Your age, education, training,
        experience, station in life, and physical and mental capacity, or that You are unable to
        earn more than 60% of Your Monthly Indexed Pre-disability Earnings in any occupation.
Own Occupation means any employment, business, trade, or profession that involves the
Substantial and Material Acts of the occupation You were regularly performing for the employer
when Your disability began. Own Occupation is not necessarily limited to the specific job You
performed for the employer.
Substantial and Material Acts means the important tasks, functions, and operations generally
required by employers from those engaged in Your Own Occupation that cannot be reasonably
omitted or modified.

In determining what Substantial and Material Acts are necessary to pursue Your Own
Occupation, We will first look at the specific duties required by Your employer. If You are
unable to perform one or more of these duties with reasonable continuity. We will then
determine whether those duties are customarily required of other employees engaged in Your
Own Occupation. If any specific, material duties required of You by Your employer differ from
the material duties customarily required of other employees engaged in Your Own Occupation,
then We will not consider those duties in determining what Substantial and Material Acts are
necessary to pursue Your Own Occupation.

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Long Term Disability Insurance Benefits
Long Term Disability benefits will be payable for a period of Disability in accordance
with the terms of the Policy, if:
       ●   The Disability starts while You are insured under the Policy; and
       ●   The Disability continues during and past the Elimination Period; and
       ●   We receive Proof of Your Disability.

The Long Term Disability Benefit and the Maximum Benefit Period are shown in the
Schedule of Benefits. The Long Term Disability Benefit may be reduced in accordance
with the provisions of the Deductible Sources of Income section of the Policy. The Long
Term Disability Benefit will not:
       ●   Exceed Your amount of coverage; or
       ●   Be paid for longer than the Maximum Benefit Period.

You will begin to receive payments when We approve Your claim, provided the
Elimination Period has been met. We will send You a payment each month for Long
Term Disability benefits for any period for which We are liable.

 Calculating Your Long Term Disability Benefit
 Part A.
 If You are Disabled and not working, or Disabled and working and Your Disability Work
 Earnings are less than 20% of Your Indexed Monthly Pre-disability Earnings, We will use the
 following process to calculate Your Monthly Benefit Payment:

    1. Multiply Your Monthly Pre-Disability Earnings by 60%.
    2. The maximum benefit is $8,000 per month.
    3. Compare the answer fi^om Item 1 with the maximum benefit. The lesser of these two
       amounts is Your Gross Monthly Benefit.
    4. Subtract fi'om Your Gross Monthly Benefit any Deductible Sources of Income.

 The amount calculated in Item 4 is Your Monthly Benefit Payment.




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Part B.


If You are Disabled and working, and Your Disability Work Earnings are at least 20% but less
than or equal to 80% of Your Indexed Monthly Pre-disability Earnings:

During the first 12 months of payments, the sum of Your Monthly Benefit Payment plus
Disability Work Earnings may be less than or equal to, but not more than, 100% of Your
Indexed Monthly Pre-disability Earnings. If the sum exceeds 100% of Your Indexed Monthly
Pre-disability Earnings, We will reduce Your payment under the Policy by the excess amount.

To determine whether the sum of Your Monthly Benefit Payment plus Disability Work
Earnings is less than or equal to or exceeds 100% of Your Monthly Pre-disability Earnings; We
will use the following process:

    1. Multiply Your Monthly Pre-disability Earnings by 60%.
    2. The maximum benefit is $8,000 per month.
    3. Compare the answer fi-om Item 1 with the maximum benefit per month. The lesser of
       these two amounts is Your Gross Monthly Benefit.
    4. Add Your Disability Work Earnings to Your Gross Monthly Benefit.

If the answer in Item 4 above is less than or equal to 100% of Your Indexed Monthly Pre
disability Earnings, Your Monthly Benefit Payment will be Your Gross Monthly Benefit minus
any Deductible Sources of Income.

If the answer in Item 4 above is greater than 100% of Your Indexed Monthly Pre-disability
Earnings; We will use Ihe following process to calculate Your Monthly Benefit Payment:
          a. Add Your Disability Work Earnings to Your Gross Monthly Benefit,
          b. From the answer in Item a, subtract Your Indexed Monthly Pre-disability Earnings.
             If the result is zero or less, record Your answer as zero,
          c. From Your Gross Monthly Benefit, subtract the answer in Item b and any Deductible
             Sources of Income.

The amount calculated in Item c is Your Monthly Benefit Payment.

After 12 Months of Monthly Benefit Payments, You will receive payments based on the
percentage of income You are losing due to Your Disability; We will use the following process
to calculate Your Monthly Benefit Payment:
    1. Subtract Your Disability Work Earnings from Your Indexed Monthly Pre-disability
       Earnings.
    2. Divide the answer in Item 1 by Your Indexed Monthly Pre-disability Earnings. The
       result is Your percentage of lost earnings.
    3. From Your Gross Monthly Benefit, subtract any Deductible Sources of Income.
    4. Multiply the answer in Item 2 by the answer in Item 3.
 The answer in Item 4 is Your Monthly Benefit Payment.



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 We may require You to send Proof of Your monthly Disability Work Earnings each month. We
 will adjust Your Monthly Benefit Payment based on Your monthly Disability Work Earnings.

 As part of Your Proof of Disability Work Earnings, We may require that You send Us any
 appropriate financial records which We believe necessary as Proof of Your income.

 Minimum Monthly Benefit
  At no time will Your Monthly Benefit Payment be less than $100 per month or 10% of the
  Gross Monthly Benefit amount, whichever is greater unless otherwise provided under the
  terms and conditions of the Policy.

 We may apply this amount toward an outstanding overpayment, as described in the Recovery of
 Overpayment provision.

If Your Disability Work Earnings Fluctuate

If Your Disability Work Earnings routinely fluctuate widely firom month to month, We may
average Your Disability Work Earnings over the most recent three months to determine if Your
claim should continue.


If We average Your Disability Work Earnings, We will not terminate Your claim unless:
   ●   during the first 24 months of Monthly Benefit Payments, the average of Your Disability
       Work Earnings for a three month period exceeds 80% of Your Indexed Monthly Pre
       disability Earnings; or
   ●   beyond 24 months of Monthly Benefit Payments, the average of Your Disability Work
       Earnings for a three month period exceeds 60% of Your Indexed Monthly Pre-disability
       Earnings.

We will not pay You for any month during which Your Disability Work Earnings exceed the
amount allowable under the Policy.


Cost of Living Freeze

After the first deduction for Social Security Benefits has been made to the Long Term
Disability Benefit, the Monthly Benefit Payment will not be further reduced due to any
cost of living increases for Social Security Benefits. This cost of living fi^eeze does not
apply to Disability Work Earnings or to any increases in income You earn fi-om any form
of employment.




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Recurrent Disability Provision for Long Term Disability

If You have a Recurrent Disability, and after Your prior Disability ended, You return to
work for the Plan Sponsor for 6 months or less, We will treat Your Disability as part of
Your prior claim and You do not have to complete another Elimination Period.

Your Monthly Benefit Payment will be based on Your Monthly Pre-disability Earnings as
of the date of Your initial claim.


Your Disability, as outlined above, will be subject to the same terms and conditions of
the Policy as Your prior claim.

Your Disability will be treated as a new claim if Your current Disability:
         ●   is unrelated to Your prior Disability; or
         ●   after Your prior Disability ended. You returned to work for the Plan Sponsor
             for more than 6 consecutive months.


The new claim will be subject to all of the provisions of the Policy and You will be
required to satisfy a new Elimination Period.

If the Policy terminates You will not be eligible for benefits under this provision, unless
You became Disabled due to the Recurrent Disability prior to the Policy termination.

Period of Disability extended by a new condition

If a period of Disability is extended by a new condition while You are receiving Monthly
Benefit Payments, then the extension of the period of Disability will be treated as a part
of the same continuous period of Disability, subject to the same Maximum Benefit
Period. All other requirements, limitations and exclusions of the Policy will apply to the
new condition as well as to the original cause of Disability.

When Long Term Disability Benefits End

Monthly Benefit Payments end on the first to occur of the following dates:
    1.   You are no longer Disabled under the terms of the Policy; or
    2.   You are no longer receiving, accepting or following Regular Care from a
         Physician, except for a period wherein the Physician certifies that treatment is not
         warranted; or
    3.   The Maximum Benefit Period from the Schedule of Benefits ends; or
    4.   The period specified in the Long Term Disability Limitations provision of the
         Policy ends, if that section applies; or
    5.   Preceding the date of Your death; or
    6.   We ask You for Proof that You are still Disabled, if We do not receive Proof of
         Disability within 90 days of Our request; or



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   7.   We ask You for details about Your Deductible Sources of Income, including Your
        tax returns, if You do not give Us details within 90 days of Our request; or
   8.   We ask You to be examined by:
        ● a Physician; or
        ● a health care professional,
        if you do not reasonably cooperate with the examiner or if You unreasonably
        decline to be examined; or
   9.  You work, unless You are working under the terms and conditions of the
       Additional Benefit for Vocational Rehabilitation provided by the Policy; or
   10. Your Disability Work Earnings exceed the amount allowable under the Policy; or
   11. You cease to reside in the United States or Canada. If You are outside the United
        States or Canada for a total period of 6 months or more during any 12 consecutive
        months of Monthly Benefit Payments, You will be considered to have ceased to
        reside in the United States or Canada; or
   12. You unreasonably refuse to try or attempt work with the assistance of:
        ●   Modifications to Your work environment, functional job elements or work
            schedule; or
        ●   Adaptive equipment or devices -that a qualified Physician has indicated will
            accommodate the limiting factors of the Injury or Illness for which You are
            claiming benefits under the Policy or will enable You to perform the
            Substantial and Material Acts of an occupation fi'om which the Policy requires
            You to be considered Disabled in order to receive benefits; or
   13. You are confined to a penal or correctional institution; or
   14. With respect to a Mental Illness, that You are not under the continuing care of an
        appropriate specialist in psychiatric care; or
   15. With respect to Alcoholism and Drug Addiction, that You are not being actively
        supervised by and receiving continuing treatment from a rehabilitation center or a
        designated institution approved for such treatment by an appropriate body in the
        governing jurisdiction, or, if none, by Us: or
    16. You are no longer under the appropriate care of a Physician; or
    17. You or Your Physician unreasonably fail to submit any medical or psychiatric
        information requested by Us; or
    18. You would be able to work in Your Own Occupation on a Part-Time Basis
        earning 60% or more of Your Monthly Pre-disability Earnings , but choose not to
        do so; or
    19. You would be able to increase Your current earnings to more than 80% of Your
        Monthly Pre-disability Earnings by increasing the number of hours worked or the
        number of duties performed in Your Own Occupation, but choose not to do so, or

If it is determined that You have applied for benefits under fraudulent circumstances,
benefit payments will cease and the appropriate finud defense action will be taken.




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Benefits after Policy Cancellation
Cancellation of the Policy does not by itself affect Your right to receive Long Term
Disability Benefits for a Disability that begins while You are insured under the Policy.
You must continue to comply with all requirements of the Policy. All terms and
conditions of the Policy will apply.

Premium Waiver

With respect to Long Term Disability Benefits, We do not require premiums to be paid
for the period during which You are receiving Monthly Benefit Payments. Premium
payments will be required during the Elimination Period and after Your Monthly Benefit
Payments end, if You continue to be insured under the Policy.

This premium waiver will begin on the preirdum due date that falls on or next follows the
date You meet all of the conditions to qualify for premium waiver, as stated above.

We will continue to waive Your premiums until the premium due date that falls on or
next follows the first of the following to occur:

   ●   The date You are no longer Disabled; or
   ●   The end of the Maximum Benefit period from the Schedule of Benefits; or
   ●   The date Your coverage under the Policy ends.

If You return to work and are an Eligible Employee on the date premium waiver ends,
Your coverage will be continued subject to payment of the required premium. If You are
not an Eligible Employee on the date premium waiver ends, Your coverage will end.




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Long Term Disability Limitations
Mental Illness, Alcoholism, Drug Addiction

Monthly Benefit Payments are limited to a maximum of 24 months during Your lifetime
for Disability caused by or related to any of the following:

        ●    Mental Illness; or
        ●    Alcoholism; or
        ●    Drug Addiction

This is not a separate maximum for each condition or for each period of Disability. This
is a combined maximum for all periods of Disability and for all these conditions.

However, if You are confined to a Hospital or Medical Facility because of Disability at
the end of the 24 months We will continue Monthly Benefit Payments during Your
confinement and for up to 60 days after You are discharged if You are still Disabled.

If within 60 days after You are discharged You are re-confined for at least 10 consecutive
days because of the same Disability, then We will make Monthly Benefit Payments
during Your re-confinement and for up to 60 days after You are discharged if You are
still Disabled.


Monthly Benefit Payments may end earlier than stated above in accordance with the
conditions of the When Disability Benefits End section.

Mental Illness means any psychiatric or emotional illness or disease listed in the
Diagnostic and Statistical Manual. Such conditions are usually treated by a mental health
provider or other qualified provider using psychotherapy, psychotropic drugs, or other
similar methods of treatment. Mental Illness includes, but is not limited to, each of the
following:

        ●    Neurotic disorders such as, but not limited to, anxiety, dissociative disorders,
             phobias, depression and obsessive compulsive disorders; or
        ●    Psychotic disorders such as, but not limited to, schizophrenia, dementia,
             paranoid psychosis and affective disorders; or
        ●    Personality disorders such as, but not limited to, sociopathic personality; or
        ●    Syndromes such as, but not limited to, organic brain syndromes, amnesia
             syndromes and organic delusional or hallucinogenic syndromes.
Mental Illness excludes demonstrable structural brain damage. We will not apply the
Mental Illness limitation to dementia if Proof is given that the dementia is a result of
stroke, trauma, viral infection, or Alzheimer’s disease.

The Diagnostic and Statistical Manual is a reference work developed by the American
Psychiatric Association and designed to provide guidelines for the diagnosis and



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classification of mental disorders. If the Diagnostic and Statistical Manual is
discontinued or changed, another comparable reference may be used by Us.

Alcoholism means an addictive relationship or pattern of use of alcohol.

Drug Addiction means a compulsive or habitual pattern of use of drugs, chemicals, or
similar substances.




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Deductible Sources of Income

Deductible Sources of Income, except for Retirement Benefits, must be payable as a
result of the same disability for which We pay a benefit. We will require You to apply
for any of the Deductible Sources of Income for which You may reasonably be entitled,
except for Retirement Benefits that would only be provided on a reduced basis. You may
be required to sign a reimbursement agreement stating that if You receive any payments
for Deductible Sources of Income, You will reimburse Us for any overpayment of
benefits. You must immediately disclose to Us the amount of any retroactive payment
You may receive fi’om any of the Deductible Sources of Income.

The following are Deductible Sources of Income:

   1.    The amount that You receive under:

         ●   A worker’s compensation law; or
         ●   An occupational disease law; or
         ●   Any other Act or Law with similar intent.

   2. The amount that You receive as disability income payments imder any:
         ●   state compulsory benefit Act or Law; or
         ●   governmental retirement system as a result of Your employment with the Plan
             Sponsor; or
         ● automobile liability insurance policy; or
         ● individual disability income plans which are wholly or partially paid for by
             the Plan Sponsor; or
         ● other group insurance plan; or
         ● any plan or arrangement of disability coverage, whether insured or not,
             resulting from Your employment by or association with the Plan Sponsor or
             any employer, or resulting fi’om Your membership in or association with any
             group, association, union or other organization.
        3a.The amount that You, Your spouse, and children receive as disability payments
          because of Your Disability under:
                 ●        The United States Social Security Act; or
                 ●        the Canada Pension Plan; or
                 ●        the Quebec Pension Plan; or
                 ●        any similar plan or act.

        3b.The amount that You receive as retirement payments or the amount Yoiir
          spouse and children receive as retirement payments because You are receiving
          retirement payments under:
                          The United States Social Security Act; or
                          the Canada Pension Plan; or
                          the Quebec Pension Plan; or
                          any similar plan or act.


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  4.   The amount that You:
       ●   Receive as disability payments under the Plan Sponsor’s Retirement Plan; or
       ●   Voluntarily elect to receive as retirement payments imder the Plan Sponsor’s
           Retirement Plan; or
       ●   are eligible to receive as retirement payments when You reach the later of age
           62 or normal retirement age, as defined in the Plan Sponsor’s Retirement Plan.

       Disability payments under a Retirement Plan will be those benefits which are paid
       due to disability and do not reduce the retirement benefit which would have been
       paid if the disability had not occurred.

       Retirement payments will be those benefits which are paid based on the Plan
       Sponsor’s contribution to the Retirement Plan. Disability benefits which reduce
       the retirement benefit under the plan will also be considered as a retirement
       payment.

       Regardless of how the retirement funds fi'om the Retirement Plan are distributed,
       We will consider the Plan Sponsor and Your contributions to be distributed
       simultaneously throughout Your lifetime.

  5.   The amount You receive as a result of any action brought under Title 46, United
       States Code Section 688 (The Jones Act).

  6.   The amount You receive firom a third party (afi;er subtracting attorney’s fees) by
       judgment, settlement or otherwise.

  7.   The amount You receive under the mandatory portion of any “no fault” motor
       vehicle plan.

  8.   The amount You receive due to Your Disability rmder any salary continuation or
       accumulated sick leave plans.

  9.   Commissions, sick pay or any similar employer sponsored paid time off where
       You receive income from the employer, or any salary continuation plan due to
       Your Disability. Any earnings fi’om any work or employment may be used to
       reduce Your Monthly Benefit Payment unless otherwise specified by the terms of
       the Policy.

  10. Any amoimts firom partnership, proprietorship draws, or similar draws.




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Lump Sum Payments

If You receive a lump sum payment of a Deductible Source of Income, We will deduct
the lump sum from Your Monthly Benefit Payment by pro-rating the lump sum on a
monthly basis over the time period for which the lump sum was given. If no time period
is stated, the lump sum will be pro-rated based on the lesser of the Maximum Benefit
Period or Your expected lifetime as determined by Us.

Non-Deductible Sources of Income

We will not subtract from Your Monthly Benefit Payment any income You receive from
the following:

   1.   401(k) plans;
   2.   profit sharing plans;
   3.   thrift plans;
   4.   tax sheltered annuities;
   5.   stock ownership plans;
   6.   credit disability insurance;
   7.   non-qualified plans of deferred compensation;
   8.   pension plans for partners;
   9.   military pension and disability income plans;
   10. individual disability plans paid by the Employee;
   11. a retirement plan from another plan sponsor;

   12. individual retirement accounts (IRA);
   13. retirement benefits from the United States Social Security Act if Your Disability
        begins after age 65 and You were already receiving such retirement benefits prior
        to Your Disability.

If You May Qualify for Deductible Income Benefits

You must apply for benefits listed in the Deductible Sources of Income section of the
Policy, if there is a reasonable basis that You may be entitled to them. When We
determine that You may qualify for benefits imder items 1,2 and 3 or 3a (in included in
Your plan), from the Deductible Sources of Income section, We will estimate Your
entitlement to these benefits. We can reduce Your payment by the estimated amounts if:
        ●   You have not applied for the benefits or You have failed to pursue them with
            reasonable diligence; and
        ●   We have a reasonable belief that You are entitled to the benefits, and that we
            have a means for reasonably estimating the payable amount.




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Deduction for Social Security Benefits

You must apply for benefits under the Federal Social Security Act if there is a reasonable
basis for application. If the Social Security Administration denies such benefits, You are
required to appeal the initial denial.

Within 6 months following the date You became Disabled; You must:
       ●     Send us Proof that You have applied for Social Security Benefits; and
       ●     Sign a reimbursement agreement in which You agree to repay Us for any
             overpayments We may make to You under the Policy; and
       ●     Sign a release that authorizes the Social Security Administration to provide
             information directly to Us regarding Your Social Security benefits eligibility.

When You receive approval, or denial for Your claim for Social Security benefits as
described above, You must notify Us immediately. We will adjust the amount of Your
Monthly Benefit Payment. You must promptly repay Us for any overpayment.

Recovery of Overpayment

We have the irght to recover any overpayment. This includes any prior or current
overpayment fi:om any past, current or new payable claim under the Policy. An
overpayment occurs if:
       ●     The total amount paid by Us on Your claim is more than the total amount then
             due to You under the Policy; or
       ●     Payment made by Us should have been made under another plan.

If such overpayment occurs, You have an obligation to reimburse Us in full within 60
days of Our Written notice to You.

If We do not receive reimbursement in full within 60 days. We may use any available
legal means to collect the overpayment, including but not limited to one or both of the
following:
       ●     Taking legal action;
       ●     Stopping or reducing any future payments under the Policy which might
             otherwise be payable to You or any other Claimant or payee.

You must immediately disclose to Us the amount of any retroactive payment You may
receive from any of the Deductible Sources of Income. We have the irght to obtain any
information We may require relating to Your eligibility, application or receipt of
Deductible Sources of Income. You must provide Us with Your Signed authorization to
obtain such information upon Our request.




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Adjustment for Underpayment

If You have been paid less than You aie entitled to under the Policy, We will pay You the
difference in a lump sum.

Proration


Any Long Term Disability Benefit payable for less than a month will be prorated based
on a 30 day month. The prorated amount may be less than the Minimum Monthly
Benefit.


Awards of Damages and Right of Reimbursement

You will be required to reimburse Us for any benefits We pay to You if both of the
following conditions are met:
    1. Benefits are paid under the Policy; and
   2. You recover damages whether by action at law, settlement, or con^romise firom
       any person, organization, or legal entity that is or may be li^le for any iUness,
       Injury, or other event giving rise directly or indirectly, to the Disability for which
       benefits are payable.

The term damages wiU include all lump sum or periodic payments however designated
You receive under paragraph number 2 above. The provisions of this section shall apply
whether or not the person, organization, or legal entity admits liability.

If You receive damages in one or more lump sum payments instead of in monthly or
weekly payments, the amount You must reimburse to Us will be based on the amount of
the award pro-rated over the period benefits have been or will be paid. You must provide
Proof of the award to Us. Our rights shall be to the first reimbursement out of all funds
You, Your parents if You are a minor, or Your legal representative, is or was able to
obtain under the conditions outlined above.


Your lawyer may represent Our rights of reimbursement. However, We reserve Ihe right
to:

        ● Appoint another lawyer to act on Our behalf; and
        ● Commence an action to pursue Our rights of reimbursement directly against a
          third party.

As an Insured, You must:
        ● Agree to fully co-operate with Us in pursuing Our claim against the third party,
          including but not limited to the furnishing of any information, documents, or
          other assistance We may reasonably require.
        ● Agree to notify Us of any action You have or bring against any third party.




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                    Additional Benefit for Survivor



We will pay a lump sum benefit to Your eligible siirvivor when Proof is received that
You died:

       ●    after Your Disability had continued for 90 or more consecutive days; and
       ●    while You were receiving a Monthly Benefit Payment.

This Additional Benefit for Survivor will be an amount equal to three times the Last
Monthly Benefit for Long Term Disability. Any Additional Benefit for Survivor will be
applied first to reduce any outstanding overpayment.

We will pay the Additional Benefit for Survivor to Your legal spouse, if living. If Your
spouse is not living, We will pay the Additional Benefit divided into equal shares to Your
children. Children must be under age 26, unmarried, and dependent on You for support
and maintenance. Children include step-children, adopted children, and foster children.
If there is no person entitled to the Additional Benefit for Survivor living at the time of
Your death, the Additional Benefit will be paid to Your estate. Our payment to Your
estate discharges Us of all liability under this Additional Benefit to the extent of the
payment, and shall be valid and effective against all claims by others representing or
claiming to represent Your children. Benefits otherwise payable to a minor child may be
made instead to an adult who submits Proof that he or she has assumed custody and
support of the child. One example of such Proof is a court order granting custody of the
minor child to the adult.


Last Monthly Benefit means, for the purpose of this provision, the gross Monthly
Benefit amount paid to You immediately prior to Your death.




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  Additional Benefit for Vocational Rehabilitation Program


If You are Disabled and receiving Monthly Payments under the Policy, You may be
eligible for Vocational Rehabilitation services.

Vocational Rehabilitation Program means services which we will help You to obtain,
such as the following, that may reasonably be expected to help You to return to active
employment:

   1.    coordination with Your Plan Sponsor to assist You to return to work;
   2.    evaluation of adaptive equipment or job accommodations to allow You to work;
   3.    evaluation of possible worl^lace modifications which might allow You to return
         to work in Your Own Occupation or another job or occupation;
   4.    vocational evaluation to determine how Your Disability may impact Your
         employment options;
   5.    job placement services, including resume preparation services and training in job
         seeking skills;
   6.    alternative treatment plans such as recommendations for support groups, physical
         therapy, occupational therapy, or other treatment designed to enhance Your ability
         to work.


The services must be agreed to by You, by Us, and by Your Physician. The extent to
which these services are provided will be determined based on:

    1.   Your education, training and experience;
   2.    Your transferable skills;
   3.    Your physical and mental abilities;
   4.    Your motivation to return to active employment;
   5.    the labor force demand for workers in the proposed occupation in Your
         geographic area; and
   6.    the expected liability for Your Long Term Disability claim.

To qualify for these services. You must:
    1.   have a Disability which prevents You from performing some or all of the
         Substantial and Material Acts of Your Own Occupation;
   2.    lack the skills, training, or experience You would need to perform another
         occupation;




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   3.   possess the physical and mental abilities You need to complete a rehabilitation
        program; and
   4.   be reasonably expected to return to active employment with the assistance of
        these services.


A Vocational Rehabilitation Program proposal may be made either by Us, Your
Physician or You. We will prepare a written statement of the proposed Vocational
Rehabilitation services with input jfrom You, Your Physician, Your current employer
and/or Your prospective employer. Once the services are approved, You will be
provided services according to the written program.

The written statement will describe:

    1. the goals of the Vocational RehabiHtation;
   2.   Our responsibilities;
   3.   Your responsibilities;
   4.   the responsibilities of any third party(ies) associated with the services;
   5.   the expected dates of the services;
   6.   the expected costs of the services;
   7.   the expected duration of the services.

We reserve the right to make the final decision concerning Your eligibility to take part in
this program, and the amount of services You will be provided.




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              Additional Benefit for Work Incentive



If You participate in a Vocational Rehabilitation Program that is approved by Our
Vocational Rehabilitation specialist, We may increase Your Monthly Benefit Payment by
5%, up to a maximum additional payment of $750 per month, not to exceed the
Maximum Monthly Benefit as shown in the Schedule of Benefits.

The Additional Benefit for Work Incentive will end on the earliest of the following dates:


       You cease to be paid a Monthly Benefit Payment;
       12 months of Additional Benefit for Work Incentive have been paid.
       You are no longer participating in a Vocational Rehabilitation services; or
       You are no longer eligible to participate in Vocational Rehabilitation, based on
       the provisions of the Additional Benefit for Vocational Rehabilitation;
       Any other requirement or condition of the Policy is not met, including but not
       limited to those listed in the When Disability Benefits End section.




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      Additional Benefit for Social Security Assistance


If You are receiving Monthly Benefit Payments fi'om Us, We may provide assistance to
You about filing Your claim for Social Security disability benefits or appealing a denial
of Your claim for Social Security disability benefits.

If You receive Social Security disability benefits, this may enable You to receive
Medicare after 24 months of disability payments, protect Your Social Security retirement
benefits, and Your family may also be eligible for Social Security benefits.

We can assist You in obtaining Social Seciirity disability benefits by:
       ●   helping You obtain medical and vocational evidence; and
       ●   helping You find appropriate legal representation; and
       ●   by reimbursing pre-approved case management expenses.




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        Additional Benefit for Workplace Modification


If You are Disabled and are receiving a Monthly Benefit Payment from Us, an Additional
Benefit for Workplace Modification may be payable to accommodate You in returning to
work. We may reimburse up to 100% of the costs reasonably incurred for modifications
to the workplace to accommodate Your return to work, and to assist You in remaining at
work.


The amount We pay will not exceed the lesser of:
   1. two times Your Monthly Benefit Payment; or
   2.   $10,000; or
   3.   The actual cost of the modification.


To qualify for this reimbursement, You must:
   1. be Disabled according to the terms of the Policy; a?td
   2. have the reasonable expectation of returning to active employment and remaining
      in active employment with the assistance of the proposed workplace modification.

We must receive a written proposal of the planned workplace modification. This
proposal must include:
   1.   input from the Plan Sponsor, You and Your Physician;
   2.   the purpose of the proposed workplace modification;
   3.   the expected completion date of the workplace modification; and
   4.   the cost of workplace modification.

We will reimburse the costs of the workplace modification when We:
   1. approve the proposals in writing;
   2. receive Proof that the workplace modification is complete; and
   3. receive Proof of the costs incurred for the workplace modification.

The Additional Benefit for Workplace Modification is available on a one-time basis.




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     Additional Benefit for Work Retention Assistance


IfYou:
         1. have a medical condition or functional impairment that You report to Us and
            that has the reasonable potential to result in a Disability under the Policy,
            according to generally accepted medical standards; but
         2. have not yet become Disabled,

We may provide Vocational Rehabilitation services and assistance determined necessary
and appropriate to minimize the effects of such condition or impairment and to assist You
in retaining the ability to perform the Substantial and Material Acts of Your Own
Occupation or of another appropriate gainful occupation offered by the Plan Sponsor.
The services must be agreed to by You, by Us, and by Your Physician, and will be based
on the provisions of the Additional Benefit for Rehabilitation.




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                                         Exclusions


The following exclusions apply to any and all benefits under the Policy, including
any Additional Benefits or Additional Provisions unless otherwise specificaUy
referenced.


The Policy does not cover any disabilities or loss caused by, resulting from, or related to
any of the following:

    1.   Disability or loss caused or substantially contributed to by war or any act of war,
         declared or undeclared, whether civil or international;
   2.    Service in the armed forces, military reserves or National Guard of any country or
         international authority, or in a civilian unit serving with such forces;
   3.    Disability or loss caused or substantially contributed to by any attempt at suicide
         or intentionally self-inflicted injury, while sane or insane;
   4.    Disability or loss caused or substantially contributed to by active participation in a
         riot, insurrection, or terrorist activity;
   5.    Disability or loss caused or substantially contributed to by committing or
         attempting to commit a felony.
   6.    Disability or loss in consequence of the Insured being intoxicated, as defined by
         the jurisdiction where the disability or loss occurred;
   7.    Disability or loss caused or substantially contributed to by voluntary intake of any
         drug, unless prescribed or administered by a physician and taken in accordance
         with the physician’s instructions;
   8.    Disability or loss caused or materially contributed to by engaging in an illegal
         occupation;
   9.    Any Pre-Existing Condition, as further defined in the Exclusions section.

In addition, the Policy will not pay a benefit for any period for which any of the
following applies:

    1.   With respect to a mental disorder, any period during which You are not under the
         continuing regular care of an appropriate specialist in psychiatric care. With
         respect to Alcoholism and Drug Addiction, any period during with You are not
         being actively supervised by and receiving continuing treatment from a
         rehabilitation center or a designated institution approved for such treatment by an
         appropriate body in the governing jurisdiction, or, if not, by Us.
   2.    You have applied for benefits imder fraudulent circumstances and these
         circumstances resulted in a conviction of fraud.
   3.    You unreasonably fail to submit to an Independent Medical Exam requested by
         Us.
   5.    Disability results from cosmetic or reconstructive surgery, except for
         complications arising from such surgery, or surgery necessary to correct a
         deformity caused by Illness or accidental Injury.



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   6. Any period that any other requirement or condition of the Policy is not met,
      including but not limited to those listed in the When Disability Benefits Ends
       section.


If your professional or occupational license or your certification is suspended, revoked or
surrendered, loss of your license or certification, by itself, does not mean you are
disabled.


Your Disability must start while You are insured under the Policy. At the time of
claim, Proof of Disability based on medical evaluation by a Physician will be
required. Thereafter, no benefits are payable for any period of disability during
which you are not under the Regular Care of a Physician, or You or Your Physician
unreasonably fail to provide Proof of continuing Disability, or any medical or any
psychiatric records which We request.



  Pre-Existing Condition Exclusion

  You are not covered for a Disability caused or substantially contributed to by a Pre-Existing
  Condition or medical or surgical treatment of a Pre-Existing Condition. You have a Pre-
  Existing Condition if:

  1. (a) You received medical treatment, care or services for a diagnosed condition or took
          prescribed medication for a diagnosed condition in the 3 months prior to Your
          effective date of coverage under the Policy; or
      (b) You suffered fi’om a diagnosed physical or mental condition which was
          misrepresented or not disclosed in Your application, (i) for which You received a
          Physician’s treatment within 3 months prior to Your effective date of coverage under
          the Policy, or (ii) which caused symptoms within 3 months prior to Your effective
          date of coverage under the Policy; and

  2. The Disability caused or substantially contributed to by the condition begins in the first
      12 months after Your effective date of coverage imder the Policy.




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                      Uniform Compulsory Provisions
Entire Contract, Changes

This Policy, the application of the employer, if any, and the individual applications, if
any, of the employees constitutes the entire contract between the parties, and any
statement made by the employer or by any employee shall, in the absence of fraud, be
deemed a representation and not a warranty. No such statement shall avoid the insurance
or reduce the benefits under this Policy or be used in defense to a claim hereunder unless
it is contained in a written application, nor shall any such statement of the employer,
except a fraudulent misstatement, be used at all to void this Policy after it has been in
force for two years from the date of its issue, nor shall any such statement of any
employee eligible for coverage under the Policy, except a fi^udulent misstatement, be
used at all in defense to a claim for loss incurred or disability as defined in the Policy
commencing after the insiu^ce coverage with respect to which claim is made has been
in effect for two years fix)m the date it became effective.

No change in this Policy shall be valid unless approved by an executive officer of the
insurer and unless such approval be endorsed herein or attached hereto. No agent has
authority to change this Policy or waive any of its provisions.

Time Limit on Certain Defenses


After two years from the date of issue of this policy, no misstatement, except a fraudulent
misstatement, made by you in your application shall be used to void the policy; and after
two years from the effective date of the coverage with respect to which any claim is made
no misstatement of any employee eligible for coverage under the policy, except a
fraudulent misstatement, made in an application under the policy shall be used to deny a
claim for loss incurred or disability (as defined in the policy) commencing after
expiration of such two years.

No claim for loss incurred or disability (as defined in the policy) commencing after two
years from the effective date of the insurance coverage with respect to which the claim is
made shall be reduced or denied on the ground that a disease or physical condition, not
excluded from coverage by name or specific description effective on the date of loss, had
existed prior to the effective date of the coverage with respect to which the claim is made.

Grace Period


A grace period of 31 days will be granted for the payment of premiums accruing after the
first premium, during which grace period the Policy shall continue in force, but the
employer shall be liable to the insurer for the payment of the premium accruing for the
period the Policy continues in force.




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Notice of Claim


Written notice of claim must be given to the insurer within 20 days after the occurrence
or commencement of any loss covered by the policy, or as soon thereafter as is
reasonably possible. Notice given by or on behalf of the claimant to the insurer at;

Anthem Blue Cross Life and Health Insurance Company
Claims Service Center
P.O. Box 105448
Atlanta, GA 30348-5448

with information sufficient to identify the insured employee, shall be deemed notice to
the insurer.


Claim Forms


The insurer, upon receipt of a written notice of claim, will furnish to the claimant such
forms as are usually furnished by it for filing proofs of loss. If such forms are not
furnished within 15 days after the giving of such notice the claimant shall be deemed to
have complied with the requirements of this policy as to proof of loss upon submitting,
within the time fixed in the policy for filing proofs of loss, written proof covering the
occurrence, the character and the extent of the loss for which claim is made.

Proof of Loss


Written proof of loss must be furnished to the insurer, in case of claim for loss for which
this policy provides any periodic payment contingent upon continuing loss, within 90
days after the termination of the period for which the insurer is liable, and in case of
claim for any other loss, within 90 days after the date of such loss. Failure to furnish
such proof within the time required shall not invalidate nor reduce any claim if it was not
reasonably possible to give proof within such time, provided such proof is furnished as
soon as reasonably possible and in no event, except in the absence of legal capacity of the
employee, later than one year fi-om the time proof is otherwise required.

Time of Payment of Claim

Indemnities payable under this policy for any loss other than loss for which this policy
provides perioic payments will be paid to the insured employee as they accrue
immediately upon receipt of due written proof of such loss. Subject to due written proof
of loss, all accrued indemnity for loss for which this policy provides periodic payment
will be paid monthly to the insured employee and any balance remaining unpaid upon the
termination of the period of liability will be paid immediately upon receipt of due written
proof.




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Physical Examination and Autopsy

The insurer at its own expense shall have the irght and opportunity to examine the person
of any individual whose injury or sickness is the basis of claim when and as often as it
may reasonably require during the pendency of a claim hereunder and to make an autopsy
in case of death, where it is not forbidden by law.

Legal Actions

No action at law or in equity shall be brought to recover on this policy prior to the
expiration of 60 days after written proof of loss has been furnished in accordance with the
requirements of this policy. No such action shall be brought after the expiration of three
years after the time written proof of loss is required to be furnished.




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                                 Other Provisions

Assignment

You cannot assign Your irghts or benefits under the Policy.

Currency

All payments made to or by Us will be made in United States dollars.

Class Membership

You may only be insured under one Class at any time.

Misstatement of Age or Other Facts

If Your age or any other fact was misstated, We will use the correct facts to determine
whether You are insured and if so, for what amount and duration.

Errors


You must be properly insured under the Policy. An error or omission by the Plan
Sponsor or by Us will not cause You to become insured. An error or omission by the
Plan Sponsor or by Us will not cancel insurance that should continue nor continue
insurance that should end. The requirements and conditions of the Policy must be
properly met for any change in the amount of Your insurance to take effect. We have the
right to full recovery of any overpayments made. Such reimbursement will be required
regardless of whether the overpayment occurred due to an error by Us or by You, Your
representative or beneficiary, or the Plan Sponsor.

Agency

The Plan Sponsor or employer and any administrator appointed by the Plan Sponsor or
employer shall not be considered Our agents for any purpose. We are not liable for any
of ^eir acts or omissions.

Changes while You are not Actively at Work

If You are not Actively at Work on the effective date of the amendment, the effective
date with respect to You will be the date that You are again Actively at Work. However,
if the amendment would reduce the amount of Your insurance, the effective date with
respect to You will be the effective date of the amendment.

It is understood that, if the Policy is amended during Your continuous period of
Disability, the amendment will have no effect on the amoimt of insurance during the
same continuous period of Disability.


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Enforcement of Policy Terms

If at any time We do not enforce a provision of the Policy, We will still retain Our right
to enforce that provision at Our option.

Proof Of Continuing Disability

From time to time You must give Proof to Us at Yom expense that You are still Disabled.
We will ask You for this Proof at reasonable intervals. We will stop Monthly Benefit
Payments if You do not give Proof that You are still Disabled. We may investigate Your
claim at any time.

Proof Of Financial Loss


We have the right to require written Proof of Financial Loss. This includes, but is not
limited to:


    1.   statements of Monthly Earnings;
    2.   statements of income received fi’om other sources while disabled;

    3.   evidence that due application has been made for all other available benefits;
    4.   tax returns, tax statements, and accountants' statements; and
    5.   any other Proof that We may reasonably require.

We may perform financial audits at Our expense as often as We may reasonably require.

Reconsideration Of A Denied Claim


You may request Us to review Our denial of all or part of Your claim. This request must
be in writing and must be received by Us no more than 180 days after You receive notice
of Our claim decision. As part of this review, You may:
     ●    Send Us written comments;
     ●   Review any non-privileged information relating to Your claim; and
     ●   Provide Us with other information or Proof in support of Your claim.

We will review Your claim promptly after receiving Your request. We will advise You
of the results of Our review within 45 days after We receive Your request, or within 90
days if there are special circumstances that require more time. If We request additional
information, You will have 45 days to respond to Our request, and We will send written
notice of Our claim decision within 30 days after We receive Your response. Our
decision will be in Writing and will include reference to specific Policy provisions, rules
or guidelines on which the decision was based, and notice to You of Your right to bring a
civil action.




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   Section II.         ERISA Information

The following statement is required by federal law and regulation:
As a participant of the Employee Welfare Benefit Plan, you are entitled to valuable
financial protection - beyond your paycheck - that is provided by this plan. These
benefits have been summarized and described for you in this Certificate so that you will
have the facts you need for reference.
Your employee welfare plan benefits have been affected by The Employee Retirement
Income Security Act of 1974 (ERISA) since September 2, 1974. ERISA was signed into
law to provide additional protection of your rights under this plan. The law does not
require a company to provide benefits, but it does set standards for any benefits a
company wishes to offer. It also requires that you be fully informed of the benefits you
can expect to receive and your rights under ERISA.
It is your right to know about your benefit plans in detail. Therefore, in addition to the
information provided in this Certificate, you will receive each year - at no cost - a
summary of the annual report of the plan’s financial activities. You can also review the
various plan documents at your place of work or receive copies of them at reasonable
cost, if you file a written request with the Plan Administrator.
You also have a right to expect that the people who are responsible for the activities of
the plan, who are called fiduciaries, act prudently and in your best interest. The plan
fiduciaries have always acted in this manner, and have a commitment to the company to
continue to do so. They also have a commitment under ERISA to make up any losses
they may cause the plan through any imprudence.
If your claim for a benefit is denied in whole or in part you must receive a written
explanation of the reason for the denial. You have the right to have the plan review and
reconsider your claim.
There are steps you can take to enforce your irghts. You have a irght to file suit if:
       ●   A fiduciary has misused funds;
       ●   The company improperly denies you a benefit;
       ●   The company fails to furnish within 30 days any documents you have
           requested in writing; or
       ●   The company discriminates against you for asserting your rights.
We doubt that will ever happen, but the irght to file suit and to get the Department of
Labor to help you is yours. The court will decide who should pay court costs and legal
fees and could require the Plan Administrator to provide materials you requested and pay
you up to $110 a day until you receive the materials. If you are successful the court may
order the person you have sued to pay these costs and fees.




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If you lose, the court may order you to pay these costs and fees, for example, if it finds
yoxir claim is frivolous.

The company cannot dismiss you or discriminate against you to prevent you from
obtaining benefits or exercising your rights under ERISA.
If you have any questions about this plan or your rights under ERISA, please contact the
Plan Administrator who will be glad to help you. You can also obtain such information
at the nearest Area Office of the U.S. Labor-Management Service Administration,
Department of Labor.

                            FOR YOUR INFORMATION
              CLAIMS DISCLOSURE NOTICE REQUIRED BY ERISA

The certificate contains information on reporting claims, including the time limitations on
submitting a claim. Claim forms may be obtained from the Plan Administrator or
Anthem Blue Cross Life and Health. In addition to this information, if this plan is subject
to ERISA, ERISA applies some additional claim procedure rules. The additional rules
required by ERISA are set forth below. To the extent that the ERISA claim procedure
rules are more beneficial to you, they will apply in place of any similar claim procedure
rules included in the certificate. This Claims Disclosure Notice Required by ERISA is
not a part of your certificate.
A decision for a disability claim will be made by Anthem Blue Cross Life and Health
within 45 days of the date the claim is filed. Under special circumstances, this decision
may take up to another 60 days. You will be notified and the reason for the delay will be
explained to you. The decision will be sent to you in writing.
If your claim for a welfare benefit is denied or ignored, in whole or in part, you have a
ri^t to know why this was done, upon request obtain copies of the claim file and other
documents relevant to the decision without charge, and to appeal any denial, all within
certain time schedules.

If you do not understand our decision or you are not satisfied with it, you may request a
review of the denied claim within 180 days of receipt of written notice that your claim
has been denied. You may also review the pertinent documents and submit comments in
writing.
A decision must be made within 45 days after the request for review is made, unless
circumstances of the claim require an extension, in which event the decision will be made
as soon   as possible, but not longer than 90 days after the request for review is made.
The written notice will explain the reason for the adverse benefit determination and the
specific Policy provisions, internal rules, guidelines, protocols, standards or other similar
criteria of the Policy on which the decision was based, or a statement that none were
used.




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Note: You, your beneficiary, or a duly authorized representative may appeal any
denial of a claim for benefits with Anthem and request a review of the denial. In
coimection with such a request:
●   Documents pertinent to the administration of the Plan may be reviewed free of charge;
    and

●   Issues outlining the basis of the appeal may be submitted.

You may have representation throughout the appeal and review procedure.




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    Section III.                  Notice of Privacy Practices

Note: The following Notice of Privacy Practices is not a part of Your Certificate of Coverage and
does not modify your insured benefits.

                         STATE NOTICE OF PRIVACY PRACTICES


We keep the health and financial information of our current and former members private
as required by law, accreditation standards, and our rules. This notice explains your
rights. It also explains our legal duties and privacy practices. We are required by state law
to give you this notice.

Your Personal Information
We may collect, use, and share your nonpublic personal information (PI) as described in
this notice. If we use or disclose PI for underwriting purposes, we are prohibited from
using or disclosing PI that is genetic information of an individual for such purposes.

PI identifies a person and is often gathered in an insurance matter. Because PI is defined
as any information that can be used to make judgments about your health, finances,
character, habits, hobbies, reputation, career and credit, we take reasonable safety
measures to protect the PI we have about you.

Collection of Personal Information
We may collect PI about you. PI may be about your health. It may also be demographic,
such as your name, address, and birth date or financial, such as your credit card number.
In most cases, you are our most important source for this information. We may also
collect or check PI by speaking to others, such as your doctor or hospital. We may also
contact other insurance companies to whom you have applied. We collect PI about your
dealings with us and others acting on our behalf. This includes data about claims, medical
history, eligibility, and payment. We may collect this PI by letter, telephone, personal
contact, or electronic request.

Sharing Personal Information
Your PI is used to manage your coverage well. We do not share the PI of current or
former members with others unless you tell us that it is OK for us do so. We will only
share PI without your OK when allowed by law. Here are some samples of when we may
give PI to others:
- To third parties that do services for us. They must agree to protect your PI as required
   by law.
- To third parties so they can give us PI to determine eligibility for benefits or to spot or
  put a stop to criminal action, fiaud, or misrepresentation.
- To our agents and brokers, other insurance companies, self-insured groups, or insurance
  support groups as needed to spot or put a stop to criminal action, fiaud, or
   misrepresentation,
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- To our agents and brokers, other insurance companies, self-insured groups, or insurance
  support groups as needed to give you the right service or to carry out an insurance
  matter that has to do with you or a covered member of your family. For example, we
  may share PI with another insurance company to help manage insurance benefits. In
   some states, the person who gets the information is not allowed to share it with others
   without your OK unless you are told about it ahead of time and are given a chance to
   find out if your PI was shared.
- To a doctor, hospital, or other medical provider to confirm coverage or benefits. To tell
  you about a medical problem that you may not be aware of. To carry out an operational
   or service audit.
- To insurance regulatory agencies.
- In response to a court order. This includes a search warrant or subpoena.
- To law enforcement or governmental authority to protect ourselves against an act of
  fraud, or if we reasonably believe that illegal activities have taken place.
- To industry and professional groups who carry out actuarial and research studies.
  Normally, the results of such studies benefit our members and the general public. That
  is why we would share data for that type of purpose. PI is removed to a point that it is
  still useful before sharing it with researchers. If it is shared, you will not be identified in
  any report that results from the research. All PI given to researchers is treated in a
  private manner.
- To your group health plan if reasonably needed to report claims experience or carry out
  an audit of our services. In some states, we are only allowed to give information on a
  group level (no PI) for these reasons.
- To a peer review group for review of the service or conduct of a doctor, hospital, or
   other medical provider.
- To a policyholder to give them information on the status of an insurance matter.
- To the government to decide your eligibility for health benefits if the government may
  be held responsible.
- To state governments to protect the public health and welfare. But only as needed to
  allow them to perform their duties when reporting is required or allowed by law.
- To an affiliate when it has to do with an audit of our company, or for marketing an
  insurance product or service. The affiliate must agree not to share the PI for any other
  reason or to those who are not affiliated. In some states, we may not share health care
  information for these reasons. In some states, we are required to get your OK in writing
  before we share any PI for these reasons.
- To a party to a sale, merger, or consolidation of all or part of our business. We can only
  share the PI reasonably needed to allow the person getting it to make business choices
  about the purchase. The person who gets the PI agrees not to share it with others unless
  allowed by state law.
- To a person who we know has a legal or beneficial interest in an insurance policy. No
  medical record information is shared unless allowed by state law. Only PI reasonably
  needed to allow such person to protect his or her interests in such policy is shared.
- To a non-affiliated party to market a product or service. In these cases, information that
  has to do with your medical records, character, habits, mode of living or reputation, is
  not shared. The non-affiliated party will only use the limited information to market the
  product or service. We will only share your information in this way if we gave you the
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   chance to opt-out (see below). In some states, and under HIPAA, we may only share
   your PI with third parties for marketing reasons if we get an OK in writing from you.
- As otherwise allowed or required by law.

Information obtained from a report prepared by an insurance support group may be kept
by the group and made known to other persons. These groups are companies that
routinely take part in gathering data about persons just to give the data to an insurance
company.


Qpt-out OpDortunitv
If we take part in an activity that would require us to give you a chance to opt-out, we
will contact you. We will tell you how you can let us know that you do not want us to
use or share your PI for that activity.

Your Rights
Under state law, you have a number of rights that have to do with your PI.

Access. You may ask for access to certain recorded PI that we can reasonably locate and
get for you.

Amendment. You may ask us to correct, change, or delete recorded PI we have if you
think it is wrong.

To ask for access or to change your PI, call Customer Service at the phone number
printed on your ID card. They can give you the address to send the request. They can also
give you any forms we have that may help you with this process. We will need your frill
name, address, date of birth, all ID numbers and details about what PI you want to access
or change.

How we protect information
We are dedicated to protecting your PI. We set up a number of policies and practices to
help make sure this PI is kept secure.

We keep your oral, written, and electronic PI safe using physical, electronic, and
procedural means. These safeguards follow federal and state laws. Some of the ways we
keep your PI safe include offices that are kept secure, computers that need passwords,
and locked storage areas and filing cabinets. We require our employees to protect PI
through written policies and procedures. The policies limit access to PI to only those
employees who need the data to do their job. Employees are also required to wear ID
badges to help keep people who do not belong, out of areas where sensitive data is kept.
Also, where required by law, our affiliates and non-affiliates must protect the privacy of
data we share in the normal course of business. They are not allowed to give personal
information to others without your written OK, except as allowed by law.




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Complaints
If you think we have not protected your privacy, you can file a complaint with us. We
will not take action against you for filing a complaint.

Contact Information
Please call Customer Service at the phone number printed on your ID card, they can help
you apply your rights, file a complaint, or talk with you about privacy issues.

Copies and Changes
You have the right to get a new copy of this notice at any time. Even if you have agreed
to get this notice by electronic means, you still have the right to a paper copy. We
reserve the right to change this notice. A revised notice will apply to PI we already have
about you as well as any we may get in the future. We are required by law to follow the
privacy notice that is in effect at this time. We may tell you about any changes to our
notice in a number of ways. We may tell you about the changes in a member newsletter
or post them on our website. We may also mail you a letter to tell you about changes.

Si necesita ayuda en espanol para entender este documento, puede solicitarla sin costo
adicional, llamando al numero de servicio al cliente que aparece al dorso de su taijeta de
identificacidn o en el folleto de inscripcidn.

This Notice is provided by the following companies:




                                                                BlueCross




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 Section IV.              Value Added Services


 Note: The following additional services are not a part of Your Certificate of Coverage and do not
 modify your insured benefits.

 The Value Added Services are provided based on negotiated agreements between the insurance
 company and certain service providers. Although the insurance company endeavors to make these
 services available to all policyholders and certificateholders as described below, modifications to our
 agreements with service providers may require that services be periodically modified or terminated.
 Such modification or termination of services may be made based on cost to the insurer, availability of
 services, or other business reasons at the discretion of the insurer or service providers.


    1.         Resource Advisor

When you feel pressure fi’om everyday problems like work-related stress or family issues,
Resource Advisor can help you get emotional, legal and financial support. No issue is
too big or too small - and there’s no extra cost to you.


Call us - support is one phone call away 24/7

You and your family can talk to a Resource Advisor counselor by phone who can:
    ●    Give you advice and arrange for up to three visits with a counselor, if you need it.
    ●    Put you in touch with a financial advisor if you have money problems.
    ●    Connect you with a lawyer if you need legal help. You can meet by phone or in
         person.




Let us help if your identity is stolen

If your wallet or purse is lost or your identity stolen, we’ll assign a Fraud Resolution
Specialist to help get your identity back and restore your good credit.
Services include:

    ●    Placing “fi^ud alerts” on credit reports and with creditors.
    ●    Closing bank and credit card accounts where your identity is an issue.
    ●    Arranging a phone meeting with a financial counselor.
    ●    Setting up a meeting with a lawyer on issues around the identity theft (each visit
         must be for a separate issue.)




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Go online for help any time... and a lot more

When you visit www.ResourceAdvisor.Anthem.com. you’ll find:
    ●    Tips on handling difficult life events and a depression screening tool.
    ●    Parenting information. There’s even a child and elder care provider finder.
    ●    Financial tools to help you plan for major purchases or life events.
    ●    You and your family members can register for identity monitoring at no cost.
    ●    State-specific online wills and a legal library.


Give added support to beneficiaries when they need it most

Providing your loved ones with a little extra comfort and emotional support after you’re
gone is a lasting gift. Resource Advisor gives your beneficiaries:
    ●    Three meetings with a mental health professional.
    ●    Meetings with a legal and/or financial professional.
    ●    Copies of The Healing Book: Facing the Death - and Celebrating the Life - of
         Someone You Love. This is a great resource book to talk to children about loss.
    ●    Beneficiary Companion* services to help your family with estate details like
         closing bank accounts, credit cards and utilities.


●Beneficiary Companion services are provided by Europ Assistance USA, an independent company providing these
 services on behalf of Anthem Blue Cross Life and Health.




Keep Resource Advisor close at hand. Just cut out and carry this wallet card.


   Get support, advice and resources 24/7.

   Call 888-209-7840 or visit
  www.ResourceAdvisorCA.Anthem.com


   Then log in with the program name:
   AnthemResourceAdvisor


   Note: if you retire, you can only use Resource Advisor
   until your retirement starts.




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     2.     Save money with SpecialOffers@Anthem

  Saving money is good. Saving money on things that are good for you - that's even
  better. With SpecialOffers@Anthem, you can receive discounts on products and
  services that help promote better health and well being. And, there's no extra cost to
  you. SpecialOffers@Anthem is just one of the perks of being a member.

  Log on to www.anthem.com/ca/specialoffers for details on discounts in categories
  like Family & Home, Fitness & Health, Medicine & Treatment, Vision, Hearing &
  Dental.




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       Anthem Blue Cross Life and Health Insurance Company
                           21555 Oxnard Street
                         Woodland HiUs,CA 91367
                           Phone: 818-234-2700
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                          DARDEN V. ANTHEM ELEVANCE LTD
                    DISABILITY PAYMENTS RELIEF COMPLAINT (ERISA)
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                                  Offer Letter


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                         Michael Darden




                              September 8, 2020                                       )
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                           Welcome to Nuro!


     We started Nuro in 2016 with the mission of bringing the benefits of
        robotics to everyday life. Since then, we have made significant
        progress against that goal but the thing we're most proud of is
       bringing together the most talented cross functional team on the
     planet. We're really excited that you've decided to join our team. We
       look forward to welcoming you to Nuro and can't wait to see how
                  your contribution will advance our mission.

                        - Dave Ferguson & Jiajun Zhu
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                                                    num
                                                    Role Summary




     POSITION:                                             MANAGER:                                                       )

     L&D, Instructional Designer                           Katharine Cusack, Technical Training & Development Lead


     START DATE:                                           SIGN OFFER BY:


     September 14, 2020                                    September 8, 2020


     LOCATION:


     Mountain View, CA
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                                      num
                                  Compensation Summary




                                                                                                 )

ANNUAL SALARY:                                   OPTIONS GRANTED:


$125,000                                         10,000


ANNUAL BONUS:


$8,750
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                                                                                            nurn
                                                                                                        Equity

      stock Options:                                           The stock option is an agreement between the employee and the company which issues the options, allowing the employee to

                                                               buy the common stock of the company at a predetermined price (strike priced- Nuro offers Incentive Stock Options (ISO),

                                                               which is taxed as capital gains and not as income.
                                                                                                                                                                                                                            )
      ISO



                                                               Value Calculation:

      Preferred Stock Price^:

                                                                                      Equity                          {Preferred Price > Strike Price)                    X          # of Shares
                                                                                       Value
      $8.25/share




      Vesting Schedule:                                                      YEAR 1                               YEAR 2                               YEAR 3                               YEAR 4                          )

      4 year vesting schedule with 1
      year cliff

                                                                        Annual Vest                           Monthly Vest                        Monthly Vest                          Monthly Vest
      ^ Strike price is the specified price at which an option can be exercised, or bought. The strike price for your options will be the fair market value of the Company's Common Stock on the date of grant as
      determined at the next Board meeting.


      ^ The preferred price (also market price) is the most recent face value of the preferred stock issued to our investors, and is a helpful metric for evaluating your stock options (the preferred price is different
      from the common stock price) since Nuro is not publicly traded. The price is based on the Compan/s most recent financing valuation and is not a guarantee of present or future value. Future valuations of
      the Company may be higher or lower.
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                                                    Key Highlights

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o -@ o
<aT 6
            World-class team                                     kO    ^   Significant upside in AV Trucking (Ike)
                                                                                                                       )
        O                                                        r

o
            Industry-leading, general AV tech
                                                                 L
                                                                     0"" commercialization
                                                                       J
                                                                         Goods focus offers faster path to

            Huge TAM: >$1T Opportunity                           na        Significant progress on Partnerships
    o o




            LT OEM Partner for Vehicle Program                             >$1B funding raised (Greylock, SoftBank)



            Launching first city-level unmanned
            autonomous delivery service
                                                                 [5        Leadership Position in Autonomous Goods
                                                                           Delivery
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                                                     Employee Benefits


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                                                                                                                                  >

          Daily catered lunch and dinner,       Paid holidays plus flexible time off for        Commuter benefits include:
            Snacks and drinks supplied          exempt Nurons, or generous PTO for              Pre-tax transit saving card &
                                                          non-exempt ones                      100% coverage for Caltrain Go
                                                                                                            Pass




                                                                                                                                  >
                 Dog-friendly office            Aid in paying off your student loans              10 weeks paid for both
                                                                                                       moms        dads




                Medical/Dental/Vision               Meaningful equity opportunity                  24/7 support for your
                                                                                                     mental well-being
                                                                                                  ■
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                                                 Legal Language

Subject to Board approval, the Company shall grant to you an option to purchase up to 10,000 shares of the
Company's Common Stock pursuant to its 2016 Equity Stock Option Plan. The option shall vest (i) with respect to
1/4^^ of the option vesting on that date that is 12 months after the commencement of your full time employment by      )
the Company (the "Commencement Date"), and (ii) the remaining 3/4^^ then vesting at the rate of 1/48^^ on the
expiration of each month from month 13 through month 48 after the Commencement Date. The exercise price for
your option will be the fair market value of the Company's Common Stock on the date of grant as determined by the
Board.


Nuro Bonus Program - The target bonus will be equivalent to $8,750 Bonuses will be prorated for employees who
join during the performance period. The purpose of the Nuro bonus program is to incentivize employees to achieve
objectives and key results critical to the Company's success. Company, team, and individual performance and results
will be considered in determining the actual bonus amount. Bonus plan specifics and conditions will follow.

By accepting this offer, you represent and warrant that your employment with the Company will not violate any
agreements, obligations or understandings that you may have with any third party or prior employer. You agree not
to make any unauthorized disclosure to the Company or use on behalf of the Company any confidential information
belonging to any of your former employers (except in accordance with agreements between the Company and any
such former employer). You also warrant that you do not possess any property containing a third party's confidential
and proprietary information. Of course, during your employment with the Company, you may make use of
information generally known and used by persons with training and experience comparable to your own, and
information which is common knowledge in the industry or is otherwise legally available in the public domain.
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                                                num
                                         Legal Language Continued

As a Company employee, you will be expected to abide by all Company policies and procedures, and as a condition of
employment: 1) sign and comply with the Company's standard confidentiality agreement which prohibits
                                                                                                                          \
unauthorized use or disclosure of Company confidential and proprietary information or the confidential information of     /
the Company's clients, along with an assignment of rights to any inventions made during your employment at the
Company, and which will be provided to you on your first day of employment; and 2) sign the Company's Alternative
Dispute Resolution Agreement, which will be provided to you on your first day of employment

You may terminate your employment with the Company at any time and for any reason whatsoever simply by
notifying the Company. Likewise, the Company may terminate your employment at any time and for any reason
whatsoever, with or without cause or advance notice. This at-will employment relationship cannot be changed
except by a writing authorized and signed on behalf of an officer of the Company and signed by you.

You will also be eligible to receive all other benefits the Company may provide to its employees, after your enrollment
following your start date, and subject to the terms and conditions of those benefit plan offerings. The Company
reserves the right to modify your compensation and benefits from time to time, as it deems necessary.                     >

This letter agreement, along with the standard confidentiality agreement and the Alternative Dispute Resolution
Agreement noted within, constitutes the complete, final and exclusive embodiment of the entire agreement between
you and the Company with respect to the terms and conditions of your employment, and it supersedes any other
agreements or promises made to you by anyone, whether oral or written. This job offer is contingent upon the
completion of a satisfactory background and/or reference check and legal proof of authorization to work in the U.S.

If you choose to accept our offer under the terms described above, please indicate your acceptance by signing below
no later than {{OL_FINAL_SI<3N_DATE}}. {{IMMIGRAT10N_0FFER_SECn0N}}
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                                                             num
                                                       Offer Letter Acceptance



                                                JIA3UN Zhu, CEO
                                                                                                                     )
                                                Date



                                                Accepted By:




                                                Michael Darden



                                                Date
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                                              BENEFITS BOOKLET




                                               July 1, 2019-
                                             December 31, 2020




                                                                                                 ..   .




                                                                                num


      Benefits provided by

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                                                                                                                       nuro
    We invest in your wellbeing
    As an organization, one of our top priorities is to maintain the health and wellbeing of our employees and their families. To achieve
    this goal, we are offering a robust and comprehensiveprogram with a variety of options to best meet your needs.


                                               All full-time employees and their dependents are eligible for benefits starting on
      IS     Eligibility                       their date of hire



      ^      Health
             MEDICAL                           Kaiser Permanente HMO 20, Kaiser Permanente HSA1500, Anthem Blue Cross
                                               HMO 20, Anthem Blue Cross PPO 250, Anthem Blue Cross EPO, Anthem Blue
                                               Cross HSA 1500

             DENTAL                            Cigna Healthcare Dental PPO Base & Cigna Healthcare Dental PPO Premier

             VISION                            Cigna Healthcare Vision




     ‘Q, Retirement
                                               Offered through Vanguard. You are eligible on the first of the month following 1
                                               month of service. Employees can make both pre-tax (Traditional) and post-tax
             401(k)
                                               (Roth) contributions. Additional After-Tax (Non-Roth) contributions with In-Plan
                                               Roth Conversions are also available.



            Pre-Tax Benefits
            COMMUTER                           Pre-tax account for parking and transit
            FLEXIBLE SPENDING ACCT
                                               Pre-tax Health Care or Dependent Care (day care) accounts available
            (FSA)
            HEALTH SPENDING ACCT               Pre-tax savings account to use on medical expenses in conjunction with an HSA
            (HSA)                              medical plan


       m Income Protection
            LIFE INSURANCE                     Anthem Blue Cross 1 x Salary to $250,000
            VOLUNTARY LIFE                     Anthem Blue Cross Voluntary life insurance for employees & families
            SHORTTERM DISABILITY               Anthem Blue Cross 60.00% to $2,500 per week
            LONGTERM DISABILITY                Anthem Blue Cross 60.00% to $10,000 per month
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          Additional Benefits
Anthem Future Moms         Future Moms program helps mothers-to-be have healthier pregnancies and longer-term babies.


Anthem LiveHealth Online   T\wo-way video chat with board-certified physician without leaving your house.


Anthem Programs            When you use your health care services, there are some important things to know that could save
                           you time and money, and keep you feeling your best, including discounts, health coaching, and more.


Kaiser HealthvLifestvIes   These personalized online programs can help you create an action plan to reach your health goals,
                           such as losing weight, quitting smoking, reducing stress, and more.


Kaiser Mental Health       Members with mental, emotional, and addiction issues can access a broad range of care options. If
                           you need treatment, we'll work together to create a care plan based on your unique needs and
                           goals.


Kaiser Thrive Maternity    Learn what to expect from 1st Trimester through life with a baby on Kaiser's interactive maternity
                           portal.


Kaiser Video Visits        Convenient access to a doctor from home or office using your laptop or smartphone.


Perkspot                   Receive gym discounts, travel discounts, and more through Perkspot.


Petplan                    Petplan helps you with your pet insurance. Use code SEQUOIA to receive at least a discount.


Gradifi                    Gradifi provides great service and low rates for student loan refinancing. Parents can also reach out
                           to Gradifi to talk about college savings.


Care@Work                  Care@Work allows you to find care when you need it.


Ginger                     Ginger offers support, guidance, therapy, and medication support from professional coaches,
                           licensed therapists, and psychiatrists,respectively.


Gympass                    Gympass drives engagement and improve individual performance.
ANTHEM BLUE CROSS EAP      24/7 access to online resources and unlimited phone consultations for stress, grief counseling,
                           depression and relationship conflicts (personal and professional)


ANTHEM BLUE CROSS          Get travel assistance when traveling 100 miles or more for 90 days or less
TRAVEL ASSIST
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    C3.     Summary of Medical, Dental, and Vision Contributions
    Monthly Contributions: What you pay each month to have insurance.


      Medical Plan                             EMPLOYEE ONLY     EMPLOYEE + SPOUSE         EMPLOYEE+ CHILD{REN)   EMPLOYEE + FAMILY



      Kaiser Permanente HMO 20 - CA Only          $45.00             $205.00                     $190.00              $280.00

      Anthem Blue Cross HMO 20 - CA Only          $45.00             $195.00                     $160.00              $270.00

      Anthem Blue Cross PPO 250                   $45.00             $200.00                     $165.00              $280.00

      Anthem Blue Cross EPO - outside CA          $45.00             $200.00                     $165.00              $280.00

      Kaiser Permanente HSA 1500 - CA Only        $15.00             $165.00                     $150.00              $220.00

      Anthem Blue Cross HSA 1500                  $15.00             $165.00                     $135.00              $230.00

               HSA Employer Contributions         $41.67             $125.00                     $125.00              $125.00



                                               EMPLOYEE ONLY     EMPLOYEE + SPOUSE         EMPLOYEE+ CHILDIREN)   EMPLOYEE + FAMILY
      Dental Plan

      Cigna Healthcare Dental PPO Base             $4.00              $16.00                     $17.00                $28.00

      Cigna Healthcare Dental PPO Premier         $15.00              $37.00                     $37.00                $62.00

                                               EMPLOYEE ONLY     EMPLOYEE + SPOUSE         EMPLOYEE+ CHILD(REN)   EMPLOYEE + FAMILY
      Vision Plan
      Cigna Healthcare Vision                      $1.00               $3.00                      $3.00                $5.00



    *lf you choose to add a domestic partner to your benefits, imputed income may apply.
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    [^'‘Getting Started

                  When ifstlme to enroll, you will receive an email with the necessary link to get started with
             ^    enrollment and election of your benefits.




     YOUR BENEFITS PORTAL:                   https ://access.Davlocitv.com

                                             Company Code: 55624
                                             Username: First Initial + Last Name

                                             eg. John Smith (JSmith JSmith)


     EUGIBILITY                              You are eligible for benefits on your date of hire if you are a regular, full-time employee
                                             unless otherwise specified by your employer.


     ENROLLING DEPENDENTS                    You may also enroll eligible dependents for benefit coverage. When covering dependents,
                                             you must select the same plans for your dependents as you select for yourself.


     DEPENDENTS INCLUDE                      v'   Your legal spouse or qualified domestic partner
                                             v'   Your children, which may include natural, adopted, or stepchildren
                                                  Your qualified domestic partner's children
                                                  Note: Your parents and siblings are not eligible dependents


     QUALIFYING EVENTS                       A qualified event allows you to add or remove dependents from the plan within 30 days of
                                             the qualifying event.
                                             Typical qualifying events include:
                                             V
                                                  Marriage, divorce, termination of a domestic partner
                                                  Birth or adoption of a child
                                                  Death of a spouse or dependent
                                             v'   End in your spouse's employment or group insurance coverage
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    I- Common Insurance Terms
    There are many insurance terms, words and phrases you should know. Use the below list to better understand what the terms mean.


     Deductible                               The set dollar amount a member must pay before insurance coverage for medical
                                              expenses can begin.


     Coinsurance                             The percentage of the charges the member is required to pay for a medical service in a
                                             plan after the deductible has been met. For example, the insurance company may pay
                                             80% of the covered claim, and the member pays the remaining 20%.


     Copayment / Copay                       The flat fee paid by the member when a medical service is received, i.e. $20 for a
                                             doctor's visit or $20 for a prescription. Copays do not apply to the deductible.


     Out-of-Pocket Maximum (OOP)             The maximum amount the member would have to pay in a plan year for eligible
                                             expenses. After reaching the Out-of-Pocket Maximum, the plan pays 100% of the
                                             allowable charges for covered services in network for the remainder of the plan year.


     Network Provider                         A network provideris a hospital, doctor, medical group, and/or other healthcare
                                              provider contracted to provide services to insurance company customers for less than
                                              their usual fees.



     Out-of-Network Provider                  An Out-of-Network provider is a hospital, doctor, medical group, and/or other
                                              healthcare providers who are not contracted to provide services to insurance company
                                              customers for less than their usual fees and contracted fee’s and can charge the
                                              member as much as they wish.


     PPO                                      PPO stands for Preferred Provider Organization. It is a group of hospitals and physicians
                                              that are contracted with insurance companies to provide medical services. Out of
                                              pocket costs are lower when a provider is used within the PPO network (called In-
                                              Network).


     HMO                                      HMO stands for Health Maintenance Organization. An HMO is a managed care plan that
                                              requires you to receive your medical care from hospitals and doctors in the HMO
                                              network. Your Primary Care Physician (PCP) coordinates your medical care and refers
                                              you to specialists (within their medical group) and hospitals as necessary.
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               Frequently Asked Questions
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    What if I choose an Out-of-Network provider for my medical plan?
           ●   Out-of-Network Providers can charge whatever they want for a service while In Network Providers only charge the pre
               negotiated rate.
           ●   Out-of-Pocket costs for your services will be more.
           ●   Since the Out-of-Network Provider can charge whatever they want, you will be "balance billed" for the difference between
               what the provider charges and the insurance carrier's allowed amount. You will be responsible for paying the difference.


    What would the cost to you be If a provider charges $10,000 for services?


                           In-Network Provider                                              Out-of-Network Provider

          Provider's charge                                                   Provider's charge
                                                         $10,000                                                              $10,000
          for service                                                         for service


          Provider's                                                          Provider's
                                                          $6,000                                                               $6,000
          allowed amount                                                      allowed amount


          Patient's deductible                              $250              Patient's deductible                               $500



          Patient's coinsurance                                               Patient's coinsurance
          (10% of allowed amount              10% X $5,750 = $575             {30% of allowed amount            30% X $5,500 = $1,650
          after deductible)                                                   after deductible)


                                          Insurance pays the rest                  Balance between allowed amount and provider's fee

          Total patient
                                                            $825             Total patient responsibility                      $6,150
          responsibility
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                                                                                                                    nurn
^ Medica                       MO Plans (CA Only)
How does this plan work?
       Available in California only.
       You receive medical care from hospitals and doctors in the HMO network.
       Your selected Primary Care Physician (PCP) coordinates all your healthcare, including office visits, prescription medications, and
       referrals to specialists.
       In-network preventative medicine is covered 100% by your plan.
       For other office visits and procedures, you pay a set amount (called copay).
       Amounts shown below represent what YOU will be responsible for paying.


                                                       Anthenn HMO

                                                                                         in Network

Deductible-Single                                       None


Deductible-Family                                       None


Out of Pocket Max - Single                              $1,500 per member

Out of Pocket Max - Family                              $3,000 per family

Urgent Care                                             $20 copay per visit

Emergency Room                                          $100 copay per visit

Office Visit                                            $20 copay per visit

Rx-30 day supply                                        $5 or $15; Tier 1
                                                        $25: Tier 2
                                                        $45: Tier 3
                                                        30% after deductible up to $250/Rx; Tier 4




                                                          Kaiser HMO

                                                                                         In Network


Deductible-Single                                       None


Deductible-Family                                       None


Out of Pocket Max - Single                              $1,500 per member

Out of Pocket Max - Family                              $3,000 per family

Urgent Care                                             $10 copay per visit

Emergency Room                                          $100 copay per visit

Office Visit                                            $10 copay per visit

Rx-30 day supply                                        $10: Tier 1
                                                        $20: Tier 2
                                                        20% after deductible up to $200/Rx: Tier 3
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                                                                                                                         nurn
    ^ Medical PPO P ans
    How does this plan work?
         ●   You can choose to receive medical care from hospitals and doctors of your choice, but you get the greatest cost savings when
             you utilize providers in the PPO network.
        ●    You can see specialists at any time without needing a referral from your primary doctor.
        ●    PPO plans have an annual deductible, or set dollar amount, you must pay before the insurance carrier begins paying their
             portion of medical expenses.
        ●    After the deductible amount is met, you are responsible for the coinsurance, which is a percentage of the total cost for
             services, up to the Out-of-Pocket Maximum, at which point the plan pays 100% of all costs.
        ●    You pay nothing Out-of-Pocket for In-Network preventive care.
        ●    Amounts shown below represent what YOU will be responsible for paying.




                                                    Anthem Blue Cross PPO 250

                                                        In Network                                      Out of Network

     Deductible - Single             $250 per member                                   $750 per member

     Deductible - Family             $750 per family                                   $2,250 per family

     Out of Pocket Max - Single      $2,500 per member                                 $7,500 per member

     Out of Pocket Max - Family     $5,000 per family                                  $15,000 per family

     Urgent Care                     $20 copay per visit                               30% after deductible


     Emergency Room                  $150 copay per admission +10% coinsurance         $150 copay per admission +10% coinsurance
     Office Visit                    $20 copay per visit                               30% after deductible

     Rx-30 day supply               $5 or $15: Tier 1                                 Member pays the full retail price and submits
                                    $30: Tier 2                                       claim form for reimbursement up to 50% of
                                                                                      the remaining prescription drug maximum
                                    $50: Tier 3
                                                                                      allowed amount. Specialty not covered.
                                     30% after deductible up to $250/Rx: Tier 4
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    ^ Medical EPO Plans
    How does this plan work?
        ♦   Do not need to assign a Primary Care Physician (PCP).
        ●   Available to residents outside of CA.

        ●   You pay nothing Out-of-Pocket for In-Network preventive care.
        ●   Amounts shown below represent what YOU will be responsible for paying.




                                                          Anthem Blue Cross EPO

                                                          In Network                                 Out of Network

     Deductible-Single                None                                             $3,000 per member

     Deductible - Family              None                                             $9,000 per family

     Out of Pocket Max - Single       $2,500 per member                                $9,000 per member

     Out of Pocket Max - Family       $5,000 per family                                $18,000 per family

     Urgent Care                      $20 copay per visit                              50% after deductible

     Emergency Room                   $100 copay per admission                         $100 copay per admission
     Office Visit                     $20 copay per visit                              50% after deductible


     Rx-30 day supply                 $5 or $15: Tier 1                                Member pays the full retail price and submits
                                      $30: Tier 2                                      claim form for reimbursement up to 50% of
                                                                                       the remaining prescription drug maximum
                                      $50: Tier 3
                                                                                       allowed amount. Specialty not covered.
                                      30% after deductible up to $250/Rx: Tier 4
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    ^ Medical HSA Plans
    How does this plan work?
            Members of HSA plans are eligible for a tax-free Health Savings Account (HSA). More on the next page.
            You can choose to receive medical care from hospitals and doctors of your choice, but you get greater cost savings when you
            utilize providers in the network.
            HSA plans have a high annual deductible, or set dollar amount, that you must pay before the insurance carrier begins paying
            for medical expenses.
            After the deductible amount is met, you are responsible for the coinsurance, which is a percentage of the total cost for
            services, up to the Out-of-Pocket Maximum, at which point the plan pays 100% of all costs.
            You pay nothing Out-of-Pocket for In-Network preventive care.
            Amounts shown below represent what YOU will be responsible for paying.
                                                         Anthem Blue Cross HSA

                                                         In Network                                           Out of Network

     Deductible-Single               $1,500 per member                                   $4,500 per member

     Deductible - Family             $2,700 per individual                               $4,500 per individual
                                     $3,000 per family                                   $9,000 per family

     Out of Pocket Max - Single      $3,000 per member                                   $9,000 per member

     Out of Pocket Max - Family      $6,000 per family                                   $18,000 per family

     Urgent Care                     10% after deductible                                30% after deductible

     Emergency Room                  10% after deductible                                10% after deductible

     Office Visit                    10% after deductible                                30% after deductible


     Rx-30day supply                 $5 or $15 after deductible; Tier 1                 Member pays the full retail price and submits claim
                                     $40 after deductible: Tier 2                       form for reimbursement up to 30% of the remaining
                                                                                        prescription drug maximum allowed amount.
                                     $60 after deductible; Tier 3
                                                                                        Specialty not covered.
                                     30% after deductible up to $250/Rx: Tier 4



                                                                    Kaiser HSA

                                                                                                In Network

     Deductible-Single                                        $1,500 per member

     Deductible-Family                                        $2,700 per family

     Out of Pocket Max - Single                               $3,000 per member

     Out of Pocket Max - Family                               $6,000 per family

     Urgent Care                                              10% after deductible


     Emergency Room                                            10% after deductible

     Office Visit                                              10% after deductible

      Rx-30day supply                                         $10 after deductible: Tier 1
                                                              $30 after deductible: Tier 2
                                                               20% after deductible up to $200/Rx: Tier 3
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            Medical HSA                              .)

                                   Health Savings Accounts (HSA)
      MAXIMUM                      EMPLOYEE ONLY                                       EMPLOYEE + FAMILY
      CONTRIBUTION
     AMOUNT
                                   Up to $3,550 annually for 2020                      Up to $7,100 annually for 2020


                                   Members between the ages of 55 through 65 are eligible to make "catch-up" contributions up to an
                                   additional $1,000 annually.


      WHAT EXPENSES                ELIGIBLE EXPENSES                                   INEUGIBLE EXPENSES
     ARE ALLOWED?

                                       ●   Medical, dental, and vision deductibles         ●   Over-the-counter medication
      NOTE: THIS IS A PARTIAL
      LIST, refertoIRS.GOV             ●   Prescription medication copays                  ●   Cosmetic or elective surgery
      FOR MORE INFO                    ●   Acupuncture and chiropractor                    ●   Personal trainers

                                       ●   Labs and x-rays                                 ●   Marriage or career counseling


      ELIGIBILITY                      ●   You may participate in an HSA if:
                                           o   You have no other health coverage, unless the other plan is also an HSA-eligible health
                                               plan,
                                           o   You aren't enrolled in Medicare,

                                           o   You can't be claimed as a dependent on someone else's tax return.


     ADVANTAGES OF AN HSA              ●   HSA funds can be used to pay for medical, dental, vision, alternative medicine, long term care
                                           premiums, COBRA, and other covered services.
                                       ●   When used for eligible medical expenses, HSA funds are tax-free.*
                                       ●   Contributions are tax-deductible and earnings grow tax-free.*
                                       ●   HSA funds roll over from year-to-year.
                                       ●   HSA accounts are portable and yours to keep regardless of your employer or insurance carrier.
                                       ●   Deposits can be invested in mutual funds.


     THINGS TO CONSIDER                ●   Plans eligible for HSAs come with a high annual deductible.
                                       ●   High-Deductible Health Plans and Health Savings Accounts can seem more complicated than
                                           traditional health plans. Take the time to fully understand how your plan works.
                                       ●   Members will need to save receipts for eligible expenses for tax filing purposes.


      HOW TO OPEN YOUR HSA         Discovery Benefits
                                   WWW,discovervbenefits.com
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    Ooenta
    How does this plan work?
         ●    Dental plans offer flexibility to see any dentist or specialist In or Out-of-Network.
         ●    Costs are lowest when enrollee visits a participating network provider.
         ●    No ID cards needed! Simply provide the identifying information requested by the dental office.


                                                              ANNUAL                                                                ORTHO
                              DENTIST         DEDUCTIBLE                     PREVENTIVE      BASIC      MAJOR
                                                              BENEFIT                                                   ORTNO       UFETtME
                              CHARGES         PER MEMBER                     SERVICES**      SERVICES   SERVICES
                                                                                                                   *«

                                                              MAXIMUM                                                               MAXIMUM




     Cigna Healthcare Dental PPO Premier
      IN-NETWORK                Fee           $25              $2,500         0%             10%        40%             50% for      $1,500
                                Schedule                                                                                Adult and
                                                                                                                        Child




     OUr-OF-NETWORK             95% UCR*      $25              $2,500         0%             10%        40%             50% for      $1,500
                                                                                                                        Adult and
                                                                                                                        Child




     Cigna Healthcare Dental PPO Base
     IN-NETWORK                 Fee           $50              $1,500         0%             20%        50%             N/A          N/A
                                Schedule




     OUT-OF-NETWORK             90% UCR*      $50              $1,500         0%             20%        50%             N/A          N/A




    ● Usual, customary, and reasonable amount (UCR) is the amount reimbursed to providers based on the prevailing fees in a specific area.
    **
         Please refer to the plan summary for detailed information about these categories of service.
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            Vision

    How does this plan work?
        ●   Vision plans offer flexibility to see any optometrist or specialist In or Out-of-Network.
        ●   Costs are lowest when enrollee visits a participating network provider.
        ●   No ID cards needed! Simply provide the identifying information requested by the vision office.
                            EXAM COPAY                 LENSES COPAY                CONTACT LENSES COPAY       FRAMES COPAY

                            (EVERY 12 MONTHS)          (EVERY 12 MONTHS)           (EVERY 12 MONTHS)          (EVERY 12 MONTHS)



     Cigna Healthcare Vision
     IN-NETWORK            $10 (combined with           $15 (combined with         $150 allowance              $180 allowance
                           materials copay)             exam copay)

     OUT-OF-NETWORK        Reimbursed up to $45         Reimbursed up to           Reimbursed up to $120       Reimbursed up to $100
                                                        Single: $40
                                                        Lined bifocal: $65
                                                        Lined trifocal: $75
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              Life Insurance
    How does this benefit work?
       ●     Life insurance is designed to provide protection for you and your family against loss of income due to accidental death.
       ●     For life insurance, make sure that your beneficiary (or multiple beneficiaries) are designated properly to ensure that your benefits are
             paid out according to your specifications.
       ●     Employees are subject to imputed income on iife Insurance amounts over $50,000 paid by the employer.
       ●     These benefits are provided at no cost to you.
       ●     Accidental Death & Dismemberment insurance provides income protection to you and your family in case of an accident.
    Basic Life/AD&D
     CARRIER                               AMOUNT                                    BENEFIT MAXIMUM                      GUARANTEE ISSUE


     Anthem Blue Cross                     lx Salary                                 $250,000                             $250,000



             Voluntary Life Insurance
    How does this benefit work?
       ●     For additional protection, voluntary life insurance is offered.
       ●     Monthly premiums vary based on your desired coverage level and age; this will be deducted directly from your paycheck.
       ●     The Guarantee issue amount is only available to new hires or the first time a company is offering the benefit.
       ●     Election for voluntary life insurance outside of new hire election period requires completion of an Evidence of Insurability (EOl) form.
       ●     You must purchase voluntary life coverage for yourself as an employee to purchase coverage for a dependent.
       ●     Please note: You might need to fill out an Evidence of Insurability (EOl) form to receive benefit amounts over the Guarantee Issue
             amount below. Without a completed form, approved by the carrier, your voluntary life insurance benefit amount will be limited to
             the Guarantee Issue amount.

                                         INCREMENTS                                                    MAXIMUM UMIT


     EMPLOYEE                            Choice $5000 increments                                       Not to exceed 5 times salary

     SPOUSE                              Choice $5000 increments                                       Not to exceed 50% of employee amount

     CHILD                               Choice $5000 increments                                       Not to exceed 50% of employee amount


                                         EMPLOYEE                                SPOUSE                                   CHILD


     MINIMUM COVERAGE AMOUNT             $5,000                                  $5,000                                   $5,000

     MAXIMUM COVERAGE AMOUNT             $500,000                                $250,000                                 $10,000

     GUARANTEE ISSUE                     $175,000                                $30,000                                  $10,000

    Life Rates
     AGE          EMPLOYEE            SPOUSE (based on employee age)           AGE          EMPLOYEE               SPOUSE (based on employee age]

     <25          0.090000            0.090000                                 50-54        0.460000               0.460000

     25-29        0.080000            0.080000                                 55-59        0.740000               0.740000

     30-34        0.088000            0.088000                                 60-64        1.068000               1.068000

     35-39        0.117000            0.117000                                 65-69        1.845000               1.845000

     40-44        0.191000            0.191000                                 70-74        4.120000               4.120000

     45-49        0.291000            0.291000                                 75+          8.627000               8.627000


     Child Optional Life Rate         0.207                                    AD&D Rate                           0.02
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    ® Disabi ity Insurance
    How does this benefit work?
       ●   Disability benefits protect you and your family by providing a portion of your income during times when
           you are unable to work.
       ●   Duration of disability is determined by treating physician. Periods below are the max allowable.
       ●   Disability benefits coordinate with applicable state disability programs.


     Short Term Disability
     CARRIER                AMOUNT                   MAXIMUM WEEKLY BENEFIT            BENEFIT PERIOD MAX    EUMINATION PERIOD


     Anthem Blue Cross      60.00%                   $2,500                            Up to 12 weeks        7 Days



     Long Term Disability
     CARRIER                AMOUNT                   MAXIMUM MONTHLY BENEFIT            BENEFIT PERIOD       EUMINATION PERIOD


     Anthem Blue Cross      60.00%                   $10,000                            SSNRA                90 Days




     Definitions

     Elimination Period                The elimination period is when an employee must satisfy a specified number of days or months
                                       before the disability benefit is paid.

     SSNRA                             Social Security Normal Retirement Age.
     Benefit Period                    The length of time that the disability benefits will be paid to an employee. Disability benefits will
                                       be paid from the end of the elimination period until the earliest of:
                                       (1) Completion of the benefit duration
                                       (2) Employee's recovery or
                                       (3) Employee's death
                                       For LTD, the max benefit period is determined by your age when you become disabled. Common
                                       LTD benefit periods are: To age 65, ADEA, SSNRA and RBD.
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             P
                 re-Tax Flexible Spending Accounts (FSA)
    How does this benefit work?
        ●   Flexible Spending Accounts (FSA) are like checking accounts that can be funded using pre-tax dollars deducted
            directly from your paycheck.
        ●   Eligible Flealth Care or Dependent Care expenses can be reimbursed from these accounts.
       *    You must enroll in your FSA every year in which you plan to participate, even if you currently hold an FSA.
        ●   Health Care FSA is for health expenses for you and your dependents.
        ●   Dependent Care FSA is for childcare / adult care expenses while you work.
       ●    FSA elections are annual. They can only be changed with a qualifying life event.


    Plan Year: January 1,2020 - December 31, 2020

                    Account Type                                   Provider                           Maximum Contribution Amount

     Healthcare FSA                                            Discovery Benefits                                    $2,750

     Limited Purpose Healthcare FSA                            Discovery Benefits                                    $2,750

     Dependent Care FSA                                        Discovery Benefits                                    $5,000



     What expenses are allowed?         Health Care FSA                                     Dependent Care PSA

                                        Eligible expenses         Ineligible expenses       Eligible expenses           Ineligible expenses
                                             Health related            Cosmetic surgery          Workday                      Education
                                             costs (medical,           Non-prescription          childcare services           expenses
                                             dental, and vision        medication                Cost of care at a            Transportation
                                             copays)                   Life insurance            licensed daycare             expenses for
                                        ✓                                                                                     childcare
                                             Prescription              premiums                  Before or after
                                             medication                                          school care


     What happens to account            By IRS regulations, the account holder can roll     Use it or lose it. By IRS regulations, the account
     funds at the end of the year?      over up to $500 from the previous year's            holder loses any unclaimed money in the
                                        balance to the following year. Consult your full    account at the end of the plan year per your
                                        plan summary for more details.                      group plan set-up. Consult your full plan
                                                                                            summary for more details.


     How do I make changes to my        You can make changes to your participation and/or contribution amount during open enrollment
     participation?                     period or with a qualifying event only. Make sure you budget and plan according to your
                                        projected Health and Dependent Care needs.


     What if I participate in an        If you enroll in a High Deductible Health Plan, you can still enroll in a Limited Purpose Health Care
     HDHP + HSA?                        FSA. The Limited Purpose Health Care FSA should only be used for eligible dental and vision
                                        expenses.



     Where can I get more               IRS Publication 502: Medical and Dental Expenses, and IRS Publication 503: Dependent Care
     information?                       Expenses list eligible expenses. These publications are available online at
                                        https://www.irs.gov/forms-instructions. or by calling 1-800-TAX-FORM.
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   ^ Commuter Benefits
    How does this benefit work?
        ●   Funds are directly deducted from your paycheck.
        ●   This is a monthly benefit.
        ●   Participation in this benefit and the contribution amount can be changed at any time throughout the plan year.


                                                  Commuter                                         Parking
     Provider                                     Discovery Benefits                               Discovery Benefits

     Maximum IRS Pre-Tax Contribution             $270 per month                                   $270 per month
     Amount

     What Expenses Are Allowed?                       ●   Mass transit fares                          ●      Parking at or near your work
                                                                                                             location
                                                      ●   Monthly bus passes
                                                      ●   Vanpooling fees                             ●    Parking at a location from which
                                                                                                           you participate in a carpool or
                                                                                                             board mass transit


     What Expenses Are Not Allowed?                   ●   Taxi fares                                  ●      Parking costs at home
                                                      ●   Bridge tolls                                ●      Parking when not commuting to
                                                      ●   Cost of auto maintenance                         or from work location
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                401(k)
    How does this benefit work?
    In addition to benefits that provide security for today, you can make saving for the future easy with a 401(k) plan that allows you to
    save a portion of your salary toward retirement. Contributions are automatically deducted from your paycheck and can be invested in
    a portfolio at your discretion.


     Provider                             Vanguard
                                          mv.vaneuardplan.com

     When Can I Enroll?                   First of the month following 1 month of service
                                          Must be 21 years of age
     How Do I Enroll?                     Online through the website above
     How Much Can 1 Contribute?           2020 IRS Deferral Limit: $19,500
                                                    Increased to $26,000 for anyone 50 years of age or older in the calendaryear
     Deferral Types                       Pre-tax (Traditional)
                                          After-tax (Roth)
                                          Additional After-Tax (Non-Roth)*

     Key Deferral Type Attributes         PRE-TAX (TRADITIONAL)                              AFTER-TAX(ROTH)
                                          Contributions are made before taxes are            Contributions are made after taxes have been
                                          applied, which reduces current tax burden.         applied.
                                          All capital gains, dividends, interest, etc.       All capital gains, dividends, interest, etc. grow
                                          grow within the account on a tax-deferred          tax-free in the account.
                                          basis.
                                                                                             Account holder becomes eligible to withdraw
                                          Account holder becomes eligible to                 at age 59 %. Withdrawals are not subject to
                                          withdraw at age 59 ’/i without penalty.            taxes but funds must be held in account for at
                                          Withdrawals will be taxed at then-current          least five years.
                                          rates and total income levels.

                                          All withdrawals prior to eligibility are subject
                                          to limitations, taxes, and /or penalties.


     *Additional Deferral Options         ADDITIONALAFTTR-TAX (NON-ROTH)
                                          Your plan allows for Additional After-Tax contributions above the IRS deferral limits above.
                                          The maximum limit for all employee and employer contributions in 2019 is $56,000. These
                                          funds as well as any Pre-Tax dollars are eligible to be converted to Roth through "In-Plan Roth
                                          Conversions."

                                          Please note that any gains from After-Tax deferrals or Pre-Tax contributions and earnings
                                          converted to Roth will be subject to income taxes at time of conversion. Please consult a tax
                                          advisor before using these new features.
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                   I
                   I    Getting Started with Your Enrollment

        It's time for you to choose your benefits coverages for 2019. Even if you are happy
        with your elections from last year, it's always a good practice to review and confirm
        that you've selected the right plan for you and your family. Sign in to your benefits
        portal online to select from the plans being offered.


        Login to Your Benefits Portal: https://access.pavlocitv.com



          I        I Never feel lost when it comes to using your benefits. Your Employee
         ^           Advocate can guide you to the answers you need.
        Ourteam of Employee Advocates are dedicated to make sure you get the support you need. They are there to help you
        navigate through the benefit process and can even help with complex claims issues.


        Employee Advocate
        Mon-Fri 8:30am -5pm PST

        PHONE:    (833)208-3343


        E-MAIL:   nuro@help.sequoia.com




     THE FINE PRINT                                                          LOOKING TO LEARN MORE?


      Notice of Privacy Practices                                            Glossary of terms
      Premium Assistance under Medicaid and the Children's Health            Benefit FAQs
      Insurance Program (CHIP)                                               Overviews of key benefits
     Women's Health and Cancer Rights Act (WHCRA)                            Helpful guides and more
     Statement of Rights under the Newborns' and Mothers' Health             are available online at seouoia.com/resources
      Protection Act (NMHPA)
     Special Enrollment Notice
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                  egal Disclosures And Required Documents

    NOTICE OF PRIVACY PRACTICES                                                information to Business Associates once they have agreed in writing to
                                                                               safeguard the protected health information. For example, we may
    THIS NOTICE DESCRIBES HOW MEDICAL INFORMATION ABOUT                        disclose your protected health information to a Business Associate to
    YOU MAY BE USED AND DISCLOSED AND HOW YOU CAN GET                          administer claims. Business Associates are also required by law to
    ACCESS TO THIS INFORMATION. PLEASE REVIEW IT                               protect protected health information.
    CAREFULLY. THIS NOTICE APPLIES TO SELF-INSURED GROUP
                                                                               To the Plan Sponsor. We may disclose protected health information
    HEALTH PLANS OF Sequoia Consulting Group. IF ANY.
                                                                               to certain employees of Nuro for the purpose of administering the Plan.
                                                                               These employees will use or disclose the protected health information
    Our Company’s Pledge to You                                                only as necessary to perform plan administration functions or as
    This notice is intended to inform you of the privacy practices followed
                                                                               otherwise required by HIPAA, unless you have authorized additional
                                                                               disclosures. Your protected health information cannot be used for
    by the Nuro Group Health Plan (the Plan) and the Plan’s legal
                                                                               emplo^ent purposes without your specific authorization.
    obligations regarding your protected health information under the
    Health Insurance Portability and Accountability Act of 1996 (HIPAA).       Organ and Tissue Donation Requests. We can share health
    The notice also explains the privacy rights you and your family            information about you with organ procurement organizations. We can
    members have as participants of the Plan. This notice is effective June    also share information with a coroner, medical examiner, or funeral
    27. 2018. The Plan often needs access to your protected health             director when an individual dies.
    information in order to provide payment for health services and perform    Pursuant to your Authorization. When required by law, we will ask
    plan administrative functions. We want to assure the participants          for your written authorization before using or disclosing your protected
    covered under the Plan that we comply with federal privacy laws and        health information. Uses and disclosures not described in this notice
    respect your irght to privacy. Nuro Group Health Plan requires all         will only be made with your written authorization. Subject to some
    members of ourworicforce and third parties that are provided access to     limited exceptions, your written authorization Is required for the sale of
    protected health infonnation to comply with the privacy practices          protected health information or the use or disclosure of protected
    outlined below.
                                                                               health infonnation for marketing purposes. If you choose to sign an
                                                                               authorization to disclose information, you can later revoke that
    Protected Health Information                                               authorization to prevent any future uses or disclosures.

    Your protected health information is protected by the HIPAA Privacy        As permitted or required by law. We may also use or disclose your
                                                                               protected health information without your written authorization for other
    Rule. Generally, protected health infonnation is information that
    identifies an individual created or received by a health care provider,    reasons as permitted by law. Subject to certain requirements, we are
    health plan or an employer on behalf of a group health plan that relates   pennitted by law to share infomiation without your written
    to physical or mental health conditions, provision of health care, or      authorization, including but not limited to, information on health-related
                                                                               benefits or services that may be of interest to you, respond to a court
    payment for healtii care, whether past, present or future.
                                                                               order, provide information to further public health activities (e.g.,
                                                                               preventing the spread of disease), provide infonnation for research
    How We May Use Your Protected Health Information                           purposes, help with product recalls, report adverse reactions to
    Under the HIPAA Privacy Rule, we may use or disclose your protected        medications, report suspected abuse, neglect, or domestic violence,
    health information for certain purposes without your permission. This      and prevent or reduce a serious threat to anyone's health or safety.
    section describes the ways we can use and disclose your protected          We are also permitted to share protected health information during a
    health information.                                                        corporate restructuring such as a merger, sale, or acquisition.
                                                                               Government Requests. We can use or share health information
    Payment We use or disclose your protected health infonnation
    without your written authorization in order to determine eligibility for   about you for workers' compensation claims, for law enforcement
                                                                               purposes or with a law enforcement official, with health oversight
    benefits, seek reimbursement from a third party, or coordinate benefits
    with another health plan under which you are covered. For example, a       agencies for activities authorized by law, and for special government
    health care provider that provided treatment to you will provide us with   functions such as military, national security, and presidential protective
                                                                               services.
    your health infomiation. We use that infomiation in order to determine
    whether those services are eligible for payment under our group health
    plan.                                                                      YOUR RIGHTS
    Health Care Operations. We use and disclose your protected health          Right to Inspect and Copy. In most cases, you have the irght to
    information in order to perform plan administration functions such as      inspect and copy the protected health information we maintain about
    quality assurance activities, resolution of internal grievances, and       you. If you request copies, we vnll charge you a reasonable fee to
    evaluating plan perfonnance. For example, we review claims                 cover the costs of copying, mailing, or other expenses assodated with
    experience in order to understand participant utilization and to make      your request. Your request to inspect or review your healtii information
    plan design changes that are intended to control health care costs.        must be submitted in writing to the person listed below. In some
    However, we are prohibited from using or disclosing protected health       circumstances, we may deny your request to inspect and copy your
    information that is genetic information for our underwriting purposes.     health information. To the eirtent your information is held in an
    This does not apply to long term care plans.                               electronic health record, you may be able to receive the information in
    Treatment. Although the law allows use and disclosure of your              an electronic format.
    protected health information for purposes of treatment, as a health plan   Right to Amend. If you believe that information within your records is
    we generally do not need to disclose your information for treatment        incorrect or if important information is missing, you have the irght to
    purposes. Your physician or health care provider is required to provide    request that we correct the existing infonnation or add the missing
    you with an explanation of how they use and share your health              infonnation. Your request to amend your health information must be
    information for purposes of treatment, payment, and health care            submitted in writing to the person listed below. In some
    operations.                                                                circumstances, we may deny your request to amend your health
    To Business Associates. We may enter into contracts with entities          infonnation. If we deny your request, you may file a statement of
    known as Business Associates that provide services to or perform           disagreement with us for inclusion in any future disclosures of the
    functions on behalf of the Plan. We may disclose protected health          disputed information.
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    Right to an Accounting of Disciosures. You have the right to                 www.hhs.gov/ocr for further information. You will not be penalized or
    receive an accounting of certain disclosures of your protected heaith        retaliated against for filing a complaint with the Office of Civil Rights or
    information. The accounting witi not inciude disclosures that were           with us.
    made (1) for purposes of treatment, payment or heaith care operations:
    (2) to you; (3) pursuant to your autiiorization; (4) to your friends or
                                                                                 AVAILABILITY OF SUMMARY HEALTH INFORMATION
    family in your presence or because of an emergency; (5) for nationai
    security purposes; or (6) incidental to otherwise pemnissible                As an employee, the health benefits available to you represent a
    disciosures.                                                                 significant component of your compensation package. They also
    Your request for an accounting must be submitted in writing to the           provide important protection for you and your family in the case of
    person listed beiow. You may request an accounting of disciosures            illness or injury.
    made within the last six years. You may request one accounting free of       Your plan offers a series of health coverage options. Choosing a health
    charge within a 12-month period.                                             coverage option is an important decision. To help you make an
    Right to Request Restrictions. You have the irght to request that we         informed choice, your plan makes available a Summary of Benefits
    not use or disciose information for treatment, payment, or other             and Coverage (SBC), which summarizes important information about
    administrative purposes except when specifically authorized by you,          any health coverage option in a standard format, to help you compare
    when required by law, or in emergency circumstences. You also have           across options. These are often made available in paper format, by
    the irght to request that we limit the protected health information that     being emailed to you, or on our online benefits administration system.
    we disclose to someone involved in your care or the payment for your         If you did not receive a copy of the SBC or if you have further
    care, such as a family member or friend. Your request for restrictions       questions, please contact your HR team. If you did not receive a paper
    must be submitted in writing to the person                                   copy of the SBC and you would like to have one, please contact your
                                                                                 HR team.
    listed below. We will consider your request, but in most cases are not
    legally obligated to agree to those restrictions.
    Right to Request Confidential Communications. You have the irght             COBRA CONTINUATION COVERAGE
    to receive confidential communications containing your health                COBRA Rights
    infonnation. Your request for restrictions must be submitted in writing
    to the person listed below. We are required to accommodate                   In compliance with COBRA. Nuro Group Health Plan offers extended
    reasonable requests. For example, you may ask that we contact you            coverage for medical, dental and vision, once the Company becomes a
    at your place of employment or send communications regarding                 COBRA covered employer (if not already). Extended coverage is
    treatment to an alternate address.                                           offered when coverage under these plans would otherwise end due to
                                                                                 a qualifying event.
    Right to Choose Someone to Act for You. If you have given
    someone medical power of attorney or if someone is your legal
    guardian, that person can exercise your irghts and make choices about        You and your dependents may extend coverage in these plans for 18
    your health information. We will make sure the person has this               months if coverage is lost due to one of the qualifying events listed
    authority and can act for you before we take any action.                     below. (California employees who exhaust their federal COBRA
    Right to be Notified of a Breach. You have the irght to be notified in       coverage and who are covered under a fully insured plan based in
    the event that we (or one of our Business Associates) discover a             California may continue their medical coverage under Cal-COBRA for
                                                                                 an additional 18 months - total of 36 months.
    breach of your unsecured protected health information. Notice of any
    such breach will be made in accordance with federal requirements.                ●       Voluntary termination
    Right to Receive a Paper Copy of this Notice. If you have agreed to              ●       Involuntary termination (except for termination due to gross
    accept this notice electronically, you also have a right to obtain a paper               misconduct)
    copy of this notice from us upon request. To obtain a paper copy of this         ●       Reduction of hours (strike, layoff, leave of absence (not a
    notice, please contact the person listed below.                                          FMLA], and change from full-time to part-time)
    Our Legal Responsibilities
    We are required by law to maintain the privacy of your protected health      COBRA coverage may be extended from 18 - 29 months for qualified
    information, provide you with this notice about our legal duties and         beneficiaries who are deemed by the Social Security Administration to
    privacy practices with respect to protected health information and notify    have been disabled before the end of the first 60 days of COBRA
    affected individuals following a breach of unsecured protected health        continuation coverage and who timely notify the Plan Administrator.
    information.                                                                 However, once COBRA coverage ends for any reason, it will not be
    We may change our policies at any time and resen/e the right to make         reinstated.
    the change effective for all protected health information that we            Your dependents may extend coverage for 36 months if any of the
    maintain. In the event that we make a significant change in our              following qualifying events occur.
    policies, we will provide you with a revised copy of this notice. You can
                                                                                         ●     Death of the employee
    also request a copy of our notice at any time. For more infonnation
    about our privacy practices, contact the person listed below.                        ●     Divorce or legal separation
    If you have any questions, please contact                                            ●     Dependent child ceasing to be a dependent.


    Michelle Nguyen, HR Generalist                                               Even though more than one qualifying event may occur, 36 months of
    Nuro                                                                         extended coverage is the maximum extension available. You or your
                                                                                 dependent(s) pay the full cost of the extended coverage you choose
    1300 Terra Bella Drive
                                                                                 plus a 2% administrative fee (fee may be greater under Cal-COBRA).
    Mountain View, CA 94043
    Phone number (650) 476-2687 - mnQuven@nuro.ai
                                                                                 Important Note
                                                                                 The IRS does not recognize Domestic Partners and/or children of a
    If you are concerned that we have violated your privacy rights, or you
                                                                                 Domestic Partner as “Qualified Benefidaries” for COBRA purposes.
    disagree with a decision we made about access to your records, you
                                                                                 Please refer to the Summary Plan Description for specific information
    may contact the person listed above. You also may send a written
                                                                                 as it relates to your plan. Under certain circumstances, a group health
    complaint to the U.S. Department of Health and Human Sen/ices —
                                                                                 plan may extend COBRA rights to domestic partners.
    Office of Civil Rights. The person listed above can provide you with
    the appropriate address upon request or you may visit
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                                                                                                         You become covered under another health plan without pre
    COBRA coverage will tenninate due to any one for the following:                                      existing condition limitations or exclusions applying to you or
         ●     You reach the end of your initial coverage period {18, 29, or                             your beneficiaries' health
               36 months)                                                                                You become entitled to Medicare

         ●     Failure to pay premiums in a timely manner (specified                                     Nuro cancels all group plans
               timelines would apply)




    Premium Assistance Under Medicaid and the Children’s Health Insurance Program (CHIP)

    If you or your children are eligible for Medicaid or CHIP and you're eligible for         these programs, contact your State Medicaid or CHIP office or dial 1-877-
    health coverage from your employer, your state may have a premium                         KIDS NOW or www.insurekidsnow.gov to find out how to apply. If you
    assistance program that can help pay for coverage, using funds from their                 qualify, ask your state if it has a program that might help you pay the
    Medicaid orCHiP programs. Ifyouoryourchildren aren't eligible for                         premiums for an employer-sponsored plan.
    Medicaid or CHIP, you won't be eligible for these premium assistance                      If you or your dependents are eligible for premium assistance under
    programs but you may be able to buy individual insurance coverage through                 Medicaid or CHIP, as well as eligible under your employer plan, your
    the Health Insurance Marketplace. For more information, visit                             employer must allow you to enroll In your employer plan if you aren't
    www.healthcare.gov.                                                                       already enrolled. This is called a “special enrollment" opportunity, and you
    If you or your dependents are already enrolled in Medicaid or CHIP and you                must request coverage within 60 days of being determined eligible for
    live in a State listed below, contact your State Medicaid or CHIP office to find          premium assistance. If you have questions about enrolling in your employer
    out if premium assistance is available.                                                   plan, contact the Department of Labor at www.askebsa.dol.gov or call 1-866-
                                                                                              444-EBSA (3272).
    If you or your dependents are NOT currently enrolled in Medicaid or CHIP,
    and you think you or any of your dependents might be eligible for either of




    If you live in one of the following states, you may be eligible for assistance paying your employer health plan premiums. The following list of
    states is current as of August 10, 2017. Contact your State for more information on eligibiiity.


     ALABAMA - Medicaid                                                                 FLORIDA - Medicaid

     Website: http://myalhipp.com/                                                      Website: http://flmedicaidtplrecovery.com/hipp/
     Phone: 1-855-692-5447                                                              Phone: 1-877-357-3268

     ALASKA-Medicaid                                                                    GEORGIA - Medicaid

     The AK Health Insurance Premium Payment Program                                    Website: http://dch.georgia.gov/medicaid
     Website: http://myakhipp.com/                                                      - Click on Health Insurance Premium Payment (HIPP)
     Phone:    1-866-251-4861                                                           Phone: 404-656-4507

     Email: CustomerService@MyAKHIPP.com
     Medicaid Eligibility:
     http://dhss.alaska.gov/dpa/Pages/medicaid/default.aspx
     ARKANSAS - Medicaid                                                                INDIANA - Medicaid

     Website: http://myarhipp.com/                                                      Heaithy Indiana Plan for low-income adults 19-64
     Phone: 1-855-MyARHIPP (855-692-7447)                                               Website: http://www.in.gov/fesa/hip/
                                                                                        Phone: 1-877^38-4479

                                                                                        All other Medicaid

                                                                                        Website: http://www.indianamedicaid.com
                                                                                        Phone 1-800-403-0864

     COLOF?ADO - Health First Colorado (Colorado’s Medicaid Program)                    IOWA - Medicaid
     & Child Health Plan Plus (CHP+)

     Health First Colorado Website: https://www.healthfirBtcolorado.c om/               Website:

     Health First Colorado Member Contact Center:                                       http://dhs.iowa.gov/ime/members/medicaid-a-to-z/hipp
     1-800-221-3943/ State Relay 711                                                    Phone: 1-888-346-9562

     CHP+: Colorado.gov/HCPF/Child-Health-Plan-Plus
     CHP+ Customer Service: 1-800-359-1991/

     State Relay 711
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     KANSAS-Medicaid                                                                       NEW HAMPSHIRE - Medicaid

     Website: htlp://www.kdbeks.Qov/hcf/                                                  Website;                                /iii'clocunients.’'hiDDit:x>

     Phone: 1-785-296-3512                                                                Phone: 603-271-5218


     KENTUCKY-Medicaid                                                                     NEW JERSEY - Medicaid and CHIP

     Website; htto://chfs.kv.aov/dms/default.hlm                                          Medicaid Website;

     Phone: 1-800-635-2570                                                                http://www.stale, ni.us/humrii.

                                                                                          dmahsydients/medicaid/

                                                                                          Medicaid Phone: 609-631-2392

                                                                                          CHIP Website: "■●.i,                             _● ■ ■tex.hlml
                                                                                          CHIP Phone: 1-800-701-0710

     LOUISIANA-Medicaid                                                                    NEW YORK-Medicaid

     Website: rr:,.                 y      ]Ov/index.cfm/subhome/1/n 3                    Website:       ^   '●●'●yr': ■ilth.nv                          -   t!£!
     Phone: 1-888-695-2447                                                                Phone: 1-800-541-2831

     MAINE-Medicaid                                                                       NORTH CAROLINA - Medicaid

     Website: :i:;D://www.maine.QO.                                                       Website:   httDs://dma.ncdhhs.Qov/

     Phone: 1-800-442-6003                                                                Phone: 919-855-4100

     TTY: Maine relay 711

     MASSACHUSETTS - Medicaid and CHIP                                                    NORTH DAKOTA - Medicaid

     Website: httD://www.mass.qov/eohhs/QOv/deDartments in.!                              Website: h:;p.//www.nd-qov/dhs/5ervices/medicnlsi;fv iivdicnid-
     Phone: 1-800-862-4840                                                                Phone: 1-844-854-4825

     MINNESOTA - Medicaid                                                                 OKLAHOMA - Medicaid and CHIP

     Website; r                                                                           Website: htto://www.insureoklahoma.orQ
     I
                                                                                          Phone: 1-888-365-3742
     Phone: 1-800-657-3739

     MISSOURI - Medicaid                                                                  OREGON - Medicaid

     Website:              A*.               ●nih'      !r;K                              Website: http://healthcare.oreaon.aQv/Paaes/index.asDx

     Phone; 573-751-2005                                                                  ’ y   .'. .●.●w.oreaonhealthcare.aov/index-es hlml

                                                                                          Phone: 1 ●800-699-9075

     MONTANA - Medicaid                                                                   PENNSYLVANIA - Medicaid

     Website:         ,                                        :areProQrams/HIPP          Website:
                                                                                                                                      alassistance/healthinsLjranceDremiumpavnion'.h:
     Phone: 1-800-694-3084
                                                                                          DPproQram/index.htm

                                                                                          Phone: 1-800-692-7462

     NEBRASKA-Medicaid                                                                    RHODE ISLAND - Medicaid

     Website: http;/Avww.ACCESSNebraska.ne.gov                                            Website: http://www.eohhs.ri.qov/

     Phone: (855) 632-7633                                                                Phone: 855-697-4347

     Lincoln; (402) 473-7000
     Omaha: (402) 595-1178

     NEVADA-Medicaid                                                                      SOUTH CAROLINA - Medicaid

     Medicaid Website:           https://dwss.nv.oov/                                     Website: https7/www.scdhhs.aov

     Medicaid Phone:       1-800-992-0900                                                 Phone: 1-888-549-0820


     SOUTH DAKOTA - Medicaid                                                                WASHINGTON - Medicaid

     Website: http://dss.sd.gov                                                             Website: http:/Awww.hca.wa.gov/free-or-low-cost-bealth-care/prog ram-
     Phone: 1-888-828-0059                                                                  ad ministration/premium-payment-program
                                                                                            Phone:     1-800-562-3022 ext.            15473




     TEXAS-Medicaid                                                                         WEST VIRGINIA - Medicaid
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     Website: http://gethipptexas.com/                                          Website: http://mywvhipp.com/
     Phone: 1-800^40-0493                                                       Toll-free phone: 1-855-MyWVH!PP (1-855-699-8447)

     UTAH - Medicaid and CHIP                                                   WISCONSIN - Medicaid and CHIP

     Medicaid Website: https://medicaid.utah.gov/                               Website:

     CHIP Website: http://health.utah.gov/chip                                  https://www.dhs.wisconsin.gov/publications/p1/p10095.pdf
     Phone: 1-877-543-7669                                                      Phone: 1-800-362-3002


     VERMONT- Medicaid                                                          WYOMING-Medicaid

     Website: http://www.greenmountaincare.org/                                 Website: https://wyequalitycare.acs-inc.com/
     Phone: 1-800-250-8427                                                      Phone: 307-777-7531


     VIRGINIA - Medicaid and CHIP

     Medicaid Website:
     http://www.coverva.org/programs_premium_assistance.cfm
     Medicaid Phone:     1-800-432-5924

     CHIP Website:
     http://www.coverva.org/programs_premium_assistance.cfm
     CHIP Phone: 1-855-242-8282




    To see if any other states have added a premium assistance program since August 10, 2017, or for more information on special enrollment rights,
    contact either:



    U.S. Department of Labor                          U.S. Department of Health and Human Services
    Employee Benefits Security Administration         Centers for Medicare & Medicaid Services

    vrww.dol.gov/agencies/ebsa                        www.cms.hhs.gov
    1-866-444-EBSA (3272)                             1-877-267-2323, Menu Option 4, Ext. 61565
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    Paperwork Reduction Act Statement

    According to the Paperwork Reduction Act of 1995 (Pub. L 104-13) (PRA), no persons are required to respond to a collection of information unless
    such collection displays a valid Office of Management and Budget (0MB) control number. The Department notes that a Federal agency cannot conduct
    or sponsor a collection of information unless it is approved by 0MB under the PRA, and displays a currently valid 0MB control number, and the public is
    not required to respond to a collection of information unless it displays a currently valid 0MB control number. See 44 U.S.C. 3507. Also,
    notwithstanding any other provisions of law, no person shall be subject to penalty for failing to comply with a collection of information if the collection of
    information does not display a currently valid 0MB control number. See 44 U.S.C. 3512.

    The public reporting burden for this collection of information is estimated to average approximately seven minutes per respondent. Interested parties are
    encouraged to send comments regarding the burden estimate or any other aspect of this collection of information, including suggestions for reducing this
    burden, to the U.S. Department of Labor, Employee Benefits Security Administration, Office of Policy and Research, Attention; PRA Clearance Officer,
    200 Constitution Avenue, N.W., Room N-5718, Washington, DC 20210 or email ebsa.opr@dol.gov and reference the 0MB Control Number 1210-0137.

                                                                                                          0MB Control Number 1210-0137 (expires 12/31/2019)


    WOMEN’S HEALTH AND CANCER RIGHTS ACT (WHCRA)
    Your plan, as required by the Women's Health and Cancer Rights Act of 1998 (WHCRA), provides benefits for mastectomy-rel ated services inciuding all
    stages of reconstruction and surgery to achieve symmetry between the breasts, prostheses, and complications resulting from a mastectomy, including
    lymphedema. These benefits will be provided subject to the same deductibles and coinsurance applicable to other medical and surgical benefits
    provided under this plan.


    Please see the Group Heafth Plan’s Benefit Booklet for deductibles and coinsurance for the plan you are enrolling in. If you would like more information
    on WHCRA benefits, call your Plan Administrator.

    STATEMENT OF RIGHTS UNDER THE NEWBORNS’ AND MOTHERS’ HEALTH PROTECTION ACT (NMHPA)

    Under federal law, group health plans and health insurance issuers offering group health insurance coverage generally may not restrict benefits for any
    hospital length of stay in connection with childbirth for the mother or newborn child to less than 48 hours following a vaginal delivery, or less than 96
    hours following a delivery by cesarean section. However, the plan or issuer may pay for a shorter stay if the attending provider (e.g., your physician,
    nurse midwife, or physician assistant), after consultation with the mother, discharges the mother or newborn earlier.

    Also, under federal law, plans and issuers may not set the level of benefits or out-of-pocket costs so that any later portion of the 48- hour (or 96-hour)
    stay is treated in a manner less favorable to the mother or newborn than any earlier portion of the stay. In addition, a plan or issuer may not, under
    federal law, require that a physician or other health care provider obtain authorization for prescribing a length of stay of up to 48 hours (or 96 hours).
    However, to use certain providers or facilities, or to reduce your out-of-pocket costs, you may be required to obtain precertification. For information on
    precertification, contact your plan administrator.

    SPECIAL ENROLLMENT NOTICE

    If you do not enroll yourself and your dependents in a group health plan after you become eligible or during annual enrollment, you may be able to enroll
    under the special enrollment rules under the Health Insurance Portability and Accountability Act of 1996 ("HIPAA”) that apply when an individual declines
    coverage and later wishes to elect it. Generally, special enrollment is available if (i) you declined coverage because you had other health care coverage
    that you have now lost through no fault of your own (or employer contributions to your other health care coverage terminate): or (ii) you have acquired a
    new dependent (through marriage or the birth or adoption of a child) and wish to cover that person. To the extent that your plan documents indicate that
    when you have previously declined coverage, you must have given (in writing) the alternative coverage as your reason for waiving coverage under the
    group health plan when you declined to participate, your plan documents will control. In either case, as long as you meet the necessary requirements,
    you can enroll both yourself and all eligible dependents in the group health plan if you provide notice of enrollment to the Plan Administrator within 30
    days after you lose your alternative coverage (or employer contributions to your alternative coverage cease) or the date of your marriage or the birth,
    adoption, or placement for adoption of your child.


    You may also enroll yourself and your dependents in a group health plan if your or one of your eligible dependent’s coverage under Medicaid or the state
    Children's Health Insurance Program (CHIP) is terminated as a result of loss of eligibility, or if you or one of your eligible dependents become eligible for
    premium assistance under a Medicaid or CHIP plan. Under these two circumstances, the special enrollment period must be requested within 60 days of
    the loss of Medlcaid/CHIP coverage or of the determination of eligibility for premium assistance under Medicaid/CHIP.


    To request special enrollment or obtain more information, contact
    Michelle Nguyen, HR Generalist
    Nuro
    1300 Terra Bella Drive

    Mountain View, CA 94043
    Phone number (650) 476-2687 - mnouven(S)nuro.ai
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                                                             SEQUOIA

                                 BENEFITS SERVICES PROVIDED BY SEQUOIA CONSULTING GROUP

                         1850 Gateway Drive. Suite 700, San Mateo, California 94404 | 650.369,0200 |sequoia.com
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 1
       EXHIBIT 2
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                          DARDEN V. ANTHEM ELEVANCE LTD
                    DISABILITY PAYMENTS RELIEF COMPLAINT (ERISA)
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                                                                                                       117


                   num
                 1300 Terra Bella Ave, Suite 100 'Mountain View, CA 940431 info@nuro.ai: www.nuro.ai



DELIVERY VIA EMAIL ( mdarden@nuro.ai; mad2255@tc.columbia.edu)




To: Michael Darden



April 15. 2021

       Re: Request for Disability Leave

Dear Michael:


In an email to me on April 14, 2021, you stated that you are “going out on disability
leave. ” To make a better assessment of the situation and to determine what reasonable
accommodation(s), if any, Nuro can provide, we are requesting that you provide input
from your healthcare provider to certify a medical need and provide the anticipated
duration of the leave. Specifically, enclosed is a form that must be completed by a
qualified healthcare provider. Please take this letter, and the enclosed form and your job
description (if needed) to your healthcare provider and ask them to provide the
requested information. Piease have this form completed and signed by your healthcare
provider and return it to me by April 22, 2021.

Please be assured that we are not seeking the disclosure of any medical diagnoses
and/or other confidential and sensitive medical information to anyone at Nuro, including
myself. Thank you for your anticipated cooperation in securing your health care
provider’s response to this request. Please contact me if you have any questions or
concerns.




Sincerely

Ting Chen
Human Resources Business Partner


Enclosure(s)
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                      nura
                    1300 Terra Bella Ave, Suite 100 jMountain View, CA 94043 |info@nuro.ai! www.nuro.ai


                        REASONABLE ACCOMMODATION FORM
                         [To be completed by Healthcare Provider]

Nuro is engaged in the interactive process with Michael Darden (“employee”) to determine whether
the employee may be entitled to reasonable accommodation(s) based on a medical condition, and
what reasonable accommodation(s) could be offered to enable the employee to perform the essential
functions of their job. The employee has requested a disability leave. As part of this process, we
request you to provide the information below. Please discuss the position with our employee to
determine essential job duties and typical work schedule. Please feel free to attach additional sheets
if needed.




     1) Please verify that the employee and/or the employee’s relative has a medical
           need for the requested disability leave/reasonable accommodation.

        Yes    X       No


    2) If yes, describe how the employee’s limitations impair the ability to perform the
        duties of the job.

    Michael Darden is Disabled and unable to perform any functions of his job.




3) Please indicate whether these limitations are temporary or permanent. If
temporary, state when they are expected to end.

These limitations are currently being assessed. It is too early to determine temporary
or permanent disability.
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                                                                                                           119



                      nura
                    1300 Terra Bella Ave, Suite 100 Mountain View, CA 94043 !info(S)nuro.ai' www.nuro.ai


4) Please provide recommendations regarding specific reasonable accommodation(s). If
more than one reasonable accommodation would work, please describe all possible
reasonable accommodations. Please explain how each of these might enable employee
to perform the essential functions of their job.

     Currently there are no reasonable accommodation(s) that can be offered by your
       company that would allow Michael Darden to work in any form or capacity.
       Michael is too disabled at this time to work in any form or manner.



By signing below, I certify that the answers provided in response to the above questions are based on
my personal knowledge of the relevant facts from my own examination of the patient / employee or
based upon my own review of the relevant medical documentation, and my answers represent my
professional medical opinion.




Signature of Healthcare Provider.              Date 04.14.2021




Kenneth R. Keough


Name of Healthcare Provider (Please Print)




Address:            1625 6a ave


Phone Number:             415.531.4846


Email:          kkeouqhmft@aol.com
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                                                                                                                                   120


                                                                                       Darden, Michael <mad2255@tc.coiumbia.edu>



  Re: Medical Leave Request - More information needed, Michael Darden, Disability;
  sick days payment, question
  Darden, Michael <mad2255@tc.columbia.edu>                                                                 Thu, May 13. 2021 at 11:38 PM
  To: Michelle Nguyen <mnguyen@nuro.ai>

    Alright: Understood. Thanks again.

     On Wed, May 12, 2021, 12:43 PM Michelle Nguyen <mnguyen@nuro.ai> wrote:
       Hi Michael.

       I wanted to follow up on your use of Paid Sick Leave and explain what to expect. As you know, you started your unpaid
       leave on April 14. However, when I went into Paylocity to input your request for Paid Sick Leave for the 7 day waiting
       period, I discovered that Nuro inadvertently paid you for two days afteryou went on unpaid leave (April 15 and April
       16). As a result, Nuro will apply those 2 days to your Paid Sick Leave request and pay out the additional 3 days of Paid
       Sick Leave this pay period. Accordingly, your next pay stub will indicate 5 sick days and negative 2 regular days.
       Separately, you will also see deductions for your full month insurance payment in May (instead of split to two
       paychecks).

       Please let me know if you have any questions.

       Best,
       Michelle


       On Wed, May 12, 2021 at 11:09 AM Darden, Michael <mad2255@tc.col umbia.edu> wrote:
          Hi, Michelle:

          OK.



         Thank you and be well.

          Michael


          On Tue, May 11,2021,11:27 AM Michelle Nguyen <mnguyen@nuro.ai> wrote:
            Hi Michael,

            Yes, you may use your accrued Paid Sick Leave for that 7 day period. I will input your request to use the Paid Sick
            Leave in Paylocity. You should receive this amount for the next regularly scheduled pay date. Please let me know if
            you have any questions.

            Best,
            Michelle



            On Fri, May 7, 2021 at 2:50 PM Darden. Michael <mad2255@tc.Colum bia.edu> wrote:
                Hi, Michelle:

                For the 7 days I was off before Short-Term Disability payment started, may I please receive sick pay from Nuro
                for those days?


                Thanks once more.

                Michael
                917-868-8780




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12/13/24.12:50 PM             Tc.columbia.edu N   ?e; Medical Leave Request - More information needi   ichael Darden, Disability; sick days payment, q...
                                                                                                                                       121
               On Mon, May 3, 2021,2:37 PM Darden, Michael <mad2255@tc.columbia .edu> wrote;
                    Hi, Michelle;

                    OK.



                    Thanks again and take care.

                    Michael




                    On Mon, May 3, 2021, 2:08 PM Michelle Nguyen <mnguyen@nuro.ai> wrote;
                      Hi Michael,

                      We will cover your benefits for up to 6 months.

                      Let me know if you have any further questions.

                      Best,
                      Michelle


                      On Fri, Apr 30, 2021 at 11:46 AM Darden, Michael <mad2255@tc.Col umbia,edu> wrote:
                          Hi, Michelle:

                          For how long does Nuro pay my Anthem Blue Cross insurance premiums while I'm out on Medical
                          Disability Leave, please?


                          Thank you.

                          Michael


                          917-868-8780


                          On Mon, Apr 19, 2021, 5:39 PM Darden, Michael <mad2255@tc.Columb ia.edu> wrote:
                            Hi, Michelle;

                            You're welcome. Thank you.


                            Best as well.

                            Michael
                            917-868-8780



                            On Mon, Apr 19, 2021,4:22 PM Michelle Nguyen <mnguyen@nuro.ai> wrote:
                                Hi Michael,

                                Thank you for providing the updated reasonable accommodation form with the anticipated leave
                                duration of at least 90 days. This is to confirm that your leave request has been approved for 90 days
                                from April 15, 2021. Please let me know if anything changes or as you have further updates.

                                As for the STD Claim form. I've completed the Employer section and emailed it over to Anthem so
                                they can process your claim.

                                Let me know if you have any questions or need anything else.

                                Best,
                                Michelle


                                On Mon, Apr 19, 2021 at 7:11 AM Darden, Michael <mad2255@tc.Colu mbia.edu> wrote;
                                  Hi, Michelle:



https://maii.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=a il&permm8gid=msg-a:r5465358942942557181&dsqt=1&simpl=msg-a;r5465 35894...             2/6
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12/13/24,12:50 PM        Tc.columbia.edu M      .e: Medical Leave Request - More information neede   .:hael Darden, Disability; sick days payment, q...

                             I've completed, signed and faxed to Anthem Life my           "Employee" portion, and am asking li^^octor
                             to separately similarly submit his "Physician" portion, of the Anthem, STD Claim Form. If you
                             haven’t already, would you please as well submit your "Employer" portion of this Form as soon as
                             possible?


                             Thank you

                              Michael
                              917-868-8780




                              On Fri, Apr 16, 2021, 5:02 PM Darden, Michael <mad2255@tc.columb ia.edu> wrote;
                                Hi, Michelle;

                                Understood. Revised, requested, completed, sighed "Reasonable Accommodation" form
                                attached.



                                Thank you,

                                Michael
                                917-868-8780



                                On Fri, Apr 16, 2021, 3:15 PM Michelle Nguyen <mnguyen@nuro.ai> wrote;

                                   Hi Michael


                                   Sorry for the confusion. 1 understand that you already provided the completed healthcare
                                   provider form to Ting (copied).

                                  Thank you for providing the reasonable accommodation form from your provider so promptly.
                                  However, the completed form does not provide any estimate as to the duration of your
                                  requested leave. We need this information for business planning purposes and in order to
                                  assess the reasonableness of the requested leave. Accordingly, please provide a revised
                                  certification from your provider with an estimate of the leave duration as soon as possible but
                                  no later than April 23, 2021. Alternatively, please let us know by when you can provide an
                                  update on the anticipated duration of your leave. Please send this information to me directly.

                                  Also, I inadvertently sent you a form titled “Certification of Health Care Provider for Employee's
                                  Serious Health Condition under the Family and Medical Leave Act" in my previous email.
                                  Please disregard that form as you do not need to return it to Nuro since, as noted in my
                                  previous email, you are not eligible for FMLA.

                                   I’ve also provided you more information below regarding the leave, and now sent you all the
                                   STD and LTD forms.


                                  Again, I apologize for the confusion. Please let me or Ting know if you have any further
                                  questions, or need anything further from me.

                                  I look forward to hearing from you regarding the requested information about the anticipated
                                  duration of your leave.

                                  Thanks,
                                   Michelle




                                   On Fri, Apr 16, 2021 at 2:39 PM Michelle Nguyen <mnguyen@nuro.ai > wrote:
                                     Hi Michael,


https://mail.google.com/mail/u/0/?ik=16dcfedc8d&view=pt&search=all&permmsgid=msg-a;r5465358942942557181&dsqt=1&simpl=msg-a:r5465 35894...            3/6
                Case 4:25-cv-00911-DMR                     Document 1             Filed 01/28/25         Page 123 of 500
12/13/24,12:50 PM        Tc.coiumbia.edu M      ie: Medical Leave Request - More information neede   ohael Darden, Disability; sick days payment, q...
                                                                                                                                    123
                                     Please find the attached LTD summary below.

                                     Apologies for the confusion around the certification. We still need a medical certification
                                     from a healthcare provider certifying the need for the leave as well as the anticipated
                                     duration of the leave. I'm attaching the form that you can provide to your PCP to complete or
                                     they can use their own form for the certification.

                                     Let me know if you have any further questions!

                                     Best,
                                     Michelle


                                     On Fri, Apr 16, 2021 at 1:50 PM Darden, Michael <mad2255@tc.Colu mbia.edu> wrote:
                                        Hi, Michelle:

                                        Appreciate receiving your below-attached email. You've attached my completed signed,
                                        "medical certification" form. So you don't need me to provide that information, because
                                        you already have it: Please see the attached, "Reasonable Accommodation," MS Word-
                                        format document and confirm that you have it. I will soon complete, sign and submit the
                                        "Anthem STD Claim" form, as requested. Would you please as soon as possible, email
                                        me your Long-Term Disability forms too?


                                        Thank you and best regards.

                                        Michael
                                        917-868-8780



                                                 Forwarded message
                                        From: Michelle Nguyen <mnguyen@nuro.ai>wrote
                                        Date: Fri, Apr 16, 2021, 12:15 PM
                                        Subject: Medical Leave Request - More information needed
                                        To: <mad2255@tc.columbia.edu>
                                        Cc: Michael Darden <mdarden@nuro.ai>


                                        Hi Michael



                                        I understand that you have started your disability leave as of April 14, 2021, and wanted
                                        to follow up to provide you with the necessary information.

                                        As part of your medical leave, it will be an unpaid leave. As noted in our Employee
                                        Handbook (page 29), an unpaid leave will result in the pause of your equity vesting.
                                        Lastly, your benefits will resume as normal. However, Nuro will cover the employee
                                        portion of your benefits premiums while you are on leave. When you return, you will need
                                        to coordinate with our Payroll team so we can recoup the cost of the employee portion.

                                        An important checklist for vou:

                                                ● We require a medical certification from a healthcare provider certifying the need
                                                  for the leave as well as the anticipated duration of the leave. Please complete
                                                   the attached form & return to me within 5 business days.

                                                ● You may be eligible for wage replacement through our Anthem Short-Term
                                                  Disability (STD) Plan and CA State Disability Insurance (SDI). I've included the
                                                  instructions on how to apply for these below:
                                                    o STD - STD will pay up to 60% of your salary, up to a weekly maximum
                                                       benefit of $2,500. I’ve attached the STD Summary below with more
                                                        information.




https;//mail.google.com/maii/u/0/?ik=16dcfadc8d&view=pl&search=a ll&permmsgid=msg-a;r5465358942942557181&dsqt=1&simpl=msg-a;r5465 35894...          4/6
                 Case 4:25-cv-00911-DMR                     Document 1            Filed 01/28/25          Page 124 of 500
12/13/24, 12:50 PM       Tc.columbia.edu M       Je: Medical Leave Request - More information neede   chael Darden, Disability; sick days payment, q...

                                                              ■ You and your Primary Care Physician (PCP) will need
                                                                complete the Short Term Disability Claim (STD) form & return
                                                                back to me. I will then email it to Anthem so they can process your
                                                                 claim.

                                                      0 SDI - This is a CA State benefit & SDI will pay up to a weekly maximum of
                                                        $1,300 and will work in conjunction with STD.
                                                      0         You will need to file directly on the EDD website. I've attached a
                                                                 brochure below with more information.


                                        Lastly, I've also attached a Rights & Responsibility notice for your reference. At this time
                                        you are not eligible for FMLA because you have not yet met the 12-months tenure
                                        requirement.

                                        Please review & let me know if you have any questions.

                                        Best,
                                        Michelle




                                                    Michelle Nguyen
                                                    HR Program Manager
                                                    e; mnguyen@nuro.ai
                                nura                p; (408) 580-7620
                                                    www.nuro.ai




                                             Michelle Nguyen
                                             HR Program Manager
                                             e: mnguyen@nuro.ai
                                             p: (408) 580-7620
                                             v/ww.nuro.ai




                                   Michelle Nguyen
                                   HR Program Manager
                                   e: mnguyen@nuro.ai
                                   p; (408) 580-7620
                                   \AWW.nuro.ai




https ;//mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search= all&petmmsgid=msg-a:r5465358942942557181&dsqt=1&simpl=msg-a:r546 535894...          5/6
                 Case 4:25-cv-00911-DMR                    Document 1            Filed 01/28/25          Page 125 of 500
12/13/24. 12:50 PM       Tc.columbia.edu \     ,^e: Medical Leave Request - More information need   ichael Darden, Disability; sick days payment, q...
                                                                                                                                    125
                              Michelle Nguyen
                              HR Program Manager
                              e: mnguyen@nuro.ai
                              p: (408) 580-7620
                              wwvi/.nuro.ai




https://mail.google.com/mail/u/0/?ik=16dcfedc8d&viewspt&search=alI&pemim8gid=msg*a:rS465358942942557181 &dsqt=1 &simpl=msg-a:r54 6535894...         6/6
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       EXHIBIT 3
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                          DARDEN V. ANTHEM ELEVANCE LTD
                    DISABILITY PAYMENTS RELIEF COMPLAINT (ERISA)
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                                                                                                                                          AHome    myEOO       Help   Michael Oerden     L^L'Jt


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              Oeparimeni
                                                        SDI Home                  Inbox               New Claim                  Draft               Profile
Ski       i   r«lifarni<                                                                                                                                                       History




Claim Summary

  Claim Information

                              Claimant Name:          Michael Allan Darden                                                         Claim ID:   OI-1007.871-547


              Expected Return to Work Date:          04-19-2022                                                        Claim Effective Date:   04-15-2021




                                                                                       Request Claim Update




  Current Claim Status

  To continue to receive payments, submit the Continuing Eligibility Questionnaire (DE 2593).

                  Last Payment Amount ($):           2,714.00                                                              Date Authorized:    04-13-2022


  To review activity for this claim, visit Claim Activity.




  Benefit Summary
                   Daily Benefit Amount {$):          193.86                                                    Weekly Benefit Amount ($):     1,357.00

              Maximum Benefit Amount ($):             70,564.00                                               TotalBenefit Amount Paid ($):    69,013.14


              Remaining Benefit Amount ($):           1.550.86


  For more information, visit Wage Information.




  Forms

  Available Online

  To submit a form for this claim, visit Available Forms.

  Submitted by You
  To review the submitted forms for this claim, visit Forms You Submitted.


  Submitted by Your Physician/Practitioner
  To review your physician/practitioner's submitted forms forthis claim, select their name.

  EMANUEL NVERGIS


  JOHNAGILLEAN




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                     Development
                     Department



Claim for Disability Insurance (PI) Benefits - Claimants Statement (DE 2501)
Form Receipt Number:                  R100000114194995


Section 1 - Personal Information
Social Security Number:                                           XXX-XX-6330
EDD Customer Account Number:                                      9997316098

Legal Name:                                                       Michael Allan Darden
California Driver License or ID Number:                           Y7624304

Date of Birth:                                                            1966
Gender:                                                           Male

Preferred Language:                                               English
Mailing Address:     1801 Shoreline Dr Apt 307
                     Alameda, CA 94501-6084
                      United States

Residence            1801 Shoreline Dr Apt 307
Address:             Alameda, CA 94501-6084
                      United States

Home Phone Number:                                                917-868-8780

Cell Phone Number:


Section 2 ■ Other Names and Social Security Numbers Used
Please enter any other names or other Social Security Numbers under which you have worked. If you have
never worked under another name or Social Security Number please leave this section blank.
Name:
Name:

Social Security Number:
Social Security Number:

Section 3 - Employment Information
Are you self employed?                                            No

Are you a State Government employee?                              No

     If “Yes,” indicate bargaining unit number:
At any time during your disability, were you in the custody of    No
law enforcement authorities because you were convicted of
violating law or ordinance?
Before your disability began, what was the last day you           04-14-2021
worked?
When did your disability begin?                                   04-15-2021

Date you want your Dl claim to begin if different than the date
your disability began:
Since your disability began, have you worked or are you           No
working any full or partial days?
Have you recovered?                                               No

    If "Yes,” enter date:
                                                                  No
Have you returned to work?
    If ”Yes,” enter date:

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What is your regular or customary occupation?                   Training
Why did you stop working?                                       Illness, Injury or Pregnancy
How would you describe or classify your job?                    Mostly sitting; occasionally standing and
                                                                walking: occasionally lift, carry, push, pull or
                                                                otherwise move objects that weigh 10 lbs.
                                                                or less

Has or will your employer continue to pay you during your       No
disability leave?
   If “Yes,” indicate type(s) of pay:
   Other type of pay:
May we disclose benefit payment information to your employer Yes
(s]?
Do you have more than 2 employers?                              No

Have you filed or do you intend to file for Workers'            No
Compensationbenefits?
Was this disability caused by your job?                         No

Are you a resident of an alcohol recovery home or a drug-free   No

facility?

Section 4 - List of Employers
Your Last or Current        Employer Address                    Employer Phone           Last Day Worked
Employer(s)                                                     Number

Nuro Inc                    1300 Terra Bella Ave Ste 100        650-476-2687             04-14-2021
                            Mountain View, CA 94043-1850
                            United States

Section 5 - Alcohol Recovery or Drug-Free Facility Information
Name of Facility:
Address:
Phone Number:



Section 6 ■ Workers' Compensation Information
Workers' Compensation Claim Number:
Workers’ Compensation Appeals Board/ADJ Case Number:
Date(s) of injury shown on your Workers’ Compensation Claim:
Employer’s name shown on your Workers' Compensation
Claim:
Employer’s Phone Number:


Section 7 ■ Workers' Compensation Insurance Company
Workers’ Compensation insurance Company Name:
Workers’ Compensation Insurance Company Address:
Workers’ Compensation Insurance Company Phone Number:
Adjuster’s Name:
Adjuster’s Phone Number:


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Section 8 - Your Workers* Compensation Case Attorney Information
Attorney’s Name:
Attorney’s Address:
Attorney’s Phone Number:


Section 9 - Payment Choice
Preferred Payment         Debit Card                               I have reviewed the     Yes
Method:                                                            Debit Card Fees and
                                                                   Disclosures.


Section 10 ■ Declaration and Signature
By my signature on this claim statement, I claim benefits and certify that for the period covered by this
claim i was unemployed and disabled. I understand that willfully making a faise statement or concealing a
material fact in order to obtain payment of benefits is a violation of California law and that such violation is
punishable by imprisonment or fine or both. I deciare under penalty of perjury that the foregoing statement,
including any accompanying statements, is to the best of my knowledge and belief true, correct, and
complete. By my signature on this claim statement, I authorize the California Department of industrial
Relations and my employer to furnish and disclose to State Disability Insurance all facts concerning my
disability, wages or earnings, and benefits payments that are within their knowledge. By my signature on
this claim statement, i authorize release and use of information as stated in the “Information Coilection and
Access’’ section of the Important Disability Insurance Program Information page. I agree that photocopies of
this authorization shall be as valid as the original, and I understand that authorizations contained in this
claim statement are granted for a period of fifteen years from the date of my signature or the effective date
of the claim, whichever is later.
Health Insurance Portability and Accountability Act (HIPAA) Authorization

! authorize Physiclan/Practitioner/Organization:                                             Kenneth Keough
to furnish and disclose all my health information and to allow inspection of and provide copies of any
medical, vocational rehabilitation, and billing records concerning my disability for which this claim is filed
that are within their knowledge to the following employees of the California Employment Development
Department (EDD): Disability Insurance Branch examiners, their direct supervisors/managers and any other
EDD employee who may have a need to access this information in order to process my claim and/or
determine eligibility for State Disability Insurance benefits. I understand that EDD is not a health plan or
health care provider, so the information released to EDD may no longer be protected by federal privacy
regulations. (45 CFR Section 164.508(c)(2)(iil)). EDD may disclose information as authorized by the
California Unemployment Insurance Code. I agree that photocopies of this authorization shall be as valid as
the original. I understand I have the right to revoke this authorization by sending written notification
stopping this authorization to the EDD, Dl Branch MIC 29, PO Box 826880, Sacramento, CA 94280. The
authorization will stop on the date my request is received. I understand that the consequences for my
revoking this authorization may result in denial of further State Disability Insurance benefits. I understand
that, unless revoked by me in writing, this authorization is valid for fifteen years form the date received by
EDD or the effective date of the claim, whichever is later. I understand that I may not revoke this
authorization to avoid prosecution or to prevent EDD’s recovery of monies to which it is legally entitled. I
understand that I am signing this authorization voluntarily and that payment or eligibility for my benefits will
be affected if I do not sign this authorization. The consequences for my refusal to sign this authorization
may result in an incomplete claim form that cannot be processes for payment of State Disability Insurance
benefits. I understand I have the irght to receive a copy of this authorization.
Claimant Signed:                       Yes                         Date Signed:                04-15-2021

Signed by Mark (X)?                                                HIPAA Signed?               Yes




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        EDD Development
            Department
        State   of   California


Witness Information
Witness 1 Name:                                                  Date Signed:
Address:

Witness 2 Name:                                                  Date Signed:
Address:


Personal Representative Information
Personal Representative signing                                  Representsthe claimant
on behalf of claimant?                                           in this matter as
                                                                 authorized by:
Personal Representative Name:                                    Date Signed:


Confirmation

You are responsible for providing your claim receipt number to your physician/practitioner so they may
complete and submit a medical certification for your claim. Your claim form is not complete without the
Physician/Practitioner’s Certificate. For faster processing, your physician/practitioner may complete and
submit this form online at www.edd.ca.gov.

Alternatively, your physician/practitioner may submit the Physician/Practitioner's Certificate using the paper
"Claim for Disability Insurance (Dl) Benefits", DE 2501 form and mailing It to the EDD. Have your
physician/practitioner complete and sign “Part B - PHYSICIAN/PRACTITIONER’S CERTIFICATE.”
Certification may be made by a licensed physician or practitioner authorized to certify to a patient’s
disability or serious health condition pursuant to California Unemployment Insurance Code, Section 2708. If
you are under the care of an accredited religious practitioner, obtain a “Claim for Disability Insurance
Benefits - Religious Practitioner’s Certificate," DE 2502, by calling 1-800-480-3287 and ask your religious
practitioner to complete and sign it. Rubber stamp signatures are not accepted.

Your completed claim form must be received no earlier than 9 days, but no later than 49 days, after the first
day you became disabled. If your completed claim form is late, you may lose benefits. Most claims are
processed within 14 days of receipt of a properly completed claim form, which includes your portion of the
DE 2501 and the Physician/Practitioner’s Certificate.

If you are receiving temporary workers' compensation benefits and are filing for reduced Disability
Insurance benefits for the same days. “PART B - PHYSICIAN/PRACTI TIONER’S CERTIFICATE" of this
form is not required, however after filing, contact SDI by calling 1 -800-480-3287.

Submitted By:                       Michael Allan Darden         Submitted On:              04-15-2021
                                                                                            10:08 AM

Entered By:                         Michael A Darden             Entered Date;              04-15-2021
                                                                                            10:08 AM


Claim for Disability Insurance (Dl) Benefits - Physician/Practit ioner’s Certificate (DE 2501)
Form Receipt Number:                                             R100000114623148



Section 1 - Patient Information
Patient’s Name:                                                  Michael Allan Darden

Receipt Number:                                                  R100000114194995



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Social Security Number:
Date of Birth:

File Number:


Section 2 - Physician/Practitioner Information
Name;                                                             EMANUEL NVERGIS
License Number:                                                   G144834
State of Licensure;                                               CA
Treatment Address:                                                595 Castro St
                                                                  San Francisco, CA 94114-2511
                                                                  United States
Phone Number:                                                     415-291-0480

License Type:                                                     Physician or Surgeon (MD)
Specialty (if any):

Section 3 - Treatment Information

This patient has been under my care and treatment for this medical problem:
From:                                                             04-21-2021
To:

Are you presently treating the patient for this medical           Yes
condition?
Treatment Intervals:                                              Monthly
Was the patient seen previously by another                        No
physician/practitioner or medical facility for the current
disability/illness/injury?
      If "Yes," enter the date of first treatment?
At any time during your attendance for this medical problem,    Yes
has the patient been incapable of performing his/her regular or
customary work?

Section 4 - Claim Information

Date Disability Began:                                            04-14-2021

Was the disability caused by an accident or trauma?               No

      If "Yes," indicate the date the accident or trauma
      occurred:

Date you released or anticipate releasing patient to return to    07-14-2021
his/her regular or customary work:
Patient's disability is permanent and you never anticipate        No
releasing patient to return to his/her regular or customary
work:

Enter the ICD Diagnosis Code and version for the primary disabling condition that prevents the patient from
performing his/her regular or customary work below:
ICD Diagnosis Code:                F32.2                       Diagnosis Code Version: ICD-10
ICD Diagnosis Code(s) for Secondary Disabling Condltion(s):


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ICD Diagnosis Code                   F41.0                        Diagnosis Code Version:    ICD-10

ICD Diagnosis Code                   F41.1                        Diagnosis Code Version:    iCD-10

ICD Diagnosis Code                                                Diagnosis Code Version:
Diagnosis - If no diagnosis has been determined, enter a          Complete emotional breakdown,
detailed statement of symptoms:                                   overwhelming anxiety and panic, severe
                                                                  depressive symptoms (anhedonia, slowed
                                                                  mentation, slowed speaking) with suicidal
                                                                  thoughts, inability to focus/complete tasks
Findings - State nature, severity, and extent of the              Severe, pervasive anxiety limits functioning
incapacitating disease or injury, including any other disabling   with others; limited ability to focus and
conditions:                                                       complete job tasks, persistent depressive
                                                                  symptoms resulting in overwhelming
                                                                  anxiety and panic
Type of treatment/medication rendered to patient:                 psychotherapy
If patient was hospitalized, date of entry:
Date of discharge:
Patient is still hospitalized?
Is the patient deceased?                                          No

Date of death:

City:
County:
State:

Type of surgery/procedure:
Date of surgery/procedure:
Enter the ICD Procedure Code and version for surgery/procedure(s) planned or performed below:
ICD Procedure Code                                                Procedure Code Version:

ICD Procedure Code                                                Procedure Code Version:

iCD Procedure Code                                                Procedure Code Version:

ICD Procedure Code                                                Procedure Code Version:

Enter the CPT code for surgery/procedure(s) planned or performed below:
CPT Code

CPT Code
CPT Code
CPT Code

Was the patient unable to work immediately prior to the
surgery or procedure?
    If “Yes,” please provide the first date the patient was
    unable to work prior to the surgery or procedure?
Was this disabling condition caused and/or aggravated by the      No
patient's regular or customary work?




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Are you completing this form for the sole purpose of               No
referral/recommendation to an alcoholic recovery home or
drug-free residential facility {as indicated by the patient on the
DE 2501 Claim for Disability Insurance (Dl) Benefits Claimant’s
Statement)?
Date your patient became a resident of a drug or alcohol
facility (if known):
Would disclosure of the information on this form be medically      No
or psychologically detrimental to your patient?
Is this a pregnancy related claim?                                 No



Section 5 ● Pregnancy Information
Estimated Delivery Date:
Pregnancy End Date (if applicable):

If this patient has not delivered and you do not anticipate releasing the patient to return to regular and
customary work prior to the estimated delivery date, provide estimates for the number of days you
anticipate the patient will be disabled after delivery for the both of the following delivery types:
Vagina! delivery:
Cesarean delivery:

If this patient has delivered, indicate type of delivery and any complications as applicable.
Type of Delivery:
If pregnancy is/was abnormal, state the complication(s)
causing maternal disability:

Section 6 - Prognosis Information
What complications make your patient disabled longer than          inability to function normally with others.
normally expected?                                                 Overwhelming anxiety and panic; severe
                                                                   depression fuels anxiety and suicidal
                                                                   thoughts
Section 7 - Physician/Practitioner's Certification
Title of Person:                                                  An authorized physician or practitioner
                                                                  pursuant to California Unemployment
                                                                  Insurance Code Section 2708.

I certify under penalty of perjury that the patient is unable to perform his/her regular or customary work
because of the listed disabling condition(s). I have performed a physical examination and/or treated the
patient within my scope of practice as an authorized physician or practitioner pursuant to California
Unemployment Insurance Code Section 2708.

Physician/Practitioner Signed:                                     Yes

Date Signed:                                                       04-24-2021

If government facility, provide facility name:
If government facility, provide facility address:




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        mmm^m0 Department
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Under Section 2116 and 2122 of the California Unemployment Insurance Code, it is a vioiation for any
individual who, with the intent to defraud, falsely certifies the medical condition of any person in order to
obtain disability insurance benefits, whether for the maker or for any other person and is punishable by
imprisonment and/or fine not exceeding twenty thousand dollars. Section 1143 requires additional
administrative penalties.

Submitted By:                        EMANUEL N VERGIS              Submitted On:               04-24-2021
                                                                                               10:34 AM

Entered By:                          EMANUEL N VERGIS              Entered Date:               04-24-2021
                                                                                               10:34 AM




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View Physician/Practitioner Supplementary Certification for Continuing Eligibility (DE 2525XX)

Section 1 ● Physician/Practitioner Information
Name:                            EMANUEL N VERGIS        License Number:               G144834

Treatment Address:                                       595 Castro St
                                                         San Francisco, CA 94114-2511
                                                         United States

Section 2 - Patient Information

Patient Name:                    Michael Allan Darden    SSN:                          XXX-XX-6330

EDDCAN:                          9997316098              Date of Birth:                       1966

Claim Effective Date:            04-15-2021              Claim ID;                     DM 007-871-547


Section 3 - Form Information

Please complete and submit this information by the due date shown below.

Receipt Number:                  R100000118719930

Issue Date;                      07-15-2021              Due Date:                     08-04-2021


Section 4 - Physician/Practitioner's Supplementary Certificate
Patient File Number:

Specialty, if any:
Are you still treating the patient?                      Yes

    If "Yes," provide the Date of Last Treatment:        06-16-2021

    If "Yes," provide the Next Appointment Date:
What present condition continues to make the patient disabled?
Severe generalized anxiety and panic
Enter the ICD Diagnosis Code and version for the primary disabling condition that prevents the patient
from performing his/her regular or customary work below:
ICD Diagnosis Code:              F41.0                   Diagnosis Code Version:       ICD-10

Enter the ICD Diagnosis Code and version for the secondary disabling condition that prevents the patient
from performing his/her regular or customary work below:
ICD Diagnosis Code:              F41.1                   Diagnosis Code Version:       ICD-10


ICD Diagnosis Code:              f32.2                   Diagnosis Code Version:       ICD-10


ICD Diagnosis Code:                                      Diagnosis Code Version:

Describe how the patient's present condition/impairment prevents him/her from returning to his/her regular
or customary work:
Severe anxiety/stress and panic prevent him from being able to function with other people.
What factors or complications are disabling the patient longer than previously estimated for this type of
illness or injury?
Persistent inability to function due to overwhelming anxiety and panic, and underlying depression.

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Was the patient hospitalized?                            No

     If "Yes," provide the Date of Entry:
     If "Yes," provide the Date of Discharge;
Check here if patient still hospitalized:                No

Was surgery/procedure performed, or will a               No
surgery/procedure be performed?
     If "Yes," provide the Type of surgery/procedure:
    [f "Yes," provide the Date of surgery/procedure:
Enter the ICD Procedure Code and version for surgery/procedure(s ) planned or performed below:
ICD Procedure Code:                                      Procedure Code Version:

ICD Procedure Code:                                      Procedure Code Version:

ICD Procedure Code:                                      Procedure Code Version:

ICD Procedure Code:                                      Procedure Code Version:

Enter the CPT code for surgery/procedure{s) planned or performed below:
CPT Code:                                                CPT Code:

CPT Code:                                                CPT Code:

Present estimated date patient will be able to perform   10-15-2021
his/her regular or customary work:
Check here to indicate patient’s disability is permanent No
and you never anticipate releasing patient to return to
his/her regular or customary work:
Would disclosure of this information to your patient be No
medically or psychologically detrimental to the patient?
Section 5 - Certification


Title:
                                An authorized physician or practitioner pursuant to California Unemployment
                                Insurance Code Section 2708.

I certify under penalty of perjury that the patient is unable to perform his/her regular or customary work
because of the listed disabling condition(s). I have performed a physical examination and/or treated the
patient within my scope of practice as an authorized physician or practitioner pursuant to California
Unemployment Insurance Code Section 2708.
Submitted by:                   EMANUEL N VERGIS         Submitted on:            07-16-2021 04:09 PM

Entered By:                     EMANUEL N VERGIS         Entered Date:            07-16-2021 04:09 PM




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         State       of   California



View Physician/Practitioner Supplementary Certification for Continuing Eligibility (DE 2525XX)

Section 1 - Physician/Practitioner Information
Name:                              EMANUEL N VERGIS        License Number:              G144834

Treatment Address:                                         595 Castro St
                                                           San Francisco, CA 94114-2511
                                                           United States

Section 2 ● Patient Information

Patient Name:                      Michael Allan Darden    SSN:                         XXX-XX-6330

EDDCAN:                            9997316098              Date of Birth:                     1966

Claim Effective Date:              04-15-2021              Claim ID:                    DM 007-871-547

Section 3 - Form Information

Please complete and submit this information by the due date shown below.

Receipt Number:                    R100000123285469

Issue Date;                                                Due Date:


Section 4 - Physician/Practitioner’s Supplementary Certificate
Patient File Number:

Specialty, if any:
Are you still treating the patient?                        Yes

    If "Yes," provide the Date of Last Treatment:          10-11-2021

    If "Yes," provide the Next Appointment Date:
What present condition continues to make the patient disabled?
Ongoing overwhelming stress/anxiety and severe depression.
Enter the ICD Diagnosis Code and version for the primary disabling condition that prevents the patient
from performing his/her regular or customary work below:
ICD Diagnosis Code:           F41.0                    Diagnosis Code Version:       ICD-10

Enter the ICD Diagnosis Code and version for the secondary disabling condition that prevents the patient
from performing his/her regular or customary work below:
ICD Diagnosis Code:           F41.1                    DiagnosisCode Version:       ICD-10


ICD Diagnosis Code:                F32.2                   Diagnosis Code Version:      ICD-10

ICD Diagnosis Code:                                        Diagnosis Code Version:

Describe how the patient’s present condition/impairment prevents him/her from returning to his/her regular
or customary work:
OvenAfhelming stress/anxiety and depression impair his ability to focus on work responsibilities.
Frequently distracted due to ongoing stressors in his life.
What factors or complications are disabling the patient longer than previously estimated for this type of
illness or injury?

          DE 2525XX                               1 of 2
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                      Employment
                      Development
                      Department
         State   of   California


Persistent anxiety and depression with ineffective response to treatment.
Was the patient hospitalized?                            No

     If "Yes," provide the Date of Entry:
     If "Yes," provide the Date of Discharge:
Check here if patient still hospitalized:                No

Was surgery/procedure performed, or will a               No
surgery/procedure be performed?
     If "Yes," provide the Type of surgery/procedure:
     If "Yes," provide the Date of surgery/procedure:
Enter the ICD Procedure Code and version for surgery/procedure(s ) planned or performed below:
ICD Procedure Code:                                      Procedure Code Version:

ICD Procedure Code:                                      Procedure Code Version:

ICD Procedure Code:                                      Procedure Code Version:

ICD Procedure Code:                                      Procedure Code Version:

Enter the CPT code for surgery/procedure(s) planned or performed below:
CPT Code:                                                CPT Code:

CPT Code:                                                CPT Code:

Present estimated date patient will be able to perform   01-15-2022
his/her regular or customary work:
Check here to indicate patient's disability is permanent No
and you never anticipate releasing patient to return to
his/her regular or customary work:
Would disclosure of this information to your patient be No
medically or psychologically detrimental to the patient?
Section 5 - Certification


Title:
                                An authorized physician or practitioner pursuant to California Unemployment
                                 Insurance Code Section 2708.

I certify under penalty of perjury that the patient is unable to perform his/her regular or customary work
because of the listed disabling condition(s). I have performed a physical examination and/or treated the
patient within my scope of practice as an authorized physician or practitioner pursuant to California
Unemployment Insurance Code Section 2708.
Submitted by:                    EMANUEL N VERGIS        Submitted on:            10-13-2021 07:35 AM

Entered By:                      EMANUEL N VERGIS        Entered Date:            10-13-2021 07:35 AM




          DE 2525XX                             2 of 2
              Case 4:25-cv-00911-DMR            Document 1           Filed 01/28/25       Page 140 of 500

                                                                                                             140




                      Employment
                      Development
         mmm^m^ Department
         State   of   Calllofnia



View Physician/Practitioner Supplementary Certification for Continuing Eligibility (DE 2525XX)

Section 1 - Physician/Practitioner information
Name:                          JOHN A GILLEAN            License Number:               A141657

Treatment Address:                                       1155 Mountain Bivd
                                                         Oakland, CA 94611-1958
                                                         United States

Section 2 - Patient Infonmation

Patient Name:                  Michael Allan Darden      SSN:                          XXX-XX-6330

EDDCAN:                        9997316098                Date of Birth:                       1966

Claim Effective Date:          04-15-2021                Claim ID:                     DM 007-871-547


Section 3 - Form Information

Please complete and submit this information by the due date shown below.

Receipt Number:                R100000124394167

Issue Date:                                              Due Date;


Section 4 - Physician/Practitioner's Supplementary Certificate
Patient File Number:

Specialty, if any:
Are you still treating the patient?                    Yes

    If "Yes," provide the Date of Last Treatment:      09-27-2021

    If "Yes," provide the Next Appointment Date:       12-07-2021

What present condition continues to make the patient disabled?
MDD, single episode, severe
Enter the ICD Diagnosis Code and version for the primary disabling condition that prevents the patient
from performing his/her regular or customary work below:
ICD Diagnosis Code:            F33.2                     Diagnosis Code Version:       iCD-10

Enter the ICD Diagnosis Code and version for the secondary disabiing condition that prevents the patient
from performing his/her regular or customary work below:
ICD Diagnosis Code:           F43.23                   Diagnosis Code Version:      ICD-10


ICD Diagnosis Code:                                      Diagnosis Code Version:

ICD Diagnosis Code:                                      Diagnosis Code Version:

Describe how the patient’s present condition/impairment prevents him/her from returning to his/her regular
or customary work:


What factors or complications are disabling the patient longer than previously estimated for this type of
illness or injury?



          DE 2525XX                            1 of 2
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                      Employment
                      Development
                      Department
         State   of   California


Was the patient hospitalized?                             No

     If "Yes," provide the Date of Entry:
     If "Yes," provide the Date of Discharge:
Check here if patient still hospitalized:                 No

Was surgery/procedure performed, or will a                No
surgery/procedure be performed?
     If "Yes," provide the Type of surgery/procedure:
     If "Yes," provide the Date of surgery/procedure:
Enter the ICD Procedure Code and version for surgery/procedure(s ) planned or performed below:
ICD Procedure Code:                                       Procedure Code Version:

ICD Procedure Code:                                       Procedure Code Version:

ICD Procedure Code:                                       Procedure Code Version:

ICD Procedure Code:                                       Procedure Code Version:

Enter the CPT code for surgery/procedure(s) planned or performed below:
CPT Code:                                                 CPT Code:

CPT Code:                                                 CPT Code:

Present estimated date patient will be able to perform    01-18-2022
his/her regular or customary work:
Check here to indicate patient's disability is permanent No
and you never anticipate releasing patient to return to
his/her regular or customary work:
Would disclosure of this information to your patient be No
medically or psychologically detrimental to the patient?
Section 5 ● Certification


Title:
                                An authorized physician or practitioner pursuant to California Unemployment
                                Insurance Code Section 2708.

I certify under penalty of perjury that the patient is unable to perform his/her regular or customary work
because of the listed disabling condition(s). I have performed a physical examination and/or treated the
patient within my scope of practice as an authorized physician or practitioner pursuant to California
Unemployment Insurance Code Section 2708.
Submitted by:                   JOHN AGILLEAN             Submitted on:            11-02-2021 07:19 PM

Entered By:                     JOHN A GILLEAN            Entered Date:            11-02-2021 07:19 PM




          DE 2525XX                             2 of 2
              Case 4:25-cv-00911-DMR            Document 1           Filed 01/28/25       Page 142 of 500
                                                                                                             142




                      Employment
                      Development
                      Department
         State   of   CatifofnI*



View Physician/Practitioner Supplementary Certification for Continuing Eligibility (DE 2525XX)

Section 1 «Physician/Practitioner Information
Name:                           JOHN A GILLEAN           License Number:               A141657

Treatment Address:                                       1155 Mountain Bivd
                                                         Oakland, CA 94611-1958
                                                         United States

Section 2 - Patient Information

Patient Name:                   Michael Allan Darden     SSN:                          XXX-XX-6330

EDDCAN:                         9997316098               Date of Birth:                       1966

Claim Effective Date:           04-15-2021               Claim ID:                     DM 007-871-547

Section 3 - Form Information

Please complete and submit this information by the due date shown below.

Receipt Number:                 R100000130249862

Issue Date:                     01-26-2022               Due Date:                     02-15-2022


Section 4 - Physician/Practitioner's Supplementary Certificate
Patient File Number:

Specialty, if any:
Are you still treating the patient?                      Yes

    If "Yes," provide the Date of Last Treatment:        12-07-2021

   If "Yes," provide the Next Appointment Date:          02-15-2022

What present condition continues to make the patient disabled?
MDD, single episode, severe
Enter the ICD Diagnosis Code and version for the primary disabling condition that prevents the patient
from performing his/her regular or customary work below:
ICD Diagnosis Code:             F33.2                    Diagnosis Code Version:       ICD-10

Enter the ICD Diagnosis Code and version for the secondary disabling condition that prevents the patient
from performing his/her regular or customary work below:
ICD Diagnosis Code:             F43.23                   Diagnosis Code Version:       ICD-10


ICD Diagnosis Code:                                      Diagnosis Code Version:

ICD Diagnosis Code:                                      Diagnosis Code Version:

Describe how the patient’s present condition/impairment prevents him/her from returning to his/her regular
or customary work:


What factors or complications are disabling the patient longer than previously estimated for this type of
illness or injury?



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                      Employment
                      Development
                      Department
         State   of   California


Was the patient hospitalized?                            No

     if "Yes," provide the Date of Entry:
     If "Yes," provide the Date of Discharge:
Check here if patient still hospitalized:                No

Was surgery/procedure performed, or will a               No
surgery/procedure be performed?
     If "Yes," provide the Type of surgery/procedure:
     If "Yes," provide the Date of surgery/procedure:
Enter the ICD Procedure Code and version for surgery/procedure(s) planned or performed below:
ICD Procedure Code                                       Procedure Code Version:

ICD Procedure Code                                       Procedure Code Version:

ICD Procedure Code                                       Procedure Code Version:

ICD Procedure Code                                       Procedure Code Version:

Enter the CPT code for surgery/procedure(s) planned or performed below:
CPT Code:                                                CPT Code:

CPT Code:                                                CPT Code:

Present estimated date patient will be able to perform   04-19-2022
his/her regular or customary work:
Check here to indicate patient's disability is permanent No
and you never anticipate releasing patient to return to
his/her regular or customary work:
Would disclosure of this information to your patient be No
medically or psychologically detrimental to the patient?
Section 5 - Certification


Title:
                                An authorized physician or practitioner pursuant to California Unemployment
                                Insurance Code Section 2708.

I certify under penalty of perjury that the patient is unable to perform his/her regular or customary work
because of the listed disabling condition(s). I have performed a physical examination and/or treated the
patient within my scope of practice as an authorized physician or practitioner pursuant to California
Unemployment Insurance Code Section 2708.
Submitted by:                   JOHN AGILLEAN            Submitted on:            02-01-2022 03:11 PM

Entered By:                     JOHN AGILLEAN            Entered Date:            02-01-2022 03:11 PM




          DE 2525XX                             2 of 2
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 1
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                          DARDEN V. ANTHEM ELEVANCE LTD
                    DISABILITY PAYMENTS RELIEF COMPLAINT (ERISA)
                              Case 4:25-cv-00911-DMR                          Document 1                 Filed 01/28/25                Page 145 of 500



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Home

             Message Center


   Check the message center Inbox below to review messages and take required actions as needed.

   Inbox [ New: 15. Total: 45 |




   Personal Information

                                        Full Name:   Michael Allan Darden                                   EDO Customer Account Number:      9997316098


                                  Mailing Address:   1801 Shoreline Dr Apt 307                                            Phone Number:       917-868-8780

                                                     Alameda, CA 94501-6084
                                                     United States


                                Residence Address;   1801 Shoreline Or Apt 307                                        Cell Phone Number:

                                                     Alameda, CA 94501-6084
                                                     United Stales


                                   E-mailAddress:    mad22SS(Stc.columbia.edu




Current Disability Insurance Claim(s)
  Claim ID                                                                               Claim Effective Date


  DI-1007-871-547                                                                        04-15-2021




Pending Disability Insurance Claim Application(s)
  No Results Found




Current Paid Family Leave Claim(s)
  No Results Found




Pending Paid Family Leave Claim Application(s)
  No Results Found




Customer Satisfaction Survey
Your opinion is important to us. Select the link below to complete a survey about your online experience.

Link to Survey
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  Claim Information

                             Claimant Name:    Michael Allan Darden                                                           Claim ID:      OI-1007-871-S47


              Expected Return to Work Date:    04-19-2022                                                         Claim Effective Date:      04-15-2021


                    Social Security Number:    XXX-XX-6330




  Benefit Summary
                   Daily Benefit Amount ($}:   193.86                                                       Weekly Benefit Amount ($):       1,357.00


              Maximum Benefit Amount ($):      70.564.00                                                 TotalBenefit Amount Paid {$):       69,013.14


                                                                                                         Remaining Benefit Amount ($):       1,550.86




Activity Record
                                                                                                2



                                                Payment                                                                                                                         Days in
 Data Issued                Claim Activity      ($)             Reduction ($)          Reason                                         Activity Period                           Period


 04-13-2022                 Auto-Payment              2714.00                   0.00                                                  03-30-2022-04-12-2022                     14


 03-30-2022                 Auto-Payment              2714.00               0.00                                                      03-16-2022-03-29-2022                     14



 03-16-2022                 Auto-Payment              2714.00                   0.00                                                  03-02-2022-03-15-2022                     14



 03-02-2022                 Auto-Payment              2714.00                   0.00                                                  02-16-2022-03-01-2022                     14


 02-16-2022                 Auto-Payment              2714.00                   0.00                                                  02-02-2022-02-15-2022                     14



 02-02-2022                 Payment                   2907.86                   0.00                                                  01-18-2022-02-01-2022                     15


 01-25-2022                 Payment                   1357.00                   0.00                                                  01-11-2022-01-17-2022                     7



 01-11-2022                 Payment                   2714.00                   0.00                                                  12-28-2021 - 01-10-2022                   14



 12-28-2021                 Payment                    775.43                   0.00                                                  12-24-2021-12-27-2021                     4



 12-24-2021                 Auto-Payment              2714.00                   0.00                                                  12-10-2021-12-23-2021                     14


 12-10-2021                 Auto-Payment              2714.00                   0.00                                                  11-26-2021-12-09-2021                     14


 11-28-2021                 Auto-Payment              2714.00                   0.00                                                  11-12-2021-11-25-2021                     14



 11-12-2021                 Auto-Payment              2714.00                   0.00                                                  10-29-2021-11-11-2021                     14


 10-29-2021                 Auto-Payment              2714.00                   0.00                                                  10-15-2021-10-28-2021                     14



 10-15-2021                 Payment                    581.57                   0.00                                                  10-12-2021-10-14-2021                     3


 10-12-2021                 Payment                   2714.00                   0.00                                                  09-28-2021-10-11-2021                     14


 09-28-2021                 Payment                    581.57                   0.00                                                  09-25-2021-09-27-2021                     3


 09-26-2021                 Auto-Payment              2714.00                   0.00                                                  09-11-2021-09-24-2021                     14


 09-12-2021                 Auto-Payment              2714.00                   0.00                                                  08-28-2021 ● 09-10-2021                   14



 08-29-2021                 Auto-Payment              2714.00                   0.00                                                  08-14-2021-08-27-2021                     14
             Case 4:25-cv-00911-DMR                                       Document 1                Filed 01/28/25                     Page 147 of 500




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Claim Activity
Bock to Claim Summary



 Claim Information

                               Claimant Name:     MKhael Ailan Darden                                                      Claim 10:    OI-1007-871-547


              Expected Return to Work Date;       04-19-2022                                                   Claim Effective Date:    04-1S-2021


                       Social Security Number     XXX-XX-6330




  Benefit Summary
                      Daily Benefit Amount ($):   193.8«                                                 Weekly Benefit Amount |$|:     1.357,00


              Maximum Benefit Amount (S);         70.564.00                                           Total Benefit Amount Paid ($):    69.013.14


                                                                                                      Remaining Benefit Amount |$|:     1 jSO.66




Activity Record


                                                   Payment                                                                                                              Day* in
 Dateluwed                   Oahn Activity         (S)             Reduction |$)        Reaton                                     Activity Period                      Period


 OB-lS-2021                  Auto-Payment                2714 00               0.00                                                07-31-2O21-0S-13-2021                 14


 08-01-2021                  Auto-Paymeni                2714.00               0.00                                                07-17-2021-07-30-2021                 14


 07-18-2021                  Payment                      581.57               0.00                                                07-14-2021-07-16-2021                3


 07-14-2021                  Payment                     1357.00               0.00                                                07-07-2021-07-13-2021                 7


 07-07-2021                  Payment                      775 43               0.00                                                07-03-2021-07-06-2021                4



 07-04-2021                  Auto-Payment                2714.00               0.00                                                06-19-2021-07-02-2021                 14


 06-20-2021                  Auto-Payment                2714 00               0.00                                                06-05-2021-06-18-2021                 14


 06-06-2021                  Auto-Payment                2714.00               0.00                                                05-22-2021-06-04-2021                 14


 05-232021                   Auto-Payment                2714.00               0.00                                                05-08-2021-05-21-2021                 14



 05-09-2021                  Auto-Payment                2714.00               02X)                                                04-24-2021-05-07-2021                 14


 04-25-2021                  Payment                      387.71               000                                                 04-22-2021 -04-23-2021                2


                                                                               000                                                 O4-15-2021-04-21-2021                 r
 04-24-2021                  Waiting peiiod                 0.00




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                          DARDEN V. ANTHEM ELEVANCE LTD
                    DISABILITY PAYMENTS RELIEF COMPLAINT (ERISA)
                 Case 4:25-cv-00911-DMR                   Document 1             Filed 01/28/25          Page 149 of 500
12/17/24, 11:24 AM                       T    jmbia.edu Mail - Anthem Disability Fomis, Michael D.   ,, Short-Term, completed, signed
                                                                                                                                    149


                                                                                         Darden, Michael <mad2255@tc.coiumbia.edu>



  Anthem Disability Forms, Michael Darden, Short-Term, completed, signed
  Darden, Michael <mad2255@tc.columbia.edu>                                                                    Sun. Apr 25, 2021 at 9:58 PM
  To: disability@anthem.com

    Attached, completed and signed, as requested:

     Satisfactory?

     Claim Number ST-443380



    Thank you and take care:

     Michael
     Michael Darden
     917-868-8780



          AnthemDisabiiityFormsMichaelDarden.pdf
      ^ 4212K




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                Case 4:25-cv-00911-DMR                    Document 1            Filed 01/28/25          Page 150 of 500
12/17/24, 11:25AM          Tc.columbia.edu     ●Automatic reply: {EXTERNAL}Anthem Disability Fo,   .\/lichael Darden, Short-Term, completed, signed
                                                                                                                                  150


                                                                                        Darden, Michael <mad225S@tc.columbia.edu>



  Automatic reply: {EXTERNAL} Anthem Disability Forms, Michael Darden, Short-
  Term, completed, signed
  1 message

  Disability-Wellpoint (Shared Mailbox) <Disability@anthem.com>                                               Sun, Apr 25. 2021 at 9:49 PM
  To: "Darden, Michael" <mad2255@tc.columbia.edu>


    This is a confirmation that the claim information has been received.




    Life & Disability Claims Service Center

    PO Box 105426 ● Atlanta, GA 30348-5426

    Customer Service: 1-800-813-5682


    Fax: 1-800-850-0017


    email: disability@anthem.com




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                                                                                                                                                          Disability Service Center
                                                                                                                                                                     P.O. Box 105426


Anthem.^
  BlueCross nfifT
                                                                                                                                                          Atlanta, GA 30348-5426
                                                                                                                                                                     Tel 800-813-5682
                                                                                                                                                                     Fax 800-8504)017
                                                                                                                                                   Email:disability@anthem.com


                      Authorization for Release of Information


To be signed and dated by the insured/claimant.
I authorize any licensed physician, any other medical practitioner or provider, pharmacist, hospital, clinic, other medical or medically related facility,
federal, state or local government agency, insurance or reinsuring company, consumer reporting agency or employer having information available
as to diagnosis, treatment and prognosis with respect to any physical or mental condition and/or treatment of me, and any non-medical information
about me, to give any and all such information to authorized representatives of Anthem Blue Cross Life and Health Insurance Company (Anthem)
and including, but not limited to any other mental or psychiatric records, medical, dental and hospital records (including psychiatric, alcohol, and
drug abuse, and HIV/AIDS information) which may have been acquired in the course of examination or treatment. I understand that the information
obtained by use of this authorization will be used by Anthem representatives to evaluate and adjudicate my current disability claim, and may be re
disclosed to (a) any medical, investigative, financial or vocational specialist or entity, or (b) any other organization or person, employed by or
 representing Anthem solely to assist with the evaluation and adjudication of my current disability claim. Each such person or entity to whom this re
 disclosure is made shall comply with the HIPAA Privacy Rule as regards any re-disclosed protected health information.
This authorization is valid during the pendency of my claim and shall expire on the date my claim finally ends. A photocopy of this authorization is as
 valid as the original. I understand that my authorized representative or I have the irght to request and receive a copy of this authorization and the
information to which it pertains.
I understand that I have the right to revoke this authorization by notifying Anthem in writing, of my revocation. However, such revocation is not
effective to the extent that Anthem have relied previously upon this authorization for the use or disclosure of my protected health information. In
addition, I understand that my revocation of, or my failure to sign this authorization may impair Anthem's ability to evaluate my current disability claim
and as a result may be a basis for denying that current disability claim for benefits.


If you reside in California, Connecticut or North Dakota: This authorization excludes the release of information about Human
Immunodeficiency Virus (HIV), if you reside in Maine: This authorization excludes disclosure of the result of a test for HIV if the applicant
has tested positive but has not developed symptoms of the disease AIDS. Such test results shall not be discovered or published. Nothing in
this caveat will prohibit this authorization from including the fact that the applicant has AIDS.
If you reside in Minnesota; This authorization excludes the release of information about HiV (AIDS VIRUS) tests.
If you reside in Vermont; This authorization EXCLUDES the release of any information about previously administered HIV-related tests,
including but not limited to tests for HIV antibodies, T-Cell counts, AIDS or ARC. The proposed insured is NOT AUTHORIZING ANTHEM to
forward the results from any new test, requested by us, to any outside, non-afTiliated company or entity not under specific contract with us
to perform underwriting services, and ANTHEM shall comply, as applicable with the provisions of Title 8, Section 4724 (20) of the Vermont
Statutes.
                                                                                                                                                                 n
                                          A         fi'm                                             '■yo V
 Printed name of Individual                 Signature of Individual                                Date of                    Date
                                            Or Legal Representative*                               Birth                      Signed

                                                                                                                                               ^v-%
 Address                                    City                       State                      Zip Code                          Social Security Number

 *lf this authorization is signed by a legal representative on behalf of the individual, please complete the following and attach a
 copy of the representative’s authority to this form (e.g.. Health Care Power of Attorney, Executor/Administrator of an estate):

Personal Representative’s Name:
Relationship to Member::

PA10-ST00443380
                   Life products undeiwritten by Anthem Blue Cross Life and Health Insurance Company; Disability products undemritten by Anthem Life Insurance
                   Company. Independent Bcensees of the Blue Cross Association. ANTHEM is a registered trademark of Anthem Insurance Companies. Inc.
                                       The Blue Cross name and symbol are reoistered marks of die Blue Cross Association.
         Case 4:25-cv-00911-DMR
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                                                                        Document 1                       Filed 01/28/25                        Page 152 of 500

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                                                                                                                                                                   Disability Service Center
                                                                                                                                                                          P.O. Box 105426
  Anthem                                                                                                                                                       Atlanta, GA 30348-5426
        BlucCross                                                                                                                                                        Tel 800-813-5682
                                                                                                                                                                         Fax 800-850-0017
                                                                                                                                                        Email:disability@anthem.com

Disability Employee Authorization for Release of Information
(HIPAA compliant)

 Jobe signed and dated by the insured/claimant.
 ! authorize any licensed physician, any other medical practitioner or provider, pharmacist, hospital, clinic, other medical or medically related facility,
 federal, state or local government agency, insurance or reinsuring company, consumer reporting agency or employer having information available
 as to diagnosis, treatment and prognosis with respect to any physical or mental condition and/or treatment of me, and any non-medical infomiation
 about me. to give any and all such information to authorized representatives of Anthem Blue Cross Life and Health Insurance Company (Anthem)
 and including, but not limited to any other mental or psychiatric records, medical, dental and hospital records (including psychiatric,alcohol, and
 drug abuse, and HIV/AIDS information) which may have been acquired in the course of examination or treatment. Iunderstand that the information
 obtained by use of this authorization will be used by Anthem's representatives to evaluate and adjudicate my current disability claim, and may be re-
 disclosed to (a) any medical, investigative, financial or vocational specialist or entity, or (b) any other organization or person, employed by or
 representingAnthem solely to assist with the evaluation and adjudication of my current disability claim. Each such person or entity to whom this re-
 disclosure is made shall comply with the HIPAA Privacy Rule as regards any re-disclosed protected health information.
 This authorization is valid during the pendency of my claim and shall expire on the date my claim finally ends. A photocopy of this authorization is as
 valid as the original. I understand that my authorized representative or I have the irght to request and receive a copy of this authorization and the
 information to which it pertains.
 I understand that Ihave the right to revoke this authorization by notifying Anthem in writing, of my revocation. However, s uch revocation is not
 effective to the extent that Anthem have relied previously upon this authorization for the use or disclosure of my protected health information. In
 addition, Iunderstand that my revocation of, or my failure to sign this authorization may impair Anthem’s ability to evaluate my current disability claim
 and as a result may be a basis for denying that current disability claim for benefits.

 If you reside in California, Connecticut or North Dakota: This authorization excludes the release of information about Human
 Immunodeficiency Virus (HIV). If you reside in Maine: This authorization excludes disclosure of the result of a test for HIV if the applicant
 has tested positive but has not developed symptoms of the disease AIDS. Such test results shall not be discovered or published. Nothing in
 this caveat will prohibit this authorization from including the fact that the applicant has AIDS.
 If you reside in Minnesota: This authorization excludes the release of information about HIV (AIDS VIRUS) tests.
 If you reside in Vermont: This authorization EXCLUDES the release of any information about previously administered HIV-related tests,
 including but not limited to tests for HIV antibodies, T-Cell counts, AIDS orARC. The proposed insured is NOTAUTHORIZING ANTHEM to
 forward the results from any new test, requested by us, to any outside, non-affiliated company or entity not under specific contract with us
 to perform underwriting services, and ANTHEM shall comply, as applicable with the provisions of Title 8, Section 4724 (20) of the Vermont
 Statutes.



                                                                                                                                                                       /I I
  f^rinted name of Individual                 Signature of Individual                                Date of                     Dale
                                              Or Legal Representative*                               Birth                       Signed

      ^ i                                                           'i-pT'
 Address                                      City                       State                       Zip Code                          Social Security Number

 *lf this authorization is signed by a legal representative on behalf of the individual, please complete the following and attach a
 copy of the representative's authority to this form (e.g.. Health Care Power of Attorney, Executor/Administrator of an estate):

  Personal Representative’s Name:
 Relationship to Member:

PA10-ST00443380
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                    Company. Independent licensees of the Blue Cross Association. ANTHEM Is a registered trademark of Anlhem Insurance Companies. Inc.
                                         The Blue Cross name and svmbol are reoistered marks of the Blue Cross Association.
         Case 4:25-cv-00911-DMR                                       Document 1                        Filed 01/28/25                      Page 153 of 500
                                                                                                                                                                           153




                                                                                                                                                            Disability Service Center
    Anthem             m
                                                                                                                                                                     P.O. Box 105426
         BlucCross                                                                                                                                         Atlanta, GA 30348-5426
                                                                                                                                                                    Tel 800-813-5682
                                                                                                                                                                    Fax 800-850-0017
                                                                                                                                                    Email:disability@anthem.com




                                                                REIMBURSEMENT AGREEMENT



  Employee’s Name:
                                  Last                                                          First                                                      Middle

  Employee's last 4 digits of
  Social Security Number                                                                                                        First Day Absent                    f
  Employer                                        /                   I ZPr^                                                                    Group# - <pvl ■


  I acknowledge that Iam eligible for benefits under the disability plan sponsored by the above named employer
  whose claims for plan benefits are either insured by or administered on an employer self-funded basis by
 Anthem Blue Cross Life and Health Insurance Company (hereinafter referred to as Anthem Blue Cross Life). I
  agree to reimburse Anthem Blue Cross Life 100% of the amount of benefits I receive, have received, or shall
  receive from any person or entity for loss of wages incurred as a result of the occurrence which gave rise to my
  claim for payment of benefits from the disability plan. In the event that the 100% reimbursement provided in the
  preceding sentence is greater than the amount of my recovery, less attorney fees and other legal expenses I
  incurred in obtaining such recovery (my net recovery), ! agree to reimburse Anthem Blue Cross Life the entire
 amount of my net recovery.

 I agree to keep Anthem Blue Cross Life fully informed as to the status of my payment recovery so that Anthem Blue
 Cross Life may take whatever action it deems necessary to protect its interest. I also agree to authorize any person
 including, but not limited to, any insurance company, attorney, hospital, physician, surgeon or pharmacist to release
 to Anthem Blue Cross Life any information pertaining to this occurrence, or claim.

 1 also acknowledge that Anthem Blue Cross Life will have the right to recover any overpayment of benefits, either
 directly from me or by deduction of the amount of the overpayment from my future benefits payable under the
 disability plan, which are the result of error caused by or misinformation provided to the Anthem Blue Cross Life.




                  A
                                                                                                                                          '7,
                                           i/                                                                                                                 )

         Signature                                                                                                                Date




PA10-ST00443380
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                         Company. Independent licensees of the Blue Cross Association. ANTHEM is a registered trademark of Anthem insurance Companies, Inc.
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         Case 4:25-cv-00911-DMR                                         Document 1                       Filed 01/28/25                        Page 154 of 500

                                                                                                                                                                              154

                                                                                                                                                               Disability Service Center
                                                                                                                                                                      P.O. Box 105426
  Anthem                                                                                                                                                      Atlanta, GA 30348-5426
       BliioCross                                                                                                                                                    Tel 800-813-5682
                                                                                                                                                                     Fax 800-850-0017
                                                                                                                                                       Email;disability@anthem.com




 COMMUNICATION CONSENT FORM




 The Telephone Consumer Protection Act of 1991(TCPA), the Federal Communications Commission's (FCC) regulations
 and interpretative orders implementing the TCPA, the Federal Trade Commission's (FTC) Telemarketing Sales Rule of
 2003 (TSR), and parallel state laws (collectively referred to as the Telecommunications Laws) impose strict rules
 governing how Anthem Blue Cross Life and Health Insurance Company (Anthem) may place outbound telephone
 calls and send text messages for Sales and Non-sales purposes to individuals.

 In order to comply with the newfederal regulation, please provide below what numbers we can contact you on in
 regard to your claim.

 Phone number you wish to be contacted on:


        This phone is: _^Cell phone or                            Land Line
         Is this phone number registered on the National Do Not Call Registry?                                            Yes            No

         Does Anthem have permission to contact you on this number?                                                es         No


                                        w
        Print your name; J.

                                                     I
                                                                     / '

        Your signature: X,
        Date signed; C) [                                                (MM/DDA'YYY)




PA10-ST00443380
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                    Company. Independent licensees of the Blue Cross Association. ANTHEM is a registered trademark of Anthem Insurance Companies, Inc.
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                Case 4:25-cv-00911-DMR                  Document 1             Filed 01/28/25          Page 155 of 500
12/17/24,11:31AM                                         Tc.columbia.edu Mail - Short Term Disa.   ST00443380
                                                                                                                             155


                                                                                        Darden, Michael <mad2255@tc.columbia.edu>



  Short Term Disability ST00443380
  LDCiaimsTeam <LDCIaimsTeam@anthem.com>                                                                   Thu, Jul 29. 2021 at 10:11 AM
  To: "MAD2255@TC.COLUMBIA.EDU" <MAD2255@tc.columbia.edu>


    Good Afternoon!




    Please see the attached letter. Have a great day!




    Life and Disability Claims Operations

    Kristi Leasure Short Term Disability Claims Manager


    PO Box 105426, Atlanta, Georgia 30348-5426

    O: (800) 232-0113 |F: (800) 850-0017

    LDCIaimsTeam@anthem.com




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       Michael Darden Max Benefit Closure_ST00443380_07292021.pdf
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                Case 4:25-cv-00911-DMR   Document 1   Filed 01/28/25   Page 156 of 500

                                                                                         156




         July 29. 2021



         MICHAEL A DARDEN
         1801 SHORELINE DRIVE
         APT 307

         ALAMEDA, CA 94501




07-ST00443380
                     Case 4:25-cv-00911-DMR                                           Document 1                        Filed 01/28/25                         Page 157 of 500
                                                                                                                                                                                                    157
                                                                                         Anthem Blue Cross Life and Health                                                    PO Box 105426

Anthem                                                                                   Disability Service Center                                                            Atlanta, GA 30348-5426
                                                                                                                                                                              Tel: 800-813-5682
          BlueCross                                                                                                                                                           Fax: 800-850-0017




July 29. 2021


MICHAELA DARDEN
1801 SHORELINE DRIVE
APT 307
ALAMEDA, CA 94501


RE: Disability Benefits
        Claim Number: ST00443380
        Reference Number: 423799
        Group Number: 281837

Dear MICHAELA DARDEN;


This letter is in regard to your Disability benefits.

Under your plan, the maximum period for which disability benefits are payable is 13 weeks. Since your benefits
commenced on 4/22/2021, the maximum benefit period for your claim is 07/21/2021.

Your final benefit payment will be for the period 7/19/2021-7/21 /2021. in the net amount of $36.81 and will be
issued on/about 7/30/2021. Following this payment your claim will be closed.

Should you have any questions or concerns regarding this notice please contact us at the number above.

Sincerely



K LEASURE
Disability Case Manager




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07-ST004433$0
     Case 4:25-cv-00911-DMR   Document 1   Filed 01/28/25   Page 158 of 500
                                                                              158




 1
       EXHIBIT 6
 2


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                          DARDEN V. ANTHEM ELEVANCE LTD
                    DISABILITY PAYMENTS RELIEF COMPLAINT (ERISA)
                Case 4:25-cv-00911-DMR                    Document 1              Filed 01/28/25        Page 159 of 500
12/17/24, 11;38AM                                  Tc.columbia.edu Mail - Michael Darden Long Ti   disability LT00403220
                                                                                                                               159


                                                                                        Darden, Michael <mad2255@tc.columbia.edu>



  Michael Darden Long Term Disability LT00403220
  Burnside, Eulene <eulene.burnside@anthem.com>                                                              Wed, Aug 11,2021 at 1:26 PM
  To: "MAD2255@TC.COLUMBIA.EDU" <MAD2255@tc.co!umbia.edu>
  Cc: LDCIaimsTeam <LDCIaimsTeam@anthem.com>


    Good Afternoon Mr. Darden,




    Reference is made to your claim for Long Term Disability benefits. Please refer to the attached letters and forms for
    detailed information.




    Please contact me should you have any questions.




     (i^neeiie^



    Toll free: 470-284-45041 Fax: 800-850-0017

    Anthem Inc.|PO BOX 1054261 Atlanta GA 30348-5426
    Email: eulene.burnside@anthem.com



     Please send all claims related correspondence to disabillty@anth em.com and cc:
     Eulene.burnside@anthem.com. This will ensure documentation of all correspondence
     received and will be available to my backup in the event that I am absent from work.




                    GO
       Trustworthy          Accountable     Innovative?      faring        E4sy




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                 Case 4:25-cv-00911-DMR                  Document 1             Filed 01/28/25          Page 160 of 500
12/17/24, 11:38 AM                                 Tc.columbia.edu Mail - Michael Darden Long Ti   disability LT00403220
                                                                                                                               160
     are not the intended recipient, please contact the sender by reply e-mail
     and destroy all copies of the original message and any attachment thereto.

      5 attachments

          Darden, Michael LTD acknowledgementpdf
      ^ 513K
      ffS Darden, Michael pre ex questionaire.pdf
      ^ 312K
          SSA3288 2020-ANTHEM.pdf
      ^ 50K
          Anthem Agreement Concerning LTD Benefits.pdf
      ^ 72K
          Authorization ForReleaseOflnformation.pdf
      ^ 65K




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                Case 4:25-cv-00911-DMR   Document 1   Filed 01/28/25   Page 161 of 500
                                                                                         161




         A       t11,2021



          MICHAEL A DARDEN
          1801 SHORELINE DRIVE
         APT 307
         ALAMEDA, CA 94501




07-LT00403220
                   Case 4:25-cv-00911-DMR                                     Document 1                    Filed 01/28/25                     Page 162 of 500
                                                                                                                                                                                162
                                                                                Anthem Blue Cross Life and Health                                            PO Box 105426

Anthem.                                                                         Disability Service Center                                                    Atlanta, GA 30348-5426
                                                                                                                                                             Tel; 800-813-5682
         BlueCross                                                                                                                                           Fax; 800-850-0017




August 11. 2021


MICHAEL A DARDEN
1801 SHORELINE DRIVE
APT 307
ALAMEDA, CA 94501

RE: Long Term Disability
        Claim Number: LT00403220
        Reference Number: 443185
        Group Number: 281837
        NURO INC


Dear Mr. Darden:


This letter is to confirm receipt of your request for Long Term Disability (LTD) benefits. In order to complete our
evaluation of your eligibility for benefits, the remaining portions of the LTD claim form must also be received.

     - Signed Author! ation for Release of Information

In addition to the remainder of the LTD claim notice, we will require you to provide the following information:
   - All available treatment medical records from all your physician(s) for the period of 4/15/2021 thru present.
    - Social Security Release form SSA- 3288
    - Agreement Concerning Benefits
    - Copy of California State Disability benefit pay stub

The terms of your disability plan require that you apply for Social Security Disability (SSD) benefits. There are
many advantages to receiving SSD benefits.

    - If you have already applied for SSD benefits, we need a copy of your "Receipt of Claim Form" issued by the
      Social Security Administration given to you at the time of application.
    - If you have already been either awarded or denied SSD benefits, we need a copy of all pages of the Primary
      and/or Family Social Security Award(s) or Denial Notice.
    - If you have not been awarded or denied SSD benefits, we need a copy of the Primary and/or Family Social
      Security Award(s) or Denial Notice as soon as it is received.

Please make sure that we receive the requested information as soon as possible, but no later than 30 days from
the date of this letter. It is important that we receive the requested Information by September 12, 2021, or your
claim may be denied. We cannot make a decision on your claim, until we have sufficient information to determine
whether you qualify for benefits under the terms of the policy.
You can submit the requested Information via:
Fax to 800-850-0017
Email at ldclaimsteam@anthem.com, or
Mail at: Disability Service Center
                     P 0 Box 105426
                     Atlanta, GA 30348-5426



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07-LT00403220
                   Case 4:25-cv-00911-DMR                                   Document 1                    Filed 01/28/25                    Page 163 of 500

                                                                                                                                                                             163
                                                                               Anthem Blue Cross Life and Health                                          PO Box 105426

Anthem                                                                         Disability Service Center                                                  Atlanta, GA 30348-5426
                                                                                                                                                          Tel:   800-813-5682
         BlueCross                    m
                                                                                                                                                          Fax: 800-850-0017




   hat to e pect
We will make our claim decision as quickly as we can. While most claim decisions will not take the maximum time
allowed, the Employee Retirement Income Security Act of 1974, (ERISA) regulations require that we make our
initial LTD decision within 45 days of the date the claim was received. Accordingly, we expect to make our decision
no later than September 16, 2021. If we need more time because of things beyond our control, we may ask for up
to two 30-day extensions. If we do need an extension, we will send you another letter letting you know that before
September 15, 2021.

Should you have any questions or concerns in the meantime, please feel free to contact me at the toll free number
above.


Sincerely:

Eulene Burnside
Disability Case Manager, II




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07-LT00403220
                 Case 4:25-cv-00911-DMR                   Document 1            Filed 01/28/25           Page 164 of 500
12/17/24, 11:42 AM       Tc.columbia.edu Tv.   ,^e: {EXTERNAL} Re; Michael Darden Long Term Dis    .y LT00403220, Dr. Vergis, claims form, complet...
                                                                                                                                   164


                                                                                       Darden, Michael <mad2255@tc.coiumbia.edu>



  Re: {EXTERNAL} Re: Michael Darden Long Term Disability LT00403220, Dr. Vergis,
  claims form, completed, signed
  1 message

  Darden, Michael <mad2255@tc.columbia.edu>                                                                  Wed, Sep 22, 2021 at 9:41 AM
  To: LDCIaimsTeam <LDCIaimsTeam@anthem.com>
  Cc: "Burnside, Eulene" <eulene.burnside@anthem.com>

     Hi, Ms. Burnside:

    As indicated below, please find attached a copy of Dr. Vergis' completed, signed, Anthem "Pre-Existing" form:

     Satisfactory, please?

     Michael
     917-868-8780



     On Fri, Sep 17, 2021, 9:19AM LDCIaimsTeam <LDCIaimsTeam@anthem.c om> wrote:

       Hello Mr. Darden,




       Please see the attached request for information. Our request for information was sent to the following fax#. Please
       advise if there is a different fax number for Dr. Vergis.




       8/27/2021 12:04 PM Transmission Record


       Sent to: Emanuel Vergis, MD

       Phone; ww14152910489


       Billing information:",

       Remote ID; 18667280650


       Unique ID; "AF46128D4D871BF'

       Elapsed time: 3 minutes, 16 seconds.
       Used channel 10 on server’VA10P51358".

       NoANI data.

       NoAOC data.

       Resulting status code (0/339; 0/0); Success

       Pages sent: 1-4

       Delegate ID;




https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=ail&permthid=thread-a;r-597298184505392923&simpl=msg-a:r197881214 1085755...        1/4
                 Case 4:25-cv-00911-DMR                   Document 1            Filed 01/28/25           Page 165 of 500
12/17/24,11:42 AM        Tc.columbia.edu M     ?e: {EXTERNAL} Re: Michael Darden Long Term Dis      y LT00403220, Dr. Vergis. claims form, complet...
                                                                                                                                   165




       Toll free: 470-284-4504| Fax: 800-850-0017

       Anthem Inc.IFO BOX 1054261 Atlanta GA 30348-5426

       Email: eulene.burnside@anthem.com



       Please send all claims related correspondence to dlsability@anth em.com and cc:
       Eulene.burnside@anthem.com. This will ensure documentation of ail correspondence
       received and will be available to my backup in the event that I am absent from work.




       From: Darden, Michael <mad2255@tc.columbia.edu>
       Sent: Friday, September 17, 2021 11:58 AM
       To: Burnside, Eulene <eulene.burnside@anthem.com>
       Cc: LDCIaimsTeam<LDC!aimsTeam@anthem.com>
       Subject: {EXTERNAL} Re: Michael Darden Long Term Disability LT00403220, Dr. Vergis. claims forms request



       This email originated outside the company. Do not click links or attachments unless you recognize the sender.

       Eulene:




       I think there is confusion about the pre-existing period. Would you please email me the related forms for my PCP Dr.
       Vergis?



       He never received any forms from you all. I will provide Dr. Vergis the forms and provide you his completed forms once
       available.




       Thank you



       Michael



https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=a ll&permthid=thread-a:r-597298184505392923&simpl=msg-a:r197881214 1085755...       2/4
                 Case 4:25-cv-00911-DMR                    Document 1            Filed 01/28/25           Page 166 of 500
12/17/24, 11:42AM        Tc.columbia.edu M     ?e: {EXTERNAL} Re: Michael Darden Long Term Dis      y LT00403220, Dr. Vergis, claims form, complet...
                                                                                                                                   166
       917-868-8780




       On Wed, Aug 11, 2021,1:26 PM Burnside, Eulene <eulene.burnside@a nthem.com> wrote:

          Good Afternoon Mr. Darden,




          Reference is made to your claim for Long Term Disability benefits. Please refer to the attached letters and forms for
          detailed information.




          Please contact me should you have any questions.




          Toll free: 470-284-45041 Fax: 800-850-0017

          Anthem Inc. |PO BOX 1054261 Atlanta GA 30348-5426
          Email: eulene.burnside@anthem.com



          Please send all claims related correspondence to disability@anth em.com and cc:
          Eulene.burnside@anthem.com. This will ensure documentation of all correspondence
          received and will be available to my backup in the event that I am absent from work.




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https://mail.google.co m/mail/u/0/?ik=16dcfedc8d&view=pt&search= all&penmthid=thread-a:r-597298184505392923&simpl=msg-a:r19788121 41085755...
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12/17/24.11:42 AM        Tc.columbia.edu Mi     e: {EXTERNAL} Re: Michael Darden Long Term Disi       LT00403220, Dr. Vergis, daims form, complet...
                                                                                                                                  167
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       and destroy all copies of the original message and any attachment thereto.

      2 attachments

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                 Case 4:25-cv-00911-DMR                               Document 1                  Filed 01/28/25                  Page 168 of 500

                                                                         Anthem Blue Cross Life and Health                                      PO Box 105426

Anthem.                                                                  Disability Service Center                                             Atlanta. GA 30348-5426
                                                                                                                                                Tel: 800-813-5682
        BlueCross m               m
                                                                                                                                                Fax; 800-850-0017




August 27, 2021


Provider: Emanuel Vergis, MD
F: 415-291-0489
P:415-529-4099




Number of pages including cover: 4

Subject: MICHAEL A DARDEN
DOB: 05/05/1966
Claim Number; LT00403220
Reference Number: 443185



We received a disability claim for the above named patient. In order to determine If the patient is eligible for
benefits, additional information is needed.

1. Please provide copies of medical records including all objective test results from 6/14/2020 thru 9/13/2020.

2. Please advise us of the date of the initial office visit for the above named patient and the diagnosis for this visit.

                 L( tl
3. Did you treat the above named patient during the period of 6/14/2020 thru 9/13/2020?                                                      YES or
   If yes, please provide dates of treatment and the diagnosis for each date of treatment.




4. Did you prescribe any medications during the period of 6/14/2020 thru 9/13/2020? YES
   If yes, please provide the name of each drug, dosage and usage.




Ufo products und«n«nttan by Anflwm BUM CrouUf«sndHeaUhlmursnc«Co rnpsny: Disability products undmvwIttsnbyARthemUfe Insurance Company. Independent licensees of the Blue Cross Assoc
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                    Case 4:25-cv-00911-DMR                                   Document 1                    Filed 01/28/25                    Page 169 of 500
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5. To your knowledge, was the above named patienUceated by any other physicians besides yourself during the
    period of 6/14/2020 thru 9/13/2020? YES or Ch^
   If yes, please provide all of those doctor's full names, addresses and telephone numbers.




Once ALL of the information is received it will be reviewed for consideration of benefits. Please find attached a
copy of the signed authorization. Thank you for your help and we look forvi/ard to hearing from you.



                                                     LL(k^
Physician's Signature                                                                                Date



Physician's Printed Name                          ^MiuiSL AJ
if payment is required, please fax an invoice with the tax identification number to the fax number listed
above.




Sincerely,

Eulene Burnside
Disability Case Manager




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                 Case 4:25-cv-00911-DMR                   Document 1             Filed 01/28/25         Page 170 of 500
12/17/24. 11:49 AM              Tc.columbic    Mail - Michael Darden Long Term Disability LT00403   claim, Penny Fox letter, completed, signed
                                                                                                                                  170


                                                                                         Darden, Michael <mad225S@tc.columbia.edu>



  Michael Darden Long Term Disability LT00403220, claim, Penny Fox letter,
  completed, signed
  Darden, Michael <mad2255@tc.columbia.edu>                                                                 Mon, Sep 27, 2021 at 11:08 AM
  To: LDCIaimsTeam <LDClaimsTeam@anthem.com>
  Cc: "Burnside, Eulene" <eulene.burnside@anthem.com>

     Hi, Ms. Burnside:

    As requested, please find attached a copy of my psychotherapist Penny Fox's completed, signed, statement letter
    concerning Anthem's "Pre-Existing" concerns regarding this claim application:

     Satisfactory, please?


     Michael


     917-868-8780




     On Wed, Sep 22, 2021, 9:47 AM Darden, Michael <mad2255@tc,Columb ia.edu> wrote:

          Hi, Ms. Burnside:

          As indicated below, please find attached a copy of Dr. Vergis' completed, signed. Anthem "Pre-Existing" form:

          Satisfactory, please?

          Michael
          917-868-8780



          On Fri, Sep 17. 2021, 9:19 AM LDCIaimsTeam <LDCIaimsTeam@anthem. com> wrote:
             Hello Mr. Darden




             Please see the attached request for information. Our request for information was sent to the following fax#.
             Please advise if there is a different fax number for Dr. Vergis.




             8/27/2021 12:04 PM Transmission Record

             Sent to: Emanuel Vergis, MD

             Phone: ww14152910489


             Billing information:",
             Remote ID: 18667280650

             Unique ID: "AF46128D4D871BF'

             Elapsed time: 3 minutes, 16 seconds.


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                Case 4:25-cv-00911-DMR                   Document 1              Filed 01/28/25           Page 171 of 500
12/17/24,11:49 AM              Tc.columbi    i Mai) - Michael Darden Long Term Disability LT0040v   ,claim. Penny Fox letter, completed, signed
            Used channel 10 on server "VA10P51358".
                                                                                                                                   171

            No ANI data.

            No AOC data.


            Resulting status code (0/339; 0/0): Success

            Pages sent: 1-4

            Delegate ID:




            Toll free: 470-284-45041 Fax: 800-850-0017

            Anthem Inc. IP O BOX 1054261 Atlanta GA 30348-5426
            Email: eulene.burnside@anthem.com




            Please send all claims related correspondence to disability@anth em.com and cc:
            Eulene.burnside@anthem.com. This will ensure documentation of all correspondence
            received and will be available to my backup in the event that I am absent from work.




            From: Darden, Michael <mad2255@tc.Columbia.edu>
            Sent: Friday, September 17, 2021 11:58 AM
            To: Burnside, Eulene <eulene.burnside@anthem.com>
            Cc: LDCIaimsTeam <LDClaimsTeam@anthem.com>
            Subject: {EXTERNAL} Re: Michael Darden Long Term Disability LT00403220, Dr. Vergis, claims forms request



            This email originated outside the company. Do not click links or attachments unless you recognize the sender.

            Eulene:




            I think there is confusion about the pre-existing period. Would you please email me the related forms for my PCP
            Dr. Vergis?

https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=all&permmsgid=msg-a;r6077835018677034965&simpl=msg-a;r607783501867703...           2/4
                Case 4:25-cv-00911-DMR                    Document 1             Filed 01/28/25           Page 172 of 500
12/17/24,11:49 AM              Tc.columbi.    j Mail - Michael Darden Long Term Disability LT0040v   ,daim. Penny Fox letter, completed, signed
                                                                                                                                    172


            He never received any forms from you all. I will provide Dr. Vergis the forms and provide you his completed forms
            once available.




            Thank you



            Michael

            917-868-8780




            On Wed, Aug 11, 2021,1:26 PM Burnside, Eulene <eulene.burnside@a nthem.com> wrote:

               Good Afternoon Mr. Darden,




               Reference is made to your claim for Long Term Disability benefits. Please refer to the attached letters and forms
               for detailed information.




               Please contact me should you have any questions.




               Toll free: 470-284-45041 Fax: 800-850-0017

               Anthem Inc. |PO BOX 1054261 Atlanta GA 30348-5426
               Email: eulene.burnside@anthem.com



               Please send all claims related correspondence to dlsability@anth em.com and cc:
               Eulene.burnside@anthem.com. This will ensure documentation of all
               correspondence received and will be available to my backup in the event that I am
               absent from work.




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                 Case 4:25-cv-00911-DMR                  Document 1              Filed 01/28/25         Page 173 of 500
12/17/24, 11:49 AM             Tc.columbi.   . Mail - Michael Darden Long Term Disability LT0040;   claim, Penny Fox letter, completed, signed
                                                                                                                                  173



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                and destroy all copies of the original message and any attachment thereto.

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             are not the intended recipient, please contact the sender by reply e-mail
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          Sep 26, Doc 1.pdf
      sJ 221K




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  Case 4:25-cv-00911-DMR                  Document 1           Filed 01/28/25          Page 174 of 500




9/16/2021




To Whom It My Concern:



I saw Michael Darden between the dates of June l" through September 10* of 2020. He did not
have any of the signs and systems or the diagnosis related to his disability that started on April
15* 2021. His current disability diagnosis was not exhibited in any way during the above time
period I saw him. He also was never diagnosed by me with his current disability diagnosis.

Sincerely,




Penny Fox
                 Case 4:25-cv-00911-DMR                 Document 1           Filed 01/28/25          Page 175 of 500
12/17/24, 11:52 AM      Tc.columbia.edu      RB: {EXTERNAL} Michael Darden Long Term Disabil.   .00403220, claim. Penny Fox letter, completed,...
                                                                                                                               175


                                                                                     Darden, Michael <mad2255@tc.columbia.edu>



  RE: {EXTERNAL} Michael Darden Long Term Disability LT00403220, claim, Penny
  Fox letter, completed, signed
  LDCIalmsTeam <LDCIaimsTeam@anthem.com>                                                                  Wed, Oct 13, 2021 at 1:39 PM
  To; "Darden, Michael" <mad2255@tc.columbia.edu>
  Cc: "Burnside, Eulene" <eulene.burnside@anthem.com>


     Dear Mr. Darden:




     We are currently reviewing your claim for Disability benefits. The Employee Retirement Income Security Act of
     1974 (ERISA) requires us to notify you if there will be a delay in making a claim decision within 45 days from the
     receipt date of your claim. The 75^^ day for your claim is October 15, 2021.


     At this time, the following additional information is needed to make a decision on your claim:



       - Medical/clinical evidence to support the disability claimed

       - Treatment records requested from Rodney Karr, PH.D for the period of June 14, 2020 thru September 13,
     2020.




     Please follow up accordingly to ensure that all of the above-noted information is submitted to our office no later
     than November 15, 2021 so that we may resume and complete our review of your claim. If we do not receive all
     requested information by the specified date, we will have no alternative but to deny your claim until all requested
     Information is provided for consideration.



     To expedite this process, all requested information may be submitted via fax to the number above. However,
     should you have any questions or concerns In the meantime, please feel free to contact me at the telephone
     number listed below.




     Toll free: 470-284-45041 Fax: 800-850-0017

     Anthem lnc.|PO BOX 1054261 Atlanta GA 30348-5426
     Email: eulene.burnside(ganthem.com


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                Case 4:25-cv-00911-DMR                      Document 1        Filed 01/28/25           Page 176 of 500
12/17/24, 11:52AM       Tc.columbia.edu N.    RE: {EXTERNAL} Michael Darden Long Term Disabi..   .f00403220, claim. Penny Fox letter, completed,...
                                                                                                                                 176



    Please send all claims related correspondence to disability@anth em.com and cc:
    Eulene.burnside@anthem.com. This will ensure documentation of all correspondence
    received and will be available to my backup in the event that I am absent from work.




                          ^Accountable
       Trustworthy                           Innovative ●
                                                                          Easy to do ^




    From: Darden, Michael <mad2255@tc.columbia.edu>
    Sent: Monday, September 27, 2021 2:08 PM
    To: LDCIaimsTeam<LDCIaimsTeam@anthem.com>
    Cc: Burnside, Eulene <eulene.burnside@anthem.com>
    Subject: {EXTERNAL} Michael Darden Long Term Disability LT00403220, claim, Penny Fox letter, completed, signed



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    Hi, Ms. Burnside:



    As requested, please find attached a copy of my psychotherapist Penny Fox's completed, signed, statement letter
    concerning Anthem's "Pre-Existing" concerns regarding this claim application:



    Satisfactory, please?




    Michael




    917-868-8780




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https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pl&search=a ll&permmsgid=msg-f:1713538412012879010&simpl=msg-f:1713538412012 879010         2/5
                 Case 4:25-cv-00911-DMR                  Document 1           Filed 01/28/25           Page 177 of 500
12/17/24, 11:52 AM       Tc.columbia.edu M    <E: {EXTERNAL} Michael Darden Long Term Disabil.    00403220, claim, Penny Fox letter, completed,...
                                                                                                                                177
           Satisfactory, please?



           Michael

           917-868-8780




           On Fri, Sep 17,2021, 9:19 AM LDCIaimsTeam <LDCIaimsTeam@anthem.c om> wrote:

              Hello Mr. Darden,



              Please see the attached request for information. Our request for information was sent to the following fax#.
              Please advise if there is a different fax number for Dr. Vergis.




              8/27/2021 12:04 PM Transmission Record

              Sent to: Emanuel Vergis, MD

              Phone: ww14152910489

              Billing information:

              Remote ID: 18667280650

              Unique ID: "AF46128D4D871BF'

              Elapsed time: 3 minutes, 16 seconds.
              Used channel 10 on server "VA10P51358".

              NoANI data.

              NoAOC data.


              Resulting status code (0/339; 0/0): Success

              Pages sent: 1 - 4

              Delegate ID:




              Toll free: 470-284-45041 Fax: 800-850-0017

              Anthem Inc.|PO BOX 1054261 Atlanta GA 30348-5426
              Email: eu!ene.burnside(ganthem.com
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                Case 4:25-cv-00911-DMR                   Document 1            Filed 01/28/25          Page 178 of 500
12/17/24, 11:52AM        Tc.columbia.edu M   (^E; {EXTERNAL} Michael Darden Long Term Disabii,   . 00403220, claim, Penny Fox letter, completed,...
                                                                                                                                 178



             Please send all claims related correspondence to disability@anth em.com and cc:
             Eulene.burnside@anthem.com. This will ensure documentation of all
             correspondence received and will be available to my backup in the event that I am
             absent from work.




             From: Darden, Michael <mad2255@tc.Columbia.edu>
             Sent: Friday, September 17, 2021 11:58 AM
             To: Burnside, Eulene <eulene.burnside@anthem.com>
             Cc: LDCIaimsTeam <LDClaimsTeam@anthem.com>
             Subject: {EXTERNAL} Re: Michael Darden Long Term Disability LT00403220, Dr. Vergis, claims forms request



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             Eulene:




             I think there is confusion about the pre-existing period. Would you please email me the related forms for my PCP
             Dr. Vergis?



             He never received any forms from you all. I will provide Dr. Vergis the forms and provide you his completed forms
             once available.




             Thank you



             Michael

             917-868-8780




             On Wed, Aug 11,2021,1:26 PM Burnside, Eulene <eulene.burnside@anthem.com> wrote:

                Good Afternoon Mr. Darden,



                Reference is made to your claim for Long Term Disability benefits. Please refer to the attached letters and
                forms for detailed information.




                Please contact me should you have any questions.

https://mail.google.com/mait/u/0/?ik=16dcfadc8d&view=pt&search=a ll&pemirnsgid=msg-f:1713538412012879010&simpl=msg-f:171353841201 2879010        4/5
                Case 4:25-cv-00911-DMR                   Document 1           Filed 01/28/25           Page 179 of 500
12/17/24,11:52 AM       Tc.columbia.edu M    <^E: {EXTERNAL} Michael Darden Long Term Disabii,   . 00403220, daim, Penny Fox letter, completed,...
                                                                                                                                179




                            ^Samdidc,                                           ^^laim6


                Toll free: 470-284-4504| Fax: 800-850-0017

                Anthem Inc. |PO BOX 105426| Atlanta GA 30348-5426
                Email: eulene.burnside(ganthem.com




                Please send all claims related correspondence to disability@anth em.com and cc:
                Eulene.burnside@anthem.com. This will ensure documentation of all
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     and destroy all copies of the original message and any attachment thereto.

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                Case 4:25-cv-00911-DMR   Document 1   Filed 01/28/25   Page 180 of 500
                                                                                         180




          October 13, 2021



          MICHAEL A DARDEN
          1801 SHORELINE DRIVE
         APT 307
         ALAMEDA, CA 94501




16-LT00403220
                   Case 4:25-cv-00911-DMR                                     Document 1                    Filed 01/28/25                     Page 181 of 500
                                                                                                                                                                                181
                                                                                Anthem Blue Cross Life and Health                                            PO Box 105426

Anthem.                                                                         Disability Service Center                                                    Atlanta, GA 30348-5426
                                                                                                                                                             Tel: 800-813-5682
         BlueCross                                                                                                                                           Fax; 800-850-0017




October 13, 2021

MICHAELADARDEN
1801 SHORELINE DRIVE
APT 307
ALAMEDA, CA 94501

RE: Disability Benefits - LT00403220
        Reference Number: 443185
        Group Number: 281837
        NURO INC

Dear Mr. Darden:


We are currently reviewing your claim for Disability benefits. The Employee Retirement Income Security Act of
1974 (ERISA) requires us to notify you if there will be a delay in making a claim decision within 45 days from the
receipt date of your claim. The 75th day for your claim is October 15, 2021.

At this time, the following additional information is needed to make a decision on your claim:

  - MedicaVcIinical evidence to support the disability claimed
    - Treatment records requested from Rodney Karr, PH.D for the period of June 14, 2020 thru September
13, 2020.



Please follow up accordingly to ensure that all of the above-noted information is submitted to our office no later
than November 16, 2021 so that we may resume and complete our review of your claim. If we do not receive all
requested information by the specified date, we will have no alternative but to deny your claim until all requested
information is provided for consideration.

To expedite this process, all requested information may be submitted via fax to the number above. However,
should you have any questions or concerns in the meantime, please feel free to contact me at the telephone
number listed above.



Sincerely,

Eulene Burnside
Disability Case Manager, II

You have the right to get this information and help in your language for free. Please call Customer Service at
800-232-0113 for assistance. (TTY/TDD: 711)
Xiene derecho a recibir esta informacibn y ayuda en su idioma de manera gratuita. Llame al Servicio de
Atencion al Cliente al 1-800-232-0113 para solicitar ayuda. (TTY/TDD: 711).
                                                                       1-800-232-0113(TTY/TDD; 711).




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                Case 4:25-cv-00911-DMR                        Document 1        Filed 01/28/25            Page 182 of 500
12/17/24,12:27 PM         Tc.columbia.edu <.    - RE: {EXTERNAL} Re: Darden, Michael LT0040322L.   ●them Disability claim, Penny Fox clarification letter
                                                                                                                                     182


                                                                                        Darden, Michael <mad2255@tc.columbia.edu>



  RE: {EXTERNAL} Re: Darden, Michael LT00403220, Anthem Disability claim, Penny
  Fox clarification letter

  LDCIaimsTeam <LDCIaimsTeam@anthem.com>                                                                       Sun. Dec 19, 2021 at 7:19 AM
  To: "Darden, Michael" <mad2255@tc.columbia.edu>
  Cc: "Burnside, Eulene" <eulene.burnside@anthem.com>


    Hello Mr. Darden




    Your claim for Long Term Disability has been approved. A copy of your approval letter is attached.



    Please contact me should you have any questions.




    Toll free: 470-284-45041 Fax: 800-850-0017

    Anthem Inc.|FO BOX 1054261 Atlanta GA 30348-5426
    Email: eulene.burnside@anthem.com




     Please send all claims related correspondence to disability@anth em.com and cc:
     Eulene.burnside@anthem.com. This will ensure documentation of aii correspondence
     received and will be available to my backup in the event that I am absent from work.




                    GS>
       Trustworthy          Accountable
                                               Innovitivtf?     ^^iring     Ejiy todo^|^



    From: Darden, Michael <mad2255@tc.columbia.edu>
    Sent: Wednesday, November 24, 2021 2:33 AM
    To: LDCIaimsTeam <LDCIaimsTeam@anthem.com>
    Cc: Burnside, Eulene <eulene.burnside@anthem.com>; Johnson, Nanette <Nanette.Johnson@anthem.com>
    Subject: {EXTERNAL} Re: Darden, Michael LT00403220, Anthem Disability claim. Penny Fox clarification letter

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                 Case 4:25-cv-00911-DMR                  Document 1           Filed 01/28/25           Page 183 of 500
12/17/24, 12:27 PM        Tc.columbia.edu ■   - RE: {EXTERNAL} Re: Darden, Michael LT0040322L,   .hem Disability claim, Penny Fox clarification letter
                                                                                                                                   183

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    Attached, as requested.



    Satisfactory?




    Thank you,



    Michael

    917-868-8780




    On Wed, Nov 17, 2021,10:57 AM Darden, Michael <mad2255@tc.Columb ia.edu> wrote;

       Good Day:



       What's the status of my Claim (LT00403220), please?




       Thank you and be well



       Michael

       Michael Darden

       917-868-8780




       On Fri, Oct 29, 2021,2:04 PM Darden, Michael <mad2255@tc.co!umbi a.edu> wrote:

              Attached, please find the below-indicated, completed and signed form;



              Satisfactory, please?



              Do you need further information from me?




              Thank you and take care,



              Michael

https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=all&peiTnmsgid=msg-f:1719588280638340557&simpl=msg-f:171958828063 8340557           2/6
                 Case 4:25-cv-00911-DMR                  Document 1           Filed 01/28/25           Page 184 of 500
12/17/24, 12:27 PM        Tc.coiumbia.edu    - RE: {EXTERNAL} Re: Darden, Michael LT0040322L.   ..hem Disability claim, Penny Fox clarification letter
              Michael Darden
                                                                                                                                  184

              917-868-8780




              On Mon, Oct 18, 2021, 5:58 AM LDCIaimsTeam <LDCIaimsTeam@anthem. com> wrote:

                 Hello Mr. Darden,



                 Attached is the email sent to Dr. Karr’s office




                 Toll free: 470-284-45041 Fax: 800-850-0017

                 Anthem inc. IP O BOX 1054261 Atlanta GA 80348-5426
                 Email: eulene.burnsicie@anthem.com




                 Please send alt claims related correspondence to disability@anth em.com and cc:
                 Eulene.burnside@anthem.com. This will ensure documentation of all
                 correspondence received and will be available to my backup in the event that I am
                 absent from work.




                 From: LDCIaimsTeam
                 Sent: Wednesday, October 13, 2021 4:56 PM
                 To: rodneygkarr@sbcglobal.net
                 Cc: Burnside, Eulene <eulene.burnside@anthem.com>
                 Subject: Darden, Michael LT00403220



                 Provider: Rodney Karr, PH.D
                 Phone: 415-931-1934




                 Subject: MICHAEL A DARDEN

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                 Case 4:25-cv-00911-DMR                  Document 1           Filed 01/28/25          Page 185 of 500
12/17/24, 12:27 PM        Tc.columbia.edu     RE; {EXTERNAL} Re: Darden, Michael LT00403221      nem Disability claim, Penny Fox clarification letter
                                                                                                                                185
                 DOB:           '1966

                 Claim Number: LT00403220

                 Reference Number: 443185




                 We received a disability claim for the above named patient. In order to determine if the patient is
                 eligible for benefits, additional information is needed.



                 1. Please provide copies of medical records including all objective test results from 6/14/2020 thru
                 9/13/2020.




                 2. Please advise us of the date of the initial office visit for the above named patient and the diagnosis
                 for this visit.




                 3. Did you treat the above named patient during the period of 6/14/2020 thru 9/13/2020?                        YES or
                 NO


                     If yes, please provide dates of treatment and the diagnosis for each date of treatment.




                 4. Did you prescribe any medications during the period of 6/14/2020 thru 9/13/2020? YES or NO

                     If yes, please provide the name of each drug, dosage and usage.




                 5. To your knowledge, was the above named patient treated by any other physicians besides yourself
                 during the

                      period of 6/14/2020 thru 9/13/2020YES or NO

                     If yes, please provide all of those doctor's full names, addresses and telephone numbers.




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                 Case 4:25-cv-00911-DMR                  Document 1           Filed 01/28/25          Page 186 of 500
12/17/24. 12:27 PM        Tc.columbia.edu     RE; {EXTERNAL} Re: Darden, Michael LT00403221.     nem Disability claim, Penny Fox clarification letter
                 Once ALL of the information is received it will be       reviewed for consideration of benefits. Pleali^nd
                 attached a copy of the signed authorization. Thank you for your help and we look forward to hearing
                 from you.




                 Physician's Signature                                                  Date




                 Physician's Printed Name



                 If payment is required, please fax an invoice with the tax identification number to the fax
                 number listed above.




                 Sincerely,



                 Eulene Burnside


                 Disability Case Manager, II




                Toll free: 470-284-4504] Fax: 800-850-0017

                 Anthem Inc.] PO BOX 105426] Atlanta GA 30348-5426
                 Email: eulene.burnside@anthem.com




https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=a ll&permmsgid=msg-f:1719588280638340557&simpl=msg-f:1719588280638 340557          5/6
                 Case 4:25-cv-00911-DMR                 Document 1           Filed 01/28/25           Page 187 of 500
12/17/24, 12:27 PM       Tc.columbia.edu    ● RE: {EXTERNAL} Re: Darden, Michael LT0040322      chem Disability claim. Penny Fox clarification letter

                 Please send all claims related correspondence to disability@anth em.com ailS^c:
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                 correspondence received and will be available to my backup in the event that I am
                 absent from work.




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     are not the intended recipient, please contact the sender by reply e-mail
     and destroy all copies of the original message and any attachment thereto.

      «i>l Darden, Michael LTD approval letter.pdf
       ^ 150K




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                 Case 4:25-cv-00911-DMR                   Document 1            Filed 01/28/25          Page 188 of 500
12/17/24,11:69 AM        Tc.columbia.edu M     {e: FW: Darden, Michael LT00403220, /\nthem DisaL   Jaim, Rodney Karr, form completed, signed; rev...
                                                                                                                                 188


                                                                                        Darden, Michael <mad2255@tc.columbia.edu>



  Re: FW: Darden, Michael LT00403220, Anthem Disability claim, Rodney Karr, form
  completed, signed; revised form
  Darden, Michael <mad2255@tc.columbia.edu>                                                                    Fri, Oct29, 2021 at 2:04 PM
  To: LDCIaimsTeam <LDCiaimsTeam@anthem.com>
  Cc: "Burnside, Eulene" <eulene.burnside@anthem.com>

       Attached, please find the below-indicated, completed and signed form:

       Satisfactory, please?

       Do you need further information from me?


       Thank you and take care^

       Michael
       Michael Darden
       917-868-8780


       On Mon, Oct 18, 2021, 5:58 AM LDCIaimsTeam <LDCIaimsTeam@anthem. com> wrote:

          Hello Mr. Darden,



         Attached is the email sent to Dr. Karr’s office




         Toll free: 470-284-4504 ] Fax: 800-850-0017

          Anthem Inc. | F O BOX 1054261 Atlanta GA 30348-5426
         Email: eulene.burnside@anthem.com




          Please send all claims related correspondence to disability@anth em.com and cc:
          Eulene.burnside@anthem.com. This will ensure documentation of all correspondence
          received and will be available to my backup in the event that I am absent from work.




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                 Case 4:25-cv-00911-DMR                   Document 1           Filed 01/28/25           Page 189 of 500
12/17/24,11:59 AM        Tc.columbia.edu ^    ?e: FW: Darden, Michael LT00403220, Anthem Disa.     daim, Rodney Karr, form completed, signed: rev...
                                                                                                                                  189




          From: LDCIaimsTeam
         Sent: Wednesday, October 13, 2021 4:56 PM
         To: rodneygkarr@sbcglobal.net
         Cc: Burnside, Eulene <eulene.burnside@anthem.com>
         Subject: Darden, Michael LT00403220



         Provider: Rodney Karr, PH.D

         Phone: 415-931-1934




         Subject: MICHAEL A DARDEN
          DOB:           '1966

         Claim Number: LT00403220

          Reference Number: 443185




         We received a disability claim for the above named patient. In order to determine if the patient is eligible for
          benefits, additional information is needed.



          1. Please provide copies of medical records including all objective test results from 6/14/2020 thru
         9/13/2020.




         2. Please advise us of the date of the initial office visit for the above named patient and the diagnosis for this
         visit.




          3. Did you treat the above named patient during the period of 6/14/2020 thru 9/13/2020?                        YES or         NO


             If yes, please provide dates of treatment and the diagnosis for each date of treatment.




          4. Did you prescribe any medications during the period of 6/14/2020 thru 9/13/2020? YES or NO

             If yes, please provide the name of each drug, dosage and usage.
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                 Case 4:25-cv-00911-DMR                  Document 1            Filed 01/28/25          Page 190 of 500
12/17/24, 11:59AM        Tc.columbia.edu I    Re: FW; Darden, Michael LT00403220, Anthem Disi     claim, Rodney Karr, form completed, signed; rev...
                                                                                                                                 190




         5. To your knowledge, was the above named patient treated by any other physicians besides yourself during
         the

               period of 6/14/2020 thru 9/13/2020YES           or NO

            If yes, please provide ail of those doctor's full names, addresses and telephone numbers.




         Once ALL of the information is received it will be reviewed for consideration of benefits. Please find
         attached a copy of the signed authorization. Thank you for your help and we look forward to hearing from
         you.




          Physician’s Signature                                                    Date




          Physician's Printed Name



         If payment is required, please fax an invoice with the tax identification number to the fax number
          listed above.




         Sincerely,



          Eulene Burnside


          Disability Case Manager, II




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                Case 4:25-cv-00911-DMR                   Document 1            Filed 01/28/25           Page 191 of 500
12/17/24, 11;59AM        Tc.columbia.edu I    Re: FW: Darden, Michael LT00403220, Anthem Disi     claim, Rodney Karr, form completed, signed; rev...
                                                                                                                                 191




                     i^ut^nSide,



         Toll free: 470-284-45041 Fax: 800-850-0017

         Anthem Inc.|PO BOX 105426] Atlanta GA 30348-5426

         Email: eulene.burnside@anthem.com




          Please send all claims related correspondence to disability@anth em.com and cc:
          Eulene.burnside@anthem.com. This will ensure documentation of all correspondence
          received and will be available to my backup in the event that I am absent from work.




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         and destroy all copies of the original message and any attachment thereto.

     ●ms Michael Darden, Anthem Disability Claim, Pre-Existing Condition, Dr. Rodney Karr, completed, signed.pdf
      ^ 218K




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    Case 4:25-cv-00911-DMR                  Document 1       Filed 01/28/25        Page 192 of 500
                                                                                                          192




Provider: Rodney Karr, PH.D
Phone: 415-931-1934




Subject:MICHAEL A DARDEN
DOB:        1966
Claim Number: LT00403220
Reference Number: 443185



We received a disability claim for the above named patient. In order to determine if the patient is
eligible for benefits, additional information is needed.

    1.     Please provide copies of medical records Including all objective test results from 6/14/2020
         thru 9/13/2020.

           None. N/A.


    2.     Please advise us of the date of the initial office visit for the above named patient and the
         diagnosis for this visit.
October 31,2020. Diagnosis:           N/A




3. Did you treat the above named patient during the period of 6/14/2020 thru
9/13/2020?       YES    or   NOX
  If yes, please provide dates of treatment and the diagnosis for each date of treatment.



4. Did you prescribe any medications during the period of 6/14/2020 thru 9/13/2020? YES or NO X

  if yes, please provide the name of each drug, dosage and usage.
   Case 4:25-cv-00911-DMR             Document 1         Filed 01/28/25       Page 193 of 500
                                                                                                  193




5. To your knowledge, was the above named patient treated by any other physicians besides
yourself during the
   period of 6/14/2020 thru 9/13/2020YES or NO_X
   If yes, please provide all of those doctor's full names, addresses and telephone numbers.




Once ALL of the information is received it will be reviewed for consideration of benefits. Please find
attached a copy of the signed authorization. Thank you for your help and we look forward to hearing
from you.




Physician's Signature                                         Date




Physician’s Printed Name
Rodney Karr, PhD




If payment is required, please fax an invoice with the tax identification number to the fax
number listed above.




Sincerely,

Eulene Burnside
Eulene Burnside

Disability Case Manager, II
                   Case 4:25-cv-00911-DMR                                           Document 1                        Filed 01/28/25                           Page 194 of 500
To: +18008500017                                Page: 05 oi                             2021-08-12 05:47:49 GMT                                       .038430310                                           Michael Darden




                   long Term Disability
                   Employee Autborization for Release of Information                                                                                   Antheiii Life
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                                                                            AUTHORIZATION FOR RELEASE OF INFORMATION
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                   tor benefits,

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                        P.O.^ 105426
                        At(aflta,GA3{l34B-S4Z6

                   For customer service:

                        Can; 800-613^062
                        fax: 809-9504)017




   PAGE 5/13 * RCVD AT 8/12/2021 1:47:55 AM (Eastern Daylight Time] * SVR:VA10P51357/17* DNIS:3428663 ● CSID:16038430310 ’ ANI:5034367151 * DURATION (mm-ss):21-03
                Case 4:25-cv-00911-DMR                       Document 1         Filed 01/28/25         Page 195 of 500
12/17/24,12:12 PM             Tc. Columbia.    ilail - RE; {EXTERNAL} Darden. Michael LT0040322   .hem Disability claim, Status Update Request
                                                                                                                                195


                                                                                        Darden, Michael <mad2255@tc.columbia.edu>



  RE: {EXTERNAL} Darden, Michael LT00403220, Anthem Disability claim, Status
  Update Request
  LDCIaimsTeam <LDCIaimsTeam@anthem.com>                                                                     Fri, Nov 19, 2021 at 11:13 AM
  To; "Darden, Michael" <mad2255@tc.columbia.edu>
  Cc: "Burnside, Eulene" <eulene.burnside@anthem.com>


    Hello Mr. Darden,



    Your claim remains under revievt/ for claim decision. We have reviewed the medical information you provided, however,
    without the therapy records from Penelope Fox for treatment you received during the period of 6/14/2020 thru 9/13/2020
    we are unable to definitively rule out the pre- existing condition exclusion as it applies to your group policy.




    Toll free: 470-284-45041 Fax: 800-850-0017

    Anthem Inc.|FO BOX 1054261 Atlanta GA 30348-5426
    Email: eulene.burnside@anthem.com



    Please send all claims related correspondence to disability@anth em.com and cc:
    Eulene.burnside@anthem.com. This will ensure documentation of all correspondence
    received and will be available to my backup In the event that I am absent from work.




                    CO
       Trustworthy          Accountable       Innovative ●
                                                                           £uy^<k)^^




    From: Darden, Michael <mad2255@tc.columbia.edu>
    Sent: Wednesday, November 17, 2021 1:57 PM
    To: LDCIaimsTeam<LDCIaimsTeam@anthem.com>
    Cc: Burnside, Eulene <eulene.burnside@anthem.com>
    Subject: {EXTERNAL} Darden, Michael LT00403220, Anthem Disability claim, Status Update Request


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                Case 4:25-cv-00911-DMR                   Document 1            Filed 01/28/25         Page 196 of 500
12/17/24.12:12PM              Tc. Columbia.   /lail - RE; {EXTERNAL} Darden, Michael LT0040322   .hem Disability claim, Status Update Request
    This email originated outside the company. Do not click links or attachments unless you recognize the sendel^®

    Good Day;



    What's the status of my Claim (LT00403220), please?




    Thank you and be well



    Michael

    Michael Darden

    917-868-8780




    On Fri, Oct 29, 2021, 2:04 PM Darden, Michael <mad2255@tc.Columb ia.edu> wrote:

          Attached, please find the below-indicated, completed and signed form;



          Satisfactory, please?



          Do you need further information from me?




          Thank you and take care,



          Michael

          Michael Darden

          917-868-8780




          On Mon, Oct 18, 2021, 5:58 AM LDCIaimsTeam <LDCIaimsTeam@anthem. com> wrote:

              Hello Mr. Darden,




              Attached is the email sent to Dr. Karr’s office




https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=a ll&permmsgid=msg-f:1716885106571003812&simpl=msg-f:1716885106571 003812        2/6
                Case 4:25-cv-00911-DMR                   Document 1           Filed 01/28/25           Page 197 of 500
12/17/24,12:12 PM             Tc.columbia.t    ail - RE; {EXTERNAL} Darden, Michael LT0040322C     lem Disability claim, Status Update Request
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             Email: eulene.burnside@antherri.com




             Please send ail claims related correspondence to disability@anth em.com and cc:
             Eulene.burnside@anthem.com. This will ensure documentation of ail
             correspondence received and will be available to my backup in the event that I am
             absent from work.




             From: LDCIaimsTeam
             Sent: Wednesday, October 13, 2021 4:56 PM
             To: rodneygkarr@sbcglobal.net
             Cc: Burnside, Eulene <eulene.burnside@anthem.com>
             Subject: Darden, Michael LT00403220



             Provider: Rodney Karr, PH.D
             Phone: 415-931-1934




             Subject: MICHAEL A DARDEN
             DOB:           1966

             Claim Number: LT00403220

             Reference Number: 443185




             We received a disability claim for the above named patient. In order to determine if the patient is eligible
             for benefits, additional information is needed.



             1. Please provide copies of medical records including all objective test results from 6/14/2020 thru
             9/13/2020.




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                Case 4:25-cv-00911-DMR                  Document 1            Filed 01/28/25          Page 198 of 500
12/17/24.12:12 PM            Tc. Columbia.   ^ail - RE: {EXTERNAL} Darden, Michael LT0040322     ihem Disability claim, Status Update Request
             2. Please advise us of the date of the initial office      visit for the above named patient and the dia^^is for
             this visit.




             3. Did you treat the above named patient during the period of 6/14/2020 thru 9/13/2020?                       YES     or
             NO


                If yes, please provide dates of treatment and the diagnosis for each date of treatment.




             4. Did you prescribe any medications during the period of 6/14/2020 thru 9/13/2020? YES or NO

                If yes, please provide the name of each drug, dosage and usage.




             5. To your knowledge, was the above named patient treated by any other physicians besides yourseif
             during the

                    period of 6/14/2020 thru 9/13/2020YES or NO
                If yes, please provide all of those doctor’s full names, addresses and telephone numbers.




             Once ALL of the information is received it will be reviewed for consideration of benefits. Please find
             attached a copy of the signed authorization. Thank you for your help and we look forward to hearing from
             you.




             Physician's Signature                                                   Date




             Physician's Printed Name



             If payment is required, please fax an invoice with the tax identification number to the fax number
             listed above.



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                 Case 4:25-cv-00911-DMR                 Document 1           Filed 01/28/25           Page 199 of 500
12/17/24, 12:12 PM           Tc.columbia.    ^ail - RE: {EXTERNAL} Darden. Michael LT0040322     ihem Disability claim, Status Update Request
                                                                                                                               199




              Sincerely,



              Eulene Burnside

              Disability Case Manager, II




              0lnaei^



              Toll free: 470-284-4504] Fax: 800-850-0017

              Anthem Inc.|PO BOX 1054261 Atlanta GA 30348-5426
              Email: eulene.burnside@antherri.com



              Please send all claims related correspondence to disability@anth em.com and cc:
              Eulene.burnside@anthem.com. This will ensure documentation of all
              correspondence received and will be available to my backup in the event that I am
              absent from work.




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              and destroy all copies of the original message and any attachment thereto.


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                Case 4:25-cv-00911-DMR                  Document 1            Filed 01/28/25          Page 200 of 500
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    and destroy all copies of the original message and any attachment thereto.




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                                                                                                                                       201


                                                                                        Darden, Michael <mad2255@tc.Columbia.edu>



  Re: Darden, Michael LT00403220, Anthem Disability claim, Penny Fox clarification
  letter
  1 message

  Darden, Michael <mad2255@tc.coIumbia.edu>                                                                    Tue, Nov 23, 2021 at 11:32 PM
  To: LDCIaimsTeam <LDCIaimsTeam@anthem.com>
  Cc; "Burnside, Eulene" <eulene.burnside@anthem.com>,nanette.johnson@anthem.com
  Bcc: G Wyche <gmwyche@gmaii.com>

     Attached, as requested.

     Satisfactory?


     Thank you

     Michael
     917-868-8780


     On Wed. Nov 17, 2021, 10:57 AM Darden, Michael <mad2255@tc.Colum bia.edu> wrote:
       Good Day:

       What’s the status of my Claim (LT00403220), please?


       Thank you and be well

       Michael
       Michael Darden
       917-868-8780




       On Fri, Oct 29, 2021, 2:04 PM Darden, Michael <mad2255@tc.columb ia.edu> wrote:
           Attached, please find the below-indicated, completed and signed form;

            Satisfactory, please?

            Do you need further information from me?


            Thank you and take care^

            Michael
            Michael Darden
            917-868-8780


            On Mon, Oct 18, 2021, 5:58 AM LDCIaimsTeam <LDCiaimsTeam@anthem. com> wrote;

               Hello Mr. Darden,



               Attached is the email sent to Dr. Karr’s office




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                 Case 4:25-cv-00911-DMR                    Document 1            Filed 01/28/25             Page 202 of 500
12/17/24, 12:18 PM                 Tc.colurr.   Ju Mail - Re: Darden, Michael LT00403220, Anthem       jility claim, Penny Fox clarification letter
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               Toll free: 470-284-45041 Fax: 800-850-0017

               Anthem Inc.|PO BOX 1054261 Atlanta GA 30348-5426

               Email: eulene.burnside@anthem.com



               Please send all claims related correspondence to disabillty@anth em.com and cc:
               Eulene.burnside@anthem.com. This will ensure documentation of all
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               absent from work.




               From: LDCIaimsTeam
               Sent: Wednesday, October 13, 2021 4:56 PM
               To: rodneygkarr@sbcgiobal.net
               Cc: Burnside, Eulene <eulene.burnside@anthem.com>
               Subject: Darden, Michael LT00403220



               Provider: Rodney Karr, PH.D
               Phone: 415-931-1934




               Subject; MICHAEL A DARDEN
               DOB:            11966

               Claim Number;        LT00403220

               Reference Number: 443185




               We received a disability claim for the above named patient. In order to determine if the patient is eligible
               for benefits, additional information is needed.


https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=a ll&permthid=thread-a:r4469975837024153887&simpl=msg-a;r-16580840 9909177...          2/5
                    Case 4:25-cv-00911-DMR                 Document 1           Filed 01/28/25              Page 203 of 500
12/17/24,12:18 PM                  Tc.colui   3du Mail - Re: Darden, Michael LT00403220, Anthen       jbility claim, Penny Fox clarification letter
                                                                                                  ^                                      203


               1. Please provide copies of medical records including all objective test results from 6/14/2020 thru
               9/13/2020.




               2.    Please advise us of the date of the initial office visit for the above named patient and the diagnosis for
               this visit.




               3. Did you treat the above named patient during the period of 6/14/2020 thru 9/13/2020?                               YES or
               NO


                    If yes, please provide dates of treatment and the diagnosis for each date of treatment.




               4. Did you prescribe any medications during the period of 6/14/2020 thru 9/13/2020? YES                                 or NO

                    If yes, please provide the name of each drug, dosage and usage.




               5. To your knowledge, was the above named patient treated by any other physicians besides yourself
               during the

                     period of 6/14/2020 thru 9/13/2020YES           or NO

                    If yes, please provide all of those doctor's full names, addresses and telephone numbers.




               Once ALL of the information is received it will be reviewed for consideration of benefits.                        Please find
               attached a copy of the signed authorization. Thank you for your help and we look forward to hearing
               from you.




               Physician's Signature                                                     Date




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                 Case 4:25-cv-00911-DMR                       Document 1            Filed 01/28/25              Page 204 of 500
12/17/24, 12:18 PM                 Tc.colui       edu Mail - Re; Darden. Michael LT00403220, Anthen       jbility daim, Penny Fox darification letter
                                              ^                                                       ^                                    204
               Physician's Printed Name



               If payment is required, please fax an invoice with the tax identification number to the fax number
               listed above.




               Sincerely,



               Eulene Burnside


               Disability Case Manager, I!




               Toll free: 470-2S4-4504 j Fax: 800-850-0017

               Anthem Inc. |PO BOX 1054261 Atlanta GA 30348-5426
               Email: eulene.burnside@anthem.com



               Please send all claims related correspondence to disability@anth em.com and cc:
               Eulene.burnside@anthem.com. This will ensure documentation of all
               correspondence received and will be available to my backup in the event that 1 am
               absent from work.




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                 Case 4:25-cv-00911-DMR                    Document 1             Filed 01/28/25           Page 205 of 500
12/17/24, 12:18 PM                 Tc. colon    ■du Mail - Re: Darden, Michael LT00403220, Anthem    oility claim, Penny Fox clarification letter
                                                                                                                                       205


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      iw1 Anthem Disability claim letter, Penny Fox clarification, for Michael Darden.pdf
       ^ 58K




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   Case 4:25-cv-00911-DMR             Document 1        Filed 01/28/25      Page 206 of 500
                                                                                                206




                                          Penny Fox, LMFT
                                           1810 Birch St.
                                        Palo Alto, CA 94306
                                           650-327-7408




11/23/2021




To Whom It My Concern:


To clarify my previous communication on 9/16/2021,1 saw Michael Darden between the dates of
June ls» through September lO'^of 2020. Mr. Darden did not have major depression during this
time period. His condition prior to his employment at Nuro Inc. did not contribute in any way to
his current disability. Events that took place in 2021 are the events and only events that led to his
disability. To be clear, his diagnosis prior to his employment at Nuro. Inc. did not contribute in
any way to his disability.

Sincerely,




Penny Fox
Case 4:25-cv-00911-DMR   Document 1   Filed 01/28/25   Page 207 of 500
                 Case 4:25-cv-00911-DMR                   Document 1            Filed 01/28/25          Page 208 of 500
12/17/24, 12:26 PM         Tc.columbia.edu     - Fwd; {EXTERNAL} Re: Darden, Michael LT004032.     .ithem Disability claim, approval letter, thank you
                                                                                                                                   208


                                                                                       Darden, Michael <mad2255@tc.coiumbia.edu>



  Fwd: {EXTERNAL} Re: Darden, Michael LT00403220, Anthem Disability claim,
  approval letter, thank you
  1 message

  Darden, Michael <mad2255@tc.columbia.edu>                                                                 Tue, Dec21,2021 at 10:14 AM
  To: LDCIaimsTeam <LDCIaimsTeam@anthem.com>
  Cc: "Burnside, Eulene" <eulene.burnside@anthem.com>

     Hi, Claims Team:

    Thank you very much (belatedly), and take
    care,


     Michael
     Michael Darden
     917-868-8780


            Forwarded message
     From: LDCIaimsTeam <LDCIaimsTeam@anthem.com>
     Date: Sun, Dec 19, 2021, 7:19 AM
    Subject: RE: {EXTERNAL} Re: Darden, Michael LT00403220, Anthem Disability claim. Penny Fox clarification letter
    To: Darden, Michael <mad2255@tc.columbia.edu>
    Cc: Burnside, Eulene <eulene.burnside@anthem.com>



     Hello Mr, Darden,



    Your claim for Long Term Disability has been approved. A copy of your approval letter is attached.



     Please contact me should you have any questions.




     0lneei^



    Toll free: 470-284-45041 Fax: 800-850-0017

    Anthem Inc.|PO BOX 105426] Atlanta GA 30348-5426

    Email: eulene.burnside@anthem.com



     Please send all claims related correspondence to disability@anth em.com and cc:
     Eulene.burnside@anthem.com. This will ensure documentation of all correspondence
     received and will be available to my backup in the event that I am absent from work.

https7/maii.google.com/mail/u/0/?ik=16d cfadc8d&view=pt&search=all&permthid=thread-a:r'5871543494041699191&simpl=msg-a:r-14919008942915...           1/6
                 Case 4:25-cv-00911-DMR                   Document 1            Filed 01/28/25           Page 209 of 500
12/17/24, 12:26 PM         Tc.columbia.edu     - Fwd: {EXTERNAL} Re: Darden. Michael LT004032.      .ithem Disability claim, approval letter, thank you
                                                                                                                                     209




     From: Darden, Michael <mad2255@tc.columbia.edu>
     Sent: Wednesday, November 24, 2021 2:33 AM
     To: LDCIaimsTeam <LDCIaimsTeam@anthem.com>
     Cc: Burnside, Eulene <eulene.burnside@anthem.com>: Johnson, Nanette <Nanette.Johnson@anthem.com>
     Subject: {EXTERNAL} Re: Darden, Michael LT00403220, Anthem Disability claim, Penny Fox clarification letter



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     Attached, as requested.



     Satisfactory?




     Thank you,



     Michael

     917-868-8780




     On Wed, Nov 17, 2021,10:57 AM Darden, Michael <mad2255@tc.Columb ia.edu> wrote:

        Good Day:



       What's the status of my Claim (LT00403220), please?




       Thank you and be well



       Michael

        Michael Darden

       917-868-8780




        On Fri, Oct 29, 2021,2:04 PM Darden, Michael <mad2255@tc.columbi a.edu> wrote:

https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=a ll&peimthid=thread-a:r-5871543494041699191&simpl=msg-a:r-14919008942915...          2/6
                 Case 4:25-cv-00911-DMR                   Document 1            Filed 01/28/25          Page 210 of 500
12/17/24,12:26 PM          Tc.columbia.edu     - Fwd: {EXTERNAL} Re: Darden, Michael LT004032.     nthem Disability claim, approval letter, thank you
                                                                                                                                   210
             Attached, please find the below-indicated, completed and signed form;



              Satisfactory, please?



              Do you need further information from me?




             Thank you and take care,



              Michael

              Michael Darden

              917-868-8780




             On Mon, Oct 18, 2021, 5:58 AM LDCIaimsTeam <LDCIaimsTeam@anthem. com> wrote:

                 Hello Mr. Darden,



                Attached is the email sent to Dr. Karr’s office




                Toll free: 470-284-45041 Fax: 800-850-0017

                Anthem Inc.|PO BOX 105426| Atlanta GA 30348-5426

                Email: eulene.burnside@anthem.com



                 Please send all claims related correspondence to disability@anth em.com and cc:
                 Euiene.burnside@anthem.com. This will ensure documentation of ail
                 correspondence received and will be available to my backup in the event that I am
                 absent from work.




https://mail.google.com/maii/u/0/?ik=16dcfadc8d&view=pt&search=all&pefmthid=thread-a:r-5871543494041699191&simpl=msg-a:r-14919008942915...          3/6
                 Case 4:25-cv-00911-DMR                    Document 1            Filed 01/28/25           Page 211 of 500
12/17/24,12:26 PM          Tc.columbia.edu      - Fwd: {EXTERNAL} Re: Darden, Michael LT004032.      .ithem Disability claim, approval letter, thank you
                                                                                                                                     211

                 From: LDCIaimsTeam
                 Sent: Wednesday, October 13, 2021 4:56 PM
                 To: rodneygkarr@sbcglobal.net
                 Cc: Burnside, Eulene <eulene.burnside@anthem.com>
                 Subject: Darden, Michael LT00403220



                 Provider: Rodney Karr, PH.D
                 Phone: 415-931-1934




                 Subject: MICHAEL A DARDEN

                 DOB:           1966

                 Claim Number:        LT00403220

                 Reference Number: 443185




                 We received a disability claim for the above named patient. In order to determine if the patient is
                 eligible for benefits, additional information is needed.



                 1. Please provide copies of medical records including all objective test results from 6/14/2020 thru
                 9/13/2020.




                 2. Please advise us of the date of the initial office visit for the above named patient and the diagnosis
                 for this visit.




                 3. Did you treat the above named patient during the period of 6/14/2020 thru 9/13/2020?                            YES or
                 NO


                    If yes, please provide dates of treatment and the diagnosis for each date of treatment.




                 4. Did you prescribe any medications during the period of 6/14/2020 thru 9/13/2020? YES                              or NO

                    If yes, please provide the name of each drug, dosage and usage.



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                 Case 4:25-cv-00911-DMR                   Document 1             Filed 01/28/25           Page 212 of 500
12/17/24,12:26 PM          Tc.columbia.edu,    - Fwd: {EXTERNAL} Re: Darden. Michael LT004032       .nthem Disability claim, approval letter, thank you
                                                                                                                                    212




                 5. To your knowledge, was the above named patient treated by any other physicians besides yourself
                 during the

                    period of 6/14/2020 thru 9/13/2020YES              or   NO

                    If yes. please provide all of those doctor's full names, addresses and telephone numbers.




                 Once ALL of the information Is received it will be reviewed for consideration of benefits.                    Please find
                 attached a copy of the signed authorization. Thank you for your help and we look forward to hearing
                 from you.




                 Physician's Signature                                                    Date




                 Physician's Printed Name



                 If payment is required, please fax an invoice with the tax identification number to the fax
                 number listed above.




                 Sincerely,



                 Eulene Burnside

                 Disability Case Manager, II




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                 Case 4:25-cv-00911-DMR                        Document 1            Filed 01/28/25          Page 213 of 500
12/17/24, 12:26 PM              Tc.columbia.edv^   < - Fwd: {EXTERNAL} Re: Darden, Michael LT00403.,   vnthem Disability claim, approval letter, thank you
                                                                                                                                        213




                 Toll free: 470-284-4504 \ Fax: 800-850-0017

                 Anthem Inc. | P O BOX 105426] Atlanta GA 80348-5426
                 Email: eulene.burnside@anthem.com




                 Please send all claims related correspondence to disability@anth em.com and cc:
                 Eulene.burnside@anthem.com. This will ensure documentation of all
                 correspondence received and will be available to my backup in the event that I am
                 absent from work.




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    Case 4:25-cv-00911-DMR                                   Document 1                     Filed 01/28/25                     Page 214 of 500
                                                                                                                                                             214




Anthem'Life
Anthem Disability Insurance Company
Disability Claims Service Center
PC Box 105426
Atianta, GA 30348-5426
Phone: 800-232-0113 Fax: 800-850-0017




December 20, 2021




MICHAEL A DARDEN
1801 SHORELINE DRIVE
APT 307
ALAMEDA, CA 94501

RE: Claim Number: LT00403220
    Reference Number: 443185
    NURO INC



DEAR MICHAEL A DARDEN


Please be advised that your claim has been approved, under a limited provision, which states if your
disability is due to a mental illness, substance abuse, or self-reported symptoms we will pay you a
monthly payment up to 24 months. We will not pay you a monthly payment beyond the maximum
payment duration.

LTD benefits have been calculated using the benefit formula in your group policy. The policy
calculation indicates your monthly earnings to be $10,416.67. Your LTD benefits equal 60% of your
monthly benefits, subject to a maximum benefit amount of $10,000.00 and a minimum benefit amount
of $100.00.     Your LTD monthly benefit is $6250.00 less any applicable Social Security and/or
Medicare taxes.


Based on the information contained within your claim file, including information from your employer
and physician, we have determined that you became disabled as defined by the policy on 04/15/2021.
The LTD policy has an Elimination Period of 90 days, during which no benefit periods are due.                                                                After
satisfaction of the Elimination Period, your LTD benefits become payable on 07/22/2021.

If you return to work full time or part time, please notify us immediately to prevent an overpayment of
benefits. You may be eligible for partial disability benefits.

Benefit payments will cease when you (1) return to work, (2) are released to return to work, (3) fail to
provide evidence of ongoing Proof of Loss as defined by your policy, (4) or fail to meet any of the
conditions for eligibility as defined in the group’s policy.


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    Case 4:25-cv-00911-DMR                                   Document 1                     Filed 01/28/25                      Page 215 of 500
                                                                                                                                                               215




The policy under which you are covered provides disability benefits as long as you are unable to
perform the Main Duties of your Own Occupation. The maximum benefit period for LTD benefits
07/22/2023. Provided adequate documentation of continuous disability is received through the
duration of your claim, this is the latest date to which benefits may be payable on your claim.

We require periodic medical updates to assess your disability status. You will be notified if additional
medical information is needed from time to time to determine the status of your disability.         The
Company, at its own expense, has the right to have a physician of its choice examine you as often as
necessary to determine the state of your disability.

If, upon further investigation or other valid reasons arise for limiting or denying your claim, which have
not been previously considered, could come to our attention. Therefore, Anthem reserves or right to
consider and assert other valid reasons for limitation or denial of your claim should they occur in the
future.


Anthem should be notified immediately of any other income that you are receiving, Certain other
income, such as an award of retirement/pension benefits, workePs compensation, Social Security
Disability benefits, or any other benefits received to supplement or replace lost wages could be
applicable offsets under the LTD policy wording.

The policy requires you to apply for any other income benefits for which you could be eligible. Including
Soda! Security benefits. We need a copy of your “Receipt of Claim Form” issued by the Social
Security Administration given to you at the time of application. In addition, a copy of the Primary and/or
Dependent Social Security Award(s) and Denial Notice must be sent to us as soon as it is received.

Anthem is required by law to report to the IRS the amount of disability benefits which we pay you.
These benefits are classified as “sick pay” benefits by the IRS. You will receive a W-2 form from your
employer or Anthem showing the total amount of benefits you received during the preceding calendar
year. Generally, the portion of your benefits subject to federal income tax, social security tax, and
Medicare tax is the percentage of premium paid by your employer. However, if you paid your premium
with pre-tax dollars, the IRS still considers premiums to be employer paid and benefits are taxable.
Our records indicate that your employer contributed 100% of your LTD premium,        Thus, 100% of
your LTD disability benefits are taxable.

Please consult your Certificate of Insurance or Summary Plan Document for a complete description
of your rights under the terms of the group policy.

If you have any questions regarding your LTD claim, please call Anthem at the number listed above,
extension 4504. We will be happy to assist you.

Sincerely,

Eulene Burnside
Disability Case Manager, II

CC: Michelle Nguyen
Nuro Inc.



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Case 4:25-cv-00911-DMR                                 Document 1                     Filed 01/28/25                      Page 216 of 500
                                                                                                                                                        216




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     Case 4:25-cv-00911-DMR   Document 1   Filed 01/28/25   Page 217 of 500
                                                                          217




 1
       EXHIBIT 7
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                          DARDEN V. ANTHEM ELEVANCE LTD
                    DISABILITY PAYMENTS RELIEF COMPLAINT (ERISA)
                Case 4:25-cv-00911-DMR           Document 1       Filed 01/28/25      Page 218 of 500

 M                                                                                                       218




Re: {EXTERNAL) Anthem LT Disability, Brown & Brown SSDI Issue, Michael Darden Claim,
response thanks
1 message

Darden, Michael<mad2255@tc.columbia.edu>                                                    Wed, Jan 26, 2022 at 10:56 PM
To: Rushing, Stefanie <Stefanie.Rushing@anthem.com>
Cc: Burnside, Eulene <eulene.burnside@anthem.com>

 Ms. Rushing:

 Appreciate very much receiving your swift, kind and helpful response below concerning this matter. Understood.



 Again many thanks and be well,
 Michael

 917-868-8780




 On Tue, Jan 25, 2022,12:00 PM Rushing, Stefanie Stefanie.Rushing @anthem.con> wrote:

   Mr. Darden




   I am unfamiliar with Allsup, so I cannot speak to that.       I do apologize for the experience with Brown and
   Brown and I have forwarded your feedback to them.



   In the event you are awarded SSDI, the SSA will assign a portion of your retroactive benefits to whoever
   acted as your representative and they generally pay them directly. We will then reduce any overpayment
   amount due to back to Anthem by the amount assigned by the SSA so that the net effect to you is zero.



   Please let me know if you have any further questions. I would recommend telling Brown and Brown,
   should they reach out again, that it appears you have counsel elsewhere, iftH understanding that is what
   role Allsup serves.



   Thank you for reaching out and providing this feedback so that I can relay it to our vendor.


   Sincerely,




   Stefanie
            Case 4:25-cv-00911-DMR             Document 1       Filed 01/28/25       Page 219 of 500
Anthem, Inc.
                                                                                                        219




Stefanie E. Rushing, ARM, FLMI, DIA

Manager, Clinical Risk

740 W Peachtree Street NW, 7       Floor

Atlanta, GA 30308

0: (470) 284-4493
C:(404) 615-7704
Stefanie.Rushinara)anthem.com




From: Darden, Michael <nad2255@tc.Columbia.edu>
Sent: Tuesday, January 25,2022 1:16 PM
To: Rushing, Stefanie <Stefanie.Rushing@anthem.corH
Cc: Burnside, Eulene ^ulene.burnside@anthem.con>
Subject: {EXTERNAL} Anthem LT Disability, Brown & Brown SSDl Issue, Michael Darden Claim


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  Dear Ms. Rushing (on behalf of Nanette Johnson):


  Wanted to alert you about an issue concerning Brown & Brown Absence Services and my Anthem Long-Term
  Disability Claim. After I was out on Disability in 2021,1 called Brown & Brown 3 times. The first time 1 called, a
  Brown & Brown representative seemed surprised that I was calling about beginning my SSDl application then. I call'
  2 more times and left voicemail messages but never heard back from company representatives. I felt that I was losi
  time to apply and put SSDl in place. So eventually I felt forced to sign up with Allsup. On 5/19/21,1 started my SSDl
  application and on 6/9/21 filed it with Allsup's assistance. Now that my Anthem LTD is in place, over 8 months after
  initially contacted them, and 7 months after I filed my SSDl application, Brown & Brown has recently contacted me
  several times. Nevertheless, if 1 receive SSDl, I understand that Anthem will have to either pay Allsup's fees or accep
  reduced offset amount on my SSDl back payment.



  Would you please respond to me concerning this issue?




  Thank you and take care,


  Michael

  Michael Darden

  917-868-8780
           Case 4:25-cv-00911-DMR      Document 1     Filed 01/28/25   Page 220 of 500
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                 Case 4:25-cv-00911-DMR                  Document 1           Filed 01/28/25           Page 221 of 500
12/13/24, 11:39 AM       Tc.columbia.edu      Re: {EXTERNAL} Fwd: LT00403220/Michael Darde.,     ,ig-Term Disability, Anthem Review Request, reply
                                                                                                                                 221


                                                                                      Darden, Michael <mad2255@tc.columbia.edu>



  Re: {EXTERNAL} Fwd: LT00403220/Michael Darden, Long-Term Disability, Anthem
  Review Request, reply
  Darden, Michael <mad2255@tc.columbia.edu>                                                                Thu, Oct 27, 2022 at 10:35 PM
  To: "Verrill, Deb" <Deb.Verrill@anthem.com>
  Cc: LDCIaimsTeam <LDCIaimsTeam@anthem.com>

     You're welcome. Working on returning your Physician’s Certification form soon.


     Again, thanks very much
     and be well,

     Michael
     Michael Darden
     917-868-8780



     On Wed, Oct 26, 2022, 10:49 AM Verrill, Deb <Deb.Verrill@anthem. com> wrote:

       Hi there- yes, your benefits will continue and the new due date for information is 11/25/22.



       Thank you




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           generated




       Deb Verrill, Disability Case Manager

       Life & Disability Claims Operations

       PO Box 105426


       Atlanta, GA 30348

       OFFICE: 470-784-1964IFAX: 800-850-0017

       EMAIL: Deb.Verrill@anthem.com




       From: Darden, Michael <mad2255@tc.Columbia.edu>
       Sent: Wednesday, October 26, 2022 11:56 AM
       To: Verrill, Deb <Deb.Verrill@anthem.com>
       Subject: Re: {EXTERNAL} Fwd: LT00403220/Michael Darden, Long-Term Disability, Anthem Review Request 3


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                   Case 4:25-cv-00911-DMR                 Document 1            Filed 01/28/25          Page 222 of 500
12/13/24,11:39 AM          Tc.columbia.edu K.   Re: {EXTERNAL} FvwJ: LT00403220/Michae! Darder.,   ig-Term Disability. Anthem Review Request, reply
                                                                                                                                 222

       Hi:




       You’re welcome. Appreciate receiving your response below. To confirm:



       WiW my Long-Term Disability Payments continue without interruption while I complete these forms, or have them
       completed, signed and returned to you as soon as I possibly can, please?...




       On Wed, Oct 26, 2022, 5:12 AM Verrill, Deb <Deb.Verrill@anthem.c om> wrote:
             Hi there,




             Thank you




                 picture containing text, sign Description automatically
               generated




             Deb Verrill, Disability Case Manager

             Life & Disability Claims Operations
             PO Box 105426


          Atlanta. GA 30348

             OFFICE: 470-784-1964|FAX: 800-850-0017

             EMAIL: Deb.Verrill@anthem.com




             From: Darden. Michael <mad2255@tc.columbia.edu>
             Sent: Tuesday, October 25, 2022 4:51 PM
             To: Verrill, Deb <Deb.Verrill@anthem.com>
             Cc: LDCIaimsTeam <LDCIaimsTeam@anthem.com>
             Subject: {EXTERNAL} Fwd: LT00403220/Michael Darden. Long-Term Disability, Anthem Review Request 2



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             Hi, Deb Verrill and Team:




https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=a ll&permmsgid=m8g-a:r4204669202733028105&simpl=msg-a:r420466920273302...        2/4
                   Case 4:25-cv-00911-DMR                Document 1            Filed 01/28/25          Page 223 of 500
12/13/24,11:39 AM         Tc.columbia.edu I,
                                      ^ Re: {EXTERNAL} Fwd: LT00403220/Michael Dardei       .g-Term Disability, Anthem Review Request, reply
          As I mentionedper my voicemail yesterday, this is the first time that I have received the attached documer??^ will
          attempt to complete them or have them completed, signed and returned to you as soon as I possibly can:



          Satisfactory, please?




          Thank you and take care.



          Michael

          Michael Darden

          917-868-8780




                  Forwarded message
          From: Verrill, Deb <Deb.Verrill@anthem,com>
          Date: Tue, Oct 25, 2022,10:31 AM
          Subject: LT00403220/Michael Darden
          To: mad2255@tc.columbia.edu <mad2255@tc.columbia.edu>
          Cc: LDCIaimsTeam <LDCIaimsTeam@anthem.com>



          Hello,




          Here is a copy of the letter sent to you on 9/8/22 and the forms that need to be completed. Please be sure this are
          returned within 30 days from the date of this letter.



          Thank you




          Deb Verrill, Disability Case Manager

          Life & Disability Claims Operations

          PO Box 105426


          Atlanta, GA 30348

          OFFICE: 470-784-1964IFAX: 800-850-0017

          EMAIL: Deb.Verrill@anthem.com


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                 Case 4:25-cv-00911-DMR                  Document 1           Filed 01/28/25           Page 224 of 500
12/13/24, 11:39 AM        Tc.coIumbia.edu I.   Re: {EXTERNAL} Fwd: LT00403220/Michael Dardei      <g-Term Disability, Anthem Review Request, reply
                                                                                                                                224

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         /s

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                          Health




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                 Case 4:25-cv-00911-DMR                   Document 1             Filed 01/28/25        Page 225 of 500
12/13/24.11:55 AM        Tc.columbia.edu     ,i.T00403220/Michael Darden, Long-Term Disability,     Review Request, Physician Certification Form,.
                                           ^                                                                                    225

                                                                                         Darden, Michael <mad22S5@tc.columbia.edu>



  LT00403220/Michael Darden, Long-Term Disability, Anthem Review Request,
  Physician Certification Form, completed, signed
  Darden, Michael <mad2255@tc.columbia.edu>                                                                   Fri, Nov 11,2022 at 7:56 PM
  To: "Verrill, Deb" <Deb.Verrill@anthem.com>
  Cc: LDCIaimsTeam <LDCIaimsTeam@anthem.com>

    Attached, please find the referenced completed, signed Form:

     Satisfactory?

    And per your recent voicemail, to confirm:

     is July 31, 2023, the final date on which my psychological LTD will be active, please?

     If yes, then by what date must I provide you any further copies of my Medical Records, and what Medical Records must I
     provide you?


    Thank you, take care and Good Weekend,

     Michael
     Michael Darden
     917-868-8780




     On Fri. Oct 28, 2022,1:35 AM Darden, Michael <mad2255@tc.columbi a.edu> wrote:
       You're welcome. Working on returning your Physician's Certification form soon.

       Again, thanks very much
       and be well.

       Michael
       Michael Darden
       917-868-8780



       On Wed, Oct 26, 2022,10:49 AM Verrill. Deb <Deb.Verrill@anthem.com> wrote:

          Hi there- yes, your benefits will continue and the new due date for information is 11/25/22.



         Thank you.




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             generated




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                   Case 4:25-cv-00911-DMR                  Document 1           Filed 01/28/25           Page 226 of 500
12/13/24.11:55 AM           Tc.columbia.edu   ^T00403220/Michael Darden, Long-Term Disability, A^n Review Request, Physician Certification Form...
          Deb Verrill, Disability Case Manager

          Life & Disability Claims Operations
          PO Box 105426


         Atlanta. GA 30348

          OFFICE; 470-784-1964IFAX: 800-850-0017

          EMAIL; Deb.Verrill@anthem.com




         From; Darden, Michael <mad2255@tc.Columbia.edu>
         Sent: Wednesday. October 26, 2022 11:56 AM
         To: Verrill, Deb <Deb.Verhll@anthem.com>
         Subject: Re; {EXTERNAL} Fwd: LT00403220/Michael Darden, Long-Term Disability, Anthem Review Request 3



          Hi:




         You’re welcome. Appreciate receiving your response below. To confirm:



         Will my Long-Term Disability Payments continue without interruption while I complete these forms, or have them
         completed, signed and returned to you as soon as I possibly can, please?...




         On Wed, Oct 26, 2022, 5:12 AM Verrill, Deb <Deb.Verrill@anthem.c om> wrote;

                Hi there.




                Thank you




                  A picture containing text, sign Description automatically
                  generated




                Deb Verrill, Disability Case Manager

                Life & Disability Claims Operations

                PO Box 105426


                Atlanta, GA 30348

                OFFICE: 470-784-1964IFAX: 800-850-0017

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                Case 4:25-cv-00911-DMR                    Document 1            Filed 01/28/25          Page 227 of 500
12/13/24, 11;55AM        Tc.columbia.edu      -T00403220/Michael Darden. Long-Term Disability. A   n Review Request. Physidan Certification Form...
                                                                                                                                 227
            EMAIL: Deb.Verrill@anthem.com




            From: Darden, Michael <mad2255@tc.columbia.edu>
            Sent: Tuesday, October 25, 2022 4:51 PM
            To: Verrill, Deb <Deb.Verrill@anthem.com>
            Cc: LDCIaimsTeam <LDCIaimsTeam@anthem.com>
            Subject: {EXTERNAL} Fwd: LT00403220/MichaelDarden, Long-Term Disability, Anthem Review Request 2



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            Hi, Deb Verrill and Team:




            As I mentioned per my voicemail yesterday, this is the first time that I have received the attached documents. I will
            attempt to complete them or have them completed, signed and returned to you as soon as I possibly can:



            Satisfactory, please?




            Thank you and take care



            Michael

            Michael Darden

            917-868-8780




                     Forwarded message
             From: Verrill, Deb <Deb.Verrill@anthem.com>
             Date: Tue, Oct 25, 2022, 10:31 AM
            Subject: LT00403220/Michael Darden
            To: mad2255@tc.columbia.edu<mad2255@tc.Columbia.edu>
            Cc: LDCIaimsTeam <LDCIaimsTeam@anthem.com>



             Hello,




             Here is a copy of the letter sent to you on 9/8/22 and the forms that need to be completed. Please be sure this are
             returnedwithin 30 days from the date of this letter.



            Thank you.




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                Case 4:25-cv-00911-DMR                   Document 1             Filed 01/28/25              Page 228 of 500
12/13/24,11:55AM        Tc.columbia.edu       _T00403220/Michael Darden, Long-Term Disability, A       n Review Request, Physician Certification Form...
                                          ^                                                        ^                                 228




            Deb Verrill, Disability Case Manager

            Life & Disability Claims Operations

            PO Box 105426


            Atlanta, GA 30348

            OFFICE: 470-784-1964|FAX: 800-850-0017

            EMAIL: Deb.Verrill@anthem.com




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          Anthem Blue Cross Long-Term Disability, LTD extension, Physician Certification Form, completed,
     tj slgned.pdf
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                Case 4:25-cv-00911-DMR   Document 1   Filed 01/28/25   Page 229 of 500
                                                                                     229




         September 8, 2022



         MICHAEL A DARDEN
          1801 SHORELINE DRIVE
         APT 307

         ALAMEDA, CA 94501




16-LT00403220
                    Case 4:25-cv-00911-DMR                                           Document 1                        Filed 01/28/25                        Page 230 of 500
                                                                                                                                                                                                 230
                                                                                        Anthem Blue Cross Life and Health                                                   PO 80X105426

Anthem.                                                                                 Disability Service Center                                                           Atlanta, GA 30348-5426
                                                                                                                                                                            Tel: 800-813-5682
          BlueCross m                    m                                                                                                                                  Fax: 800-850-0017




September 8, 2022



MICHAELA DARDEN
1801 SHORELINE DRIVE
APT 307
ALAMEDA, CA 94501

RE; Claim Number:                  LT00403220
        Reference Number: 443185
        NURO INC



DEAR MICHAEL A DARDEN.


We are reviewing your claim and find that we are in need of updated information to complete our ongoing review of
your claim. Please forward the enclosed information within 30 days from the date of this letter.

● Attending Physician Statement
* Medical records for past 6 months.
● Release of Information form
* Status of Social Security Disability application

Again, please be sure this information is received within 30 days from the date of this letter so that we may
complete our review your ongoing benefits.


SINCERELY,



D VERRILL for J HOCHGESANG
DISABILITY CASE MANAGER




You have the irght to get this Information and help in your language for free. Please call Customer Service at 800-232-0113 for
assistance. (TTYn-DD: 711)


Tiene derecho a recibir esta informaddn y ayuda en su idioma de manera gratuita. Llame al Servicio de Atendon al
Cliente al 1-800-232-0113 para solidtar ayuda. (TTY/TDD: 711).

                                                                                                                                       : l-800-232-0113(TTY/TDD:711) »




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                     Case 4:25-cv-00911-DMR                                           Document 1                       Filed 01/28/25                        Page 231 of 500
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                                                                                        Anthem Blue Croes Life and Health                                                    PO 80x105426

Anthem.                                                                                 Disability Service Center                                                           Atlanta, GA 30348-5426
                                                                                                                                                                             Tel: 800-813-5682
          BlueCross ■^pi                                                                                                                                                     Fax; 800-850-0017




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                Case 4:25-cv-00911-DMR                   Document 1            Filed 01/28/25          Page 232 of 500
12/13/24, 11;42AM                                           Tc.columbia.edu Mail - LT00403220/    jel Darden
                                                                                                                              232


                                                                                       Darden, Michael <mad2255@tc.columbia.edu>



  LT00403220/Michael Darden

  Verrlll, Deb <Deb.Verrill@anthem.com>                                                                    Tue, Oct 25. 2022 at 10:31 AM
  To: "mad2255@tc.columbia.edu" <mad2255@tc.columbia.edu>
  Cc: LDCIaimsTeam <LDCIaimsTeam@anthem.com>


     Hello,



     Here is a copy of the letter sent to you on 9/8/22 and the forms that need to be completed. Please be sure this are
     returned within 30 days from the date of this letter.



     Thank you,




     Etevance
              Health




     Deb Verrill, Disability Case Manager

     Life & Disability Claims Operations
     PO Box 105426

     Atlanta, GA 30348

     OFFICE: 470-784-1964|FAX: 800-850-0017

     EMAIL: Deb.Verrill@anthem.com




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      3 attachments


      ^ GA - Generic Letter„LT00403220_09082022.pdf
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                Case 4:25-cv-00911-DMR                   Document 1            Filed 01/28/25         Page 233 of 500
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                Case 4:25-cv-00911-DMR                              Document 1                          Filed 01/28/25                Page 234 of 500
                                                                                                                                                    234

Long Term Disability Claim Form
Attending Physician’s Statement                                                                                                         AntheiriLife
Section 1: History
Patient last name                                                  First name                                                                M.l,                      l/OD/YYYY)
                    Darden                                                           Michael
                                                                                                                                              A                            1966
Date symptoms first appeared or accident happened                                             Date patient ceased work because of disability
[                          ,._|(MM/DD/YYYY)                                                   LQ?__ 15                2021        KMM/DD/YYY'
Has patient ever had same or similar condition? DYes 0No
If yes. state when and describe:
Is condition due to injury or sickness arising out of patient’s employment? DYes 0No □ Unknown
Names and addressesof other treating physicians             Emanuel Vergis, MD (primary care physician), 595 Castro St. San Francisco, CA 94114; Patricia Maska, MD,
                                                            (neurologist), 965 Atlantic Ave #300, Alameda, CA 94501



Section 2: Diagnosis - If disabling condition is due to a mental or nervous disorder, the attached Functional Capabilities Evaluation and Mental Status
                              Questionnaire sections must also be completed.
Diagnosis {including complications)                                Subjective symptoms                                                   If pregnancy, estimated date of delivery
Major Depression; Generalized Anxiety Disorder                     Reports Panic AUcte, Anxiety Attacks and that he
                                                                   le^ very Depressed; retrains on medcaVon management

Objective findings (including current X-rays, EKGs, laboratory data and any clinical findings)
                Psychological tests and evaluations continue to show patient has the severe symptoms listed above

Sections: Treatment
Date of first visit (MM/DD/YYYY)          Date of last visit (MM/DD/YYYY)               Frequency
I 05       11       2021                  I 07       02        2022                     SWeekly DMonthty [Mother: Every 3-e months, MD appointments
Nature of treatment (Including surgery and medications prescribed, if any)
Daily medication management (see CVS prescriptions list (attached), weekly talk therapy and approximately quarterly psychiatry appointments



Section 4; Progress
Patient's present condition                                                             Is patient?
□ Recovered □ Improved 0 Unchanged □ Regressed                                          0Ambulatory □ House confined GBedconfined □ Hospital confined
Is patient mentally competent to endorse checks and direct proceeds thereof? 0 Yes □ No

Has patient been hospital confined? DYes 0No            If yes, completethe following.
Hospital name                                                                                                          Confined from (MM/DD/YYYY)     Through (MM/DD/YYYY)


Hospital street address                                                                       City                                                    State           ZIP code




Section 5: Cardiac Not applicable.
Functional capacity (American Heart Association)                                                                                         Blood pressure last visit:              /
□Classi (no limitations)GClass2(slightlimitations) □ Class3(markedlimitations) □ Class4(completelimitations)                                                           (systolic/diastolic


Section 6; Impairments
Physical impairments
□ Class 1 - No limitations of functional capacity: capable of heavy work* no restrictions(0-10%)
□ Class 2 - Medium manual activity* (15-30%)
□ Glass 3 - Slight limitation of functional capacity: capable of light work* (35-55%)
□ Class 4 - Moderate limitation of functional capacity: capable of clerical/administrative(sedentary*)activity (60-70%)
0 Class 5 - Severe limitation of functional capacity: incapableof minimum (sedentary*)activity (75-100%)
Remarks;
             In addition to depression and anxiety, Mr, Darden suffers from intractable, chronic migraines with
             vertigo and tinnitus.




*As defined in Federal Dictionary of Occupational iTtles.
                                                                                                                                                                                        !0l9
                 Case 4:25-cv-00911-DMR                               Document 1                  Filed 01/28/25                   Page 235 of 500
                                                                                                                                                            235
Long Term Disability Claim Form
Attending Physician’s Statement (continued)

Section 6: Impairments (continued)
Mental impairments (if any):
a. Please define “stress” as it applies to this claimant and in light of his/her job requirements,
b. What stress and problems in interpersonal relations has claimant had on job?
   □ Class 1 - Patient is able to function under stress and engage in interpersonal relations (no limitations)
   □ Class 2 - Patient is able to function in most stress situations and engage in most interpersonal relations (slight limitations)
   □ Class 3 - Patient is able to engage in only limited stress situations and engage in only limited interpersonal relations (moderate limitations)
    □ Class 4 - Patient is unable to engage in stress situations or engage in interpersonal relations (marked limitations)
    0 Class 5 - Patient has significant loss of psychological, physiological personal and social adjustment (severe limitations)

Section?: Rehab

Is patient a suitable candidate for occupational rehabilitation? □! month □ 1-3 months □ 3-6 months E Never

When could trial employmentcommence?
Patient's own job: 1                                 J(MM/DD/YYYY)       □Full-time □ Part-time
Any other work: |                                    J(MM/DD/YYYY)       □ Full-time □ Part-time


Section 8: Any additional remarks
Limitations, therapy, etc.

    Due to psychiatric symptoms, Michael Darden has a classification of total and permanent disability (see attached, U.S. Department
    of Education correspondence). In addition, several doctors and providers see Mr. Darden for severe, persistent migraines that
    cause severe, constant vertigo and tinnitus, both of which are intractable and so far have failed to respond to medications and
    therapies.




Section 9; Physician information
Printed attending physician name                                                         Degree                                               Phone no.
John Giliean                                                                                       MD                                          (510)541-2323
Street address                                                                           City                                                 State       ZIP code
                    55 Santa Clara Ave Ste 171                                                      Oakland
                                                                                                                                                CA          94610-1333


                                                                                                                                              Date(MM/DD/YYYY)


Signature of at ending physicla^^^^^^^^
X                                                                                                                                              11/11/2022




                                                                                                                                                                         8of9
                  Case 4:25-cv-00911-DMR                                          Document 1                  Filed 01/28/25                Page 236 of 500

Long Term Disability Claim ?orm
Mental Status Questionnaire                                                                                                                   Anthem^ife
Needs to be completed only if condition is due to mental or nervous disorder.

Section 1: Patient information
Patient last name                                                                First name                                                                                  /DD/YYYY)
                            Darden                                                              Michael
                                                                                                                                                      A.                         1966

Date treatment began (MM/DD/YYYY)                  Frequency Weekly talk therapy,                     Nature of treatment
                                                                                                                            Talk therapy and medication management
   05 11           2021       I                              quarterly psychiatry
                                                                                              MAJOR DEPRESSIVE DISORDER 296.23 (F32.2)
Diagnosis (Use DSMIV Multi-axial evaluation nomenclature and code numbers)
                                                                                              ADJUSTMENT DISORDER (AD) WITH MIXED ANXIETY AND DEPRESSED MOOD 309.28 (F43.23)


  Major depressive disorder, single episode, severe without psyi*olic features. Michael presented for psychiatric evaluation after the emergence of significant depressive
  symptoms, precipitated by several external stressors on otp of a biological predispostion for mood disorder. His symptoms are severe and debilitaUng at this time
  indicating a continued need for LTD and maintenance of an antidepressant regimen. No acute safety concerns although patient will require consistent follow-up for
  atabalizatioD                                                                  I


Section 2: Please respond to all items. Use additional pages as necessary.
 State patient s initial reason for seeking treatment, severe Depression and Generalized Anxiety, Panic Attacks and Anxiety Attacks




 Describe patient's current condition and mental status.                     Continues to exhibit signs and symptoms of Major Depression and Generalized
                                                                             Anxiety Disorder. He is unable to work under any conditions or circumstances.




 Medications: Please list current medications, dosage and dates begun. bupROPion (wellbutrin xl>                        cJonazePAM (KLONOPIN) 0.5
 mirla28pirie(REMERON)15mg                                                             300 mg 24 hr tablet              mg tablet
 tablet             '    »                                                             Take 300 mg by mouth daily       clonazepam 0.5 mg tablet
 mirtazapirte 15 mg tablet                                                                                              TAKE 1 TABLETIS) BY ORAL ROUTE , DAILY AS
 TAKE 1 TA8LET(S) BY ORAL ROUTE AT BEDTIME                          traZODone (DESYREL) 50 mg                           NEEDED ANXIETY , FOR 30 DAYS
                                                                    tablet
 TIMES PER DAY ,FOR 30 DAYS
                                                                    trazodone 50 mg tablet
           EmoaRy Pen. 120 tnalmL etibojIanaoiB pen Iriector        TAKE 1-2TABLET(S) BY ORAL ROUTE. AT                                       And SEE CVS Pharmacy list (attached) for dates
           TAI^ 1 ML EVERY MONTH SUBCUTANEOUSLY FOR                 BEDTIME AS NEEDED INSOMNIA ,FOR 30 DAYS
            MDAYS,»»olHy3.V2022

 Please summarize current treatment goals.

                                                               Goal is to stabilize the patient through weekly talk therapy and medication management.



 Comments
                                     Patient remains unable to work in any capacity.




                                                                                                                                                           Date (MM/OD/YYYY)



 Signature ofphysicia^^^^^^^^
 X                                                                                                                                                          11/11/2022




Anthem Life
Disability Claim Service Center
P.O. Box 105426
Atlanta, GA 30348-5426
Phone: l'800-232-0113
Fax: 1-800-850-0017

Email: (ifeanddisabilityclaims(S)anthem.com




                                                                                                                                                                                               9019
                            Case 4:25-cv-00911-DMR               Document 1       Filed 01/28/25     Page 237 of 500
                                                                                                                                            237


Title       Date                  Total Rx SpYourtotal savings
Financial Si Oct. 25, 2019 - Oc     $538.45         $0.00


Member N Drug Name                RX#         Last Filled Pharmacy I You Paid Your Plan(s Primary Pic Secondary Manufactu Other Adju Amount Ap
Michael DaMIRTAZAPINE 15            507539     10/13/2022 CVS/pharrr    $10.16    $0.00       $0.00       $0.00 -                       $0.00
Michael De BUPROPION HCL;           499062     10/12/2022 CVS/pharn-    $15.00    $0.00       $0.00       $0.00 -                       $0.00
Michael Da BUPROPION HCL)           499062      9/15/2022 CVS/pharn*    $15.00    $0.00       $0.00       $0.00 -                       $0.00
Michael Da TRAZODONE 50 N           499072     10/12/2022 CVS/pharrr     $5.00    $0.00       $0.00       $0.00 -                       $0.00
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Michael Da BUPROPION HCL)           488953      8/16/2022 CVS/pharn"    $15.00    $0.00       $0.00       $0.00 -                       $0.00
                                                                                                                                                  (
Michael Da BUPROPION HCL)           488953      7/12/2022 CVS/pharrr    $15.00    $0.00       $0.00       $0.00 -                       $0.00
Michael Da BUPROPION HCLJ           488953      6/13/2022 CVS/pharrr    $15.00    $0.00       $0.00       $0.00 -                       $0.00
Michael Da TRAZODONE 50 IV          495254      8/15/2022 CVS/pharn*     $5.00    $0.00       $0.00       $0.00 -                       $0.00
Michael Da TRAZODONE 50 IV          495254      7/13/2022 CVS/pharrr     $5.00    $0.00       $0.00       $0.00 -                       $0.00
Michael Da TRAZODONE 50 IV          495254      6/15/2022 CVS/pharrr     $5.00    $0.00       $0.00       $0.00 -                       $0.00
Michael Da CLONAZEPAM 0.5           483626      7/19/2022 CVS/pharrr     $3.90    $0.00       $0.00       $0.00 -                       $0.00
Michael DaMIRTAZAPINE 15            492214      7/13/2022 CVS/pharrr   $10.16     $0.00       $0.00       $0.00 -                       $0.00
Michael DaMIRTAZAPINE 15            492214      6/14/2022 CVS/pharrr   $10.16     $0.00       $0.00       $0.00 -                       $0.00
Michael DaMIRTAZAPINE 15            492214      5/17/2022 CVS/pharrr    $10.16    $0.00       $0.00       $0.00 -                       $0.00
Michael Da CLONAZEPAM 0.5           488955      6/16/2022 CVS/pharrr     $3.90    $0.00       $0.00       $0.00 -                       $0.00
Michael Da CLONAZEPAM 0.5           488955      4/12/2022 CVS/pharrr     $3.90    $0.00       $0.00       $0.00 -                       $0.00
Michael Da BUPROPION HCL)           483624      5/16/2022 CVS/pharrr   $15.00     $0.00       $0.00       $0.00 -                       $0.00
Michael Da BUPROPION HCL)           483624      3/30/2022 CVS/pharrr    $15.00    $0.00       $0.00       $0.00 -                       $0.00
Michael Da BUPROPION HCL)           483624       3/2/2022 CVS/pharm     $15.00    $0.00       $0.00       $0.00 -                       $0.00
                                                                                                                                                  <
Michael DaTRAZODONE 50 N            486135      5/16/2022 CVS/pharrr     $5.00    $0.00       $0.00       $0.00 -                       $0.00
Michael DaTRAZODONE 50 N            486135      4/14/2022 CVS/pharrr     $5.00    $0.00       $0.00       $0.00 -                       $0.00
Michael DaTRAZODONE 50 N            486135      3/16/2022 CVS/pharrr     $5.00    $0.00       $0.00       $0.00 -                       $0.00
Michael DaMIRTAZAPINE 15            483625      4/13/2022 CVS/pharrr    $10.16    $0.00       $0.00       $0.00 -                       $0.00
Michael DaMIRTAZAPINE 15            483625      3/16/2022 CVS/pharrr    $10.16    $0.00       $0.00       $0.00 -                       $0.00
Michael DaMIRTAZAPINE 15            483625      2/15/2022 CVS/pharn*     $9.92    $0.00       $0.00       $0.00 -                       $0.00
Michael DaQULIPTA 30 MG T            487027     3/28/2022 CVS/pharn*     $0.00    $0.00       $0.00       $0.00 -                       $0.00
Michael Da CLONAZEPAM 0.5            476242      3/7/2022 CVS/pharn*     $3.90    $0.00       $0.00       $0.00 -                       $0.00
Michael Da CLONAZEPAM 0.5            476242      2/6/2022 CVS/pharrr     $3.83    $0.00       $0.00       $0.00 -                       $0.00
Michael DaQULIPTA 10 MG T            482521      3/3/2022 CVS/pharrr     $0.00    $0.00       $0.00       $0.00 -                       $0.00
                           Case 4:25-cv-00911-DMR              Document 1          Filed 01/28/25    Page 238 of 500
                                                                                                                           238


Michael Ds BUPROPION HCL ^      476243       2/3/2022 CVS/pharrr      $15.00        $0.00    $0.00     $0.00 -         $0.00
Michael Da BUPROPION HCl)        476243      1/4/2022 CVS/pharrr      $15.00        $0.00    $0.00     $0.00 -         $0.00
Michael Da BUPROPION HCL )       476243     12/8/2021 CVS/phariT      $15.00        $0.00    $0.00     $0.00 -         $0.00
Michael Da NURTEC ODT 75 ^       471871    12/16/2021 CVS/pharrr       $0.00        $0.00    $0.00     $0.00 -         $0.00
Michael Da CLONAZEPAM 0.5        468314    11/27/2021 CVS/pharrr       $3.86        $0.00    $0.00     $0.00 -         $0.00
Michael Da CLONAZEPAM 0.5        468314     10/5/2021 CVS/pharrr       $3.88        $0.00    $0.00     $0.00 -         $0.00
Michael Da BUPROPION HCL)        467262     11/2/2021 CVS/pharrr      $15.00        $0.00    $0.00     $0.00 -         $0.00
Michael Da BUPROPION HCL)        467262     9/27/2021 CVS/pharrr      $15.00        $0.00    $0.00     $0.00 -         $0.00
Michael Da FLUZONE QUAD 2        468292     10/5/2021 CVS/pharrr       $0.00        $0.00    $0.00     $0.00 -         $0.00
Michael Da ESCITALOPRAM 5        453785     9/28/2021 CVS/pharrr      $26.22        $0.00    $0.00     $0.00 -         $0.00     (
Michael Da ESCITALOPRAM 5        453785     7/13/2021 CVS/pharrr      $25.97        $0.00    $0.00     $0.00 -         $0.00
Michael Da ESCITALOPRAM 5        453785     4/30/2021 CVS/pharrr      $23.83        $0.00    $0.00     $0.00 -         $0.00
Michael Da ESCITALOPRAM H        466940     9/24/2021 CVS/pharrr      $29.89        $0.00    $0.00     $0.00 -         $0.00
Michael Da TRAZODONE 50 N        466939     9/24/2021 CVS/pharrr      $15.00        $0.00    $0.00     $0.00 -         $0.00
Michael Da CLONAZEPAM 0.5       460434      8/31/2021 CVS/pharrr       $3.83        $0.00    $0.00     $0.00 -         $0.00
Michael Da CLONAZEPAM 0.5       460434      7/13/2021 CVS/pharrr       $3.86        $0.00    $0.00     $0.00 -         $0.00
Michael Da PFIZER COVID-19'     459065      7/17/2021 CVS/pharrr       $0.00        $0.00    $0.00     $0.00 -         $0.00
Michael Da PFIZER COVID-19'     459058      6/26/2021 CVS/pharrr       $0.00        $0.00    $0.00     $0.00 -         $0.00
Michael Da ESCITALOPRAM 5        458055     6/17/2021 CVS/pharrr       $9.60        $0.00    $0.00     $0.00 -         $0.00
Michael Da CLONAZEPAM 0.5       458059      6/15/2021 CVS/pharrr       $3.70        $0.00    $0.00     $0.00 -         $0.00
Michael Da TRAZODONE 50 N       457109       6/6/2021 CVS/pharrr      $15.00        $0.00    $0.00     $0.00 -         $0.00
Michael Da ESCITALOPRAM H       457110       6/6/2021 CVS/pharrr      $27.71        $0.00    $0.00     $0.00 -         $0.00
Michael Da ESCITALOPRAM li       454694     5/11/2021 CVS/pharrr      $10.74        $0.00    $0.00     $0.00 -         $0.00
Michael Da TRAZODONE 50 IV       454695     5/11/2021 CVS/pharrr       $5.00        $0.00    $0.00     $0.00 -         $0.00
Michael DaGABAPENTIN 300         453784     4/30/2021 CVS/pharrr       $5.05        $0.00    $0.00     $0.00 -         $0.00



This report may not reflect all medicines dispensed during the specified period.
Costs displayed may not reflect coverage from any supplemental insurance plans.
Other Adjustments may include supplemental insurance coverage, manufacturercoupons or other discounts.
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       (n)elnet                                            oTEdiKsUoo


        P.O. Box 87t30
        Lincoln. NE $8501-7130            VUMItaaMOiatitrSBvtiqiu




               r|i|.ii|.|.|i.iii|i..i|i|M|iii.,„j,|,|||„,,|,„,j||j„|^^l^l^
                    MICHAEL DARDEN                                                         T03

                    1801 SHORELINE DRIVE APARTWENT 307
         ●j5E       ALAMEDA CA94S01-6084


                                                                                                                                 May 24.2022



                                                                                                                    Account Number: 3104050

      Dear MICHAEL DARDEN,



     loan. Federal Family Educati^lSn (FFEn                                             SS                                 “-oan) Program
     your Teacher Education Assistance forCdieae^d Hinhpr’c.,^flf                                       (Perkins Loan) Program loan, and/or
     Throughout this letter, we use theTem, So Sr fone
     ■your to refer to the disabled individual who^^p'^diraS
     will commun!L\^^i!th youTnSfSeSpS^en?^nS"^^^                                                                                        we




     Grant service oblig^alioJ^denlifieSow on^ESTJSSi'andSSneTH°'
     Information regarding the TPD discharge       ^ ^ permanent disability. This letter contains important

     “?SSS=H5F=“™“~=—
    gnjhelypeofdocumentafon yii?S°SlfS5'“
                                 pLded lo'show^e^ate
                                                that vmtf'^
                                               Phone
                                                                                                     your discharge application, depending
                                                                                                 jermanently disabled.
             Holder Name
                                              Number                         Type                    Date         Amount        School ID
              DEPT OF
        ED/HESC-EDFINANCIAI                865.337.6884          Direct Stafford Unsubsidized     02/16/2017     $20,960.00     00397900
              DEPT OF
       ED/HESC-EDFINANr.lAl                855.337.6884         Direct Stafford Unsubsidized      09/27/2017     $10,252.00     00397900
                OEPTOF
                                           855,337.6884          Direct PLUS for Graduate or
       ED/HESC-EDFINANCIAL                                                                        03/07/2017     $25,646,00
                                                                    Professional Students                                       00397900
    WHAT YOU NEED TO KMnw


    Three-Year Post-Discharge Monitorinn PerjrsH-
    As stated above, the Department has approved your application for discharge on the basis of your total and
                                                                                                                               permanent
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                                                                                                                       240
     disability and your loan and/or TEACH Grant service obligation will be transferred to us to be discharged. You will be
     subject to a monitoring period that will end three years from 05/23/2022. We will reinstate your obligation to repayj^ur
     discharged loan or complete discharged TEACH Grant service obligation if at any lime during this monitoring period.

         ●               You have annual employment earnings that exceed the Poverty Guideline amount for a family of two In your
                         stale, regardless of your actual family size (visit DisabilityDischarge.com for additional information),

         ♦               You receive a new Direct Loan, Perkins Loan, or TEACH Grant;

         ●               You received a disbursement of a Direct Loan, Perkins Loan, or TEACH Grant that was made trefore the
                         discharge date, and the full amount of the disbursement is not relumed within 120 days of the disbursement
                         date; or

         ●               You receive a notice from Ihe Sociai Security Administration (SSA) stating that you are no longer totally and
                         poimanently disabled, or that your disability review will no longer bo the 5-year or 7-year review penod indicated
                         in your SSA notice of award for SSD! or SSI benefits.

      In addition, during the three-year post-discharge monitoring period, you must promptly notify or respond to the
      Department if:

             ●            There is a change in your address or telephone number, or

             ●            You receive a request to provide the Department with documentalkm of your annual earnings from employment.

      If your obligation to repay your loan or complete your TEACH Grant service obligation is reinstated under the conditions
      described above, you will be responsible for repaying your loans or completing your TEACH Grant service obligation.
      However, you will not be required to pay any interest that would have accrued on the loan from the date of discharge
      until the date of reinstatement.

      If your obligation to repay your loans or complete your TEACH Grant service obllgafion is reinstated, we will notify you
      via mailed letter and return your loan to the status that It was in at the time you applied for TPD discharge. The notice of
      reinstatement will include:


                 ●        The reason(s) for reinstatement;

                 ●        An explanation dial the first payment due date on the reinslated loans will be no earlier fiian 60 days after the
                          date of the notificafion of reinstatement; and

                 ●        Information on how you may contact the Department if you have questions about the reinstatement or believe
                          that the Department’s determination was based on incorrect information.


       Eligibility for New Loans or TEACH Grants:

       After you receive a TPD disdiarge, you are not eligible to receive a new Direct Loan, Perkins Loan, or TEACH Grant in
       the future unless:


                     ●     You obtain a certification from a physician that you are able to engage in substantial gainful activity; and

                     *     You sign a statement acknowledging that the new loan or TEACH Grant service obligation cannot be discharged
                           in the future on the basis of any Injury or illness present at the time the new loan or TEACH Grant is made,
                           unless your condition substantially deteriorates so that you are again totally and permanently disabled

       In addition, if you request a new Direct Loan, Perkins Loan, or TEACH Grant at any time during the three-year
       post-discharge monitoring period described above, you must resume payment on the previously discharged loan or
       acknowledge that you are once again subject to the terms of your TEACH Grant service obligation before you can
       receive the new loan or TEACH Grant.
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      Tax Imotlcatlons If Your Loang Are Dlacharoed:                                                     241
      As a result of a change in tax law, loan balances that are discharged due to TPD are not considered income for federal
      tax purposes if you receive the discharge during the period from January 1.2018 through December 31, 2025. If you
      qualify for a TPD discharge based on documentation from the VA, the date you are considered to have received the
      discharge for tax purposes is the date that we approve the discharge.

      If you qualify for a TPD discharge based on documentation from the Social Security Administration or a physician's
      certifreation, the date you are considered to have received the discharge for tax purposes is the completion date of your
      three-year post-discharge monitoring period.

      If you receive a Form 1099-C, you should keep the form for your records, but you do not need to include it when filing
      your federal tax return. For additional information, visit irs.gov.

      The discharged loan amount may be considered income for state tax purposes. You may want to consult with your state
      tax office or a tax professional before you file your state tax return.
      HOW TO CONTACT US:


      Written correspondence can be sent to:

  £
              U.S. Department of Education
              P.O. Box 87130
  X
              Lincoln, NE 68501-7130
  s


  S
      In addition, you can visit DisabilityDischarge.com to check the status of your discharge application, upload any
      supporting documentation that we may request from you, and/or update your personal information.

      If you have questions, please visit our website DisabilttyDischa rge.com or email us at
  a   Dlsabilitylnformation@nelneLnet. You may also contact us at 888.303.7818 Monday through Friday
      from 8 a.m. to 8 p.m. (Eastern).

  £   Sincerely,

      Nelnet Total and Permanent Disability Servicer




                                                                                                                                  I
                                       2022/04/12
                   Case 4:25-cv-00911-DMR         08:37:26
                                            Document  1 Filed201/28/25
                                                                /2                                            Page 242 of 500
                                                                                                                   242
  Applicant Name           Michael DarSen                                                        Applicant SSN        3104050
SECTION 4: PHYSICIAN’S CERTIFICATION

Print legibly and initial any changes. Return the form to the               6.     Describe the severity of the applicant's impairment,
applicant or representative.                                                       including, if applicable, the phase of the impairment:
Applicant Identification                                                                    exhibits severe depressive ^rld anxiety
 1. Provide the below information regarding the individual for                     symptoms that have only partially responded to
     whom you are completing this Section;
                                                                                   ivailable treatments.
        Name       Michael Darden

                          |/1966
                                                                            Limitations
       Date of Birth
                                                                               Explain how the condition prevents the applicant from
Medically Determinable Physical or Mental Impairment                        engaging in any substantial gainful activity in ^ field of work.
 2. Does the applicant have a medically determinable physical or            Attach additional pages If needed. Enter "N/A" if not applicable.
    mental impairment that prevents the applicant from                      You may include additional information you believe is helpful in
    engaging in any substantial gainful activity?                           understanding the applicant’s condition, such as medications or
       Substantial gainful activity means a level of work                   procedures used to treat the condition.
    performed for pay or profit that involves doing significant              7.
                                                                                   Limitations on sitting, standing, walking, or lifting:
      physical or mental activities or a combination of both. If the
      applicant is able to engage in gny substantial gainful activity               N/A
      in any field of work, you must answer "No".
      [^Yes - Continue to Item 3.
                                                                            8.    Limitations on activities of daily living;
      QNo - Do not complete this application.
                                                                                  Applicants symptoms afreet his ability to focus,
Severity/Duration of Physical or Mental impairment                                sustain his energy level, manage complex tasks,
3. Is the applicant's impairment expected to result in death?                     communicate effectively with others
       QYes - Skip to Item 5.
                                                                            9.
                                                                                   Residual functionality;
       I^No - Continue to Item 4.
                                                                                   Applicant can manage his own finances and
4. Has the applicant's impairment lasted or Is it expected to last                 tend to basic tasks of daily living with the supp jrt
      for a continuous period of at least 60 months?                               of his partner.
      ^Yes - Continue to Item 5.
                                                                            10,   Social/behavioral limitations (if any):
      Q]No ● Do not complete this application.
                                                                                  Difficulty communicating with others effectively
Disabling Condition                                                               due to anxiety and mood symptoms.
Do not use insurance codes or abbreviations.

 5.    Provide your diagnosis of the applicant’s impairment:                ^ ^ ● Global Assessment Function Score (for psychiatric conditions);
         Major depressive disorder, severe; adjustmert                               48
         disorder with depression and anxiety
Physician's Certification
1 certify that, in my best professional judgment, the applicant identified in Item 1 has a medically determinable physical or mental
impairmentconsistentwith my responsesin Items 2 through 10.
I understand that an applicant who is currently able to engage in anv substantial gainful activity in any field of work does not have a total
and permanent disability as defined on this form,
lama doctor ofi        [^medicine      j |osteopathy/osteopathic medicine
      California                                               A141657
State Where Legally Authorized to Practice*               Professional License Number (subject to verification; stamp is acceptable)

*lf you are licensed to practice in American Samoa, Puerto Rico, the U5. Virgin Islands, the Northern Mariana Islands, the Marshall Islands,
Micronesia, or Palau, attach a copy of your professional license that clearly shows the expiration date.
                                                                        05/04/2022                       John A Gillean
                                                                                                       Physician Name (First, Middle, Last)
  hy^fcian's Signature (a stamp is not acceptable)                 Date (mm-dd-yyyy)
                                                                                                                                 510-541-2323
                                                                        jgillean@innerspacepsychiatry.com
                                                                   ErhaiT                        ~                             Telephone
55 Santa Clara Ave, Suite 171, Oakland, CA 94610                                                                                 510-907-7966

 Address (a stamp Is acceptable)                                                                                               Fax
                                                                   Page 3 of 8
                                                                                                         SECURED BY FAXMD.COM PAGE 2 OF 2
Case 4:25-cv-00911-DMR   Document 1   Filed 01/28/25   Page 243 of 500
                    Case 4:25-cv-00911-DMR                Document 1            Filed 01/28/25          Page 244 of 500
12/18/24, 9:10 PM        Tc.columbia.edu      .^e; {EXTERNAL} MR_Req, Michael Darden (Psych),,     .em/LT00403220: Medical_Record_Request, reply
                                                                                                                                244


                                                                                       Darden, Michael <mad2255(gtc.columbia.edu>



  Re: {EXTERNAL} MR_Req, Michael Darden (Psych), Anthem/LT00403220 ;
  Medical_Record_Request, reply
  Verrill, Deb <Deb.Verrill(ganthem.com>                                                                   Wed. Nov 16, 2022 at 12:05 PM
  To: "Darden, Michael" <mad2255@tc.columbia.edu>
  Cc: LDCiaimsTeam <LDCIalmsTeam(ganthem.com>


     Same to you!




     Elevance
               Health




     Deb Verrill, Disability Case Manager

     Life & Disability Claims Operations
     PO 60x105426


     Atlanta, GA 30348

     OFFICE: 470-784-1964IFAX: 800-850-0017

     EMAIL: Deb.Verrill(ganthem.com




     From: Darden, Michael <mad2255(gtc.Columbia.edu>
     Sent: Wednesday, November 16, 2022 1:19 PM
     To: Verrill, Deb <Deb.Verrill(ganthem.com>
     Cc: LDCiaimsTeam <LDCIaimsTeam@anthem.com>
     Subject: Re: {EXTERNAL} MR_Req, Michael Darden (Psych), Anthem/LT00403220; Medical_Record_Request, reply



     You're welcome. Understood, many thanks and take care.



     Michael

     917-868-8780




     On Wed, Nov 16, 2022, 5:07 AM Verrill, Deb <Deb.Verrill(ganthem. com> wrote:



https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=a ll&pernimsgid=msg-f:1749684443200966928&dsqt=1&simpl=msg-f:17496 844432...   1/3
                    Case 4:25-cv-00911-DMR                Document 1           Filed 01/28/25           Page 245 of 500
12/18/24, 9:10 PM        Tc.columbia.edu         {EXTERNAL} MR_Req, Michael Darden fPsychL. ^ .em/LT00403220: Medica!_Record_Request , reply
        Thank you. I will send to your claim file and then do a review. I am sure it is, but I would tike the time to revieS^d get
        back to you.



        Thanks Michael.




        Deb




             picture containing text, sign Description automatically
           generated




        Deb VerrIII, Disability Case Manager

        Life & Disability Claims Operations

        PO Box 105426


        Atlanta, GA 30348

        OFFICE; 470-784-1964IFAX: 800-850-0017

        EMAIL: Deb.Verrill@anthem.com




        From: Darden, Michael <mad2255@tc.Columbia.edu>
        Sent: Tuesday, November 15, 2022 4:47 PM
        To: Verrill, Deb <Deb.Verrili@anthem.com>
        Subject: {EXTERNAL} Fwd: Medical_Record_Request, Michael Darden (Psych), Anthem



        This email originated outside the company. Do not click links or attachments unless you recognize the sender.

        Attached, as requested:



        Satisfactory, please?




        Thank you and be well.



        Michael

        Michael Darden

        917-868-8780


https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=a ll&permmsgid=msg-f:1749684443200966928&dsqt=1&simpl=msg-f:174968 44432...   2/3
                    Case 4:25-cv-00911-DMR                Document 1           Filed 01/28/25           Page 246 of 500
12/18/24, 9:10 PM       Tc.coiumbia.edu M.    Re: {EXTERNAL} MR_Req, Michael Dartlen (Psych),      iem/LT00403220; Medical_Record_Request, reply
                                                                                                                                246




                Forwarded message
        From: Rhyzel Alabado <rhyzel.alabado{gwaitingroomsolutions.com>
        Date: Tue, Nov 15, 2022, 12:25 PM
        Subject: Medical_Record_Request
        To: <mad2255@tc.columbia.edu>
        Cc: <jgillean@innerspacepsychiatry.com>



        Hello Mr. Darden,



        Here are the medical records you requested for last 6 months. Please let us know if you need anything
        else.

        Thank You




        Rhyzel A. | Innerspace Psychiatry
        WRS Health | VA Services

        Email: rhyzel.alabado@wrsheaIth.com
        Phone; 510-541-2323 | Fax: (510) 907-7966
        www.wrshealth.com


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https;//mail.google.com/maiI/u/0/?ik=16dcfadc8d&view=pt&search=a ll&perTTimsgid=msg-f;1749684443200966928&dsqt=1&simpl=msg-f;17496844432...   3/3
            Case 4:25-cv-00911-DMR                           Document 1              Filed 01/28/25               Page 247 of 500
                                                                                                                                        247
Darden, Michael
Date: Nov 08,2022                                                                                                     Innerspace Psychiatry
DOB; 05/05/1966, 56 year old Male                                                  55 Santa Clara Ave. Ste 171, Oakland, CA 94610-1333
Note No.38965203                                                                                 Tel; (510)541-2323     Fax: (510)907-7966
Printed 12:16 PM Nov 15 2022                                                                                          JOHN GILLEAN, M.D.
User Location; Innerspace Psychiatry

 PSYCHIATRIC HISTORY & EXAM

 HPI: "We’ve been good."

Client reports that he has experienced significant migraines a/w tinnitus and vertigo.
Has started an extensive workup and has undergone a trial of emgality and been referred to a CBT provider.
 He has been seeing a neurotologist at UCSF.

 He is also suing a former employer for ADA discrimination     .



This has been an extremely stressful process for him.
 His brother has been homeless in MD recently which has been quite stressful for him.
 Despite the above stressors, client reports that he is "hanging in there."

 He will be travelling to MD to visit his mother for her 89th birthday.


 Med updates:
 Started on emgality.
 General:

 General: well nourished, well hydrated, no acute distress
 Psychiatric:

Speech: NRRT
Thought Process/Abstract Reasoning: linear, GD
Associations: depressive
Abnormal thoughts: no PI, no St/HI/VI
Judgement & Insight: intact
 Mental Status Exam:
 Orientation: oriented to time, place, and person
 Memory: intact for recent and remote events
 Attention: attends to tasks normally
 Speech/Language: expressive and receptive communications skills are WNL
 Fund of knowledge: demonstrates good fund of knowledge
 Mood & Affect: "hanging in there," depressed, anxious
 Comments; affect and TP/TC are appropriate

 PRESCRIPTIONS

 clonazepam 0.5 mo tablet. Take 1 tablet(s) by oral route ,dailyPRN anxiety , for 30 days , 30 Tablet &refills: 1 - Reviewed CURES
 Diagnosis: [F43.23]

 trazodone 50 mo tablet. Take 1-2 tablet(s) by oral route ,qHSPRN insomnia ,for 30 days , 60 Tablet Arefills: 2
 Diagnosis: [F32.2]

 bupropion HCI XL 300 mo 24 hr tablet, extended release. Take 1 tablet(s) by oral route,       1 time per day, for 30 days, 30 Tablet
 &refills: 2

 Diagnosis: (F32.2]


 mlrtazaplne 15 mg tablet. Take 1 tablet(s) by oral route , qHS times per day , for 30 days , 30 Tablet &refills; 2
 Diagnosis: [F32.2]


ALLERGIES

 Penicillins - rash


 PROCEDURES

 Office or other outpatient visit for the evaluation and management of an established patient, which requires a medically
 appropr (99214]
 Related Diagnosis:

      ICD Code                               ICD Description
           Case 4:25-cv-00911-DMR                         Document 1               Filed 01/28/25              Page 248 of 500
                                                                                                                                   248
     ICD Code                               ICD Description

                                          Major depressive disorder, single episode, severe without psychotic features - patient
   F32.2                                  remains grossly stable on his current regimen, although symptoms continue to cause
                                          moderately significant functionai impainnent.

   F43,23
                                          Adjustment disorder with mixed anxiety and depressed mood - exacerbated recently by
                                          situational stressors; continues to utilize clonazepam pm with benefit.


AXIS & PLAN

Major depressive disorder, single episode, severe without psychotic features - patient remains grossly stable on his current
regimen, although symptoms continue to cause moderately significant functional impairment. [F32.2] (Axisi)
Plan: Continue bupropion XL 300mg daily and trazodone 50-100mg qHSPRN for insomnia, mirtazapine 7.5-15mg qHSPRN for
insomnia: continue weekiy psychotherapy with Penny; maintain SDi.


(99214] OFFICE OR OTHER OUTPATIENT VISIT FOR THE EVALUATION AND MANAGEMENT OF AN ESTABLISHED PATIENT,
WHICH REQUIRES A MEDICALLY APPROPR


Adjustment disorder with mixed anxiety and depressed mood > exacerbated recently by situational stressors; continues to
utilize clonazepam prn with benefit [F43.23] (Axisi)
Plan: Continue clonazepam 0.5mg dailyPRN for anxiety.


(99214] OFFICE OR OTHER OUTPATIENT VISIT FOR THE EVALUATION AND MANAGEMENT OF AN ESTABLISHED PATIENT,
WHICH REQUIRES A MEDICALLY APPROPR




 SIGNATURE

This note has not yet been signed.
If required, you can add an addendum to it.
If required, you can add a patient annotation to it.


  Note Sign off
             Case 4:25-cv-00911-DMR                       Document 1               Filed 01/28/25              Page 249 of 500
                                                                                                                                    249
Darden, Michael
Date:Ju! 01,2022                                                                                                 Innerspace Psychiatry
DOB: 05/05/1966. Male                                                            55 Santa Clara Ave, Ste 171. Oakland. CA 94610-1333
NoteNo.38104418                                                                               Tel: (510)541-2323     Fax: (510)907-7966
Printed 12:56 AM Jul 27 2022                                                                                       JOHN GILLEAN. M.D.
User Location: Innerspace Psychiatry

  PSYCHIATRIC HISTORY & EXAM

  HPI: "I’m doing OK.'


  Client reports relative stability on his current med regimen.
  He continues to experience moderately significant symptoms although he feels he is managing basic ADLs well.
  He is motivated to continue his current med regimen from which he continue to report a benefit.
  He is sleeping relatively well.
  He continues to express moderate concern about his mother.
  He continues to report concerns about his son with whom he has a strained relationship.
  General:

  General: well nourished, well hydrated, no acute distress
  Psychiatric:
  Speech: NRRT
  Thought Process/Abstract Reasoning: linear. GD
  Associations: depressive
  Abnormal thoughts: no PI, no SI/HI/VI
  Judgement & Insight: intact
  Mental Status Exam:

  Orientation: oriented to time, place, and person
  Memory: intact for recent and remote events
  Attention: attends to tasks normally
  Speech/Language: expressive and receptive communications skills are WNL
  Fund of knowledge: demonstrates good fund of knowledge
  Mood & Affect: "OK," depressed, anxious
  Comments: affect and TP/TC are appropriate

  PRESCRIPTIONS

  trazodone 50 mo tablet. Take 1-2 tablet(s) by oral route ,qHSPRN insomnia ,for 30 days , 60 Tablet &refil!s: 2
  Diagnosis: {F32.2]

  buDfODlon HC1 XL 300 mo 24 hr tablet extended release. Take 1 tablets) by oral route . 1 time per day , for 30 days , 30 Tablet
  &refills: 2

  Diagnosis: {F32.2]


  ALLERGIES

  Penicillins - rash


  PROCEDURES

  Office or other outpatient visit for the evaluation and management of an established patient, which requires a medically
  appropr [99214]
  Related Diagnosis:


       ICD Code                            ICD Description

                                          Major depressive disorder, single episode, severe without psychotic features - patient
     F32.2                                remains grossly stable on his cument regimen, although symptoms continue to cause
                                          moderately significant functional Impairment.

     F43.23                               Adjustment disorder with mixed anxiety and depressed mood - continues to utilize
                                          clonazepam pm with benefit.


  AXIS & PLAN

  Major depressive disorder, single episode, severe without psychotic features - patient remains grossly stable on his current
  regimen, although symptoms continue to cause moderately significant functional impairment [F32.2] (AxisI)
  Plan: Continue bupropion XL 300mg daily and trazodone 50-100mg qHSPRN for insomnia, mirtazapine 7.5-15mg qHSPRN for
  insomnia: continue weekly psychotherapy with Penny; maintain SDI.

  [99214] OFFICE OR OTHER OUTPATIENT VISIT FOR THE EVALUATION AND MANAGEMENT OF AN ESTABLISHED PATIENT.
          Case 4:25-cv-00911-DMR                         Document 1          Filed 01/28/25         Page 250 of 500
                                                                                                                         250
WHICH REQUIRES A MEDICALLY A^PJfoPR

[99214] OFFICE OR OTHER OUTPATIENT VISIT FOR THE EVALUATION AND MANAGEMENT OF AN ESTABLISHED PATIENT,
WHICH REQUIRES A MEDICALLY APPROPR


[99214] OFFICE OR OTHER OUTPATIENT VISIT FOR THE EVALUATION AND MANAGEMENT OF AN ESTABLISHED PATIENT,
WHICH REQUIRES A MEDICALLY APPROPR


Adjustment disorder with mixed anxiety and depressed mood - continues to utilize clonazepam prn with benefit. [F43.23]
 (AxisI)
 Plan: Continue clonazepam 0.5mg dailyPRN for anxiety.


[99214] OFFICE OR OTHER OUTPATIENT VISIT FOR THE EVALUATION AND MANAGEMENT OF AN ESTABLISHED PATIENT,
WHICH REQUIRES A MEDICALLY APPROPR


 [99214] OFFICE OR OTHER OUTPATIENT VISIT FOR THE EVALUATION AND MANAGEMENT OF AN ESTABLISHED PATIENT,
WHICH REQUIRES A MEDICALLY APPROPR




  SIGNATURE
This note has been electronically signed by JOHN GILLEAN, M.D. on 12:56 AM Jul 27 2022.

  Cosign Note

If required, you can add an addendum to it.
If required, you can add a patient annotation to it.
            Case 4:25-cv-00911-DMR                         Document 1               Filed 01/28/25               Page 251 of 500
                                                                                                                                        251
Darden, Michael

Dale: Apr 12,2022                                                                                                   Innerspace Psychiatry
DOB: 05/05/1966, Male                                                             55 Santa Clara Ave, Ste 171, Oakland, CA 94610-1333
Note No.37237959                                                                               Tel: (510)541-2323   Fax: (510)907-7966
Printed 1:51 PM Apr 12 2022                                                                                        JOHN GILLEAN, M.D.
User Location: Innerspace Psychiatry

  PSYCHIATRIC HISTORY & EXAM

  HPI: "A little better, but today is a klonopin day,"

  Patient reports that he has experienced some exacerbation of his anxiety symptoms in light of multiple external stressors today.
  He has taken a clonazepam already today to manage this increase in anxiety.


  He has been utilizing mirtazapine in combination with trazodone some nights with benefit.
  He reports that many nights, he benefit from trazodone alone.


 He continues to feel quite distressed by managing his mother^s care from across the country,
 He notes that she has recovered from COVID but suffered some cognitive decline that he attributes to isolation during her infectious
 period.
 She lost about 10 lbs d/t diminished feeding.
 Since her return to the nursing home milieu, she has somewhat rapidly recovered and seems to be doing quite well.
 He also reports that his brother continues to behave in a hostile way towards him which exacerbates the already delicate situation with
 his mother.




 Social hx:

 Travelling to MD to visit his mother for Easter this weekend.

 Med hx:

 Was taking Quiipta for migraines but found it to make him dizzier - continues to be followed by neurology for vestibular migraines.
 General:

 General: well nourished, well hydrated, no acute distress
 Psychiatric:

 Speech: NRRT
 Thought Process/Abstract Reasoning: linear. GD
 Associations: depressive
 Abnormal thoughts: no PI. no Si/Hi/VI
 Judgement & Insight: intact
 Mental Status Exam:
 Orientation; oriented to lime, place, and person
 Memory: intact for recent and remote events
 Attention: attends to tasks normally
 Speech/Language: expressive and receptive communications skills are WNL
 Fund of knowledge: demonstrates good fund of knowledge
 Mood & Affect: "A little better,” depressed, anxious
 Comments: affect and TP/TC are appropriate

 PRESCRIPTIONS

 bupropion HCI XL 300 mg 24 hr tablet, extended release. Take 1 tablet(s) by ora! route, 1 time per day. for 30 days ,30 Tablet
 &refills: 2

 Diagnosis: [F32.2]

 clonazepam 0.5 mg tablet. Take 1 lablet(s) by oral route , dailyPRN anxiety , for 30 days , 30 Tablet Srefills: 1 - Reviewed CURES
 Diagnosis: [F43.23]



 ALLERGIES

 Penicillins - rash


  PROCEDURES

 Office or other outpatient visit for the evaluation and management of an established patient, which requires a medically
 appropr [99214]
  Related Diagnosis:


      ICD Code                                ICD Description
            Case 4:25-cv-00911-DMR                        Document 1               Filed 01/28/25              Page 252 of 500
                                                                                                                                    252
     iCD Code                               ICD Description

                                          Major depressive disorder, single episode, severe without psychotic features - patient
    F32.2
                                          continues to exhibit severe depressive symptomology in light of external stressors: some
                                          improvement in sleep quality with addition of mirtazapine pm. continue to report at least a
                                          partial benefit from bupropion.

                                          Adjustment disorder with mixed anxiety and depressed mood - continues to find a need for
    F43.23
                                          clonazepam somewhat regularly to manage anxiety symptoms.


AXIS & PLAN

 Major depressive disorder, single episode, severe without psychotic features - patient continues to exhibit severe depressive
 symptomology in light of external stressors; some improvement in sleep quality with addition of mirtazapine pm. continue to
 report at least a partial benefit from bupropion. [F32.2] (Axlsl)
 Plan: Continue bupropion XL 300mg daily and trazodone 50-100mg qHSPRN for insomnia, mirtazapine 7.5-15mg qHSPRN for
 insomnia; continue weekly psychotherapy with Penny: maintain SDI.

 [99214] OFFICE OR OTHER OUTPATIENT VISIT FOR THE EVALUATION AND MANAGEMENT OF AN ESTABLISHED PATIENT,
 WHICH REQUIRES A MEDICALLY APPROPR


 [99214] OFFICE OR OTHER OUTPATIENT VISIT FOR THE EVALUATION AND MANAGEMENT OF AN ESTABLISHED PATIENT,
WHICH REQUIRES A MEDICALLY APPROPR


Adjustment disorder with mixed anxiety and depressed mood ● continues to find a need for clonazepam somewhat regularly
to manage anxiety symptoms. [F43.23] (Axlsl)
Plan: Continue clonazepam O.Smg dailyPRN for anxiety.


 [99214) OFFICE OR OTHER OUTPATIENT VISIT FOR THE EVALUATION AND MANAGEMENT OF AN ESTABLISHED PATIENT,
 WHICH REQUIRES A MEDICALLY APPROPR




  SIGNATURE
This note has been electronically signed by JOHN GILLEAN, M.D. on 1:51 PM Apr 12 2022.

  Cosign Note


If required, you can add an addendum to it.
If required, you can add a patient annotation to IL
                    Case 4:25-cv-00911-DMR                Document 1             Filed 01/28/25          Page 253 of 500
12/18/24, 9:14 PM       Tc.columbia.edu M     .T00403220/Michael Darden. Long-Tenm Disability, A,   .1, December 2022 Payment Forthcoming by Wh...
                                                                                                                                 253


                                                                                         Darden, Michael <mad2255@tc.co)umbia.edu>



  LT00403220/Michael Darden, Long-Term Disability, Anthem, December 2022 Payment
  Forthcoming by What Date?
  1 message

  Darden, Michael <mad2255@tc.columbia.edu>                                                                   Mon. Dec 19, 2022 at 7:32 AM
  To: "Verrill, Deb" <Deb.Verrill@anthem.com>
  Cc: LDCIaimsTeam <LDCIaimsTeam@anthem.com>

     Good Day:

     By what date will I receive the automatic deposit of my December 2022, LTD Payment in my bank checking account,
     please (that payment, which usually arrives monthly on approximately the 15th, appears to be several days late)?


    Thank you, and take care,

     Michael
     Michael Darden
     917-868-8780




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                    Case 4:25-cv-00911-DMR                Document 1            Filed 01/28/25           Page 254 of 500
12/18/24, 9:15 PM                             rc.columbia.edu Mail - Medical_Record_Request, Mi     Darden (Psych), Anthem 2
                                                                                                                                 254


                                                                                        Darden, Michael <mad225S@tc.Columbia.edu>



  Medical_Record_Request, Michael Darden (Psych), Anthem 2
  1 message

  Darden, Michael <mad2255(gtc.columbia.edu>                                                                 Tue, Dec 20, 2022 at 11:22 AM
  To: shaleea.petty@anthem.com

    Attached, as requested:

     Satisfactory, please?


     Thank you and be well

     Michael
     Michael Darden
     917-868-8780



             Forwarded message
     From: Darden, Michael <mad2255@tc.columbia.edu>
     Date: Tue, Nov 15, 2022 at 1:47 PM
     Subject: Fwd: Medica!_Record_Request, Michael Darden (Psych), Anthem
     To: Verrill, Deb <Deb.Verriil@anthem.com>


     Attached, as requested:

     Satisfactory, please?


     Thank you and be well

     Michael
     Michael Darden
     917-868-8780




               Forwarded message
     From: Rhyzel Alabado <rhyzei.alabado@waitingroomsolutions.com>
     Date: Tue. Nov 15, 2022, 12:25 PM
     Subject: Medical_Record_Request
     To: <mad2255@tc.columbia.edu>
     Cc: <jgj|lean@innerspacepsychiatry.com>


     Hello Mr. Darden,

     Here are the medical records you requested for last 6 months. Please let us know if you need
     anything else.


     Thank You,



     Rhyzel A. | Innerspace Psychiatry
     WRS Health | VA Services
https;//mail.google.com/mait/u/0/?ik=16dcfadc8d&\riew=pt&search= all&permthid=thread-a:r5017368428524230776&simpl=msg-a:r59047013 33410157...   1/2
                    Case 4:25-cv-00911-DMR                Document 1            Filed 01/28/25           Page 255 of 500
12/18/24, 9:15 PM                              j.columbia.edu Mail - Medical_Record_Request, Mic    Jarden (Psych), Anthem 2
                                                                                                                                255

     Email: rhyzel.alabado(gwrshealth.com
     Phone; 510-541-2323 | Fax: (510) 907-7966
     www.wrshealth.com


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                    Case 4:25-cv-00911-DMR                 Document 1             Filed 01/28/25          Page 256 of 500
12/18/24. 9:16 PM            Tc.columbia.ea    J - January 2023, Disability Payment Date? Medical_   jrd_Request, Michael Dattien (Psych), Anthem
                                                                                                                                  256


                                                                                          Darden, Michael <mad2255@tc.columbia.edu>



  January 2023, Disability Payment Date? Medical_Record_Request, Michael Darden
  (Psych), Anthem
  1 message

  Darden, Michael <mad2255(gtc.columbia.edu>                                                                   Mon, Jan 9, 2023 at 12:31 PM
  To: shaleea.petty@anthem.com

     Hi, Ms. Petty:

     Happy New Year and thank you for helping me swiftly receive my monthly Disability payment in December 2023. Trust
     that you all are busy, as am I. Just double-checking:

     ●Do you all have the information that you need from me?

     ●By what date will I receive in my bank checking account the deposit of my January 2023, Disability payment, please?

     Finally, what's the best telephone number at which I may call you, if necessary?


    Thanks again and take care.

     Michael
     Michael Darden
     917-868-8780




            FoHArarded message
     From: Darden, Michael <mad2255@tc.columbia.edu>
     Date: Tue, Dec 20, 2022, 11:22 AM
    Subject: Medical_Record_Request, Michael Darden (Psych), Anthem 2
    To: <shaleea.petty@anthem.com>


    Attached, as requested:

     Satisfactory, please?


    Thank you and be well

     Michael
     Michael Darden
     917-868-8780




            Forwarded message
     From: Darden, Michael <mad2255@tc.Columbia.edu>
     Date: Tue, Nov 15, 2022 at 1:47 PM
    Subject: Fwd: Medical_Record_Request, Michael Darden (Psych), Anthem
    To: Verrill, Deb <Deb.Verrill@anthem.com>


    Attached, as requested:

     Satisfactory, please?



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                    Case 4:25-cv-00911-DMR                 Document 1             Filed 01/28/25          Page 257 of 500
12/18/24, 9:16 PM           Tc.coiumbia.ei    j| - January 2023, Disability Payment Date? Medical.   jrd_Request, Michael Darden (Psych). Anthem
                                                                                                                                  257
     Thank you and be well,

     Michael
     Michael Darden
     917-868-8780




            Forwarded message
     From: Rhyzel Alabado <rhyzel.alabado(gwaitingroomsolutions.com>
     Date: Tue, Nov 15. 2022, 12:25 PM
    Subject: Medical_Record_Request
    To: <mad2255@tc.columbia.edu>
    Cc: <jgillean@innerspacepsychiatry.com>


     Hello Mr. Darden,

     Here are the medical records you requested for last 6 months. Please let us know if you need
     anything else.


    Thank You,



    Rhyzel A. | Innerspace Psychiatry
    WRS Health | VA Services

     Email: rhy2el.alabad0@wrshealth.com
     Phone: 510-541-2323 | Fax: (510) 907-7966
    www.wrshealth.com


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                    Case 4:25-cv-00911-DMR                 Document 1           Filed 01/28/25           Page 258 of 500
12/18/24, 9:17 PM        Tc.columbia.edu Ma    /M: January 2023, Disability Payment Date? Medical_   ord_Request, Michael Darden (Psych), Anthem 3
                                                                                                                                 258


                                                                                        Darden, Michael <mad2255(gtc.columbia.edu>



  Fwd: January 2023, Disability Payment Date? Medical_Record_Reque st, Michael
  Darden (Psych), Anthem 3
  1 message

  Darden, Michael <mad2255(gtc.columbia.edu>                                                                 Tue, Jan 17. 2023 at 10:35 AM
  To: shaieea.petty@anthem.com

     Hi Once More, Ms. Petty:

     Suspect that you're still quite busy, as am 1. Following up again. Not sure if you’ve received yet my above-referenced
     messages: Have you?....


            Forwarded message
     From: Darden, Michael <mad2255@tc.Columbia.edu>
     Date: Fri, Jan 13. 2023, 1:37 PM
    Subject: Fwd: January 2023, Disability Payment Date? Medical_Record_Request, Michael Darden (Psych), Anthem 2
    To: <shaleea.petty@anthem.com>


     Hi Again, Ms. Petty:

     Imagine that you're quite busy, as am I. Following up once more. Not certain if you've received yet my above-referenced
     messages: Have you?....

            Forwarded message
     From: Darden, Michael <mad2255@tc.columbia.edu>
     Date: Mon. Jan 9, 2023,12:31 PM
    Subject: January 2023, Disability Payment Date? Medical_Record_Request, Michael Darden (Psych), Anthem
    To: <shaleea.petty@anthem.com>


     Hi. Ms. Petty:

    Happy New Year and thank you for helping me swiftly receive my monthly Disability payment in December 2023. Trust
    that you all are busy, as am I. Just double-checking:

     *Do you all have the information that you need from me?

     *By what date will I receive in my bank checking account the deposit of my January 2023, Disability payment, please?

     Finally, what's the best telephone number at which I may call you, if necessary?


    Thanks again and take care,

     Michael
     Michael Darden
     917-868-8780




             Forwarded message
     From: Darden, Michael <mad2255@tc.columbia.edu>
     Date: Tue, Dec 20, 2022, 11:22 AM
     Subject: Medical_Record_Request. Michael Darden (Psych), Anthem 2
     To: <shaleea.petty@anthem.com>


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                    Case 4:25-cv-00911-DMR                Document 1             Filed 01/28/25          Page 259 of 500
12/18/24, 9:17 PM        Tc.columbia.edu Mi    Ml: January 2023, Disability Payment Date? Medicai.   -ord_Request, Michael Darden (Psych), Anthem 3
                                                                                                                                 259


    Attached, as requested;

     Satisfactory, please?


     Thank you and be well

     Michael
     Michael Darden
     917-868-8780



             Forwarded message
     From: Darden, Michael <mad2255@tc.Columbia.edu>
     Date: Tue, Nov 15, 2022 at 1:47 PM
     Subject: Fwd: Medical_Record_Request, Michael Darden (Psych), Anthem
     To: Verrill, Deb <Deb.Verrill(ganthem.com>


    Attached, as requested:

     Satisfactory, please?


     Thank you and be well.

     Michael
     Michael Darden
     917-868-8780




               Forwarded message
     From: Rhyzel Alabado <rhyzel.alabado@waitingroomsoiutions.com>
     Date: Tue, Nov 15. 2022, 12:25 PM
     Subject: Medical_Record_Request
     To: <mad2255@tc.columbia.edu>
     Cc: <jgiilean@innerspacepsychiatry.com>


     Hello Mr. Darden,

     Here are the medical records you requested for last 6 months. Please let us know if you need
     anything else.


     Thank You,



     Rhyzel A. | Innerspace Psychiatry
     WRS Health | VA Services

     Email: rhyzel.aiabado@wrshealth.com
     Phone: 510-541-2323 [ Fax: (510) 907-7966
     www.wrshealth.com


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                    Case 4:25-cv-00911-DMR                 Document 1            Filed 01/28/25           Page 260 of 500
12/18/24, 9:17 PM        Tc.columbia.edu       ●wd: January 2023, Disability Payment Date? Media    cord_Request, Michael Darden (Psych), Anthem 3

     you think that you have received this e-maii in error, please advise the sender by reply e-mail of the error          and tl^9jelete
     this e-mail immediately. Thank You.



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                    Case 4:25-cv-00911-DMR                 Document 1            Filed 01/28/25           Page 261 of 500
12/18/24, 9:19 PM            Tc.columbia.edv    I - Re: {EXTERNAL} Fwd: Medical Long-Term Disabi.    pplication, Michael Darden, Anthem, Reply 5
                                                                                                                                  261


                                                                                        Darden, Michael <mad2255@tc.columbia.edu>



  Re: {EXTERNAL} Fwd: Medical Long-Term Disability Application, Michael Darden                                                             >


  Anthem, Reply 5
  1 message

  Darden, Michael <mad2255@tc.columbia.edu>                                                                  Wed, Mar 15, 2023 at 11:26 AM
  To: tanita.lee@anthem.com

     Ms. Lee:


    As promised, here are my emails with your predecessor...

     Good Day, Ms. Petty:

    Appreciate receiving your below-attached message. OK. Do you mean that Anthem will extend my Psychiatric Long-Term
    Disability (LTD) from July 2023 until August 2023?

     Meanwhile, as requested...

     Michael Darden
     Physical impairments (Medical) Physicians - Contact Information 2023

     EmanuelVergis, MD
     Primary Care Physician
     One Medical
     595 Castro St
     San Francisco, CA 94114
    415-529-4099 telephone
    415-552-2909 fax


     Patricia Suzanne Maska, MD
     Neurologist
    985 Atlantic Ave
    #300
    Alameda, CA 94501
    510-748-5363 telephone
     510-745-5425 fax


    Jeffrey Sharon, MD
     Neurotologist (Migraines, Vestibular (Balance) System and Tinnitus (Ear-Ringing))
     University of California, San Francisco (UCSF) Medical Center
    2380 Sutter St Third Floor,
    San Francisco, CA 94115
    415-353-2757 telephone
    415-353-2603 fax



    Jerrold Kram, MD
     Sleep Specialist
     California Center for Sleep Disorders
     13939 E 14th St Suite 180,
     San Leandro, CA 94578
     510-263-3300 telephone
     510-263-3350 fax


     Satisfactory?

     Do you need ftjrther records and documents to fully consider my Medical, LTD Application with Anthem, please?


hltps://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=a ll&permthid=thread-a:r-357858423684010284&simpl=msg-a:r-21665881 4508687...       1/6
                    Case 4:25-cv-00911-DMR                Document 1            Filed 01/28/25           Page 262 of 500
12/18/24, 9:19 PM            Tc.columbia.e    ail - Re; {EXTERNAL} Fwd: Medical Long-Term Disa.    Application, Michael Darden. Anthem. Reply 5
                                                                                                                                 262
     Thank you and be well,

     Michael
     Michael Darden
     917-868-8780



     On Wed, Mar 15,2023,10:47 AM Darden, Michael <mad2255@tc.Columbi a.edu> wrote:
       Hi Again, Ms. Petty:

       Guess once more that you're busy, as am I. Following up. Have not yet received in my bank checking account my
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               Sleep Specialist
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                    Case 4:25-cv-00911-DMR                  Document 1            Filed 01/28/25           Page 263 of 500
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                                                                                                                                    263
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               San Leandro, CA 94578
               510-263-3300 telephone
               510-263-3350 fax

               Satisfactory?

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               Thank you and be well.

               Michael
               Michael Darden
               917-868-8780



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                    Good afternoon.




                    We are going to extend your claim for one month. In meantime, 1 need to know the name(s) of your physicians
                    that are treating any physical impairments that you may have. Please provide their full name, address,
                    telephone number and fax number.



                    Have a great day.



                    Thanks so much.




                    Anthem, Inc.




                    Shaleea Petty

                    Disability Claims Manager Sr.
                    740 West Peachtree Street

                    Atlanta, GA 30308

                    O: (404) 842-8021 | F: (800) 850-001
                    Shaleea.Petty@anthem.com




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                    Case 4:25-cv-00911-DMR                 Document 1             Filed 01/28/25          Page 264 of 500
12/18/24, 9:19 PM             Tc.columbia.ee    -il - Re: {EXTERNAL} Fwd; Medical Long-Term Disab,   .pplication, Michael Darden, Anthem, Reply 5
                                                                                                                                   264

                    From: Darden, Michael <mad2255@tc.Columbia.edu>
                    Sent: Monday, February 6, 2023 3:41 PM
                    To: Petty, Shaleea <Shaleea.Petty@anthem.com>
                    Subject: {EXTERNAL} Fwd: Medical Long-Term Disability Application, Michael Darden; Fwd:
                    Medical_Record_Request, Michael Darden (Psych). Anthem 3



                    This email originated outside the company. Do not click links or attachments unless you recognize the
                    sender.


                    Hi Again, Ms. Petty:



                    Imagine that you're busy, as am I. Following up. Not certain if you've received yet my below-attached
                    message: Did you?!...



                            Forwarded message
                    From: Darden, Michael <mad2255@tc.Columbia.edu>
                    Date: Wed, Feb 1,2023,1:26 PM
                    Subject: Medical Long-Term Disability Application, Michael Darden; Fwd: Medical_Record_Request, Michael
                    Darden (Psych), Anthem 2
                    To: <shaleea.petty@anthem.com>



                    Hi, Ms. Petty:



                    Per my voicemail of today, just checking in to learn:



                           Do you have all records and documents that you need to consider my Medical, Long-Term Disability
                           Application with Anthem?



                           Do you need further records and documents (besides the attached information) to consider my Medical,
                           LTD Application with Anthem?




                    Thank you, and take care.



                    Michael

                    Michael Darden

                    917-868-8780




                            Forwarded message
                    From: Darden, Michael <mad2255@tc.columbia.edu>
                    Date: Tue, Dec 20, 2022 at 11 ;22 AM
                    Subject: Medical_Record_Request, Michael Darden (Psych), Anthem 2
                    To: <shaleea.petty@anthem.com>

https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=all&permthid=thread-a:r-357858423684010284&simpl=msg-a;r-21665881 4508687...         4/6
                    Case 4:25-cv-00911-DMR                 Document 1            Filed 01/28/25           Page 265 of 500
12/18/24, 9:19 PM              Tc.co!umbia.edi   ■ - Re; {EXTERNAL} Fwd: Medical Long-Term Disabi     jplication, Michael Darden, Anthem, Reply 5
                                                                                                                                   265


                    Attached, as requested:



                    Satisfactory, please?




                    Thank you and be well



                    Michael

                    Michael Darden

                    917-868-8780




                            Forwarded message
                    From: Darden, Michael <mad2255@tc.columbia.edu>
                    Date: Tue, Nov 15, 2022 at 1:47 PM
                    Subject: Fwd: Medical_Record_Request, Michael Darden (Psych), Anthem
                    To: Verrill, Deb <Deb.Verrill@anthem.com>



                    Attached, as requested:



                    Satisfactory, please?




                    Thank you and be well,



                    Michael

                    Michael Darden

                    917-868-8780




                              Forwarded message
                    From: Rhyzei Alabado <rhyzel.alabado@waitingroomsolutions.com>
                    Date: Tue. Nov 15. 2022, 12:25 PM
                    Subject: Medical_Record_Request
                    To: <mad2255@tc.columbia.edu>
                    Cc: <jgillean@innerspacepsychiatry.com>



                    Hello Mr. Darden,


https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=a ll&permthid=thread-a:r-357858423684010284&simpl=msg-a;r-21665881 4508687...        5/6
                    Case 4:25-cv-00911-DMR                 Document 1            Filed 01/28/25           Page 266 of 500
12/18/24, 9:19 PM             Tc.columbia.ee   jil - Re: {EXTERNAL} Fwd: Medical Long-Term Disab.    Application, Michael Darden, Anthem, Reply 5
                                                                                                                                   266


                    Here are the medical records you requested for last 6 months. Please let us know if you need
                    anything else.

                    Thank You,



                    Rhyzel A. | Innerspace Psychiatry
                    WRS Health | VA Services

                    Email: rhyzel.alabado@wrsheaith.com
                    Phone: 510-541-2323 | Fax: (510) 907-7966
                    www.wrsheaith.com


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                 Case 4:25-cv-00911-DMR                    Document 1            Filed 01/28/25           Page 267 of 500
12/19/24,12:24 PM         Tc.columbia.edu M    rwd: LT00403220/Michael Darden. Long-Term Disab.     Anthem Review Request, Attending Physician St...
                                                                                                                                  267


                                                                                         Darden, Michael <mad2255@tc.columbia.edu>



  Fwd: LT00403220/Michael Darden, Long-Term Disability, Anthem Review Request,
  Attending Physician Statement, Certification Form, completed, signed
  Darden, Michael <mad2255@tc.columbia.edu>                                                                    Thu, Mar 16, 2023 at 9:43 PM
  To: tanita.lee@anthem.com

     Hi Once More, Ms. Lee:

    Actually, THE ATTACHED FORM is my completed. Anthem "Attending Physician Statement" that you've requested, and
    as you can again see in the email chain below, I provided to one of your predecessors months ago, also around
    November2022: Satisfactory?...


            FoPA/arded message
     From: Darden, Michael <mad2255@tc.Columbia.edu>
     Date; Fri, Nov 11,2022, 7:56 PM
    Subject: LT00403220/Michael Darden, Long-Term Disability, Anthem Review Request, Physician Certification Form
    completed,signed
    To: Verrill, Deb <Deb.Verrill@anthem.com>
    Cc: LDCIaimsTeam<LDCiaimsTeam@anthem.com>


    Attached, please find the referenced completed, signed Form:

     Satisfactory?

    And per your recent voicemail, to confirm:

     Is July 31,2023, the final date on which my psychological LTD will be active, please?

     If yes, then by what date must I provide you any further copies of my Medical Records, and what Medical Records must I
     provide you?


    Thank you, take care and Good Weekend,

     Michael
     Michael Darden
     917-868-8780




     On Fri, Oct 28, 2022,1:35 AM Darden, Michael <mad2255@tc.columbi a.edu> wrote:
       You’re welcome. Working on returning your Physician's Certification form soon.

       Again, thanks very much
       and be well.

       Michael
       Michael Darden
       917-868-8780



       On Wed, Oct 26, 2022,10:49 AM Verrill, Deb <Deb.Verrill@anthem.c om> wrote:

          Hi there- yes, your benefits will continue and the new due date for information is 11/25/22.



https://mail.google.co m/mail/u/0/?ik=16dcfadc8d&view=pt&search= ali&perTTimsgid=msg-a:r2363857160426574497&simpl=msg-a:r23638571 6042657...     1/5
                   Case 4:25-cv-00911-DMR                   Document 1            Filed 01/28/25         Page 268 of 500
12/19/24, 12:24 PM           Tc.columbia.edu M^   wd; LT00403220/Michael Darden, Long-Term Disabi.   .nthem Review Request, Attending Physician St...
                                                                                                                                  268
          Thank you,




          ^ A picture containing text, sign Description automatically
                generated




          Deb Verrill, Disability Case Manager

          Life & Disability Claims Operations

          PO Box 105426


         Atlanta. GA 30348

          OFFICE; 470-784-1964IFAX: 800-850-0017

          EMAIL; Deb.Verrill@anthem.com




         From: Darden, Michael <mad2255@tc.cotumbia.edu>
         Sent: Wednesday, October 26, 2022 11;56AM
         To: Verrill, Deb <Deb.Verrill@anthem.com>
         Subject: Re; {EXTERNAL} Fwd; LT00403220/Michael Darden, Long-Term Disability, Anthem Review Request 3


          Hi;




         You're welcome. Appreciate receiving your response below. To confirm;



         Will my Long-Term Disability Payments continue without interruption while I complete these forms, or have them
         completed, signed and returned to you as soon as 1 possibly can, please?...




         On Wed, Oct 26, 2022, 5;12 AM Verrill. Deb <Deb.Verrill@anthem.com> wrote;

                Hi there.




                Thank you,




https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=a ll&permmsgid=msg-a:r2363857160426574497&simpl=msg-a:r23638571604 2657...         2/5
                 Case 4:25-cv-00911-DMR                  Document 1           Filed 01/28/25          Page 269 of 500
12/19/24, 12:24 PM       Tc.columbia.edu      -wd: LT00403220/Michael Darden, Long-Term Disab    vnthem Review Request, Attending Physician St...
                                                                                                                             269
                A picture containing text, sign Description automatically
                generated




             Deb Verrill, Disability Case Manager

             Life & Disability Claims Operations

             PO Box 105426


             Atlanta, GA 30348

             OFFICE; 470-784-1964IFAX; 800-850-0017

             EMAIL: Deb.Verrill@anthem,com




             From: Darden, Michael <mad2255@tc.columbia.edu>
             Sent: Tuesday, October 25, 2022 4:51 PM
             To: Verrill, Deb <Deb.Verrill@anthem.com>
             Cc: LDCIaimsTeam <LDCIaimsTeam@anthem.com>
             Subject: {EXTERNAL} Fwd: LT00403220/Michael Darden, Long-Term Disability, Anthem Review Request 2



             This email originated outside the company. Do not click links or attachments unless you recognize the sender.

             Hi, Deb Verrill and Team:



             As I mentioned per my voicemail yesterday, this is the first time that I have received the attached documents. I will
             attempt to complete them or have them completed, signed and returned to you as soon as I possibly can:



             Satisfactory, please?




             Thank you and take care.



             Michael

             Michael Darden

             917-868-8780




                     Forwarded message
             From: Verrill, Deb <Deb.Verriil@anthem.com>
             Date: Tue, Oct 25, 2022, 10:31 AM
             Subject: LT00403220/Michael Darden
             To: mad2255@tc.columbia.edu <mad2255@tc.columbia.edu>
             Cc: LDCIaimsTeam<LDC!aimsTeam@anthem.com>

https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=all&permmsgid=m8g-a:r2363857160426574497&simpl=msg-a:r236385716042657...       3/5
                 Case 4:25-cv-00911-DMR                    Document 1            Filed 01/28/25            Page 270 of 500
12/19/24, 12:24 PM       Tc.columbia.edu Mai. - Fwd: LT00403220/Michael Darden. Long-Term Disabilu,, Anthem Review Request, Attending Physician St...
                                                                                                                                   270


             Hello.




             Here is a copy of the letter sent to you on 9/8/22 and the forms that need to be completed. Please be sure this are
             returned within 30 days from the date of this letter.



             Thank you




             Deb Verriil, Disability Case Manager

             Life & Disability Claims Operations

             PO Box 105426

             Atlanta, GA 30348

             OFFICE: 470-784-1964|FAX: 800-850-0017

             EMAIL: Deb.Verrill@anthem.com




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          and destroy all copies of the original message and any attachment thereto.

          Anthem Blue Cross Long-Term Disability, LTD extension, Physician Certification Form, completed,
          signed.pdf
https://fnail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search= ali&permmsgid=msg-a:r2363857160426574497&simpl=msg-a:r2363857160 42657...        4/5
Case 4:25-cv-00911-DMR   Document 1   Filed 01/28/25   Page 271 of 500
                 Case 4:25-cv-00911-DMR                    Document 1            Filed 01/28/25           Page 272 of 500
12/19/24, 12:33 PM            Tc.columbia.ei,   iil - Re: {EXTERNAL} Fwd: Medical Long-Term DisaL    \pplication, Michael Darden, Anthem, Reply 5
                                                                                                                                  272


                                                                                         Darden, Michael <mad2255@tc.columbia.edu>



  Re: {EXTERNAL} Fwd: Medical Long-Term Disability Application, Michael Darden,
  Anthem, Reply 5
   1 message

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     California Center for Sleep Disorders
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     San Leandro, CA 94578
     510-263-3300 telephone
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12/19/24,12:33 PM            Tc.columbta.t     aii - Re: {EXTERNAL} Fwd: Medical Long-Term Disa     Application, Michael Darden, Anthem, Reply 5
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               Alameda, CA 94501
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               510-745-5425 fax


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               Sleep Specialist
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               510-263-3350 fax

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               Michael Darden
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                 telephone number and fax number.



                 Have a great day.



                 Thanks so much.




                 Anthem, Inc.




                 Shaleea Petty

                 Disability Claims Manager Sr.
                    740 West Peachtree Street

                 Atlanta, GA 30308

                 O: (404) 842-8021 { F: (800) 850-001
                 Shaleea.Petty@anthem.com




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12/19/24, 12:33 PM              Tc.columbia.t   ail - Re: {EXTERNAL} Fwd: Medical Long-Tean Disc      Application, Michael Darden, Anlhenn, Reply 5
                                                                                                                                    275

                  From: Darden. Michael <mad2255@tc.Columbia.edu>
                  Sent: Monday, February 6, 2023 3:41 PM
                  To: Petty, Shaleea <Shaleea.Petty@anthem.com>
                  Subject: (EXTERNAL) Fwd: Medical Long-Term Disability Application, Michael Darden; Fwd:
                  Medical_Record__Request, Michael Darden (Psych), Anthem 3



                  This email originated outside the company. Do not click links or attachments unless you recognize the
                  sender.


                     Hi Again, Ms. Petty:



                  Imagine that you're busy, as am I. Following up. Not certain if you’ve received yet my below-attached
                  message: Did you?!...



                          Forwarded message
                  From: Darden, Michael <mad2255@tc.columbia.edu>
                  Date: Wed, Feb 1, 2023, 1:26 PM
                  Subject: Medical Long-Term Disability Application, Michael Darden; Fwd: Medical_Record_Request, Michael
                  Darden (Psych), Anthem 2
                  To: <shaleea.petty@anthem.com>



                  Hi, Ms. Petty:



                  Per my voicemail of today, just checking in to learn:



                           Do you have all records and documents that you need to consider my Medical. Long-Term Disability
                           Application with Anthem?



                            Do you need further records and documents (besides the attached information) to consider my Medical
                            LTD Application with Anthem?




                  Thank you, and take care,



                  Michael

                  Michael Darden

                  917-868-8780




                          Forwarded message
                  From: Darden, Michael <mad2255@tc.Columbia.edu>
                  Date: Tue, Dec 20, 2022 at 11:22 AM
                  Subject: Medical_Record_Request, Michael Darden (Psych). Anthem 2
                  To: <shaleea.petty@anthem.com>

https://mail.google.co m/mail/u/0/?ik=16dcfadc8d&view=pt&search= all&pefTnttiid=thread-a:r-357858423684010284&simpl=msg-a:r-216658814508687...        4/6
                 Case 4:25-cv-00911-DMR                    Document 1            Filed 01/28/25           Page 276 of 500
12/19/24.12:33 PM              Tc.columbia.e   ail - Re: {EXTERNAL} Fwd: Medical Long-Term Disa,     Xpplication, Michael Darden. Anthem, Reply 5
                                                                                                                                  276


                 Attached, as requested:



                    Satisfactory, please?




                    Thank you and be well,



                    Michael

                    Michael Darden

                    917-868-8780




                            Forwarded message
                    From: Darden, Michael <mad2255@tc.columbia.edu>
                    Date: Tue, Nov 15, 2022 at 1:47 PM
                 Subject: Fwd: Medical_Record_Request, Michael Darden (Psych), Anthem
                 To: Verrill, Deb <Deb.Verrill@anthem.com>



                 Attached, as requested:



                    Satisfactory, please?




                    Thank you and be well.



                    Michael

                    Michael Darden

                    917-868-8780




                            Forwarded message
                    From: Rhyzel Alabado <rhy2el.alabado@waitingroomsolutions.com>
                    Date: Tue. Nov 15, 2022, 12:25 PM
                    Subject: Medical_Record_Request
                    To: <mad2255@tc.columbia.edu>
                    Cc: <jgillean@innerspacepsychiatry.com>



                    Hello Mr. Darden,


https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=a ll&permthid=thread-a:r-357858423684010284&simpl=msg-a:r-21665881 4508687...        5/6
                 Case 4:25-cv-00911-DMR                     Document 1            Filed 01/28/25           Page 277 of 500
12/19/24,12:33 PM             Tc.colutnbia.fc   ,ail - Re; {EXTERNAL} Fwd: Medical Long-Term Disa     Application, Michael Darden, Anthem, Reply 5
                                                                                                                                    277


                    Here are the medical records you requested for last 6 months. Please let us know if you need
                    anything else.

                  Thank You,



                  Rhyzel A. | Innerspace Psychiatry
                  WRS Health | VA Services

                    Email: rhyzel.alabado@wrshealth.com
                    Phone: 510-541-2323 [ Fax: (510) 907-7966
                  www.wrshealth.com


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                   Case 4:25-cv-00911-DMR                 Document 1              Filed 01/28/25          Page 278 of 500
12/19/24,1:16 PM        Tc.columbia.edu M.    wd: Medical Long-Term Disability Application, Micha>   ●den; Fwd: Medical_Record_Request, Michael...
                                                                                                                                  278


                                                                                          Darden, Michael <mad2255@tc.columbia.edu>



  Fwd: Medical Long-Term Disability Application, Michael Darden; Fwd:
  Medical_Record__Request, Michael Darden (Psych), Anthem 4
  Darden, Michael <mad2255@tc.columbia.edu>                                                                    Thu, Mar 16, 2023 at 1:35 PM
  To: tanita.lee@anthem.com

    Hi Again, Ms. Lee:

    Terrific to speak with you by telephone yesterday. Truly appreciate receiving your gracious show of concern and attention
    regarding my Psychiatric and Medical Claims. To help facilitate your search and review of my Claims, please find
    attached my requested Medical Records and Attending Physician's Attestation, which as you can see I've provided to your
    predecessors numerous times since November 2022...

           Forwarded message
    From; Darden, Michael <mad2255@tc.columbia.edu>
    Date: Mon, Feb 6, 2023 at 12:41 PM
    Subject: Fwd: Medical Long-Term Disability Application, Michael Darden; Fwd: Medical_Record_Request, Michael Darden
    (Psych), Anthem 3
    To: <shaleea.petty@anthem.com>


    Hi Again, Ms. Petty:

    Imagine that you're busy, as am I. Follo\A/ing up. Not certain if you've received yet my below-attached message: Did
    you?!...

           Forwarded message
    From: Darden, Michael <mad2255@tc.columbia.edu>
    Date: Wed, Feb 1,2023,1:26 PM
    Subject: Medical Long-Term Disability Application, Michael Darden; Fwd: Medical_Record_Request, Michael Darden
    (Psych), Anthem 2
    To: <shaleea.petty@anthem.com>


    Hi, Ms. Petty:

    Per my voicemail of today, just checking in to learn:


         ● Do you have all records and documents that you need to consider my Medical, Long-Term Disability Application
            with Anthem?




         ● Do you need further records and documents (besides the attached information) to consider my Medical, LTD
           Application with Anthem?



    Thank you, and take care.

    Michael
    Michael Darden
    917-868-8780


            Forwarded message
    From: Darden, Michael <mad2255@tc.columbia.edu>
    Date: Tue, Dec 20, 2022 at 11:22 AM


https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=al!&permm8gicl=msg-a:r6044614543534591251&simpl=msg-a:r604461454353459...         1/3
                    Case 4:25-cv-00911-DMR                Document 1             Filed 01/28/25          Page 279 of 500
12/19/24, 1:16 PM       Tc.columbia.edu M.    wd: Medical Long-Term Disability Application, Michai   den; Fwd: Medical_Record_Request, Michael...
                                                                                                                                 279
     Subject: Medical_Record_Request, Michael Darden (Psych), Anthem 2
     To: <shaieea.petty@anthem.com>


    Attached, as requested:

     Satisfactory, please?


    Thank you and be well

     Michael
     Michael Darden
     917-868-8780



            Forwarded message
     From: Darden, Michael <mad2255@tc.Columbia.edu>
     Date: Tue, Nov 15, 2022 at 1:47 PM
    Subject: Fwd: Medical_Record_Request, Michael Darden (Psych), Anthem
    To: Verrill, Deb <Deb.Verrill@anthem.com>


    Attached, as requested:

     Satisfactory,please?


    Thank you and be well

     Michael
     Michael Darden
     917-868-8780




               Forwarded message
     From: Rhyzel Alabado <rhyzel.alabado@waitingroomsolutions.com>
     Date: Tue, Nov 15, 2022,12:25 PM
    Subject; Medical_Record_Request
    To: <mad2255@tc.columbia.edu>
    Cc: <jgiliean@innerspacepsychiatry.com>


     Hello Mr. Darden,

     Here are the medical records you requested for last 6 months. Please let us know if you need
     anything else.


    Thank You,



     Rhyzel A. | Innerspace Psychiatry
     WRS Health | VA Services

     Email: rhyzel.aiabado@wrshealth.com
     Phone; 510-541-2323 | Fax: (510) 907-7966
     w\A/w. wrshealth.com


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https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=a ll&permmsgid=msg-a:r6044614543534591251&simpl=msg-a:f604461454353459...        2/3
                    Case 4:25-cv-00911-DMR                Document 1             Filed 01/28/25          Page 280 of 500
12/19/24, 1.16 PM       Tc.columbia.edu M     wd: Medical Long-Term Disability Application, Micha   .●den; Fwd; Medical_Record_Request, Michael...

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          Darden Medical Record.pdf
      ^ 1276K




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Case 4:25-cv-00911-DMR                                    Document 1                     Filed 01/28/25                       Page 281 of 500
                                                                                                                                                              281




Anthem* Life


                                           ATTENDING PHYSICIAN’S STATEMENT

         THE PATIENT IS RESPONSIBLE FOR THE COMPLETION OF THIS FORM WITHOUT EXPENSE TO THE COMPANY

Patient's Name:            Michael Darden                                                                  Date of Birth:         0SA}S/1966

1. HISTORY
    a.    When did Symptoms first appear or acddent happen?                                                              Date:             (p«ych). lo/iaqa (phy»
    b.    Date patient ceased work because of disability                                                                 Date:
    c.    Is condition a result of patient's employment?                                                                                  n Yes      0 No
    d. Is condition due to a motor vehicle accident?                                                                                      □ Yes          No
    e.    Has patient ever had a same or similar condition? (If yes, please                                                               □ Yes      B   No
          describe.)
    f.     Names and addresses of oUier dealing physicians: See below.*

                                                                                                                                          □ Yes      B   No

    9-    Have you ever treated patient prior to this? (If yes. for what and when?)

                                                                                                                                          □ Yes      B   No
    h. Does patient have other disability coverage? (If yes, please identify.)

2. DIAGNOSIS
    a.    Diagnosis (induding any compfications):                   Chronic. bitroctaWs vestibutar tidgroirre and tinnituB: sleep apnea


    b. Sul^ctive sympU^s:                   Reports constant dlzzlnBSS and ear*rtngino; (ntonvda



    C.    Objective findings (include current X-rays, EKG's, laboratory data and any dinical data);
                            Ptiysica] tsets and evolutions continue to show paSem has the severe symptoms littad above.


3. DATES OF TREATMENT                                                                           4. NATURE OF TREATMENT(surgery, medications, etc.)
     a. Date of first visit                         Date:
     b. Date of last visit                          Date:
                                                                                                        Examinations, referrals to specialists
    c. Frequency:             □ Weekly □ Monthly ISL Other(8pedfy)
                               Aenacegeary

5. EXTENT OF DISABILITY                                                           -IMPORTANT-


    a. Are you aware of the main duties the patient performs in his/her usual work or business?                                           B Yes      Q No
    b. Are you aware of the patient's background (education, training, e)q)erienca. etc.)?                                                0 Yes      □ No

    Describe any restrictions (what your patient should not do):                          Unable to work.



    Describe any limitations (what your patient canrwt do ):                          Severe limitation of funcUonal capacity.
                                                                                      Unable to work.


6. CARDIAC (If applicable)
     a. Fundional Capadty (American Heart Association):                        □ Oass 1 (No LimItaUon)       □ Class 3 (Marked Limitation)
                                                                               □ Class 2 (Slight Limitation) □ Class 4 (Complete Limitation)
     b.     Blood Pressure (last visit):

                               /
            Systolic                  Diastolic



   *Pat(taB Suzanne Masks. MD. NaunMogisL MS AOantfo Ave. #300. Alameda. CA94S01, S10-74S-5363 telephone

   Jeffrey Sheton. MO, Neurotologlst (Mlgrainos, Vestibular (Balance) System and Tinnitus (Ear-Ringing}). Univefaity of Cslitomia, San Frarrcisco (UCSF)
    Medical Onter. 23S0 Sutter St Third Floor. San Frandseo, CA 94115.415-353*2757 lefephona

   Jerrotd Krarn. MO. Sleep Spedafist CaUfomla Centerfor SiaepDisortlera 13939E 14thSt Suite 180, San Learvlro. CA 94578.510-283-3300 teltphorta
Case 4:25-cv-00911-DMR                             Document 1                 Filed 01/28/25                           Page 282 of 500
                                                                                                                           282
7. PHYSICAL IMPAIRMENT (*As defined in Federal Dictionary of Occupational Titles)
     □ Class 1 >- No Limitation of fijnctiona) capacity; capable of heavy work* No restrictions (0-10%)
     □ Class 2 - Medium manual activity* (15-30%)
     □ Class 3 - Slight limitation of functional capacity; capable of light work* (35-55%)
     n Class 4 - Moderate limitation of functional capability; capable of derical/administrative (sedentary) activity* (60-70%)
     a Class 5 - Severe limitation of functional capacity; incapable of minimal (sedentary) activity* (75-100%)
     □ Remarks:



8. MENTAL/NERVOUS IMPAIRMENT (If applicable}
     □ Class 1 - Patient able to function under stress and able to engage In Interpersonal relations (No limitations).
     O Class 2 - Patient able to function In most stress situations and engage In limited interpersonal relations (Slight Limitation).
     □ Class 3 - Patient able to engage in only Omited stress situations and engage in limited interpersor^al
        relations (Moderate limitalion).
     □ Class 4 - Patient unable to engage in stress situations or engage in interpersonal relations (Marked limitation).
     B Class 5 - Patient has significant loss of psychological, physiological, personal and social adjustment (Severe limitation).
     Q Remarks;



     Do you believe the patient is competent to errdorse checks and direct the use of the proceeds?                                        0 Yes           D No
9. PROGRESS
     a. Has patient            D Recovered?              □ improved?             0 Unchanged?                  □ Regressed?
        If recovered, date patient able to work:         Date:
     b. Is patient             □ Ambulatory?             B House confined?                     □ Bed confined?                 □ Hospital confined?
     c. Mas patient been hospital conFmed?                                                     □ Yes 0 No
                                                                                Admitted                                     Discharged.
Rease give name and address of hospital:



     d. Do you expect any significant improvement in the future?                                               □ Yes           0 No
        (1) if yes, when will patient recover sufficiently to perform the duties of:
          (a) HIS/HER REGULAR JOB?                                          /        /                         □       1 Month             □ 1- 3 Months
                                                                 Month        Day      Year                    □       3- 6 Months         □ Never

              (b) ANY OTHER TYPE OF WORK                                        /         /                    n       1 Month             □       1- 3 Months
                                                                     Month          Day       Year             □       3- 6 Months         □       Never
         (2) If no, please explain:
        In addition to intractable, chronic migraines with vertigo and tinnitus, Mr. Darden suffers from major depression and
        generalized anxiety disorder.
     e. If you do not expect patient to be able to return to his/her occupation or any other occupation, would you support his/her
        candidacy for Social Security Disability berrefits?      0 Yes Q No

10. REHABILITATION                                                                             PATIENTS JOB                           ANY OTHER WORK
     a. Is patient a suitable candidate for further rehabilitation sen/ices?
        (i.e., cardiopulmonary program, speech therapy, etc.)                                  □ Yes            0 No                       □ Yes           0 No
     b. Can present job be modified to allow for handling with Impairment?                     □ Yes            0 No                       □ Yes           0 No
     c. When could trial employment commence?
                                                                                                     /             /                           /           /
                                                                                          mo.            day           yr.            mo.          day         yr.
                                                                                    □ Full-time           □ Part-time            □ Full-time          O Part-time

     d. Would vocational courtseling and/or retraining be recommended?                         □ Yes               0 No                    □ Yes               0 No
11. REMARKS:


 Due to psychiatric symptoms, Michael Darden has a dasslflcation of total and permanent disability (see attached, U.S. Department
 of Educalfan cQfmapondBnea) In adritlton, savBfal doctom and prpwdftfs aaa Mr. Dardart far eevera. perslstflitt rntgrBines that
 causa severe, constant vertigo and tinnitus, both of whidi ara intractabto arnt so far have faHad to respond to medicalkms and
 therapies.


Emanuel Vergis                                  MD                                  415-S2»40d9                                41S-5S2-2S09

Name of Attending Physician (Print)             Degree                              Telephone                                 Fax

One Medical. 595 Castro St                                                      San Frandsco

Street Address                                                                  City or Town

CA                                            94114

State       -                n          .    Zip Code
                                                                       —«»■

Signature                                                            Date
                 Case 4:25-cv-00911-DMR                  Document 1             Filed 01/28/25           Page 283 of 500
12/19/24, 12:36 PM                                Tc.columbia.edu Mail - Michael Darden, Medica.   bility. Application Form
                                                                                                                              283


                                                                                        Darden, Michael <mad2255@tc.columbia.edu>



  Michael Darden, Medical Disability, Application Form
  Darden, Michael <mad2255@tc.coiumbia.edu>                                                                   Thu. Mar 16, 2023 at 1:48 PM
  To: tanita.Iee@anthem.com

     Hi Again, Ms. Lee:

    As soon as possible, would you please email me a copy of the Anthem Medical Disability - Application so that 1 may send
    you back in a short while my completed, signed copy?


    Thank you and take care,

     Michael
     Michael Darden
     917-868-8780




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                    Case 4:25-cv-00911-DMR                Document 1            Filed 01/28/25          Page 284 of 500
12/19/24, 7:08 PM       Tc.columbia.edu M     wd: LT00403220/Michael Darden, Long-Term Disab.     .nthem Review Request, Attending Physician Sta...
                                                                                                                                284


                                                                                       Darden, Michael <mad2255@tc.columbia.edu>



  Fwd: LT00403220/Michael Darden, Long-Term Disability, Anthem Review Request,
  Attending Physician Statement, Certification Form, completed, signed
  Darden, Michael <mad2255@tc.columbia.edu>                                                                  Thu, Mar 16, 2023 at 9:43 PM
  To: tanita.lee@anthem.com

     Hi Once More, Ms. Lee:

    Actually, THE ATTACHED FORM is my completed. Anthem "Attending Physician Statement" that you've requested, and
    as you can again see in the email chain below, I provided to one of your predecessors months ago, also around
     November 2022: Satisfactory?...


            Forwarded message
     From: Darden, Michael <mad2255@tc.co!umbia.edu>
     Date: Fri, Nov 11,2022, 7:56 PM
    Subject; LT00403220/Michael Darden, Long-Term Disability, Anthem Review Request, Physician Certification Form,
    completed, signed
    To; Verrill, Deb <Deb.Verrill@anthem.com>
    Cc: LDCIaimsTeam <LDClaimsTeam@anthem.com>


    Attached, please find the referenced completed, signed Form;

     Satisfactory?

    And per your recent voicemail, to confirm:

     Is July 31,2023, the final date on which my psychological LTD will be active, please?

     If yes, then by what date must I provide you any further copies of my Medical Records, and what Medical Records must I
     provide you?


    Thank you, take care and Good Weekend,

     Michael
     Michael Darden
     917-868-8780




     On Fri, Oct 28,2022,1:35 AM Darden, Michael <mad2255@tc.columbia .edu> wrote:
       You're welcome. Working on returning your Physician's Certification form soon.

       Again, thanks very much
       and be well,

       Michael
       Michael Darden
       917-868-8780



       On Wed, Oct 26, 2022,10:49 AM Verrill, Deb <Deb.Verrill@anthem.c om> wrote:

          Hi there- yes, your benefits will continue and the new due date for information is 11/25/22.



https://mail.google.com/mail/u/0/?iks=16dcfadc8d&views=pt&search =all&permmsgid=msg-a;r2363857160426574497&simpl=msg-a:r236385716042657...      1/5
                    Case 4:25-cv-00911-DMR                  Document 1            Filed 01/28/25          Page 285 of 500
12/19/24, 7:08 PM           Tc.columbia.edu Mai   d: LT00403220/Michael Darden, Long-Term Disabilil   ●hem Review Request, Attending Physician Sta...
                                                                                                                                  285
          Thank yoU:




                  picture containing text, sign Description automatically
                generated




          Deb Verrill, Disability Case Manager

          Life & Disability Claims Operations

          PO Box 105426


         Atlanta, GA 30348

          OFFICE; 470-784-1964IFAX; 800-850-0017

          EMAIL; Deb.Verrill@anthem.com




          From: Darden, Michael <mad2255@tc.Columbia.edu>
          Sent: Wednesday, October 26, 2022 11;56AM
          To: Verrill. Deb <Deb.Verrill@anthem.com>
          Subject: Re; {EXTERNAL} Fwd; LT00403220/Michael Darden. Long-Term Disability, Anthem Review Request 3



          Hi;




          You're welcome. Appreciate receiving your response below. To confirm;



          Will my Long-Term Disability Payments continue without interruption while I complete these forms, or have them
          completed, signed and returned to you as soon as I possibly can, please?...




          On Wed, Oct 26, 2022, 5;12 AM Verrill, Deb <Deb.Verrill@anthem.c
                                                                         om> wrote;

                Hi there.




                Thank you.




https;//mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pl&search=a l!&permmsgid=msg-a;r2363857160426574497&simpl=msg-a;r236385716042657...          2/5
                    Case 4:25-cv-00911-DMR                Document 1            Filed 01/28/25          Page 286 of 500
12/19/24, 7:08 PM       Tc.coiumbia.edu M     ●wd: LT00403220/Mi<Siael Darden, Long-Term Disab    .nthem Review Request, Attending Physician Sta. ..
                                                                                                                                 286
             ^ A picture containing text, sign Description automatically
                generated




             Deb Verrill, Disability Case Manager

             Life & Disability Claims Operations

             PO Box 105426


             Atlanta, GA 30348

             OFFICE: 470-784-1964IFAX; 800-850-0017

             EMAIL; Deb,Verrill@anthem.com




             From: Darden, Michael <mad2255@tc.columbia.edu>
             Sent: Tuesday, October 25, 2022 4:51 PM
             To: Verrill, Deb <Deb.Verrill@anthem.com>
             Cc: LDCIaimsTeam <LDCIaimsTeam@anthem.com>
             Subject: {EXTERNAL} Fwd: LT00403220/Michael Darden. Long-Term Disability, Anthem Review Request 2



             This email originated outside the company. Do not click links or attachments unless you recognize the sender.

             Hi, Deb Verrill and Team:




             As I mentioned per my voicemail yesterday, this is the first time that I have received the attached documents. I will
             attempt to complete them or have them completed, signed and returned to you as soon as I possibly can:



             Satisfactory, please?




             Thank you and take care.



             Michael

             Michael Darden

             917-868-8780




                     Forwarded message
             From: Verrill, Deb <Deb.Verrill@anthem.com>
             Date: Tue, Oct 25, 2022. 10:31 AM
             Subject: LT00403220/Michael Darden
             To: mad2255@tc.columbia.edu <mad2255@tc.Columbia.edu>
             Cc: LDCIaimsTeam <LDClaimsTeam@anthem.com>

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                    Case 4:25-cv-00911-DMR                Document 1           Filed 01/28/25           Page 287 of 500
12/19/24, 7:08 PM       Tc.columbia.edu M.    wd: LT00403220/Michael Darden, Long-Term Disabi      ithem Review Request, Attending Physician Sta...
                                                                                                                                287


             Hello,



             Here is a copy of the letter sent to you on 9/8/22 and the forms that need to be completed. Please be sure this are
             returned within 30 days from the date of this letter.



             Thank you,




             Deb Verrill, Disability Case Manager

             Life & Disability Claims Operations

             PO Box 105426


             Atlanta, GA 30348

             OFFICE: 470-784-1964|FAX: 800-850-0017

             EMAIL; Deb.Verrill@anthem.com




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          Anthem Blue Cross Long-Term Disability, LTD extension. Physician Certification Form, completed,
          signed.pdf
https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=a ll&perTnmsgid=msg-a;r2363857160426574497&simpI=msg-a:r2363857160 42657...      4/5
Case 4:25-cv-00911-DMR   Document 1   Filed 01/28/25   Page 288 of 500
                 Case 4:25-cv-00911-DMR                   Document 1            Filed 01/28/25          Page 289 of 500
12/19/24, 12:40 PM       Tc.columbia.edu \    Medical Records Request, Anthem, Physical, Claim    cation, Determination Assessment, Long-Term D...
                                                                                                                                289


                                                                                       Darden, Michael <mad2255@tc.columbia.edu>



  Medical Records Request, Anthem, Physical, Claim Application, Determination
  Assessment, Long-Term Disability, Michael Darden 1
  Darden, Michael <mad2255@tc.columbia.edu>                                                                Tue, Mar 21. 2023 at 11:42 AM
  To: tanita.lee@anthem.com

    Attached:

     PART 1 OF 3 EMAIL TRANSMISSIONS


     Satisfactory?


    Thank you kindly, and take care,

     Michael
    Michael Darden
    917-868-8780




          Medi-Cal Medical Records Request Doctors Dr. Gillean Maska Sharon UCSF Contra Costa Sleep Center
     ^ Sutter Vestibular Therapy Michael Darden 1.pdf
          20559K




https://mail.google.com/mail/u/0/?ik=16dcfadc8d&view=pt&search=a ll&permmsgid=msg-a:r1990252262575665060&simpl=msg-a:r19902522625 7566...      1/1
Case 4:25-cv-00911-DMR                                    Document 1                             Filed 01/28/25                          Page 290 of 500




       Darden, Michael
                                                                                                                                     290
       Dato; Nov 08,2022
                                                                                                                            lnr>srspace Paychlatry
       OOB. 05A»n966.56 year cM l>«ale                                                     55 Sants Clara Ave, Sto 171, Oaktend, CA 94610-1333
       Note No,389e5203
       Printed 12:16 PM Nov IS 2022
                                                                                                       Tel: (510)641-2323     Fa.; (510)907-7966
                                                                                                                            JOHN GILLEAN. U.D.
       Uaer Location; tnnorapaca Payctaatry
        PSYCHIATRIC HISTORY & EXAM

        HPl: ’WeVe t»ar good."

        Clienl reports that he hos experienced significani migraines alw tinnilus and vertigo.
        Has started an extensive workup and has undergone a tiid of emgslily and been roterrod to a CBT provider.
        He has been seeing a neurotologiet at UCSF.

        He is also sung a former employer for ADA risaimlnelian      .




        This has been an extremely stressM process for NriL
        His brother has been homeless in MD recently which has been quHo strossful for him.
        OoBpile the above strosaors, client reports that he is Tianging in there.’


        Ho will be traveling to MO to visil Ns mother atr her 89lh bethday,

        Med updates:
        Started on emgaMy.
        General:

        General; wsl nourished, wM hydrated, no acute distress
        Psvchlalrie.
        Speech; NRRT
       Thought Procaes/Abstract Reasoning; linear, GO
       AssociatkMis: depreesrrs
       Abnormal thet^Mx; no PI, no SI/KIfVl
       Judgement & Insight: ntad
       Mental Status Sam;
       Orlentatfon: odenled to dmo, place, and person
       Memory: Intact for recent and remote events
       Attention: attends to tasks normally
       Spseeh/Languaga: eiqirossive and receptive communications skills ers WNL
       Fund of knowMge: demonstrates good fund of knowledge
       Mood 6 Affect: *hsngkig in there.* depressed, srtdous
       Comments: effect sral TP/TC are appropriate

       PRESCRIPTIONS

       Slgnaemni .ttAnWiiteht. Take 1 tablel(s) by oral route, daHyPRN anxiety .for 30 days. 30 TaNat&refins; 1-Reviewed CURES
       Diagnosis: [F43.23]


                                  Take     tablet(s) by ora] route. gKSPRN insomna. for 30dsys, 601hblet&refils;2
       Olsgnoea: [F32.2]

       bLTOftxrion HC1 XL JbO mo 24 hr tablar                ’*^m             *                                    r—
       Srefills; 2

       Diagnosis; F32-2I

                           ■tablet, Taka 1 tablel(t) by oral roulo . qHStimss porday. for 30 days. 30 TebW AieSIb: 2
       DlagneeJs: [F32^


       ALLERGIES

       Penicillins-rash


       PROCEDURES

       Office or other outpatient visit for the evaluation and management of          ●ttsbilshed patiatrt which requires a msdlcally
       appropr (99214)
       Related Diagnosis:

           ICO Code                              ICO Description
Case 4:25-cv-00911-DMR                                 Document 1                          Filed 01/28/25                               Page 291 of 500




            ICO Cod*                             ICD D«scripUon                                                                   291
                                               M#>r depressivs liisordar, single episcKle, severe withoul psyc^oCc efatures - patient
           F3i2                                rernafes grossly siaUe on tUs current reginen. althougli symptoms continue to cause
                                               morierafely signiflcant functional Impairment

           F43.23                              AjQustment dfeorder with ir«ed anxiety and depressed mood - exacerbated recently by
                                               situational slressors; conbnues lo utilze donazepsm pm with benelfe.

        AXlSftPLAN

        Wafer depressive dtsorder, sirrgle episode, severe without psychotic efatures - patient remaim grossly statkie on Ms current
        regimeii. although symptoms continue to cause moderataty signiflcant huKtlonal hnpairtnent (F32,2] (Axial)
        Plan: Continue bupropion XL 300mg daHy and trazodone SO-IOOmg qHSPRN tor Insomnia, mMazepIno 7,5-15mg qHSPRN fer
        insomnia; continue weeldy psychotherapy with Penny; maintain SOI.

        [96214] OFFICE OR OTHER OUTPATIENT VISIT FOR THE EVALUATION AND UANACEMQ4T OF AN ESTABLISHED PATIENT,
       WHICH REQUIRES A MEDICAUY APPROPR


       Adjustmant dlsordar with mixed anxlaly and depreaaed mood - exacerbated recently by Situational stressors; conUnuas to
       utilize clonazepsm pm arith benefit [F43.23] (Axisl)
        nan; Conlinuo clonazepam 0,Smg daByPRN for anxiety.

       (98214) OFFICE OR OTHER OUTPATIENT VISIT FOR THE EVALUATION AND MANAGEMENT OF AN ESTABUSHEO PATIENT,
       WHICH REQUIRES A WDICAU.V APPROPR



        SIGNATURE

       This note has not yet been signed.
       If leouired. you can add an addendum to K.
       If required, you can add a petiant anmiation to L
Case 4:25-cv-00911-DMR                                     Document 1                       Filed 01/28/25                               Page 292 of 500




       Darden, Michael                                                                                                             292
       Date: JU 01,2022                                                                                                  Imvspace Psychiatry
       OOB: 06A5/1S66.Male                                                             55 Santa On Ave, Ste 171, OaUand, CA 04610-1333
       Nota No.381044ia                                                                             Tel; (510)541-2323     Fax: (S10)M7-796e
       Printed 12:56 AM Jul 27 2022                                                                                      JOHN GILLEAN.MD.
       User Location; Inrtersoece Psydsstiy

         PSYCHIATRIC HISTORY & EXAM

         HPL Tm doing OK.*


        Client reports relative staOMy on Ms OFrent meo regmen.
        He cordinues to experience moderately signMcant symptoms although ho tools ho it managing basic AOLs wel.
        He Is mobvaied ot continue Ns current med regimen hem wNtfi he continue to report a bcnehL
        He Is steeping relafivtfy wel.
        He continues to express moderate concern about his motoer.
        He continues to report concerns about hie son wllh whom he has a strained rMatkinshlp
        General:
        General: well nourished, well hydrated, no acute distress
        PsvchlaMe:

        Speech: NRRT
        Thought Process/Abstrset Reesoning: linear, GO
        Ataociations: depressiva
        Abnormal thoughts; no R, no Sl/HWI
        JudgefTwnt&bnlght intact
        Mental Status Exam:

        Oriantallon; oriented to time, [dace, and person
        Memory: miad for recertt and remote events
        Attention: eoends ot tasks normtfy
        SpeeclYLanguege: expressivs and receptlva comiTxxilcalioia sl4ls are WNL
        Fund of knowladge: demonstrates good hvid of knowlodge
        Mood & Affect: 'OK,' depressed, anxious
        Comments: affect and TP/TC are apprcprtaie

        PRESCRlPnONS

        iraxodonesnmnt«hiw» Take 1-2tablet(t)byocalmda.qHSPRNInsomnia.tor30days,60Teblet&ref8ls:2
        Diagnosis: (F32.2]

        buafPQtonHaXL300iiio24hrMhlat.emen«i«dreieMs                Take 1 tabtoVs) by oral route. 1 time per day. atr 30 days. 30 Tablat
        &i«riiis-2

        DIagtrocis: [F32Ji]


        ALLERGIES

        PenicHllns - rash


        PROCEDURES

        Offlceorothsroutpitientvlsit fortheevaluationandinanagement of anestabllshed patient, which requires a medically
        appropr [99214]
        Related OlagrtMa;

            ICDCada                              KO DesertpUon

                                               Major depressiva disorder, sJrigle episode, severe without psychotic features - pattant
           F32.2                               ramains grossly stable on Ns currant reglman. although symptoms ccntlnua to cause
                                               modetalely signifleant functional impoirmanL

                                               Adjustment disordor with mixod anxiety attd depresaed mood - contimies to utlze
           F43.23
                                               donaz^iam pm with benefit


        AXIS & PLAN

        Haior depcecsiva disorder, single episode, severe without psychotic features ● patient remains grossly stable on his current
        regtmen, although symptoms continue ot cauee moderately significant functional hnpalnrwnt [F32.2] (Axtsl)
        Plan; Continue bupropion XL 300mg daiy and bazodone S0-I00mg qHSPRN atr atsomnla. rtMazapine 7£-lSmg qHSPRN lor
        insomnia; continue weekly psychotherapy with Penny; maintain SDI.

        [99214] OFFICE OR OTHER OUTPATIENT VISIT FOR THE EVALUATIOfl AND MANAGEMENT OF AN ESTABUSHEO PATIENT.
Case 4:25-cv-00911-DMR                                    Document 1                  Filed 01/28/25                       Page 293 of 500




                                                                                                                        293
        WHCH REOUIRES A MEDICALLY APPROPft



        [99214J OFFICE OR OTWER OUTPATIENT VlSfT FOR TWE EVALUATION AND MANAGEMENT Cff AN ESTABU5HED PATIENT,
        WHICH REQUIRES A MEDICALLY APPROPR


        [9621*1 OFFX5E OR OTHER OUTPATIENT VISIT FOR THE EVALUATION AND MANAGEMENT OF AN ESTABUSHED PATENT,
        WHK>I REQUIRES A MEDICALLY APPROPR


        Adjustment disorder wHh mixed snxJety «nd depressed mood ● continues to utifize clonsxeptm pm wttti beneftt. [F43,23]
        (AxW)
        Plan: Continue clonazepam O.Smg dalyPRN Ibr anxiety.

        (9821*1 OFFICE OR OTHER OUTPATIENT VISIT FOR THE EVALUATION AND MANAIKMENT OF AN ESTABLISHED PATIENT,
        WHCH REQUIRES A MEDICALLY APPROPR


        (69214] OFFICE OR OTHER OUTPATIENT VISIT FOR THE EVALUATION AND MANAGEMENT OF AN ESTABUSHED PATIENT,
        WHICH REQUIRES A MEDICALLY APPROPR



         SIGNATURE
       TNe note has been elecXroaicaly eigned by JOHN GiaEAN. M.D. on 12:56 AM Jui 27 2022.




       If required, you can add an addendum to it
       If roqwed, you can add a pabant annotation to it
Case 4:25-cv-00911-DMR                                          Document 1                   Filed 01/28/25                              Page 294 of 500




       Darden, Michael                                                                                                             294
       Oats: Apr 12, 2022                                                                                               Innarapsce Psychiatry
       OOB:05JOS/1966. Mala                                                            65 Ssma Ctsra Ava, Sis 171. Oakland, CA 04610-1333
       Note No.37237959                                                                           Tat (510)541-2323     Fax:(610)807-7866
       PrMetM:51PUApr12 2022                                                                                          JOHN GILLEAN. U.D.
       User Locatton: Innaspace PsycHaby

         PSYCHIATRIC HISTORY & EXAM

         HPf; *A littls bettsr, but today is a klonopin day.*


        Patiefit reports att ha has experiencad some ascartiation of his anxiety syniptoms in BgM of muHipie external stressors today.
        He has taken a clonazepam akeady today to manage this kicresse in andety


        He has been utilizino mlrtaz^ine In con'fclnstlon with trazodone seme nighb with beneflL
        He reports that many nlghls. he benefit from trazodone alona.

        He continues to tael quKe distrassed by rranagng his irathcrY care from across at courtry.
        He rtotes that 8tM> has recovered from cove but sulleced some cognitive deefine att he attrtiules to tsdaiion diasig hor Irdeciious
        panod.
        She lost about 10 Brs dAdimlnishad feeding.
        Since her return to the nursino home tnlieu. she has somewhat rapidly racovared and seems to be doing quite weU.
        Ho also reports that his brother continuos to behave in a hostile way towards him which exacerbstes at already deilcata sttuoUon with
        his mother.




        SocUhx:

        Travelling b UD to visit his mother for Easter this weekend.

        Madhx:
        Was taking QuKpla otr migraictes but found it ot make Mm dizzier ● contmes ot be otlawed by ncurclogy lor vestibular migrainss.
        General-

        General: wet nounshed, well hydrated, no acute drstress
        Pavchlalftc:

        Speech: NRRT
        Thought ProcessfAbetnua Reasoning: linear, GO
        AssoelatieRs: depressive
        Abnormal thoughts: m PI, no SVHWI
        Judgement & Inslghr. intact
        Wanlal Status Exam:

        OrfenUthHi: oriented to time, place, and person
        Memory: intact for recent and remote events
        Attention: abends to tasks normally
        Spsech/Language: expressive ami receptive communications skfila are WNL
        Fundof knowladge: demonstrates good fund of knowledge
        Mood & Affect: *A little better,* depressed, anxious
        Commsnts; aflect and TP/TC are spproptiala

        PRESCRlPnONS

        buoroplonHCTXL300mo2*hrtableL«Wtrtt«)ft)tm                                                                 sv-xn/toi,. inT,uu,u
        &rafilis:2
        Diagnosis: [F32.2}

                       0.5 mo tablat. Take 1 labiel(s) by oral roub. dalyPRN anxiety ,for 30 days. 30 TaUel Arefils: 1 - Reviewed CURES
        Diagnosia: (F43.23I


        ALLERGIES

        Pantollns - rash


        PROCEDURES

        Office or other outpatient visit (or the evaluation and management of an established patient, which requires a medically
        appropr [89214]
        RiiatedOlaonosli:

             ICO Code                                iCD Deeeriptlon
Case 4:25-cv-00911-DMR                                       Document 1                        Filed 01/28/25                             Page 295 of 500




             (CO Cod*                              (CD DMcrtpdon                                                                     295
                                                  Itajor depressive disorder, smgis episode, severe without psychodc features - patient
           F32J                                   confinues to exhibit severe depressive symplomology In fght of exiemel stressors; some
                                                  improvement In sleep qualty wfth addition of miitazapirte pm. continue to report at least a
                                                  parflal benefit from bupropion.

           F43.23                                Adjustment disorder with mixed anxiety and depressed mood - continues to And a need for
                                                 dona2spam somewhat regutarly to msnape anxi^ symptoms.

        AXIS & PLAN

        Msjor depressive disorder, sirrgla episode, severe without psychotic features - patient eonUnue* to exhibit savers depressive
        symptomelogy in lighi el external stressors; some improvetnerrt In sleep quaitty with addition of mirtazapina pm. continue to
        report at least a parttsl benefit from bupreplen- [F32.2] (Axisl)
        F^; Corbniis bupropion XL 300ms daiy and trazodone S0>100mg qHSPRN tor insomr^ mHazapine 7.S-15mg qHSPRN for
        Insomnia: condrua weeHy psychotherapy w«i Penny; milnt^ SDI.

        [99214] OPFfCE OR OTHER OUTPATIENT VISrT FOR THE EVALUATION AND MANAGEMENT OF AN ESTABLISHED PATIENT,
        WHICH REQUIRES A MEDICALLY APPROPR


        [99214] OFFICe OR OTHER OUTPATIENT VlSfr FOR THE EVALUATION AND MANAGEMENT OF AN ESTABLISHED PATIENT,
        WHICH REQUIRE A ttfOtCAU-Y AK>ROPR


        Adjustment disiwdef with mixed anxiety and dopresaed mood ● corttbiue* to find a need for donxzepam somowhat regidacly
        to manage anxiety symptoms. [F43.23] (Axial)
        Plan: Continue donazepam O.Smg daHyPRN for anxiety.

        [99214] OFFICE OR OTHQt OUTPATtOfT VISIT FOR THE EVALUATX5N AND MANAGEMENT OF AN ESTABLISHED PATIENT,
        WHICH REQUIRES A MEDICALLY APPROPR




         SIGNATURE
       This note hoe been eiedrordca*/ signed by JOHN GILLEAN. M.D.            1:51 PMApr12 2022.


                    □
       If required, you can add an addendum to IL
       If required, you can add a patient annotation to it
Case 4:25-cv-00911-DMR                            Document 1                        Filed 01/28/25                          Page 296 of 500




                                                      2022/04/12 08:37:26                  1    12                       296
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                                                                                                        ;DAn Sapanws
                                                                                                        'fci  n
                                                                                                                     e< StuMitai
                                                                                                                           *  ●



             Need Physician's Response

             Physician's Name; JOHN AL£XAwdfb nii i
                                                                                   Today’sOsta; 0*H2fJtaz
             PstJenfsNanie: MCHARDAFCOtl
             Account#: at044)5o
                                                                                   Tetephotio: (917)86A6780
                                                                                   Fax:
                                                                                           (SIO) 907-7966



            Dear Of. Giilean;


            On betiall ot_ttia US. Dacartmem of 6tucafien, wo are In fts prececs of revleMr« an mpUcaton tor a total and
           SS!]!r,- of the enckwod dsthage appllcalion. Kowevor,    audentaome
                                                                           loan oUsadons.   You c^^ad -Swalon 4- rCaldan-s
                                                                                nM)iired informaltoi was incorrptete or unclear Wo
           are not able lo complela iho proceas for this botrovrer
                                                                   unS we receive the Information IdentIliedbEr bom you
           To                   processing of the above indhrlduaTi aHVbadon. we request       you corred the InformaSor, on the


           Our fax rumber Is 303.696.5350

           If you have questions about this notrficelion, cantas us immedialBly.
           The infonriBtion we need you to fax to us is as Mows:




          Sncerely.



          NeSief Tc4bI and Pormamnt OisaUiy Sesvimr




                                                                                                                                   P01




                                                                                                     SECURED BY FAXMD.COM PAGE 1 OF 2
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                                                              2022/04/12 08:37:26                       2   /2                           297
                Applicant Name          Michael Darden
                                                                                                             AppiiantSSN        SlOfiOSO
              SECTION 4: PHYSJOAWS CEBTIRCATION
             Prim legibly and Initial any changes. Return the form to the
             applicant or repiwemaflve.                                                    «■ Oesaibethesevefityoriheapplicanesimpairment,
             Applicant Identification
              1. Provide the below Information regaiding the Individual for
                 whom you ate comptetingthlsSectioa-                                          symptoms that have only partially responded ot
                   Name _Mich^ Darden                                                         lyallabte treatments.
                  Date of Birth      5/5/1966                                          UmitatloRS

                                                                                            Explaen how the condition prevents the aj^llcant from
            Medically DetenmnaUe Physical or Mantal Impairmmt                         engaging in flfly substantial gainful activity In am field of work.
             2, OOM the applicant have a medicallv determinablp phyrfrul        or
                                                                                      Attach additional pages If needed. Enter 'WA' if not applicable.
                 mental impairment that prevents the applicant from                   You may indode addhionai information you believe Is helpful In
                 engaging In any substantial gainful actMty?                          understanding the appikanfs contflUoa such as medications or
                    Substantial gainful activity means a level of worit               procedures used to treat the condition.
                performed for pay or profit that involves doing significant
                physlal or mental activities or a combination of both. If die                ^Itations on sitting, standkiq, walkinq, or lifting;
                applicant Is able to eigage In m substantial gainful activity                 N/A
                in any field of work, you must answer ●No*.
                STm - Continue to Item 3.
                □No - Do not eompfme this appikatloa                                  a.
                                                                                            UmitatlotK on activities of dailv Dvino:
           Smrity/Duratlon of Physical or Mental knpafrmant                                 ^liwnl 8 symptoms att^ his ability ot focus,'
            S. Is^appUcanfsimpatrmentexpectrdtoresultindeath?
                                                                                            ustaln his energy level, manage complex taste
                □Yes-SWp to (tern 5.                                                        iommunioote offoctivoly wtth otooro
                0No - Continue to Hem 4.                                              9- R^dual fonetionallty:
            4. Hastheapplicanfsimpairmentlastedorlsitexpecledtolast
                                                                                             Applkam can rnanage nis ovm finances and“
               for a continuous period ofat least 60 months?                                 fend to basic tasks of daily living with the
               □Yes - Continue to Item 5.                                                   kif hio partoeft                              suppp rt
                                                                                     10.
               QNo ● Do notcomplete this application.                                       Soclal/behavloral Hmttatkms (If any):
           Disabling Conrfition                                                             )iffteulty communicating with others effectively
           Do not use iruura nee codes or abbreviations.                                    lue ot anxiety and mood symptoms.
                Provide yoia’diaqrwsis of theappHanfcirnpairment:                    11.
                                                                                            Global Assessment Fundkm Sewe (for psyehlatrte condlUonsI:
                 Major depressive disorder, severe; adjustmer I                                                                                             1
                 disorder with depression and arudety                                         48

       Physidan’s Cwtificatian
       I
           entity ihat In my best professional judgment, the applicant Wentifled ki ItemThas a medically determinable physical or mental
       impairment consistent with my responses In Items 2 through 10.
                                                                                                                                            not have a total

       I am a doctor ofr       Hmediche Qosteopathy/osteopathlc medicine
             Cairfbmta
                                                                     A141657
       state Where Legally Authorlied » Practice*"
                                                                fioresstonai License Numoer (subjea to venticatfon; stamp Is acceptably


                                                                             05/04^022                           John A Gillean
           ^^an'i'signuim l^mp Is not acceptable)                           Date (mm-dd-yyyy)                Pbysietan Name (flrst. Middle, Last}
                                                                             JgiHean@lnnBrspacepsychiatry.com                          510-541-2323
                                                                                                                                    feiephone ~
      55 Santa Clara Ave, SuHe 171, Oakland, CA 94610*"                                                                                510-907-7966
       Addtws ja stamp is acceptable)
                                                                                                                                    Rx
                                                                          Page3of8
                                                                                                                 SECURED BY FAXMD.COM PAGE 2 OF 2
Case 4:25-cv-00911-DMR                               Document 1                      Filed 01/28/25                    Page 298 of 500




    12CT/22,1:31 PM                                                 Patient Portal - health > care sutrvnanes


      PATRICIA SUZANNE MASKA, MD ● 5601 NORRIS CANYON RD STE 240, SAN RAMON CAaftft-5407
      DARDEN, Michael (id #10073, dob: 05/05/1966)


                                                                  PATRICIA S. MASKA,MD
                                                          5601 NORRIS CANYON RD STE 240
                                                               SAN RAMON, CA 94583-5407
                                                       Phone: (510) 748-5363. Fax: (925) 289-4975


             Date; 12/09/2022


             Dear Michael Darden,

             The following is a summary of your visit today. If you have any questions, please contact our o^ce.

             Sincerely,

             Patricia Maska, MD




       Patient Care Summary for Michael Darden
       Most Recent Encounter
       12/09/2022 Patricia Suzanne Maska: 5601 Norris Canyon Rd Ste 240, San Ramon, CA 94583-5407, Ph. tel;+1-510-7485363

       Reason for Visit
       Migraine with aura; Vertigo: Periodic limb movement disorder Obstructive sleep apnea syndrome

       Assessment and Plan

       The following list includes any diagnoses that were discussed at your visit.
       1. Migraine with aura
       ● migraine aura without a headache: care instructions
       * Emgality Pen 120 mg/mL subcutaneous pen injector

       2. Vertigo
       3. Periodic limb movement disorder

       4. Obstructive sleep apnea syndrome
       * sleep apnea: care instructions

       5. Reactive depression (situational)

       6. Suicidal thoughts
       * suicidel thoughts in a family member care instructions

       Discussion Note: None recorded.


       Plan of Care
      Reminders                                                                                  Provider
       Appointments           Telemedicine             on or around 02/09/2023                   Palrida Suzanne Maska, MD

       Lab                    None recorded.

       Referral               None recorded.

       Procedures             None recorded.




   http»y/33a7.portal.airienahealth-cotn/?seclion»health48ut)^c8re_suninwriBStoevkey 'My>Mea>h_Care*Sumniei1es&CSRFPROTECT»4)e4e12b 5i8d2...   1/4
Case 4:25-cv-00911-DMR                                 Document 1                       Filed 01/28/25                              Page 299 of 500




    12/27/22,1:31 PM                                                   Patient PortsJ ● heelih > care summaries

      PATRICIA SUZANNE MASKA, MD ● 5601 NORRIS CANYON RD STE 240, SAN RAMON CAr94f»3 -5407
      DARDEN. Michael (id #10073, dob: 05/05/1966)
       ftoniindere                                                                                  Provider

       Surgeries               None ercorded.

       Imaging                 None recorded.


       Current Medications


       Your medical record indicates you are on the following medicine. If this list is not consistent with the medications you
       are currently taking, or if you are taking additional over-the-counter medicines, please inform your provider.
       Name                                                                                                        Prescribed Date        Start Date

       bupropion HC1 XL 300 mg 24 hr tablet, extended erlease
       TAKE 1 TABLET BY MOUTH EVERY DAY

       clonazepam 0.5 mg tablet
       TAKE 1 TABLET BY ORAL ROUTE DAILY AS NEEDED FOR ANXIETY

       Dally Multi-Yitamin                                                                                                                01/01/2021

       Emgallty Pen 120 mg/mL subcutaneous pen injector                                                            12/09/2022
       Inject 1 mL every month by subcutaneous route for 30 days,

       mirtazapine 15 mg tablet
       TAKE 1 TABLET(S) BY ORAL ROUTE AT BEDTIME FOR 30 DAYS

       trazodone 50 mg tablet
       TAKE 1-2 TABLETS BY MOUTH AT BEDTIME AS NEEDED FOR INSOMNIA



       Medications Administered

       None recorded.


       Vitals
       Height                   Weight                               BMI                 Blood ftossure                    Pulse          Pain Seale
       5 ft 5 in Stated          156 lbs With dothes                 26.3 kg/m2          120/75 mm[Hg)                     60 bpm         9

       Results
       Lab Results




       None recorded.



       Allergies

       Please review your allergy list for accuracy. Contact your provider if this list needs to be updated.
       Code            Code System                     Name                           Reectlon                    Severity                    Onset

                                                       Penicillins


       Problems
       Netne                                                                                                   Status        Onset Date           Source

       Migraine with Aura                                                                                         Active     11/01/2021


       Vertigo                                                                                                    Active     11/01/2021

       Headache                                                                                                   Active     11/01/2021

       Srtoring                                                                                                   Active     11/01/2021


       Body Mass Index 25-29 - Overweight                                                                         Active     02/03/2022

       Neck Pain                                                                                                  Active     03/24/2022


       Suicidal Thoughts                                                                                          Active     05/27/2022



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    12/27/22.1:31 PM                                                     Patient Portal - health > care summaries

      PATRICIA SUZANNE MASKA, MD ● 5601 NORRIS CANYON RD STE 240, SAN RAMON CA,««M -5407
      DARDEN. Michael (id #10073, dob: 05/05/1966)                                                                            '300
       Nam
                                                                                                                             Or^Dm        .Ooum
        Nonspecific Paroxysmal Spell                                                                                Active   05/27/2022


        Obstnictive Sleep Apnea Syndrome                                                                            Active   08/29/2022

        Periodfe Limb Movement Disorder                                                                             Active   08/29/2022

        Elevated Blood-pressure Reading without Diagnosis of Hypertension                                           Active   08/29/2022

       Caregiver Role Strain                                                                                        Active   08/29/2022

        Persistent Postural Perceptual Ozziness                                                                     Active   10/28/2022

        Migrainous Vertigo                                                                                          Active   10/28/2022

        Reactive Depression (Situational)                                                                           Active   12/09/2022


       Procedures

       None recorded.


       Vaccine List


       Here is a copy ofyour most up-to-date vaccination list.
       Vaccina 1Vp*
       COVID-19, mRNA LNP-S, PP, 100 mcgTO.5 mUdose (Modema)
       06/26/2021
       07/17/2021



       Tobacco Smoking Status
       Tobacco Smoking Status                                                                    Never Smoker


       Past Encounters
       Encounter
                       Diagnosis                                                                 Provider
       Date

                       Migraine vrith /\ura; Vertigo: Periodic Umb Movement Disorder;            Patricia Suzanne Maska, MD: 5801 Norris
        12/09/2022 Obstructive Sleep Apnea Syndrome: Reactive Depression                         Canyon Rd Ste 240, San Ramon, CA 94583-
                       (Situational); Suicidal Thoughts                                          5407, Ph. (510)748-5363
       Demographics
       Sex:                          Male                   Ethnicity:                         Not Hispanic or Latino
       DOB:                          05/05/1966             Race:                              Black or African American
        Preferred language:          English                Marital status:                    Married


       Contact:                      1801 Shor^ine Dr, Apt 307, Alameda, CA 94501-6084, Ph. tel:+1-917-8688780

       Care Team Members
        Primary Care Provider
        Emanuel Vergis MD                         595 Castro SL San Francisco, CA 94114, Ph. te!:+1-415-2910480

        Referring Provider
        Emanuel Vergis MD                         595 Castro St San Francisco, CA 94114, Ph. tel:+1415-2910480




     Note: Patients are solely responsible for maintaining the privacy and security of all information printed from the Patient
     Portal.
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     Plan of Treatment
     Reminders                                               Order Date Submit       Provider
                                                                                                  301
                                                                                                                 Details
                                                                        Date
     Appointments PSM etteheaKh 30                           02/09/2023              Patricia Masica, MD
                                                             11:00AM

     Lab          TSH, senan or plasma                       10/28/2022 10/28/2022 One Medical Lab. 3850
                                                                                   Grand Ave, Oakland, CA,
                                                                                     94610, Ph (510) 225-1013
                  fenlfin, senim or plasma                   10/28/2022 10/28/2022 One Medical Lab. 3850
                                                                                     Grand Ave. Oakland, CA.
                                                                                     94610, Ph (510) 225-1013
     Referral     sleep medicine erferral - OSA. Pis aval    10/28/2022 10/28/2022 California Steep Center
                  forkeatmentopfons. EDS. suspected                                For Steep Disoideis, 194
                  apneas. Per pL OAT oto expensive.                                Fransisco Ln, Ste 204,
                                                                                   Fremont, CA, 94539, Ph
                                                                                   (510) 263-3300
                  oral appliance & consult erferral -        08/29/2022 08/29/2022 Berkeley Kills Dentistry.
                  Moderate OS/L Please eval for OAT.                                 1760 Solano Ave, Ste
                                                                                     309, Berkeley, CA,
                                                                                     94707, Ph (510)527-
                                                                                     9564

                  neurotologlstrefenal- MutSfectorial:       08/29/2022 08/29/2022 Ucsf Neuiotology COnic,
                  BPPV, migraine erlated verfigo, PPPD.                              2380 Suiter SL San
                  Please eval.                                                       Francisco. CA. 94115, Ph
                                                                                     (415) 353-2757
                  primary care provider erfenal - deferred 08/29/2022 08/29/2022 Bnanuel Vergis MD. 595
                  to you for BP                                                      Castro SL San Francisco,
                                                                                     CA. 94114, Ph (415) 291-
                                                                                     0480

                  vestbular therapy erferral - Vesfib        02/03/2022 02/03/2022 Alta Bates Summit
                  rehab, vertigo can be positional. May                              Outpatient Rehab Center
                  have underlying PPPD and migrainous                                And Vestibular Therapy,
                  vertigo. Menandro.                                                 5700 Telegraph Ave,
                                                                                     Oakland, CA, 94609, Ph
                                                                                     (510) 204-1788
                  nutriSonist/dietifian erfenal              02/03/2022 02/03/2022

     Procedures   None ercorded.

     Surgeries    None ercorded.

     Imaging      polysomnogram - Indeterminate HST.         05/27/2022 05/27/2022 Contra Costa Steep
                  Suspect PLMS. Need ot eval for OS/L                              Center. 2121 Ygnacio
                  Snoring. B}S. Ptcan take trazodone,                              VaUey Rd. Ste E-101,
                  remeron, clonazepam pm.                                            Walnut Creek. CA, 94598,
                                                                                     Ph (925) 935-7667

                  MRL brain      brain stem, w/o contrast-   05/27/2022 05/27/2022 Magnetic Imaging Affiliates
                  bTvoIuntsry motor acSvHy during steep                            (Mia), 5730 Telegraph
                                                                                     Ave, Oakland,
                                                                                     94609, Ph (510) 204-
                                                                                     2744

                  etectroerxrephalogram- bivolrmtary         05/27/2022 05/27/2022 Summit Medicai Center
                  motor aclivify during steep                                        (Eeg Beg Cardio), 350
                                                                                     Hawthorne Ave, Oakland,
                                                                                     CA, 94609-3108, Ph
                                                                                     (510) 869-6528
                  home steep study - EDS, suspected          12/16/2021 12/16/2021 Contra Costa Steep
                  apneas. Michael may have OSA                                       Center, 2121 Ygnacio
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                                                                                    Valley Rd.          1,
                                                                                    Walnut CfoekM5(:S4598.
                                                                                    Ph (925) 935-7667
     Medication       Emgalily Pen 120 mg/mL subcubneous 12/09/2022 12/09/2022 CVS/Pharmacy #9255
     Orders           pen injector

                      Emgali^ Pen 120 mg/mL subcutaneous 10/28/2022 10/28/2022 CVS/Pharmacy #9255
                      pen Injector

                      Quiipta 30 mg tablet                     03/24/2022 03/25/2022 CVS/Pharmacy #9255

                      Qidipta 10 mg tablet                     02/03/2022 02/03/2022 CVS/Pharmacy #9255

                      Nurtec ODT 75 mg disintegrating tablet   11/01/2021 11/01/2021 CVS/Pharmacy #9255

     PatientTargets
     Encounter Date                                       instructions                           Goals
     12/09/2022

     10/28/2022

     08/29/2022

     05/27/2022

     03/24/2022

     02/03/2022

     12/16/2021

     11/01/2021
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    12/27/22.2:54 PM
                                                                        UCSF MyChart - Visit Summaiy

                                                                                                         303
             Name: Michael Darden | DOB: 5/S/I966 ] MRN: 884B7192 ] PCP: Name Unknown Provider |Legal Name: Michael Darden



                 A Note to Patients: Symptoms are concisely summarized to inform treatment
                 recommendations. For reasons of privacy and brevity, this note does not attempt to capture
                 all experiences that were discussed.


                 Progress Notes
                 Jeffrey D Sharon at 10/11/2022 8:00 AM

                       ISublecttve
                       Michael Darden is a 56 y.o. nfiale who presents with the followng:
                       Chief Complaint
                       Patient presents with
                        ● Dizziness



                       This is an initial visit consultation requested by None Per Patient Provider
                       No address on file

                       HISTORY OF PRESENT ILLNESS:

                    Today I had the pleasure of seeing Michael Darden, who is a 56 y.o. male who was seen
                    today in the Otology Clinic for evaluation and management of Dizziness
                    The symptoms began many years ago. Patient reports that his earliest recollection of
                    vertigo symptoms was wrfien he was 6-8 years old on a night where he had gone for ice
                    cream with a family member, and when walking home looking up at the sky felt as though
                    the moon was eflling. He also recalls instances throughout his childhood wrtiere he wanted
                    to lie down and would see spots through his vision, as well as sudden bouts of dizziness.
                    During his junior year of high school, he reports having a vertigo episode during a
                    chemistry class which caused him to feel as if he was going to "fell on the floor". He then
                    saw his PCP who prescribed him Antiveit. though he was still having difficulty moving his
                    head without dizziness. These symptoms gradually subsided throughout his time in
                    college.

                    Shortly after college, he developed recurrence of dizziness. Throughout his years of
                    young adulthood, his dizziness persisted and he eventually ended up seeing Dr. John
                    Oas, whom patient states diagnosed him with a rare migraine form, noting that his inner
                    ear balance system was malfunctioning. Patient notably suffered from high amounts of
                    anxiety surrounding his dizziness, worried that he may never return back to normal. He
                    says that he has been able to keep those thoughts and feelings at bay, but states that he
                    has continued to feel efat way for some time.

                    Over efe last year and a half, he notes efat he has being experiencing increased life
                    stressore as his mother was diagnosed with dementia and he has been primarily
                    responsible for setting up her care. He also has other family members who he takes care
                    of. Patient was still working despite all of this, until he collapsed under the amount of
                    stress. He reports efat he is now not working, on disability, has generalized anxiety and
                    depression for which he is currently taking medication.
                    In November 2021, his dizziness got much worse. He now endorses constant dizziness
                    feat varies in severity each day. He uses a pain scale from 1-10 in order to categorize this,
                    noting efat it varies between a 5-6/10 on a good day and 8-9/10 on a bad day. On a bad
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                     day, he reports feeling a pinch before an episode, "sort of like there is a bug oap^ody
                     or somebody just pinched me", stating &iat immediately after he gets a heavy waryspell.
                     Other times he can hear a "whooshing sound", and immediately after will develop a
                     headache. Associated symptoms include bilateral aural pressure, constant bilateral
                     tinnitus, headache and aura. His symptoms are exacerbated by temperature changes,
                     stress, busy visual scenes, barometric pressure changes and certain foods and
                     beverages. He denies light and sound sensitivity. Of note, patient is most sensitive to
                     barometric pressure changes as well as temperature changes, noting that his heavy
                     dizziness can last up to 3 days.

                     Additionally, parent reports moderate-severe headaches that occur 4 times per week. The
                     headaches affect the entire head and are described as throbbing. He has continued to
                     experience auras which begin at the start of a headache, noting that he sees snowfeil-like
                     spots, or spinning discs 4-5x per week that can last up to an hour. His headaches are
                     exacerbated by axial head movements, busy visual scenes with motion such as driving in
                     traffic. He denies nausea during a headache. To try and alleviate his headache he will sit
                     or lie down, or converse with his husband.

                     Patient himself reports efeling that he intermittently hallucinates. He speaks of an instance
                     where he was watching TV, where the TV began rocking side to side "like it was on a
                     ship". He notes that he asked his husband whether the screen was rocking to which he
                     replied no, though this is what It looked like to the patient He states that something like
                     this can happen 1 -2x per week.

                     Treatments thus far include previous verapamil with no relief, previous Antivert with no
                     relief, previous Depakote with no improvement, previous vestibular physical therapy with
                     no improvement, prior sleep study, meditation and calming exercises, dietary
                     modifications with some improvement. More recently, he has tried Qulipta and Nurtec
                     ODT as recommended by his neurologist, Dr. Patricia Maska, but he reports that his
                     symptoms worsened seconds after, stating that he developed tightness of the head and
                     exacerbated dizziness. After the initial exacerbation of symptoms, he continued to take
                     Qulipta for a few days and noted some degree of improvement to his dizziness, though
                     not much.


                     Of note, patient's medical history includes generalized anxiety and depression, mitral
                     valve prolapse, and no other conditions reported.

                     Otologic History:
                                               Ear Infectior^?            Ear Tubes                  Ear Surgery
                      Right Ear                No                         No                         No
                      Left Ear                 No                         No                         No

                     Hearing Loss Details;
                     Michael Darden has not experienced exposure to loud sounds. There is not a family
                     history of non-age related hearing loss or a family history of vestibular disorders.
                     Vestibular Details:
                     There is not a history of accompanying symptoms that are commonly seen in Meniere's
                     disease, such as unilateral aural fullness, unilateral tinnitus, or unilateral hearing loss
                     during dizziness.

                     There is a history suggestive of BPPV, with spinning vertigo that occurs a few seconds
                     after provocative positions such as rolling over in bed. and then subsides over a few
                     minutes.


                     There is a personal history of migraine headaches. There is a possible family history of
                     migraines in his mother.

                     There is a history of migrainous symptoms during dizzy spells, including light sensitivity,
                     sound sensitivity, or headaches.

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                     There is a history of motion sensitivity.                                                     305

                     There is not a history of symptoms typical for superior canal dehiscence syndrome,
                     including autophony, hearing bodily sounds such as eyeballs moving, pulsatile itnnitus, or
                     vertigo induced by loud sounds or coughing/sneezing/straining.
                     Regarding other physiologic systems that aid in balance:
                     Vision: Normal
                     Muscle strength: Normal
                     Proprioception/sensation: Normal

                    There is a history of anxiety and depression.
                    There is not a history of head trauma.
                    There is not a history of unexplained falls.

                    Allergies/Contralndications
                    Allergen                                                                  Reactions
                      ● Penicillins



                    Medications the patient states to be taking prior to today's encounter.
                    Medication                                 Sip
                     ● buPROPion (WELLBUTRIN                   Take 300 mg by mouth daily
                        XL) 300 mg 24 hr tablet
                     ● clonazePAM (KLONOPIN) 0.5               clonazepam 0.5 mg tablet
                        mg tablet                              TAKE 1 TABLET(S) BY ORAL ROLTTE ,DAILY AS
                                                               NEEDED ANXIETY . FOR 30 DAYS
                     ● mirtazapine (REMERON) 15                mirtazapine 15 mg tablet
                       mg tablet                                TAKE 1 TABLET{S) BY ORAL ROUTE AT
                                                               BEDTIME TIMES PER DAY , FOR 30 DAYS
                     » multivitamin tablet                     Take 1 tablet by mouth daily
                     ● traZODone (DESYREL) 50 mg trazodone 50 mg tablet
                       tablet                                   TAKE 1-2 TABLET(S) BY ORAL ROUTE . AT
                                                               BEDTIME AS NEEDED INSOMNIA. FOR 30 DAYS


                    Past Medical History:
                    Diagnosis                                                                                   Date
                     ● Anxiety
                     ● Depression
                     ● Mitral valve disease



                    Surgical History

                       No past surgical history on file.



                       Family History
                       Problem                                       Relation             Name                  Age of
                                                                                                                Onset
                        * Diabetes                                   Mother
                        ● Dementia                                   Mother
                        ● Heart afilure                              Father




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    12/27/22, 2:54 PM                                                    UCSF MyChad - Visit Summafy


                                                                                                                      306
                        Social History
                        Tobacco Use
                         ■ Smoking status;                Never Smoker
                         ● Smokeless tobacco:             Never Used
                        Substance and Sexual Activity
                         * Alcohol use:                  Never
                         ● Drug use:                     Never



                        Review of Systems:
                        A comprehensive 14-point review of systems was documented in Uie new patient
                        questionnaire and reviewed. Please see this and HPI.

                        All other systems were reviewed and are negative.
                        lOblective

                        Vitals
                                        10/11/22 0805
                        PainSc:         0

                        There is no height or weight on file to calculate BMI.
                        PHYSICAL EXAM:

                        Constitutional:
                        The patient is nonnally developed and has no obvious deformities,
                        he is in no distress.

                        Ears, nose, mouth and throat
                        Voice is normal.
                        We were able to communicate well in English
                        There were no lesions of the head or efce.
                        There was no sinus tenderness.
                        Salivary giand contours were normal.
                        The patient is wearing a surgical mask, therefore due to COVID some of the exam is
                        defen'ed.


                        Otologic and Neurotologic Exam:
                        The auricles had no lesions.

                        Tuning fork testing at 512 Hz:
                        The tuning fork in air (Schwabach test) is heard on either side with no preference.
                        Weber tuning fork test on the skull is heard wifoout preference.
                        Rinne tuning fork testing (where normal is air conduction (AC) being heard > bone
                        conduction (BC)):
                        On the right side; AC > BC
                        On the left side: AC > BC


                        Otoscopic examination:
                                 On the right side:
                                 The external auditory canal is patent.
                                 Cerumen is obstructing and was removed today.
                                 Skin of the external auditory canal is healthy.
                                 The tympanic membrane is in good condition/position and appears mobile.
                                 The middle ear is well aerated.

                                 On the left side;
   nilpsy/u(SfrTiych3ftix$fme<f>(»Jc8ntor.(y^CSFMyCAafVinsi(le.asp?mc)de=vtsi>surnmaiy&submo(te=r>o(esScsn=WP'240N(5WPiclFCHTXc2rti VNAn...   4/16
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                               The external auditory canal is patent
                               Cerumen is obstructing and was removed today.                                      307
                               Skin of itle external auditory canal is healthy.
                               The tympanic membrane is In good condition/posifon and appears mobile.
                               The middle ear is well aerated.

                      Oculomotor examination:
                      Primary gaze alignment was normal.
                      Extraocular movements were conjugate and full.
                      Smooth pursuit was intact and normal appearing for age.
                      Saccades were promptly initiated, were accurate, and of normal velocity.
                      Vergence was intact for near-target viewing.
                      Vestibular examination:
                      There was no spontaneous or gaze-evoked nystagmus.
                      The visual-vestibulo-ocular reflexes elicited by slow horizontal, vertical, and roll head
                      movements were normal.


                      Head impulse testing: The vestibulo-ocuiar reflexes were elicited by rapid, rotary head
                      mpulses (head thrusts) in the planes of the horizontal semicircular canals. Results were:
                       Side         Horizontal Canal
                       Right        occasional catch up
                                    saccades
                       Left         clear catch up saccades
                                    each time

                      The vestibulo-ocuiar reflexes for head thrusts were also tested in the planes of the vertical
                      semidrcular canals. Results were:
                       Side         Superior Canal                  Posterior Canal
                       Right        catch up saccades               normal
                       Left         catch up saccades               normal



                      Neurologic examination
                      On neurological examination, he was awake, alert, and fully oriented.
                      Mood and affect were normal.
                      Cranial nerves; CIX, CX, and CXll testing was deferred due to COVID.
                              II: Visual acuity not examined, grossly normal
                               III, IV, VI: Normal extraocular movements
                               V: Normal facial sensation bilaterally
                               VII: Facial muscle strength appeared normal and symmetric, without spasms or
                      synkinesis.
                               VIII: See above fiar tuning fork and head impulse testing
                               XI: Normal and symmetric shoulder shrug and head turn
                      The patient arose from a chair and ambulated without difficulty.

                      Cerebellar examination showed normal finger to nose to finger movements, fine finger
                      movements, rapid alternating hand movements, and heel-knee-shin movements.

                      Other organ systems
                      Neck: The neck had ftjll range of motion, midline trachea, and no thyromegaiy.
                      Respiratory: Respiratory excursions demonstrated symmetric expansions without use of
                      accessory muscles.
                      Lymphatic: There was no cervical or supraclavicular adenopathy.
                      Skin: The skin was appropriately warm and dry.
                    Psychiatric: Mood and aflect were normal.

                    Dix Hallpike:
                    Right negative

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                      Left negative
                                                                                                                                                                                  308
                      Functional Balance Testing (timed balance tests)
                                  - Romberg efet together arms crossed eyes open: 15 seconds
                                  ● Romberg efet together arms crossed eyes closed; 15 seconds
                                  -Romberg eyes open tandem gait; Able to perfomi
                      REVIEW OF PRIOR TESTING:
                      Audiogram:
                      Review of audiometric testing from 10/6/2022 shows High frequency sensorineural
                      hearing loss, unilateral for the right ear and normal hearing sensitivity for the left ear.:

                                                                       AUDKH.OGY CUNC                                                          ua7192


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                                                                                                                             HCOATrvtCfdOCHZ




                                    OlOiBA.Tvi«I
                                                                                           AU27&2




                      Imaging:
                                  MRI Brain (perfoimed on 7/11/2022):
   htlpsy/ucsfmychart.ucsfrnedicaJcanlBr.<xsfUCSr=MyCh8rt/in»kje.3s p?mo<Je=visitSummaryS5ubmo<Jo=f>ol88ScBn»WP-240N<JWPtolFCKTXc2rtiVr4An.,,                                                  8/18
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    12/27/22,2:54 PM                                                                     UCSF MyChart - Visit Summary
                        MRIofth»bnmOn 7/11/M22 9:58 AM

                        COMPARJSON: Norw
                                                                                                                                                  309

                        CLINICAL HISTCAV; Involunuiy fflster ictivity during sl«(p
                        TECHNIQUE;
                        3T


                        Brjin;s»grtt*lT1, *xi»IT2fSE «n*l Tt, ttui diffusion, s«gitUI3-D FLAIH tut)e, ixui Swan soquerKSS Of the brain w«re obUin«d-

                        fiNOiNGS: The ventiicies and the cerebral sula ate normal m see. Smal scattered primarJy deep and periventricular fed of flair
                        hypenntensrty are present compatible witfi very mild chronic smal vessel ischemia. No evidence of T2 hyperintensity is seen in the
                        cerebedum.


                        No evidervce of an acute infarct is seen. No definite Wood product is identified. No evidence of a discrete large mass is seen.

                        The vKuaiized paranasal sinuses artd the mastoid air cells are wen-aerated.


                        IMPRESSION:

                        1. Very mild chronic small vessel ischemia.
                        2. No evidence of an acute infam.

                                  CT: not performed


                       [Assessment and Plan

                       IMPRESSION:



                       /Vssessment/Plan


                       Vestibular hypofunctlon, unspecifled laterality
                                  Referral to Balance Center - VNG; Future

                       Vestibular migraine
                             -    Referral to Balance Center - VNG; Future



                       Mr. Michael Darden is a 56 y.o. male with a history of generalized depression and anxiety,
                       obstructive sleep apnea, and mitral valve prolapse, who has a history of vertigo and
                       feeling hallucinations where the world is moving, shaking, swaying in some way or
                    another for as long as he can ermember. His earliest memory was the moon aflling.
                    Together with that, he gets frequent headaches which can be moderate-severe, throbbing,
                    and stop him from doing daily activities, associated frequency with seeing spots, which
                    can be sparkly spots in his vision which last for minutes to an hour at the onset of a
                    headache. He does not have light and sound sensitivity with either vertigo or headaches.
                    He has seen quite a few physidans for this over the years induding a few neurologists,
                    and did have a VNG test at some point which he recalls made him feel terrible, and he
                    was told that there were some abnormalities on it This weis performed by Dr. Oas in the
                    90's. He has tried some medications induding verapamil which did not seem to help,
                    Depakote which did not seem to help; more recently he has been treated with Nurtec ODT
                    and Quiipta which initially made the dizziness worse, and the Quiipta made it better after
                    a period of fime, but it is undear what the ottal of its effects were, but it was not clearly in
                    the positive direction. He has also tried physical therapy for the balance system, and he
                    has also tried lifestyle changes to try and decrease stress amongst other things. Currently,
                    things that can trigger or worsen the dizziness which is there every day in some degree is,
                    stress, barometric pressure changes, busy visual scenes, traffic, grocery stores, certain
                    foods, and a poor night's sleep. On our exam, we do see some deficiency of the vestibulo-
                    ocular erflex, espedally on the left-sided vestibulo-ocular reflex. He did have an
                    audiogram which showed a slight asymmetry in his hearing between ote two ears at high
                    frequencies with ote right ear l»ing worse. He also had more than one MR, which have
                    failed to show abnotmalities.

   https ://uc»fmyct>aftucsfmo<ta»Jc»nl«f.of9/UCSFMyChafVln*>do.a»p 7fno<(»«vTSjl»ufmn«<yaaubmo<le-nole84esn=WP-240N<lVrt»ldFCHTXc2r bVNAn..,                  7/18
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        made him feel tem'ble in the past, but the other portions of the testing will provide us with
        more insight as to how the vestibular system is ftmctioning, plus how the brain is
        responding to the changes, as well as the migraine side of things. I explained that thg d Q
        treatments are a bit different for the vestibular side of things compared to the brain side or
        things, and the migraine side of things. In the interim, I recommended that he consider
        cognitive ethavioral therapy, as stress and anxiety are ever-present for him. As such. I
        have provided patient virith Linda Centore's contact information.
        1 explained that we know that there is a weakness of the left vestibular system, which is
        our first diagnosis. In etrms of other diagnoses, he would meet the crtteria for Persistent
        Postural-Perceptual Dizziness (PPPD), and vestibular migraine, though I am unsure
        about whether he would meet the official criterta, because he does not have light and
        swnd sensitivity wifo his headaches, iwr nausea. I do believe that he has vestibular
        migraine, and explained that the criteria does not necessarily change my mind about this,
        f explained to patient that wrtiile he would not qualify for the Emgality clinical trial given the
        above criteria, however dependent on the testing we may be able to consider this in the
        future, as the medication is FDA approved.

        For now, we vrill proceed with VNG etsting. At our next visit, we can determine whether we
        want to try migraine medications, or trial some newer vestibular migraine therapies. I
        explained to patient that he should have someone drive him to the VNG testing, which he
        expressed understanding of. I have provided him with an informational handout further
        detailing vestibular migraine. Patient is in agreement with this plan, and all questions were
        answered today.

        FOLLOW-UP: 3 months or earlier if symptoms change, fail ot improve, worsen, or if any
        additional questions need to be answered.




       Jeffrey D. Sharon, MD

        I, Alexis Garcia-Velasquez am acting as a scribe for services provided by Jeffrey D
       Sharon, MD on 10/11/2022 8:17 AM

       The above scribed documentation as annotated by me accurately reflects the services I
       have provided.
       Jeffrey D Sharon, MD
       10/13/2022 3:45 PM




     Patient Instructions

     Jeffrey D Sharon at 10/11/2022 8:00 AM
       The we^ite tor unaa uentore Knu is http://www.lindacentore.com/. Through the
       site, you contact her directly for an appointmenL
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                                                                                                 311
                     Name: Michael Darden [ DOB: S/5/19661 MRN: 884371921PCP: Name Unknown Provider




         A Note to Patients: Symptoms are concisely summarized to inform treatment
         recommendations. For reasons of privacy and brevity, this note does not attempt to capture
         all experiences that were discussed.



         Progress Notes
         Min Kyeong Kim at 10/27/2022 2:00 PM

              Attestation signed by Michelle Kristine Deblauw at 11/7/2022 10:14 AM
              ATTESTATION:
              My date of service is 10/27/2022. I have reviewed the note of Min Kyeong Kim
              dated 10/27/2022. and I agree with the findings and care plans as documented.

              Michelle DeBlauw, Au.D.
              Clinical Audiologist

                                           UCSF Balance ar>d Falls Center
                                             2380 Sutter St., First Floor
                                           San Francisco, CA 94115-0340
                                               Phone: {415) 353-2101
                                                Fax: (415) 353-2883

          Patient:              Michael Darden
          MR Number             88487192
          Date of Birth:        5/5/1966
          Date of Service:      10/27/2022

          Primary MD:           Name Unknown Provider
          Referring MD:         Sharon. Jeffrey D, MD
          Rendering Prov.:      Michelle Kristine Deblauw, AUD

                                             VESTIBULAR EVALUATION


         HISTORY:
         Michael Darden a 56 y.o. male was seen at the University of California San Francisco
         Balance and Falls Center in the Division of Audiology for a Vestibular / Balance evaluation.
          Mr. Darden presented to clinic today with the following history:

         Chief Complaint
          ● Problem: Rocking and spinning sensation beginning many years ago.
          ● Symptoms: Michael Darden is a 56 y.o. male seen today for a vestibular/ balance
             evaluation due to vertigo, tinnitus, and imbalance.

             Today, the patient characterized dizziness as 'constant feeling of imbalance, rocking,
             spinning sensation along with the irnging sounds (especially in his right ear) and visual
             sports floating occasionally*. Denied family history of non-age related hearing loss or a
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           family history of vestibular disorders.                                          312
           Below is the case history is taken from notes on 10/111ll from visit with Dr. Sharon in
           OMNS:


           The symptoms began many years ago. Patient reports that his earliest recollection of
           vertigo symptoms was when he was 6-8 years old on a night where he had gone for ice
           cream with a family member, and when walking home looking up at the sky felt as
           though the moon was falling. He also recalls instances throughout his childhood where
           he wanted to lie down and would see spots through his vision, as well as sudden bouts
           of dizziness. During his junior year of high school, he reports having a vertigo episode
           during a chemistry class which caused him to feel as if he was going to fall on the
           floor'. He then saw his PCP who prescribed him Antivert, though he was still having
           difficulty moving his head without dizziness. These symptoms gradually subsided
           throughout his time in college.

           Shortly after college, he developed recurrence of dizziness. Throughout his years of
           young adulthood, his dizziness persisted and he eventually ended up seeing Dr. John
           Oas, whom patient states diagnosed him with a rare migraine form, noting that his inner
           ear balance system was malfunctioning. Patient notably suffered from high amounts of
           anxiety surrounding his dizziness, worried that he may never return back to normal. He
           says that he has been able to keep those thoughts and feelings at bay, but states that he
           has continued to feel that way for some time.

           Over the last year and a half, he notes that he has being experiencing increased life
           stressors as his mother was diagnosed with dementia and he has been primarily
           responsible for setting up her care. He also has other family members who he takes
           care of. Patient was still working despite all of this, until he collapsed under the amount
           of stress. He reports that he is now not working, on disability, has generalized anxiety
           and depression for which he is currently taking medication.

           In November 2021, his dizziness got much worse. He now endorses constant dizziness
           that varies in severity each day. He uses a pain scale from 1 -10 in order to categorize
           this, noting that it varies between a 5-6/10 on a good day and B-9/10 on a bad day. On a
           bad day, he reports feeling a pinch before an episode, 'sort of like there is a bug on my
           body or somebody just pinched me', stating that immediately after he gets a heavy dizzy
           speli. Other times he can hear a 'whooshing sound', and immediately after will develop a
           headache. Associated symptoms include bilateral aural pressure, constant
           bilateral tinnitus, headache and aura. His symptoms are exacerbated by temperature
           changes, stress, busy visual scenes, barometric pressure changes and certain foods and
           beverages. He denies light and sound sensitivity. Of note, patient is most sensitive to
           barometric pressure changes as welt as temperature changes, noting that his heavy
           dizziness can last up to 3 days.

           Additionally, patient reports moderate-sevo% headaches that occur 4 times per week.
           The headaches affect the entire head and are described as throbbing. He has continued
           to experience auras which begin at the start of a headache, noting that he sees snowfall-
           like spots, or spinning discs 4-5x per week that can last up to an hour. His headaches are
           exacerbated by axial head movements, busy visual scenes with motion such as driving
           in traffic. He denies nausea during a headache. To try and alleviate his headache he will
           sit or lie down, or converse with his husband.

           Patient himself reports feeling that he intermittently hallucinates. He speaks of an
           instance where he was watching TV, where the TV began rocking side to side Tike it was
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            on a ship’. He notes that he asked his husband whether the screen was rockingtij 3hich
            he replied no, though this is what it looked like to the patient. He states that something
            like this can happen 1 -2x per week.

            Treatments thus far include previous verapamil with no relief, previous Antivert with no
            relief, previous Depakote with no improvement, previous vestibular physical therapy with
            no improvement, prior sleep study, meditation and calming exercises, dietary
            modifications with some improvement. More recently, he has tried Quiipta and Nurtec
            ODT as recommended by his neurologist. Dr. Patricia Maska, but he reports that his
            symptoms worsened seconds after, stating that he developed tightness of the head and
            exacerbated dizziness. After the initial exacerbation of symptoms, he continued to take
            Quiipta for a few days and noted some degree of improvement to his dizziness, though
            not much.


            Of note, patient's medical history includes generalized anxiety and depression, mitral
            valve prolapse, and no other conditions reported.

            Patient has a history of generalized depression and anxiety, obstructive sleep apnea, and
            mitral valve prolapse, who has a history of vertigo and feeling hallucinations where the
            world is moving, shaking, swaying in some way or another for as long as he can
            remember. His earliest memory was the moon falling. Together with that, he gets
            frequent headaches which can be moderate-severe, throbbing, and stop him from doing
            daily activities, associated frequently with seeing spots, which can be sparkly spots in
            his vision which last for minutes to an hour at the onset of a headache. He does not
            have light and sound sensitivity with either vertigo or headaches. He has seen quite a
            few physicians for this over the years including a few neurologists, and did have a VNG
            test at some point which he recalls made him feel terrible, and tie was told that there
            were some abnomialitles on it. This was performed by Dr. Oas in the 90‘s. He has tried
            some medications including verapamil which did not seem to help. Depakote which did
            not seem to help; more recently he has been treated with Nurtec ODT and Quiipta which
            initially made the dizziness worse, and the Quiipta made it better after a period of time,
            but it Is unclear what the total of its effects were, but it was not clearly In the positive
            direction. He has also tried physical therapy for the balance system, and he has also
            tried lifestyle changes to try and decrease stress amongst other things. Currently, things
            that can trigger or worsen the dizziness which is there every day in some degree is,
            stress, barometric pressure changes, busy visual scenes, traffic, grocery stores, certain
            foods, and a poor night's sleep. On our exam, we do see some deficiency of
            the vestlbulo-ocular reflex, especially on the left-sided vestibulo-ocular reflex. He did
            have an audiogram which showed a slight asymmetry in his hearing between the two
            ears at high frequencies with the irght ear being worse. He also had more than one MR,
            which have failed to show abnormalities. ’
          ● Duration of symptoms: Constant.
          ● Recurrent episodes: Yes, everyday constant
          ● in between ^isodes: No asymptomatic periods
          ● True vertigo: Yes, spinning sensation both room and himseif.
          ● History of falls: No
          ● Nausea and/or vomiting: No, but nauseous.
          ● Precipitating/ exacerbating factors: Stress, barometric pressure changes, busy scenes,
            some spicy food.
          ● Alleviates symptoms: Meditation, anti-anxiety medications
          ● Previous treatment(s): Meditation, anti-anxiety/vertigo/migran e medication, vestibular
            therapy
          ● History of migraines: Yes. personal history of migraine headaches. Also has a history
            of migrainous symptoms during dizzy spells, including light sensitivity, sound sensitivity.
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              or headaches. There is a possible family history of migraines in his mother.   314
          Ear and Hearing History:
           ● Loss of hearing: Audiogram dated 10/6/2022 showing right sided miid high frequency
              sensorineural hearing loss and left sided normal hearing sensitivity. There is a 15-30 dB
              asymmetry R>Lfrom 2000-8000 Hz.
           ● Tinnitus: Yes in the irght
           ● Pressure / fullness in the ear(s): Present everyday, vary by the severity.
           ● Earinfections, earaches, or ear pain: No
           ● Hole In the eardrum: No
           ● Ear operations / surgery: No
           ● Noise exposure: No.
           ● Fluctuant hearing with episodes; No, but bothered by tinnitus
           ● Otologic symptoms associated with episodes: Yes tinnitus and aural fullness would
             onset when the episodes take place.

          Additional Medical History:
          There is no problem list on file for this patient.


          Past Medical History:
          Diagnosis                                                                      Date
           ● Anxiety
           * Depression
           * Mitral valve disease



          Mr. Darden reportedly did not take medications within 48 hours of testing, and did not
          consume alcohol or caffeine within 24 hours of testing.

          DIZZINESS HANDICAP INVENTORY:
          The Dizziness Handicap Inventory (DHI) is a useful measure designed to evaluate the self-
          perceived handicapping effects imposed by a patient's dizziness. Mr. Darden scored a 100
          on the DHI. suggesting a severe handicap.

          AUDIOLOGIC EVALUATION: *For internal providers see audiogram in PROCEDURES tab. For
          external providers see attached audiogram.

           ● Otoscopic Evaluation:
                   ● Right Ear TM visualized
                   ●   Left Ear TM visualized

         VESTIBULAR RESULTS: See below for test details. Vestibular data available upon request,
          or can be viewed in SCANNED DOCUMENTS.

          IMPRESSIONS:
               7. PERIPHERAL Post-headshake nystagmus Is a peripheral finding. In isolation, clinical
                 significance is unknown. Normal VNG, VHIT, Rotary Chair, cVEMR and oVEMP
                  bilaterally. No other peripheral vestibular indications noted.
               2. CENTRAL; High gain during visual enhancement is a central findings. Of note,
                 this results may be seen in those with migraine and/or motion sensitivity. No other
                 central indications noted.
               3. BPPV: There were no objective indications for Benign Paroxysmal Positional Vertigo.
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          RECOMMENDATtONS:
                                                                                                 315
          1. Results to referring physician for review and further recommendations.
          2. The patient would be considered an appropriate candidate for a vestibular and balance
          rehabilitation.
          3. Recommended patient consider tinnitus clinic.

          VESTIBULAR SUBTEST RESULTS:
                                        Normal      Abnormal                     Comments
           GAZE W/FIXATION                 X
           GAZE W/0 FIXATION               X
           SACCADES                        X
           VISUAL PURSUIT                  X
           OPTOKINETICS                    X
           HEAD SHAKE                                    X        LBN 2d/s
          DIX-HALLPIKE TESTS:
                                Right      X
                                 Left      X
          CANALITH REPOSITIONING PROCEDURES: None indicated

          POSITIONS (STATIC) with Vision Removed:
                                        Normal      Abnormal
            Supine                         X
            Head Right                     X
            Head Left                      X
            30 Degree Incline          X
          RBN = Right-beating nystagmus                         UBN = Up-beating nystagmus
          LBN = Left-beating nystagmus                          DBN = Down-beating nystagmus

          Patient decline caloric testing as he has previously done it and did not want to do this again
          due to discomfort.

          ROTARY CHAIR:
                                        Normal      Abnormal                     Comments
           SiNUSOIDALS
                                Gain      X
                               Phase      X
                         Symmetry         X
             Visual Enhancement                          X        High gain at Q.D8 Hz.
              Visual Suppression          X
           TRAPEZOIDALS
            too dps
                                Gain      X                       Rightward rotation: 0.68
                                                                  Leftward rotation: 0.665


                                                                  Symmetry: 1.12% higher rightward
                                                                 gam
                   Time Constant          X                       Rightward rotation: 12.075 s
                                                                  Leftward rotation: 20.185s


                                                                 Symmetry: 25.14% higher leftward
                                                                 time constant
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                                                              (<30% asymmetry is conside0<^ 0
                                                              normal)

                                       Normal    Abnormal                    Comments
           Gain
                      Right Lateral       X
                       Left Lateral       X
                     Right Anterior       X
                      Left Anterior       X
                    Right Posterior       X
                     Left Posterior       X
          *Note, we do not consider gain to be abnormal unless otherwise noted. High gain likely due
          to goggle slippage.

          Cervical Vestibular Evoked Mvooenlc Potential fC-VEMP):
                                       Normal   Abnormal                   Commerrts
           PEAK TO PEAK
           AMPUTODE (UV)
            Right                        X                   204.8 pV
            Left                         X                   240.0 uV
           LATENCY (msec)
            Right                        X                   PI: 14 ms
                                                             NT: 19.33 ms
            Left                         X                   PI: 13.33 ms
                                                             Nl: 19.67 ms
           THRESHOLDS
           (dBnHL)
            Right                        X                   80dBnHL
            Left                         X                   80dBnHL
           Intern ural Amplitude         X                   8% stronger irght response (<35%
           Asymmetry Ratio                                   asymmetry is considered normal;
                                                             10% stronger irght response noted
                                                             with EMG scaling which is still a
                                                             normal response)

          Ocular Vestibular Evoked Mvoqenic Potential fO-VEMP):
                                      I Normal | Abnormal"               Comments
           PEAK-TO-PEAK
           AMPLITUDE (uV)
            Right                        X                  5.973 uV
            Left                         X                  7.948 pV
           LATENCY (msec)
            Right                        X                  Nl; 10.33 ms
                                                            PI: 14.33 ms
            Left                         X                  N1;11.00 ms
                                                            PI: 14.33 ms
           Interaural Amplitude          X                  14% stronger irght response (<3S%
           Asymmetry Ratio                                  asymmetry is considered normal;
                                                            21 % stronger left response noted
                                                            with EMG scaling which is still a
                                                            normal response).
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                                                                                                      3AZ
           4000 Hz
            Right                         X
            Left                          X




          Tcxlay's results and treatment plan were discussed with the patient wtth regard to their
          specific complaints. The patient was given the opportunity to ask questions and was
          answered appropriately.

          Min Kyeong Kim, B.S
          RPE Audiologist #16800

          Future Appointments
          Date              Time                 Provider             Department             Center
          10/27/2022         2:00 PM             Michelle Kristine    BALSOl                 All Practice
                                                 Deblauw, ADD
          1/31/2023          1:40 PM             Jeffrey D Sharon, OHMS OTO                  All Practice
                                                 MD




          CC: Name Unknown Provider; Sharon. Jeffrey D, MD;

         Min Kyeong Kim at 10/27/2022 2:00 PM
          Please see note from same date.




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                                                                                                      318




         ^Health
       AUDIOLOGY CLINIC                                                        TINNITUS NEW PATIENT FORM
          Mlcha^ Darden                                         05/05/1966                                   56

       Name                                              Date of Birth                                       Age
              12/8/2022                                         UCSF Balance and Falls Center physidans?
       Today’s Date                                      Referred By
               917-868-8780
                                                                917-868-8780
       Daytime Phone                                     Home Phone


       When did you first experience tinnitus? As a child (8 years old)?


       How long have you tinnitus in its present form?      1       Years              1
                                                                                            Months
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                                                                                                        319




   Where is your tinnitus primarily located?
             Left ear                  V'   Right Ear            Both ears equally                Head
  Other (please e>q>Iain):

  Using the scale below, indicate the loudness ofi
            0           1          2        3      4      5      6       7            8    9       10
           None             Mild                   Moderate                  Severe        Excruciating
     9      Your tinnitus right now
      7     Your average tinnitus
     10     Your tinnitus at its worst
       3    Your tinnitus at its least

  Using the scale below, indicate the pitch of your tinnitus. It might help to imagine the scale as if it were a
  piano keyboard.
            0           1          2        3      4      5      6      7             8   Q1       10
           Low pitch                                      Mid pitch                       High pitch

  Tlie loudness of your tinnitus is (check one):
          Fairly constant from day to day
         —Fluctuates widely, being ve^ loud some days and very mild other days
     V      Usually constant but occasionally decreases markedly
            Usually constant, but occasionally increases markedly
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                                                                                                                   320
             Does your tinnitus appear worse (check all that apnJv)-
               ✓          When tired
               ^          When tense or nervous
                >/        At bedtime
                       After use of alcohol
                       Upon awakening
               y       When relaxed


            Chwk all items below that describe the sound of your tinnitus.'
               y       Hissing
                   ./-Ringing
                      Cricket-like
                      Whistle
                V     Steam Whistle
                      Pounding
                      Pulsating
                      Bells
                      Clanging
                      Buzzing
                      Sisling
                      Clicking
                      Ocean roar
                      High tension wire
                      Other


            To what extent are you bothered or annoyed by your tinnitus?
                      0
                    Notbotiiered
                                 1      2
                                             Mild
                                                    3     4      5         6       7            8
                                                                                                       CD     10
                                                          Moderate                     Severe           Extreme

            When are you aware of your tinnitus?              Constantly



            What percentage oftfie time are you bothered         your tinnitus?           Constantly


        Is there a time of d^ when your tinnitus is most troublesome to you?
                 At woric (i.e.. paperwotK, such as competing healthcare forms)
           V In morning
               ^     In evening
                     .When trying to concentrate
                     .At social activities
                     .Around noise
                     .Olher:


        Do you consider yourself to be a tense person?            No Ortiyaftermymigrainesandtinnitusseverelywofsened (asprevlousty
                                                                  deserfoed) have 1 consktered myself to be a *tense' person.

        Do you efel that emotional or physical stress worsens the tinnitus?                 Yes. Both




        5

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            How does your tinnitus interfere with your activities?;
            Concentration:            Completely.
            Work/Chores:_        Completely.
            Family;     Completely.
            Religious Activities:.      Completely.
            Social/Recreation:  Compiafiiy
            Exercise:  Compl^ely.
            Sleep: Completely.
               Does the tinnitus prevent you from fallingasleep? Sometimes.
               Does the tinnitus awaken you from sleep? SomeMmes.
               Are you able to fall back asleep, once awakened?                          Mxneumes.

         Other: My itnnitiw niifts the quality of mv life and robs me of a decent Quality of life.

         Do you have a hearing loss?                       .Yes (in my irght ear)                 _No

         Which is more of a problem for you, the hearing difficulty oryourtinnitus?
                    Hearing difficulty                \/ Tinnihis                                 .Not sure

         Have you been exposed to loud noise?                        Yes                          No
         If so, w^ien?
                   Military service
                 ^Work
               \/ Recreation (Over about a decade or 2 ago. I rarely stood near loud speakers for 1-2 hours, during music concerts or parties.)
                   Other

         Do you wear ear protection in the presence of loud sounds?                               Yes                     n/     No
         If yes, how often do you wear ear protection?             Not aopr»<-«»ne: Tm rarely Ifi the presence of loud aourvls.

         Have you ever worn a hearing aid?               .Yes                               \/ No
                If yes, do you currently wear it (them)?                      .Yes                          .No

                                                                                                        Not appUcaUe.
         if you are a hearing aid user, how does the hearing aid affect your tinnitus?
                   Makes tinnitus softer                    Makes tinnitus louder                 No effect


         Are you adversely affected by loud sounds?                 .Yes                             \J     No
                Please explain:       rm rarelv in the presence of loud squtkIs.


        How would your life be different if you didn’t have tinnitus?
                                                                                     I'd have a decent quality of life.


        Have you discussed your tinnitus with friends or efmily members?                                    .Yes               .No
        What was their reaction?                    PHv ftmfwthv and fnjstraflon concerning the Intractability of my tinnitus.

        Are there other family members or friends who suffer from tinnitus?                                 .Yes          \/    No
        Do you live alone?               >/ Yes                              .No




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         Treatment History:

         Please list all evaluations and/or treatments (including psychiatric, psychological, MEU, CT scan, etc.) you
         have had for your tinnitus. Please include the names of the specialists who have performed evaluations or
         treatmaits, and the approximate dates on which they were performed, using the reverse side, if necessary.

                               Provider                          What was dc»e?                 Date                    ■ Result
             I.         Pi*idi««*«r.<iiiaaB»«,UC6F                   AuAtogrToi                 10180022

             2.      jMi»r»«wMC.OM»w>a»«.ucsF                                                   lomoaa

             3.      ueganm»Mr.Mc!!-«.
                                                                                               1007062        Rmwndtdftiwift*inrifc<n»ir

             4.      UnM CMai, no. CogrSm BaMcnl           maacnauiitoteaiQr«md                  iviaa22
                                                                                                                    BWJioittniinw*
                    rna^(Cgiiuc»                                ■rd HtT>ii liBo OTi
                                                                                                                                                   f OKf^rwyif
             5.      i*id»c«*»i.Wio.e8T.ueg                  Fti»iM»can«ajl.iii(i«*p»«)          iaBaa22          try      «BKfc        jw *in< enmitrl —r-rtfCTio




         Please list any surgeries you have had (potentially related to your current symptom of tinnitus): None. Not applicable




         Please list all medications you currently take for tinnitus:                       None. Not applicable.
                      Medication                       Dose              Ho w often?            Does it help?            ; ■●. Eloctor




         What other medications have you tried in the past for tinnitus relief?                        None. Not applicable.
                      Medication                       Dose              How often?             Does it help?             Stopped (Why)?




         Please list all other medications you curtentl                take:
                   ... Medication                      Dose              Hcfw.oftea?              Purpoce?                      Doctor
                   e>iPRapan(MEUBUTaMXU       sComgitrrMM              TM* SOS ng by BBUn                               JOn OlkMi, MO (pqrVMr)

              OOWZIMM (HLONOnO                       UrattgtiW        ●AKE1T«JH51BY0» M.B0UT6. OALYAS NtEOePAfC EIY W3e»<VrrT fit faMI
              nnat«a (RaetOM)                    ISagtilM             r*l«1TA8l£riS)BY0 AL ROUTE AT esnCP^O^ } tm*n AWgPr. Or. Mi«B
                  n200ona(DEerRai                Mm; ana              TArei.zTABLermeT      WALROOTE.ATwrnMeASNee eoMSowuLPrcen

                  engaetw                                             TMC1 SHOrPER MOM >1     ugnin*                    R«»ig« Mioa. MP {nueoarl




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               Using the number codes below, please indicate the results of those treatments you have tried for your
               tinnitus. If you have not tried a given treatment, please place an “N A” in the blank for that treatment.

               1 = Major relief^ 2 = Some relief, 3 = No relief, 4 = Some relief with bad side effects;
               5 = Tinnitus worse; NA = Not applicable, treatment not tried
                     NA
                           Surgery                             Acupuncture
                    NA     Drug Therapy                 ***    Massage
                     NA Hearing aids                  . 1“     Homeopathy
                     MA    Masking therapy                    , Biofeedback
                 NA        Physical therapy            m       Chiropractic
    NAftomta) 2:Hot
    nM lor OvpnMim        Antidepressants jfaSL'SaSaatAlelaxation training or hypnosis
                           Exercise program£|SS,'S?££[l^?sychotherapy or other counseling
    2 Sana arw for Tmtaa
    wgim P*p>»twn
                     NA    Dental          (toSKu) zw«uj.Dietarv Management or nutrition counseling
                                          NA




                                      CoQf«       Thiiapy; 2 SoimraM
                           .Other

               Are you employed?                      Yes                     No   Iam on Long-Term Disability

               Number of hours per week                    Not aplicable.
               What is your occupation? .
               Are you satisfied?
               If not employed, is your unemployment due to tinnitus?

                Please check all items that are applicable to you;
                         Poor health for much of your life
                             History of middle ear disease
                             History of Meniere’s disease
                _            History of Otosclerosis
                             History of facial pain/numbness or paralysis
                             History oflabrynflritis
                             History of mastoiditis
                             History of ear surgery
                     \/      Migraine headaches
                             Hyperventilation syndrome
                             Hypertension (high blood pressure)
                             Cancer
                             Diainess/imbalance or vertigo
                             Arthritis
                             Heart disease
                     y/      Depression
                             Increased use of alcohol or drugs
                             Fair to poor dietary habits
                             Moderate to excessive use of caffeine substances (cola, coffee, chocolate)
                             Low back pain
                             Whiplash or neck injury
                     \/      Tinnitus is altered by change in position
                             Stiffness or reduced mobility of the neck
                             Limitations and/or pain when moving head
                 8
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                                                                            324
               SigniHcant headaches
               .Headaches that change with head movement




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           Tendemess/pain in the jaw area with or without chewing
      \/ Clenching or grinding ofteeth


           Limitation and/or pain with mouth opening or movement side to side
           History of clicking/locking/popping ofthe jaw              . ,
      V Personal olfamil^istory nldiJiete^lcoholism/hypoglycemia (circle)
                                                                                ●   ,   ^




        Personal or family history of hyperthyroid, hypothyroid or autoimmune disease
       '    Personal or family history of any type ofhyperlipidemia
            Personal or family history of inhalant or food allergies
            History of Epstcin-Barr virus, cytomegalovirus, or hepatitis (circle)
            History of excessive X-ray exposure around the head and neck
            Poor thyroid or parathyroid function
            Lyme disease
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                                              TINNITUS FUNCTIONAL INDEX                                              326
                             12/14C022
                                                                                      Michael Dard^
     Today i Date                                                Your Name
                            Month/Dsy/Year                                                       Ple«s« Print


      Please read each question below carefully. To answer a question, select ONE of the
      numbers that is listed for that question, and draw                     a C/ffCI£ around it like this;(^0^ or                       ●
       I Jover the PAST WEEK...
       1, What percentage of your time awake were you consciously AWARE OF yourtinnitus?

             Neveraware*- OX lOX 20* 30X 40% 50% 60% 70% 80% 90% ^0^ M Always aware
      2. How STRONG or LOUD was yourtinnitus?

          Notatallscrongorloud ^ 012345                                      6    7 Q 9 10 Extremely strong orloud
      3. WhatpercentageofyourtimeawakewereyouANNOYEDby yourtinnitus?
         None o/the ti/n« ^ 0% 10% 20% 30% 40% 50% 60% 70% 80% 90% I                                    [l009j ■< A/io/t/iet/me
      SC     Over the PAST WEEK...

     4. Did you feel IN CONTROL in regard to your tinnitus?
           Very muc/i to control ► 0     1     2         3   4       $
                                                                             6 m       8     9         10   ^ Ne^rtn control


     5.    How easy was it for you to COPE with your tinnitus?
              Veryeosytocope^       0    1     2,3           4       5       6    7          9         10       Impossible to cope


      6. How easy was it for you to IGNORE your tinnitus?
             Veryeasytoignore>      0    1     2         3   4       5       6    7    8     9 t 10             Impossible to ignore

      C      Over the PAST WEEK...

      7. Your ability to CONCENTRATE?
               D/d nor interfere ► 0     1     2     3       4       S       6    7    a
                                                                                           CD         10        Completely interfered

      8. Your ability to THINK CLEARLY?
               Did rtoi Interfere ^0     1     2     3       4       5       6    7    8
                                                                                           (3         10        Complexly interfered

      9. Your ability to FOCUS ATTENTION on other things besides yourtinnitus?
               Did not interfere ^0      1     2     3       4       $       6
                                                                                  7Q 9                10 ^ Completely interfered

      SL i Over the PAST WEEK...
      10. How often did yourtinnitus make it drffi cult to FALL ASLEEP or STAY ASLEEP?

            Never had diffi culty   0    1     2     3       4       5       6
                                                                                  7Q 9                10        Always had diffi ailty

      11. How often did yourtinnitus cause you diffi culty in getting AS MUCH SLEEP as you needed?
            Never haddiffi culty ^ 0     1     2     3       4      5        6    7    8
                                                                                           CD 10 M Always hod diffi evky
      12. How much of the time did yourtinnitus keep you from SLEEPING as DEEPLY or as
           PEACEFULLY as you would have liked?
              A/oneo/t/iei/rrje^ o       1     2     3       4      5        6
                                                                                  7Q 9                10        Allofthetime

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                                                                                                                                             327
                                                                                                                                                                PAGE 2
    TINNITUS FUNCTIONAL INDEX

    Please read each question below carefully. To answer                   a question, select ONE o^e
     numbers that is listed for that question, and draw            a CIRCLE around it like thistQg^ or                                                               .
                                                                                                                                                      Completely
     A IOver the PAST WEEK, how much has                          Did not
                                                                  interfere                                                                                   interfered
            your tinnitus Interfered with...                                                                                                                             T-
                                                                  T


     13. Your ability to HEAR CLEARLY?
                                                                   0       1            2           3           4        S 6 fT)                      8         9        10




     14. Your ability to UNDERSTAND PEOPLE who
                                                                   0       1            2           3                   1^1 ® ^                       8         9        10


              are talking?
     15. Your ability to FOLLOW CONVERSATIONS
                                                                   0       1            2           3           4I S 1 6                     7        8          9       10


          Tn"a group or cil meetings?

                                                                                                                                                          Completdf'
    ,-R i Ovetthe PAST WEEK, howmueh has                      . Sdnot-
                                                                  interfere                                                                                   interfered
    I       your tinnitus interferedwlth...

        16. Your QUIET RESTING ACTIVITIES?
                                                                   0       1            2           3           4           5            6    7       8
                                                                                                                                                              m          10




        17. Your ability to RELAX?
                                                                   0           1            2           3       4           _S           6    7 [ 8 1 9                  10




                                                                   0           1            2           3       4            S           6    7   8   9 [ 10 1
        18. Your ability to enjoy "PEACE AND QUIET"?
                                                                  T                                                                                                      ▼
                                                                  Did not                                                                                 Completely
        Q Overthe PAST WEEK, how much has
                                                                  interfere                                                                                 interfered
          your tinnitus interferedwlth...

        19. Your enjoyment of SOCIAL ACTIVITIES?                       0       1            2           3           4        S           6       7 [ 8 ) 9                10




        20. Your ENJOYMENT OF UFE?                                     0       1            2           3           4        5           6       7        8
                                                                                                                                                               CD         10




        21. Your RELATIONSHIPS with family, friends                    0       1            2           3           4           5        6       7 (si 9                  10


             and other people? ^
        22:-How often did your tinnitus cause you to have diffi cuity performing your WORK OR’OTHER
              TASKS, such as home maintenance, school work, or caring for children or others?
               Never hod diffi cufty         0   1   2    3   4        S           6            7 [ 8 I 3                           10       Always naa aifll cany


        E    Over the PAST WEEK...

        23. How ANXIOUS or WORRIED has your tinnitus made yourfeel?
                  Nt)t at all anxious or ^
                               worried
                                             0   1   2    3   4        S           6            7           8
                                                                                                                        ’CD                  Extremely anxious
                                                                                                                                             or worried

        24. How BOTHERED or UPSET have you been because of your tinnitus?
                                                     2    3   4        S           6            7           8           9                    extreme^ bothered
                Not at oil bothered or ^0        1                                                                                            or upset
                                 upset

        25. How DEPRESSED were you because of your tinnitus?

                  Not atall depressed        0   1    2   3   4        S           6            7           8
                                                                                                                    CD 10                    Extremely depressed
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                                                                                                   328


Name: Michael Darden [ DOB: ^/19661 MRN: 884871921 PCP: Name Unknown Provider ] Legal Name: Michael Darden



   A Note to Patients: Symptoms are concisely summarized to inform treatment
   recommendations. For reasons of privacy and brevity, this note does not attempt to capture
   all experiences that were discussed.


   Progress Notes
   Jeffrey D Sharon at 1/31/2023 1:40 PM

       Subjective
      This Is a follow-up visit for Michael Darden, a 56 y.o. male who was seen today in the
      Otology Clinic for follow up of:
      Chief Complaint
      Patient presents with
       ● follow up


      ASSESSMENT AND PLAN FROM LAST VISIT ON 10/11/2022:
      Mr. Michael Darden is a 56 y.o. male with a history of generalized depression and anxiety,
      obstructive sleep apnea, and mitral valve prolapse, who has a history of vertigo and
      feeling hallucinations where the world is moving, shaking, swaying in some way or
      another for as long as he can remember. His earliest memory was the moon falling.
      Together with that, he gets frequent headaches which can be moderate-severe, throbbing,
      and stop him from doing dally activities, associated frequently with seeing spots, which
      can be sparkly spots in his vision which last for minutes to an hour at the onset of a
      headache. He does not have light and sound sensitivity with either vertigo or headaches.
      He has seen quite a few physicians for this over the years including a few neurologists,
      and did have a VNG test at some point which he recalls made him feel terrible, and he was
      told that there were some abnormalities on It. This was performed by Dr. Oas in the 90's.
      He has tried some medications including verapamil which did not seem to help, Depakote
      which did not seem to help; more recently he has been treated with Nurtec ODT and
      Quiipta which initially made the dizziness worse, and the Quiipta made it better after a
      period of time, but it is unclear what the total of its effects were, but it was not clearly in
      the positive direction. He has also tried physical therapy for the balance system, and he
      has also tried lifestyle changes to try and decrease stress amongst other things. Currently,
      things that can trigger or worsen the dizziness which is there every day in some degree is,
      stress, barometric pressure changes, busy visual scenes, traffic, grocery stores, certain
      foods, and a poor night's sleep. On our exam, we do see some deficiency of the vestibulo-
      ocular reflex, especially on the left-sided vestibulo-ocular reflex. He did have an audiogram
      which showed a slight asymmetry in his hearing between the two ears at high frequencies
      with the right ear being worse. He also had more than one MR, which have failed to show
      abnormalities.


       I discussed with patient today that it would be worthwhile for us to better understand his
      vestibular system, whether it be through VEMP testing, rotary chair testing, and vHIT
      testing.! reassured patient that we do not need to obtain repeat caloric testing which has
      made him feel terrible in the past, but the other portions of the testing will provide us with
      more insight as to how the vestibular system is functioning, plus how the brain is
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responding to the changes, as well as the migraine side of things. I explained that the
treatments are a bit different for the vestibular side of things compared to the brain side
of things, and the migraine side of things. In the interim, I recommended that he consider
cognitive behavioral therapy, as stress and anxiety are ever-present for him. As such, I
have provided patient with Linda Centore's contact information.

I explained that we know that there is a weakness of the left vestibular system, which is
our first diagnosis. In terms of other diagnoses, he would meet the criteria for Persistent
Postural-Perceptual Dizziness (PPPD), and vestibular migraine, though I am unsure about
whether he would meet the official criteria, because he does not have light and sound
sensitivity with his headaches, nor nausea. I do believe that he has vestibular migraine,
and explained that the criteria does not necessarily change my mind about this. I
explained to patient that while he would not qualify for the Emgality clinical trial given the
above criteria, however dependent on the testing we may be able to consider this in the
future, as the medication is FDA approved.

For now, we will proceed with VNG testing. At our next visit, we can determine whether we
want to try migraine medications, or trial some newer vestibular migraine therapies. I
explained to patient that he should have someone drive him to the VNG testing, which he
expressed understanding of. I have provided him with an informational handout further
detailing vestibular migraine. Patient is in agreement with this plan, and all questions were
answered today.

HISTORY OF PRESENT ILLNESS:


Since then, he has seen worsening in his overall condition.

Today, he reports that he wasn't able to sleep well last due to spinning sensations that he
feels as well as tinnitus. On his pain scale, the symptoms have been at a 7-9/10 which is
very high for him. He feels that the worsening occurred 4-5 days ago and peaked last
night, seemingly concurrent with the temperature drop. He noticed some additional bouts
of symptoms a few weeks ago when it was raining. His last headache was on 1/29/2023
as his symptoms worsened. He did not experience light or sound sensitivity with the
headache. He denies a history of migraine headaches. Additionally, his neurologist started
him on Emgality, and he is now at the 3 month mark of use. He feels that his symptoms
haven't gotten worse but haven't dramatically improved either.

Treatments thus far include current bupropion 300 mg daily, current Klonopin 0.5 mg PRN,
current Remeron 15 mg PRN, current trazodone 50 mg PRN, currently Emgality 120
mg/mL subq once monthly, previous verapamil with no relief, previous Antivert with no
relief, previous Depakote with no improvement, previous vestibular physical therapy with
no improvement, prior sleep study, meditation and calming exercises, dietary
modifications with some improvement. More recently, he has tried Quiipta and Nurtec
ODT as recommended by his neurologist, Dr. Patricia Maska, but he reports that his
symptoms worsened seconds after, stating that he developed tightness of the head and
exacerbated dizziness. After the initial exacerbation of symptoms, he continued to take
Quiipta for a few days and noted some degree of improvement to his dizziness, though
not much.




Allergies/Contraindications
Allergen                                                        Reactions
 ● Penicillins
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Medications the patient states to be taking prior to today's encounter.
Medication                            Sig
 ● buPROPion (WELLBUTRIN XL)          Take 300 mg by mouth daily
  300 mg 24 hr tablet
 ● clonazePAM (KLONOPIN) 0.5          clonazepam 0.5 mg tablet
  mg tablet                           TAKE 1 TABLET(S) BY ORAL ROUTE. DAILY AS
                                      NEEDED ANXIETY, FOR 30 DAYS
 ● EMGALlTYPEN120mg/mL         Inject 1 mL under the skin every 30 (thirty) days
   injection pen
 ● mirtazapine (REMERON) 15 mg mirtazapine 15 mg tablet
   tablet                       TAKE 1 TABLET(S) BY ORAL ROUTE AT BEDTIME
                                      TIMES PER DAY, FOR 30 DAYS
 ● multivitamin tablet                Take 1 tablet by mouth daily
 ● traZODone (DESYREL) 50 mg          trazodone 50 mg tablet
  tablet                              TAKE 1 -2 TABLET(S) BY ORAL ROUTE, AT BEDTIME
                                      AS NEEDED INSOMNIA. FOR 30 DAYS



Past Medical History:
Diagnosis                                                                    Date
 ● Anxiety
 ● Depression
 * Mitral valve disease



Surgical History

  No past surgical history on file.



  Family History
  Problem                                   Relation          Name           Age of Onset
   ● Diabetes                               Mother
   ● Dementia                               Mother
   ● Heart failure                          Father




Social History

Tobacco Use
 ● Smoking status:            Never
 ● Smokeless tobacco:         Never
Substance and Sexual Activity
 ● Alcohol use:               Never
 ● Drug use:                  Never



Review of Systems:
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A comprehensive 14-point review of systems was documented in the new patient
questionnaire and reviewed. Please see this and HP!.

All other systems were reviewed and are negative.

Objective

Vitals
               01/31/231340
PainSc:         0


There is no height or weight on file to calculate BMl.

PHYSICAL EXAM:




Constitutional:
The patient is normally developed and has no obvious deformities,
he is in no distress.


Ears, nose, mouth and throat:
Voice is normal.
We were able to communicate well In English
There were no lesions of the head or face.
There was no sinus tenderness.
Salivary gland contours were normal.
The patient is wearing a surgical mask, therefore due to COVID some of the exam Is
deferred.


Otologic and Neurotologic Exam:
The auricles had no lesions.


Oculomotor examination:
Primary gaze alignment was normal.
Extraocular movements were conjugate and full.
Smooth pursuit was intact and normal appearing for age.
Saccades were promptly initiated, were accurate, and of normal velocity.
Vergence was intact for near-target viewing.

Vestibular examination:
There was no spontaneous or gaze-evoked nystagmus.
The visual-vestibulo-ocular reflexes elicited by slow horizontal, vertical, and roll head
movements were normal.


Head impulse testing: The vestibulo-ocular reflexes were elicited by rapid, rotary head
impulses (head thrusts) in the planes of the horizontal semicircular canals. Results were:
 Side        Horizontal Canal
 Right       normal
 Left        catch up saccades

The vestibulo-ocular reflexes for head thrusts were also tested in the planes of the vertical
semicircular canals. Results were:
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                                                                                               332
 Side        Superior Canal               Posterior Canal
 Right       norma!                       normal
 Left        normal                       normal


Neurologic:
On neurological examination, he was awake, alert, and fully oriented.
Mood and affect were normal.
Cranial nerves II through XII were intact with the exception of any hearing or balance
abnormalities noted elsewhere. CIX, CX, and CXIl testing was deferred due to COVID.
The patient arose from a chair and ambulated without difficulty.
Psychiatric: Mood and affect were normal.



Other organ systems
Neck: The neck had full range of motion, midline trachea, and no thyromegaly.
Respiratory: Respiratory excursions demonstrated symmetric expansions without use of
accessory muscles.
Lymphaf/c; There was no cervical or supraclavicular adenopathy.
Skin: The skin was appropriately warm and dry.

REVIEW OF PRIOR TESTING:
Audiogram:
Review of audiometric testing from 10/6/2022 shows High frequency sensorineural
hearing loss, unilateral for the right ear and normal hearing sensitivity for the left ear.:
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                                                     AUDIOLOGY CUNIC                                                  WRM         88407132


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                                                     San Francisco. Caldorttia 94115                                              05/05/1366
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   IMMITTAMCE
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                                          Ptcec Tone IMS
                                                                                                                      Cor^          105       t0£       105
                                          E» CM V«Mne «cm3|                         9.C          0-t»          R9«
                                                                                                                      >P«           90        90         65
                                          PcK A3— sree -HL;                         o.»          029
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                                                                                                                      IP«           65        90         65


                                          RW< E« C«<nm«M           A ewi             u->(a
                                                                                                                                              SPT.'SRT
                                          Let Ear CeneneM          A etn Aeir-ai Lrntt
   T>ic»aee>*b»«. Ti»e\^ LeLes                                                                                               RIGHT                                LEFT
                                                                                                                       Air   ioee[SR'n                        Air 10O8ESRT}
                                                                                                                      -Spopoee A; rec-                   ●Oporoec AREC-
   5PEECH AUDIOMETRY (Results are in dBHL)
   EAR AIDED                        MATERIAL
                                                                     I^ARIMG          WORD FHONEUE
                                                                       LEVEL              %             %

    R                     wuecygneoty ue iREC                              ●80            100

    L                     NU 6 By iwicui) UC 2 '■ REC                      ■60            100


                                                                                                               CoiMnenIs
                                                                                                                See Apex Prognss sett flsr Ml repoa Stenger test
                                                                                                               NEGATIVE at 5000 HZ




   EXAUMER SKMATURE                                                        LICENBE*
                                                                         AU2752




Vestibular Testing (performed on 10/27/2022):
        VNG: Grossly within normal limits for age, accounting for the fact that vestibular
testing often shows minor abnormalities that are likely related to attention and testing
techniques and not to true pathology
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                                                                                              334
   VESTIBULAR SUB7EST RESULTS:
                             Normal     Abnormal                  Comments
    GAZE W/ FIXATION            X
    GAZE W/0                    X
    FIXATION
    SACCADES                    X
    VISUAL PURSUIT              X
    OPTOKINETICS                X
     HEAD SHAKE                              X       LBN 2d/s
   DIX-HALLPIKE TESTS;
                     Right      X
                      Left      X
   CANALITH REPOSITIONING PROCEDURES:                None indicated


   POSITIONS (STATIC) with Vision Removed:
                             Normal     Abnormal
      Supine                    X
      Head Right                X
      Head Left                 X
     30 Degree Incline        X
   RBN = Right-beating nystagmus                        UBN = Up-beating nystagmus
   LBN = Left-beating nystagmus                         DBN = Down-beating nystagmus

   Patient decline caloric testing as he has previously done it and did not want to do this
   again due to discomfort.


        Rotary Chair TestingiGrossly within normal limits for age, accounting for the fact
that vestibular testing often shows minor abnormalities that are likely related to attention
and testing techniques and not to true pathology
    ROTARY CHAIR:
                             Normal      Abnormal                 Comments
     SINUSOIDALS
                     Gain       X
                   Phase        X
                Symmetry        X
                   Visual                    X       High gain at 0.08 Hz.
            Enhancement
      Visual Suppression        X
     TRAPEZOIDALS
      100 dps
                     Gain       X                    Rightward rotation: 0.68
                                                     Leftward rotation: 0.665


                                                     Symmetry: 1.12% higher rightward
                                                     gam
           Time Constant        X                    Rightward rotation; 12.075 s
                                                     Leftward rotation: 20.185 s


                                                     Symmetry; 25.14% higher leftward
                                                     time constant


                                                     (<30% asymmetry is considered
                                                     normal)
        VEMP testing: Grossly within normal limits for age, accounting for the fact that
vestibular testing often shows minor abnormalities that are likely related to attention and
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                                                                                           335
testing techniques and not to true pathology. Note that for VEMP testir)g, we do not
consider an absent VEMP to be abnormal in the presence of a conductive hearing loss, or
after age 50.
   Cervical Vestibular Evoked Myogenic Potential (C-VEMP):
                              Normal     Abnormal                Comments
     PEAK TO PEAK
     AMPLITUDE (uV)
      Right                     X                     204.8 pV
      Left                      X                     240.0 mV
     LATENCY (msec)
      Right                     X                     P1:14 ms
                                                      N1; 19.33 ms
      Left                      X                     PI; 13.33 ms
                                                      N1; 19.67 ms
     THRESHOLDS
     (dBnHL)
      Right                     X                     80dBnHL
      Left                      X                     80 dBnHL
     Interaural                 X                     8% stronger right response
     Amplitude                                        (<35% asymmetry Is considered
     Asymmetry Ratio                                  normal; 10%
                                                      stronger irght response noted
                                                      with EMG scaling which is still a
                                                      normal response)

    Ocular Vestibular Evoked Myogenic Potential (0-VEMP):
                           Normal   Abnormal              Comments
     PEAK-TO-PEAK
     AMPLITUDE (uV)
      Right                      X                    5.973 pV
      Left                       X                    7 948 pV
     LATENCY (msec)
      Right                      X                    N1:10 33 ms
                                                      PI; 14.33 ms
      Left                       X                    N1; 11.00 ms
                                                      PI; 14.33 ms
     Interaural Amplitude        X                    14% stronger irght response
     Asymmetry Ratio                                  (<35% asymmetry is considered
                                                      normal; 21% stronger left response
                                                      noted with EMG scaling which is
                                                      still a normal response).

     4000 Hz
      Right                      X
      Left                       X


        vHIT testlng:Grossly within normal limits for age, accounting for the fact that
vestibular testing often shows minor abnormalities that are likely related to attention and
testing techniques and not to true pathology
Case 4:25-cv-00911-DMR                             Document 1                   Filed 01/28/25                 Page 336 of 500
                                                                                                                                          336
      Video Head Impulse Testing (vHITI:
                                               Normal          Abnormal                               Comments
       Gain
                   Right Lateral                  X
                      Left Lateral                X
                  Right Anterior                  X
                    Left Anterior                 X
                Right Posterior                   X
                  Left Posterior                  X
      *Note, we do not consider gain to be abnormal unless otherwise noted. High gain
      likely due to goggle slippage.


Imaging:
                 MRI Brain (performed on 7/11/2022):
 MRI of the brain on 7/11/2022 5:53 AM

 COMPARISON: None


 CLINICAL HISTORY: Involuntary motor activity during sleep

 TECHNIQUE:
 3T


 Brain; sagittal T1, axial T2 FSE. axial T1, axial diffusion, sagittal 3-D FLAIR cube, axial Swan sequences of the brain were obtained.

 FINDINGS; The ventricles and the cerebral sulci are normal in size. Small scattered primarily deep and periventricular foci of FLAIR
 hyperintensity are present, compatible with very mild chronic small vessel ischemia. No evidence of T2 hyperintensity is seen in the
 cerebellum.


 No evidence of an acute infarct is seen. No definite blood product is identified. No evidence of a discrete large mass is seen.


 The visualized paranasal sinuses and the mastoid air ceils are well-aerated.


 IMPRESSION:

 1. Very mild chronic small vessel ischemia.
 2. No evidence of an acute infarct.




           CT: not performed


Assessment and Plan


IMPRESSION:



Assessment/Plan




Mr. Michael Darden is a 56 y.o. male a history of generalized depression and anxiety,
obstructive sleep apnea, and mitral valve prolapse, who was seen in follow up for vertigo
and feeling hallucinations where the world is moving, shaking, swaying in some way or
another for as long as he can remember. Today, he has seen a recent exacerbation in his
symptoms including spinning sensations and tinnitus as of 4-5 days ago, which have a
high severity of 7-9/10. He did have one headache on 1/29/2023 with no associated light
or sound sensitivity. His neurologist started him on Emgality 3 months ago and he reports
no worsening or Improvement of his symptoms since he has been on this. On
examination today, catch up saccades were visible in the left horizontal canal, but were
otherwise normal in the other canals. We reviewed his VNG testing, which was largely
normal.
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  I had a lengthy discussion with patient today regarding treatment options. We reviewed
  that his VNG testing was very reassuring, however, based on my examination today there
  Is some weakness in the left horizontal canal. As such, vestibular physical therapy would
  be a very reasonable treatment option. As he is now on Emgality, we discussed that we
  could wait to give it more time, or try adding In other medications. He is currently on some
  medications that share some of the same mechanisms of action with medications that
  we use as anti-migraine preventatives such as SNRI's or tricyclics like nortriptyline or
  Effexor. The issue Is that they can overlap a bit with Wellbutrin and cause increased
  serotonin, which is risky. As such, we could consider other medications that do not
  overlap, such as verapamil which is a calcium channel blocker. As he recalls taking this
  many years ago without any improvement, we would refrain from that also. Our other
  option is considering the use of an anti-seizure medication such as Topamax, which he
  has not tried. I reviewed that he would need to monitor his electrolyte levels while on this
  medication. We discussed that there is a potential risk approximately a third of the time of
  cognitive side effects (forgetfulness or slow thinking) that normally do not persist once
  the medication is discontinued. He is understanding of this.

  I explained to patient that we can wait a few month months to see if he notices
  improvement with the Emgality, and I can write a prescription for the Topamax which he
  can take only if he feels that he is not seeing improvement from the Emgality alone. If he
  begins seeing improvement, he does not need to take this. Patient was in agreement with
  this, and I have prescribed Topamax 25 mg to be taken once daily, slowly up-titrating to
  BID if needed. I have provided him with a handout fully detailing the medication today. He
  is not interested in pursuing vestibular physical therapy for now. Pertaining to his tinnitus,
  I explained that there are not any medications that are available to treat this, but the hope
  is that getting his dizziness to Improve with also help to decrease the tinnitus. He is
  understanding of this and we will follow up in 3 months.

  FOLLOW-UP: 3 months or earlier if symptoms change, fall to improve, worsen, or if any
  additional questions need to be answered.




  Jeffrey D. Sharon, MD

  I, Alexis Garcia-Velasquez am acting as a scribe for services provided by Jeffrey D Sharon
  MDon 1/31/2023 2:14 PM



  The above scribed documentation as annotated by me accurately reflects the services I
  have provided.
  Jeffrey D Sharon, MD
  2/1/2023 2:42 PM




Patient Instructions

Jeffrey D Sharon at 1/31/2023 1:40 PM
  TopanTax, whose chemical name is Topiramate, is an anticonvulsant medication, which
  means that it was designed to treat seizures. However, in addition to its use In preventing
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seizures, Topamax has also been approved by the FDA     for migraine prophylaxis. Since iJ??
believe that dizziness is one of many possible migraine manifestations, we are using
Topamax for this purpose. Like all medications, Topamax can have side effects, which
are detailed below. Because of the risk of changes in the body's acid/base levels, it Is
recommended to get some bloodwork done before starting Topamax, and every few
months while on the medication. That lab test is called a BMP, and is also known as a
Chem 7. The dose required must be tailored to the patient, however a common starting
point is 50 mg taken twice daily. However, with starting this medication, and also with
stopping it, there must be a gradual increase in the dose. This is achieved by starting with
25 mg in the evening for 1 week, 25 mg twice dally for 1 week, 25 mg in the morning and
50 mg in the evening for 1 week, and then 50 mg twice daily. Sometimes 100 mg twice
daily Is required. It is important that you monitor yourself for any side effects, which are
listed below. Also, if you choose to stop therapy, it is better to slowly go down on the dose
rather than abruptly stopping the medication, and you can follow the reverse of the
schedule listed above.


Topamax is generally not recommended if you have a history of kidney stones, acid/base
problems, kidney problems, glaucoma, if you are taking Diamox, if you have liver or bone
problems, or if you are pregnant.


Side Effects.


Common
        Dermatologic: Flushing (pediatrics, 5%)
        Endocrine metabollc:Serum bicarbonate level abnormal (25% to 67%)
        Gastrointestinal: Loss of appetite (10% to 24%), Weight decreased (4% to 21 %)
        Immunologic: Infectious disease (2% to 8%)
        Neurologic: Confusion (3% to 11 %), Dizziness (4% to 25%), Impaired cognition (2%
        to 7%), Impaired psychomotor performance (2% to 13%), Memory impairment (3%
        to 12%), Paresthesia (1 % to 51 %), Reduced concentration span (2% to 10%),
        Somnolence (6% to 29%)
        Psychiatric: Feeling nervous (4% to 16%), Mood disorder (4% to 11 %)
        Other: Fatigue (6% to 16%), Fever (1 % to 12%)
  1. Serious
        Dermatologic: Erythema multiforme, Stevens-Johnson syndrome, Toxic epidermal
        necrolysis
        Endocrine metabolic:Hyperammonemla (Adolescents, 26%), Hypohidrosis,
        Increased body temperature. Metabolic acidosis
        Hepatic: Liver failure
        Neurologic: Drug-induced encephalopathy
        Ophthalmic: Glaucoma, Myopia, Visual field defect (epilepsy, 0.1 % to 1 %)
        Psychiatric: Suicidal thoughts
        Renal: Nephrolithiasis (adults, 1% to 3%)


All drug information obtained from Micromedex.


 Many medications for dizziness have side effects that require monitoring, such as
changes In blood pressure, electrolytes, liver tests, or cardiac rhythm. Therefore, if you
are on this medication longer than 3 months, we insist that you make an appointment
with your primary care physician, and let them know that you have started a new
 medication, and ask them to help monitor for any side effects. If you are unwilling or
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unable to do so, please let us know immediately. Of course, please let us know abou?^®
any side effects immediately as well.




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                                                                                                                                340
                                                                                                                              Our Locations:
                Our Physicians:

                                                                                                                          (Main location)
             Michael L. Cohen, M.D.
                                                                                                                   2121 Ygnado Valley Rd,
        Harry J. MacDanoald, M.D.
                                                           Contra Costa Sleep Center                                      Bldg E, Ste 101
                                                                                                                   Walnut Creek, CA 94598
                                                         AASM afcredittH dugnosttc sleep center                           (Satellite location)
                                                      TEL: (925) 935-7667 FAX: (925) 945-7667                     141 Sand Creek Rd, Unit B,
                                                          Website; wMTv.ccslcencenter.com                            Brentwood, CA 94513
                                                           Email:       info(S)ccsleencenter.com


                                         OvernTchtt polysomnography rjpor.1i
             PATIEOT;                         Darden. Michael                                      ACQ#:                       71952
             DOB;                             5/5/1966                                             DATE OF STUDY:              7/14/2022


             REFERRING PHYSICLVN:                 Patricia S. Maska. M.D.                           Tel:     5107485363
                                                                                                    Fai:     9252894975
             CONSULTING PHYSICIAN:                Michael L. Cohen. M.D.


         QUICK GLANCE (HISTOGRA?^
         EVEOT COLORS
             Centnl
                                                           II Blue           Hypopnes:                           |m Magenta
             Obstnjdive Apnea:                             |MRed             Central Hypopnea:                   [iDeep Sky Blue
             Mixed Apnea:                                       Black




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            Darden, Michael                                   PSG                 7/14/2022                MD0S0566


         Quick Glance STATS (sleep sunanary and vital statistics)!

                           SLEEP SUMMARY                                                          Height         Weight
                                                                                                 6S.01n         160.0 Bm.
           Study Start Time: 9;S7;S4
                        PM
                                            Lights OfTTirae; 10:05:36 PM
            Study End Time: 4:10:18
                        AM
                                            Lights On Time: 4:10^ AM                             Epweith           eul
                                                                                                   IB           266Eb/in2
            Total Study Time (TIB):        Total Sleep Time (TST): 285-0
                    364.5 min.                           jmn
         Quick Glance STATS
                                   AHI: 16.8/hr
                     /37.5/hf at 64.0 mins of supine sleep)                                      Low Sp02: 87 %

                                 RDI: 16.8/hr
                     137.5/hf at 64.0 nans of supine sleep)                             Snore Arousal Index: 0.00 /hr


                     PLM Arousal Index: 25.7/ hr                                              Sleep Latency: 2.3 min.

                         Sleep Efficiency: 78.2%                                                REM (%):17.5%

        ^DlCAnON^
        This is a 56 year old, (Gender: Kf) patient, 65.0 inches tall and weighing 160.0 lbs, (BMI 26.6) with a
        history of snoring, difliculties initialing and maintaining sleep, witnessed pauses in breathing while
        asleep and daytime somnolence. The patient also reported restless sensation in the legs,
        kicldng/twitching movements while asleep. Other sleep conplaints include: a dry mouth and awakens
        feeling paralyzed. Epworth Sleepiness Scale^l9. An overnight polysomnogram is indicated to rule out
        the clinical impression of obstructive sleep apnea.

        MEDtC/VnON^ Clonazepam                    Bqiropion         Mirtazapine    Trazodone. An^ien was offered as a sleep aid. but
        declined by the patient.


        Note: The patient‘s overall Apnea/lfypopnea Index (AHJ) for the entire night was calculated at 17/hr
        (moderate). Howe\'er. his AHI during supine sleep was calculated at 38//hr (severe). This m'oj
        extrapolatedfrom total supine sleep time of 64 minutes.

        PIAGNOSISI
        Axis A: Obstructive sleep apnea (moderate; severe in supine position, AHI “38/hr) - G47.33
        Axis B: Polysomnography

        Fr.o^urJ
        An all-ught conqirebensive sleep study was petfonned m which ibe following medical parameters were recorded using a
        Respirooics Alice Compuienzcd polygraph (G3): left and irght central (C3/C4); ceniral (CZ): occipital (OZ) and frontal (FZ)
        electroencephalogram: left and irght elcctrooculogram: electrocardiogram; submental x3 & anterior tibialis electromyogram;
        nasal/orai airflow, ihenmster; oxygen saturatioD (pulse oximetry): chest & abdominal efibrt belts: sonogram (snoring) and
        body position tnimilor. The study was attended by Ricky Bobon, a polysomnographic technician and the raw data was
        manually reviewed and mterprel^ by Michael L. Cohen. M.D. The recording started on 7/14/2022 at 9:57:54 PM. and
        ended on 7/15/2022 at 4:10.18 AM. Scoring Technologist: Richard Tuaxn. RPSG.T
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                                                                                                                342
          Darden, Michael                                  PSG              7/14/2022              MD050566



          RESULTS
          1. Borderime sleep efRciency of 78.2% with normal sleep architecture WASO (Wake After Sleep Onset) was
          calculated at 77.2 minutes.
          SLEEP STAGE BREAKDOWN
          SLEEP STAGES:         MINUTES             % of TST (total sleep lime)
          SwgeNI;               25.0
          SugeN2;               146.0               512
          Stage N3:             64.0                22.5
          REM:                  50.0                17.5
          2. Overall /^nea/Hypopnea Index (AHI) of 17 per boig However, there is moderate severe sanlne soedOc anneas
              with an Aimea / Hvponnea lnd« f Ami of 38 episodes per hour. This was extrapolated from total supine sleep tune
             of 64.0 minntes.
          3. Overall Respiratory Disturbance Index (RDI) of 17 per hour (RDl “ AHI + RERAs + Snoring per hour).
          4 Oxygen desaturation index (number ofdesatuiBtions per hour)-2.5. Sa02 nadrrof 86% (as consequenceofa
             respiratory event), from a baseline (awake) of 96%.
          5. Soft snore vibrations were recorded in the sonometer indicator chaiuicl dunng manual scoring of sleep data but did
             not cause EEG arousals. These episodes were at low amplitude and did not appear in the sleep histogram.
          6. No EKG abnormalities noted.
          7. No clinically significanl limb movements seen.

          Note: CPAP was NOT pofoiired (due to fragmented sleep at the first half ofthe study). The study
          subsequently proceeded as an all night diagnostic PSG to better observe patient in all sleep stages
          and sleep position in order to establish a reliable baseline for e\’aluation.

          |R.ECOMMENDAT10N$
          1. Repeat study with CPAP titration throughout the night (especially in lieu of Epworth score of
          19). The Lab is preferred site, as a technologist is present to assist the patient in adapting to CPAP
          and to provide a choice of CPAP masks. This usually leads to increased compliance with CPAP.
          2. A second choice would be to try an auto-CPAP machine at home, widi default pressure settings
          and masks per instructions from CPAP supply company. Patient may need a sleep aid to help
          adjust to CPAP. For senior patients, an in lab titration study is preferable to assist in their adjusting
          to CPAP.

          3. Other therapeutic modalities such as dental device could be considered, but less likely to
          effectively treat this degree of OS A (based on supine specific related ex'ents).
          4. If dental device is utilized, a follow-up sleep study is recommended when possible to document
          success ofthe treatment.
          5. Caution patient regarding driving if drowsy.
          6. Careful follow-up until symptoms resolve.
          7. If patient does not elect CPAP, then position therapy may suffice as events occurred primarily in
          the supine position.
          8. Sleep Medicine consultation.




                                                                                                                                  3
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                                                                                                                            343
          Darden, Micbael                                   PSG                        7/14/2022               NCD050564S


          TO REFERRING PHYSlClANl
          Pktse maJ or    follow-op infamtioa to Contra Costi Sleep Center (CCSC) regarding therapy provided to the patient
          This is u AccredilatioD erqitirement by the American Academy of Sle^ Medicme (AASM). Thank you.
          Ifthtre   any quafions regordhtg /his sm^, pU      colt us. We ^Icome questiom at/d eo/nmenrs




                                                            /«/ electronically
                                                          Harry J. MacDaoBaid, M.D.
                                                        Diplomafe, ABDf- Sleep Medidne


             SLEEP / WAKE STATISTICS:
             WASO OVake After Sleep Onset):                       77.2 nun-
             TOTAL RECORDING TIME:                                364.5 nun.
             SLEEP EFFICIENCY:                                    78.2%
             TOTAI, SLEEP TIME:                                   285.0 nun
             LikTENCY TO SLEEP ONSET:                             2.3 min.
             LATENCY TO REM ONSET:                                185.8 min.

             SLEEP STAGES:                                        MINUTES                            ●A TS T
             Stage Nl:                                            25.0
             Stage N2:                                            146.0                              51-2
             Stage N3:                                            64.0                             22.5
             REM:                                                 50.0                               17.5


             RERAS and PLMS with EEG arousak:                     NUMBER                           It PER HOUR
             RERAS with EEG AROUSAL                               0.00                             0.00
             PLMS AROUS.4LS:                                      122                              25.7

            SNORING SUMMARY
             Total Snoiing Episodes (Arousing and Non-Arousing)                 0.00

             Total Snoring Index (Arousing)                                     0.00/hr

             Total Time with Snoring:                                           2.3 min (0.8% of sleep)

            Bruxism: None Present
               RESPIRATORY EVENTS:

               Total # of Apneas- ^7                               (Avg. duration of apneas was 15.4 seconds)
                                                                   (Max. duration of apneas was 18.5 seconds)

               Total # of Hypopneas: = 73                          (Avg duration of hypopneas was 17.5 seconds)
                                                                   (Max. duration of hypopneas was 26.0 seconds)

               Total # of Apneas + Hypopneas "= 80                 Apnea / Hypopnea index (AHI): 16.8 (It per hour)

             Respiratmy EHsturbance Index:
                                                                    16.84(#perhour):
             (RDl=AHI+SNORING+RERAs)
           Cbeyne Stokes Breathing: None Pn-^rnt
                    BODY POSmON
                                                 SUPINE                  LEFT                  RIGHT              PRONE
                       TABLE
               TST in min.                       64.0                    185.0                 36.0               0.0
               Sleep %                           57.9                    94.2                  70.0               0.0
               R£.M%                             0.0                     25.5                  0.0                0.0
               CA                                0                       0                     0                  0


                                                                                                                                  4
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                                                                                                              344
           Uardea, Michael                                PSG                7/14/2022            MD050566

               OA                                 7                0                     0             0
               MA                                 0                0                     0             0
               Hypopaeas                          33               30                    10            0
               AI(tf/Hr)                          6.6              0.0                   00            00
               Ain(iV/Hr)                         37.5             9.7                   16.7          0.0
               RDl (O/Hr)                         37.5             9.7                   16.7          0.0
               R£RA                               0.0              0.0               0.0               0.0

               SLEEP STAGES:                    TST:              .on:               AVG. Sp02:
               REM:                               50.0 min.       8.4 per hr.        96S
               NREM:                            235.0 mio          16.6 per hr.      95%

            OXIMETRY DATA:
               Average 02 while awnlce          96%               Average 02 while in Noo-REM          95%
               Average 02 while in REM          96%               Approximate minimum 02               86%
                                                                value

            OXIMETRY SUMMARY:
                                                W                 R                      NR            TOTAL
               Fall Duration (min)              4.1               0.1                    0.1           4.3
               Average (%)                      96                96                     95            96
               U of Desalnralions                 1               2                      9             12
               Desat Index (/Mmot)              0.8               2.4                    2.3           2.5
               Desat Max Dur (aec.)             24.0              20.0                   36.0          36.0
               Minimum Sp02 value during alcep: 86%
               Minimum Sp02 value duration during sleep; 1 seconds
               Minimum Sp02 value associated with a respiratory event: 86%
               This ubie may not reflect the minimum oxygen saturation if the event did not last for 6 seconds or loi^.
            OXIMETRY TABLE:
                                                WAKE              RE.M                   NREM          TOTAL
               <75 (min)                        0,0               00                     0.0           0.0
               <90 (min)                        0.0               0.0                    0.0           0.0
               <85   (min)                      0.0               0.0                    0.0           0.0
               <90   (min)                      0.0               0.5                    0.5           I.O

           CARDIAC SUMMARY:
                                                                Heart Rale

            Average Rate Durbg Sleep                             62 bpm
            Iligbest Rale During Sleep                           88bpm
            Highest Rale During Recording (TIB}                  88 bpm
            Lowest Rate During Sleep                             54 bpm

          CARDIAC OBSERVATIONS: No EKG abnormalities were noted.




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Filed 01/28/25




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Document 1




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Case 4:25-cv-00911-DMR




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                                                                                                                           346
                     Darden, Michael                                PSG                7/14/2022               MD050566




                 PERNmON^
                 ●      Apnea = A drop in ihe peak thermal sensor excursion by >90% of baseline. Tbe duration of the event last at least
                        10 seconds. At least 90% of the event’s duration meets the amplitude reduction criteria for apneas.
                 ●      H>~Pot)nea = >30% decrease in the nasal pressure signal sensor. 10 second dumtion with a >4% 02 desaturation
                        from pre-vent baseline. The fall in the nasal pressure signal amplitude must last for >90% of the entire respiratory
                       event compared to Ihe signal amplitude preceding the event.
                 ●      Respiratory Effort Related Arousals (RERA) =If there is a sequence of breaths lasting at least 10 seconds
                       characterized by increasing respiratory effort and flattening of the apex on ihe curve of tbe nasal pressure
                       waveform leading to an arousal from sleep when the sequence of breaths does not meet criteria for an apnea or
                       hypt^nea. Snoring episodes with arousals are classified as RERAS.
                 ●     Central Apnea = An absence of mspiraiory effort throughout the entire period of absent airflow.
                 ●     Mixed Apnea = An absence of inspiratory effort in the initial portion of the event, followed by resumption of
                       inspiratory effon in the second portion of the event.
                 ●     Apnea/Hypopnea Index (AUI) = apnea plus hypopnea/bour of sleep.
                 ●     Respiratory Dbturbance Index (MI) = AHI + RERAs per hour.
                 ●     WP (Respiratory Inductance Plethysmography) detects changes in the voliune of the chest and abdomen during
                       inspiration and e.xpiradon. and provides an estiinaie of tidal volume.
                 ●     RDI Sca]e=~< 5 events/hour ^ (normal); 5-14cvents/hour ” (mild); l5-30evenis/hour “ (moderate); >30
                       evenls/hour - (severe).TST - Total Sleep Time
                 ●     PSG-POLYSOMNOGRAPHY
                       PLMD = Periodic Limb Movement Disorder.
                       RMI (Body Mass Index) = BMI assesses weight compared to height. (BMI-bg'm^).
                       Arousal: An arousal in sleep is defmed as a frequency shift of at leaa 3 seconds.
                       Snore Arousals; An Arousal in sleep due to snoring without 02 desaturation. If associated with pressure flow
                       limitation, the snore arousal is scored as a RERA.
                       Desaturation = Drop in 02 saniration by 3 to 4% (see above Desannation criteria under Hyopopnea).
                       Sa02 desaluratlon scale: 85-89% (mild) 80-84% (moderate) <80% (severe)
                       Normal baseline 02 saturation (Awake): > 93%
                       Stage N3 sleep = referred to as Deep Sleep
                       Epworth Sleepiness Scale: = > 10 indicates daytime sleepiness.
                       Sleep Efficiency: (Normal is > 80%)
                       WASP (Wake After Sleep Onset) Wake after sleep onset includes all wake activity, including wake out of bed.
                 ©Copyright: Report Format Contra Costa Sleep Center

                 TECHNICIAN CQMMFNTS
      Time                 Comment
      F.ntered
      9:58:00 PM           Room Assignment = CCSC Room - 6
      9:58:08 PM          Beginning of the study
      9-58:26 PM          Palicnt Name: Michael Diirdca (5/05/19661
      9:58:26 PM          Ambien was offered, but declined by the patient
      9:58:46 PM          Refemng Physiciam Masks M.D. Patricia
      9:59:17 PM          Study ordered: 50/50
      9:59:32 PM          Tech: Ricky Babon
      10:00:07 PM         Machine Cals
      10:01:05 PM         Begin Patient Cals
      10:02:13 PM         Blinks
      10:02:19 PM         Eyes Closed
      10.02:25 PM         Eyes Open
      10:02:34 PM         Look Up Dowd
      10:02.43 PM         I-ook Left Right
      10:02:51 PM         Cinl Teeth
      10:03:03 PM         Hold Breath


                                                                                                                                           7
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                                                                                                      347
                                                           PSG              7/14/2022      MD050566
              Darden, Michael

      10:Q3;16PM    Nasal Breathing
      10:03:29 PM   Oral Breadiing
      10 03:36 PM   1-lcx Left I.CE
      10:03:41 PM   Flex Right Leg
      10:03:60 PM   Snore
      10:05:23 PM   Lights Off
      10.5001 PM    Patienl Moviitg
      11.05:48 PM   Stages:W, Pos.R. Sp02:96/92
      12 05:43 AM   Stages:W. Pos:L, Sp02:97/93
      12:50-39 AM   Pfllienl Moving
      1:05:5 i AM   Stages:Nl. Pos:L. Sp02:97/95. No events
      2:05:54 AM    Stagcs:N2. Pos:L. Sp02:96/95. No events
      3:05.54 AM     Stages:N2. Pos:l- Sp02:97/96. No events
      4:05:56 AM     End of the study
      4:06:12 AM     CPA? was not initiated due to low AHl during baseline of the study.
      4:06-28 AM     Study converted to all night PSG
      4:06:43 AM     Collection of data completed
      4:08:58 AM     Final Cals
      4:09:55 AM     Study ended
      4:10:05 AM     Lights On
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   12«7/22,2:14PM                                                 My HeaKh Onitna - VWI Summary

                                                                                                           348
                               Name; Michael Darden | DOB; 5/5/1966 I Legal Name: Michael Darden




               Care Team Note
               Marcela Larrondo at 06/16/22 1203
                                                               ABSMC Sports, pt & hand clinic qaklanu
                          Sutter Health                                                       5700 TELEGRAPH AVE
                          Alta Bates Sumniit                                                      OAKLAND CA 94609
                          Medical Center                                                          Phone: 510-204-1788
                          We Plus You                                                               Fax: 510-506-7770

                                            PHYSICAL THERAPY DISCHARGE NOTE

                    DATE: 6/16/2022

                    Primary Care MD: Emanuel Vergis
                    Referring MD; PATRICIA SUZANNE MASKA
                    Medical Diagnosis: Dizziness and giddiness [R42]
                    Treatment Diagnosis: decreased function with ADL's due to                                mofi«n
                    occulomotor function with smooth pursuit and saccades, impaired VOR, motion
                    sensitivity, and dizziness.



                    [START OF CARE DATE: 3/7/2022                      [VISITS TO DATE: PT Visit #: 1U

                    TREATMENT PERFORMED/INTERVENTIONS: Manual Therapy, Therapeutic
                    Exercise, Therapeutic Activity, Neuro Re-Education, Patient Education, and Balance
                    Training

                    Progress Towards Goals;
                                                                                   06/16/22 1100
                     Lower Quarter/Mobility
                     - Patient will be able to
                     complete HEP for self                   ndependent w/out difficulty
                     ●nanaqement
                     Additional Goals
                                                         ■     will perceive 25-50% improved overall symptoms of
                                                             dizziness to increase participation with walking
                                                             exercise up to 3x/wk or eveiy other day.: Met
                                                         ■ ^ will report 25-50% improved dizziness while dnving
                                                             to improve safety operating motor vehicle: Met,
                                                             Patient is able to drive w/out dizziness
                                                         ■ =>t will perceive 25-50% improvement in overall
                                                           dizziness symptoms to improve confidence with
                                                             travelling for improved QoL: Met.                    —


                     Assessment: Patient shows consistent decrease of dizziness intensity since less
                     changes in baromett’lc pressure, he is doing HEP daily and increasing
                     cardiovascular exercles. Dizziness Is still constant
                     DISCHARGE:
                          Patient is ready for discharge from Physical Therapy:
                                                                                                                        1/2
     hnps//mylwalthonb».suttBrtwaim.o.B'mt»Ans(te.a»?nwte=vi8rt*unwaf v4subci»d«r=wt«^
                 Case 4:25-cv-00911-DMR                  Document 1             Filed 01/28/25         Page 349 of 500
12/19/24, 12:41 PM       Tc.columbia.edu N,   Medical Records Request, Anthem, Physical, Claim,   ;ation, Determination Assessment, Long-Term D...
                                                                                                                                349


                                                                                        Darden, Michael <mad2255@tc.columbla.edu>



  Medical Records Request, Anthem, Physical, Claim Application, Determination
  Assessment, Long-Term Disability, Michael Darden 2
  Darden, Michael <mad2255@tc.columbia.edu>                                                                Tue, Mar 21,2023 at 11:45 AM
  To: tanita.Iee@anthem.com

       Attached:


       PART 2 OF 3 EMAIL TRANSMISSIONS


       Satisfactory?


       Thank you kindly, and take care,

       Michael
       Michael Darden
       917-868-8780




          Michael Darden Dr. Emanuel Vergis One Medical Healthcare Record includes Maska UCSF Sharon - Copy
          pages1-87.pdf
          17258K




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                                                                                                            350



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                                                                                                    595 Castro Street
One Medical Group                                                                                   San Francisco, CA
                                                                                                    94114
To: Michael Darden 05/05/1966
From: Medical Team                                                                                  phone: 888-663-6331
                                                                                                    fax:415-291-0489




          Patient

          Patient   Michael Darden
          DOB             '1966
          Sex       M
          PCP       Emanuel Vergis, MD
          Patient ID 110786538
                    1801 Shore Line Dr
          Address   Apartment 307
                    Alameda, CA 94501
          Anthem Blue Cross of California PPO
          Member ID: XDP241W06151
          Effective At: 01/01/2021
          Policy Holder: Michael Darden (Self)




Active Medications

aspirin
81 mg DR tabs, 1 tab PO qday as needed for migraine aura

bupropion HCI
300 mg extended release PO qam

clonazepam
0.5 mg tabs, 1 tab PO qday as needed for anxiety

mirtazapine
15 mg rapid dissolve PO qhs

trazodone
50 mg tabs, 1 - 3 tabs PO qhs as needed for insomnia


Notes

BEGIN ● Consult Note: Neurology
Note Title    Consult Note: Neurology 2-9-2023
Note Type     Consult Note: Neurology
Date of
                Thu Feb 09 2023 @ 01:41 PM
Service
Created By       Patricia Rodriguez
                 Emanuel Vergis, MD (NPI:
Signed By
                 1962478495)
Date Signed      Fri Feb 10 2023 @ 07:08 AM
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athena                       219/2023 3:29:59 pm EST                    5ab4b783-9eab-4295-82c9-6c6b3cde6df3         Page: 1 /6




                              CONFIDENTIAL Fax
                  FROM:
                          PATRICIA MASKA, MD
                          985 ATlANTIC AVE STE 300, ALAMEDA, CA 94501-644 7
                          Phone: (510) 748-5363
                          Fax: (925) 289 -4975

                  TO:
                          EMANUEL VERG IS MD
                          Fa x: (415) 291-0489



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               PAJB!CIA SUZANNE MAS KA Mp· 985 ATLANTIC AVE STE JOO,A1,AMEDACA9450J-6447
               DARDEN, Michael (id #10073, dob: 05/05/1966)
               PATRICIA SUZANN!! MASKA MD
              985 ATLANTIC AVE STE 300
              ALAMEDA, CA 94501-6447
              Phone: (510) 748-5363
              Fax : (925)289-4975

              Encounter Summary - Progress Note
              Date Printed: 02/09/2023
              Attention: Emanuel Vergls MD


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             8436 to notify the sender and confirm that the Information will be destroyed . Thank you for your attention
             ~nd. coop eratio~i ,l,ID:765688 - H-33871 ......................,.... ............................................................................................................................,
             i Patient         !! Darden, Micha e l (56yo, M) # 10073                                                                                                                                      .• !
              ~'''"""'"""""~""""'i''''""''""""''"
              i DOB             ;i 05/05/1966
                                                  '"""""''""'"""'""'""''"'""""'"""'"""''~"'""""""''"''"'"'"'"'"'""""""'-'"'"""""'"'""""'""'''''"'""""""''""'j
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             , ........................................................................................... Patlent ..Demo9raphics: ......................... "' ............................................................. ,
             )Address                           !! 1801 Shoreline Dr/Apt 307                                                 HHome Phone H(917) 868-8780                                                                       j
             L...............................11    Alameda ' .CA.9 450 l-60.84.................................... . Jt~~,~~::;:~~,~~::u::::::::::n:::: ::::::::::,::::::::::::::::::::::::::::::::c::1


          ................................................................. -....................................................................................................................................................................
                                                                                                    Patient Medical History:                                                                                                                      )
          i Encounter                                               !Followup: Migraine with aura                                                                                                                                                                                                                        i
          i Reason/Date ! Followup: Vertigo
          j             i Followup: Neck pain
          l                                                         l Followup: Obstructive sleep apnea syndrome
          j.................................. !02/09/2023.-, 11:00AM.-. PSM ........................................................................................................................................
      )History of                                                   j Headache - f/up
      l Present                                                     i     Reported by patient .
      i lllness                                                     i
      i                                                             i                     Timing of pain: frequency of migraine: ( days/month) (2)
      i.'.                                                          ,,i                   Treatment (modifying factors): current preventive med TPM 25 mg BID; no
                                                                                          bothersome side effects to meds; no significant mood issues; Already had occ SI; no
      i
      j                                                             i
                                                                    ,                     worse on topiramate .
                                                                                          Severity of pain: pa in le ve l: migraine 6/10

      li                                                            i Neck Pain
                                                                    i     Reported by patient.
      !•                                                            i
      1                                                            !.;                    Ti ming/Onset: frequency of pain as 1-2 times per month
                                                                                          Location of pain: pain bilateral neck; pain posterior neck

      I
      ,
                                                                   l                      Quality of pain: pain as non-radicular
                                                                                          Severity: pain le vel 1/10
      i                                                            !OSAf~p
      l                                                            i   Reported by patient.
      l                                                            i                      Alleviating factors (modifying fa ctors) : tried snore Rx mouthguard, breath right strips i
      !                                                            i                                                                                                                                                                                                                                                     I
      i                                                            ! Sleep
      [                                                            j      Reporte d by patient.
      ~                                                            ii                     Quality: Insomnia: sleep maintenance
      ;                                                                                   Associated Symptoms : no excessive daytime sleepiness; no witnessed apnea s or
      :                                                            '
      ~                                                            ~                      startled awakenings
                                                                                          Duration: sleep issues 1- 2 nights per week
      l
      i
                                                                   i
                                                                   :
                                                                                          Context: good sleep hygiene
                                                                                          Treatment (modifying factors): medications tried for sleep Issues : trazodine,
      PATRICIA SUZANNE MASKA, MD                                                                                                                                                                                                                 Darden, Michael (10 : 10073), DOB: 05/05/1966
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                                          '
                                          :             remeron; no bothersome sid e effects
                                          !
                                          / Ve rtigo
                                          !       Reporte d by patient .

                                          ii       Qualit y: tru e v e rtigo : spinning se nsation
                                                   Lo ca tion: tinnitus occurring bilateral; tinnitus constant
                                         i,        Duration: symptoms co nstant
                                                   Aggravating factors (modifying factors) : symptoms worse with position
                                         i         change (If ve rtigo Is severe, this ca n occur)
                                         i         Notes:
                                         !         I rev'd neuro-otology notes Dr Sha ron. He rec further testing .
                                         i Pati ent was seen as te lehea lth under the extend ed PHE renewa l. Patient gave consent fo r
                                         !  tele- hea Ith visit.
                                         i
          .                              i Doing CBT thru UCSF.
          l Past Medical l Reviewed Past Medical History
          i History                      i Anxiety Disorde r: Y
          l                              ! Depression: Y
          i                              ! Headaches:Y
       i                                 i Heart Problems : Y - MVP
       i                                 j Mlgraines: Y
       !                                 ! Sleep Disorder: Y - mod erate OSA
       l                                 i Kidney Disease: N - no kidney stones
       !.................................J_Notes: .PTSD........................................................................................................................................................................ ..
      i Proble m List ! Reviewe·d Probl ems
      !               1• Body mass index 25- 29 - overweight - Onset: 02/03/2022
      l               i • Rea ctive depre ss ion (situational) - Onset : 12/09/2022
      i               i • Obstructive sleep apnea syndrome - Onset: 08/29/2022
      !                                  : • Periodic limb movement disorder - Onset: 08/29/2022
      1                                  i • Migraine with aura - Onset: 11/0 1/2021
      i                                  ! • Neck pain - Onset: 03/24/2022
      i                                  !• Vertigo - Onset: 11/01/2021
      i                                  ! • Persistent postural p erce ptual dizziness - Onset : 10/ 28/2022
      i                                  i • Headache - Onset: 11/01/2021
      !                                  i • Snoring - Onset: 11/01/2021
      l                                  ! • Elevated blood -pressure reading without diagnosis of hypertension - Onset: 08/29/2022
      !                                  i • Suicidal thoughts - Onset: 05/27/2022
      !                                  i • Nonspecific paroxysmal spell - Onset : 0 5/27/20 22
      !                                  l • Caregiver role strain - Onse t : 08/29/2022                                                                                                                                                              ,
      l                                  l • Mlgrainous vertigo - Onset : 10/28/ 2022                                                                                                                                                                 i
                                   s;t
      jAllergie s; Ll j !,Reviewed ,Allerg.ies :::::::::·::::::::,;:::::::::::::· .:::::::::::::::::::::::"~::::::::::::::::::::::::::::::::,;::::::::::::::=:::::::::::::::::::::,r:::::::::::,J 1
      i                                  ii PENICILLINS                                                                                                                                                                    jl              1j
      :..................................:.l::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::~. :::::::::::::>' .•
      i Medications ii Reviewed Medications                                                                                                                                                                                                      i
      i                                  il buPROPion HCL XL 300 mg 24 hr tablet , extended release] Ol/15/23                                                                                                                   filled           j
      1                                  il!.~~~.}.!.~.~~~.!..~~..~S?.~~..~.Y~.~.!P~:!'................................................................. -1. ........................................!
       i                                 11 clonazePAM 0.5 mg tablet                                                                                                                                  [ 01/12/23                filled           l
      l.                                 HTAKE 1 TABLET BY ORAL ROLffE DAILY AS NEEDED FOR ANXIETY                                                                                              i                                         i
                                         . ...................·-·······- ······........................._...............- ....................................... _................................·········..············---·· ..······--•·i
      :l                                 1! Da lly Multi- Vit am in start 01/01/2021                                                                                                            i 01/01/21 startedl
                                         !:·•·-·······..······--·---··-·······--····... ·..... _, _______...................................... -........................ _______,.............7 .............-.........................,-~
      !                                  !! Emga lity Pen 120 mg/mL subcutaneous pen injector                                                                                                         )02/02/2 3                filled           !
      :l                                 :,ii........................................................................................................................................................
                                              INJECT 1 ML SUBCUTANEOUSLY EVERY MONTH FOR 30 DAYS                                                                                                      :i........................................,{:
      l                                  ii mirtazapine 15 mg tablet                                                                                                                                  l 01/1 2/23 filled !
      j                                  !! TAKE..1 TABLET.BY.ORAL.ROUTE .AT.BED .TIME .FOR .3 0 .DAYS ········-·..···).·············-······-······-·········l'
      i                                  ii topiramate 25 mg tablet                                                    j 02/06/23 started i
      l                                  nl tablet(s) twice a day ., start 02/06/2023                                  !                                        !
      i                                  !it,·;zo·o~·~·; ···s·o ··;:;;·0 ·t ;·bi;t"--·· .. ••••••• .. ••• ..•••••••••••.. ···················································-roi1is12i···iiii~·d··.. •••                                         i
      l                                  !! TAKE 1 TO 2 TABLET(S) BY ORAL ROUTE AT BEDTIME AS NEEDED                                                                                                 i                                               i
      i .-...................... - ..... \1 FOR:INSOMNIA: FO R·:3 O:DAYS ·s:::::::::::·::::::.s:.:::·.:·:::.::·.::·:::.::::::·::::.:·.c.c.·.:·.s::::.·:.:·:::.::·:::.:·.:·.:·i::.c.·.:·.:-::~·::.:·::.::·::::::.::s.s:::.:·.:·..1
      ) Socia l                         i Reviewed Social History                                                                                                                                                               !
      , History                          l Educatlon a nd Occupation                                                                                                                                                            !
      l                                  [ What is the highest grade or level of sc hool you have completed or the highest degree                                                                                               !
      j                                  j you have received? : Master's degree (e.g., MA, MS, MEng, MEd, MSW, MBA) (Note s:                                                                                                    !
      i                                 ! Instruct ional designer)                                                                                                                                                              i
      i                                 !Are vou currentlv emolove d? : No (Note s: dlsabilitv since 04/21)                                                                                                                     l
      PATRICIA SUZANNE MAS KA, MO                                                                                                                                                 Dard en, Michael (10 : 100 73), DOB : 05/05/1966
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                                         \ Activities of Da lly .Living
                                         i Are you able to care for yourself?: No
                                        )Are you blind or do you have difficulty seeing? : No (Notes : Spots in eyes)
                                        l Are you deaf or do you have serious difficulty hearing? : No (Notes: Ringing In ears)
                                        iDo you have difficulty concentrating, remembering or making decisions? : Yes
                                        ! Do you have difficulty walking or climbing stairs?: Yes (Notes: Sometimes)
                                        i Do you have difficulty dressing or bathing?: Ye s (Notes: Sometimes)
                                        ! Do you have difficulty doing errands alone ?: Yes
                                        (Which of your hands is dominant?: Right
                                        !Diet and l!!xerclse
                                        i What type of diet are you following?: Regular
                                        ! What is your exercise level?: Occasional (No tes: Walking)
                                        i Publlc Hea lth and Travel
                                        i Have you been to an area known to be high risk for COVID-19?: No
                                        l In the 14 days before symptom onset, have you had clo se contact with a laboratory-
                                        ! confirmed COVID-19 while that case was iii?: No
                                        1In the 14 days before symptom onset, have you had clo se contact with a perso n who is
                                        \ under investigation for COVID- 19 while that person was ill? : No
                                        ! Subi;;ta nee Ui.e
                                        i Do you or have you ever smoke d tobacco?: Never smoke r
                                        [ Do you or have you ever used any other forms of tobacco or nicotine?: No
                                        )What was the date of your most recent tobacco screening?: 02/09/2023
                                        !What is your level of alcohol consumption?: None
                                        i What is your le vel of caffeine consumption?: Occa sional
                                        !Advance Directive
                                        i Do you have an advance directive?: Ye s
                                        i Marriage and Sexuality
                                        1What is your relationship status? : Married (Notes : husband Gregory)
                                        !Lifestyle
                                        l Do you feel stressed (tens e, restless, nervous, or anxious, or unable to sleep at night)?:
                                        i Rather much
                                        l Do you use your seat belt or car seat routinely?: Yes
                                        !Gender Identity and LGBTQ Identity
                                        lGender identity : Identifies as Male
                                        i Asslgned sex at birth: Male
       .                                l Pronouns : he/him                                                                                                                                                                                    1
       i                                , Sexual orientation: Lesbian, gay or homosexual                                                                                                                                                       i


      i~f,';'~~y tr:: ~=~·.''
      i
      ;
                                        i!                            ij
                                                                                     to
                                                                     m'r'' ~meatia :::::~::::::::::::::::::::::::::::::::::::::::::::::::::::
                                                                          - Hypertensive disorder
                                                                                                                                                                                                                 ::~:::::::::::::::l, 1i
                                        ; : ::;:::::::::::::::::::::::::::::. ~~:::::~:::::m ::::::::::, ::: . :::~:~::: _i:.n::::::!':::::::::::~:::;:::::~::::::~::-:::::~:::::.:::~:::::::::::m:::::::::::::::.:::::: ::::::::::::~::::::.; ;
      i                                l!                                 H           - Hyperlip1dem1a                                                                                                                                      !i
      .                                 . .:::.::::::::,:::::::.:::::::::::. :::::::::::::::::::::::::::::::::::::::::::,:::::::"'::::::::m:::.::m::::::::::::.:::::::::m::::.:::::::::::::::::::::::::::::::::.:::::::::::::::::::::::::1 I
                                                                            1
      i                                 j i father                        !·         - Hypertensive disorder                                                                                                                                1,


      l
       j                               1!,::,::::::::::::::::::::.:::::.ii,,,,,,.,.,- : Hyperlip Id emia :::::::::::::::::::::::::::::-:::::::::::::::::::::,,:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::)
                                       !;                               !i          - Congestive heart failure                                                                                                             ii
                                                                                                                                                                                                                                               i
      !. _ _
      ! Review of
                                    Ji       00 : sei,~ces:::::iL:::·:Cocoa,,y: acte<y :•Y~•ss :'""':,: 3

                           /Gastrointestinal :: mild constipation controlled,.
                                                                                                                                                                   :~::•::::::;::•:;::::;::::::::~::::::::::::::::1.
                                                                                                                                                                                                                                  .
      !.Systems _......- ..l.... _...............................-...................... _.......,, .... ,,_.,,.,, ................ -,,.....,, ...............................................- .....-........................... 1
                                                                                                                   Exam:
      i vitals.................. T(:::::::::::::::: Ht: Ji 5:ft:5·1n:Stated l(::::::::::::::::Wt: !i:154:lbs:Stated:i(:::::::::::::::BMl:]2s.6::::::::::::::::::::::::]·!
      !                                li                             !i 02/o9; 20 23                    ji                            n o 210912023                      g                             q o2;0912023                        !!
      '.                               ~ ~ ....,,,:::::::::::,:::::)!,10 :39, am:::::::::::::!!::::::::::::::: :::::::::::•!'. 10.39 ,am :::::::::::::.\"' """""'"""'""~?10,:39, a m :::::::::::) i
      i                                !i              Pulse: li 50bpm                        !!                      T:i[98F                      0
                                                                                                                                                    11            Paln ii 602/09/2023 i1
      l                                ll                             lio2/0 9/ 2023                     Ii                           !1 02109/202 3                H ScaledP0:41 a m                                               i      !
      L ........ ,,................... .).L. ........................ !L~
                                                                        .~.:~?.!:'.::!..............:t .......................... Jl.; .~.:1.~.. ~!.~ ............. JL. .........................H................................J          J
      i Physical                         1General Appearance: Appearance no acute distress. Habitus well nourished .                                                                                                                !
      !Exam                              i                                                                                                                                                                                          !
      1                                  l Head: Appearance atraumatlc.                                                                                                                                                             i
      Ii                               !!Mental Status: Level of cons ciousne ss alert and attentive. Mood, Affect normal mood,
                                         euthymlc and affect congruent with mood. Attention/Concentration: normal attention and
                                                                                                                                                                                                                                               i
                                                                                                                                                                                                                                               !
      !                                i concentration. Orientation oriented to place and situation and orientated to person.                                                                                                                  i
      i                                ! Lanquaqe, Speech no dysarthrla or aphasia or dysphasia noted and normal fluency.                                                                                                                      !
      PATRICIA SUZANNE MAS KA, MD                                                                                                                                              Darden , Michael (10 : 10073), DOB : 05/05/1966
                Case 4:25-cv-00911-DMR                                                                                       Document 1                                                Filed 01/28/25                                                     Page 355 of 500
                                                                                     (
                                                                                                                                                                                                                                                                                                            355


•=·   one medical
595 Castro Street San Francisco, CA 94114                                                                              Phone: 888-663-6331 • Fax: 888-663-6331
athena                                                                      2/9/2023 3:29:59 pm EST                                                                                            5ab4b783-9aab-4295-82c9-6c6b3cde6df3                                                                               Paga: 5/6

                                                        !Memory, Recall rec ent memory grossly normal.
                                                          i
                                                   !Crania l Nerves: Cranial Nerve VII approximately symmetric smile and forehead
               ,................................. .1 contra ctlo n .....................................................................................................-..................................................................... !
               \ Results/                          j None recorded
           r:;:~::ee:;tlor:lscussed .the ·followlng. documents·:........................................................................................................ ..
           j History                          i• Otolaryngology, Head and Neck Surgery - Office Visit - UCSF Health, UCSF Childre n's,                                                                                                                   ;
                                                                                                                                                                                                                                                                                                      1
           >·······························••,t1••··················
           1                                                        .. ································ ................................................................................................................................................!•
                                                Marin Health, and Affiliates - 02/09/23
           l Procedure                                  i None recorded                                                                                                                                                                                                                                !
           iO....
             Documentation                                                                                                                         •                                                                                                                                                    i
                  . .. . ..... .. .... .... ....... .....t ...... ....... ...... ... , ...... .... _ .••••• H .. 00-•H •· .. ••••·••• ••n• •·••• •· ••• .. • -••••· •••• .. •-•••·• .. ••• ••••••••• · •·••••• • ·• ••• •••·••· ••····•··• H ••••·••· .. •·-•• .. •··••·•····••·· .... •• ... • •••• •• r


                                                                                                                             Assessment and Pl an:
          l Assessme nt \Time s pent: 39 min                                                                                                                                                                                                                                                           i
          !and Plan     !                                                                                                                                                                                                                                                                              !
          i               Record review : 3 min         i
          i             i Chart prep : 2 min
          i             i Discuss ion/exam time s pent with patie nt: 13 min
          i             l Risk assessment: testing options, medication options, lifestyle changes : 13 min
          i             i Cha rtlng: 8 min
          !;                                            jf/u In 2 months
                                                        i
          !                                          ! l,Vertlgo-
         i                                           j Recently see n again by UCSF neuro•otologist Dr Sharon. As before, Vertigo likely
         i                                           l • multifactorial : vestibular migraine, PPPD and peripheral vestlbulopathy on the L He will
         l                                           l go back to UCSF for more ve stibular testing . Alrea dy on meds to support serotonin (to
         i                                           !    help PPPD Sx). Michael has tried ves tib rehab . I answered questions re : dx. testing,
         !                                           i tre atment.
          !                                          i    R42: Dizziness and giddiness

        !
        i
                                                     i 2. Migraine with aura -
                                                     )Vestibular migraine, Episodic migraine. Baseline heada che days per month: 8-12, la sting
        j                                            i more than 4 hours per day. Cephal9ia Improved but vestibular migraine still constant.
        !                                            !     Has been on emgallty x 4 months. Just started topiramate 25 mg BID. Still working on
        l                                            I     OSA Rx. we discussed whether to change emgality (e.g. to a imovig or verapamll) or
        i                                            i     Increase topiramat e and decided to keep these the same for now. Doing CBT thru
        i                                            l UCSF. I answered questions re : meds
        }                                            i
       i:                                            ~
                                                     i:
                                                                 Preventive meds tried : Quilipta, Nurtec (did not tolerate), VPA, Ela vii , lexapro,
        :                                                           buproplon, GBN 300 mg, lorazepam, verapamil. OTC preventives tried: B2,


      l                                             I.
                                                                    magnesium
                                                                 G43.109 : Migraine with aura, not Intractable. without status mlgrainosus
                                                                 MIGRAINE AURA WITHOUT A HEADACHE: CARE INSTRUCTIONS
       !                                             i
       l                                             !3, Mlgralnous v ert igo -
       i                                             l I rev'd neuro-otology notes Dr Sharon. Michael will fo for further testing .
      j                                              i H8l.8X2 : Other disorders of vestibular function, left ear
      }                                              i
      !                                             ! 4, Obstructive s leep apnea syndrome -
       i                                            i Moderate OSA Seen by sleep MD, Dr Kram. Working with OTC OAT Snore Rx and breathe
      i                                             i     right strips. He Is still considering OAT. I answered questions re : dx. testing, treatment.
      i                                             l     G47.33: Obstructive sleep apnea ( adult) (pediatric)
      l                                             i • SLEEP APNEA: CARE INSTRUCTIONS
      !i                                            !s.      Neck pain -
                                                          I doubt a significant cervicogenic component. No current need for PT.
      !                                                       M54 .2: Cervlcalgla
      ·,,:'.                                           • NECK PAIN: CARE INSTRUCTIONS
                                                      6. Sulc Ida I thoughts -
                                                    ! Passive Si. Contracts for safety. Michael has a support system for psych issues . I ad vis ed
                                                    !     f/u w/ psychiatrist and therap is t .
      ~                                             ~

      j
      ;
                                                   I,:.::r::~:~.~~::~::~~:::::::::":
                                                    i Consider nutrition eva l
                                                                                                                                                                                CARE ,.,TRUCTK>NS

      i                                             1           268.25: Body mass index IBMIJ 25.0· 25.9. adult

       PATRICIA SUZANNE MAS KA, MD                                                                                                                                                                                        Dard e n, Mfchael (ID : 100 7 3), DOB : 05/05/1966
          Case 4:25-cv-00911-DMR                                              Document 1                 Filed 01/28/25                Page 356 of 500

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                                                              I
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 athena                                                21912023 3:29:59 pm EST                              5ab4b783-9eab-4295-82c9-6c6b3cde6df3                      Page: 6/6


                                         l .. LEARNING ABOUT HEALTHY WEIGHT
                                         i .. NUTRITIONIST/DIETITIAN REFERRAL-                   Schedule Within: provider's discretion
                                         '
       .
       1-.............................
                                         IL.•...
                                          Return to Office
                                                   to see__ Patrlcia __Maska,_MD_for_Telemediclne_ at _PSM_on or_ around _04/08/2023 ...................... .



                                                                Electronically Siqned bv: PATRICIA MASKA, MD
                                                                                    -~-;:




                                                                                    02/09/2023




       PATRICIA SUZANNE MAS KA, MD                                                                                      Darden, Michael (10: 10073), 008: 05/05/1966




END - Consult Note: Neurology

BEGIN - Medical Record: Unedited
                       Medical Record: Unedited: Anthem Blue
Note Title
                       Cross
Note Type              Medical Record: Unedited
       Case 4:25-cv-00911-DMR                 Document 1          Filed 01/28/25      Page 357 of 500

                                                                                                  357


                                     I
595 Castro Street San Francisco, CA 94114   Phone: 888-663-6331 • Fax: 888-663-6331
Date of
              Fri Jan 20 2023 @ 05:58 PM
Service
Created By    Chris Ibanez
Signed By     Chris Ibanez
Date Signed   Fri Jan 20 2023 @ 06:12 PM
       Case 4:25-cv-00911-DMR                            Document 1                 Filed 01/28/25                Page 358 of 500

                                                                                                                                          358


                                         I
595 Castro Street San Francisco, CA 94114            Phone: 888-663-6331 • Fax: 888-663-6331
 0 01-19-2023 3:33 PM                Fax Services                          ➔ Dr.   Emanuel Vergis                                       pg 1 of 2




                               To: Dr. Emanuel Vergis
                        Company:
                               Fax: 14152910489
                           Phone: (415) 529-4099


                         From: Shaleea Petty
                             Fax: 18008500017
                           Phone: (470) 784-1971




             NOTES:
             Medical Records




          Providers: You are required to return, destroy or forther protect any PHI received on this document
          pertaining to members that you are not currently treating. Providers are required to immediately destroy
          any such PHI or safoguard the PHI frir as long as it is retained. In no event arc you pcm1itted to use or re-
          disclose such PHI.
          IMPORTANT WARi~ING:
          1 his message is intended for the use of the person or entity to which it is addressed and may contain infonnation that is privileged and
          confidential, the disclosure of which is govemed by applicahle law. If the reader of this message is not the intended recipient, or the
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          without appropriate patient consent or as penuitted by law is prohibited. Unauthorized re-disclosure or failure to maintain
          confidentiality could subject you to penalties described in federal and state law.

                             Date and time of h'ansmission: 01-19-2023 3:33 PM
                             Number of pages including this rover sheet: 2
       Case 4:25-cv-00911-DMR                                 Document 1                      Filed 01/28/25               Page 359 of 500

                                                                                                                                                  359



595 Castro Street San Francisco, CA 94114                  Phone: 888-663-6331 • Fax: 888-663-6331
 0 01-19-2023 3:33 PM                       Fax Services                             Dr. Emanuel Vergis                                          pg 2 of 2




                                                                      Anthetn Blue Ctos.s Life aud Health                    PO Bo, 105426
       Anthem,                                                        Disability S•rvice C•nt.r                              Atlanta, GA 30348-5426
                                                                                                                             Tel: 80().813-5682
              HlucCross
                                                                                                                             Fa,: 800-850-0017




       January 19, 2023


       Provider Emanuel Vergis
       Phone:   4155294099
       Fax:     4152910489

       Number of pages including cover:

       Subject MICHAEL A DARDEN
       DOB: 05/05/1966
       aaim Number: LT00403220
       Reference Number: 443185

       RE: Request for Clinical Information

       In order to substantiate time out of work for this patient and evaluate their daim for disability payments, it is
       nece5sary to have a clinical update related to their medical condition. In order to make a determination. the
       information with an X below is required from 09/01/2022 through present.

           x Copies of office 'ii sit notes, progress notes, SOAP notes and/or treatment notes

          x Diagnostic tes1 resutts (X-Rays, EMG, NCI/, EEG, ECG, MRI, CAT scan, MMPI reports, etc.)

          x Medications

           x Lab reports (CBX, Fil:rinogen, Hemoglobin A1C, TSH, etc.)



          x Operabve and pathology reports

           Prenatal records including prenatal ffow chart: ultrasound results, Fibronet1in test results, non stress test
           results and any other objective test results for prenatal care

            x Hospital histcty and physical and admit and discharge summaries

           x Physical therapy progress notes

            x Physician's progress notes and flow sheets,-inpatient hospital or psychiatric

           x Return to wctk recommendation

           x Restrictions and limitations

           Other

      If payment is required, please fax an invoice with the tax identification number to the fax number listed
      above.

      Thank you,
      8 PETTY
      Di,,ability Case Manager
       Case 4:25-cv-00911-DMR                          Document 1          Filed 01/28/25      Page 360 of 500
                                    (                                                    (
                                                                                                              360


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    one
  •=·         medical
  One Medical Group                                                                                  595 Castro Street
                                                                                                     San Francisco, CA 94114

  To:                                                                                                phone: 888-663-6331
  From: Chris Ibanez                                                                                 fax: 415-291-0489




          Patient
          Patient                       Michael Darden
          DOB                           05/05/1966
          Sex                           M
          PCP                           Emanuel Vergls, MD
          Patient ID                    110786538
                                        1801 Shore Line Dr
          Address                       Apartment 307
                                        Alameda, CA 94501


          Anthem Blue Cross of California PPO
          Member ID: XDP241W06151
          Effective At : 01/01/2021
          Policy Holder: Michael Darden (Self)




                                ***All records based on the parameters of your request.***
       Case 4:25-cv-00911-DMR                            Document 1            Filed 01/28/25              Page 361 of 500
                                     (                                                           (
                                                                                                                                 361


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  Active Medications
  aspirin
  81 mg DR tabs, 1 tab PO qday as needed for migraine aura

  buproplon HCI
  300 mg extended release PO qam

  clonazepam
  0.5 mg tabs, 1 tab PO qday as needed for anxiety

  mlrtazaplne
  15 mg rapid dissolve PO qhs

  trazodone
  50 mg tabs, 1 - 3 tabs PO qhs as needed for Insomnia



  Notes
  BEGIN • Lab Result

  Note litle                 Lab: Testost.
  Note Type                  Lab Result
  Date of Service            Wed Dec 07 2022 @ 09:40 AM
  Created By                 Medical Team
  Signed By                  Emanuel Vergls, MD (NPI: 1962478495)
  Date Signed                Wed Dec 07 2022@ 10:04 AM




          This lab report was automatically sent to the patient in this messagg
          {tlllps://one.1Ijfe.com/110786538/patient timeline posts/18348354) on 1217/2022 at 9:40 AM because it contained no abnormal or
          critical results.


       DARDEN , MICHAEL                                                                                           Overall Report Status: FINAL
       (SN: 34022926730)                                                                                              Received on 12/07/2022
        Case 4:25-cv-00911-DMR                                 Document 1                      Filed 01/28/25              Page 362 of 500
                                          (                                                                     (                               362


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         Lab Report from LabCorp
                                                                                                                                                 -    -
          Specimen Number                                Patient ID                     Control Number                     Account Number

          34022926730                                    110786538                          4960838                        04177620

         Patient Last Name                                                              Account Address

          DARDEN
                                                                             ·-
         Patient First Name                   Patient Middle Name
                                                                                        One Medical Group
          MICHAEL
       f--           -         ~
                                              ~---                 ---        -         1955 Broadway
         PatlentSS#             Patient Phone                Total Volume               Suite A Oakland ~JCalifomial 94612

                                917-868-8780
      -
         Date of Birth                          Sex           Fasting

          1966-05-05                            M             N                         Additional Information

         Patient Address
                                                                                                                                                      -
                                                                                        Physician Name              NPI#               Physician ID

        Datemme Collected
        2022-12-06 07:06:00
        PST
                                   Date Entered
                                   2022-12-06 21:00:00
                                   PST
                                                             Datemme Reported
                                                             2022-12-07 09:07:00
                                                             PST
                                                                                      - VERGIS, E                   1962478495




        Tests Ordered

        Testosterone (004226)                                                                                                                   =-_]
        TESTS                             RESULTS                  FLAG            UNITS              REFERENCE INTERVAL

        Testosterone

             Testosterone                 488                                      ng/d l             264-916                                    01


               ~ dult male r eference interval is based on a population of
               lhealthy nonobese males (BMI <30 ) between 19 and 39 years old.
                 ravison, et . al. JCEM 2017,102;1161-1173. PMID: 28324103 .




        01      01       Labcorp San Diego                                                                                   Dir: JennyGallowayMD
                         13112 Evening Creek Dr So Ste 200, San Diego, CA 92128-4108

        For inquiries, the physician may contact Labcorp at 800-222-7566 Lab: 858-668-3700


 END - Lab Result



 BEGIN - Lab Result

  Note nue                        CC Lab: Ferrltln
  Note Type                       Lab Result
  Date of Service                 Wed Nov 16 2022@05:10 PM
 Created By                       Medical Team
 Signed By                        Jenneh Rishe, RN
 Date Signed                      Sun Nov 20 2022@ 01 :14 PM
      Case 4:25-cv-00911-DMR                                    Document 1               Filed 01/28/25           Page 363 of 500
                                            (                                                             (
                                                                                                                                            363


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       DARDEN, MICHAEL                                                                                                    Overall Report Status: FINAL
       (SN : 31922929830)                                                                                                     Received on 11/16/2022



       Lab Report from LabCorp
      -       ---                                                              -     ------                                            -----
       Specimen Number                                    Patient ID                 Control Number
                                                                                                              7 •~•""'       N"mb"
       31922929830                                        10073                      3192292983                    04023160
      ---                   -                                                              --
       Patient Last Name                                                             Account Address



      -DARDEN

       Patient First Name                       Patient Middle Name
                                                                         --·-

       MICHAEL                                                                       One Medical Group
                                                                                     3850 Grand Avenue Oakland .cA..<QslifQ.mill) 94610
       Patient SS#              Patient Phone                 Total Volume

                                917-868-8780

       Date of Birth                            Sex            Fasting

       1966-05-05                               M              N                     Additional Information

       Patient Address

      1801 SHORELINE DR APT 307                                                      Physician Name             NPI#         Physician ID
      ALAMEDA
      CA, 94501-6084                                                                 MASKA, p                                MASKA,P

      Datemme Collected             Date Entered              DatefTlme Reported

      2022-11-14 23:01:00           2022-11-15 21:00:00       2022-11-16 16:35:00
      PST                           PST                       PST




      Test_
          s _O-rd
      Ferritin

      TESTS
                 _ e_r-ed
                (004598)______________ -


                                I   RESULTS         FLAG  I UNITS          I
                                                                               -    -- ------------------- -


                                                                       REFERENCE INTERVAL I
                                                                                                                                                 J
                                           _ _ ___,,_ _ _ __ . _ _ _ ~ - - - - ' - - - - - - - - - - - - - - - ~ - - - - J
      Ferrltln

           Ferritin             196                                         ng/ml          30-400                                           01



      01      01      Labcorp San Diego                                                                                Dir: JennyGallowayMD
                      13112 Evening Creek Dr So Ste 200, San Diego, CA 92128-4108

      For inquiries, the physician may contact Labcorp at 800-222-7566 Lab: 858-668-3700


 END - Lab Result



 BEGIN - Consult Letter
       Case 4:25-cv-00911-DMR                  Document 1          Filed 01/28/25     Page 364 of 500
                                (                                                (
                                                                                                  364


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  Note Title             Consult Letter
  Note Type              Consult Letter
  Date of Service        Fri Oct 28 2022@ 12:47 PM
  Created By             Erica Relnganum
  Signed By              Tessa Lannoy, FNP-BC (N PI: 1801170725)
  Date Signed            Sun Oct 30 2022 @ 10:57 AM
         Case 4:25-cv-00911-DMR                   Document 1             Filed 01/28/25            Page 365 of 500
                                                                                         (
                                                                                                                    365


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      atiiena                    10-28-2022 3:33 PM ET             515-4435634 7                                DQ 1 of 6




                                CONFIDENTIAL Fax
                    FROM:
                            PATRICIA MASKA, MD
                            5601 NORR IS CANYON RD STE 240, SAN RAMON, CA 94583-5407
                            Phone : (510) 748 -5363
                            Fax: (925) 289-4975

                   TO:
                            EMANUEL VERG IS MD
                            Fax: (415) 291-0489



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       Case 4:25-cv-00911-DMR                                                                                  Document 1                                          Filed 01/28/25                                             Page 366 of 500
                                                                           (                                                                                                                             (
                                                                                                                                                                                                                                                                       366


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      athena                                                                10·28·2022 3:33 PM ET                                                     51~356347                                                                                                    P<l 2 of 6



              PAJBICIA SUZANNE MAS KA MP • 560) NORRIS CANYON BP STE 240 SAN RAMON CA 94583-5407
              DARDEN, Michael (id #1 0073, dob: 05/0 5/1966)
              PATRICIA SUZANNE MASKA MD
              5601 NORRIS CANYON RD STE 24 0
              SAN RAMON, CA 94583 -5407
              Phone : (510) 748-5363
              Fax : (9 25) 289-49 75

              Encounter Summary - Progress Note
              Date Printed : 10/28/2022
              Attention: Emanuel Vergis MD


              This fax may contain sensitive and confidentia l personal health information that Is being sent for the sole
              use of the intended recipient. Unintended recipients are directed to securely destroy any materials
              received . You are hereby notified that the unauthorized disclos ure or other unlawful use of this tax or any
              persona l hea lth information Is prohibited. To the extent patient information containe d in this fa x is subject to
              42 CFR Part 2, this regulation prohibits unauthorized disclosure of these record s.

              If you received this fa x in error, plea se visit www.athenahea lth.com/NotMyFax to notify the sender and
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              8436 to notify the sender and confirm that the information will be destroyed . Thank you for your attention
              and cooperation. (10:744 792 -H-3387}


              t:::ent :::::::::::J:::~:~:~chael::(56yo,:M)::# 10073::::::::::::::::::::::::::::::::::::::::,:::::::::::::::::::::::,::::::::::::::::::::::::::::::::::::::::::::'.''''.':::::l



              ! Address                           ll lfaO~eSdht~~~4ii~M00/atlent Demo9rap ~',; ;,T:~:,r :~:~2~,j [r,\?~I},,~~:~:;,~J:~:?::::::::::::::::::::::::::::,:,1
              , .................................,!11.. ............................................................................................. J\ii ................................
              1                                                                                                                                            Work Phone J\                    !,
                                                                                                                                                                                               .............................................................. .•

                                                                                                            Patient Medical Hi story:
              j Encount e r                       !Followup: Migraine with aura
          ! Reas on/Date ! Followup: Vertigo
          i                                   i Followup : Periodic limb movement disorder
          :                                   ! Followup : Obstructive sleep apnea syndrome
         !.................................,.:,i ..................................................................................................................................................................................................
                                                 10/28/2022 - 11:30AM - SAN RAMON                                                                                                                                                                   ..
         i Hi story of                            !CPAP, oral appliance f/up
         lPres e nt                               i    Reported by patient.
         ! Illne ss                               !
         i                                        '             Duratio n of therapy: not using oral appliance due to too expensive

        ii                                             Hea dach e - f/up
                                                            Reported by patient.

       I:,
                                                 !
                                                  i.
                                                               Timing of pain: frequenc y of migraine: ( days/month) (8-12)
                                                               Se verity of pain: se verity score 5-10 out of 10
                                                               Duration of pain: pain lasting 4 hrs to all day
        i
        i
                                                 i
                                                 ;
                                                               Associated Symp toms: na usea (somet imes ); se nsitivity to light (so met imes );
                                                               se nsitivity to sound (somet imes )


       I                                         ISl . .      p"'"''' by pa tie~ .
       !                                         i             Associated Symptoms: e xc essive daytime s le e piness; suspecte d
       !,                                        ;,            respiratory e vents: witnessed apneas; RLS symptoms occurring at r est;
                                                 .             Increase d motor activity at night (PLMS)
       ,·!:                                                    Durat ion: sleep Issues most nights per week
                                                               Severity: no t slee py driving
                                                               Notes:


       1




       1,                                       1,·    v,,,,i~;;;~~;;:;.~:~;::::~~iI::;;~•/::                                                                           LI
                                                               Duration: symptoms constant
        PATRI CIA SUZANNE MAS KA, MD                                                                                                                                                         Darden,Mlchael (ID : 10073), DOB:05/05/1966
       Case 4:25-cv-00911-DMR                                                                              Document 1                                                    Filed 01/28/25                                                        Page 367 of 500
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      athena                                                          10-28-2022 3:33 PM ET                                                                                                                                                                                               oo 3 of 6

                                                  Severity: severity of vertigo 5/10 to 10/10.
                                                  Associated Symptoms: associated nausea
                                                  Evaluation: per Gre gory, vestib testing done yest at UCSF and that they sai d that it
                                                  did not show a lot of peripheral component of vertigo .
                                                  Notes:
                                                  I rev'd neur o-otlogy notes Dr Sharon UCSF.
                                         .        In bed 10-14 hours a day.
                                         i Patient wa s seen as telehealth under the extended PHE re newa l. Pati ent gave consent for
                                         j tele -heaith vi sit .
                                         i
                                         ! Pt ok w/ husband Gregory in visit.
                                         i
          ............................... ) ~~.~.~.!~.~..?..1:..~~.~~r.~.~.~.~ ..~~.r..~.~.!.~~Y.:............................................................................................................................... .
        i Past Medic a l i Reviewed Pa st Medical History
        j History                          i Anxiety Disorder: Y
        i                                  l Depression: Y
        i                                ! Headaches : Y
        i                                ! Heart Problems: Y - MVP
        !                                l Migraines : Y
        /                                j Kidney Dise ase : N - no kidney stones
        i                                i Notes: PTSD
       !i Problem List Reviewed
        •.......................... ,.,....,:,.,,.,_.,,, ..,.,,,,,.,,.., .. ,n .. ., ..............................,, ........ ••••n• .................. ..... • ..•••""""""""""' '" ''''""""''"" ""'''"""""""'"'"" ' ""''"''"''"''' ' '
                                Problems
                       • Body mass index 2!>-29 - overweight - Onse t : 02/0 3/20 22
       •                                     • Obstructive sleep apnea syndrome - Onset : 08/29/2022
       i                                   • Periodic limb movement disorder - Onset: 08/29/2022
       i                                 i • Migraine with aura - Onset : 11/01/2021
       i                                 ! • Neck pain - Onset: 03/24/2022
       j                                 i •      Vertigo - Onset: 11/01/2021
       j                                     • Persistent postural perceptual dizziness - Onset : 10/28/2022
       !,                                    • Headache - Ons et: 11/01/2021
                                             • Snoring - Onset: 11/01/2021
                                             • Elevated blood-pressure reading without diagnosis of hypertension - Onset : 08/29/2022
       !                                     • Suicidal thoughts• Onset : 05/27/2022
       i                                     • Nonspecific paroxysmal spell - Onset: 05/27/2022
       i                                     • Caregiver role strain - Onset: 08/29/2022
       j                                     • Mlgrainous vertigo - Onset: 10/28/2022

       j A11 e r 9 le s LI st (.•••••u
       •
                                 Reviewed            : AJ le rg ies ::::::::::::::::::::::::::::::::::::::::::::::::~::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::~::::::::::::::::::::::1
                                       ..oo••••••••••••••••••••••••••••••••••••••••••••••••• .... •••• .. •••••••• .. •• ••• ••••••-••••ooun••••••••••••u•••• .. ••••••••• •..                                ••••••••••• • ••• - ••••••• • •H••••H... ,.,.r•••• • ..•••• .. • • 'i'

       j
       •
                                             j PENICILLINS                                                                                                                                                                                                   11
                                             •••••o••- •••• ..• .. ••••••••••••••••••-••••••••••••••••u••••••••-•••••••••••••• .. •••• • .. ••••••••• •••••• •••••• •••• ••·•••••• .. ••••• •••••••••••••••••••••• .. ••••••••••••••• .. •••••• ' ••••••••••--•••J
                                                                                                                                                                                                                                                                                      I

       rM·;·d-,~·;t·i~~; --· F;;;;.W..~.ci...~.~.ci._i_~~.~.i.; ;·;.::::::.--................................................::::::::~:::::::::::::::::::...................... :::::::::::~.-.-:::::::::::::::::::::·
       [                                  i buPROPion HCL XL 300 mg 24 hr tablet, exte nded                                                                                                                               10/12/22 filled

       !
       j
                                          [I.;tE~~1~~.L.~.! .. ~~.~ .?..~ ~..
                                          jclonazePAM 0.5 mg tablet
                                                                                                                ~Y~.~.~..~~:........................................................... ................................................
                                                                                                                                                                                         07/19/22 filled
                                                                                                                                                                                                                                         .

       i                                  i TAKE 1 TABLET(S) BY ORAL ROUTE, DAILY AS NEEDED ANXIETY
       [                                  j, FOR 30 DAYS
       :                                 :t···························································································· .. •••••••••••••••••••••••••••••••••••••••••••••••••• •••••••••••••••••••••••••••••••••••••••••••••••••
       j                                jj Emgality Pen 120 mg/ml subcutaneous pen injector                                                                                                                               10/28/22                     prescribed
       j
       .
                                        !! Inject 1 ml e v e ry month by subcutaneous route for 30 days.
                                        ,t ..••·•••••••••••••·•·••· .. ••••••••• .. •••••• .... •••·•.. •••h•··•••• •• • •• .. ••·-•• • ••••••••·•.. ·•••·•• .. ••• •• ••••·••• • • .. •••• • ••· •• •••• .. •• • ••O••   ·•• • ••· • ••••••·••·••··•·••• • •• • •--•••··••••••-- •

       [                                l 1 escitalopram S mg tablet                                                                                                                                                      12/14/21 filled
       1                                  )mirtazapine 15 mg tablet                                                                                                                                                       10/13/22 fille d
       i                                  jTAKE 1 TABLET(S) BY ORAL ROUTE AT BEDTIME FOR 30 DAYS
       j                                  i traZODone SO mg tablet                                                                                                                                                        10/12/22 filled
       i                                ji TAKE 1-2 TABLETS BY MOUTH AT BEDTIME AS NEEDED FOR
       !                                ,[.INSOMNIA ......................................................................................................................................................................... .
       !Soclal                          ' Reviewed Social History
       !History                           Education and Occupation
       i          •                       What is the highest grade or level of school you have completed or the highest degree
       i                                  you have received? : Master's degree (e .g., MA, MS, MEng, MEd, MSW, MBA) (Notes :
       i                                  Instructional designer)
       i                                · Are you current ly employed?: No (Notes: disability since 04/21)
       i                                  Diet and Exercise
       i                                  What type of diet are you follow ing? : Regular
       i                                  What is your exercise leve l?: Occa sional (Notes: Walking)
       i                                  Actlvlt les of Dally Living
       j                                . Are you able to care for yourself?: No
       i                                ! Are vou blind or do vou have difficultv seeino?: No (Notes: Soots in eves)
       PATRICIA SUZANNE MAS KA, MD                                                                                                                                                                        Darden, Mic hael (ID : 1007 3), DOB: 05/05/1966
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  -   athena                                                           10-28-2022 3733 PM ET                                                     5 15-44356347


                                               Are you deaf or do you have serious.difficulty hearing? : No (Notes: Ringing in ears)
                                               Do you have difficulty concentrating , remembering or making decisions?: Yes
                                               Do you have difficulty walking or climbing stairs?: Yes (Notes: Sometimes)
                                               Do you have difficulty dressing or bathing?: Yes (Notes : Sometimes)
                                               Do you have difficulty doing errands alone?: Yes
                                               Which of your hand s is dominant?: Right
                                             : Publl c Hea lth and Trave l
                                             i Have you been to an area known to be high risk for COVID-19?: No
                                             • 1n the 14 days before symptom onset, have you had close contact with a laboratory-
                                               confirmed COVID-19 while that case was ill?: No
                                               In the 14 days before symptom onset, have you had close contact with a person who Is
                                               und er Investigation for COVID-19 while that person was ill?: No
                                               Substance Use
                                               Do you or have you ever smoked tobacco?: Never smoker
                                               Do you or have you ever used any other forms of tobacco or nicotine?: No
                                               What was the date of your most recent tobacco screening?: 10/28/2022
                                               What is your level of alcohol consumptio n?: None
                                               What Is your level of caffeine consumption?: Occasional
                                              Advanced Direct iv e
                                               Do you have an advanced directive?: Yes
                                               Marriage and Sexua li ty
                                              What is your relationship status?: Married (Notes: husband Gregory)
                                              Llfestyle
                                               Do you feel stressed (tense, restless, nervous, or anxious, or unable to sleep at night)?:
       .                                       Rather much
       1                                       Do you use your seat belt or car seat routinely? : Yes




       :~;~ ~. '. r~.~~=:·':' :Hi•)·~~~;~~:: : : : : : : : : : : : : : : : : : : : : : :~: : : j
                                            !!
                                                                         'l       ![ - Hyperlipidemia                                                                                                                                                   j
                                            t '::::::::::::: :::.:.::::: ::::::::~ :::.:::.:.::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::.:.::::::::::::::'"::::::::.::
                                            ii                                   i[ - Congestive heart failure                                                                                                                                          j
                                               ~::::::::::::~:.:.::::::::::::.:.:~ ::::::::::::::::::::::::::::::::::::::::::::::::::::.::::::::::::::::::::::::::::::::::::::;::::::!:..::::::::::::::::::::..::::::::..::::::::::::::::..:::~:::~::::::::
                                               !                                i[           -Coronary artery bypass grafts x 3                                                                                                                               ]

                                               r
       t ............................. no :seizures:::::J ::::::~::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::~::::::::::.:::::::::::::::::::::::::::::::!.
       1Review of                      None recorded
       [Systems............ ' .................................................................................................................................................................................................... .




                                               Head: Appearance atraumatic.

                                             Mental Status: Level of conscio usness alert and attentive . Mood, Affect normal mood,
                                             euthymic and affect congruent with mood . Attention/Concentration: normal attention and
                                             concentration. Orientation oriented to place and situation and orientated to person.
                                           j Language, Speech no dysarthria or aphasia or dysphasla note d and normal fluency.
                                           i Memory, Recall recent memory grossly normal.
                                           i
                                           !Cranlal Nerves: Cranial Nerve VII approximately symmetric smile and forehead
       ................................... !.contra.ction ........................................................................................................................................................................... .
       1Results/                           i None recorded
       i lnt erpretat lohs
       !··································!'·······.... ·.. ······ .. ······ .. ··· .. ············ ............................................................................,... ,....................................................... ,........... .
       PATRICIA SUZANNE MAS KA, MD                                                                                                                                                         Darden,Mkhael (ID: 10073) , DOB:05/05/1966
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            !Document


           IHlsto,y __
           i Procedure
                                      Jt~~~~:f
                        i None recorded
                                          !Discussed the following documents:


                                                                            t~~i~:~,~:?~~~~~:::;;;~: _~~:,~~ ~~'.:~:'.',o, _c,mm,ncy_



           [Doc_umentatl~n ................................................................................................................................................................................................ .
                                                                                               Assessment and Plan:

        !:::.•;,~~•o•                    l ;;;;;;;:;;~':," -                                  - -         -           - - - - - - -                                 - -            - -        -           - -


           i
           i
                                          !Risk
                                           Discussiorvexam time spent with patient/care partner: 16 min
                                                assessment : testing options, medication options, lifestyle changes : 16 min
           i                                  Charting : 8 min

           .!                                 flu In 6 weeks
           .                                  1. Migraine with aura -
           i                                  Michael has Vestibular migraine. Episodic migraine. Baseline headache days per month: 8-
           !                                      12, la sting more than 4 hours per day. Needs intervention. We discussed the R&B of
           !                                     med options. Neuro-otology recommended Emgality. I think this is a good option for
           i                                     Michael .Side effects rev'd. Michael wants to try It. I answered questions re: testing,
           !                                     meds, prevention.
           I
           !                              i
                                          ,   Preventive meds tried: Qullipta, Nurtec (did not tolerate). VPA, Ela vii, lexapro,
           '
           !'                             i      bupropion, GBN 300 mg, lorazepam. OTC preventives tried: B2, magnesium
           '                              i G43.109: Migraine with aura, not Intractable, without status mlgrainosus
                                          i • MIGRAINE AURA WITHOUT A HEADACHE: CARE INSTRUCTIONS
       I                                    • Emgality Pen 120 mg/ml subcutaneo us pen injector - Inject 1 ml every month by
                                              subcutaneous route for 30 days . Qty: 11 ml syrlnge(s)
                                              Pharmacy: CVS/PHARMACY #9255
                                                                                                            Refills : 1 DAW: Y


                                              2. Vertigo -
       !                                      Seen by neuro-otology at UCSF, Dr Sharon. He felt Michael has vestibular migraine, PPPD
        '                                         and a peripheral vestibulopathy. Vestib testing done yest at UCSF; we will request
                                                  results. I answered questions re : dx. testing, treatment.
                                         !        R42: Dizziness and giddiness

                                         !3. Obstr uctive sleep apnea syndrome -
                                         ' EDS, suspected apneas. Per pt, OAT too expensive. Needs further evaluation. I will request
       Ii                                     eva luation W/ a sleep MD. Needs eval. I will request a TSH. I answered questions re: dx.
                                              testing, treatment.
       i                                      G47.33: Obstructive sleep apnea (adult) (pediatric)
       i                                    • SLEEP APNEA : CARE INSTRUCTIONS
                                            • SLEEP MEDICINE REFERRAL -        Schedule Within: provider's discretion Note to

       I
       !
                                              Provider: OSA. Pis eval for treatment options. EDS, suspected apneas . Per pt, OAT too
                                              expensive.
                                            • TSH, SERUM OR PLASMA
       !!
                                          4. Periodic llmb movement disorder -
       l                                  Michael has periodic limb movements during sleep that wakes him up according to
       !                                      polysomnogram - diagnosed with mod OSA. Needs eval. I will request a ferritln leve l.
       ''                                     As before, I am not advising using benzo for PLMD treatment at this time. Defer to
                                              psychiatry to determine whether adjustment to his psych meds sho uld be made for
       i!                                     PLMD. I answered questions re : dx. testing , treatment ..
                                              G47.61: Periodic limb movement disorder
                                         i • FERRITIN, SERUM OR PLASMA
                                         l
       I
       i
                                              5, Mlgralnous vertigo
                                                  H81.8X9 : Other disorders of vestibular function, unspecified ear

                                             6. Suicida l thoughts •
       'i                                    Passive SI. Contracts for safet y. He has a support system for psych issues. Has
       I
       i
                                                 psychiatrist and a therapist.
                                                 R45.851: Suicidal ideations
                                              • SUICIDAL THOUGHTS IN A FAMILY MEMBER: CARE INSTRUCTIONS
       l
       i'                                . 7. Persistent po st ural perceptua l dizziness

       PATRICIA SUZANNE MAS KA, MD                                                                                                                                 Darden , Mkhael (ID : 10073), DOB :05/05/1966
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        lj
                                           '
                                           ~
                                                     R42 : Dizziness and giddiness
                                           l


        !
        i
                                           !i Return
                                               •
                                                     to Office
                                                     to see Patricia Maska, MD for PSM telehealth 30 at SAN RAMON on or around
        L..............._ ..............   l.........1210 9,2 o22 .....................................................................................................................................................................

                                                                           Electronically Slaned bv : PATRICIA MASKA, MD

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                                                                                                             10/28/2022




       PATRICIASUZANNE MAS KA, MD                                                                                                                                         Darden,Mkhael (ID : 10073), 008 : 05/05/1966
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  END • Consult Letter



  BEGIN • Lab Result

  Note Title                 Lab: FIT
  Note Type                  Lab Result
  Date of Service            Fri Oct 14 2022@ 11:40 AM
  Created By                 Medical Team
  Signed By                  Emanuel Vergis, MD (NPI: 1962478495)
  Date Signed                Sat Oct 15 2022@ 06:48 AM




          This lab report was automatically sent to the patient in this messag§
          (tlltps://one.1life.com/110786538/patient timeline posts/17876753) on 10/14/2022 at 11 :40 AM because it contained no abnormal
          or critical results.


       DARDEN, MICHAEL                                                                                            Overall Report Status: FINAL
       (SN: 28622921870)                                                                                              Received on 10/14/2022
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       Lab Report from LabCorp

       Specimen Number                               Patient ID                       Control Number                     Account Number

       28622921870                                   110786538                        4826708                            04338885

       Patient Last Name                                                              Account Address

       DARDEN
      1-----------~---------
       Patient First Name                Patient Middle Name

       MICHAEL                                                                        One Medical Group
                                                                                  -   595 Castro Street San Francisco .Q8.(.Q.a!if2miru.94114
      --;atient SS#~           atlent Phone                Total Volume

                             917-868-8780
                                     --~-----'T--------1
       Date of Birth                      Sex               Fasting

       1966-05-05                         M                 N                         Additional Information

       Patient Address

       1801 SHORELINE DR APT 307                                                      Physician Name              NPI#              Physician ID
       ALAMEDA
       CA, 94501 -6084                                                                VERGIS, E                   1962478495

      Datemme Collected        Date Entered                Date/Time Reported
      2022-10-12 21 :00:00     2022-10-13 21:00:00         2022-10-14 11 :06:00
      PDT                      PDT                         PDT

      Tests Ordered

       Occult Blood, Fecal, IA (182949); Please note (199999)

      TESTS                                   I RESULTS               IFLAG           IUNITS       I   REFERENCE INTERVAL                     I LAB
      Occult Blood, Fecal, IA

           Occult Blood, Fecal, IA              Negalive                                               Negative                                   01

      Please note

           Please note                                                                                                                            01


             The date and/or time of collection was not indicated on the
             requisition as required by state and federal law. The date of
             receipt of the specimen was used as the collection date if not
             supplied.

      ---
      01      01     Labcorp San Diego                                                                                     Dir: JennyGallowayMD
                     13112 Evening Creek Dr So Ste 200, San Diego, CA 92128-4108

      For inquiries, the physician may contact Labcorp at 800-222-7566 Lab: 858-668-3700


 END • Lab Result



 BEGIN • Office Visit
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  Chief Complaint               ANNUAL EXAM 10-4-2022
  Note Type                     Office Visit
  Date of Service               Tue Oct 04 2022 @ 02:25 PM
  Created By                    Emanuel Vergls, MD (NPI: 1962478495)
  Signed By                     Emanuel Vergls, MD (NPI: 1962478495)
  Date Signed                   Tue Oct 04 2022 @ 02:53 PM




  Subjective


  Patient presents for annual wellness visit.
  1. Accompanied by Gregory - bullying trauma at their place of residency --> they prefer to be together until the situation is better; verbally assaulted
  by men in the apartment next lo them;
  2. FIT test in lieu of colonoscopy
  3. review labs;
  4. flu shot
  5. scheduled to see oto-neurologist at UCSF next week for refractory migraines; audiology assessment this week;

  Reviewed age-appropriate health maintenance goals.

  PMH, PSH, Medications, Allergies, FHx reviewed and updated.

  Social Hx:
  Reviewed and updated in chart.

  ROS focused on patient risk factors:
  ROS negative except for pertinent positives listed above



  Vaccinations


  Influenza (preservative-free) 10/05/2021
  Influenza (preservative-free) 10/03/2019
  measles, mumps & rubella IMMUNE BY TITRES 2021
  SARS-CoV-2 mRNA vaccine (Pfizer) 07/17/2021
  SARS-CoV-2 mRNA vaccine (Pfizer) 06/26/2021
  varlcella IMMUNE BY TITRES 2014
  zoster (recombinant) 10/08/2020


  Health Background


 Surgeries & Important Events
 SURGERIES:
 none

 Family Data
 Mother: DM2; recovered from COVID-19 earlier in 2022;
 maternal family history: MGF (stroke, blindness, cancer)

 Father: deceased due to CHF in 2000 (post operatively CABG x 3V)
 paternal family history: PGF (deceased), PGM (heart problems)

 Siblings: older brother (healthy)

 Social Data
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  Occupation: currently on disability; instructional design Al driverless vehicle
  Relationship status: married to Gregory W (also my patient)
  Diet: no issues per se;
  Exercise: not very active currently
  Sleep: improving, but not yet optimal
  Caffeine: some
  Tobacco: none at present
  Alcohol: none
  Substances (e.g. In the last year, have you used any drugs or prescription medications for non medica l use?):



  Allergies


  Penicillins (hives)


  Vitals


  sys dla HR RR temp wt         ht   BMI Sp02 FI02
  12278 78 -     -      160 lb65.5 in26.2-


  Exam


  I conducted the encounter wearing the following PPE: N95, face shield/goggles, gloves. The patient was wearing a mask.

  General: No distress
  HEENT: EOMI, nl conjunctiva & lids, hearing grossly nl
  Neck: supple, no concerning masses, no LAD
  Lungs: CTA bilaterally, nl effort
  CV: RRR, no M/R/G
  Abd: S/NT/ND
  Neuro/Psych: Normal affect, normal speech
  Skin: Warm and well perfused



  Procedures & Services




  Assessment & Plan


  In somnia · TRAZODON E, MIRTAZAPINE • G47.00
  5/17/2021 :
  Psychiatry prescribed trazodone 50 mg po QHS as needed (up to 3 tablets per night);
  Gabapentin was stopped;

 7/20/2021 :
 continues to take trazodone 50 mg po as needed;

 8/10/2022:
 continues to take mirtazapine and trazodone;

 10/4/2022:
 continue trazodone/mirtazapine;

 Severe depression • F32.2
 8/10/2022:
 follow-up with Dr. Jillian;
 stable on bupropion 300 mg per day;
 currently on permanent disability;
         Case 4:25-cv-00911-DMR                             Document 1            Filed 01/28/25   Page 375 of 500

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                                             I
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    10/4/2022:
    continue bupropion;
    advise<l him to discuss recent verbal bullying with his therapist;
   Vestibular migraine - G43.809
   Characterized by dizziness, tinnitus;
   10/11/2021:
   he has noticed an uptick in headaches;
   will identify an in-network provider for this;
   discussed magnesium and B2 as preventatives;
   118/2021:
   Follow-up with neurology;
   prior authorization for rimegepant pending;
   12/17/2021:
   NURTEC approved;
   advised by his neurologist to take ASA 81 mg at onset of aural migraine symptoms;
   8/10/2022:
   Work-up thus far (MRI, sleep study) not identifying substantive cause of migraines;
   EEG results pending;
   No improvement following vestibular PT;
   No longer taking NURTEC as this seemed to worsen his migraines;
   10/4/2022:
   Seeing oto-neurologlst at UCSF next week;
   failed prior treatment options for migraines;



   END • Office Visit




END· Medical Record: Unedited

BEGIN • Medical Records Release Form (3rd party)
                3rd Party MRRF: Anthem Blue Cross
Note Title
                (UNEDITED)
        Case 4:25-cv-00911-DMR                           Document 1                Filed 01/28/25               Page 376 of 500
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•=·   one medical
595 Castro Street San Francisco, CA 94114             Phone: 888-663-6331 • Fax: 888-663-6331
Note Type       Medical Records Release Form (3rd party)
Date of
                Thu Jan 19 2023 @ 12:35 PM
Service
Created By      Erica Reinganum
Signed By       Chris Ibanez
Date Signed     Fri Jan 20 2023@ 06:13 PM


Type records (medical, billing, or all) : MED Date range: 9/1/2022 - Present Send records to : 800 850 0017 Edited: NO- because pt is using disability
benefits through their insurance. Excluding :•• Release EXPIRES: N/A Confirm signature: N/A Date sent: 01/20/2023 MRS: Chris Ibanez
       Case 4:25-cv-00911-DMR                           Document 1                Filed 01/28/25                 Page 377 of 500

                                                                                                                                         377



595 Castro Street San Francisco, CA 94114            Phone: 888-663-6331 • Fax: 888-663-6331
 0 01-19-2023 3:33 PM                Fax Services                         ➔ Dr. Emanuel Vergis                                         pg 1 of 2




                              To:      Dr. Emanuel Vergis
                        Company:
                            Fax: 14152910489
                          Phone: (415) 529-4099


                         From:    Shaleea Petty
                             Fax: 18008500017
                           Phone: (470) 784-1971




             NOTES:
             Medical Records




          Pl'Oviders: You are required to return, destroy or farther protect any PHI received on this document
          pc11aining to members that you are not cuncntly treating. Providers arc required to immediately destroy
          any such PHI or safeguard the PHI for as long as it is retained. In no event arc you pe1mittcd to use or re-
          disclose such PHI.
          IMPORTANT WARNING:
          This message is intended for the use of the person or entity to which it is addressed and may contain infonnation that is privileged and
          confidential, the disclosure of which is governed by applicable law. If the reader of this message is not the intended recipient, or the
          employee or agent responsible to deliver it to the intended recipient, you are hereby notified that any disse111ination, distribution or
          copying of this infonnation is STRICTLY PROHIBITED. Jfyou have received this message by error, please notil')' us immediately and
          destroy the related message. You, the recipient, are obligated to maintain it in a safo, secure and confidential 111anner. Re-disclosure
          without appropriate patient consent or as pennitted by law is prohibited. Unauthorized re-disclosure or failure to maintain
          confidentiality could subject you to penalties described in federal and state law.

                             Date and time oftra11smissio11: 01-19-2023 3:33 PM
                             Number of pages i11dndi11g this cover sheet: 2
        Case 4:25-cv-00911-DMR                                                                    Document 1                                     Filed 01/28/25                                       Page 378 of 500
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 •
•••
 •    one medical
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  C;) 01-19-2023 3:33 PM                                         Fax Services                                                      ➔ Dr.       Emanuel Vergis                                                                                      pg 2 of 2



                                                                                                                Anthem Blue Croi,;s Life aud Health                                                              PO Box 105426

         Anthem
           Rluct:ross
                      .•                                   •
                                                                                                                Disability S ervic11 Center                                                                      Allonta, GA 30341Vi426
                                                                                                                                                                                                                 Tel: 800-813-5682
                                                                                                                                                                                                                 Fo x: 800-850-0017




          January 19, 2023


          Provider: Emanuel Vergis
          Phone: 4155294099
          Fax :     4152910489

          Number of pages including cover :

         Subject: MICHAELA DARDEN
         DOB: 05/05/1966
         aaim Number: LT00403220
         Reference Number: 443185

         RE: Request for Clinical Information

         In order to substantiate time out of work for this patient and evaluate their daim for disability payments, it is
         necessary to have a clinical update related to their medical condition. In order to make a determination, the
         information with an X below is required from 09/0112022 through present.

                   x Copies of office visit notes, progress notes, SOAP notes and/or treatment notes

                x Diagnostic test results (X-Rays, EMG, NCV, EEG, ECG, MRI, CAT scan, MMPI reports, etc.)

                 x Medications

                    x Lab reports (CBX, Fibrinogen, Hemoglobin A1C, TSH, etc.)



                x Operative and patl1ology reports

                    Prenatal records including prenatal flow cl1art; ullrasound resulls, Fibronectin test results, non stress test
                    results and any other objective test re!,Ults for prenatal care

                     x Hospital history and physical and admit and discharge summaries

                   x Physical therapy progress notes

                     x Physician's progress notes and Oow sheets-Inpatient hospital or psychiatric

                    x Return to wo,k recommendation

                  x Restrictions and limitations

                    Other

         If payment is required, please fax an invoice with the tax identification number to the fax number listed
         above.

         Thank you,
         S PETTY
         Disability Case Manager
         Lif : pt>(utl!; under.-.nn:n by AnU1:m 61ue c,oul,e .1"'1 H~fflt• J,.1w1,1n•.e Ci,mf,irly O .. b•ty ri r.>d v~ t'o und:r-Ar-Q : n b)' .A-nth:rn L : l11wr3n•.e c,n'f)Jny, l 11J:p:nd:l'II I t:n-. ~: ~ 11! th: GlJ: cr>~f. •~~Q~,)tnn .
         AJITHEl.1 1s ;uc,1de1:dt.rJder,u1L ll f..n1!em lnsur.tn~e Con·p ~nl!S. In:. Th~ Ct..,! Cosio n~n"C ,md S)rr".t.ll a1: 1e-J~ l:1td nuri.s of l h! E.lu! Ctol'i\ A.is,o~l!,lll .
         1!"- LTtJ~ •lJ:l'i•)




END• Medical Records Release Form (3rd party)

BEGIN• Consult Letter
                        NEUROLOGY/HEADACHE Consult Letter 12-9-
Note Title
                        2022
Note Type               Consult Letter
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•=·   one medical
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Date of
              Fri Dec 09 2022 @ 01 :11 PM
Service
Created By    Erica Reinganum
Signed By     Emanuel Vergis, MD (NPI: 1962478495)
Date Signed   Sat Dec 10 2022@ 06:55 AM



athena                        1219/2022 4:03:32 pm EST                    cbcdb2d4-5f3d-4e 7e-b 744-0d27 ec06220a         Page: 1 /6




                   ..               CONFIDENTIAL Fax
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            Case 4:25-cv-00911-DMR                                                                                                                          Document 1                                                                                        Filed 01/28/25                                                                                                  Page 380 of 500
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595 Castro Street San Francisco, CA 94114                                                                                                         Phone: 888-663-6331 • Fax: 888-663-6331
athena                                                                   12/9/2022 4:03:32 pm EST                                                                                                                                                                           cbcdb2d4-5f3d-4e7e-b744-0d27ec06220a                                                                                                                                                   Paga: 2 /6



           PATRICIA SUZANNE MAS KA.MP • 560] NORRIS CANYON BP STE240. SAN RAMONCA 9458 3-5407
           DARDEN, Michael (id #10073, dob: 05/05/1966)
           PATRICIA SUZANNE MASKA MD
          5601 NORRIS CANYON RD STE 240
          SAN RAMON, CA 94583-5407
          Phone: (510) 74B-5363
          Fax : (925) 289-4975

          Encounter Summary - Progress Note
          Date Printed : 12/09/2022
          Attention: Emanuel Vergis MD


       This fax may contain sensitive and confidential pers onal health information that is being se nt for the sole
       use of the Intended recipient. Unintended recipients are directed to securely destroy any materials
       received. You are hereby notified that the unauthorized disclosure or other unlawful use of this fa x or any
       personal health information is prohibited. To the extent patient information contained in this fax is subject to
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       and        cooperation.
       t" ................................     [ID:752984 -H-3387)
                                           1,............................." ............................................................'> ,............... H.......................................................................,... ,••••••••••                                                                                                                                                                                                    ~




       : Pati e nt                         dDarden, Michael (56yo, M) # 10073
          !...::::::::::::::m::::r.::::::~:1~::::-::m::u::::::~!'::::::::::::::::::::::::::::::~:::::::--~::::::::::::::::::::::~!::;:::-;::::::m::::::::::::::::::::::::~::::::0:. ::::::::::::::::::::::::::::::::-;:::::::::::~::::-;::::::!.!::~ 1
       i DOB
          .............. . ..... .. h
                                                  ;! 05/05/1966
                                        ................."   ..... . , ......_   . . . . . . . . . . . . .h
                                                                                                                                                                                                                                                                                                                                                                                                                                                        l
                                                                                                              . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . . . , . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . .... . . . . . . . . . , :




       , .................................. .........................................................P atlent._DemofjrapQics.: ......................... "'............................................................. ,
       iAddress                                   !!
                                              1801 Shoreline Dr/Apt 307                                                  HHome Phone H(917) 868-8780                                                                     l
                                                 .l!
       l ................................ Alameda, .CA.94501-60 8 4...................................... J[~~'~k';'~~~~''1t""""""""""""""'""""""'""""""""'"']

                                                                                                                                                       Patient Medical History:
      i Encounter                                  i Followup: Migraine witll aura
      i Reason/Date l Followup: Vertigo
      1                                           ! Followup: Periodic limb movement disorder
      l                                           1Followup: Obstructive sleep apnea syndrome
      i                                            i 12/09/2022 - 11:30AM - SAN RAMON
      1History of                                                                                                                                                                                                                                                                                                                                                                                                                                       1
      l Present
      llllness
                                                  l Headache - f /up
                                                  i
                                                  l
                                                        Reported by patient .                                                                                                                                                                                                                                                                                                                                                                           I
      II                                          Ii
                                                                   Timing of pain: frequency of overall cephalalgia: days/month (8-12); frequency of
                                                                   migraine: ( days/month) (6-10); frequency of mild cephalalgla: ( days/month) (2)
                                                                   Treatment (modifying factors) : current preventive med emgality; 1st dose emgality
                                                                   10/31/22.
                                                                   Severity of pain: pain level: migraine 8/10
      !                                           i
      ll                                          ! Sleep
                                                  !      Reported by patient.

      !                                           !.:
                                                  1
                                                                   Associated Symptoms: excessive daytime sleepiness ; snoring: mild; no RLS
                                                                   symptoms; no urge to move legs; no Increased motor activity at night (PLMS)
                                                  l                Severity: not sleepy driving
                                                  i                Treatment (modifying factors) : medications tried for sleep issues: trazodone; no
                                                  i                bothersome side effects
                                                  !Vertigo
                                                  !     Reported by patient.

                                                  !j       Quality: true vertigo: spinning sensation
                                                           Location: tinnitus occurring bilateral ; tinnitus constant
                                                  !        Duration: symptoms constant
                                                  !        Aggravating factors (modifying factors): symptoms worse with position
                                                  i        change; symptoms exacerbated by looking down
                                                  l        Evaluation: Did vestibular rehab-not that helpful.
                                                  i Patient was seen as telehealth under the extended PHE renewal. Patient gave consent for
                                                  j tele -health visit .
                                                  i Doing CBT at ucsf..
      PATRICIA SUZANNE MAS KA, MD                                                                                                                                                                                                                                                                                      Darden , Mlchael (ID : 10073), DOB : 05/05/1966
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athena                                    12/9/2022 4:03:32 pm EST                                                                    cbcdb2d4-5f3d-4e7e-b744-0d27ec06220a                                                        Page: 3 / 6



          !Past Medica l iReviewed Past Medical History
          1History       )Anxiety Disorder: Y
          i              I, Depression:  Y
          •                 Hea da ches: Y
                          i Heart Problems: Y - MVP
                         j Migraines : Y
                         i Sleep Disord er: Y - mode r ate OSA
                         i Kidney Di sease : N - no kidney stones
          .              ! Notes: PTSD
        !Problem List i Reviewed Problems
         1               [ • Body mass index 25-29 - overweight - Onset : 02/03/2022
          i              i • Reactive depre ssion (situational) - Onset: 12/09/20 22
        1                : • Obs tructive sleep apnea syndrome - Onset: 08/29/2022
        l                l • Periodic limb movement disorder - Ons et: 08/29/2022
        1                1• Migraine with aura - Onset : 11/01/2021
         l               ! • Neck pain - Onse t : 03/ 24/2022
         i               i • Vertigo - Onset: 11/01/2021
      1                  i • Persistent postural perceptual dizz iness - Onse t : 10/28/2022
     i                   l • Headache - Onset : 11/01/2021
     i                   ! • Snoring - Onset: 11/01/2021
     1                   1• Elevated blood -pre ssure reading without diagnosis of hyp ertension - Onset : 08/29/20 22
     !                   i • Suicidal thoughts - Onset: 05/27/2022
     [                   1• Nonspecific paroxysmal spe ll - Ons et: 0 5/ 27/2022
     i                   i • Caregiver role strain - Onset: 08/29/2022
     1                   i • Migrainous vertigo - Onset: 10/28/2022




     i:•::.:~::.,~:•
     :
                        ·ii;~;~;~~:;;~~;~o mg24'•,' tablet, en ended
                         !! release
                                                                                                                                                           =~c:i l UllR2'.'fill:~"='
                                                                                                                                                                       ,
                                                                                                                                                                                                                 .Ji   ,
     !
     [
                         ! TAKE , 1,TABLET _BY MOUTH _EVERY DAY """""""""'"""""""""""""""""""-L"""""""""""""""'"""""" "J
                        i! clonazePAM0.5 mg tablet                                            i ll/08/22 filled         l
     j                  i!TAKE 1 TABLET BY ORAL ROUTE DAILY AS NEEDED FOR                    1                          i
     1                  H!.\~.~.1. ~.............................................................................................................................L ...............................................1
     !                  !! Dally Multi-Vitamin start 01/01/2021                                                                                                        !
                                                                                                                                                                  01/01/21 started
     l                  !!E~g;·iit'y ..Pe~.. i20...;g/~L..;~·b~·~'i;·~·~·~~·; ..pe~..i~Je~'i';;;....... fi2,09f.ii° ...p;:~·~~-ri·b~d·
     .l
     !
                        ii.....Inject         1 ml every month by subcutaneous route for 30 days. i
                        ij mirt azapine 15 mg tablet                                         ; 11/11/22 filled
                                                                                                                                                                      ,
                                ,,... ,,. ....... - ..................... _.............-.......................................................................- ....... ............ .................... ,,........ ..
                                                                                                                                                                                     ,,


     '.                 ;j.TAKE.,1 _TABLET(Sl .BY.ORAL .ROUTE .AT.BEDTIME. FoR .30.DAYs ....l ..............,,..............................
                                                                                                                                            1
     i                  ntraZODone so mg tablet                                              l 11/07/22 filled                               l
     j                  !: TAKE 1-2 TABLETS BY MOUTH AT BEDTIME AS NEEDED FOR                i                                               j
     i                  li INSOMNIA                                                          I                                               ;
     l Socia I          } Reviewed Social History                                                '
     i History           ! l!ducatlon and Occupation
     i                   (What is the highest grade or level of school you have completed or the highest degree
     t                  1i you  have received?: Master's degree (e.g ., MA, MS, MEng, MEd, MSW, MBA) (Notes:
     i                     Instructional designer)
     i                   ! Are you currently employed?: No (Notes : disability s ince 04/21)
    1                    )Diet and Exercise
     !                   i What type of diet are you following?: Regular
     i                   !What is your exercise level?: Occasional (Notes : Walking)
     i                  i Actlvltles of Dally Living
     l                  lAre you able to care for yourself?: No
    !                   ! Are you blind or do you have difficulty seeing?: No (Notes : Spots in eyes )
     !                  i Are you deaf or do you have serious difficulty hearing? : No (Notes : Ringing In ears)
    1                   l Do you have difficulty concentrating, remembering or making decisions? : Yes
     i                  i Do you have difficulty walking or climbing stairs?: Yes (Notes : Sometimes)
    l                   ! Do you have difficulty dressing or bathing?: Yes (Notes : Sometimes)
    j                   1Do you have difficulty doing errands alone?: Yes
    i                   i  Which of your hands is dominant?: Right
    l                   , Public Health and Travel
    i                   l Have you been to an are a known to be high risk for COVID-19?: No
    !                   1In the 14 days before symptom onset, have you had clos e contact with a laboratory-
    i                   i confirmed COVID-19 while that case was ill?: No

     PATRICIA SUZANNE MAS KA, MD                                                                                                                           Dardeo, Michae l (ID : 10073), DOB: 05/05/1966
           Case 4:25-cv-00911-DMR                                                                                        Document 1                                               Filed 01/28/25                                                    Page 382 of 500

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 •
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 •    one medical
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athena                                                                12/9/2022 4:03:32 pm EST                                                                                           cbcdb2d4 •5f3d-4 e7 e-b 744-0d27 ec06220a                                                                        Page: 4 I 6


                                                 ( In the 14 days before symptom onset, have you had close contact with a pe rson who is
                                                 j under investigation for COVID •l9 whil e that person was Ill? : No
                                                 i Subs ta nee Use
                                                 !Do you or have you e ver smoked tobacco?: Never smoker
                                                 lDo you or have you ever used any other forms of toba cc o or nicotine? : No
                                                 ! What was the date of your most recent toba cc o screening? : 12/09 /2022
                                                 l What is your level of alcohol consumption?: None
                                                 )What is your le vel of caffei ne consumption? : Occas ional
                                                 i Advance Directive
                                                 !Do you have an advance directive?: Yes
                                                 ; Marriage and Sexua lity
                                                 j what is your relationship status?: Married (No tes: husband Gre gory)
                                                 jLlfestyle
                                                 i Do you feel stressed (tense, restless, nervous, or anxious, or unable to sleep at night)? :
                                                 i Rather much
                                                 l Do you use your seat b elt or car seat routinely?: Yes
                                                 !Ge nde r Ide ntity and LGBTQ Id e ntity
                                                 l Gender identity : Identifies as Male
                                                 !Assigne d se x at birth: Male
       .                                         i Pronouns: he/him
                                                 !Sexual
       l!- •••••••••••••• • •• ••• •••••••••••••,Z•••••••••••      orientation: Lesbian, gay or homo sexual
                                                              ••••••••• .. •••••••••••• • ••••••••••••••••• •••••••••••••••••••••••••• •••• •• • .. ••••••••• •• ••• .. •• ••••••• ••• •••••••••••••••••• •• •• ••• ••• •••• •••• ••••• •••u•••••••••••• ••••••• ••• ••••••••• ••• ••




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      1
                                                i[~:~~:~~:':i JL}:~~]~~t~1:: : ~: : ::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::j
                                                 1l Father                                il             - Hypertensive disorder                                                                                                                                                            i

      ii                                        Iiii::::::::::~:::::::::::::::::::!j::::::::::=::~:~~:~:~ii:P.!~~:~:i:r :::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::,:::::::,::::::::::::::::::::::::::::::::::il
                                                                                          !1             - Congestive heart failure
      i'                         ii""""""""'""""""""'!"'""'"'"""""""'"""""""'"'"""""""""'""""""'"'""'""""""""'"""'"'"""""""'""""'""""""""""""'l
                                                                    ij            - Coronary artery bypass grafts x 3                                                                                                                                      ii
      ;                          ~ ::::::::::::::: :::::::::::::::::!:;::::::::::::::::::-:::::::::::::::::::::::::::::::::::::::::::::i:::::::::::::::::::::: ::::::::: ::::::::::::::::::::::::::::::-:::::::::::::;::~:::::::::::::::~j :
                                 l !......
      ij"'""'"'"'". '"' " "'''""":,: no seiz ures                                                                                                                                                                                                           i!
                                           ............................... ... ............... ...... ............. ,,_ , ,, ....... •••••-'"• .. ........................... .......... ............. .... ••••• .. •••••• .. ••••• ...................... l,!

      iReview of                 j None recorded                                                                                                                                                                                                              i
      !.S ystems.......... t....................................................................................................................................................................................................i
                                                                                                                                            Exam:
      :···· ••••• .. ···············•·····T, ........................... ~{··························································•·• ...•······················ ..·······•,.········· ............ _.......................................... ·1
      jVtal1 s                            ii                     Ht: li 5ft5inStated l!                                         Wt:i)sBlbsWith ii                                                 BMl:!!26 .3                                    ii
      l                                   !!                             i;12/09t2022                       l!                            l1c lothes                          g                              H1?./0W2022                         iI
      !                                   li                             Hll :13am                                             !i         1i12i09/20 22                       ii                             !!11:1,larn                         !
      ~                                          ~ ~ .......................... ll.................................:!........................... ;~~.~:~~.. ~-'-~·-····· ..·····J~ ........................... ~h .................................~
       i                                   H                      BP:iil20/75 sitting H                                      Pulse:ii60 bpm                                      H                 Pa ln l!9 12/0 912022 j
       i                                   !i                              !! 12/09/2022                       H                            !!12/09/2022                         ii            Sca le : f,11:16 am                                 l
                                             !. ........................ .J[ 11:45.am ........... _!i ......................... J.11:16 .am ............. ll ......................... J .............................. l
      ii ................................. !.............................................................
                                                ~                                                         , .................................................. - .................................................................................. ..
      i Physical                                iGeneral Appearance: Appearance no acute distress. Habitus well nourished .
      il! xam                                   i
      i                                         i Head: Appearance atraumatic.
      l1                                        !iMental Status: Level of consciousness alert and attentive. Mood, Affe ct normal mood,
                                                  euthymlc and affect congruent with mood . Attention/Concentration: normal attention and
      !                                         ! concentra tion. Orientation oriented to place and situation and orient ate d to person.
      /                                         i Language, Speech no dysarthrla or aphasia or dysphasla noted and normal fluency.
      i                                         j Memory, Recall recent memory grossly normal.
      l                                  kra nlal Nerves: Cranial Nerve VII approximately symmetric smile and forehead
      ].................................. j.co ntra.ctlo n•...........................................................................................................................................................................
      / Results/                                ! None recorded
      i. .......
          Interpretations                                                                                                                                                                                                                                                                       ,
                 . ........... . _ . .....- .. .. ¼· .. . .............. .... .. - ............... . ............... , ....... _ ... ...... .... ............. ......... .................. .. . - . ..... - ..... . ......................................................................... ..

      /Document                                   !Discussed the fo llowing documents:                                                                                                                                                                                                          i
      1History                                    i• FERRITIN, SERUM OR PLASMA - 11/16/22                                                                                                                                                                                                       i
      Ii                                        1.     Sleep Medicine - Encounter Summa ry - 12-05-22 - Jerrold Kram - CA - Grove Sleep                                                                                                                                                         I
      :, .................................. ti .......
                                               Holdings            (MSO) - 12/09/22
                                                       -............................................................ ...................................................................-.........................................................,...... 1l
      i Procedure                           l None recorded                                                                                                                                                                                                                                     i
      iOocumentati~n
      .................., ................. , ................................................................................. . ........................................                    - ..... .......................,..............................................!.
                                                                                                                                                                                                        ._


      PATRICIA SUZANNE MAS KA, MD                                                                                                                                                                                  Da rden, Michael (ID : 10073), DOB : 05/05/1966
              Case 4:25-cv-00911-DMR                                                       Document 1                                  Filed 01/28/25                                   Page 383 of 500
                                                             (                                                                                                         (
                                                                                                                                                                                                                              383


•=·   one medical
595 Castro Street San Francisco, CA 94114                                             Phone: 888-663-6331 • Fax: 888-663-6331
athena                                                12/9/2022 4:03:32 pm EST                                                              cbcdb2d4-Sf3d-4e 7e-b744-0d27 ec06220a                                                  Page: 5/6



      , .............................. ··X······· ..····............................................ Assessment. a nd..Pla n:..............................................................................................
      !Assess me nt [Time spent: 47 min                                                                                                                                                                                   I
      iand Plan                          !
       i                             i     Record review: 2 min
      l                                  , Chart prep: 2 min
      !                                  l Di scuss ion/exam time spent with patient: 17 min
      l                                  i Risk assessment: testing options, medication options, lifestyle changes: 18 min
      i                                  ! Charting: 8 min
      l                              i    flu In 2 months (ha s f/u wt Dr Sharon at UCSF late Jan) .
      !i                             il.Migraine with aura -
                                     [Ves tibular migraine and Episodic migraine. Baseline headache days per month: 8-12,
      i                              i    lasting more than 4 hours per day. Just took 2nd dose emgallty. Want to give a full 3
      !                              !    months of emgality before considering changing to another preventive agent. We
      i                              i    discussed the possibility of being evaluated by the UCSF HA center; we decided to
      !                              ! defer this consideration until he ha s been on emgality longer and has OSA treated. I
      i                              i answered questions re: meds, prevention. referrals.
      !                              i
      i                              i       Pre venti ve meds tried: Quilipta, Nurte c (did not t olerate), VPA, Eiavil, lexa pro,
      i                              i           buproplon, GBN 300 mg , lorazepam. OTC preventives tried: 82, m agnesium
      ,t._:                          ,;
                                     ;i      G43.109 : Migraine with aura, not Intractable, without status mlgralnosus
      .                                    • MIGRAINE AURA WITHOUT A HEADACHE: CARE INSTRUCTIONS
                                           • Emgality Pen 120 mg/ml subcutaneous pen injector - Inject l ml every month by
      i,                             !,      subcutaneous route for 30 days.       Qty: (1) ml       Refills : 2 DAW: Y      Pharmacy:
                                             CVS/PHARMACY #9255

      I
      j
                                     I 2. Vertigo -
                                     ! Seen by UCSF neuro-otologist Dr Sharon. Vertigo multifactorial : vestibular migraine , PPPD
      i                              !     and peripheral vestibulopathy. Did ve stibular rehab-not that helpful. On agents that
      i                              !     support serotonin, which can hopefully help PPPD. I answered questions re: dx. testing,
      i                              I     trea~e~
      i                              l     R42 : Dizziness and giddiness
      [                              j3, Periodic limb movement disorder -
      !                              l PLMS. May be exacerbated by untreated mod OSA. Ferritin 198. Need s intervention.
      j                              j        Hopefully treating OSA will help. We discussed trying a weighted blankets . I answered
      i                              !        questions re : dx. testing, treatment ..
      j                              j        G47 .61: Periodic limb movement disorde r
      j                              !4 . Obstructiv e s le e p apnea syndrome -
      !                              l Moderate OSA. He saw sleep MD, Dr Kram. He is considering OAT but per him, it's
      i                              i expensive . Going to try breath right strips and a snore Rx oral appliance . as they are
      i                              l     less expensive. He wants to avoid PAP. I have requested a TSH. I answered questions
      i                              i re: dx. testing, treatment .
                                     l G47 .33: Obstructive sleep apnea (adult) (pediatric)
      j
      1                              !•    SLEEP APNEA: CARE INSTRUCTIONS
      l                              1s. Reactive depression (situation a l) -
      j                              ! Doing CBT. Foll by psych.
      i                              l F32 .A: Depression, unspecified
      ~                              I
      i                              i 6. Sulc Ida I thoughts -
      i                              ! Passive SI. Contracts for safety. Michael has a support system for psych issues. I advised
      ;                              I        f/u w/ psychiatrist and therapist.
      ll                            l! • ;i~fJl~                                           0
                                                                \~gi~~~~a1¾ fsFAMILY MEMBER : CARE INSTRUCTIONS


      !                             ! Return to Office
      l. ...............................J... • ...to. see _Patricia .. Maska,. MD.tor. Tele medicine .a t .SAN .RAMON. on.or .a round . 02/09/2023........'



                                                                   Electronically Siqned bv: PATRICIA MASKA, MD
                                                                                               . .:::.:::~:.,r-:t· /~:-: ',.,..,·~,.


      PATRICIA SUZANNE MASl<A, MD                                                                                                                              Dard e n, Michael (ID : 1007 3), DOB : 05/05/1966
          Case 4:25-cv-00911-DMR                           Document 1         Filed 01/28/25              Page 384 of 500
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 athena                             12/9/2022 4:03:32 pm EST                    cbcdb2d4-513d-4e7e-b744-0d27ec06220a                         Page: 6 /6


                                                               12/09/2022




      PATRICIA SUZANNE MAS KA, MD                                                          Dard e n, Michae l (ID: 10073), DOB: 05/05/1966




END - Consult Letter

BEGIN • Lab Result
Note Title    Lab: Testost.
Note Type     Lab Result
Date of
              Wed Dec 07 2022 @ 09:40 AM
Service
          Case 4:25-cv-00911-DMR                                         Document 1          Filed 01/28/25   Page 385 of 500
                                                  (                                                                       385


•=·   one medical
595 Castro Street San Francisco, CA 94114                          Phone: 888-663-6331 • Fax: 888-663-6331
Created By          Medical Team
                    Emanuel Vergis, MD (NPI:
Signed By
                    1962478495)
Date Signed         Wed Dec 07 2022 @ 10:04 AM


DARDEN, MICHAEL
(SN : 34022926730)
Overall Report Status: FINAL
Received on 12/07/2022

Lab Report from LabCorp

      Specimen
                          Patient ID
       Number
34022926730               110786538
Patient Last Name
DARDEN
Patient First Name Patient Middle Name
MICHAEL
   Patient      Patient Phone Total Volume
    SS#
                917-868-8780

Age (V/M/D)         D=:~~f        Sex Fasting

                1966-             M     N
Patient Address



   Date/Time Collected                  Date Entered                    Date/Time Reported
2022-12-06 07:06:00              2022-12-06 21 :00:00             2022-12-07 09:07:00
PST                              PST                              PST
      Control               Account
                                             Account Phone Route
      Number                Number
4960838               04177620               hidden                01
    Account Address
One Medical Group
1955 Broadway
Suite A Oakland CA 94612
Additional Information
Physician Name            NPI #        Physician ID
VERGIS, E             1962478495
    Tests Ordered
Testosterone (004226)
    Tests        Results Flag Units Reference Interval Lab
Testosterone
Testosterone 488                  ng/dL 264-916                    01
           Adult male reference interval is based on a popul,ition of
healthy nonobese males (BMI <30) between 19 and 39 years old.
Travison, et.al. JCEM 2017,102;1161-1173. PMID: 28324103.


      Labcorp San Diego
01 01 13112 Evening Creek Dr So Ste 200, San Diego, CA 92128-                        JennyGallowayMD
      4108
For inquiries, the physician may contact Labcorp at 800-222-7566 858-668-3700
END • Lab Result

BEGIN· Walk-in Visit
Chief Complaint Walk-in Visit: (Blood Draw)
Note Type       Walk-in Visit
Date of Service ; : Dec 06 2022@ 10:01

Created By          Astrid Ayon
Signed By           Astrid Ayon
                    Tue Dec 06 2022@ 10:06
Date Signed
                    AM
          Case 4:25-cv-00911-DMR                          Document 1            Filed 01/28/25          Page 386 of 500
                                   (                                                                                386


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595 Castro Street San Francisco, CA 94114            Phone: 888-663-6331 • Fax: 888-663-6331
Subjective




Exam




Procedures & Services

Venipuncture - R68.82 - 36415

Testosterone



END • Walk-in Visit

BEGIN· Laboratory Order
Note Title     Laboratory Order
Note Type      Laboratory Order
Date of        Sat Dec 03 2022 @ 07:08 AM
Service
               Emanuel Vergis, MD (NPI:
Created By
               1962478495)
Signed By      Astrid Ayon
Date Signed    Tue Dec 06 2022@ 10:06 AM
Lab Ref#       45514848




                                                                    Lab Order

                                                                One Medical, Oakland
                                                     Tel : (888) 663-6331 I Fax: 415-291-0489

                                            This lab order was generated using the New 1Life chart.
                                            Click here to view this order in this patient's New 1Lite
                                            .char1


                                                                             QUEST      LABCORP
                                             LAB TESTS
                                                                             CODES       CODES
                                            Testosterone                        873       004226


                                            INDICATIONS                                   ICD-10
                                            Loss of libido                                R68.82



                                            INSTRUCTIONS

                                            To be collected on: 12/03/2022
                                            Should Fast: No
                                            Urgency: Normal
                                            Notes for Phlebotomist:

                                            Send copy of results to:

                                            COLLECTION DETAILS

                                            Lab: Labcorp
                                            Lab Account#: 04177620
                                            Collectlon Date: 12/06/2022
                                            Collection Time(s):
                                            Was Fasting: No
                                            Notes for Lab:

                                            Tube Inventory:

                                            (rt) 1 gold

                                            Collected by: Astrid Ayon
          Case 4:25-cv-00911-DMR                                Document 1        Filed 01/28/25     Page 387 of 500

                                                                                                                 387


                                               I
 595 Castro Street San Francisco, CA 94114                 Phone: 888-663-6331 • Fax: 888-663-6331
END - Laboratory Order

BEGIN· Lab Result
 Note Title         CC Lab: Ferritin
 Note Type          Lab Result
 Date of         Wed Nov 16 2022@05:10
 Service         PM
 Created By      Medical Team
 Signed By       Jenneh Rishe, RN
 Date Signed     Sun Nov 20 2022 @ 01 :14 PM


DARDEN, MICHAEL
(SN: 31922929830)
Overall Report Status: FINAL
Received on 11/16/2022

Lab Report from LabCorp

     Specimen
                        Patient ID
      Number
31922929830             10073
Patient Last Name
DARDEN
Patient First Name Patient Middle Name
MICHAEL
   Patient
               Patient Phone Total Volume
    SS#
               917-868-8780

Age (Y/M/D)      Date of        Sex Fasting
                  Birth
               1966-            M    N
          Patient Address
1801 SHORELINE DR APT
307
ALAMEDA
CA, 94501-6084
  DatefTime Collected                  Date Entered         Date/Time Reported
2022-11-14 23:01 :00          2022-11-15 21 :00:00         2022-11-1616:35:00
PST                           PST                          PST
    Control              Account
                                          Account Phone Route
    Number               Number
3192292983           04023160             hidden           01
          Account Address
One Medical Group
3850 Grand Avenue Oakland CA
94610
Additional Information
Physician Name NPI # Physician ID
MASKA, p                   MASKA,P
 Tests Ordered
Ferrilin (004598)
Tests Results Flag Units Reference Interval Lab
Ferritin
Ferritin 198             ng/mL 30-400                 01
     Labcorp San Diego
01 0113112 Evening Creek Dr So Ste 200, San Diego, CA 92128-              JennyGallowayMD
     4108
For inquiries, the physician may contact Labcorp at 800-222-7566 858-668-3700
END • Lab Result

BEGIN • Outside Laboratory Order
Note Title      Outside Laboratory Order
Note Type       Outside Laboratory Order
Date of         Tue Nov 15 2022@ 02:17
Service         PM
       Case 4:25-cv-00911-DMR                        Document 1              Filed 01/28/25             Page 388 of 500
                                    (
                                                                                                                              388


•=·   one medical
595 Castro Street San Francisco, CA 94114         Phone: 888-663-6331 • Fax: 888-663-6331
Created By     Angel Corrales
Signed By      Daniel Herb
Date Signed    Tue Nov 15 2022 @ 03:56
               PM
Lab Ref#       45146544


Prepped by: Dan Herb Send to: LabCorp ICD-1O: G47.61 Date Collected: 11/15/2022 Time Collected: 2:01 PM Fasting: N Specimens Collected: [REF]
1 5ml GOLD Requested Results be CC'ed to: One Medical Group on FAX#: 415-291-0489)
      Case 4:25-cv-00911-DMR                              Document 1                   Filed 01/28/25           Page 389 of 500
                                         (
                                                                                                                                        389


•=· one medical
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     11/15/22, 3:16 PM                                            compressed_413577334 1240432679.jpg (720•1600)




                                                                                          -~
                                                                                                                                         •
                                                                                                                                         •
                                                                                                                                         •




           DARDEN, Michael (Id #10073, dob: 05/05/1966)
                                                                     Lab Order
                                                                          10/2812022
           ~

               Order To                                                        [ Ordering Provider
           l===================l
           ONE MEDICAL LAB       PATRICIA MASKA, MD
                                                                                SAN RAMON
               385() GRAND AVE                                                  5601 NORRIS CANYON RD STE 240
               OAKLAND, CA 94610                                                SAN RAMON, CA 94583-54()7
               Phone : (510) 225-1013                                           Phono : (510) 748-5363
               Fax: (415) 21&-1m                                                Fax: (925) 2&9◄975


               Ordor
               Ordoffl Included: 1
               Periodic limb movoment dlaord rl ICD-10: G47.61 : Periodic limb movement disorder
               • FERRJTIN, SERUM OR PLASMA I BILL: Third Party

           IPatient Namo                            II DARDEN, MICHAEL
           ISox • DOB - Aga                         HM 05/05/1966 56yo
               Address                               1801 SHORELINE DR/APT 307
           [                                         ALAMEDA, CA 94501~84
           IPhono                                   I h: (917) 868~780 w:
               Primary lnauraneo                     BC BS.CA Blue Cross of California (PPO)
                                                     ID: XDP241W06151
                                                     Group: 281837M001
                                                     Polley Holder: DARDEN, MICHAEL

                                                     Ellglblllty: Member t. eligible. (Ver11lod 10/31/2022)
           (!econdary lnauranco                     )I Nono rocordod.
           IDrawn by:                                                                                                                        I
           IDato/Tlmo Drawn:
            Fasting?:                                -Nono Noodod
                                                     -BHR
                                                    I-12 HR

    htlps://s3.amazonaws.com/prod_ 1life_doc_buckeVpalienls/110786538/limeline/724dbb16-5650-4dea-9 190-6512b7aa7013/compressed_4135773341 ...   1/2
         Case 4:25-cv-00911-DMR                            Document 1                 Filed 01/28/25               Page 390 of 500
                                           (                                                              (
                                                                                                                                           390


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 595 Castro Street San Francisco, CA 94114              Phone: 888-663-6331 • Fax: 888-663-6331

       11/15122, 3:16 PM                                           compressed_413577334 1240432679.jpg (720• 1600)
              IOthor/Note ■ :
              Jee,

                                                         Eloctronlcally Signed by: PATRIClA MASKA, MD
                                                                          ;,   .,/
                                                                         ,,,.._,-I).,,--,/
                                                                    I
                                                                    PATRICIA MASKA, MD




                                     111                                    0                                        <




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END • Outside Laboratory Order

BEGIN• Walk-in Visit
Chief Complaint Walk-in Visit: (Blood Draw)
Note Type       Walk-in Visit
        Case 4:25-cv-00911-DMR                Document 1         Filed 01/28/25       Page 391 of 500
                                    (                                            (
                                                                                                  391


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595 Castro Street San Francisco, CA 94114   Phone: 888-663-6331 • Fax: 888-663-6331
Date of Service;: Nov 15 2022@ 02:16

Created By      Daniel Herb
Signed By       Daniel Herb
                Tue Nov 15 2022@ 04:17
Date Signed
                PM




Subjective




Exam




END • Walk-in Visit

BEGIN • Consult Letter
Note Title   Consult Letter
Note Type    Consult Letter
Date of
             Fri Oct 28 2022@ 12:47 PM
Service
Created By   Erica Reinganum

               Tessa Lannoy, FNP-BC (NPI:
Signed By
               1801170725)
Date Signed    Sun Oct 30 2022 @ 10:57 AM
         Case 4:25-cv-00911-DMR                  Document 1           Filed 01/28/25           Page 392 of 500
                                (                                                                               392


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      athena                    10-28-2022 3:33 PM ET            515-44356347                                  oo 1 of 6




                              CONFIDENTIAL Fax
                  FROM:
                          PATRICIA MASKA, MD
                          5601 NORRIS CANYON RD STE 240, SAN RAMON, CA 94583-5407
                          Phone : (510) 748 -5363
                          Fax: (925) 289-4975

                  TO:
                          EMANUEL VERGIS MD
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                 Case 4:25-cv-00911-DMR                                                           Document 1                                Filed 01/28/25                                  Page 393 of 500
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                                                                                                                                                                                                                                 393


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595 Castro Street San Francisco, CA 94114                                                   Phone: 888-663-6331 • Fax: 888-663-6331
      athena                                                       10-28-2022 3:33 PM ET                                          515-4435634 7                                                                                 DQ 2 of 6




                PAJBIC!A SUZANNE MAS KA MP • 5601 NORRIS CANYON BP STE 240 SAN RAMON CA 94583-5407
                DARDEN, Michael (id #10073, dob: 05/05/1966)
                PATRICIA SUZANNE MASKA MD
                5601 NORRIS CANYON RD STE 240
                SAN RAMON, CA 94583-5407
                Phone : (510) 748-5363
                Fax: (925) 289-4975

                Encounter Summary• Progress Not e
                Date Printed : 10/28/2022

                Attention: Emanuel Vergi s MD


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              and cooperation. [ID:744792-H-3387)


              r:~t~e nt ::::::::::::,Jl ~:;:~:~:~cha e I::( 56yo ·:M):: #:10.0 7 3 :::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::1
              , .................................,, ........................................................Patient..Demograp~ics.: ......................... \, .......................................................... 1
              /Address                           i! 1801 Shoreline Dr/Apt 307                                                ii Home Phone g (917) 868-8780                                                                 !
              L. ............................ .JI Alameda, .CA.94501-60 8 4 ..................................... .J[~~•~~::~•~•~•~;"Jt'''''''''''"'"''''"''''"''"'"'''''''""'''"'''''''""l

                                                                                               Patient Medica l History:
         iEncounter i Followup: Migraine with aura
            ! Reason/Date i Followup: Vertigo
         !                                    ! Followup: Periodic limb movement disorder
         !                                    i Followup: Obstructive sleep apnea syndrome
            i                                 i 10/28/2022 - 11:30AM - SAN RAMON
        iHistory of                          lcPAP, oral appliance f/up                                                                                                                                                     ]
        !Present                             i    Reported by patient.                                                                                                                                                      i
       Ii Illness
                                            Ii
                                                   Head:~::i~nf;~:herapy: not using oral appliance due to too expensive                                                                                                     I
                                                                                                                                                                                                                            i


        !                                    i           Reported by patient .                                                                                                                                              •

        •~                                   •~         Timing of pain: frequency of migraine : ( days/month) (8-12)
        !                                    i          Severity of pain: severity score 5-10 out of 10
        I,                                  ,.i         Duration of pain: pain lasting 4 hrs to all day
                                                        Associated Symptoms: nausea (sometimes); sensitivity to light (sometimes);
       !                                    i           sensitivity to sound (sometimes)

       i!                                   is1eep
                                            !     Reported by patient.
       :                                    :

       i                                    !           Associated Symptoms : excessive daytime sleepiness; suspected
       .!,!                                 .i!,        respiratory events: witnessed apneas; RLS symptoms occurring at rest;
                                            .           Increased motor activity at night (PLMS)
                                                        Duration: sleep issues most nights per week
                                                        Severity: not sleepy driving

       I                                   I..,.,::~~
       i                                    i


                                                                      OATtoo .,,,~,,.

       i                                   i            Reported by patient.

       :,                                  ·:.,         Quality: true vertigo: spinning sensation
                                                        Location: tinnitus occurring bilateral (R > L)
                                                        Duration: symptoms constant
       PATRICIA SUZANNE Mt,SKA, MD                                                                                                                                  Darden , Michael (ID: 10073), DOB:05/05/1966
               Case 4:25-cv-00911-DMR                                                                                                              Document 1                                                                     Filed 01/28/25                                                                             Page 394 of 500
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•=·   one medical
595 Castro Street San Francisco, CA 94114                                                                                                Phone: 888-663-6331 • Fax: 888-663-6331
      athena                                                                              10-28-2022 3:33 PM ET                                                                                                 515-44356347                                                                                                                                                                 PO 3 of 6


                                                         Severity: severity of vertigo 5/10 to 10/10.
                                                         Associated Symptoms : associated nausea
                                                         Evaluation: per Gregory, vestib testing done yest at UCSF and that they sa id that it
                                                         did not show a lot of periphera l component of vertigo.
                                                         Notes:
                                                         I rev'd neuro-otlogy notes Dr Sharon UCSF.
                                                .        In bed 10-14 hours a day.
                                                i Patient was seen as telehealth und er the extended PHE re newal. Patient gave consent for
                                                ! tele -hea lth visit .
                                                j Pt ok w/ husba nd Gregory in visit.
           .                                    i Passive SI. Contracts fo r safety.
           : ..................................l ......... . ........ . ... , ............................................................                                                     "'""""""'""""                                '"""'"'"'""'"'''"'"""""'"""' •                                                                     .............. , , ,

        ! Past Medic a l i Reviewed Past Medical History
        j History                             1Anxiety Disorder: Y
        !                                     ! Depres sion: Y
        !                                     ! Headaches : Y
        1                                     1Heart Problems: Y - MVP
       1                                      l Migraines : Y
       !                                      ! Kidney Dis ease: N - no kidney stones
       !:••••••••••••••••••••••••••••••••· · tl ·.,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,n,,,,,,,,,,,,,,,,on••••••••••••••••••n••••••n••••••••••••••••••••••••••••••nn••••••n••••••••••••••••••••••••••••••••••••••••••••••••••••••••••n••,
                                                 Notes: PTSD                                                                                                                                                                                 :
           i Problem List i Reviewed Problems                                                                                             !
           1                                   ! • Body mass inde x 25-29 - overweight - Onset: 02/03/2022                                !
                                                                                                                                          1
           j                                   j • Obstructive sleep apnea syndrome - Onset: 08/29/2022
       !                                       ! • Periodic limb movement disorder - Onset : 08/29/2022
           j                                   j • Migraine with aura - Onset : 11/01/2021
       !                                       l • Neck pain - Onset : 0 3/ 24/2022
       1                                       i • Vertigo - Onset : 11/01/2021
       !                                       ! • Persistent postural perceptual dizziness - Onset : 10/28/2022
       !                                       i • Headache - Onset: 11/01/2021
       i                                       1• Snoring - Onset: 11/01/2021
       i                                       j • Elevated blood-pressure reading without diagnosis of hypertension - Onset : 08/29/2022
       !                                       ! • Suicidal thoughts - Onset : 05/27/2022
       1                                       1• Nonspecific paro xysma l spell - Onset : 05/27/2022
       !                                       ! • Caregiver role strain - Onset: 08/29/2022
       !
       •
                        1 •                        Migrainous vertigo - Onset : 10/28/2022                                                .
                        • ................................................................................................................................................................................................. , i
       iAllergies Li st j j Reviewed Allergies                                                                                                                                                                              ii
       !   "'"'""''"''"""'""""'"1_tP ENICIL LI N.5 :::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::-:::::::::::::::::::::::::::::::                                                                                                                                                   1[:::::::::::::::l,1
       j Medlcat Ions l[.~.~.Y.!.~.".'.'.~.d...~.~.~!.~.~.~.i.~~~...................... .......................................................................,................................................. I
       i                                       ij buPROPion HCL XL 300 mg 24 hr tablet, extended                                                                                                                                                                                                  110/12/22                                  filled

       !
       l
                                               !l ~:~Ea~~ABLET BY MOUTH EVERY DAY
                                               lt~i·~·~;;;P·AM..o·:s..~·g·i;b·i;t............................................................................i.6•:;;i9/2.2. . fiii~·d...............i
                                                                                                                                                                                                                                                                                                  !                                                                                  !

       i                                       ![ TAKE 1 TABLET(S) BY ORAL ROUTE, DAILY AS NEEDED ANXIETY [                     1
       !                                       ii. FOR 30 DAYS                                            !                      ,
       !!                                      i[E mgality Pen 120 mg/ml subcutaneous pen injector          10/28/22 prescribed
                                                    Inject 1 ml every month by subcutaneous route for 30 days. !.................................................. 1
                                               !!..................................................................................................................................................
                                                                                                                                                                                                                                                                                                  !                                                                                      i
       '                                                                                                                                                                                            .                                                                                             {

       j
       :
                                               !! escitalopram 5 mg tablet                                                                                                                                                                                                                        i 12/14/21 filled                                                                  i.
                                               : : • · · · · · · · · · · · · · · · · · · · · . . •••• ••••• ••• . . •• ••• • ••• • ••• • •••• • •• ••••• • • •• ••••• . . • • • • • ••••••••• ••• •• • •••••••• • •••• . . ••• • ••••••••••• • ••• . . . . . . . . . . . . . . . . r . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ,

       j                                       Hmirtazapine 15 mg tablet                                                                                                                                                                                                                          i 10/13/22                                 filled                                  i
       1                                       j: TAKE 1 TABLET(S) BY ORAL ROUTE AT BEDTIME FOR 30 DAYS                                                                                                                                                                                           i                                                                                  j
       1                                       i: traZODone 50 mg tablet                                                                                                                             i l0/12/22 filled                                                                                                                                                               ii
       i                                       li TAKE 1-2 TABLETS BY MOUTH AT BEDTIME AS NEEDED FOR                                                                                                 i                                                   i!
       i
       :                                       ··ii ................................................................................................................................................
                                                     INSOMNIA                                                                                                                                        i•................................................. •:                                                                                                                          i!
       iSocial                                 iReviewed Social History                                                                                                                                                                                                                                                                                                                  '
       ! History                               i Education and Occupation
       !                                       1What is the highest grade or level of school you have completed or the highest degree
       !                                       ! you have received? : Master's degree (e .g., MA, MS, MEng, MEd, MSW, MBA) (Notes:
       !                                       i Instructional designer)
       !                                       !Are you currently employed?: No (Notes : disability since 04/21)
       i                                       jDlet and Exercise
       j                                       i What type of diet are you following? : Regular
       !                                       i What is your exercise level?: Occasional (Notes : Wal king)
       i                                       )Activities of Dally Living
       1                                       i Are you able to care for yourself?: No
       !                                       1Are vou blind or do vou have diHicultv seeina?: No (Notes: Soots in eves)
       PATRICIA SUZANNE MAS KA, MD                                                                                                                                                                                                                                             Darden , Mich ael (ID : 10073), DOB: 05/05/1966
            Case 4:25-cv-00911-DMR                                                                                                                                            Document 1                                                                                         Filed 01/28/25                                                                                  Page 395 of 500
                                                                                                       (                                                                                                                                                                                                                                                (                                                                       395

 •
•••
 •    one medical
595 Castro Street San Francisco, CA 94114                                                                                                                        Phone: 888-663-6331 , Fax: 888-663-6331
      athena                                                                                          10-28-2022 3:33 PM ET                                                                                                                               515-44356347                                                                                                                                                         DQ 4 of 6



                                                (Are you deaf or do you have serious.difficulty hearing?: No (Notes : Ringing in ears)
                                                l Do you have difficulty concentrating, rememb ering or making decisions? : Yes
                                                i Do you have difficulty walking or climbing stairs?: Yes (Notes : Sometimes)
                                                !Do you have difficulty dressing or bathing?: Yes (Notes : So me times)
                                                i Do you have difficulty doing errands alone ?: Yes
                                                ! Which of your hand s is dominant?: Right
                                                jPubllc He alth and Trave l
                                                l Have you been to an are a known to be high risk for COVID-19?: No
                                                i In the 14 days before symptom onset, have you had close contact with a laboratory-
                                                1confirmed COVID-19 while that case was ill?: No
                                                i In the 14 days before symptom onset, have you had close conta ct with a person who is
                                                j under investigation for COVID- 19 while that person was ill? : No
                                                /S ubstanc e Use
                                                i Do you or have you ever smoked toba cco?: Never smo ker
                                                ! Do you or have you ever use d any other forms of tob acc o or nicotine? : No
                                                !What wa s t he date of your mo st rec e nt tobacco sc ree ning?: 10/28/202 2
                                                i What is your level of alcohol consumption?: None
                                                !What is your level of caffeine consumption? : Occ asional
                                                (Advanc e d Dir e ctive
                                                i Do you have an advanced directive?: Yes
                                                ! Marriage and Sexuality
                                                i What is your relationship status?: Married (Notes: husband Gregory)
                                                !Lif estyle
                                                j Do you feel stressed (tense, restless, nervous, or anxious, or unable to sleep at night)? :
                                                ! Rather much
        ,                                       ! Do you use your seat belt or car seat routinely? : Yes                                                                                                                                                                                                                                                                                                                  ,


        !~fs~~r y                                   : r~~~~:;d::Fa ml(, His ~o()~ mentia ::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::                                                                                                                                                                                               l
        i                                           j!              il      - Hypertensive disorder                                                                                                                    !
       i!                                       i l..:::::::::::::::::::::::::,JL::::::,.",,Hype rlip id emi a :::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::j '.
                                                j i Father                     ii        - Hypertensive disord e r                                                                                                            j!
        i                                       i [,,::::::::::::::::::::::::,,Ji,,,,,,,,,,-,Hype rlip id emi a::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::/ i
        j                                       jj                             li         - Conge stive heart failure                                                                                                            !i
        •                                       :    ;- . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   ~~   . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ..   ......................................................... i   .




       i                                        j!                                                                      ij                      - Coronary artery bypass grafts x 3                                                                                                                                                                                                                                   !j

       l .................................1[no :seizures:::::: ':::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::i.J
       i Review of                        i None recorded                                                                                                                                                                        i
       [ Syste.ms............ j .....................................................................................................................................................................................................!
                                                                                                                            Exam:
       :Vlt I                                  :.··········· ...·············, •••••••••••••••••• ••••••••••••••• ••••••••••••••••••••••• .. ····1:·································,,··························· .. ••••••••••••••••••••••••••••• ••••.
       i as                                    !!                    Ht: / 5ft5In                                 H                    Wt: 1! 160IbsWith g                                             BMl: i: 26 .6                                   !
       !                                       i!                            ! 10/26/2 0 22                       ii                             !! clothes                         H                             ii 10/28/2022                        i
       !                                        ii                           l 11 :0 6 am                         ii                             i!l 0/28/2 0 22                    H                             !i1i:0 6 arn                         !
       !
       i
                                               !! ...........................!;.................................
                                               !!                    BP: j! l20/80 sitting ii
                                                                                                                                                                                        !!............................;;.~.~.:~.~..~~ ············••i!...........................H.................................l
                                                                                                                                                                                                                     Pulse: g60 bpm                                                                                           ii                                       T:j! 97.5 F0                                   i.
       i                                       ii                            :! 10/28/ 2022                      ii                                                                                                         i! l 0/?.8/202:1                                                                                  !!                                         !j1 0i28/2/J22                               i!
                                                                                                                                                                                                                               11 08                                                                                                                                        11 08


       [ ___ .. .....J i c:::.c .:.~~~
       ! Physic al
                                                                                                               il;:
                                               i General Appearance: Appearance no acute distress. Habitus well nourished.
                                                                                                                              1
                                                                                                                                 ~~,;;,
                                                                                                                                                                   22
                                                                                                                                                                             cc         ii•=•••••••=:c•cc•• i .                                                                   •am cc ,-... t,:c•c••=••c••                                                                i                 amccc,.1 _i
                                                                                                                                                                                                                                                                                                                                                                                                                          l
       !Exam                                   i                                                                                                                                                                                                                                                                                                                                                                          i
       i                                       !Hea d: Appearance atraumatic .                                                                                                                                                                                                                                                                                                                                            l
       !l                                      I Mental Status: Level of consciousness alert and attentive. Mood, Affect normal mood,
                                               j euthymic and affect congruent with mood . Attention/Concentration: normal attention and
                                                                                                                                                                                                                                                                                                                                                                                                                          !i
       !                                       i concentration. Orientation oriented to place and situation and orientated to person.                                                                                                                                                                                                                                                                                     !
       i                                       l Language, Speech no dysarthria or aphasia or dysphasia noted and normal fluency.                                                                                                                                                                                                                                                                                         l
       i                                       i Memory, Recall recent memory grossly normal.                                                                                                                                                                                                                                                                                                                             i
       !!                                      !cranial Nerves: Cranial Nerve Vil appro ximately symmetric smile and forehead
                                               l contraction.
                                                                                                                                                                                                                                                                                                                                                                                                                          I!
       l Results/      None recorded           i                                                                                                                                                                                                                                                                                                                                                                          !
       jlnterpretatlo)1s                                                                                                                                                                                                                                                                                                                                                                                                  i
       ••••••• •••• •••••••••••••••••••••• ·· ? ·· •• .. •••• .. •••••••••••• .. •••••••••••••• •••••••••• .. ••••••••••••••••••••••••••••••••• .. • •••h••• ••••••• ••• ••• .. • .. •••••••••• ........ . ...... •••••••• .. ••••••••• .... •••• .................. ••••••••••• ••1


       PATRICIA SUZANNE M/>SKA, MD                                                                                                                                                                                                                                                                                                      Darden , Michael (ID: 10073), DOB : 05/05/1966
          Case 4:25-cv-00911-DMR                                                                                                     Document 1                                                                                    Filed 01/28/25                                                                                  Page 396 of 500

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   athena                                                                 10-28-2022 3:33 PM ET                                                                                                              515-44356347                                                                                                                                                                          DQ 5 of 6



     !Document                            !Discussed the following documents:                                                                                                                                                                                                                                                                                                                 i
     / History                            l• NEUROTOLOGIST CONSULT NOTE - UCSF NEUROTOLOGY CLINIC - 10/11/22                                                                                                                                     !
     ,                                    i• AUDIOLOGIST CONSULT NOTE - 10/06/22                                                                                                                                                                                                                                                                                                              1•


      1                                   j• General Me~icine - Continuity of Care Document - Sutter Health Affiliates and Community
     !                                    /Connect Practices - 08/29/22
     :! .................................t!•....................................................................................................................................................................................................
                                                General Medicine - Travel - John Muir Health - 08/29/22                                                                                                                                         1                                                                                                                                             !
     l Procedure                                 j None recorded                                                                                                                                                                                                                                                                                                                              1
     lDocumentatl,n .................................................................................................................................................................................................!
     , ........................... ,   .. ,,,,'   .....................,,,,,_. ...... ,
                                                                                                                                  Assessment and Plan:
                                                                                          . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ., , ,. . ,._ . . . . . . . . . . . . . . . . . . . . . . . . ,   . . . . . . . . . . . . . . . . _.,_. . . . . ._,_, . . , , , , , . . . . ,   . . . . ._.,_.,_., . . ._, . . ,,,_,, . . ._ . . ,H_.,,, •• ,   . . . . . . . . . . ..




     !Assessment \Time spent: 47 min                                                                                                                                                                                                                                                                                                                                                          l
     (and Plan   !                                                                                                                                                                                                                                                                                                                                                                            !
     !           l Record review: 5 min                                                                                                                                                                                                                                                                                                                                                       j
     !           !Chart prep: 2 min                                                                                                                                                                                                                                                                                                                                                           !
     i           i Discussion/exam time spent with patient/care partner: 16 min                                                                                                                                                                                                                                                                                                               j
     i           j Risk assessment: testing options, medication options, lifestyle changes: 16 min                                                                                                                                                                                                                                                                                            i
     1           /Charting: 8 min                                                                                                                                                                                                                                                                                                                                                             j
     !                                       !f/u in 6 weeks
     I!                                      I 1. Migraine with aura -
                                             l Michael has Vestibular migraine. Episodic migraine. Baseline headache days per month: B-
     l                                       j     12, lasting more than 4 hours per day. Needs intervention. We discussed the R&B of
     i                                       !     med options. Neuro-otology recommended Emgality. I think this is a good option for
     1                                       l Michael .Side effects rev'd. Michael wants to try it. I answered questions re: testing,
     !                                       !     meds, prevention.

                                                    Preventive meds tried: Quilipta, Nurtec (did not tolerate). VPA, Elavil, lexapro,
                                                       bupropion, GBN 300 mg, lorazepam. OTC preventives tried: B2, magnesium
                                                    G43.109: Migraine with aura, not intractable, without status migrainosus
                                                    MIGRAINE AURA WITHOUT A HEADACHE: CARE INSTRUCTIONS
                                                  • Emgality Pen 120 mg/ml subcutaneous pen injector - Inject 1 ml every month by
                                                    subcutaneous route for 30 days.     Qty: 11 ml syringe(s)     Refills: 1    DAW: Y
                                                    Pharmacy: CVS/PHARMACY #9255

     !                                       i 2. Vertigo -
     l                                       /Seen by neuro-otology at UCSF, Dr Sharon. He felt Michael has vestibular migraine, PPPD
     i                                       !     and a peripheral vestibulopathy. Vestib testing done yest at UCSF; we will request
                                             l results. I answered questions re: dx. testing, treatment.
                                             l     R42: Dizziness and giddiness
                                             ~
                                             j3. Obstructive sleep apnea syndrome -
                                             ! EDS, suspected apneas. Per pt, OAT too expensive. Needs further evaluation. I will request
                                             j   evaluation w/ a sleep MD. Needs eval. I will request a TSH. I answered questions re: dx.
                                             l   testing, treatment.
                                             l G47.33: Obstructive sleep apnea (adult) (pediatric)
                                             i • SLEEP APNEA: CARE INSTRUCTIONS
                                             l • SLEEP MEDICINE REFERRAL - Schedule Within: provider's discretion Note to
                                             !   Provider: OSA. Pis eval for treatment options. EDS, suspected apneas. Per pt, OAT too
                                             j   expensive.
                                             j • TSH, SERUM OR PLASMA
                                            /4. Periodic llmb movement disorder -
                                            j Michael has periodic limb movements during sleep that wakes him up according to
                                            l    polysomnogram - diagnosed with mod OSA. Needs eval. I will request a ferritin level.
                                            j    As before, I am not advising using benzo for PLMD treatment at this time. Defer to
                                            !    psychiatry to determine whether adjustment to his psych meds should be made for
                                            j    PLMD. I answered questions re: dx. testing, treatment ..
                                            !    G47 .61: Periodic limb movement disorder
                                            l•   FERRITIN, SERUM OR PLASMA
                                            /s. Mlgralnous
                                            i
                                                            vertigo
                                                 H81.BX9: Other disorders of vestibular function, unspecified ear
                                            !6. Suicidal thoughts -
                                            ! Passive SI. Contracts for safety. He has a support system for psych issues. Has
                                            l          psychiatrist and a therapist.
                                            !   R45.851: Suicidal ideations
                                            ! • SUICIDAL THOUGHTS IN A FAMILY MEMBER: CARE INSTRUCTIONS
                                            !
                                            i 7. Persistent postural perceptual dizziness

    PATRICIA SUZANNE MAS KA, MD                                                                                                                                                                                                                                                      Darden, Michael (ID: 10073). DOB: 05/05/1966
          Case 4:25-cv-00911-DMR                                                                        Document 1                                       Filed 01/28/25                                          Page 397 of 500

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                                                                           I
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     athena                                                          10-28-2022 3:33 PM ET                                                    515-44356347                                                                                                 PO 6 of 6


                                           1         R42: Dizziness and giddiness


                                           !Return to Office
                                           ! • to see Patricia Maska, MD for PSM telehealth 30 at SAN RAMON on or around
       ............... ,,.................. !, ...........................................................................................................................
                                                        12/09/2022                                                                                                         ,.........................................................,................ .




                                                                             Electronically Siqned bv: PATRICIA MASKA, MD
                                                                                               ···::.:




                                                                                                                   10/28/2022




      PATRICIA SUZANNE M/>SKA, MD                                                                                                                                                    Darden, Michael (ID: 10073), DOB: 05/05/1966


END • Consult Letter

BEGIN • Lab Result
Note Title    Lab: FIT
Note Type     Lab Result
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                                                 (
                                                                                                                           398


 •=·   one medical
 595 Castro Street San Francisco, CA 94114                          Phone: 888-663-6331 • Fax: 888-663-6331
 Date of
                     Fri Oct 14 2022@ 11 :40 AM
 Service
 Created By          Medical Team
                     Emanuel Vergis, MD (NPI:
 Signed By
                     1962478495)
 Date Signed         Sat Oct 15 2022 @ 06:48 AM



DARDEN, MICHAEL
(SN: 28622921870)
Overall Report Status: FINAL
Received on 10/14/2022

Lab Report from LabCorp

       Specimen
                           Patient ID
        Number
 28622921870              110786538
 Patient Last Name
 DARDEN
 Patient First Name Patient Middle Name
 MICHAEL
   Patient
                 Patient Phone Total Volume
    SS#
                 917-868-8780

 Age (V/M/D)         D=~~~•        Sex Fasting

               1966-               M    N
          Patient Address
1801 SHORELINE DR APT
307
ALAMEDA
CA, 94501-6084
   Date/Time Collected                   Date Entered                    Date/Time Reported
2022-10-12 21 :00:00              2022-10-13 21 :00:00              2022-10-14 11 :06:00
PDT                               PDT                               PDT
       Control              Account
                                              Account Phone Route
       Number               Number
4826708                04338885               hidden                01
               Account Address
One Medical Group
595 Castro Street San Francisco CA
94114
Additional Information
Physician Name             NPI #       Physician ID
VERGIS, E              1962478495
                         Tests Ordered
Occult Blood, Fecal, IA (182949); Please note
(199999)
          Tests               Results Flag Units Reference Interval Lab
Occult Blood, Fecal, IA
Occult Blood, Fecal,
                        Negative                        Negative                01
IA
Please note
Please note                                                                     01
             The date and/or time of collection was not indicated on the
requisition as required by state and federal law. The date of
receipt of the specimen was used as the collection date if not
supplied.


      Labcorp San Diego
01 01 13112 Evening Creek Dr So Ste 200, San Diego, CA 92128-                         JennyGallowayMD
      4108
For inquiries, the physician may contact Labcorp at 800-222-7566 858-668-3700
END• Lab Result

BEGIN • Walk-in Visit
Chief Complaint Walk-in Visit: (Stool)
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595 Castro Street San Francisco, CA 94114         Phone: 888-663-6331 , Fax: 888-663-6331
 Note Type       Walk-in Visit
 Date of Service Thu Oct 13 2022@ 01 :31
                 PM
 Created By      Daniel Herb
 Signed By       Daniel Herb
                 Thu Oct 13 2022 @ 01 :34
 Date Signed
                 PM




Subjective




Exam




Procedures & Services


Stool collection kit provision - 212.11 - XXXXX

Fecal occult blood immunofluorescence assay



END • Walk-in Visit

BEGIN • Walk-in Visit
Chief Complaint Walk-in Visit: (Stool, Flu Vax)
Note Type       Walk-in Visit
Date of Service Tue Oct 04 2022 @ 02:43
                PM
Created By      Umberto Batista
Signed By       Umberto Batista
                Tue Oct 04 2022@ 02:58
Date Signed
                PM




Subjective




Exam




Procedures & Services


Influenza virus vaccine, quadrlvalent (RIV4), derived from recombinant DNA, hemagglutlnin (HA) protein only, preservative and an- 223 -
90682,90471



END • Walk-in Visit

BEGIN • Laboratory Order
Note Title    Laboratory Order
Note Type     Laboratory Order
Date of
              Tue Oct 04 2022@ 02:31 PM
Service
              Emanuel Vergis, MD (NPI:
Created By
              1962478495)
Signed By     Daniel Herb
Date Signed  Thu Oct 13 2022 @ 01 :34 PM
Lab Ref#      44120180




                                                                 Lab Order
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                                     (                                                                   (
                                                                                                                         400

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                                                             One Medical, Oakland
                                                   Tel: (888) 663-6331 I Fax: 415-291-0489

                                           This lab order was generated using the New 1Life chart.
                                            Click here to view this order in this patient's New l Life
                                           .cha.ct


                                                                              QUEST        LABCORP
                                            LAB TESTS
                                                                              CODES         CODES
                                            Fecal occult blood
                                                                                11290        182949
                                            immunofluorescence assay

                                            INDICATIONS                                      ICD-10
                                            Colorectal cancer screening needed               212.11



                                           INSTRUCTIONS

                                           To be collected on: 10/04/2022
                                           Should Fast: No
                                           Urgency: Normal
                                           Notes for Phlebotomist:

                                           Send copy of results to:

                                           COLLECTION DETAILS

                                           Lab: Labcorp
                                           Lab Account#: 04177620
                                           Collection Date: 10/13/2022
                                           Collection Time(s): See Vial
                                           Was Fasting: No
                                           Notes for Lab:

                                           Tube Inventory:

                                           1 FOBTVial

                                           Collected by: Daniel Herb
END • Laboratory Order

BEGIN • Patient Survey
Note Title    Covid and Monkeypox Screening
Note Type     Patient Survey
Date of
              Tue Oct 04 2022 @ 02:25 PM
Service
Created By    Patient Form Submission
Signed By     Patient Form Submission
Date Signed   Mon Oct 03 2022 @ 10:08 PM




In the last 10 days, have you had close contact with someone with symptoms of COVID-19 or a known COVID-19 infection?

No

Have you had a confirmed positive COVID-19 test in the last 10 days?

No

Do you have any new rashes, sores, or lesions?

No

Do you have any new cough, fever or shortness of breath?

No

In the last 3 weeks, have you been in contact with a person with probable or confirmed Monkeypox?

No
           Case 4:25-cv-00911-DMR                      Document 1              Filed 01/28/25             Page 401 of 500
                                        (                                                                                       401


 •=·    one medical
 595 Castro Street San Francisco, CA 94114         Phone: 888-663-6331 , Fax: 888-663-6331
END - Patient Survey

BEGIN· Patient Survey
                 Preparing for your Wellness
 Note Title
                 Visit
 Note Type       Patient Survey
 Date of
                 Tue Oct 04 2022@ 02:25 PM
 Service
 Created By      Patient Form Submission
 Signed By       Patient Form Submission
 Date Signed     Mon Oct 03 2022 @ 10:07 PM


Patient prioritized topics

Mental health (mood, stress, anxiety, etc.)
Preventive screenings
Vaccines

Health and lifestyle questions

Please imagine a ladder, with steps numbered from Oat the bottom to 10 at the top. The top of the ladder represents the best possible life for
you and the bottom of the ladder represents the worst possible life for you.

Patient's current Cantril Ladder rating is



Patient's 1-year Cantril Ladder rating is



Patient rates their overall health as

Poor

Physical Activity: Days per week engaged in moderate to strenuous exercise

0

Minutes engaged in exercise at each session

<15

Diet & Nutrition: Average times eats out each week

Rarely (0-3 meals)

Portion of typical plate that is plant-based

26-50%

Consumes sweetened beverages

1 per day

Sleep: Has problem falling or staying asleep

Yes

How often did you have a drink containing alcohol In the past year?

Never

How often did you have six or more drinks on one occasion in the past year?

N/A

How many drinks containing alcohol did you have on a typical day when you were drinking in the past year?

N/A

How many times In the past year have you used drugs or used a prescription medication for non-medical reasons?

Never

Tobacco Status

Never used or smoked tobacco regularly

Intimate Partner Violence: Has been hurt, hit, threatened or made to feel afraid by their partner or someone else in the past year

No
         Case 4:25-cv-00911-DMR                            Document 1                 Filed 01/28/25               Page 402 of 500

                                                                                                                                           402



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Sexual Health: Sexually active in the last year (oral, vaginal, or anal sex)

Yes, with 1 partner

Have you had unprotected sex (i.e., sex without a condom or other barrier) with anyone In the last year?

No




END - Patient Survey

BEGIN - Office Visit
Chief Complaint ANNUAL EXAM 10-4-2022
Note Type       Office Visit
Date of Service Tue Oct 04 2022@ 02:25 PM
                Emanuel Vergis, MD (NPI:
Created By
                1962478495)
                Emanuel Vergis, MD (NPI:
Signed By
                1962478495)
Date Signed     Tue Oct 04 2022 @ 02:53 PM



Subjective


Patient presents for annual wellness visit.
1. Accompanied by Gregory - bullying trauma at their place of residency --> they prefer to be together until the situation is better; verbally assaulted by
men in the apartment next to them;
2. FIT test in lieu of colonoscopy
3. review labs;
4. flu shot
5. scheduled to see oto-neurologist at UCSF next week for refractory migraines; audiology assessment this week;

Reviewed age-appropriate health maintenance goals.

PMH, PSH, Medications, Allergies, FHx reviewed and updated.

Social Hx:
Reviewed and updated in chart.

ROS focused on patient risk factors:
ROS negative except for pertinent positives listed above



Vaccinations


influenza (preservative-free) 10/05/2021

influenza (preservative-free) 10/03/2019

measles, mumps & rubella IMMUNE BY TITRES 2021

SARS-CoV-2 mRNA vaccine (Pfizer) 07/17/2021

SARS-CoV-2 mRNA vaccine (Pfizer) 06/26/2021

varicella IMMUNE BY TITRES 2014

zoster (recombinant) 10/08/2020



Health Background
         Case 4:25-cv-00911-DMR                            Document 1             Filed 01/28/25                Page 403 of 500

                                                                                                                            403


                                            I
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Surgeries & Important Events

SURGERIES:
none

Family Data

Mother: DM2; recovered from COVID-19 earlier in 2022;
maternal family history: MGF (stroke, blindness, cancer)

Father: deceased due to CHF in 2000 (post operatively CABG x 3V)
paternal family history: PGF (deceased), PGM (heart problems)

Siblings: older brother (healthy)

Social Data

Occupation: currently on disability; instructional design Al driverless vehicle
Relationship status: married to Gregory W (also my patient)
Diet: no issues per se;
Exercise: not very active currently
Sleep: improving, but not yet optimal
Caffeine: some
Tobacco: none at present
Alcohol: none
Substances (e.g. In the last year, have you used any drugs or prescription medications for non medical use?):



Allergies


Penicillins (hives)



Vitals


sys dia HR RR temp       wt      ht    BMI Sp02 Fi02

122 78 78 -      -     160     65 •5   26.2-
                       lb      in


Exam


I conducted the encounter wearing the following PPE: N95, face shield/goggles, gloves. The patient was wearing a mask.

General: No distress
HEENT: EOMI, nl conjunctiva & lids, hearing grossly nl
Neck: supple, no concerning masses, no LAD
Lungs: CTA bilaterally, nl effort
CV: RRR, no M/R/G
Abd: S/NT/ND
Neuro/Psych: Normal affect, normal speech
Skin: Warm and well perfused



Procedures & Services




Assessment & Plan


Insomnia - TRAZODONE, MIRTAZAPINE - G47.00

5/17/2021:
Psychiatry prescribed trazodone 50 mg po QHS as needed (up to 3 tablets per night);
Gabapentin was stopped;
7/20/2021:
continues to take trazodone 50 mg po as needed;

8/10/2022:
continues to take mirtazapine and trazodone;
         Case 4:25-cv-00911-DMR                            Document 1                 Filed 01/28/25   Page 404 of 500
                                         (                                                                         404


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10/4/2022:
continue trazodone/mirtazapine;

Severe depression - F32.2

8/10/2022:
follow-up with Dr. Jillian;
stable on bupropion 300 mg per day;
currently on permanent disability;

10/4/2022:
continue bupropion;
advised him to discuss recent verbal bullying with his therapist;

Vestibular migraine - G43.809

Characterized by dizziness, tinnitus;

10/11/2021 :
he has noticed an uptick in headaches;
will identify an in-network provider for this;
discussed magnesium and B2 as preventatives;

118/2021:
Follow-up with neurology;
prior authorization for rimegepant pending;

12/17/2021:
NURTEC approved;
advised by his neurologist to take ASA 81 mg at onset of aural migraine symptoms;

8/10/2022:
Work-up thus far (MRI, sleep study) not identifying substantive cause of migraines;
EEG results pending;
No improvement following vestibular PT;
No longer taking NURTEC as this seemed to worsen his migraines;

10/4/2022:
Seeing oto-neurologist at UCSF next week;
failed prior treatment options for migraines;


END • Office Visit

BEGIN· Consult Letter
Note Title  NEUROLOGY Consult Letter 8-29-2022
Note Type   Consult Letter
Date of
            Tue Aug 30 2022 @ 05:26 AM
Service
Created By  Precious Gatto
            Emanuel Vergis, MD (NPI:
Signed By
            1962478495)
Date Signed Tue Aug 30 2022@ 07:03 AM
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athena                      8/30/2022 0:20:36 am EDT                      89c1042e-8a89-4d68-a599-f41ebb4f43fb         Page: 1 / 6




                              CONFIDENTIAL Fax
                  FROM:
                          PATRICIA MASKA, MD
                          5601 NORRIS CANYON RD STE 240, SAN RAMON, CA 94583-5407
                          Phone : (510) 748 -5363
                          Fax: (925) 289 -4975

                  TO:
                          EMANUEL VERGIS MD
                          Fax: (415) 291-0489



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athena                                                            8/30/2022 0:20:36 am EDT                                                                           89c 1042e-8a89-4 d68-a599-f41 ebb4f4 Jib                                                         Page: 2 / 6



             PAJRICIA SUZANNE &§KA.MD • 56 01 NORRIS CANYON BP STE 240 SAN RAMON CA 94583-5407
             DARDEN, Michael (id #10073, dob: 05/05/1966)
             PATRICIA SUZANN!! MASKA MD
             5601 NORRIS CANYON RD STE 240
             SAN RAMON, CA 94583 -5407
             Phone: (510) 748-5363
             Fax: (925) 289 -4975

             Encounter Summary • Progress Note
             Date Printed : 08/29/2022
             Attention: Emanuel Vergis MD


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            8436 to notify the sender and confirm that the Information will be destroyed . Thank you for your attention
            ~nd . cooperatio~ •.1.ID:730 6 7 6- H-33871 ........................................................................................................................................................,
            i Patient        'i Darden, Michael (56yo, M) #10073                                                                                                                                                !
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                                                                                                          Patient Medical History:
            ···························································--·····-··············-······· ..•••••••••••••••••••••••..·······································································-········································-1
        ) Encounter                             i
                                              Followup: Snoring                                                                                                                                                                                       i
        i Reason/Date i Followup: Vertigo                                                                                                                                                                                                             i
        i                                   i Followup: Periodic limb movement disorder                                                                                                                                                               !
        i                                   i Followup: Nonspecific paroxysmal spell                                                                                                                                                                  !
        1                                   i Foilowup: Obstructive sleep apnea syndrome                                                                                                                                                              •
        i...................................!.........................................................................................................................................
        }
                                              08/29/2022 - 10 :30AM • SAN RAMON
                                                ~                                                                                                                                     . .............................................................
        ! History of                           i Sleep
        l Present                              1      Reported by patient.
        !Illness                               !
       :
        :                                      ''             Quality: Inadequate sleep; fragmented sleep; non-refreshing sleep
        ~                                       i             Associated Symptoms: excessive daytime sleepiness; snoring;; no witnessed
       i                                       !              apneas or startled awakenings; no urge to move legs; Increased motor activity
                                                              at night (PLMS)

      I!
                                              Ii              Treatment (modifying factors): medications tried for sleep issues: Trazodone
                                                              Evaluation: sleep study PSG abnormal
                                                              Notes:
                                                              Discussed polysomnogram results: Has periodic limb movements during sleep that
       ~                                       i              wakes him up according to polysomnogram - diagnosed with mod OSA.

      I
      I:
                                              Ii
                                               :
                                                              Discussed EEG (unrevealing). Discussed cranial MRI results (as age-appropriate
                                                              white matter changes). They were done for his PLMD.

                                                             Discussed possible treatment for his sleep apnea& Pl.MD (i.e. losing weight,
      I                                       i              weighted blanket, CPAP, oral appliance). Pt prefers oral appliance .

      l                                       l              Is on sleep medicine (Trazodone) - takes it most nights
                                                             - is more tired in the morning
      i'                                      l
                                              :
                                                             - no other concern with medication

      /                                       i              Believes dizziness is causing what sounds like sleep rnyoclonus .
      !                                       l              Suicidal Ideation
      1.:                                     !,·            - sometimes have those thoughts but no plan of suicide
                                                             - has support

      i                                       !vertigo
       PATRICIA SUZANNE MAS KA, MD                                                                                                                                                        Darden, Michael (ID: 1 0D73), DOB: 05/05/1966
           Case 4:25-cv-00911-DMR                                                                                                                          Document 1                                                                Filed 01/28/25                                                                      Page 407 of 500
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athena                                                                                    8/30/2022 0:20:36 am EDT                                                                                                                             89c1042a-8a89-4d68·a599-f41 ebb4f43fb                                                                                                        Paga: 3/6


                                                                ;'                    Reported by patient.
                                                                ~                    Quality: unstead iness; fee ling off ba lance; fa int feeling
                                                                ~                    Locatio n: tinnitus occurring right; tinnitus constant
                                                                                     Duration: typical duration of symp toms as minutes; symptoms as variable in length
                                                               !;                    Se verit y: progress ive ly worse over last fewmonths
                                                                                     Notes :
                                                               i                     vertigo progressively worse in terms of increased frequency
                                                               !                     - Getting heavy dizzy spell (Severity: 7- 10/10) mo re often: Lasts couple of minutes•
                                                               ~                     hours
                                                                                     • has felt fullness in his hea d and has fa llen asleep whi le watching 1V ( also ha s sleep
                                                                f                    apnea and daytime fatigue)
                                                               i                     • felt unsteady: has to lea n against the wall occasionally to stabili ze
                                                                                     • Saw Marcella for vestibular therapy did not seem to help (natural medicine also
                                                               ~                     has not helped )
                                                               i                     T innitus
                                                               ~                     Tinnitus gotten worse. Pt hears higher p itch than before.
                                                               ~
                                                               ;
                                                                                     • constant ringing
                                                                                     • usually on the rig ht ear• unilateral (can switc h sides)

                                                               !!
                                                    Vertigo&t innitus worsening could be due to family stress (caregiver role for his
                                                    mother who has dementia)
                                           j Vid eo Tele• hea lth visit used during the COVID-19 pandemic. Patient gave consent for tele-
      :•• ..··········--.................. j.he alth visit . ...........................................................................................................................................................................
      l Past Medic a l ! Reviewed Pa st Medical History
      i History                            (Anxiety Disorder: Y
      i                                    l Depres sio n: Y
      l                                    ! Headaches : Y
      l                                    ! Heart Probl ems :Y• MVP
      i                                    i Migraines: Y
      l                                    l Kidney Diseas e: N - no kid ney stones                                                                                                                                                      .
      L, .............................._l Notes : .PTSD .......................................................................................................................................................................)
      i Problem List ! Reviewed Probl ems
      l                                    l • Body mass ind ex 25-29 - overweight - Onset: 02/03/2022
                                                                                                                                                                                                                                                                                                                                                                                I
      l                                    j • Obstructive s leep apnea syndrome - Onset : 08/29/2022                                                                                                                                                                                                                                                                           !
      ;
      j
      l
                                           ! • Periodic limb movement disorder • Onset : 08/29/2022
                                           ! • Migraine with aura - Ons et: 11/01/2021
                                           ! • Neck pain• Onset: 03/24/2022
                                                                                                                                                                                                                                                                                                                                                                                !
      !                                    i • Vertigo• Onset: 11/01/2021
      i                                    l • Hea da che • Onset: 11/01/2021
      i                                    ! • Snoring• Onset: 11/01/2021
      i                                    j • Elevated blood •pre ssure reading without diagnosis of hypertension • Onset: 08/29/2022
      i                                   i • Suicidal thoughts - Onset: 05/27/202 2
      i                                   ! • Nonspecific paro xysmal spell• Onset: 05/27/20 22

                                                                                                                                                                                                                                                                                                                                                                              l
                                                                                                                                                                                                                                        1
      l                                   i • Caregiver role strain• Onset: 08/29/2022                                                                                                                                                  i

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      ;! Medication s. li,1............................................................................................................................................................
                            Rev ie wed Medications
                                                                                                                                                                                        , ................................... l'.
      i                !i buPROPion HCL XL 300 mg 24 hr tablet, extended release                                                                                                        ·,· 0B/16/22 filled
      !                l! TAKE 1 TABLETBYMOUTHEVERYDAY
       i                                                      ii c1onazePAM 0.5 mg tablet                                                                                                                                      1· 07/19/22 filled
      i                                                       !iTAKE 1 TABLET(S) BY ORAL ROUTE, DAILY AS NEEDED ANXIETY, FOR I                                                                                                                                     l
      !:                                                      j! 30 DAYS                                                                                                                                                       i                                   !
                                                              !;............................................................................................................................................................. f ...................................!
      j                                                       l!escitalopram 5 mg tablet                                                                                                                                                                                                                             !}2/14/21 filled !
      1                                                       i[~i.~t-;·;·; ·;:;i~;··i"s'.~g··t';bi;t--········ .. ••••••••••••••••••••••••••••••••••••• .. ••••••••••••••••• ..                                                                                                      ··················--ro1"iij12:z"··..;i "1;;?.
      j                                                       "!TAKE 1 TABLET(S) BY ORAL ROUTE AT BEDTIME TIMES PER DAY, FOR l                                                                                                                                                                                                                                                  i
      l
      ;
                                                                ti·;;·z·oo·;;~;.. so···~g..i°;b,;t·........................................................................................... ·oaiis,22.....tii"1;d· I!
                                                               ! 30 DAYS

      i                                                        1TAKE 1·2 TABLET(S) BY ORAL ROUTE, AT BEDTIME AS NEEDED                                                                                                              i'
      j                                                       ;[ INSOMNIA .'..FOR.30. DA'r'S ....................................................................................................,.................................                                                                                                                                      .J
      fSocial                                                1Reviewed Socia I History
      !H istory                                               1Educatlon and Occu pat ion
      i                                                       i What is the highest grade or level of school you have completed or the highest degree
      i                                                       i vou have receive d?: Master's deQree (e.Q .. MA, MS, MEnQ , MEd. MSW, MBA) (Notes:

      PATRICIA SUZANNE MAS KA, MD                                                                                                                                                                                                                                              Da rd e n , Michael (ID: 10073), DOB: 05/05/1966
           Case 4:25-cv-00911-DMR                                                                                                                            Document 1                                         Filed 01/28/25                                                  Page 408 of 500
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595 Castro Street San Francisco, CA 94114                                                                                                          Phone: 888-663-6331 • Fax: 888-663-6331
athena                                                                      8/30/2022 0:20:36 am EDT                                                                                                                   89c1042e-8a89-4 d68·a599·f41ebb4f43fb                                                                     Page: 4 /6


                                           ifnstructional designer)
                                           i Are you currently employed?: No ( Notes: disability since 04/21)
                                          i Diet and Exercise
                                           )What type of diet are you following? : Regular
                                          i What is your exercise level?: Occasiona l (Notes: Walking)
                                          !Act ivities of Dally Living
                                          ! Are you able to care for yourself?: No
                                          l Are you blind or do you have difficulty seeing?: No (Notes: Spots In eyes)
                                          ! Are you deaf or do you have serious difficulty hearing? : No ( Notes : Ringing in ears)
                                          i Do you have difficulty conce ntrating, remembering or making decisions?: Yes
                                          i Do you have difficulty walking or climbing stairs?: Yes (Notes : Sometimes)
                                          i Do you have difficulty dressing or bathing?: Yes (Notes: Sometimes)
                                          ! Do you have difficulty doing errands alone?: Yes
                                          ! Which of your hands is dominant?: Right
                                          i Publlc Hea lth and Travel
                                          i Have you been to an area known to be high risk for COVID-19?: No
                                          i rn the 14 days before symptom onset, have you had close contact with a laboratory-
                                          ! confirmed COVID-19 while that case was ill?: No
                                          i rn the 14 days before symptom onset, have you had close contact with a pers on who is
                                          i under inve stigation for COVID-19 while that person wa s ill? : No
                                          ! Substance Use
                                          i Do you or have you ever smoked tobacco?: Never smoker
                                          i Do you or have you ever used any other forms of tobacco or nicotine?: No
                                          i What wa s the date of your most recent tobacco sc reening ?: 08/29/2022
                                          ! What is your leve l of alcohol consumption?: None
                                          i What is your level of caffeine consumption? : Occas ional
                                          !Advanced Directive
                                          i Do you have an advanced directive?: Yes
                                          ! Marriage and Sexuality
                                          i What Is your relationship status?: Married (Notes: husband Gregory)
                                          ! Lifestyle
                                          i Do you feel stressed (tense, restless, nervous, or anxious, or unable to sleep at night )?:
                                          i Rather much
      .                                   i Do you use your seat belt or car seat routinely?: Yes


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      j                                   ; 1 Father                          ,!           - Hypertensive disorder                                                                                                                                  i:
      :                                   . .. . . . . . . . . . . . . . . . . . . " ' . . . . . . . . . . ; ~ · · · · · . . . . . .  ~. . . . . . . ..   ..............................   ........   ............................... .   ........... ............................................ ......... ..... !   :




      1                                   11                                  ,t           - Hyperllp1demla                                                                                                                                         ii
      0                                   • >-..............................,I .................... •._ ............ H......................................................................................................_.. •··•-• .. •·•-""•• •1 :
      1                                   !l                                  H - Congestive heart failure                                                                                                                                          i
      •                                   : l. . .!::::::-:.:::::::~::::::::::~r~::::::~:::::~::~::::::::::::~::::::~:::::~::::::::::::::: .::::::::::::::::::::::m::::::::::::::::-:::::::m:::::::::::::::::::::::-.::::::::::::::~1
      l                                   ii                                  il           - Coronary artery bypass grafts x 3                                                                                                                      i

      ijReview of                        1
                                          j l no ,seizures """"""""'""""""'"'"""'""""'-""-"'"'-"""'""""""'"-'" """"'""-""""""'-"'""""'"""""""'":
                                            None recorded
      lSystems                           !
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                                                                                                              Exam:
      : Vlt I                            1. ...........,........." ... ' .. __ .........."""""'"'......" ...............,.......,, .."""........." ......." ."·ff .............. ,.••.••""·..•,. ....." .....................". !
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                                         1i:::::::::::::::::::::::::::~j,?:,~,;;;,;,,P:;,~,:::::::::::::i!,::::::::::::::::::::::::::l~~}?,~::~:7:::::::::::::::)}:::::::::::::::::::::::::) ,~t;,~,::~~:,,,:::::::::,::\
                                                                                                                                                                                                                                          ii                               ii                                      i
                                                                                                                                                                                                                                                                                                                    I
                                                                             Pain lj OOfJ/29/20 22
      [ ................................ l !:::::::::::·Sea le: !1:0·9 :5 o::nm :~:::::::::A~::::::::::::::::::::::)l:::::::::::::::::::::::::::::::::g :::::::::::::::::::::::::::!• :::::::::::::::::::::::::::::::::
      )Phys.leaf                         !Genera l Appearance: Appearance no acute distress . Habitus well nourished.
                                                                                                                                                                                                                                                                                                                   qI
      ,Exam                              ;                                                                                                                                                                              :
      j                                  ! Head: Appearance a traumatic.                                                                                                                                                                                                                                               !
      li                                 j Mental Status: Level of consciousness alert and attentive. Mood, Affect normal mood,
                                         1euthymic and affect congruent with mood . Attention/Concentration: nonmal attention and
                                                                                                                                                                                                                                                                                                                       j
                                                                                                                                                                                                                                                                                                                       i
      i                                  ! concentration. Orientation oriented to place and situation and orientated to person.                                                                                                                                                                                        !
      PATRICIA SUZANNE MASKA, MD                                                                                                                                                                                                               Darden , Mlchae l (10 : 10073), D08 : 05 / 05/1966
               Case 4:25-cv-00911-DMR                                                                        Document 1                                        Filed 01/28/25                                           Page 409 of 500
                                                                         (                                                                                                                        (
                                                                                                                                                                                                                                                                  409

 •
•••
 •    one medical
595 Castro Street San Francisco, CA 94114                                                             Phone: 888-663-6331 • Fax: 888-663-6331
athena                                                          8/30/2022 0:20:36 am EOT                                                                             89c1042e-8a89-4d68•a599·f41 ebb4f43fb                                                              Page: 5/6


          .                                      ( Language, Spee ch no dysarthria or aphasia or dysphasia noted and normal fluency.                                                                                                                          .
          i                                      i Memory, Recall recent memory grossly normal.                                                                                                                                                               i
          '-••·-·· .. ······-····........."·t·..····· .. ·-·········........ ,................................. _,, ..............................................................................................................." ... ......................
                                                                                                                                                                                                                                       ~


          i Results/                           i None recorded                                                                                                                                                                                       i
          i.................................
          ).
            lnterpretatio~s
                                             ,'},•··························..···········................................................................................................................................................,~--········•
          )Docume nt                           [Discussed the fo llowing docume nts:
          lHlstory                             !• ELECTROENCEPHALOGRAM - 07/17/22
          l                                      l• POLYSOMNOGRAM - 07/14/22
          i                                      i• MRI, BRAIN+ BRAIN STEM, W/O CONTRAST - 07/11/22                                                                                                                                                           .
      l                                          l• Sports Medicine - Hospital Encounter - Marce la Larrondo, Sutter Health Affiliates and                                                                                                                   !
      l                                          (Community Connect Practices - 08/29/22                                                                                                                                                                      i
          ,··············· .. ·················,·················································································•························································•·············•············································l
          i Procedure                            i None recorded                                                                                                                                                                 !
          i. Doc Ume nta t I~ n............... ·-················.. ··········· ..-···················..··-........................................................................- ....................................... _.. i
                                                                                                           Assessment and Plan:
      !Assessme nt !Time sp ent: 50 mlns
      la nd Plan                                 i
      i            ; Record review: 7 mlns
      \            ! Chart prep: 2 mins
      i            l Discussion/exam time spent with patient: 16 mins
      i            i Risk assessment: testing options, medication options, lifestyle changes: 17 mlns
      i            l Refe rrals/care coordination: 1 mins
      i            i Charting: 7mlns
      l                                       I      F/U In 8 weeks (2 months) by telehealth

      lj                                         !1. Obstructive s leep epnea syndrome -
                                                 i Dis cusse d polysornnogram results : diagnose d with moderate OSA.
      :                                          !
      [                                       iDiscussed poss Ible treatment for his sleep apnea (Le. losing weigli:, CPAP. oral
      i                                       i          appliance). Order placed for oral appliance.

      I                                       ! order TSH testing for his s leep apnea
      i                                       j Referral to Berkeley Sedation Dentistry placed . I answered questions re : dx. testing,
      i                                       i    treatment.
      l                                       ! G47.33: Obstructive sleep apnea (adult) (pediatric)
      i                                       i • SLEEP APNEA: CARE INSTRUCTIONS
      l                                       j • ORAL APPLIANCE & CONSULT REFERRAL-             Schedule Within: provider's
      iI                                     l:    discretion Note to Provider: Moderate OSA. Please eval for OAT.
      i                                      !
      l                                      12, Nonspecific paroxysmal spell -
      l
      :
                                             l Michael has periodic movements of BUE and BLE that are periodic, q 20-30 seconds .
                                             :
      :                                       :
      !                                      !Overa ll, these movements seem to be consistent with PLMD. See below.
      l                                      j Discussed EEG (unrevealing). Discussed cranial MRI results (normal age -appropriate white
      i                                      i     matter changes) .
      l                                      j No indication for AED/ASM needed at this time . I answered questions re: ddx. testing.
      i                                      l           R41.B9: Other symptoms and signs involving cognitive functions and awareness
      Il                                     f
                                             , 3. Vertigo -
       l                                     ! Vertigo has gotten progressively worse in terms of increased frequency. Saw Marcella for
      i                                      i     vestibular therapy that did not seem to help (natural medicine has not helped).
      i                                      I
      j                                      j Placed a neurotologist referral to UCSF .. I answered questions re : dx. testing, treatment.
      i                                      i   R42: Dizziness and giddiness
      l                                      i • NEUROTOLOGIST REFERRAL -                  Schedule Within: provider's discretion Note to
      l                                      i           Provider: Multifactorial: BPPV, migraine related vertigo, PPPD. Please eval.

      !l                                     i 4, Periodic llmb movement disorder -
                                             ! Discussed polysomnogram results: Has periodic limb movements during sleep that wakes
      l                                      j     him up according to polysomnogram - diagnosed with mod OSA.
      ll                                     j Discussed possible treatment for PLMD (i.e. weighted blanket). Treatment for sleep apnea
                                             j           with oral appliance may help his PLMD.
      !                                      !       Order ferritin testing for PLMD.
      \                                      II am not advising using benzo for PLMD treatment at this time . Defer to psychiatry to
      i                                      ;           determine whether adjustment to his psych meds should be made for PLMD. I
      l                                      i           answered questions re: dx. testing, treatment ..
      i                                      t           G47 .61: Periodic limb movement disorder
      !                                      ~


      PATRICIA SUZANNE MAS KA, MO                                                                                                                                                          Darden, Michael (10 : 10073), DOB: 05/05/1966
          Case 4:25-cv-00911-DMR                                                                Document 1                                    Filed 01/28/25                                      Page 410 of 500
                                                                  (                                                                                                               (                                                      410


•=·   one medical
595 Castro Street San Francisco, CA 94114                                                  Phone: 888-663-6331 • Fax: 888-663-6331
 athena                                                 8/30/2022 0:20:36 am EDT                                                                    89c1042e·8a89-4d68·a599·f41 ebb4f43fb                                                      Page: 6 / 6

                                       )s. Caregiver role st r a in •
                                       i Pt has the caregiver role for his mother who has dementia . Believes his symptoms
                                       1         (vertigo/tinnitus) could be worsening due to family stress. Better sleep quality after
                                       !         starting treatment for his OSA and PLMD may help reduce overall stres s level.
                                       !         2 73.3: Stress, not e lsewhere cla ssified
                                       !
                                       !6 . Ele vat e d blood-pressure reading without diagnosis of hyperte nsion -
                                       i Referral to PCP w as ordered for his elevated BP.
                                       l         R03.0: Elevated blood - pressure reading, without diagnosis of hypertension
                                       ! • PRIMARY CARE PROVIDER REFERRAL -                Schedule Within: provider's discretion                                                                                       Note
                                       j   to Provider: deferred to you for BP
                                       !
                                       i Return to Office
                                       ! • to see Patri cia Maska, MD for PSM t elehealth 30 at SAN RAMON on or around
      ·.................................. !......... 10/29/2022 ................................................................................................................................................................... ..


                                                                       Electronically Slqned by: PATRICIA MAS KA, MD
                                                                                                   ,,.::.:>;:: ,.l5.:J•/:i:::\"·.,:~;._


                                                                                                          08/29/2022




      PATRICIA SUZANNE MAS KA, MD                                                                                                                                       Darde n, Michael (ID : 10073), DOB: 05/05/1966




END - Consult Letter

BEGIN • Lab Result
              Lab: CMP, CBC, Lipids, CT/NG NAAT (GU), CT/NG NAAT (rectal), CT/NG NAAT (pharyng), HIV Ab w/ rflx, RPR w/
Note Title
              reflex
Note Type     Lab Result
         Case 4:25-cv-00911-DMR                                    Document 1            Filed 01/28/25     Page 411 of 500
                                              (                                                     (                              411


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595 Castro Street San Francisco, CA 94114                      Phone: 888-663-6331 • Fax: 888-663-6331
Date of
                  Fri Aug 19 2022@ 08:41 AM
Service
Created By        Medical Team
Signed By         Emanuel Vargis, MD (NPI: 1962478495)
Date Signed       Fri Aug 19 2022@ 01 :41 PM


DARDEN, MICHAEL
(SN: 22822917410)
Overall Report Status: FINAL
Received on 08/19/2022

Lab Report from LabCorp

      Specimen
                        Patient ID
       Number
22822917410             110786538
Patient Last Name
DARDEN
Patient First Name Patient Mlddle Name
MICHAEL
  Patient
                Patient Phone Total Volume
   SS#
                917-868-8780
Age (V/M/D)       Date of       Sex Fasting
                   Birth
                1966-           M    Y
        Patient Address
1801 SHORELINE DR APT
307
ALAMEDA
CA, 94501-6084
  Date/Time Collected                 Date Entered                 Date/Time Reported
2022-08-16 10:21 :00         2022-08-16 21 :00:00             2022-08-19 08:06:00
PDT                          PDT                              PDT
      Control            Account
                                           Account Phone Route
      Number             Number
4692979             04177620               hidden             01
    Account Address
One Medical Group
1955 Broadway
Suite A Oakland CA 94612
Additional Information
Physician Name          NPI #       Physician ID
VERGIS, E           1962478495
                                                                             Tests Ordered
Comp. Metabolic Panel (14) (322000); CBC, Platelet, No Differential (028142); Lipid Panel (303756); Chlamydia/Ge Amplification (183194) ; Ct/GC
NAA, Rectal (188672); Ct/GC NAA, Pharyngeal (188698); HIV Ab/p24 Ag with Reflex (083935); APR, Rix Qn APR/Confirm TP (012005)
            Tests                     Results       Flag      Units     Reference Interval Lab
Comp. Metabolic Panel (14)
Glucose                             87                     mg/dL       65-99              01
BUN                                 17                     mg/dL       6-24               01
Creatinine                          1.03                   mg/dL       0.76-1.27          01
eGFR                                85                     mUmin/1 .73 >59                01
BUN/Creatinine Ratio                17                                 9-20               01
Sodium                              142                    mmol/L      134-144            01
Potassium                           4.7                    mmol/L      3.5-5.2            01
Chloride                            103                    mmol/L      96-1 06            01
Carbon Dioxide, Total               26                     mmol/L      20-29              01
Calcium                             9.3                    mg/dL       8.7-10.2           01
Protein, Total                      7.4                    g/dL        6.0-8.5            01
Albumin                             4.6                    g/dL        3.8-4.9            01
Globulin, Total                     2.8                    g/dL        1.5-4.5            01
A/G Ratio                           1.6                                1.2-2.2            01
Bilirubin, Total                    0.5                    mg/dL       0.0-1.2            01
Alkaline Phosphatase                90                     IU/L        44-121             01
         Case 4:25-cv-00911-DMR                                   Document 1            Filed 01/28/25    Page 412 of 500

                                                                                                                      412



 595 Castro Street San Francisco, CA 94114                      Phone: 888-663-6331 • Fax: 888-663-6331
            Tests                  Results          Flag      Units    Reference Interval Lab
 AST (SGOT)                     19                         IU/L        0-40               01
 ALT(SGPT)                      18                         IU/L        0-44               01
 CBC, Platelet, No Differential
 WBC                            6.0                        x10E3/ul    3.4-10.8          01
 RBC                            4.98                       x10E6/ul    4.14-5.80         01
 Hemoglobin                     14.9                       g/dl        13.0-17.7         01
 Hematocrit                     45.0                       %           37.5-51.0         01
 MCV                            90                         fl          79-97             01

MCH                         29.9                           pg          26.6-33.0         01
MCHC                        33.1                           g/dl        31.5-35.7         01
RDW                         12.2                           %           11.6-15.4         01
Platelets                   283                            x10E3/uL    150-450           01
NRBC                        Canceled                                                     01
Lipid Panel
Cholesterol, Total          201                    High mg/dl         100-199            01
Triglycerides               76                          mg/dl         0-149              01
HDL Cholesterol             43                          mg/dl         >39                01
VLDL Cholesterol Cal        14                          mg/dl         5-40               01
LDL Chol Cale (NIH)         144                    High mg/dl         0-99               01
Comment:                    Canceled                                                     01
Chlamydia/Ge Amplification
Chlamydia trachomatis, NAA Negative                                   Negative           01
Neisseria gonorrhoeae, NAA Negative                                   Negative           01
Ct/GC NAA, Rectal
C. trachomatis, NAA, Rectal Negative                                  Negative          01
N. gonorrhoeae, NAA, Rectal Negative                                  Negative          01
Ct/GC NAA, Pharyngeal
C. trachomatis, NAA, Pharyn Negative                                  Negative          01
N. gonorrhoeae, NAA,
                            Negative                                  Negative          01
Pharyn
HIV Ab/p24 Ag with Reflex
                            Non
HIV Ab/p24 Ag Screen                                                  Non Reactive      01
                            Reactive
           HIV Negative
HIV-1/HIV-2 antibodies and HIV-1 p24 antigen were NOT detected.
There is no laboratory evidence of HIV infection.

RPR, Rfx Qn RPR/Confirm TP
                                   Non
RPR                                                                   Non Reactive      01
                                   Reactive
      Labcorp San Diego
01 01 13112 Evening Creek Dr So Ste 200, San Diego, CA 92128-                   JennyGallowayMD
      4108
For inquiries, the physician may contact Labcorp at 800-222-7566 858-668-3700
END • Lab Result

BEGIN • Walk-in Visit
Chief Complaint Walk-in Visit: (Blood Draw, Urine,
                Swabs)
Note Type       Walk-in Visit
Date of Service Tue Aug 16 2022 @ 01 :01 PM
Created By      Daniel Herb
Signed By       Daniel Herb
Date Signed
                Tue Aug 16 2022@ 01 :44 PM




Subjective




Exam




Procedures & Services
       Case 4:25-cv-00911-DMR                       Document 1             Filed 01/28/25             Page 413 of 500
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•=·   one medical
595 Castro Street San Francisco, CA 94114        Phone: 888-663-6331 • Fax: 888-663-6331
Venipuncture, Specimen collection - 213.0, E78.5, 211.3- 36415, 99000X

Complete blood count, Comprehensive metabolic panel, Lipid panel, Chlamydia & gonorrhea NAAT, genitourinary swab or urine, Chlamydia &
gonorrhea NAAT, pharyngeal Aptima® swab, Chlamydia & gonorrhea NAAT, rectal Aptima® swab, HIV screening cascade, 4th generation, RPR with
reflex treponemal antibodies (for screening if not previously infected)



END• Walk-in Visit

BEGIN - Miscellaneous Clinical Document
Note Title    Quest Order
Note Type     Miscellaneous Clinical Document
Date of
              Mon Aug 15 2022@ 02:42 PM
Service
Created By    Deanna Wellere
Signed By     Deanna Wellere
Date Signed Mon Aug 15 2022@ 02:45 PM
        Case 4:25-cv-00911-DMR                             Document 1               Filed 01/28/25           Page 414 of 500

                                                                                                                         414


                                            I
595 Castro Street San Francisco, CA 94114              Phone: 888-663-6331 • Fax: 888-663-6331




        Laboratory Order

               First Name:   Michael                                       DOB:    5/5/1966
               Last Name:    Darden                                         Sex:   Male
                    Patient  1801 Shore Line                  Primary Insurance:   Anthem Blue Cross of Callfomla
                  Address:   Dr Apartment 307              Primary Insurance ID:   XDP241W06151
                             Alameda, CA                     Primary Group No.:    281837M001
                             94501                         Secondary Insurance:    Self Pay
             Patient Phone: 917-868-8780                 Secondary Insurance ID:
                 Patient ID: 110786538                     Secondary Group No.:
               Ordered by: Emanuel Vergls,                       Quest Account #: 94089002
                           MD                                     Collection Date:
                      NPI: 1962478495                             Collection Time:
               Ordered on: 8/10/2022                                 Was Fasting: No
                      PCP: Emanuel Vergls,                        Tube Inventory:
                           MD
                Lab Ref#: 4692979

        CLINICAL HISTORY


        INDICATIONS
        213.0, E78.5, 211.3



        QUEST MET
                         Common Chemistry
        10231            Comprehensive metabolic panel
        7600             Lipid panel
                         Hematology/Coagulation
        1759             Complete blood count
                         Common Infectious
        91431            HIV screening cascade, 4th generation
        36126            RPR with reflex treponemal antibodies (for
                         screening if not previously infected)
                         Microbiology
        11363            Chlamydia & gonorrhea NAAT, genitourinary
                         swab or urine
        16506            Chlamydia & gonorrhea NAAT, rectal Aptima®
                         swab
                         Other Tests
        70051            Chlamydia & gonorrhea NAAT, pharyngeal
                         Aptlma® swab




                                             One Medical Group, 595 Castro Street, San Francisco, CA 94114
       +one medical                        Email: admln@onemedlcal.com I Tel: 888-663-6331 I Fax: 415-291-0489          Page 1 of 1




END - Miscellaneous Clinical Document

BEGIN - Laboratory Order
Note Title       Laboratory Order
Note Type        Laboratory Order
          Case 4:25-cv-00911-DMR                      Document 1                Filed 01/28/25          Page 415 of 500
                                   (                                                                                415


•=·   one medical
595 Castro Street San Francisco, CA 94114         Phone: 888-663-6331 • Fax: 888-663-6331
Date of
              Wed Aug 10 2022@ 01 :16 PM
Service
              Emanuel Vergis, MD (NPI:
Created By
              1962478495)
Signed By     Daniel Herb
Date Signed   Tue Aug 16 2022 @ 01 :21 PM
Lab Ref#      42864220




                                                                   Lab Order

                                                             One Medical, Oakland
                                                   Tel: (888) 663-6331 I Fax: 415-291-0489

                                            This lab order was generated using the New 1Life chart.
                                            Click here to view this order in this patient's New 1Life
                                            giar1



                                                                             QUEST      LABCORP
                                             LAB TESTS
                                                                             CODES       CODES
                                            Complete blood count               1759       028142
                                            Comprehensive metabolic
                                                                              10231       322000
                                            panel
                                            Lipid panel                        7600       303756
                                            Chlamydia & gonorrhea
                                            NAAT, genitourinary swab or       11363       183194
                                            urine
                                            Chlamydia & gonorrhea
                                            NAAT, pharyngeal Aptima®         70051        188698
                                            swab
                                            Chlamydia & gonorrhea
                                                                             16506        188672
                                            NAAT, rectal Aptima®swab
                                            HIV screening cascade, 4th
                                                                             91431        083935
                                            generation
                                            APR with reflex treponemal
                                            antibodies (for screening if     36126        012005
                                            not previously infected)

                                            INDICATIONS                                   ICD-10
                                            Iron deficiency anemia screening needed        213.0

                                            Hyperlipidemia                                 E78.5
                                            Sexually transmitted infection screening
                                                                                           211.3
                                            needed


                                            INSTRUCTIONS

                                            To be collected on: 08/10/2022
                                            Should Fast: Yes
                                            Urgency: Normal
                                            Notes for Phlebotomlst:

                                            Send copy of results to:

                                            COLLECTION DETAILS

                                            Lab: Labcorp
                                            Lab Account #: 04177620
                                            Collection Date: 08/16/2022
                                            Collection Time(s):
                                            Was Fasting: Yes
                                            Notes for Lab:

                                        Tube Inventory:

                                        2 SST, 1 5mL GOLD, 1 LAV, 2 APTIMA SWABS
                                        (RECTAL & PHARYNGEAL), 1 NG/CT URINE APTIMA
                                        - LC - [REF]

                                        Collected by: Daniel Herb
         Case 4:25-cv-00911-DMR                            Document 1              Filed 01/28/25       Page 416 of 500
                                          (
                                                                                                                              416


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END - Laboratory Order

BEGIN· Office Visit
Ch' f C   I , t8-10-2022 REMOTE VISIT: ANNUAL
  1e omp am EXAM
 Note Type       Office Visit
 Date of Service Wed Aug 10 2022 @ 01 :00 PM
 Created By      Emanuel Vergis, MD (NPI: 1962478495)
 Signed By       Emanuel Vergis, MD (NPI: 1962478495)
 Date Signed     Wed Aug 10 2022 @ 01 :18 PM




Subjective


Confirmed name and date of birth with patient
Patient verbally consented to virtual care
Visit held virtually due to efforts to reduce the spread of the COVID-19 virus

Michael presents for:
1. annual exam details
2. update me about migraine headache work-up; MRI showed small vessel disease, EEG results pending, sleep study showed mild sleep apnea;
3. Dr. Jilliam --> signed on disability form (permanent) for ongoing issues with anxiety/depression;



Exam


N/A



Procedures & Services




Assessment & Plan


Generalized anxiety disorder - F41.1

5/17/2021:
Started seeing a psychiatrist who increased the dose of escitalopram to 10 mg per day;
Follow-up scheduled with psychiatry later this week;
Scheduled f/u with me in 2-3 weeks ;

6/16/2021 :
dose of escitalopram 5 mg (decreased from 10 mg) and clonazepam 0.5 mg qday was started;
Follow-up with psychiatry;
Scheduled follow-up with me in one month;
SSDI to be completed by psychiatry (??);

7/20/2021 :
Repeat GAD-7 survey;
Continue escitalopram/clonazepam;
Follow-up with me in 2-4 weeks;
updated return to work date to be mid October in the EDD website;

7/23/2021 :
recent GAD-7 score is 21 which is unchanged from 4/23;
Question efficacy of treatment versus need for more intense therapy

7/26/2021 :
continue with escitalopram 15 mg po QDAY;
no changes planned with medication doses according to his psychiatrist;
presumed component of PTSD;
I asked him to inquire if other modalities are being considered for treatment such as EMDR;

12/17/2021:
psychiatrist increased dose of bupropion to 300 mg per day;
sees psychiatrist every 3 months on average;

8/10/2022:
see A/P Severe depression

Hyperllpldemia - E78.5
         Case 4:25-cv-00911-DMR                             Document 1                Filed 01/28/25           Page 417 of 500
                                           (                                                               (               417


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 Check lipids in anticipation of annual exam;

 Insomnia - TRAZODONE, MIRTAZAPINE - G47.00

 5/17/2021:
 Psychiatry prescribed trazodone 50 mg po QHS as needed (up to 3 tablets per night);
 Gabapentin was stopped;

7/20/2021 :
continues to take trazodone 50 mg po as needed;

8/ 10/2022:
continues to take mirtazapine and trazodone ;

Severe depression - F32.2

5/17/2021 :
See A/P Generalized anxiety disorder

7/26/2021 : See A/P Generalized anxiety disorder
check TSH, RPR

7/28/2021 :
F/U PHQ-9 score is 25;
no change from prior survey;
will discuss dose adjustment for LEXAPRO, but this is something that his psychiatrist needs to decide;

10/11/2021 :
Overall no change in his status;
Switched to bupropion from escitalopram per his psychiatrist;
EDD form to reflect anticipated return to work in mid January;
F/U with me in ~ 4 weeks;

11/8/2021:
Overall no change in status, but seems to think that bupropion is making a difference for him;
He plans to see his psychiatrist in December;
EDD paperwork to transition to Dr. Jillian for him to manage;
Check in with me in December;

12/17/2021 :
currently on increased dose of bupropion 300 mg per day;

8/10/2022:
follow-up with Dr. Jillian;
stable on bupropion 300 mg per day;
currently on permanent disability;

Vestibular migraine - G43.809

Characterized by dizziness, tinnitus ;

10/11/2021 :
he has noticed an uptick in headaches;
will identify an in-network provider for this;
discussed magnesium and B2 as preventatives;

118/2021 :
Follow-up with neurology;
prior authorization for rimegepant pending;

12/17/2021 :
NURTEC approved;
advised by his neurologist to take ASA 81 mg at onset of aural migraine symptoms;

8/10/2022:
Work-up thus far (MRI, sleep study) not identifying substantive cause of migraines;
EEG results pending;
No improvement following vestibular PT;
No longer taking NURTEC as this seemed to worsen his migraines;



After Visit Guidance To Patient


Hi Michael,

I ordered the labwork for you. Plan to do this after an overnight fast. I included testing for STDs and HIV.

take care,

Manny
        Case 4:25-cv-00911-DMR                     Document 1          Filed 01/28/25      Page 418 of 500
                                    (                                                                  418


•=·   one medical
595 Castro Street San Francisco, CA 94114        Phone: 888-663-6331 • Fax: 888-663-6331
END - Office Visit

BEGIN - Consult Note: Neurology
Note Title   Consult Note: Neurology 5-27-2022
Note Type    Consult Note: Neurology
Date of
             Fri May 27 2022 @ 02:09 PM
Service
Created By   Patricia Rodriguez
             Emanuel Vergis, MD (NPI:
Signed By
             1962478495)
Date Signed  Sat May 28 2022@ 07:10 AM
         Case 4:25-cv-00911-DMR                       Document 1        Filed 01/28/25              Page 419 of 500
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ethene                        5/27/2022 4:24:27 pm EDT                    b2d86513-cc9e-4d59-801 4-496425d9c0c8         Page: 1 / 5




                                CONFIDENTIAL Fax
                  FROM :
                           PATRICIA MASKA, MD
                           5601 NORRIS CANYON RD STE 240, SAN RAMON, CA 94583-5407
                           Phone : (510) 748 -5363
                           Fa x: (9 25) 289-4975

                  TO:
                           EMANU EL VERGIS MD
                           Fax : (41 5) 29 1-0 4 89



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              Case 4:25-cv-00911-DMR                                                                                                                                        Document 1                                                                        Filed 01/28/25                                                                                Page 420 of 500
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athena                                                                                             5/27/2022 4:24:27 pm EDT                                                                                                                                            b2d86513-cc9a-4d59-801 4-496425d9c0c8                                                                                                                      Page: 2/5



           PAJRJCIA SUZANNE MAS KA MD• 56 01 NORRISCANYON RD STE 240 SAN RAMONCA94583·54PZ
           DARDEN, Michael (id #10073, dob: 05/05/1966)
           PATRICIA SUZ ANN E MASKA MD
          5601 NORRIS CANYON RD STE 240
          SAN RAMON, CA 94583-5407
          Phone: (510) 74B-5363
          Fax: (925) 289-4975

          Encounter Summary - Progr es s Not e
          Date Printed : 05/27/2022

          Attention: Emanuel Vergi s MD


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          rP;t"i; ~t..............1ro~~;i'~;:;:-r,;·;~;:;~;,. i·;;6;~·:-·M
          and cooperation. [ID:711264 - H-3387]
                                                                         ·i--,t'io·oit ·......................................................................................................................1
          l~:~;:::~::::::.--::m::,::)!~ ~/~,;;~~,~~:::::::::::::~:::::::::::::::::::::::::::::::::::::::::::::::.,::::::::::::::,--~:::::::::::::~:::::::::::::::::::::::::::::::::::::::::::::::.--:::::::::::::::::::::::~:.i
          >.. . .. . . . . . . . . . . . . . . . . . . - . . . . . . . . . . J , " _ . .. . , .... . . . . . . . . . . . ......... . . . ...... . ., . . . . . . . . . . ...... . ......... . . ...... . . . . . .. . . . . . . ..... . . . . .... ~ . . .. . ....... ... ..... . . . . . . . . . . . . . . . . . . . . ................. . . .. . . . . . ... . . . . . . . . . . .. . . . . . . . . . ...... ........ :




          , ...........................................................................................P.atlent..Demograp~ics: ........................., ...............................................................,
          !Address                           !! 1801 Shoreline Dr/Apt 307                                                HHome Phone H(917) 868-8780                                                                     !
                                                                    i!
          L. .............................. Ala med a, .CA.94501- 60 84..................................... .J[~~~k::;:h~,~~"!(""'''''"''''''''''"'"''''''''"''''"''''''''''''""'"1

                                                                                                                                                                      Patient Medical History:
        ) Encounter                              Seizure-like spellsl
       ! Reason/Date l Followup : Snoring
       i......................... . . ........"105/27/2022                - l l:30AM - SAN RAMON
                                                 ....................................................................................................................... -.............................................. ................ .........                                                                                                                   -                              -
        j History of                           ! Seizure
       ! Present                               !              Reported by patient.
        j Illness                                                   i
      i:                                       i             Timing/Onset: time of onset of episodes 12-13 years ago
                                               i             Quality: no feeling of deja vu since last visit; no epigastric rising sensation as
      !                                       !               warning; no staring spells
        j                                      i             Asso ciated Symptoms: amnesia associated with e vents; no incontinence
                                                              associated with events ; no tongue biting associated with events
                                                              Notes :
                                                             Gregory describes that when Michael is under more stress, that Michael has

      !                                                            I
                                                             "rhythmic movement s every 20-23 sec". Starts in arms and goes to leg s. Gregory
                                                             shows flexed movements of BUE and de scribes that the uppers would move upward
                                                             about the shoulder joint. Isolated flexlon of BUE q 20-30 sec. lsol flexlon of BLE
      l                                                             I
                                                             moving upward about the hip joint q 20-30 sec. Alt BUE, then BLE, then back and forth
                                                             between BUE and BUE. Freq : q 20-23 sec.

      I
      :
      ~
                                                                   Ii
                                                                    i
                                                                                            Worse w/ stress and sleep deprivation.

                                                                                            If Gregory awoke Michael, the movements would improve .
      :                                                             :

      ii                                                           Ii                       Bought a new mattress and it awoke Gre gory less .
                                                                                            Michael describes that times he hears a whoosh, then feel s very lightheaded and
      i                                                            i                        then his head falls forward . Can last several min to an hour.
      !l                                                            ~
                                                                   ! Sleep
      !                                                            j      Reported by patient .
      !•                                                           i•      Associated Symptoms: exc e ssive daytime sleepiness; snoring:; no witnessed
      i                                                            !       apneas or startled awakenings; no urge to move legs; Increased motor activity
      1                                                            1       at night (PLMS)
      !                                                            !       Severity: not sleepy driving
      i                                                            ! Video Tele- health visit used durinq the COVID-19 pandemic . Patient qave consent for tele-
      PATRICIA SUZANNE MAS KA, MD                                                                                                                                                                                                                                                                            Darden , Michael (ID : 100 73), DOB : 05/05/1966
              Case 4:25-cv-00911-DMR                                                                             Document 1                                            Filed 01/28/25                                                  Page 421 of 500
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                                               !health visit.
                                               i
                                               ! Pt w/ husband Gregory in vi sit .
                                              !
                                              i! New issue: "motor seiz ures at night".
                                               ! Gregory indicates that his psychiatrist made him permanently disabled for psych issues.

                                              i! Did not toi qulipta ( LH, tinnitus ), so stopped it.
          i},.. ,, ..................'> ... ,... ,.~i.........................................................................................................................
                                                      Did vestib rehab at ABSCM.                                                                                               ,,.... h.......................................................... ,,..,, ..                 ,o,


          i Past Me dic a l i Discussed Past Medical History
          i History         l Anxiety Disorder: Y
          l                                   i Depre ssion: Y
          l                                   l Headaches:Y
      i                                       i Heart Problems : Y - MVP
      i                                       i Migraines : Y
      !                                       1Kidney Dise ase : N - no kidney stones
      l                                       i Notes: PTSD
      iProbl e m List fReviewed Problems                                                                                                                                                                                                                           •
      i                                       i • Body mass index 25-- 29 - overweight - Onset: 02/03/2022
      !                                       l • Migraine with aura - Onset: 11/01/2021
      i                                       ! • Neck pain - Onset: 03/24/2022
      l                                       ! • Vertigo - Onset: 11/01/2021
      i                                       I• Headache - Onset: 11/01/2021
      i                                       i • Snoring - Onset: 11/01/2021
      !
      ;
                                              1• Suicidal thoughts - Onset: 05/27/2022
                                              ! • Nonspecific paro xysmal spell - Onset: 0 5/27/2022                                                                                                                                                                           i

      jAllergies List l [~i:~ji,i:i:i::~ii:r:i ii:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::1l
      1               l lPENICILLINS                                                                                                                                                  ij                i i
      ~ ......................... H..... ··l '·:::::.·.:::·:::::::.:·:::::.:·:::::::.·::::.·::.•.·.:·::::.::·:::.:::·::::::::.::·:::::.:·:::.:·.·.:·:::::::::::::::.:·::::::.:·:::::.::~:::.:::·:::::.::·::::::.·:.::::.•.•.·::::.:·.:::·:::::.·::::::::::::::.:·:::::::.·:.~~~ :
      1Medications ii Reviewed Medications                                                                                  l
      i            ir-.~·~·PRO·P·i~~...HCL..XL••300··~9··24"h~··i';bl;t·;··; rt;·~·d;d··~;.; ; ;; ······rosii6i22"..,i'11~i
      :!                                      :r•················ .. ······································ .. ·········· ........................................................................................ t·l .................................. .
                                              !i TAKElTABLETBYMOUTHEVERYDAY
      l                                       HclonazePAM 0.5 mg tablet                                                                                                                                             / 04/12/22 filled
      l•                                      l!TAKE           1 TABLET BY MOUTH DAILY AS NEEDED FOR ANXIETY                                                                                                        !                                     i
                                              • •...................................................................... _.. ....................................................................................... •................................... ) I

      •!                                      iUescltalopram                         5 mg tablet                                                                                                               12/14/21 filled d!
                                               ;.................................................................................................................................................................................................                           1
      i                                       ,! mirtazapine 15 mg tablet                                                                                                                                      05/17/22 filled. !
      i                                       !: TAKE 1 TABLET(S) BY ORAL ROUTE AT BEDTIME TIMES PER DAY, FOR                                                                                                                                                                il
      1                                       [L~g.g~~~.............................................................................................................................................................................J!
      l                                       HtraZODone 50 mg tablet                                                                                                                                                              [ 05/16/22                   filled ii
      t                                       l1 TAKE 1-2 TABLET(S) BY ORAL ROUTE, AT BEDTIME AS NEEDED                                                                                                                            !                                        P
      j                                       i! INSOMNIA,FOR30DAYS                                                                                                                                                                i                                         :!
      .········.. ·····. ··········........~: ...................................................................................................................................................................................................1
      i Soclal                                1Reviewed Social History                                                                                                                                                                                                        i
      l Hlstory                               [Education and Occupation                                                                                                                                                                                                       i
      i                                      l What is the highest grade or le vel of school you have completed or the highest degree                                                                                                                                         i
      !                                      ! you have received?: Master"s degree (e .g., MA, MS, MEng, MEd, MSW, MBA) (Notes:                                                                                                                                               ;
      l                                      i Instructional designer)                                                                                                                                                                                                        !
      i                                      ! Are you currently employed?: No ( Notes: disability since 04/21)
      i                                      ! Diet and Exercise          •
      1                                      \ What type of diet are you following? : Regular
      !                                      1What is your exercise level?: Moderate
      l                                      !Activitie s of Dally Living
      j                                      j Are you able to care for yourself?: No
      l                                      l Are you blind or do you have difficulty seeing? : No
      i                                      j Are you deaf or do you have serious difficulty hearing ? : No
      l                                      ! Do you have difficulty concentrating, remembering or making decisions? : Yes
      ;                                      i Do you have difficulty walking or climbing stairs?: No
      1                                      i Do you have difficulty dressing or bathing?: Ye s
      i                                      ! Do you have difficulty doing errands alone?: Yes
      i                                      i Which of your hands Is dominant?: Right
      !                                      l Public Health and Travel
      i                                      ! Have you been to an area known to be high risk for COVl □ - 1g7 : No
      l                                      1in the 14 days before symptom onset, have you had close contact with a laboratory-
      l                                      ! confirmed COVID-1g while that case was Ill?: No
      i                                      i In the 14 davs before svmotom onset. have vou had close contact with a person who is
      PATRICIA SUZANNE MAS KA, MD                                                                                                                                                                      Dard e n,Mlchael (ID: 10073), DOB:05/05/1966
           Case 4:25-cv-00911-DMR                                                                                                                                   Document 1                                                                      Filed 01/28/25                                                                             Page 422 of 500
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•••
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                                                                 )under inves tigation tor COVID-19 while that person was ill?: No
                                                                 i Substance Use
                                                                 i Do you or have you ever smoked tobacco?: Never smoke r
                                                                 l Do you or have you ever use d any other forms of tobacco or nicotine? : No
                                                                 [ What was the date of your mo st recent tobacco screening?: 05/27/2022
                                                                 i What is your level of alcohol consumption?: None
                                                                 i What is your level of caffeine consumption? : Occas ional
                                                                 !Advanc e d Dir ect ive
                                                                 i Do you have an advanced directive?: Yes
                                                                 ! Marriage and Sexua llty
                                                                 [ What is your relationship status?: Married (Notes : husband Gregory)
                                                                 !Lifestyle                                                                                               ,
                                                                 i Do you feel stre ssed (tens e, res tl es s, nervo us, or a nxi ous, or unable to sleep at night)? : To j
      .                                                          , some extent                                                                                            ;




      !~T.~~iy ![~~:;:~:~[
      !                                                          ii                                                       g
                                                                                                                                :~t!l ~ltil~~;,:;~~~i:I~~::
                                                                                                                                              - Hyperllp1demla
                                                                                                                                                                                                                                                                                                                                                           ::\]                                         i
                                                                                                                                                                                                                                                                                                                                                                                                             I
      ii                                                         if,,,,,,,,,,,,,,,,,,,,,,,,,,,,,.!f '""··--·· C ongestlve, heart:fa llure::··:::::::::::::::::::::::":::::::::::::::::::::::-::::::::::::::::::::::::::::::::::::::::)
                                                                 ii                                                      i·                   - Coronary artery bypass grafts x 3                                                                !
      j                                                         !
                                          [ no_seizures ..... •l........................................................................................................................... .. ..............................!
      .············......................r•··-·············.. •··············...·......................................................................... ,.. ,.......................... ,..............,........................................
      i Revi e w of                       j None recorded
      ·................................. !• ..................................................................................................................................................................................................
      !Systems

                                                                                                                                                                                               Exam:
      iv1t ,                                                     ; ............................ l1 ............................. ................................ , .............. ... ............... 1,......................... ... ,1.................. ..... ...........;
      !             as                                           ll                     Ht: l1 5ft5in                                !                   Wt: i l65 1bsWith il                                             BMl:i:27.5                                         l
      li                                                         H
                                                                 p
                                                                                              ij' St~nding.
                                                                                              ;, 0 .5,:17/2022
                                                                                                                          I1                             iclotl~es ..
                                                                                                                                                         10S/7. 7/20 L?.
                                                                                                                                                                                          H
                                                                                                                                                                                          ii
                                                                                                                                                                                                                      H  o~(37120 22 ii
                                                                                                                                                                                                                       ,!L ..50 am
      !                                                          '. L ........................1L~.:.'?:..~~ ..............!............................, \.~.~?.?. . ~:.'.1.............. J ......................... -1................................!
      l                                                          ti                   BP:ili20/75                         l!            Pulse: !i 4s bpm                                  H                     T:ii97 .3 F                             i                                                                                                             0


      1
      :
                                                                 i!
                                                                il
                                                                                                                   !! osm120 22
                                                                                                                   :1 11:48am
                                                                                                                                                                              ii::                                             1\os~2112022
                                                                                                                                                                                                                               Hll :31am
                                                                                                                                                                                                                                   ::
                                                                                                                                                                                                                                                                           [: os,.211202 2
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                                                                                                                                                                                                                                                                                          H                                    i
                                                                                                                                                                                                                                                                                                                               ;
      ~                                                         : : : :::.:::t: ::::: =:::: :::.: :: ::if::::.::::::=,~::::::::::::::::::~= l ~: ::::..:.::.,::::: := ::::::::,:::..::.:::::::::::: :: :::,: :: ::--..; '= •= :::: ::·:: ::-::..: ~=: :~:,-:-.:: :::::: :-:: ~· =
                                                                                                                                                                                                                                                                                :: :::: :. :. :: :,:::..:. :::::::..:.:, == :. 1
      ;                                                         l   i                    Pain ii O 05/21/2022 i[                                                                    H                                              ii                                      H                                                   i
      ~                                                         i l........... Scale: !i.1.1:30. arn ............ Ji...........................J! ................................ Jt ........................... Jl ................................. !
      • .................... . ....... ,.. . . . . . . . . . ~ . . . . . . . . . . . • - ' • " • . . . . . . . . . . , . • . , , . , . . . . . . . . . . . . . . , . . , . ,. ................ , •• n • • . . • - • • . . •• . . . .• . . - • • --•••• . . . . . . . . . n ........ . .,.,.,.,. . . . . . . . . . . . ~ ........o•• . . . . . . . ,.. .... " . " "' " • . . . . • . . ••• . . . . ,.,...,,


      !Physica l                                                \General Appearance: Appearance no acute distress . Habitus well nouris hed .
      EExam                                                     :
      i                                                         i Head: Appearance atraumatic .
      li                                                        !jMental Status: Level of consciousness alert and attentive. Mood, Affect normal mood,
                                                                  euthymic and affect congruent with mood . Attention/Concentration: normal attention and
      i                                                         l concentration. Orientation oriented to place and situatio n and orientated to person.
      !                                                         ! Language, Speech no dysarthria or aphasia or dysphasia noted and normal fluency .
      !                                                         i Memory, Recall recent memory grossly normal.
      j                                                         !cranial Nerves: Cranial Nerves Ill, IV, & VI normal extra ocular movements. Cranial Nerve
      i                                                         i V no jaw deviation on jaw opening . Cranial Nerve VII no facial weakness noted,
      i                                                         l approximately symmetric smile and forehead contraction, and symmetric puffing of
      1                                                         i cheeks. Cranial Nerve XI shoulder shrug symmetric. Cranial Nerve XII tongue mid line.
      :                                                         i
      \                                                         l Motor: General Motor Exam normal alternating motions Bilateral UE (opening & closing
      i                                                         i hands) and (pronating & supinating forearms) and no pronator drift, forearm rolling
      1                                                         ! symmetric, and symmetric finger tapping .
      ~                                                         I
      1                                                         \ Coordination: Coordination no tremor, dysdiadochokinesia, bradykinesia Bilateral UE, or
      j                                                         i upper extremity dysmetrla by finger-to- nose movement and No dysklnesia noted.          ,
      i Results/                                                i None recorded                                                                                                                                                                                                                                                                                                                              !
      j lnt erpretatlohs
      ......................................¢ ... ..... . .......................... . ..................................................., .... , ............. ........ ...... ..... ....... .............................. ........................ . .............. {
                                                                                                                                                                                                                                                                                                                                                                                                             i
      !Document                                                !Discussed the following documents:                                                                                                                                                                                                                                                                                                           i
      i History                                                !• Sports Medicine - Hospital Encounter - Colin NQ, Sutter Hea lth Affiliates and Community                                                                                                                                                                                                                                                   !
      PATRICIA SUZANNE MAS KA, MD                                                                                                                                                                                                                                                                 Darden , Michael (ID: 10073), DOB : 05/05/1966
            Case 4:25-cv-00911-DMR                                                                 Document 1                                       Filed 01/28/25                          Page 423 of 500
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                                       (Connect Practices - 03/24/22
                                       i• Sports Medicine - Hospital Encounter - Colin Ng, Sutter Health Affiliates and Community
       .                               [ Connect Practices - 03/24/22
       :                •              l   •         .. , . •   ""       ......       • ••    •   ..,.   •   "   , ... ..   • •• •   • •   ••   •     •   "   •   •      , .,   .......   ,, _ ..   ' ••    • • ••• •-   ..   ....,

       i Proc e dure                   i None re corded
       i_Docume_nta t _lqn......................................................................................... ............................................. ........................................................... .
                                                                                                  Assessment and Plan:
       ! Ass e ssment [Time spent: 42 min                                                                                                                                                                                             j
       jand Plan      i                                                                                                                                                                                                               i
       i                               i Record review : 2 min                                                                                                                                                                        I
       i                               ! Chart prep : 2 min                                                                                                                                                                           i
       !                               i Dis cussion/exam time spent with patient/care partne r: 15 min                                                                                                                               i
       i                               ! Risk assessment: possible seizure, testing options, medication options, lifestyle changes: '
       !                               i 15mln
       (                               ! Referrals/care coordination: l min
       !                               (Charting: 7 min

       I
       i
                                      I    f/u In 6 weeks
                                       i l, Nonspecific paroxysmal spell -
       i                               i Michael has periodic movements of BUE and BLE that are periodic, q 20-30 seconds and he
       1                               i    is amnestic for these. These sound most like PLMS. Michael does not endorse RLS
       1                               i while awake. Overall I doubt motor Sz. Reasonable to pursue an EEG, cranial MRI. No
       i                               i   current indication for ASM/AED meds. I answered questions re: ddx, testing, meds .
       i                               1   R41.89: Other symptoms and signs involving cognitive functions and awareness
       i                               i • MRI, BRAIN + BRAIN STEM, W/O CONTRAST -       Note to Imaging Facility: Involuntary
       \                               l        ~~~9.r..~.~~!~.1.~Y...~.\l!.l!:.9,,~.1~.~.P........................... ,
       !                              i j Helght (ft.):5 ft 5 in i! Welght (lbs) : 164!
                                      \ • ELEc°TRC:iENC Ef;-HALOGi~·r:;·~....... N;t~-'t'~· Ima glng Facility: Involuntary motor activity
                                                                                  0



       f
       i                              i         during sleep

       !i                             i    2. Snoring -
                                      ! As before, EDS, suspected apneas. As before, HST Inconclusive. I will request a PSG. I
       i                              !     answered questions re: testing, ddx.
       i                              i R06 .83: Snoring
       i                              ! • SNORING : CARE INSTRUCTIONS
       i                              ! • POLYSOMNOGRAM - Note to Imaging Facility: Indeterminate HST. Suspect PLMS.
       i                              i Need to eval for OSA. Snoring, EDS . Pt can take trazodone, remeron, clonazepam prn.
       !                              i
       i                              i 3 , Suicidal thoughts -
       i                              i Passive 51. Contracts for safety. He has a support system for psych issues. Has
                                      i
       I
       1
       !
                                      I.
                                      i
                                                psychiatrist and a therapist.
                                                R45.851: Suicidal ideations
                                                SUICIDAL THOUGHTS IN A FAMILY MEMBER : CARE INSTRUCTIONS


       i                              i Return to Office                                                                                                                                                                         !
       1................................ 1 . • ...to _see _Patricia . Maska,..MD_ for Telemedicine_ at.SAN. RAMON. on_ or.around _07 /08/202 2 ...... .J



                                                                         Electronically Sicmed bv: PATRICIA MASKA, MD
                                                                                                         ,~<< . :/ }:,.J~::'.'.,,.w,:;'.,.

                                                                                                                 05/27/2022




       PATRICIA SUZANNE MAS KA, MD                                                                                                                                    Darden , Michael (ID : 100 73), DOB: 05/05/1966




END - Consult Note: Neurology

BEGIN- Medical Record: Unedited
             Medical Record: Unedited/I Disability I Department of Social
Note Title
             Services
Note Type    Medical Record: Unedited
       Case 4:25-cv-00911-DMR                  Document 1          Filed 01/28/25      Page 424 of 500
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•=·   one medical
595 Castro Street San Francisco, CA 9411 4   Phone: 888-663-6331 • Fax: 888-663-6331
Date of
              Fri May 13 2022 @ 08:57 AM
Service
Created By    Christina Lujan
Signed By     Christina Lujan
Date Signed   Fri May 13 2022@ 08:59 AM
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                STATE OF CALIFORNIA · HEALTH AND HUMAN SERVICES AGENCY                       Gavin Nows om , Governor
            r   DEPARTMENT OF SOCIAL SERVICES                                                   S05/K23/OBVALO
             S05 CA DDS OAKLAND
             PO BOX 30722                                                                               ~
            -SALT LAKE CITY, UT 84130-9858
                                                                                                        ~
             •FAX : 1-866-640-1126

             April 29, 2022

             ON E MEDICAL
             MEDICAL RECORDS
             595 CASTRO ST
             SAN FRANCISCO CA 94114



                 This Bar Code Page is the Return Cover
                           Sheet for Records.
                 Important: This bar code page must be the top page of your
                 response. Invoices must be placed directly behind this page
                 as the second page submitted . All other documents, including
                 invoices, must be placed behind this page. *If you are sending
                 records for more than one individual, you may fax or mail them
                 at the same time, as long as each individual's bar code page is
                 sequenced as the first paQe of that individual's records.


             FAX Records Toll Free to 1-8§§-640-1126.
                                             or
             You can upload electronic records if you are registered on the
             Electronic Records Express Secured Website. For info -
             www.soclalsecurlty.gov/ere
                                             or
                 If malling, this page must be on top of your
              records. Slide this page Into the return window
                     envelope with this address showing.

             Save Time and Money! Receive Faster Payments for Records!
                  Fax or Scan your records. Both methods are HIPAA
              compliant and preferred for security, speed, and efficiency.




                           RQID:D1355878004487721K23_     SITE:S05 DR:S
                           SSN: ••••••••• DOCTYPE:0001 RF:D CS:4f4d
             Claimant: MICHAEL DARDEN
             SSN : ....... 6330 DOB: 05/05/1966




             MEF RH1 (08/17)
      Case 4:25-cv-00911-DMR                       Document 1          Filed 01/28/25     Page 426 of 500
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•=·   one medical
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              STATE OF CALIFORNIA · HEALTH ANO HUMAN SERVICES AGENCY                      Gavin Newsom, Governor
              DEPARTMENT OF SOCIAL SERVICES                                                 S05/K23/DBVALD
              S05 CA DDS OAKLAND
              PO BOX 30722
              SALT LAKE CITY, UT 84130-9858                                                         @.        .


              FAX : 1-866-640-1126

             April 29, 2022

             ONE MEDICAL
             MEDICAL RECORDS
             595 CASTRO ST
             SAN FRANCISCO CA 94114

                                                             RE:            MICHAEL DARDEN
                                                            AKA :
                                                            SSN:            •••----6330
                                                            DOB:            05/05/1966
                                               DDS CASE NUMBER:             1355878
                                                REQUEST NUMBER:             4487721
                                                 PATIENT NUMBER:
                                         SERVICE VENDOR NUMBER:             J292496

              The above-named individual has applied for disability benefits under the Social
             Security Act. This agency is responsible for adjudicating the claim. Your institution
             has been identified as a source of medical evidence for the claimant.

              Thank you for your prior report. Additional or current information is now needed.

             IDENTIFYING INFORMATION:

             Adm/Dschg Dates:             10/12/2021 to present
             Outpatient Dates:            10/12/2021 to present
             Patient No:

             Please note that this is a request for all records during the dates of treatment period,
             and is not limited to records pertaining to the alleged impairments listed below.

             Alleged Impairments:
             MAJOR DEPRESSIVE DISORDER; GENERALIZED ANXIETY DIS
             ORDER; PANIC DISORDER; INSOMNIA; MIGRAINES; TINNIT
             US; MITRAL VALVE PROLAPSE; SPOTS BEFORE EYES;, Con
             dition Changed Start Date 04/07/2022, Condition Ch
             anged Description ATYPICAL MIGRAINES, TINNITUS, NO
             T RESPONDING TO 2 DIFFERENT NEW AND ADVANCED MEDIC
             ATIONS. SYMPTOMS: CONSTIPATION; DIZZINESS; FATIGUE
             ; FREQUENT URINATION; IRREGULAR HEARTBEAT; LACK OF
             BALANCE; LACK OF GRIP STRENGTH; LACK OF STAMINA;
             LIGHTHEADEDNESS; LIMITED RANGE OF MOTION; MUSCLES
             PASMS; NUMBNES$; PAIN; SKIN PROBLEMS; SLURRED SPEE
             CH; STIFFNESS; STUTTERING; SWELLING; TIGHTNESS IN
             CHEST; TINGLING; TREMORS/SHAKINESS; TROUBLE SLEEPI
             MEF AH1 (08/17)
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                                                                     DEA : DBVALD
                                                         DDS CASE NUMBER : 1355878
                                                         REQUEST NUMBER: 4487721

             NG/INSOMNIA; WEAKN ESS; HEADACH ES; MIGRAIN ES ; HALLU
             CINATIONS; VISION PROBLEMS (STATUTORY BLINDNESS);
             HEARING PROBLEMS; FLASHBACKS; IRRITABILITY; MOOD S
             WINGS; NIGHTMARES; OBS ESSIVE BEHAVIOR OR THOUGHTS;
             ANXIETY; DEP RESSION; PANIC ATTACKS; PARANOIA. LIM
             ITATIONS: BENDING; KN EELING; LIFTING; REACHING; SI
             TTING; SQUATTING; STAIR CLIMBING; STANDING; USING

             INCLUDE THE FOLLOWING INFORMATION IF APPLICABLE :

             Adm, H & P, Dchg .Sm.
             Consultations
             CT/MRI Reports
             EKG W/Tracings
             Lab Tests
             Operative Notes
             Outpatient Notes
             Psychological Tests
             PT Progress Notes
             Psychiatric Consult
             Pathology Reports
             X-Ray Reports

             FOR ADULTS
                 We would also like to have a statement, based on your medical findings,
                 expressing your opinion about the claimant's ability, despite the functional
                 limitations imposed by the impairment(s) to do work-related physical and/or
                 mental activities as appropriate:
                          Physical activities such as sitting, standing, walking, lifting, carrying,
                          handling objects, hearing, speaking and traveling.

                           Mental activities such as understanding and memory; sustained
                           concentration and persistence; social interaction; and adaptation.

             FOR CHILDREN
                 We would also like to have a statement, based on your medical findings,
                 expressing your opinion about the child's functional limitations in learning, motor
                 functioning, performing self-care activities, communicating, socializing,
                 completing tasks and responsiveness to stimuli.

             A reasonable fee, as determined by this agency, may be paid upon request. Your
             request must be in writing on a separate form and must be attached to your response.
             To insure prompt payment, send your report within 14 days. It is our policy to not
             routinely pay for medical reports received more than 90 days after the date of the first
             request. Enclosed is an authorization for release of information.

             PLEASE RETURN A COPY OF THIS LETTER WITH YOUR RESPONSE.

            MR. DEREK V/K23, Disability Eval. Analyst Ill
            MEF RH1 (08/17)
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                                (                                                (                  428


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                                                                    DEA:      DBVALD
                                                        ODS CASE NUMBER:      1355878
                                                        REQUEST NUMBER:       4487721

             (51 0) 622-3628


             _THIS REQUEST IS BEING RETURNED. WE DO NOT HAVE THE
             INFORMATION REQUESTED. PLEASE PROVIDE DATE LAST SEEN: _ _ __




             MEF RH1 (08/17)
      Case 4:25-cv-00911-DMR                                         Document 1                       Filed 01/28/25                      Page 429 of 500

                                                                                                                                                                         429


                                                I
595 Castro Street San Francisco, CA 94114                       Phone: 888-663-6331 • Fax: 888-663-6331


                                                                                                                                                      Fonn Approved
                                                                            WHOSE Records lo be Disclosed                                             0MB No. 0960-0623
                                                                               NAME (First, Middle, Lssl, Sufflx}
                                                                                Michael Darden
                                                                               SSN   577966330                                If~~~,wl 05/05/66

                                            AUTHORIZATION TO DISCLOSE INFORMATION TO
                                             THE SOCIAL SECURITY ADMINISTRATION (SSA)
                                ""PLEASE READ THE ENTIRE FORM, BOTH PAGES, BEFORE SIGNING BELOW••
           I voluntarily authorize and request dlscloaure (lndudlng paper, oral, and electronic Interchange):
           ~WHAT      All my medical records: also education records and other Information related to my abllltv to
           _,rform tasks. This Includes specific permission to releaae:
          -t .. All records and other lnfonnatlon regarding my tniatment. h011plt11llzatlon, and outpatient care for my Impairment(&)
            1; ~ , and not Hmltml to :
           T( • Psychological, psychlatrlc or other mental lmpalrmant(s) (excludes 'psycholherapy notes· as defined In 45 CFR 164.501)
          1
           77 • Drug abuse, aloollollsm, or other substance abuse
                   Sldde cell anemia
           ~~\ • Reoords which may Indicate the presence of a communicable or noncommunicable disease; and tests for or rooords of HIV/AIDS
                   Gene-related impairments (Including genetic test results)
           2. Information about how my Impairment(&) affects my ablllty to complete taaks and actlvltkls of dally llvtng, and affecta my ablllty to work.
           p,- •Coples of educaUonal testa or evaluatlona, lncludlng lndlvlduallzed Educational Programs, trklnnlal a1111esaments, psychological and
           - apesch evaluatlons. and any other record& that can help evaluate function: also teachore' obaervatlona and evaluatlona.
           4.. Information created within 12 months after the date this authorization Is algned, aa well aa past Information.
          ·EBQMWHQM
                 All medical aourc:411 (hospitals, clinics, labs,      IS BOX TO BE COMPLETED BY SSA/ODS (as needed) Additional lnformaUon to Identify
                 physicians, psychologists, etc.) Including          the subject (e.g., other names used), the s ecific source, or Iha material to be disclosed:
                 mental health. oorrecllonal, addiction
                 treatment end VA health care facllltles
           •' All educallonal sources (schools, teachers,                  0ra ...1zatlon: Olila HEOICAL
                 reoords administrators, counselors, etc.)                 Vendor Addren: 595 CASTRO ST SAH FAANCISCO 94114
                                                                           In.pattent Date: 10/12/2021 to pre.sent
           ; • Sodel worlters/rehabBltallon counselors                     outpatient Oat,: tO/U/2021 to prestnt
           • Consulllng examiners used by SSA                               Patient 008: 05/05/66
          ·;: • Employers, Insurance oompanles, worl<ars'
                 compellSllllon programs
          4 - Others who may know about my condlllon

           ::;•· (lamlt,,, neighbors, friends, public offtclals)
          :rp WHOM
          ~\-!
                               The Social Security Admlnlatratlon and to the State agency authonzed to proce88 my caae (usually called "dlsablllty
                               dstennlnaUon seNlces'), lncludlng contract copy eervlcea, and doctore or other profeaslonale consulted during the
                               proceas. (Also, for lntematlonal claims, to the U.S. Department of State Foreign SeNlce Post.)
           RURPOSE             Determining my ellglblllty for benefit&, Including looklng at the combined effect of any lmpalrmants that
                               by themselves would not meet SSA"s definition of dlsablllty; and whether I can manage such benaflls.
                     O             Oetennlnlng whether I am capable of managing beneflta ONLY (check only if this applies)
          'EXPIRES WHEN              This aulhorlzatton Is good for 12 months from the date signed (belJw my signature).
          ~': I authorize the use of a copy (Including eklctronlc copy) ol this form for the disclosure of the lnformatbn described above.
          1.: I understand that there are some circumstances In which this lnfonnatlon may be redlsclosed to other parties (see page 2 for details).
          r.-,, I may write to SSA and my sources to revoke this authorization at any Ume (see page 2 for details).
                SSA wlll give me a copy of this fonn tt I ask; I may ask the source to allow me to Inspect or get a copy of materlal to be disclosed.
           , I have niad both pages of this fonn and agree to the dlacl011uro11 above from the types of sourc:es Uated.
          u.iaai-.......u...>ua.iaU&...,._.....,......,=<:»..._.IU.IJ....,_~   IF not signed by subject of disclosure, specify basis for authority to sign
           INDIVIDUAL authorizing disclosure                                   0 Parent of minor O Guardian O Other pereonal repreaentstlve
                                                                                                                                  (explain)
          SIGN ►          ~6,.~                                                (Parontlguardarlporsonal ropresentalive sign   ►
                                                                               here ii two •· lutes roquirod by s1a10 law)
                                                               Street Addrese
           Date Signed   05/19/2021                             1801 Shoreline Drive, Apartment 307
           Phone Number (with araa 00de )                     City                                                                      State            ZIP
           9178688780                                          ALAMEDA                                                                   CA              94501
          WITNESS I know the parson signing this form or am satisfied of l,;;.hls~=:::;.:.:~::.:.:;:OlC:...·--,--,---,-...,.,...-,--,-..,,,...,.,.,...,......,.--
                                                                                               IF n       , se         ness sign here (e.g., ff signed with •x• above)
           SIGN ►                                                                              SIGN
           Phone Number (or Addrass)                                                           Phone Number (or Address)

          This general and specie/ suthorlzstlon to dlsdose was developed to comply with the provisions 18f}ardfng disclosure of medical, educetlonsl, and
          other Information under P.L. 104-191 ("Hf PAA"}; 45 CFR parts 160 lllld 164; 42 U.S. Code secilon 290dd-2; 42 CFR pa,t 2; 38 U.S. Code seellon
          7332;38 CFR 1.475; 20 U.S. Code seef/on 1232g ('FERPA"}; 34 CFR pelfs 99 and 300; and State law.
          Form SSA-827 (11-2012) ef (11·2012) Use 4-2009 and Later Editions Untll Supply Is Exhausted                                                          Page1 of 2
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                 1:.
                 c.                                          Explunution or Form SSA-827,
                ::·
              .. I:·              "Authorlzntion to Disclose Information to the Social Security Atlminlstrntion (SSA)"
               }Ne ne~d your written authorization lo help gcl_lhe information required lo process your claim, and to determine your capability of
                 mana~mg_benefits. Laws and regulations require that sources of per.1onal informa11on haven signed authorization before
                 r~leasmg 11 lo us. Also, laws require specific «ulhorization for the rdease of information about certain conditions and from
              ::.educallonal sources.
              • 1, 1,

          , You con pro_vide this_authorizati_on by signing o foi:m ~SA-827. Federal low permits _sources with information about you to
              release that mformauon 1f you sign a smglc authonzalion to release all your information from all your possible sources. We will
              make copies of it for each source. A covered entity (that is. a source of medical informal ion about you) may not condition
           . treatment, paymen~ enrollment, or eligibility for benefits on whether you sign this authorization form . A few States, and some
              individual sources of information, require that the authorization specifically name the source that you authorize to release
          ·_- personal information. In those cases, we may ask you to sign one authorization for each source and we may contact you again if
           ·;!i;e need you lo sign more authorizations.
          ::\~iou have the right to revoke this authorization at any lime, except lo the extent a source of information has alreadv relied on il to
             lake an action. To revoke, send a wrillen statement to any Social Security Office. If you do, also send a copy directly to any of
             your sources that you no longer wish to disclose information about you: SSA can tell you if we identified any sources you didn't
             tell us about. SSA may use infom1ation disclosed prior to revocation to decide your claim .
              ·,11 is SSA's policy to provide service lo people with limited English proficiency in their native language or preferred mode of
           1communication consistent with Execuhve Order 13166 (August 11 , 2000) and the Individuals with Disabilities Education Act.
          ; ;,_SA makes every reasonable effort to ensure that the information in the SSA-827 is provided to you in your native or preferred
          ._)an11ua11e.
                                                                   Prlwcy Act Stutement
                                                      Collection anti U5e of Personal Informution
          Sections 205(n), 233(d)(5)(A), I6 I4(a)(3)(H)(i), 1631 (d)(I) and 1631 (e)(l)(J\) of the Social Security Act as
          amended, (42 U.S.C. 405(a), 433(d)(5)(A). 1382c{a)(3)(H)(i), 1383(d)(I) and 1383(e)(l)(A)] authorize us to
          collect this information. We will use the information you prol'ide to help u.~ determine your eligibility, or
          continuing eligibility for benefits, nnd your ability to manage nny benefits received. The information you
          provide is voluntary. However, failure to provide the requested information may prcl'ent us from making an
          accurate and timely decision on your claim, and could result in denial or loss of benefits.
          W~ rarely use the information you provide on this form for any purpose other than for the reasons explained
          a!J:11ve. However, we may use it for the administration and integrity of Social Security programs. We may also
          dli;close information to another person or lo another agency in accordance with approved routine uses, including but not limited to
          tHc' following :

             • • I. To enable a third party or an agency to assist us in establishing
            . righl~ to Social Security benefits and/or coverage;
           '':··2. To comply with Federal laws requiring the release of information from our records (e.g., lo the GoveIT1J11ent Accountability
          ·'· r· Office, General Services Administration, National Archives Records Administration, and the Department of Veterans Affairs);
          11ln3. To make determinations for eligibility in similar health and income maintenance programs at the

          O! · Federal. Stele, ond local level; ond
          ~i, 4. To facilitate statistical research, audit, or investigative activities necessa!)' lo assure the integrity and
          a:! improvement of our programs (e g., to the U.S. Census Bureau and to private entities under contract with us).


          &/~ may also use the information you provide in computer motchmg programs.
          ;vtatchin~ programs compare our records with records kept by o,ther_Fede!al, Sta!e, or local government _aijencies. We use the
          1
          1nforma11on from these programs to establish or verify a person s chg1b1hty for 1-ederallyfunded or adm1ruslcred benefit programs
          and for repayment of incorrect payments or delinquent debts under these programs.
          A_~omplele list of routine uses of the information you gave us is available in our Privacy Act Systems of
          Records Notices entitled, Claims Folder System, 60-0089; Master Beneficiary Record. 60-0090; Supplemental Security Income
          r(lcord and Special Veterans benefits, 60-0103; and Electronic Disability (eDIB) Claims File, 0-0340. The notices, additional
          1jiI9rmotion regarding this form , and information regarding our systems ond programs, are available on-line al \\' WW .
          sgcialsecurity.gov or at any Social Security office.

                                                          PAPERWORK REOUCTION ACT
          This infomtalion collection meets the requirements of 44 U.S.C. § 3507, as amended by Section 2 of the Paperwork Reduction
          A'ct of 1995. You do not need lo answer these questions unless we display a valid Office of Management and Budget control
          n_umber. We estimate that it will take about IO minutes to read the instructions, gother the facts, and answer the questions. SEND
          OR BRING IN THE COMPLETED FORM TO YOUR LOCAL SOCIAL SECURITY OFFICE. You con find your locnl
          5ociul Security office through SSA's website ut www.soclulsecurlty.gov. OITTccs urc ulso llsktl untler U.S. Government
          niencies In your telephone directory or you mny call Soc in I Security nt 1-800-772-1213 (TTY 1-800-325-0778). !'011 may
          sei1d comme/1/s 011 our time eslimale above 10: SSA, 640/ Security Blvd, Baltimore, MD 21235-640/. Send !W!.£ comments
          ~elating to our lime estimale to this address, 1101 tl,e compleJedform.

         F·orm SSA.S27 (11-20121     et (11-20121                                                                                      Page 2 of 2
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    one
  •=·         medical
  One Medical Group                                                                               595 Castro Street
                                                                                                  San Francisco, CA 94114

  To:                                                                                             phone: 888-663-6331
  From: Christina Lujan                                                                           fax: 415-291 ·0489




           Patient
           Patient                   Michael Darden
           DOB                       05/05/1966
          Sex                        M
          PCP                        Emanu el Vergls, MD
          Patient ID                 110786538
                                     1801 Shore Line Dr
          Address                    Apartment 307
                                     Alameda, CA 94501


          Anthem Blue Cross of California PPO
          Member ID: XDP241W06151
          Effective At: 01/01/2021
          Policy Holder: Michael Darden (Self)
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                                                                                                            432


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  Active Medications
  aspirin
  81 mg DR tabs, 1 tab PO qday as needed for migraine aura

  bupropion HCI
  300 mg extended relea se PO qam

  clon azepam
  0. 5 mg tabs, 1 tab PO qday as needed for anxiety

  Nurtec ODT
  75 mg rapid dissolve PO once as needed for migraine headache

  trazodone
  50 mg tabs, 1 - 3 tabs PO qhs as needed for insomnia



  Notes
  BEGIN - Consult Letter

  Note Title                  NEUROLOGY Consult Letter 2-3-2022
  Note Type                   Consult Letter
  Date of Service             Mon Feb 07 2022@ 06:19 AM
  Created By                  Erica Relnganum
  Signed By                   Emanuel Vergls, MD (NPI: 1962478495)
  Date Signed                 Tue Feb 15 2022 @07:03 AM
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                                                                                                                       433


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      athena                  213/2022 2:37:25 pm EST                        2ad300ba-b551-48f 1-9569-b7df97 aaOe 15         Page: 1 / 5




                                CONFIDENTIAL Fax
                    FROM:
                            PATRICIA MASKA, MD
                            985 ATIAN TIC AVE STE 300, ALAMEDA, CA 94501-644 7
                            Phone : (510) 748-5363
                            Fax: (925) 289-4975

                   TO:
                            EMAN UEL VERG IS MD
                            Fax: (415) 291-0489



                   TI1ls fax may co ntain se nsitive and confidentia l personal hea lth Information that Is being
                   se nt for the so le use of the Intended recipient. Unintended recipients are direc ted to
                   secu-ely destroy any materials received . You are hereby notified that the unauthorized
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                   prohibited. To the extent patient Informa tion conta ined In this fax is subject to 42 CFR
                   Part 2, this regulation prohibits unauthorized dis closure of these re cords.

                   If you received this tax in error. please visit www.athenahealth.com/NotMyFax to notify
                   the sender and confirm that the information will be destroyed. If you do not have Internet
                   access, plea se call 1-888-482- 8436 to notify the sender and confirm that the information
                   will be destroyed. Thank you for your attention and cooperation. (I0:686701-H-3387)
          Case 4:25-cv-00911-DMR                                                                Document 1                                  Filed 01/28/25                                    Page 434 of 500
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      athena                                                        2/3/2022 2:37:25 pm EST                                                     2ad300ba-b551-4811·9569-b7dl'97ee0e15                                           Page: 2 / 5



                   PAIBIC!A SUZANNE b\ASKA MD • 985 AJLANJIC AV£ STE JPQ Al,AMEQACA945QJ ·6447
                   DARDEN, MICHAEL (id #10073, dob: 05/05/1966)
                   PATRICIA SUZANNe MASKA MD
                   985 ATlANTIC AVE STE 300
                   ALAMEDA, CA 94501-644 7
                   Phone : (510) 748-5363
                   Fax: (925)289-4975

                   Encount er Summary• Progres:s Note
                   Date Printed : 02/03/2022
                   Attention: Emanuel Vergl s MD


                   This fax may contain sensitive and confidential persona l health Information that is being sent for the so le
                   use of the Intended recipient. Unintended recipients are directed to securely destroy any materials
                   received . You are hereby notified that the unauthorized disclosure or other unlawful use of this fax or any
                   personal hea lth information is prohibited. To the extent patient information contained In this fax Is subject to
                   42 CFR Part 2, this regulation prohibits unauthorize d disclosure of these records .
                   If you received this fax In error, please visit www.athenahealth.com/NotMyFax to notify the sender and
                   confirm that the information will be destroyed. If you do not have internet access, please call 1·888-482-
                   8436 to notify the sender and confirm that the Information will be destroyed. Thank you for your attention



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                   f Address ············1r180·l · Shoreline· Dr/Apt. 30/ atlent ••Demograp~i~:me· Phone ·11(917) .868-87 80····--······--··············1
                   I ...............................   .JI Alameda, .CA 9 450 l-60.84··············· .......................J[~~,~~'; 'h';;~;"J('"'"'"'"'"""'"''""'""'"""'"'"'"'"'"'"']
             ................................... ······························-·············..........Patlent. Medica l. History:.........................................................................................
             i Encounter                           Followup: Migraine with aura
             i Reason/Date Followup : Vertigo
             i                                     Followup: Snoring
             l... ............................... 02/03(2022.-. l0:30AM. -..PSM ........................................................................................................................................ .
             l History of !Headache • f /up
             i Present                           ,             Reported by patient.
             \ Illness
              i                                  I
                                                 1
                                                               Timing of pain: frequency of overall cepha lalgia : days/month (14); worse since 10/21
             1                                   1            Treatment (modifying factors): Tried Nurtec 8 nights In a row, and felt vertigo and
             !                                   i             had tinnitus "within seconds" of taking it . An hour later, started to ca lm down Tried
             l                                   i             /lSA 81 mg qd x 8 days w/o benefit so stopped.
             !                                   i             Severity of pain: pain le vel: migraine 7 •10/10; milder HA l -3/10 . Has at lea st PS
             •                                   i             3-4/ 10 at least a couple of hours per day.
                                                         Sleep
                                                              Reported by patient.
            i
            :
             !
                                                                 Ass ociated Symptoms: excessive daytime sleepiness; suspected
                                                                 respiratory events: startled awaken in gs:; Gregory notes a EDS after a he avy
           !                                                     meal.
             ~

           i,,i                                          Vertl!::~::~:r::pva~~::o: spinning sensation
                                                               Location: tinnitus constant
           i                                                   Duration: symptoms constant; vertigo fluctuates
           ,i.,'                                               Aggravating factors (modifying factors): s ymptoms; worse with po11itlon
                                                               change; symptoms exacerbated by head movement to either sid e
                                                         Video Tele-health visit used during the COVID-19 pandemic. Patient gave consent for tele-
           j                                           ! health visit.
           l                                j · 11 I k h bG                         ••• G                  •
           l................ ·-···········•·rlc .. ae . o....W/ ...us ·-··· reg ory 1n VISJt. .... reg.ory IS .an RN. ······--···... ·.. ··.........................................................
           ! Past Med lca l ; Discussed Past Medical History
           l History                                   i Anxietv Disorder: Y

             PATRICIA SUZANNE MAS KA, MO                                                                                                                           Dard"n, Mk hael (lD : 10073) , DOB : 05/05/1966
          Case 4:25-cv-00911-DMR                                                                        Document 1                                        Filed 01/28/25                                          Page 435 of 500
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      alhena                                                     213/2022 2:37:25 pm EST                                                                      2ad300be-b551-4811•9569-b 7df97 aoOe 1S                                                    Pago: 3/5


                                                Depression: y
                                                Heada ches: Y
                                                Heart Problems : Y • MVP
                                                Mlgraines : Y
                                                Kidney Disease : N • no kidney stone s
            .                                   Notes : PTSD
             ).·····-·····-·················· ··--······-····-··········..··-·······-··.. ··-······-··············..··-··-··---········-······--····--·····-··-··············..·-·····-··· ... ..................                               ....
           .l!Proble m Lls.t Reviewed
                                                                                                                                                                                                                     -                _,,_,,,
                                                                Problems
                                               • Body mass ind ex 25"29 - overweight - Onse t: 02/03/2022
                                               • Migraine with aura - Onset : ll/0l/2021
           1                                   • Vertigo - Onset: 11/01/2021
           :                                 ! • Headache - Onset : 11/01/2021
           ~ ........ __ ._ .... _ .... } • Snoring .. • Ons et: 11/01/2021.. _ ....._ ...._ ... _ ... _ ... _._ ...._ .. _ ....._ .._._ .. _ ......- .......... _                                                               ........_ ....

           ' Allergies List l•~•!~~~~f;~~~,~~f,~~:::::,,:::::m,::::::u:u:,uu::::::::;,:m:,::::m::::::m::::::"'::.:::u::::1m::,:,;m:::::,m:u::,u:::::::::::::::u'JC"'""''"''l
           t••-••••·•· .. ·•·•••-•·••• •-•••• •••••-••-•••• •,.... ••·· •·--- ............ ........ - , ...... .... ,,,,o.. •• ••••.. ••••••-·•••••-••• •••-• • ••-·••-••-•• • ••·--· •••••-·u• •·-••••••-•··•·••-"'-- ••-••••••0-~0•0-•"' .. -•-•·

           ' Medicat ions                       [ Reviewe d Medications
                                                1.................................................................................................................................................................................................
           I
           I                                    i buPROPlon HCL XL 300 mg 24 hr tablet , extended                                                                                            02/03/22 filled
           ,                                    :release
           i!                                  if.·-·-.........................................................................
                                                 TAKE 1 TABLET BY MOUTH EVERYDAY                                                - .......................................................... ·-......................................... .
           i                                    jclonazePAM 0.5 mg tablet                                                                                                                        11/27/21                filled

           j                                   !~:~:;:o~~a: st::ie:ablet... ___........ _ .......................-·-··-·· ..
                                                                                  9
                                                                                                                                                                                                 ~:~:~~ . :1::~~;ib.ed·
           j                                  \Take 1 tablet(sl every day by oral route for 30 days .
           i                              [traZODone .. so .. mg_tablet ............................................................................ 09/24/21 .... fi lle.d ............. ..
           fSoc ia I                       Re viewed Social History
            i History                      Educat ion a nd Oc cupat ion
            !                            ! What Is the highest grade or level of schoo l you have completed or the highest degree
            i                            1you ha ve received?: Master's degree (e .g., MA, MS, MEng, MEd, MSW, MBA) (Note s:
            l                              Instructional designer)
            i                              Are you currently employed?: No (Note s: disability since 04/21)
            l                              Diet a nd Exerc ls;e
           i                               What type of diet are you following?: Regular
            i                              What is your exe rcise level?: Moderate
           !                               Activities of Dally Living
            l                              Are you able to care for yourself? : No
           i                               Are you blind or do you have difficulty seeing? : No
           i                              Are you deaf or do you have serious difficulty hearing ? : No
           !                               Do you have difficulty conce ntrating , remembering or making decisions? : Yes
            j                              Do you have difficulty walking or climbing stairs?: No
           l                               Do you have difficulty dre ssing or bathing?: Yes
            i                              Do you have difficulty doing errands alone?: Yes
           i                               Which of your hands is dominant?: Right
           ;                               Public Health a nd Tra ve l
           i                               Have you been to an area known to be high risk for CO VID· l9? : No
           i                               In the 14 days before symptom onset, have you had clo se contact with a laboratory-
           l                              co nfirmed COVID- 19 while that case was Ill?: No
           l                               In the 14 days before symptom onset, have you had close contact with a person who is
           l                              under investigation for COVID- 19 while that person was Ill?: No
           l                              Substance Use
           i                               Do you or have you eve r smoked tobac co?: Never smoke r
           !                               Do yo u or have you ever used a ny other forms of tob acco or nicotine?: No
           i                              What wa s the date of your most recent tobacco sc reening?: 02/03/2022
           l                              What Is your level of alcoho l consumptio n?: None
           l                              What Is your level of caffeine consumption?: Occasiona l
           i                            1 Adva   nced Dir ective
           l                            ! Do y ou have an ad vanced dire ctive?: Yes
           l                            I Marriage and Sexuallty
           i                                !
                                          What is you r re latio nship status?: Married (No tes: husband Gregory)
           l                            i Llfe style
           i                            ! Do you fee l stressed (tense, restless, nervous, or anxious, or unable to sleep at night)?:
           i                            j v ery mu ch
           i                            i Do you use your sea t belt or ca r seat routine ly?: Yes
           l... ..................._ ...i.Ge nd er. ldent lty and LGBTQ Identity ...... _......... _ ..- ........ _ ..........- ··-··.. - ·....................................

           I   ~fs~~~y                      !r.;.;.~;;;.~.           ~~.Jr.~.'.:~~~~-                  1
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           PATRICIA SUZANNE MAS KA, MO                                                                                                                                              D~rde n , Michae l (ID : 10073) , DOB : 05/05/ 19 66
           Case 4:25-cv-00911-DMR                                                                                                     Document 1                                                     Filed 01/28/25                                                          Page 436 of 500
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      athena                                                                      '213/2022 2:37:25 pm EST                                                                                                2ad300ba,b551-4811-9569-b 7df97aeOe 15                                                                           Page: 4 I 5



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           lRev iew of                  None recorded
               ,.svstems ........... .l.................................................................................................................................................................................................... .
                                                                                                                                                           Exam:
            •v"•'•                                         ir · · - · ·;;;-;: :;;; :;;;;·-··1 ···- - ;;;;; :>SO>b7Wlth ·11 ·······a,;;;r ·;,;;;;:;;;,;;;·7

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                                                           I!'"""'"'""""              .J!;'i};~::m.a'! • • '"Pul,., lli!f.!:::----•-l••"''"'"'"'T,1[;;;~;~,, ,,J
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           !                                                                                         10 :00 am                               J                                      ;                                          ;;                                    i

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                ....... ...................... ····-············.. ······••··•·······.. ······ .. ·······································•········ .. ·····-·"····-·····..······-······-···············-·········.. ····················-··········
                Physical                                     Patient is a 55-year-old male .
                Exam
                                                             Gen era l Appearance; Appearance no acute distress. Habitus well nourished .

                                                             Head: Appearance atraumatlc.

                                                   Mental Stat u s : Level of consciousness alert and attentive . Moo d, Affect normal mood,
                                                   euthymlc and affec t congruent with mood. Attention/Concentration: normal attention and
                                                   concentration. Orientation oriented to place and sit uation and orientated to person.
                                                   Language, Speech no dysarthrla or aphasia or dyspha sia noted and normal fluency .
                                                 1
                ......- ........................) Memory,. Recall. re cent.memory g_rossly .norma I. _ ...............-···--· .. ·- ····-..................... _ ......................_.
                 Results/                        ! None recorded
                 lnt e rp retat lohs
                 Document·-····-rDiscus se d t h e fo llowing ·documents: .........................................................................................................
                History                                    !• HOME SLEEP TESTING • - 12/28/21
           !Procedure !None recorded
           iDoc u me nta t I? n .............·-··········..·-··.. ·-····---·..···-···--····-·· ..··········---··---·······-· .... _ .............. _ ............_ ...............- .... _ .................
                                                                                                                                    Assessment and Pl an:
           ,•• •···•--••"• •• · .. •· • •• •· •••···• • ··•••• • • •·• •••• ·• • •• •·• • • .. ·• · .. • •··· ........ . ........ ........ .. ...... . ................. .... .. . ................. ..... .... . H ... 0•••• ·•••••·••• .. •• .. ·•····•••·•·• •• • • •·--•· ·· .. ·••···••·•• • •0,• .. ··•--

           i Assessment                                     Time spe nt: 49 min
           , a nd Plan
           i                                                Record re view: 2 min
           i'                                               Chart prep : 2 min
                                                            Discussion/exam time spent with patient/ca re partner: 12 min
           '
           It                                               Risk assessment: t ime taken to re view E&M and ddx w/ husband Gregory ( 1st visit w/
                                                            Gregory present ), anwering questions, testing options, me di cation options, lifestyle
                                                            changes : 25 min
                                                            Referra ls/care coord ination: 1 min
           i
           i
                                                            Charting : 7 min
           ;
           i                                                flu In 4 we eks
           1                                                l, Migraine with a ur a -
           i                                                Episodic migraine. Baseline headache days per month: 14, la sting more than 4 hours per
                                                                day. Did not tol Nurtec . Needs Intervention. We discusse d the R&B of other meds and
           !
                                                                decided on Qulipta. He wants to avoid Injections.

           l
           l
           !
                                                           They aske d abo ut a cranial MRI. I indicated that I don't think he need s a repeat MR I at this
                                                              t ime. They are fine not doing an MRI for now. I answered numerous questions re:
                                                              testing, meds, prevention.

           i
           PATR ICIA SUZANNE MAS KA, MD                                                                                                                                                                                               0arden,Mlc hae l (10: 10073) , DOB : 05/05/1966
               Case 4:25-cv-00911-DMR                    Document 1            Filed 01/28/25           Page 437 of 500
12/19/24, 12:42 PM        Tc.columbia.edu M,    .edical Records Request, Anthem, Physical, Claim A~   .lion, Determination Assessment, Long-Term D ...
                                                                                                                                   437

                                                                                         Darden, Michael <mad2255@tc.columbia.edu>



   Medical Records Request, Anthem, Physical, Claim Application, Determination
   Assessment, Long-Term Disability, Michael Darden 3
   Darden, Michael <mad2255@tc.columbia.edu>                                                                  Tue, Mar 21, 2023 at 11 :46 AM
   To: tanita.lee@anthem.com

     Attached:

          PART 3 OF 3 EMAIL TRANSMISSIONS

      I Satisfactory?
      I
      I Thank you kindly, and take care,
      i Michael
      j Michael Darden
        917-868-8780




           Michael Darden Dr. Emanuel Vergis One Medical Healthcare Record includes Maska UCSF Sharon - Copy
           pages 88-17 4.pdf
           15984K




https://mail.google.corn/mail/u/0/?ik=16dcfadc8d&view=pt&search=all&permmsgid=msg-a:r-4820625583638654566&simpl=msg-a:r-48206255836386...         1/1
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                                         213/2022 23725 pm EST                                       2oo300ba-b551-48f1 •9569,t;7df97 a@O@ 15                     Page: 515


                                 Preventive meds tried: Nurtec (did not tolerate), VPA, Elavil, lexapro, bupropion, GBN
                             i       300 mg, lorazepam
                             tOTC preventives tried: 82, magnesium
                             ! G43.109: Migraine with aura, not intractable, without status migrainosus
                             l • MIGRAINE AURA WITHOUT A HEADACHE: CARE INSTRUCTIONS
                             i"  Qullpta 10 mg tablet· Take 1 tablet(s) every day by oral route for 30 days.      Qty: 30
                             i tablet(s) Refills: 2 Pharmacy: CVS/PHARMACY #9255 Note to Pharmacy:
                             ,   Preventive meds tried: Nurtec (did not tolerate), VPA, Elavil, lexapro, bupropion, GBN
                             l 300 mg, lorazepam
                             !
                              ;2. Vertigo -
                             !Long h/o vertigo. May be multifactorial: BPPV, migraine related vertigo, PPPD. Needs
                              !    Intervention. I advise a trial of vestib rehab. We discussed Migraine related vertigo
                              1    and PPPD. I am optimistic that Qulipta may help the former as well. I answered
                             i     numerous questions re: testing, meds, ddx, testing.
                             l R42: Dizziness and giddiness
                             .! • VESTIBULAR THERAPY REFERRAL - Schedule Within: provider's discretion Note to
                                   Provider: Vestib rehab. vertigo can be positional. May have underlying PPPD and
                              \    migrainous vertigo. Menandro.

                             13. Snoring•
                             !EDS, suspected apneas. HST inconclusive. Needs further eval. We discussed doing a PSG.
                             !   They want to hold off and see how the other Interventions help. I answered numerous
                             i questions re: clinical presentations of OSA, testing of OSA.
                             !l • SNORING:
                                  R06.83: Snoring
                                            CARE INSTRUCTIONS

                             !4, Body mass Index 25-29 - overweight•
                             ,Consider nutrition eval
                             •
                                 •268.25: Body mass index I BMI) 25.0-25.9, adult
                                  LEARNING ABOUT HEALTHY WEIGHT
                               e NUTRITIONIST/DIETITIAN REFERRAL -       Schedule Within: provider's discretion

                            I    Return to Office
       '· ..··-·--"··--.................' ... '" .. to.see _Patricia _Maska,. MD_for Tele medicine at _PSM_ on_or _around _02/24/2022 ............- .....
                                                                                                                                                            I
                                                                                                                                                            J
                                                  Electronicallv Si<lrn,i,d bv: PATRICIA MASKA. MD




                                                                         02/03/2022




       PATRICIA SUZANNE MAS KA, MD                                                                                Darden, Michael (ID: 10073), DOB:05/05/1966
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  END - Consult Letter



  BEGIN - Consult Letter

  Note Title               NEUROLOGY· MIGRAINE HEADACHE Consult Letter
  Note Type                Consult Letter
  Date of Service          Mon Dec 20 2021 @ 07:33 PM
  Created By               Zara Hernandez
  Signed By                Emanuel Vergls, MD (NPI: 1962478495)
  Date Signed              Tue Dec 21 2021 @ 06:52 AM
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      athena                      12-16-2021 5:25 PM ET           511-185786724                                  PQ 1 of 5




                                 CONFIDENTIAL Fax
                    FROM :
                             PATRICIA MASKA, MD
                             985 All.ANTIC AVE STE 300, ALAMEDA, CA 94501-6447
                             Phone : (510) 748 -5363
                             Fax: (925) 289-4975

                   TO:
                             EMANUEL VERG IS MD
                             Fax: (415) 291-0489



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      athena                                                   12-16·2021 5:25 PM ET                                              511-185786724                                                                                            PQ2of5


           PATRICIA SUZANNE MAS KA.MO• 985 ATLANTIC AVE STE 300, ALAMEOACA94501·6447
           DARDEN, MICHAEL (id #10073, dob: 05/05/1966)
           PATRICIA SUZANNE MASKA MD
           985 ATLANTIC AVE STE 300
           ALAMEDA, CA 94501-6447
           Phone: (510) 748-5363
           Fax: (925)289-4975

           encounter Summary • Progress Note
           Date Printed: 12/16/2021
           Attention: Emanuel Vergis MD


        This fax may contain sensitive and confidential personal health information that is being sent for the sole
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        8436 to notify the sender and confirm that the information will be destroyed. Thank you for your attention
        ~nd. cooperatio~ .l.lD:6 7 4810-H-33871 .........................................................................................................................................................
        ! Patient        !! Darden, Michael (55yo, Ml #10073                                                                                                                                            !
        i.r.>.<?.8.................. ...lt~~2.5.!_1.9..6..6................. .. ... ........... ................ .... .......... ........... .. .................................                    ....................... ..!

       ,•••,•.•. . . Jilf,'~.h:,,~."~:,'i:',                                    Apt .,,;•t1,mo,mo9c,ej/.~;;~£;;';:;'-'lr',E,!.,!.~~;!/.~£,,_,_,_,,_,_,_,,_,_,,                                                                      I
                                                                                            Patient Medical History:                                ...............................................................................l
       !Encounter !Followup: Migraine with aura
       ! Reason/Date ! Followup: Snoring
       i
       !
                                       l Followup: Vertigo
                                       l 12/16/2021 • 10:30AM • PSM                                                                                                                                                                  I
                                                                                                            ...........................................................................................................................1
       !History of                     !Headache • f /up                                                                                                                                                                             '
       ·Present                        l             Reported by patient.
        Illness                        j
                                       !            Timing of pain: frequency of migraine: (11-14 days/month)
                                       !'           Severity of pain: pain level: migraine 4-7/10
                                       l            Quality of pain: character of cephaliga as familiar
                                       l
                                       jSleep
                                       !     Reported by patient.
                                       l!           Associated Symptoms: excessive daytime sleepiness; snoring: moderate
                                       ,            Severity: not sleepy driving

                                       !vertigo
                                       !     Reported by patient.
                                       i
                                       l
                                       (            Quality: true vertigo: spinning sensation; On no11-vertigo days, having LH off
                                       ,            and on
                                       j            Location: tinnitus occurring bilateral
                                       ,            Duration: typical duration of symptoms as hours; symptoms as variable in length;
                                       l            symptoms as occurring daily
                                                                                                                                              1
                                       j            Severity: symptoms as about the same                                                      1
                                       ,            Aggravating factors (modifying factors): symptoms not associated with change in           j
       .                               j            position; loud noises not triggering vertigo                                     ...... )
       !Past Medical /Past Medical History not reviewed {last reviewed 11/01/2021)                                                                                            i
       lHlstory      !Anxiety Disorder: Y
       l             lDepression: Y
       i             !Headaches:Y
       i             lHeart Problems: Y • MVP
       l             ! Migraines: Y
       [ ..       ..) Kidney_ Olsease:.N. -. no.kidney. stones................................................................................................................1
       PATRICIA SUZANNE Ml>SKA, MD                                                                                                                                     Darden, Michael (ID: 10073), DOB:05/0511966
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      ath ena                                                                    12-16-2021 5:25 PM ET                                                                   511· 185786724                                                                                                                  PQ 3 of 5


        !,,   Problem List 1Re viewed Problems
                           ! • Migraine with aura - Onset : 11/01/2021
        •                  ' • Vertigo - Onset: 11/01/2021
        I                                            :     ~~r1~~o·i;ieA,iY,~i
                                                                                                                            1
                                                                                                                             ?f 21
        i Allergles LIS
                                              t
                                                     !,Reviewed .Allerg ies ...................................................................................................................................................                                                                 ..J
              ..................................,.1:PEN IC ILL IN.S,;;:;:_;;;;;;:_;;;;;;;;:_;;;;;;;;;;;;;;;;:_;;;;;;;;;;;;;;;;;;;;;;;;;;;;:_;;;;;;:_;;:_;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;:;;;;;;;;;;;;;;;;;;;;;".jr,;:_;;;;:_:;;).
               Med ications il Reviewed Medications
                                                   '►• · ···· · ······ · ·········· · ····· · ················· .... . , ••••• , •••••••••••• • , •••• • , •• ,, •• •• • , •• ••••••• •••• •••• , •• ••••••••• , •• •• •••••••••• , •••••• , •••••• •••••• •••••••••••••••••• •• ••• •••••••• ••••••••

                                                  iJ buPROPion HCL XL 300 mg 24 hr tablet, extended                                                                                                                                       12/08/21 fi lled
                                                  !/e lease............................................................................................................................ ................................................
                                                  i! clonazePAM 0.5 mg tablet                                                                                                            11/27/21 filled
                                                  i! esc ita lopram 5 mg tablet                                                                                                                                                           12/14/21                     filled
                                                  i: Nurtec ODT 75 mg disintegrating tablet                                                                                                                                               11/01/21                     prescribed
                                                  jl Take 1 tablet(s) every other day by oral route.
        .                                         ( traZODone.. so .mg .tablet ..................................................................... • ...... 09/24/21 ... filled ·····-·-··
        ... .. ••••••••• .. •••••••••••• .. •••••+•••••••.,•uuoo• , u• ••••••• .. •••••• • ••••• .. • •••• ••••••••••u•• ••••• • ••• .... ••••• .. ..,••• .... •• .. •••• .... • .. •••• .. ••• .. •••• .. •• .. •••• .. ••• .. •••.. •• .... •• • •••••••••••~ • •.. • ••n"•• .. •••••••••••••• ..

        i Soc ia l                                I Reviewed Social History
        i History                                  jEd ucatlon and Occupation
        !                                          ! What is the highest grade or level of school you have completed or the highest degree
        i                                          j you have received?: Master's degree (e .g ., MA, MS, MEng, MEd, MSW, MBA) (Notes :
        !                                          i Instructiona l designer)
        i                                            Are you currently employed?: No ( Notes: disability since 04/21)
        !                                            Diet a nd Exercise
        i                                            What type of diet are you following?: Regul ar
        !                                            What is your exercise level?: Moderate
        i                                            Activities of Dally Living
        i                                          i Are you able to care for yourself?: No
        i                                          j Are you blind or do you have difficulty seeing?: No
        !                                          !Are you deaf or do you have serious difficulty hearing?: No
        i                                         i Do you have difficulty concentrating, remembering or making decisions? : Yes
        i                                          I Do you have difficulty walking or climb Ing stairs?: No
        :                                            Do you have difficulty dressing or bathing?: Yes
        j                                            Do you have difficulty doing errands alone?: Yes
        !                                            Which of your hands is dominant?: Right
       i                                             Public Health and Travel
       i                                             Have you been to an area known to be high risk for COVID-19? : No
       i                                             In the 14 days before symptom onset, have you had close contact with a laboratory-
       !                                             confirmed COVID-19 while that case was ill?: No
       i                                             In the 14 days before symptom onset, have you had close contact with a person who is
       i                                             under Investigation for COVID-19 while that person was Ill? : No
       !                                          1
                                                     Substance Use
       !                                          1Do you or have you ever smoked tobacco? : Never smoker
       i                                          j Do you or have you ever used any other forms of tobacco or nicotine ?: No
       i                                          ! What was the date of your most recent tobacco screening?: 12/16/2021
       i                                          j What is your level of alcohol consumption?: None
       !                                          ! What is your level of caffeine consumption?: Occasional
       i                                          j Advanced Directive
       i                                          j Do you have an advanced directive? : Yes
       i                                          !Marriage and Sexuality
       j                                          i What is your relationship status? : Married (Notes : husband Gregory)
       !                                          i Lifestyle
       i                                          i Do you feel stressed (tense, restless, nervous, or anxious, or unable to sleep at night)? : To
       i                                          i some extent
       j                                          l Do you use your seat belt or ca r sea t routinely?: Yes
       [ ................................ .l.~~~~.~ .~ ..~~.~.~~.~~.¥...~.~.~...~~.~.!9. ..~~.~~~.!~.¥. .......................................................................................................... .
       I~~~~~y                                    Ir-t::~~;!g~r.Y..yt~.!.~.~i5:-~1~1f r-r.~.'.'!~~.~.~.. wQ.Y.?.Q.n.L..........................................................................1


       I                                          i::~:::::::::::::t:::::;~~;~:11i•~-~::,~'.~:~:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::1
       PATRICIA SUZANNE MAS KA, MD                                                                                                                                                                                       Darden, Mk hael (ID: 10073), DOB :05/05/1966
      Case 4:25-cv-00911-DMR                                                                                                                                              Document 1                                                                                        Filed 01/28/25             Page 443 of 500
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 •
•••
 •    one medical
595 Castro Street San Francisco, CA 94114                                                                                                                      Phone: 888-663-6331 , Fax: 888-663-6331

      athena                                                                                                12-16-2021 5:25 PM ET                                                                                                                  511-185786724                                                                      PQ 4 of 5




           .                                               i    !...........................                                 1! ..... -.coronary. artery byp ass .grafts x.3 ........................................................................ 1
           iReview of                                      l None recorded
           !Systems                                  i
           • ••••• ••••••• ••••••••••••• •••• , •••• 1. ... . .. .. .. . . ... ............ . .......... . ... . ... . ... , . ... . ........ . ...... ... . .. . ....... .. . . ... ......... . . ...... . ......... .. .... .. ......... .. . . . . . ... . .. .... ........ ... .. . . ... . ... .. ... . . ... . . ........ .



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                                                                                                                                             Exam:                         ••••••~H••••••·••••o....................._,.................................
                                                               o,o 00 000 • - • • • • . . • • • • • • • • • • · • • · • · • • • • · · • H • • • • • • . . · • • · · • • · • • • • • • · · • · · • • • • • • • • • · • • · • • • • ~ • • · • • • · • • • · • • • • • · . .                                           -   , , oo oooo
                                                           0


             Vita ls                                       ::                                 '                                   1                                                               ..                               :!
                                                           il                        Ht: j 5ft5In                                  i                   Wt: 163.6IbsWith H                                            BM l:j! 27 .2
                                                           i!                                  l Standing                          !                              clothes                         !!                               i! 12116;2021
                                                           ii                                  ! 12/16/2 0 21                      i                              12/16/ 20 21                    ii                               !!1 0 :34 am
                                                          !Ii:···········.. ···· .. ······ .. ,! ,10   :32 am
                                                                                                  ...............................  :                              10 :34 arn                      ii                               !!
                                                                                                                                  .1 ............................................................ ~~ .................... .. .... ,: ................................. .
                                                          H                                            BP :! 124/77 sitting                                                                                        Pulse: ! 79 bpm                                                H             T: j 97.8 F0
                                                          !!                                               ! Larm                                                                                                         !12/16/2021                                             ii               ! 12/16/2021
                                                          ii                                               i 12/16/202 1                                                                                                                                                          j!               i 10:34 am
                                                                                                                    iI1:
                                                                                                                                                                                                                          jl 0:36 am

                                                          If
                                                          :!
                                                                   :::::::::::::a~~~
                                                                                                           ! 10 ·35am

                                                                                                                                               1                      2
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                                                                                                                                    ~~~ : /; o· ·t'"jlf"::::::::::::::::::::::: (::::::::::::::::::::::::::::.j(':::::::::::::::::::::::::i r:::::: :::::::::::::::::::::::::]!
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       .                                                  1· ........................... , ...... ,........................... J •.••.••.•..•..•..•..•...... ·•.....•...........•.......•.•..... 1•........................... ••................................ .
           ),• •·······························~·····································································································································································································
       !Physical                                          l Patient is a 55-year-oid male .
       !Exam                                              l
       i                                                  !General Appearance: Appearance no acute distress . Habitus well nourished.
       i                                                  j Ambulation ambulates independently.
       :                                                  i
       !                                                  !Head: Appearance atra umatic .
       i                                                  !
       !                                                  !Mental Status: Leve l of consciousness alert and attentive . Mood, Affect normal mood,
       !                                                  i euthymlc and affect congruent with mood . Attention/Concentration: normal attention and
       !                                                  •concentration. Orientation oriented to place and situation and orientated to person.
       i                                                    Language, Speech no dysarthria or aphasia or dysphasia noted and normal fluency .
       l                                                    Memory, Recall recent memory grossly normal.
       !
       i                                ,Galt: Galt And Stance casual gait normal and narrow based. Standing stands from a chair
       !-...............................+~~.~!~¥.:......................................................................................................................................................................................
       i Results/                                         l None recorded
       !lnt erpretat lo),s .. ·································............................................................................,.........................................................,, .............
       ► ···· · ··· · ··· ··· ·· · ········· ······+ ··· · ··· · ·····

       j Document      i N/A
       !History                                           •
       i Procedure l None recorded
       l•.,Documentatl~n
           ..................................................................................................................................................................................................................................... .
                                                                                                                                                                          Assessment and Plan:
       )Assessment ! Time spent: 38 min
       l and Plan  i
       !           ' Chart prep: 2 min
       i             Discussion/exam time spent with patient: 10 min
       !             Risk assessment: testing options, medication options. lifestyle changes : 20 min
       !             Referrals/care coordination: 1 min
       !             Charting : 5 min

       l                                                  !    f/u in 6 weeks Alameda OV
       i                                                  fl. Migraine with aura -
       !                                                  ! Episodic migraine. On average migraine 14 days per month during the previous 3 month
       !                                                  l                   period . Requesting nurtec as preventive med . He is still waiting to hear back on using
       !                                                  !                   Nurtec as a preventive . Our office wi ll ca ll insurance again to check on approving this.

       i!                                                 !could also consider Oulipta. He wants to avoid injections. We again discussed Aspirin 81
                                                          !   mg qd w/ food for prevention of aura
       !                                                  i
       !                                                  !
       !                                                  !    Preventive meds tried: VPA, Elavil, iexapro, bupropion, GBN 300 mg, lorazepam
       j                                                  j OTC preventives tried : 82, magnesium
       !                                                  i    G43.109 : Migraine with aura, not intractab le, without status migrainosus
       !                                                  : • MIGRAINE AURA WITHOUT A HEADACHE: CARE INSTRUCTIONS
       I
       !
                                                       l       2. Snoring -
                                                          i EDS, suspected apneas. Michael still may have OSA but never hear back from the sleep
       l                                               i                     center. Needs eval. I will again request a HST.
       !                                               !                     R06 .83: Snorinq

       PATRICIA SUZANNE MAS KA, MD                                                                                                                                                                                                                                                     Darden,Mlchael (ID: 10073), D08 :05/05/1966
      Case 4:25-cv-00911-DMR                                    Document 1                    Filed 01/28/25                     Page 444 of 500

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     athena                                 12-16·2021 5:25 PM ET                      511-185786724                                              1X15of5


                             I .. SNORING: CARJE INSTRUCTIONS                                                                                 i
                             !,. • HOME SLEEP STUDY    Note to Imaging Facility: EDS, suspected apneas. Michael may !
                                   have OSA                                                                         !
       i                     '                                                                                                                :
       !                     j3. Vertigo -                                                                                                    J
       :.i,                  ! Long h/o vertigo. As before, I suspect Michael primarily has migraine related vertigo. I am                    !
                             l                                                                                                                !
       I                     !     not requesting vestib rehab at this time.
                                   R42: Dizziness and giddiness                                                                              I
       !                     l Return to Office                                                                                               l
       !.._   ......................... \ .. • ... Patricia _Maska,_ MD_ for Telemedicine_at_PSM_ on_0lJ27/2022 _at _10:30_ AM             ...J

                                                   Electronicallv Siqned bv: PATRICIA MASKA, MD




                                                                       12/16/2021




       PATRICIA SUZANNE MAS KA, MD                                                                           Darden, Michael (ID: 10073), DOS:05/05/1966
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  END - Consult Letter



  BEGIN - Office Visit

  Chief Complaint               12-17-2021 REMOTE VISIT: FOLLOW-UP
  Note Type                     Office Visit
  Date of Service               Fri Dec 17 2021 @ 10:25 AM
  Created By                    Emanuel Vergls, MD (NPI: 1962478495)
  Signed By                     Emanuel Vergis, MD (NPI: 1962478495)
  Date Signed                   Fri Dec 17 2021 @ 10:45 AM




  Subjective


  Confirmed name and date of birth with patient
  Patient verbally consented to virtual care
  Visit held virtually due to efforts to reduce the spread of the COVID-19 virus

  Presents to update me:
  continues to deal with family issues/mother's health issues
  1. psychiatry increased dose of bupropion to 300 mg per day
  2. NURTEC approved for migraine headaches; neurologist recommended 81 mg ASA as needed for aural symptoms;
  3. home sleep study approved; study pending;
  4. long term disability approved by ANTHEM (psychiatry is managing this);



  Exam


  I did not examine Michael today and spent the majority of the time reviewing and coordination the care plan with him.



  Procedures & Services



  Assessment & Plan


  Generalized anxiety disorder - F41.1
  511712021:
  Started seeing a psychiatrist who increased the dose of escitalopram to 10 mg per day;
  Follow-up scheduled with psychiatry later this week;
  Scheduled flu with me in 2-3 weeks;

  6/1612021:
  dose of escitalopram 5 mg (decreased from 10 mg) and clonazepam 0.5 mg qday was started;
  Follow-up with psychiatry;
  Scheduled follow-up with me in one month;
  SSDI to be completed by psychiatry (??);

 7/2012021:
 Repeat GAD-7 survey;
 Continue escitalopram/clonazepam;
 Follow-up with me in 2-4 weeks;
 updated return to work date to be mid October in the EDD website;

 7123/2021:
 recent GAD-7 score is 21 which is unchanged from 4123;
 Question efficacy of treatment versus need for more intense therapy
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                                          I
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  7/26/2021:
  continue with escitalopram 15 mg po ODAY;
  no changes planned with medication doses according to his psychiatrist;
  presumed component of PTSD;
  I asked him to inquire if other modalities are being considered for treatment such as EMDR;

  10/11/2021:
  see A/P Severe depression;

  12/17/2021:
  psychiatrist increased dose of bupropion to 300 mg per day;
  sees psychiatrist every 3 months on average;

  Severe depression - F32.2
  5/17/2021:
  See A/P Generalized anxiety disorder

  7/26/2021: See A/P Generalized anxiety disorder
  check TSH, RPR

  7/28/2021:
  F/U PHQ-9 score is 25;
  no change from prior survey;
  will discuss dose adjustment for LEXAPRO, but this is something that his psychiatrist needs to decide;

  10/11/2021:
  Overall no change in his status;
  Switched to bupropion from escitalopram per his psychiatrist;
  EDD form to reflect anticipated return to work in mid January;
  F/U with me in - 4 weeks;

  11/8/2021:
  Overall no change in status, but seems to think that bupropion is making a difference for him;
  He plans to see his psychiatrist in December;
  EDD paperwork to transition to Dr. Jillian for him to manage;
  Check in with me in December;

  12/17/2021:
  currently on increased dose of bupropion 300 mg per day;

  Vestibular migraine - G43.809
  Characterized by dizziness, tinnitus;

  10/11/2021:
  he has noticed an uptick in headaches;
  will identify an in-network provider for this;
  discussed magnesium and B2 as preventatives;

  118/2021:
  Follow-up with neurology;
  prior authorization for rimegepant pending;

  12/17/2021:
  NURTEC approved;
  advised by his neurologist to take ASA 81 mg at onset of aural migraine symptoms;



  After Visit Guidance To Patient


 END • Office Visit



 BEGIN - Office Visit
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                                            I
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  Chief Complaint               REMOTE VISIT 11-8-2021: DEPRESSION
  Note Type                     Office Visit
  Date of Service               Mon Nov 08 2021 @ 10:25 AM
  Created By                    Emanuel Vargis, MD (NPI: 1962478495)
  Signed By                     Emanuel Vargis, MD (NPI: 1962478495)
  Date Signed                   Mon Nov 08 2021 @ 10:42 AM




  Subjective


  Confirmed name and date of birth with patient
  Patient verbally consented to virtual care
  Visit held virtually due to efforts to reduce the spread of the COVID-19 virus

  Michael presents for follow-up:
  1. seems to be responding to bupropion; meets with his psychiatrist in December. Dr. Jillian will be assuming responsibility for EDD paperwork as
  well as continuing Anthem long term disability paperwork;
  2. meets with his therapist Q weekly on Mondays;
  3. met with Dr. Maska (neurologist) who recommended NURTEC (rimegepant) for migraine prophylaxis; PA is pending;
  Generally feels about the same overall;



  Exam


  I did not examine Michael today and spent the majority of the time reviewing and coordination the care plan with him.



  Procedures & Services




  Assessment & Plan


  Severe depression - F32.2
  5/17/2021:
  See A/P Generalized anxiety disorder

  7/26/2021: See A/P Generalized anxiety disorder
  check TSH, RPR

 7/28/2021:
 F/U PHQ-9 score is 25;
 no change from prior survey;
 will discuss dose adjustment for LEXAPRO, but this is something that his psychiatrist needs to decide;

 10/11/2021:
 Overall no change in his status;
 Switched to bupropion from escitalopram per his psychiatrist;
 EDD form to reflect anticipated return to work in mid January;
 F/U with me in - 4 weeks;

 11/8/2021:
 Overall no change in status, but seems to think that bupropion is making a difference for him;
 He plans to see his psychiatrist in December;
 EDD paperwork to transition to Dr. Jillian for him to manage;
 Check in with me in December,

 Vestibular migraine - G43.809
 Characterized by dizziness, tinnitus;
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                                           I
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    10/11/2021:
    he has noticed an uptick in headaches;
    will identify an in-network provider for this;
    discussed magnesium and B2 as preventatives;

    118/2021:
    Follow-up with neurology;
    prior authorization for rimegepant pending;



    After Visit Guidance To Patient


   END • Office Visit




END· Medical Record: Unedited

BEGIN • Medical Records Release Form (3rd party)
              3rd Party MRRF - Disability I Department of Social
Note Title
              Services
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•=·   one medical
595 Castro Street San Francisco, CA 94114          Phone: 888-663-6331 • Fax: 888-663-6331
Note Type      Medical Records Release Form (3rd party)
Date of
               Thu May 12 2022@ 04:51 PM
Service
Created By     Ai'anaGi
Signed By      Christina Lujan
Date Signed    Fri May 13 2022@ 08:59 AM


Type records (medical, billing, or all): MED Date range: 10/12/2021-5/13/2022 Send records to: 866-640-1126 Edited: No .. Release EXPIRES:
5/19/2022 Confirm signature: Confirmed Date sent: 5/13/2022 MRS: Christina Lujan
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             STATE OF CALIFORNIA · HEALTH AND HUMAN SERVICES AGENCY                       Gavlll Nowsom. Governor
            , DEPARTMENT OF SOCIAL SERVICES                                                  S05/1<23/OBVALD
             SOS CA DDS OAKLAND
            •PO BOX 30722
            -SALT LAKE CITY, UT 84130-9858                                                           @.     .
                                                                                                                .
                                                                                                                .
             •FAX : 1-866-640-1126

             April 29, 2022

             ONE MEDICAL
             MEDICAL RECORDS
             595 CASTRO ST
             SAN FRANCISCO CA 94114



              Th is Bar Code Page is the Return Cover
                         Sheet for Records.
              Important: This bar code page must be the top page of your
              response. Invoices must be placed directly behind this page
              as the second page submitted. All other documents, including
              invoices, must be placed behind this page. *If you are sending
              records for more than one individual, you may fax or mail them
              at the same time, as long as each individual's bar code page is
              sequenced as the first paqe of that individual's records.


             FAX Records Toll Free to 1-8§§.-640-1126.
                                            or
             You can upload electronic records if you are registered on the
             Electronic Records Express Secured Website. For info -
             www.soclalsecurlty.gov/ere
                                            or
                If malling, this page must be on top of your
              records. Slide this page Into the return window
                    envelope with this address showing.

             Save Time and Money! Receive Faster Payments for Records!
                  Fax or Scan your records. Both methods are HIPAA
              compliant and preferred for security, speed, and efficiency.




                        RQID:01355878004487721K23_    SITE:S05 DR:S
                        SSN:••••••••• D0CTYPE:0001 RF:D CS:4f4d
            Claimant: MICHAEL DARDEN
            SSN: ••• •.. -6330 DOB: 05/05/1966




            MEF RH1 (08/17)
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              STATE OF CALIFORNIA · HEALTH AND HUMAN SERVIC ES AGENCY                        Gavin Newsom, Governor
              DEPARTMENT OF SOCIAL SERVICES                                                    S05/K231DBVALD
              S05 CA DDS OAKLAND
              PO BOX 30722                                                                             &
              SALT LAKE CITY, UT 84130-9858

             FAX : 1-866-640-1126
                                                                                                       V
             April 29, 2022

             ONE MEDICAL
             MEDICAL RECORDS
             595 CASTRO ST
             SAN FRANCISCO CA 94114

                                                              RE:            MICHAEL DARD EN
                                                             AKA :
                                                             SSN :           ... _.. _6330
                                                             DOB :           05/05/1966
                                               DDS CASE NUMBER:              1355878
                                                REQUEST NUMBER :             4487721
                                                 PATI ENT NUMBER :
                                         SERVICE VENDOR NUMB ER:             J292496

              The above-named individual has applied for disability benefits under the Social
             Security Act. This agency is responsible for adjudicating the claim. Your institution
             has been identified as a source of medical evidence for the claimant.

              Thank you for your prior report. Additional or current information is now needed.

             IDENTIFYING INFORMATION:

             Adm/Dschg Dates:              10/12/2021 to present
             Outpatient Dates:             10/12/2021 to present
             Patient No:

             Please note that this is a request for all records during the dates of treatment period,
             and is not limited to records pertaining to the alleged impairments listed below.

             Alleged Impairments:
             MAJOR DEPRESSIVE DISORDER; GENERALIZED ANXIETY DIS
             ORDER; PANIC DISORDER; INSOMNIA; MIGRAINES; TINNIT
             US; MITRAL VALVE PROLAPSE; SPOTS BEFORE EYES;, Con
             dition Changed Start Date 04/07/2022, Condition Ch
             anged Description ATYPICAL MIGRAIN ES, TINNITUS, NO
             T RESPONDING TO 2 DIFFERENT NEW AND ADVANCED MEDIC
             ATIONS. SYMPTOMS: CONSTIPATION; DIZZINESS; FATIGU E
             ; FREQUENT URINATION; IRREGULAR HEARTBEAT; LACK OF
             BALANCE; LACK OF GRIP STR ENGTH; LACK OF STAMINA;
             LIGHTHEADEDNESS; LIMITED RANG E OF MOTION ; MUSCLES
             PASMS; NUMBNESS; PAIN; SKIN PROBLEMS; SLURRED SPEE
             CH; STIFFNESS; STUTTERING ; SWELLING; TIGHTNESS IN
             CHEST; TINGLING; TREMORS/SHAKINESS; TROUBLE SLEEPI
             MEF RH1 (08/17)
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                                                                     DEA:       DBVALD
                                                         DDS CASE NUMBER:       1355878
                                                         REQU EST NUMBER:       4487721

             NG/INSOMNIA; WEAKN ESS; HEADACH ES; MIGRAINES; HALLU
             CINATIONS; VISION PROBLEMS (STATUTORY BLINDN ESS);
             HEARING PROBLEMS; FLASHBACKS; IRRITABILITY; MOOD S
             WINGS; NIGHTMARES; OBS ESSIVE BEHAVIOR OR THOUGH TS ;
             ANXI ETY; DEPR ESSION; PANIC ATTACKS; PARANOIA. LIM
             ITATIONS : BENDING; KNEELING; LIFTING; REACHING; SI
             TTING; SQUATTING; STAIR CLIMBING; STANDING; USING

             INCLUDE THE FOLLOWING IN FORMATION IF AP PLICABLE:

             Adm, H & P, Dchg.Sm.
             Consultations
             CT/MRI Reports
             EKG W/Tracings
             Lab Tests
             Operative Notes
             Outpatient Notes
             Psychological Tests
             PT Progress Notes
             Psychiatric Consult
             Pathology Reports
             X-Ray Reports

             FOR ADULTS
                 We would also like to have a statement, based on your medical findings ,
                 expressing your opinion about the claimant's ability, despite the functional
                 limitations imposed by the impairment(s) to do work-related physical and/or
                 mental activities as appropriate:
                          Physical activities such as sitting, standing, walking , lifting, carrying ,
                          handling objects, hearing, speaking and traveling.

                           Mental activities such as understanding and memory; sustained
                           concentration and persistence ; social interaction; and adaptation.

             FOR CHILDREN
                 We would also like to have a statement, based on your medical findings,
                 expressing your opinion about the child's functional limitations in learning, motor
                 functioning, performing self-care activities, communicating, socializing,
                 completing tasks and responsiveness to stimuli.

            A reasonable fee, as determined by this agency, may be paid upon request. Your
            request must be in writing on a separate form and must be attached to your response.
            To insure prompt payment, send your report within 14 days. It is our policy to not
            routinely pay for medical reports received more than 90 days after the date of the first
            request. Enclosed is an authorization for release of information.

            PLEASE RETURN A COPY OF THIS LETTER WITH YOUR RESPONSE.

            MR. DEREK V/K23, Disability Eval. Analyst Ill
            MEF AH1 (08/17)
      Case 4:25-cv-00911-DMR                  Document 1          Filed 01/28/25        Page 453 of 500
                                (                                                (
                                                                                                    453


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                                                                    DEA:      DBVALD
                                                        DDS CASE NUMBER:      1355878
                                                        REQUEST NUMBER:       4487721

             (510) 622-3628


             _TH IS REQUEST IS BEING RETURNED. WE DO NOT HAVE THE
             INFORMATION REQUESTED. PLEASE PROVIDE DATE LAST SEEN: _ _ __




             MEF RH1 (08/17)
      Case 4:25-cv-00911-DMR                                         Document 1                     Filed 01/28/25                     Page 454 of 500
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                                                                                                                                                     Form App1oved
                                                                            WHOSE Records to be Disclosed                                            0MB No. 0960-0623
                                                                            NAME (Firs t, Mldd/o, Los/, sumxJ
                                                                               Michael Darden
                                                                             SSN 577966330                                  I~~~~NV) 05/05/66

                                              AUTHORIZATION TO DISCLOSE INFORMATION TO
                                               THE SOCIAL SECURITY ADMINISTRATION (SSA)
                              " PLEASE READ THE ENTIRE FORM, BOTH PAGES, BEFORE SIGNING BELOW 0
              I voluntarlly authorize and request dlecloeure (Including paper, oral, and electronic Interchange):
              ~:::t{{aat:. T~1i)n!ffi~eii~e~fi1:1:~-~rJWr#e1:a~:rnd other Information related to my abmtv to
          +.     All recorda and other Information regarding my t reatment. hoapllallzallon, and outpatient care for my lmpalrmen t(a)
          ..;·;· llWUJIJJJil' and pot Umlled IP:
              tr • Psychologk:8I, psychlalrlc Of Olher monlal lmpalrmanl(s) (excludes 'psychotherapy notes· as denned In 45 CFR 164.501)
          r ri           Drug abuse, aloohollsm, or other substance abuse
                         Sickle cell anemia
              ~'. \ •    RoCOfds which may Indicate the prese nce of a communicable Of nonOOfnmunlcable disease; and 1as1s fOf or records or HIV/AIDS
              . .        Gane-relaled impairments (Including genetic teS1 resullS)
              2. lnfonnaUon about how my lmpalrment(a) affects my ability to complete taaka and ae1Ivltlea of dally llvlng, and affects my ablllty to wortc .
              p:- : Coplea of educaUonal t11t1 orovaluaUona, Including lndlvlduallzed Educational Programs, triennial aaaeumanta, paychologlcal an d
              -       apeech evaluaUona, and any other reconlo that can help evaluate function : alao teacll era' obHrvallona and avaluatlon a.
              -1., lnfonnaUon created within 12 montha after the date Ihle aulhortzaUon la signed, ao wall ao paat lnfonnatlon.
          ,fROMWHOM
                 All medical eourcae (hospltala, clinics, labs,        IS BOX TO BE COMPLETED BY SSA/ODS las 0Hdfd) Additional lnlormation to Identify
                 physicians, psychologists, elc.) lnclUdlng          the sub'ect (e . . , olhar names used), the s eclffc source, or Iha material to be disclosed:
                 mental heallh, oorrecllonal, eddlctlon
                 treetmanl, end VA haallh cere feclllUes
                 All educallonel sources (schools, teachers,               Ora1.ntutton: OHE HE OICAL
           . , records administrators, counselors, etc.)                   Vtndor Addren: 595 CASTRO ST SAN FltANCISCO 94114
                                                                           lnpatttnt Date: 10/12/2021 to prue nt
           • Sodal workers/rehablltallon counselOfS
                                                                           Outp att tnt Datt: 10/12/2021 to present
           • Consullalg examiners used by SSA                               Patient 001: 05/05/66
          ·; : • Employers, Insurance oompanlas, workers'                  "uarti.t :
                 COfOpensauon programs
          4      Olhers who may know about my condllfon
                  -


           ' '"· (family, neighbors, lrlands, public ofllclals)
              'il
          -T;QWHOM                  TIie Boclal Bacurtty Administration and to the State agoncy outhorlzed to procaH my caao (usually called "dlsabllfty
          sY!                       delermlnedon aervlces"), Including contrae1 copy aorvlcaa, and doe1ora or other profeaalon ala consulted durtng the
                                    procaaa. (Also, fOf lnternaUonal claims, to the U.S. Department or State Foreign Service Post.)
              BURPOSE               Delermlnlng my ellglblllty for bentflta, Including looking el lhe OOfnblned effect of any Impairments that
          7,i                       by themselves would not meet SSA's definition of dlsablllty; and whether I can manage such beneftts .
                                   D    Oetormlnlng whether I em capablo of managing beneflta ONLY (check only if lhls applies)
          "EXPIRES WHEN                 This euthOflzallon Is good for 12 monlhs lrom lho dale signed (below my signature).
           '"' I authorize Iha use of a copy (Including electronic copy) ol lhls IOfm lor Iha disclosure or the Information described above.
           , ·: I understand that there are soma circumstances In which !his lnlormatlon may be redlsclosed to Olher parties (see page 2 for details).
          r.,.,, I may wrfle lo SSA and my sources to revol<e this aulhorlz.aUon at any Ume (see page 2 fOf details).
                 SSA wtll give me a copy of this form K I ask; I may ask lhe source to allow me to lnspecl or gel a oopy of malarial lo be disclosed.
                 I have rea d both pagea of this form and agree to the dlacloaurea above from the typea of aouroea fit ted.
          .._bD,...._..,..,....._...,.....,..._.........,.......,...,.,......_..:w..llU.Jl.b.Lf IF not signed by subject of dlscloaura, specify basis for authority to sign
           INDIVIDUAL authorizing dlscloaure                                 0                        O
                                                                                                    Parent of minor         D
                                                                                                                       Guardian       Other penional ropre BGntatlve
                                                                                                                                       (explain)
          SIGN ► ~ i , . . ~                                                 (Paronl/guarclaripot1cnal repre•nlallvo lign   ►
                                                                             hero if two signaluros reqlin>d b Slalo law)
              Dale Signed     0S/lg/2021                      Stroot Addreee
                                                               1801 Shoreline Drive, Apartment 307
              Phone Number (wtlh area OOde )                  City                                                                   Stato              ZIP
              9178688780                                       ALAMEDA                                                               CA                  94501



              Phone Number (or Addroee)                                                      Phone Number (or Addre ss)


           This generul end spec/al suthorlzetlon to d/sdose was developod to cOfnp/y wflh the provisions raganfng disclosure of mod/eel, educellonel, end
          other Information under P.L. 104-191 ('HIPAAj; 46 CFR parts 160 and 164; 42 U.S. Coda secllon 290fki-2; 42 CFR pert 2; 38 U.S. Coda section
          1332; 38 CFR 1.415; 20 U.S. Coda section 1232g (°FERPAj; 34 CFR parts 99 and 300; and Sfele/aw.
          Form SSA-827 (11-2012) el (11-2012) Use 4-2009 and LaterEdldons UnUI Supply Is ExhauSled                                                 Page1 ol 2
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               I:•
               c.                                            Explanation or Form SSA-827,
             _.{                  "Authorization to Disclose Information to the Soclnl Security Ac.lmlnistratlon (SSA)"
              ::YJe ne~d your wrillen authorization t~ help get.the information required to _process your claim, and to determine your capability of
                managing benefits. Laws and regulations require that sources of personal information have a signed authori zation he fore
                releasing it lo us. Also, lnws require specific authorization for the rdease of information about certain conditions and from
             ::.educational sources.
             • r,t.

             , You con pro_vide this. authoriz.oti_on by signi ng a fo~ SSA-827. Federal law perm its _sources with information about you to
                  release ~l mformalJon 1f you sign a smgle authonzalion to release all your information from all your possible sources. We will
                 make copies of 1t for each source. A covered entity (that is. a source of medi cal information obout you) may not condition
               . treatment, payment, enrollment, or eligibility for benefits on whether you sign this authori zation form . A few States and some
                  individua_lsources of information, require that the authori1:3tion speeificaHy ~ame the source that you authori ze to r~lease
             ·;_personal mform alion. In those coses_. we may ask you to sign one authon zalion for each source and we moy contact you ogain if
                -tNe need you to sign more authon zallons.
             1.I:~:
             !ilJ°ou ha1•e the right to revoke this authorization at any time, except to the extent a source of information has alreadv relied on it to
                 take an action. To revoke, send a written statement to any Social Security Office. If you do, also send a copy directly to any of
                 your sources that you no longer wish to disclose information about you: SSA can tell you ifwe identi fied any sources you didn't
                 tell us about. SSA may use infom1ation disclosed prior to rel'ocation to decide your claim .
              ·, ll is SSA's policy to provide service to people with limited English proficiency in their native language or preferred mode of
             .1 commW1ication consistent with Executive Order l 3166 (August 11 , 2000) and the Individuals with Disabilities Education Act.
             , ;,.SA makes every reasonable effort to ensure that the information in the SSA-827 is provided to you in your native or preferred
             -.,)annuage.
                                                                     Privacy Act Stotement
                                                         Collection nnd Use of Personal I nformatlon
             ~~ct ions 205(0), 233(d)(5)(A), I6 I4(a)(3)(H)(i), 1631 (d)(I) and 1631 (e)(IXA) of the Socio! Security Act as
             amended, (42 U.S.C. 405(a), 433(d)(5)(A), 1382c(a)(3)(H)(i), 1383(d)(I) and 1383(e)(l)(A)) authorize us to
             collect this information. We will use the information you provide to help us determine your eligibility, or
             continuing eligibility for benefits, nnd your ability to manage an}' benefiL~ received. The information you
             provide is voluntary. However, failure lo prov ide the requested information may prevent us from making an
             accurate and tim ely decision on your claim, and could result in deni al or loss of benefits.
             Wi rorely use the information you provide on this form for any purpose other than for the reasons explained
             ab:ove. However, we may use it for the adm inistration and integrity of Social Security programs. We may also
             dt i'close information to another person or to another agency in accordance with approved routine uses, including but not limited to
             tHc following:

               • • I. To enable a third pany or an agency to assist us in establishing
               .      right, to Social Security benefi ts and'or coverage;
              ! '."2. To comply with Federal laws requirini the release of inform ation from our records (e.g., to the Goverrmtent AccoW1tabili1y
              '-,• Office, General Services Administration, National Archives Records Administration, and the Department of Veterans Affairs);
             •irn3. To make determ inations for eligibility in sim ilar health and income maintenance programs at the
             O!· Federal, State, ond local level: and
             !fo 4. To facilitate statistical research, audit, or investigative acti vities necessary to assure the integrity and
             :q!      improvement of our programs (e.g., to the U.S. Census Bureau and to private entities W1der contract with us).

             &J~ may also use the information you provide in computer matchmg programs.
              Matchine programs compare our records with records kept by other.Federal, Sto~e, or local government _agencies. We use the
             '1rtforma11on from these programs to esta blish or venfy a person's ehg1b1hty for 1'ederallyfW1ded or adm1rustered benefit programs
              and for repayment of incorrect payments or delinquent debts under these programs.
             A_~omplele list of routine uses of the inform ation you gave us is available in our Privacy Act Systems of
             Records Notices entitled, Claims Folder System, 60-0089; Master Beneficiary Record, 60-0090; Supplemental Security Income
             rcicord and Special Veterans benefits, 60-0103; and Electronic Disability (eDIB) Claims File, 0-0340. The notices, additional
             1i}Iprmation regarding this form, ond information regarding our systems ond programs, are ovoiloble on-line at www.
             sii_i:ialsccurity.gov or at any Social Security office.

              I:
                                                               PAPERWORK REDUCTION ACT
             This infom10tion collection meets the requirements of 44 U.S.C. § 3507, as ame nded by Section 2 of the Paperwork Reduction
             fi.'ct of 1995. You do not need to answer these questions unless we display a valid Office of Management and Budget control
             number. We estimate that it will take about IO minutes to read the instructions, gather the facts, and answer the questions. SEND
             OR BRING lN THE COl'vlPLETED FORM TO YOUR LOCAL SOCIAL SECURITY OFFICE. You con find your locol
             ~c lul Security office through SSA's website ut www.soclulsecurity.gov. Offices ure also llslcc.l unc.ler U.S. Government
             111.encies in your telephone directory or you mny coll Social Security nt 1-800-772-1213 (TTY 1-800-325-0778). J'o11 may
             sil/d comme/1/s 011 our time estimate above to: SSA, 640/ Security 8/1•d, Baltimore, MD 21235-640/. Senti !ll!.!J! comments
             ,leJaJing to our time estimate to t/ris address, 1101 the comp/eJetlform.

             Form SSA-827(11-2012) ef(ll -20121                                                                                           Pag e 2 012


END - Medical Records Release Form (3rd party)

BEGIN • Consult Letter
Note Title        NEUROLOGY Consult Letter 2-3-2022
Note Type         Consult Letter
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Date of
              Mon Feb 07 2022@06:19 AM
Service
Created By    Erica Reinganum
              Emanuel Vargis, MD (NPI:
Signed By
              1962478495)
Date Signed   Tue Feb 15 2022@07:03 AM
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athena                       2/3/2022 2:37:25 pm EST                     2ad300ba-b551-48f1 -9569-b 7df97ae0e15         Page: 1 / 5




                              CONFIDENTIAL Fax
                  FROM:
                          PATRICIA MASKA, MD
                          985 An.ANTIC AVE STE 300, ALAMEDA, CA 94501-644 7
                          Phone: (510) 748 -5363
                          Fax : (925) 289-4975

                  TO:
                          EMANUEL VERGIS MD
                          Fax: (415) 291-0489



                  This fax may contain sensitive and confidential persona l health information that is being
                  sent for the sole use of the intended recipient . Unintended recipients are directed to
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                  disclosure or other unlawful use of this fax or any persona I health information is
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                  Part 2, this regulation prohibits unauthorized disclosure of these records.

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athena                                                                     2/3/2022 2:37:25 pm EST                                                                                             2ad300ba-b551-48f1 -9569-b7df97ae0e15                                                                            Page: 2 / 5



           PAIBICIA SUZANNE MA5KA MD • 985 ATLAt:{TiC AVE STE JOO, ALAMEDA CA9 4501-6447
           DARDEN, MICHAEL (id #10073, dob: 05/05/1966)
           PATRICIA SUZ ANN ! MASKA MD
           985 ATLANTIC AVE STE 300
           ALAMEDA, CA 94501-6447
           Phone: (510) 748-5363
           Fax : (925)289-4975

           Encounter Summary • Progr ess Not e
           Date Printed : 02/03/2022

           Atte ntion: Emanuel Vergi s MD


           This fax may contain sensitive and confidential personal health information that is being sent for the sole
           use of the Intended recipient. Unintended recipients are directed to securely destroy any materials
           re ceived . You are hereby notified that the unauthorized disclosure or other unlawful use of this fa x or any
           personal health information is prohibited . To the extent patient information contained in this fax is subject to
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           8436 to notify the sender and confirm that the Information will be destroyed. Thank you for your attention
           and cooperation. [ID:686701- H-3387]
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           !:: .••... :.: ....~ .. : .. ~ .... !: .. . . ~'.:.~~:::::.!-.~.:: .. ~.::.: ... :: ... :~.: ... :.:::.: .... :: ... .i..: ...~ .... ::: ........ :.~.: ....:.:: ... m: ...:.:,:.: ... t;.: ..... ~.: ......!..:.. :.:..... :...~ ............ :-: .....~ ........:...,.: .•. - .. •
           i DOB                                    1! 05/05/1966                                                                                                                                                                                                                                    i
           '•hu ••••· .. •--•••••••................ ....... ......... ............... . ... ........ . . .................. .... . ... . ........... ........................ . .................... ........ . ..... .. ................- ..... . . . ... . . . ........ . ... h••• •-- •• .. •••--• •



         , .................................,.........................................................Patlent..Demoiiraptilcs: ......................... ,, .............................................................. ,
         i Address                          d1801 Shoreline Dr/Apt 307                                                   HHome Phone !l (917) 868-8780                                                                     !
         I ............................... !I Ala med a •.CA .94501-60 8 4........................................ ir~~:~k::; :h~,~~"11"':::::::~::::::::::::::,:::::::::::::::::::::::::::::::::::i

                                                                                                Patient Medical History:
     ................................. ·i ............................ - .................................................................................................................................................................... ,
     1Encounter                         i Followup: Migraine with aura                                                                                                                                                                        l
     l Reason/Date i Followup : Vertigo                                                                                                                                                                                                       i
     j                                  i Followup : Snoring                                                                                                                                                                                  i
     l                                  j 02/03/2022 - 10 :30AM - PSM                                                                                                                                                                         !
     \ History of                                   \ Headache• f/up
     i Present                                      i     Reported by patient .
     !Illness                                       !
     •                                              •                Timing of pain: frequency of overall cephalalgia: days/month (14); worse since 10/21
     ;.,                                            1,               Treatment (modifying factors):Trled Nurtec 8 nights in a row, and felt vertigo and
                                                                     had tinnitus "within se conds" of taking it. An hour later, started to calm down. Tried
     i                                              I                ASA 81 mg qd x 8 days w/o benefit so stopped .
     :
      j                                             I
                                                    :                Severity of pain: pain level: migraine 7 10/10; milder HA 1- 3/10 . Has at least PS
                                                                     3-4/10 at least a couple of hours per day.
                                                                                                                                                                                  11




      l                                             j Sleep
     l                                              !      Reported by patient.
     l•                                             l.
     I                                                               Associated Symptoms : excessive daytime sleeplness; suspected
                                                    l v.,t1;:';,','1,ato,y event" sta,tled awakenings, Gcego,y ootes a EDS altec a hmy


     i                                              !                Reported by patient.
     l:                                             i:      Quality: true vertigo: spinning sensation
     i                                              l       Location: tinnitus constant
     j
     !
     i
                                                   Il       Duration: symptoms constant; vertigo fluctuates
                                                            Aggravating factors (modifying factors) : symptoms worse with position
                                                            change; symptoms exacerbated by head movement to either side
     i                                                Video Tele-health visit used during the COVID-19 pandemic. Patient gave consent for tele-
    !:                                              I
                                                      health visit.
     :                                              I

     l....................................t!..............................
                                            Michael ok wt........................................................................................
                                                                           husb Gregory in visit. Gregory is an RN ._....................-...........................................-...............
     i Past Medical i Discussed Past Medical History
     i History                                     l Anxiety Disorder : Y
     PATRICIA SUZANNE MASKA, MD                                                                                                                                                                                          Darden, Michael (10: 10073), OOB:05/05/1966
              Case 4:25-cv-00911-DMR                                                                   Document 1                                        Filed 01/28/25                                         Page 459 of 500
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•••
 •    one medical
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athena                                                       213/2022 2:37:25 pm EST                                                                          2ad300ba-b551-4811-9569-b7df97ae0e15                                                               Page: 3 / 5


                                          IDepression: v
                                          i He adaches:Y
                                          l Heart Problems : Y- MVP
                                           !Migraines: Y
                                           i Ki dney Disease: N - no kid ney stones
      .....................................! ...................
                                          ~
                                             Notes: PTSD         _...............................-............................................................................. ......................................................... ........ ..
      i Proble m List i Reviewed Problems
      i                                    i • Body mass ind ex 25-29 - overweight - Onset: 02/03/2022
      i                                    ! • Migra ine with aura - Onse t: 11/01/2021
      i                                   l • Vertigo - Onset: ll/0]J2021
          l                               i • Headache - Onset : 11/01/2021



      i
                                          l
          jAllergles List ~~.:.~;;;~~.;!;~:;~;.1.~.~·l·~:~.~.~..........................................................................,......................... ............,.,..............)l
                                          ii PENICILLINS                                                                                                                                                                        H                  l

      i
      1
              Med le at lo n s            !t ~.'::.~.i~.~ .'::.?...~ .'::.~.i.C.?..t.i.~0.~.............................................................................................,.............................. ::................
                                          !: buPROPion HCL XL 300 mg 24 hr tablet , extended                                                                                                     j02/03/22 filled
                                                                                                                                                                                                                                                  :l
                                                                                                                                                                                                                                                   l
      i                                   j! release                                                                                                                                             !                                                  ,

      i
      i
                                          1r.;~~;~~.;;~~~:;..
                                          Hescita lopra m 5 mg tablet
                                                                                        ~~~~~;~~:.;~~. ~.~~                         .......................................................... h.Y.?.!B..~...J!.1.1.~.?...............i
                                                                                                                                                                                                 il 2/14/21 filled    1
      i                                  !1Qulipta 10 mg tablet                                                                                                                                  Jo2J03/22 prescribed !
      l                                  ii Take 1 tablet(s) every day by oral route for 30 days.                                                                                                1                                                 1
      1                                  ![t;·;·zoo~·~~.. so...;;;g.. t~b·i~t ...............................................................................l.o·ii;2412i.... tiii~·d ..............l
      >·•································~········ .. ··································.. ·············· .. ······················· ...........................................................................................................,....
      l Socia I                          i Reviewed Social History
      / History                          jEducatlon and Occupation
      l                                  i What ts the highest grade or level of school you have completed or the highest deg re e
      1                                   ! YOU have received ?: Maste r"s degree (e.g ., MA, MS, MEng, MEd, MSW, MBA) (Note s:
      l                                   ! Instructional designer)
      i                                   i Are you currently employed?: No ( Notes: disability since 04/21)
      l                                   iDlet a nd Exerc ll,e
      j                                   j What type of diet are you following? : Regular
      l                                   ! What is your e xercise leve l?: Moderate
      j                                   jActlvltles of Dally Living
      !                                   ! Are you able to ca re for yourself?: No
      i                                   / Are you blind or do you have difficulty seeing?: No
      l                                   ! Are you deaf or do you have seri ous difficulty hearing ? : No
      ;                                   ! Do you have diffic ulty concentrating, remembering or making decisions? : Yes
      j                                   j Do you have difficulty walking or climbing stairs?: No
      !                                  l Do you have difficulty dressing or bathing?: Yes
      i                                  i Do you have difficulty doing errands alone?: Yes
      !                                  i Which of your hands is dominant?: Right
      l                                  !Public Hea lth and Travel
      i                                  i Have you been to an area known to be high risk for COVID-19?: No
      !                                  i in the 14 days before symptom onset, have you had close contact with a laboratory-
      i                                  i confirmed COVID-19 while that case was ill? : No
      i                                  j In the 14 days before symptom onse t, have you had close contact with a pers on who is
      l                                  i under investigation for COVID-19 while that person was ill?: No
      j                                  ! Substance Use
      !                                  l Do you or have you e ver smoke d tobacco?: Never smoker
      j                                  j Do you or have you ever used any other forms of tobacco or nicotine?: No
      l                                  ! What was the date of your most recent tobacco screening?: 02/03/2022
      ;                                  l What Is your le vel of alcohol consumption?: None
      !                                  l What is your level of caffeine consumption?: Occasional
      j                                  / Advanced Directive
      i                                  i Do you have an advanced directive?: Yes
      l                                  ! Marriage and Sexuality
      l                                  ! What is your relationship status? : Marrie d (Notes: husband Gregory)
      i                                  i Lifestyle
      i                                  ! Do you feel stressed (tense, res tless, nervous, or anxious, or unable to sleep at night)?:
      i                                  j very much
      l                                  l Do you use your sea t belt or ca r sea t routinely?: Yes
      j                                  jGender Identity and LGBTQ Identity                                                                                                                                                                           ;


      !~T~~~y                           I  r~~~:;d :.Famr                        His~ogmentia ::.::::: :: ::::::::. ::::::::::::::::::: ::::::::::::::::::::::::::::::::::::::: :::::::::::::::::::::::::::::~~::)                                  I
      PATRICIA SUZANNE MAS KA, MD                                                                                                                                                   Dard e n, Michael (10 : 10073), DOB: 05/05/1966
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                                                                                                                                                                                                                                                                                                                          460


                                                                                             I
595 Castro Street San Francisco, CA 94114                                                                                Phone: 888-663-6331 • Fax: 888-663-6331
athena                                                                      21312022 2:37:25 pm EST                                                                                                   2ad300ba-b551-48f1-9569-b7df97 aeOe 15                                                                                    Page: 4 / 5


                                                     \1                                          j!             - Hypertensive disorder                                                                                                                                                                          l

                                                     !l !L"'""""""'"'""'""!I
                                                          Father
                                                                                                                                ""'"""'"'"""'""'"'"""'"'"'"""'"'"'""'"""'"""""""''"""'"""""""""'"Jl
                                                                                                ii:::::::,- - , Hype rlip Ide mi a
                                                                                                                - Hypertensive disorder
                                                     ii:::::::::::::::::::::::::::::::ii,::::::::-, Hype rllp Id emia:::::»'.:::::::::m::::>::m::::m::::::::::::::::::::::::::::::::::::::::::::::::>::::::::::::,,:: ::::::::__j
                                                     I/                                         l!              - Congestive heart failure                                                                                                                                                                       ;
                                                     , ·::::!":!::::::~::::::.~:::::!:::~::::'i"·~~::.:::::.~:::::::~:::::::~:::::::~:::.::.~:::::::~:::::::::!:::::.:::::~:::::.::.r.:::::::::.:.:::::m:::::::.:::.:-::.:::::-:::::.:::~::::::~~::::::.:~::::::~::::::::~::::::~~
                                                     jj                                         h               - Coronary artery bypass grafts x 3                                                                                                                                                              l
         (   , ................ , ...................... ; ............... - ....................... " ··-•-··•··~•.. · • · · · • ~ · · • · · • · • ·. . . . ·-····•·•··--···~•-.•••······•··'"''"'''---••·•·•·. . . . ·•· ..... ,-•.,_•••--··-•""'''h'-"••·• ............. _ , , _____ ..,_M ___ , , . , ••••   ~~
     i Review of                                     i None recorded
     \.Systems ..........                            !............................................................ _...................................................................................................................................... i
                                                                                                                                                      Exam:
     iVitals                                        ir ...............____Ht·;ns-ft"s•;·~................11··•...............Wt;-ifiso·-;;;·~-·w~h......]r...............BMl;·rr2s..o-21·0:~-;;o;·;···1 J
     /                                               ll                                 l Standing                            ),                            !lclothes                                    l!                                !110:01 am
                                                                                                                                                                                                                                                                                        1
                                                                                                                                                                                                                                                                                          i
     ,                                               !!                                 l 02;0312022                          1!                            U02I03/2022                                  H                                 :j                                           .!
     i                                               lj                                 !10:00am                              ii                            \il0:Olarn                                   ii                                \,                                           ll

                                                                                                                                                                                                                                                                                                                 l
     !                                               : :::: :: ::::!: :!:: ::: :::::::::, ::: ::::::::: :: ::::m: :: :::::::::If::::::!:::::::~::::.. ::: m : (::::::. :: :: :: : : ::. : : :::::::: ::::{ r :~::: ::: ::: :::::.:: :::u:::. •:: i:::: .::::::: .. :::::: ... : :::: ...i ;
     i                                               H                          BP:l Not Performed l                                        Pulse:H60 bpm                                                ii                           T:! 97.8 F                                     0
                                                                                                                                                                                                                                                                                        !i
     l                                               !!                                 i. Patient                             I                            l/02/03/202'2                                il                                l 02/03/2022                                   i
     1                                               ll                  l refused                           i
                                                                                                             1
                                                                                                                                          !il0:03 arn                        g                            l 10:08 am                             1
     ;                                    n                              '0~103•2022                                                      "                                  ;:                            '                                     1'
     l                                    ii~                           !! 10:00        1
                                                                                          am •               i                            l1                                 !i                           l                                   ,
     ;

     i                                    lj                              1................
                                                        : .. ,,U_., .. .,,., .... ,,;,.,,

                                                             Palnl 16 0210312022 H                                                        H                                  ii                           il
                                                                                                                                                                                                                           ••--•n"•'""''"~
                                                                                                                  ,,,'>, .. ,,,._, ... )f"•••• ........,.,,.,_,.,,.::,,,,,..,,,.,_.,.,,,,.,., •----•••• ::'-•••...,••• .. ,.,,., .. .,.,,,.~; ••••••••• ....

                                                                                                                                                                                                                                              I
     1                                    11.............~.~~.1.~.1.lE?.:~.~..~'.::..............iL...................._...JL. ...........-..................!L.........................JL................................!
     ;. ................................ -:......................................................................_.............................................................................................................................. \
     j Physical                                         Patient is a 55-year-old male.                                                                                                                                                                                                                               1
     lExam
     /                                                  General Appearance: Appearance no acute distress. Habitus well nourished.                                                                                                                                                                                    !I
     I                                                  Head: Appearance atraumatic.                                                                                                                                                                                                                                 I
     l                                              !!euthymic
                                                      Mental Status: Level of consciousness alert and attentive. Mood, Affect normal mood,   !
                                                                                                                                             !
     l\i                                                       and affect congruent with mood. Attention/Concentration: normal attention and
                                                     !concentration. Orientation oriented to place and situation and orientated to person.
                                                     1Language, Speech no dysarthrla or aphasia or dysphasia noted and normal fluency.
                                                                                                                                             !
                                                                                                                                             ,
     !.........--...-.--............_),Memory, Recall__re cent. memoryQrossly ,norm a I....-..........................__,........................__,.... __................""........ J
     ! Results/                      i None recorded                                                                                                                                  !
     l lnterpretatlo\-,s                                                                                                                                                              !
     :--............"""............ l "'"'"""·",................................" ..............................,_,__ ....... ._. ....................................................."'"'"'""..................................i
     iDocument                                      !Discussed the following documents:                                                                                                                                                                                                                              !
     lHistory
     ~         ...         ..         "           •t
                                                    !• HOME• SLEEP
                                                               ••
                                                                   TESTING* - 12/28/21
                                                                   ..
                                                                                                                                                                                                                                                                                                                     !
                                                                                                                                                                                                                                                                                                                     !
     i Procedure                                    l None recorded                                                                                                                                                                                                                                                  i
     j Doc ume ntat iq n ................................,_..... _ ......................................-.........-...............-...,...........................__......_ ....,.......-..................-._ ....-... !
                                                                                                Assessment
     ................................. ' ..............................................................                      and Plan:
                                                                                                        _...................................................................... _................... -.........................................!
     jAssessment !Time spent: 49 min                                                                                                                                                                                                           i
     ,and Plan   i
     !           ! Record review: 2 min
     l             Chart prep: 2 min
     !             Discussion/exam time spent with patient/care partner: 12 min
     i             Risk assessment: time taken to review E&M and ddx w/ husband Gregory (1st visit w/
     i             Gregory present), anwering questions, testing options, medication options, lifestyle
     l             changes: 25 min
     i           , Referrals/care coordination: 1 min
     i           \Charting: 7 min

     I
     i
                                                    lf/uln4weeks
                                                   i l, Migraine with aura •
     l                                             1Episodic migraine. Baseline headache days per month: 14, lasting more than 4 hours per
     1                                              i            day. Did not tol Nurtec. Needs intervention. We discussed the R&B of other meds and
     i                                              i            decided on Qulipta. He wants to avoid injections.
     !j                                            !They asked about a cranial MRI. I indicated that I don't think he needs a repeat MRI at this
                                                       time. They are fine not doing an MRI for now. I answered numerous questions re:
     i                                                 testing, meds, prevention.
     l
     i
     PATRICIA SUZANNE MASKA, MD                                                                                                                                                                                                  Darden, Michael (ID: 10073), DOB: 05105/1966
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                             :
                                 Pre ventive meds tried : Nurtec (did not tolerate), VPA, Elavil, lexapro, bupropion, GBN
                             i       300 mg, lora zepam
                            i OTC preventives tried : 82, magnesium
                            1 G43.109: Migraine with aura, not intractable, without status mlgrainosus
                            i • MIGRAINE AURA WITHOUT A HEADACHE: CARE INSTRUCTIONS
                             !•  Qullpta lO mg tablet - Take 1 tablet(s) every day by oral route for 30 days.       Qty: 30
                            !    tablet(s)   Refills: 2   Pharmacy: CVS/PHARMACY # 9255           Note to Pharma cy:
                            i Preventive meds tried : Nurtec (did not tolerate), VPA, Ela vii, le xapro, buproplon, GBN
                            !    300 mg, lorazepam
                            i2. Vert Igo -
                            [ Long h/o vertigo. May be multifactorial: BPPV, migraine related vertigo, PPPD. Needs
                            i     Intervention. I advise a trial of vestib rehab . We dis cus sed Migraine related vertigo
                            !     and PPPD. I am optimistic that Qulipta may help the former as well. I answered
                            i numerous questions re: testing, meds, ddx, testing.
                            i R42 : Dizziness and giddiness
                            ! • VESTIBULAR THERAPY REFERRAL -             Schedule Within: provider's discretion Note to
                            i Provider: Vestib rehab. vertigo can be positional. May have underlying PPPD and
                            !     migrainous vertigo . Menandro.

                            !i 3.EDS,Snoring -
                                       suspected apnea s. HST inconclusive . Needs further eval. We discussed doing a PSG .
                            !      They want to hold off and see how the other Interventions help . I answered numerous
                            l      questions re : clinical presentations of OSA, testing of OSA.
                                   R06.83: Snoring
                            !1 •   SNORING : CARE INSTRUCTIONS
                            [4. Body mass Index 25-29 • overweight -
                            ! Consider nutrition eval
                            i 268 .25: Body mass index I BMIJ 25.0-25.9, adult
                            i • LEARNING ABOUT HEALTHY WEIGHT
                            i • NUTRITIONIST/DIETITIAN REFERRAL-                                  Schedule Within: provider's discretion
                            ;
                            i
                            i Return to Office
      .......- .............. _........ J .. • ._to see .Patricia .Maska •. MD.for Tele medicine at _PSM. on.or.around .02/24/2022 .........................:



                                                  Electronically Siqned by: PATRICIA MAS KA, MD
                                                                       />::::.'.'._.:-•?j'J;',.. p::;~:::,,.,<,:
                                                                   l
                                                                 f.


                                                                             02/03/2022




      PATRICIA SUZANNE MAS KA, MO                                                                                              Darden, Michael (10: 10073), DOB: 05/05/1966




END • Consult Letter

BEGIN• Consult Letter
            NEUROLOGY - MIGRAINE HEADACHE Consult
Note Title
            Letter
Note Type   Consult Letter
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595 Castro Street San Francisco, CA 94114       Phone: 888-663-6331 • Fax: 888-663-6331
Date of
              Mon Dec 20 2021 @ 07:33 PM
Service
Created By    Zara Hernandez
Signed By     Emanuel Vargis , MD (NPI: 1962478495)
Date Signed   Tue Dec 21 2021 @ 06:52 AM
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      athena                    12-16-2021 5:25 PM ET            511-185786724                                  pq 1 of 5




                               CONFIDENTIAL Fax
                  FROM :
                           PATRICIA MASKA, MD
                           985 ATlANTIC AVE STE 300, AIAMEDA, CA 94501-644 7
                           Phone : (510) 748-5363
                           Fax: (925) 289-4975

                  TO :
                           EMANUEL VERGIS MD
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             PATRICIA SUZANNE MAS KA.MP • 985 ATLANTIC AYE STE 300 ALMIEDA CA9450 J-6447
             DARDEN, MICHAEL (id #10073, dob: 05/05/1966)
             PATRICIA SUZANNE MASKA MD
             985 ATLANTIC AVE STE 300
             ALAMEDA. CA 94501- 6447
             Phone: (510) 748-5363
             Fax: (925)289-4975

             Encounter Summary • Progress Note
             Date Printed : 12/16/2021

             Attention: Emanuel Vergis MD


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             f::: ent : : : ::::::'i ~:;od::~~~cha eI::(55yo, :M) :·# 10 O73,:::::::::::::::::::::::::::::::::::::::::::::::::::::::,::,:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
             ,...........................................................................................Patient ..Demographies: .......................... " .............................................................. ,
             !Address                          H1801 Shore Line Dr Apt 307                                                 HHome Phone H(917) 868 -8780                                                                      !
             L. ............................ ..11 Alameda, .CA.94501 .................................................... .1!'~~•:~:~h~:~:~:::jj'''''''''''''''''''''''''''''''''"'''''''''''''''''''''''''''j

                                                                                                  Patient Medical History:
      !Enco unter !Followup: Migraine with aura                                                                                                                                                                                                ]
      i Reason/Date i Followup: Snoring                                                                                                                                                                                                         i
      i             i Followup: Vertigo                                                                                                                                                                                                         :
      !             !12/16/2021 - 10:30AM - PSM                                                                                                                                                                                                 !


      !History of                          l Headache - f /up                                                                                                                                                                                   !
       i Present                           !            Reported by patient.                                                                                                                                                                    i
       i Illness                           i                                                                                                                                                                                                    i
       i                                   !            Timing of pain: frequency of migraine: (11-14 days/month)                                                                                                                               !
      !,.,!                                l, ,         Severity of pain: pain level: migraine 4-7/10
                                                        Quality of pain: character of cephaliga as familiar
                                                                                                                                                                                                                                                ·;,:'

      !                                    !Sleep                                                                                                                                                                                              !
      i                                    i     Reported by patient .                                                                                                                                                                          i
      ·:
      .
      ,: !                                 !!, _        Associated Symptoms: excessive daytime sleepiness; snoring: moderate                                                                                                                    Ii,,
                                                                                                                                                                                                                                                 ·



                                                        Severity: not sleepy driving

      i                                    !Vertigo                                                                                                                                                                                             !
      !                                    i     Reported by patient.                                                                                                                                                                          !
      ,:                                   !,;'•       ~itir true vertigo: spinning sensation; On non-vertigo days, having LH off                                                                                                              ;,!
                                                       Location: tinnitus occurring bilateral
      :                                                Duration: typical duration of symptoms as hours; symptoms as variable in length;
                                                       symptoms as occurring daily
      '                                    :           Severity: symptoms as about the same
      !                                    !           Aggravating factors (modifying factors) : symptoms not associated with change in
      !             !                                  position; loud noises not triggering vertigo
      iPast Medical ! Pa st Medical History not reviewed (last reviewed 11/01/2021)
      !History                             ! Anxiety Disorder: Y
       i                                  i Depression: Y
       i                                  i Headaches : Y
       i                                  i Heart Problems: Y - MVP
       i                                  i Migraines: Y
      !..........................................................................................................................................................................................................................................
                                          j Kidney Disease: N - no kidney stones                                                                                                                                                                ,

      PATRICIA SUZANNE MftSKA, MD                                                                                                                                                Darden, Michael (ID: 10073) , DOB: 05/05/1966
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      athena                                                         12-16-2021 5:25 PM ET                                                   511 -185786724                                                                                             PO 3 of 5



        !•••,
           ·•   Problem List               !i Reviewed  Problems
                                              • Migraine with aura - Onset: 11/01/2021
                                           ! • Vertigo - Onset: 11/01/2021
                                           j • Headache - Onset: 11/01/2021

        iAlle,glesllst i
        !                                  ! • Snoring - Onset: 11/01/2021
                                             :: :~: :::::~;g;~; ································································································································ ;;············ 1.1


        !       Me d,, atlons              li;f;f~:1~:,:~E'i£iio ;;;g 24;;; ·~-i~t;; ;,~;;•;• ······· ···1;2;0s;:;1·· n;;;a ············jI
        .l
        !
                                           ,................................................................................................................................................. ;!11/27/21
                                           HclonazePAM0.5mgtablet
                                           !i escitalopram 5 mg tablet
                                                                                                                                                                                                                        filled
                                                                                                                                                                                               .................................................
                                                                                                                                                                                               /12/14/21 filled      ii
                                                                                                                                                                                                                                                 ,,ii
        l                                  \! Nurtec ODT 75 mg disintegrating tablet                                                                                                           i ll/01/21 prescribed !!
        !                                  !! Take 1 tablet(s) every other day by oral route.                                                                                                    !                                                 !'
                                                 t ra Z ODo ne__ 50 . mg.. tablet..........................................................................t 09/24/21 .... filled ...............!
        !· ··········.......................,,1f..................................................................................................................................................................................................
        !Soclal                            !Reviewed Social History
        /History                           !Education and Occupation
        i                                  !What is the highest grade or level of school you have completed or the highest degree
       l                                     j you have received? : Master's degree (e .g., MA, MS. MEng. MEd. MSW, MBA) (Notes :
       i                                     i Instructional designer)
       !                                     j Are you currently employed? : No (Notes: disability since 04/21)
        i                                    !Diet and Exercise
       !                                     j What type of diet are you following?: Regular
        i                                    ! What is your exercise level?: Moderate
       l                                     [Activities of Dally Living
       l                                     (Are you able to care for yourself?: No
       !                                     ! Are you blind or do you have difficulty seeing? : No
       l                                     j Are you deaf or do you have serious difficulty hearing? : No
       !                                    i Do you have difficulty concentrating, remembering or making decisions?: Yes
       l                                     j Do you have difficulty walking or climbing stairs?: No
       !                                    ! Do you have difficulty dressing or bathing?: Yes
       l                                    l Do you have difficulty doing errands alone?: Yes
       i                                    ! Which of your hands is dominant?: Right
       i                                    !Public Health and Travel
       !                                    i Have you been to an area known to be high risk for COVID-19? : No
       l                                    j tn the 14 days before symptom onset, have you had close contact with a laboratory-
       !                                    i confirmed COVID-19 while that case was ill?: No
       l                                    iIn the 14 days before symptom onset, have you had close contact with a person who is
       !                                    ! under investigation for COVID-19 while that person was ill? : No
       i                                    \ Substance Use
       i                                    ! Do you or have you ever smoked tobacco?: Never smoker
       i                                    l Do you or have you ever used any other forms of tobacco or nicotine? : No
       i                                    l What was the date of your most recent tobacco screening?: 12/16/2021
       l                                    [ What is your level of alcohol consumption?: None
       !                                    ! What is your level of caffeine consumption?: Occasional
       !                                    [Advanced Directive
       i                                    ! Do you have an advanced directive?: Yes
       i                                    lMarriage and Sexuallty
       i                                    !What is your relationship status?: Married (Notes : husband Gregory)
       !                                    iLifestyle                                                                                                                                                                                            ,
       i                                    l Do you feel stressed (tense, restless, nervous, or anxious, or unable to sleep at night)? : To !
       i                                    i some extent                                                                                                                                                                                         i
       l                                    iDo you use your seat belt or car seat routinely? : Yes                                                                                                                                               i
       j                                    !Gender Identity and LGBTQ Identity                                                                                                                                                                   !
       t·••··············· .. ······················································...............................................................................................................................................................
       !Famlly                            lFamily History ciot .reviewed .(last.reviewed ..ll/01/2021) .............................................................................
       i History                          j ! Mother      ji      - Dementia                                                                                                       j


       i!
        .
                                          if,,:::::::::::::::::::lL:::: :::::;:::::,:,,,,,.,:::::::::::::::::::::·:::::,,::::::::·::::,::::::::::::::::::::::::::i
                                          j l father                         jl          - Hypertensive disorder                                                                                                                                j
                                          .'-.::::::::::::::::::::::::::::::'}:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::: 1;
        !                                 li                                j;          - Hyperlipidemia                                                                                                                                        jl
        •                                 . ':::::::::::•:::::::•::::•:::::'}:::::::•:::::::::::::•:::::•::::::::::::::::::::::::•::::::::::::::::::::::::::::::::::::::::::::::::::::::::•:•::::::::::::::::::::•:::::::::::•::•:•::::•::::: '
       i.                                 ii                                ii          -  Congestive heart failure                                                                                                                            ii
                                          .;, ................................................................................................................................................................................................ · :


       PATRICIA SUZANNE MASKA, MD                                                                                                                                                  Darden , Michael (10: 10073), DOB: 05/05/1966
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                                              1r·                           ·if' .... -Coronary ..arte'ry..bypa·ss..g'i-'a tts.. xj ................................................................ •••• 1i

           i.:;~!!%:f . . . . . 1.~one.rec ord e d··.................................................................................................................................................................. !
                                                                                                                        Exam:
           1Vlt a ls ................... d:::::::::::::::::::Ht:]: 5:ft\:in::::::::::::::::1! ::::::::::::::::::Wt: n· 163.6 :lbs: With:: ii·::::::::::::::::BM1iH 27 .2·:::::::::::::::::::::::1 ·i
           !                                  !!                          ! Standing                          !!                            Hc lothes.                          !!                            H12/16/2021                               !
           i                                  ll                          i g'~!'~r~ 21    !i                                             iii1i~~1~'Ji? 1          ill 0 : am                     l
                                                                                                                                                                                                                       34

           :                                  : r::,::::::::::::,;:;,;1r{~~;;;:~:;~'~i~~::,,1(::::::::::;~;;~';11;:~::~~:~::::,,::::::::::r::::::::::::::::::,~:;,1r~,;:,:~::~~:::,,,::::::::,,::1i
       !                                      !!                          !1Larm                              !!                            ii12116/20 21                      g                              !l)2/16/2021                        !


                                      Jt"'":,:;;;,1:111:;i;;~~'.'.;:,,11,::,::,:: :,
           ;                                  !!                          i: 12/16/2021                       ii                            !!10 :36 am                         ii                            ;11 0 :34 am                        ;


       I
       i Physical                             i Patient is a 55-year-old male .
                                                                                                                                 ::::,:::11::,,::::::::,:,,:::::::,::::ji::,:":":'""':::""'t"::,,:::,,,,,,,,::::,::,:::J 1
                                                                                                                                                                                                                                                        !
       !Exam                                  !                                                                                                                                                                                                         !
       !                                  !General Appearance: Appearance no acute distress . Habitus well nourished.                                                                                                                                   !
       !                                  ! Ambulation ambulates independently.                                                                                                                                                                         !
       :                                   ~                                                                                                                                                                                                            t
       !                                  !Head: Appearance atraumatic.                                                                                                                                                                                 !
       l!                                 i Mental Status: Level of consciousness alert and attentive. Mood, Affect normal mood,
                                          j euthymic and affect congruent with mood . Attention/Concentration: normal attention and
                                                                                                                                                                                                                                                      Ii
       i                                  ! concentration. Orientation oriented to place and situation and orientated to person.                                                                                                                        i
       !                                  j Language, Speech no dysarthria or aphasia or dysphasia noted and normal fluency.                                                                                                                          !
       !                                  ! Memory, Recall recent memory grossly normal.                                                                                                                                                              :

       l                                  !Galt: Gait And Stance casual gait normal and narrow based. Standing stands from a chair l
       i                                  ! easily.                                                                                !
       . ................................ ❖ ................................................................................................................................................ ..................... ................ ............... ,

        !Results/                            !None recorded                                                                                                                                                                                       !
       !, ..................................
          lnterpretatlohs                 {   ....................................................................................................................................................................................................!.
       !Document !N/A                                                                                                                                                                                                                              i
       !History                           •                                                                                                                                                                                                           !
       1.~~~~~:~:atlJ~one. recorded ....................................................................................................................................................................                                              !
                                                                                                      Assessment and Plan:
       !Assessment !Time spent: 38 min
       , and Plan  ,
       !             Chart prep: 2 min    !
       i           i Discussion/exam time spent with patient: 10 min
       i           l Risk asse ssment : testing options, medication options, lifestyle changes: 20 min
       i           ! Referrals/care coordination: 1 min
       !           iCharting: 5 min
       I                                  l f/u in 6 weeks Alameda OV
       !                                  ! 1. Migraine with aura -
       !                                  i Episodic migraine. On average migraine 14 days per month during the previous 3 month
       i                                  i         period . Requesting nurtec as preventive med . He is still waiting to hear back on using
       !                                  !         Nurtec as a preventive. Our office will call insurance again to check on approving this .

       i                                  !could also consider Qulipta . He wants to avoid injections . We again discussed Aspirin 81
       i                                  j   mg qd w/ food for prevention of aura

       i
       !
                                         I!ore      Preventive meds tried : VPA, Elavil, lexapro, bupropion, GBN 300 mg, lorazepam
                                                     preventives tried : 82, magnesium

       Ii                                !.
                                         i          G43.109 : Migraine with aura , not intractable, without status migrainosus
                                                    MIGRAINE AURA WITHOUT A HEADACHE: CARE INSTRUCTIONS

       !                                 i 2. Snoring -
       i                                 i EDS, suspected apneas. Michael still may have OSA but never hear back from the sleep
       i                                 i          center. Needs eval. I will again request a HST.
       i                                 !          R06.83: Snorinq

       PATRICIA SUZANNE MA5KA, MD                                                                                                                                                    Darden, Michael (ID: 1007 3), DOB: 05/05/1966
                Case 4:25-cv-00911-DMR                                                               Document 1                                      Filed 01/28/25                                         Page 467 of 500
                                                                        (                                                                                                                    (                                                         467


 •=· one medical
 595 Castro Street San Francisco, CA 94114                                                      Phone: 888-663-6331 • Fax: 888-663-6331
     ath ena                                                       12-16-2021 5:25 PM IT                                                   511-185786724                                                                                              DQ 5   of 5


       !.:,',                             !,,·:. •• SNORING: CAR~E INSTRUCTIONS
                                                    HOME SLEEP STUDY -   Note to Imaging Facility : EDS, suspecte d apneas. Michael may
                                                    have OSA
                                          ~
       !                                  ! 3 , Vertigo -
       !                                  i Long h/o vertigo. As before, I suspect Michael primarily has migraine re lated vertigo . I am
       i                                  i not requesting vestib rehab at thi s time .
       i                                  j R42: Dizziness and giddiness

       I                                  !Return to Office
       ·..................................!, ....................................................................................................................................................................................................
       !                                        • Patricia Maska, MD for Telemedicine at PSM on 01/27/2022 at 10 :30 AM                                                                                                                           .




                                                                                                                 12/16/2021




      PATRICIA SUZANNE MAS KA, MO                                                                                                                                                Oard en, Michael (10: 10073), DOB: 05/05/1966


END - Consult Letter

BEGIN - Medical Records Release Form (3rd party)
              F/U 3rd Party MRRF: Department of Social
Note Title
              Services
Note Type     Medical Records Release Form (3rd party)
      Case 4:25-cv-00911-DMR                  Document 1         Filed 01/28/25       Page 468 of 500

                                                                                                  468

•=·   one medical
595 Castro Street San Francisco, CA 94114   Phone: 888-663-6331 • Fax: 888-663-6331
Date of       Mon Nov 29 2021 @ 08:12 AM
Service
Created By    Adam Rincon
Signed By     Chris Ibanez
Date Signed   Tue Dec 21 2021 @ 01 :08 PM
      Case 4:25-cv-00911-DMR                          Document 1            Filed 01/28/25                   Page 469 of 500

                                                                                                                                          469



595 Castro Street San Francisco, CA 94114          Phone: 888-663-6331 • Fax: 888-663-6331




              __ S_T~TE O_f CALIFORNIA· HEALTH AND HUMAN SERV.ICES AGENCY   _ _ _ , ·-~~'"""'' '~~="''·-·--~"'" Gavin Ne\nsom, Gove!!!P!,,,.

               DEPARTMENT OF SOCIAL SERVICES                                                                       S051K411CWFREE
               S05 CA DDS OAKLAND
               PO BOX 30722
               SALT LAKE CITY, UT 84130-9858

               FAX 1-866-640-1126

              October 27, 2021

              ONE MEDICAL
              MEDICAL RECORDS
              595 CASTRO ST
              SAN FRANCISCO CA 94114



                This Bar Code Page is the Return Cover
                          Sheet for Records.
                           You MUST collate your response like this:
                     " Top page - bar code page
                     " Second page - invoice(s)
                     ,. Third page and beyond - all other records/documents
                     • Send or fax record for one or more charts at the same
                        time. Note: Each individual's bar code page MUST be
                        the first page of that individual's records.


              FAX Records Toll Free to 1-866-640-1126.
                                            or
              You can upload electronic records if you are registered on the
              Electronic Records Express Secured Website. For info -
              www.socialsecurity.gov/ere
                                            or
               MAIL the records. Put this page on top of the
               records. Address must show in the window.




                           RQID:01338575004443833K41 __ SITE:S05 DR:S
                           SSN:••••••••• D0CTYPE:0001 RF:D CS:7cb4
                                                                             I
                                       Claimant: MICHAEL DARDEN
                                      SSN ••• _.. _5330 DOB 05/05/1966




              MEF IH2 (12/17)
      Case 4:25-cv-00911-DMR                      Document 1          Filed 01/28/25        Page 470 of 500

                                                                                                                      470


•=·   one medical
595 Castro Street San Francisco, CA 94114      Phone: 888-663-6331 • Fax: 888-663-6331




              STATE OF CALIFORNIA· HEALTH ANO HUMAN SERVICES AGENCY                          Gav,n Newsom. Governor
              DEPARTMENT OF SOCIAL SERVICES
              SOS CA DDS OAKLAND
              PO BOX 30722
              SALT LAKE CITY, UT 84130-9858

              FAX: 1-866-640-1126

              October 27, 2021                                                           SECOND REQUEST

              ONE MEDICAL
              MEDICAL RECORDS
              595 CASTRO ST
              SAN FRANCISCO CA 94114

                                                           RE:              MICHAEL DARDEN
                                                          AKA:
                                                          SSN:              ***-**-6330
                                                          DOB:              05/05/1966
                                              DDS CASE NUMBER:              1338575
                                               REQUEST NUMBER:              4443833
                                        SERVICE VENDOR NUMBER:              J292496

              THIS IS A FOLLOW-UP REQUEST. We originally sent you a request approximately
              10/13/2021. If you have already responded to our original request, please disregard
              this letter. We cannot pay for duplicate reports. AUTHORIZATION FOR RELEASE
              OF MEDICAL RECORDS WAS ALSO ATTACHED TO THE ORIGINAL REQUEST.

              The above-named individual has applied for disability benefits under the Social
              Security Act. This agency is responsible for adjudicating the claim . Your institution
              has been identified as a source of medical evidence for the claimant.

              IDENTIFYING INFORMATION:

              Adm/Dschg Dates:            04/19 to present
              Outpatient Dates:           04/19 to present
              Patient No:

              Please note that this is a request for all records during the dates of treatment period,
              and is not limited to records pertaining to the alleged impairments listed below.

              Alleged Impairments:
              MAJOR DEPRESSIVE DISORDER; GENERALIZED ANXIETY DIS
              ORDER; PANIC DISORDER; INSOMNIA; MIGRAINES; TINNIT
              US ; MITRAL VALVE PROLAPSE; SPOTS BEFORE EYES;

              INCLUDE THE FOLLOWING INFORMATION IF APPLICABLE:

              Adm, H & P, Dchg.Sm.
              Consultations
              CT/MRI Reports
              EKG W/Tracings
              Lab Tests
              MEF IH2 (08/17)
       Case 4:25-cv-00911-DMR                   Document 1         Filed 01/28/25        Page 471 of 500
                                   (                                              (                      471


•=·   one medical
595 Castro Street San Francisco, CA 94114    Phone: 888-663-6331 , Fax: 888-663-6331

                                                                     DEA:      CWFREE
                                                          DDSCASENUMBER:       1338~5
                                                          REQUEST NUMBER:      4443833

              Operative Notes
              Outpatient Notes
              Psychological Tests
              PT Progress Notes
              Psychiatric Consult
              Pathology Reports
              X-Ray Reports

              FOR ADULTS
                  We would also like to have a statement, based on your medical findings,
                  expressing your opinion about the claimant's ability, despite the functional
                  limitations imposed by the impairment(s) to do work-related physical and/or
                  mental activities as appropriate:
                           Physical activities such as sitting, standing, walking, lifting, carrying,
                           handling objects, hearing, speaking and traveling.

                                Mental activities such as understanding and memory; sustained
                                concentration and persistence; social interaction; and adaptation.


              FOR CHILDREN
                  We would also like to have a statement, based on your medical findings,
                  expressing your opinion about the child's functional limitations in learning, motor
                  functioning, performing self-care activities, communicating, socializing,
                  completing tasks and responsiveness to stimuli.

              A reasonable fee, as determined by this agency, may be paid upon request. Your
              request must be in writing on a separate form and must be attached to your response.
              To insure prompt payment, send your report within 14 days. It is our policy to not
              routinely pay for medical reports received more than 90 days after the date of the first
              request. Enclosed is an authorization for release of information .

              PLEASE RETURN A COPY OF THIS LETTER WITH YOUR RESPONSE.


              MR. COL TON F./K41,Disability Eval. Analyst I
              (510) 622-3667

                 THIS REQUEST IS BEING RETURNED. WE DO NOT HAVE THE
              INFORMATION REQUESTED. PLEASE PROVIDE DATE LAST SEEN: - - - -




              MEF IH2 (12/17)
       Case 4:25-cv-00911-DMR                                    Document 1                     Filed 01/28/25                     Page 472 of 500

                                                                                                                                                              472




595 Castro Street San Francisco, CA 94114                   Phone: 888-663-6331 • Fax: 888-663-6331




                                              AUTHORIZATION TO DISCLOSE INFORMATION TO
                                               THE SOCIAL SECURITY ADMINISTRATION (SSA)
                                           "PLEASE READ THE ENTIRE FORM, BOTH PAGES, BEFORE SIGNING BELOW"
      I voluntarily authorize and request disclosure (Including paper, oral. and electronic interchange)·
      QE..WliAI           AU my mQdlcsf records: also education records snd other lnf0tmatlon rolllted to mv abillty to perlorm tssl<s. T h l ~ l @
                          parm/ss/on to release:
          1. All records and other Information regarding my treatment, hospitalization, and outpatient care for my Impairment(&) Including, and not
              llmlledto:
               • Psychological, psychiatric or other mental lmpalrment(s) (excludes "psychotherapy notes" as defined in 45 CFR 164.501)
               • Drug abuse, alcoholism, or other substance abuse
               • Sickle cell anemia
              • Records which may indicate Iha presence ol a communlcable or noncommunicable dlsease; and tests for or records of HIV/AIDS
              • Geno-related Impairments (Including genetic test results)
          2. lnformaUon about how my lmpalrment(s) affects my ablllty to complete tuks and acllvlllea of dally living, and affects my ablllty to work.
          3. Coples of educatlonal teal& or evaluations, Including lndlvlduallzad Educational Programs, triennial aSBesaments, psychologlcal and speech
              evaluations, and any other records that can help evaluate function: also teachers' observations and evaluations.
          4. Information created within 12 months after the data this authorization I& signed, as well as past Information,
      FROM WHOM
          • All medical sources (hOspilals, clinics, labs,
                                                                      THIS BOX TO BE COMPLETED BY SSA/DDS (llll..llll.!l.!), Addlllonal information to identify lhe
            physicians. psychologists, etc.) including menlal         subject (e.g., other names used), the specific source, or lhe material to be disclosed:
            health, correcllonal, addiction treatment, and VA
            health ca,e facilities
          • AU educational soUices (schools, teachers, records
            administrators, counselors, etc.)
                                                                            Org.antn.tton: CHE HEOlCAL
          • Social worl<ers/rehabllltation counselors
                                                                            Vtndor Address: ns CASTRO ST SAN FAAH:CISCO 941 l4
          • Consulling examiners used by SSA                                tnpattent Date: 04/19 to present
          • Employers, insurance companies, workers'                        Outpat1Mt Oate: 04/lt to present
            compensation programs                                             Patttnt 008: OS/0S/66
          • Others who may know about my cond!Uon (family,
            neighbors, friends, public officials)
      I.Q.Wl:I.QM           Tho Social Security Administration and to the State agency authorized to process my case (usually called "disability determination
                            services"), Including contract copy sorvlces, and doctors or other professionals consulted during tl)o process. !Also. for international
                            claims, lo Iha U.S. Department of Slate Foreign Service Post)
      ~                    Determining my eliglblllty for benants, Including looking al Iha combined effect of any impairments thal by lhemselves would not meet SSA's
                           definition of disablllty; and whether I can manage such benefits.
                          0      Delermlnlng whelher I em capable of managing benefits ONLY (chocil only if this applies)
      EXPIRES WHEN        This aulhorizallon Is good for 12 months from the dale signed (below my signature).
         • l aulhOrize Iha use of a copy (lncludlng electronlc copy) of this form for the disclosure or the information described above.
         • I understand that there are some circumstances In whleh this information may be redlsclosed to other parties (see page 2 for dotaijs).
         • I may write 10 SSA and my sources lo revoke this authorization at any lime (see pago 2 lor details).
         • SSA wlll give me a copy of lhis form If I ask; I may ask lhe source 10 allow me lo inspect or get a copy of materiel lo be disclosed.
         • I have road both pagos of this form and agree to the dlscloaures above from tho types of sources listed.
      PLEASE SIGN USING BLUE OR BLACK tNK ONLY                        IF not signed by subject ol disclosure, spa~ basis for authority to sign
                          lzlng laclosur . lgnaturo                   O Parent of minor          O Guardian           O Other personal reprosenlalive
                                                                                                                      (ekplain)
                                                                      (ParenVguardian/personal representative sign
                                                                      here ii two signatures required by Stale law)



                                                                                                                                                        ZIP



                                                                                 IF needed. second witness sign hero (e g., ii signed with •x· above)

                                                                                 Phone Number (or Address)


     This goner I nd specl authorization to di close was developed to comply with the provisions regatding disclosure of medical, educational, end other
     information under P.L. 104-191 ("HIPM"); 45 CFR perts 160 and 164; 42 U.S. Code section 290dd•2: 42 CFR part 2; 38 U.S. Code section 7332; 38 CFR 1.475;
     20 U.S. Code sacllon 1232g ("FERPA"); 34 CFR parts 99 and 300; and Slate law.                                              '
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                                                                                                                                                473


                                           I
595 Castro Street San Francisco, CA 94114               Phone: 888-663-6331 • Fax: 888-663-6331



                                                                Explan11tlon of Form SSA-827,
                                   "Authorization to Disclose Informntlon to the Social Semrlty Adtninilltration (SSA}"
               We need your written authorization to help get the infonnation required to process your claim, and to detem1 ine your capability of
               managing benefit~ Laws and regulations require that sources of personal information have a signed authorization before
               releasing it to us. Also, laws require specific authorization for the release of infonnation about certain conditions and from
               educational sources.
               You can provide this_ authorization by signing a fonn SSA-827. Federal law pennits sources with infonnation about you to
               release that informallon if you sign a s111gle authonzation to release all your infonnallon from all your possible sources. We will
               make copies of it for each source. A covered entity (that is, a source of medical infonnation about you) may not condition
               treatment, payment, enrollme~t, or eligibility for benefits_ on_whethcr_you sign this authorization form. A few States, and some
               md1v1dual sources of mformahon, reqwre that the authonzatton specifically name the source that you authorize lo release
               personal information. In those cases, we may ask you to sign one authorization for each source and we may contact you again if
               we need you lo sign more authorizations.
               You have the right to revoke this authorization at any time, exceft to the extent a source of information has already relied on it to
               take an actton. To revoke, send a written statement to any Socia Security Office. If you do, also send'a copy directly to any of
               your sources that you no longer wish lo disclose information about you; SSA can tell you if we identified any sources you didn't
               tell us about. SSA may use information disclosed prior lo revocation to decide your claim.
               lt is SSA's policy to provide service to people with limited English proficiency in their native language or preferred mode of
               communication consistent with Execullve Order 13166 (August 11, 2000) and the Individuals with Disabilities Education Act.
               SSA makes every reasonable effort to ensure that the information in the SSA-827 is provided to you in your native or preferred
               language.                                                                                                .
                                                                      Prh11cy Act Statement
                                                         Collection nnd Cse of Personal Information
             Sections 205(0), 233(d)(5XA), 1614(aX3)(HXi), 163 l(dXI) and 163 l(e){lXA) of the Social Security Act as
             amended, (42 U.S.C. 405(a), 433(d)(5){A), 1382c(aX3XHXi), 1383(dXl)and 1383(eXl)(A)] authorize us lo
             collect this information. We will use the information you provide to help us determine your eligibility, or
             continuing eligibility for benclil~. and your ability to manage any bcncf11s received. The infonnation you
             provide 1s voluntary. However, failure to provide the requested information may prevent us from making an
             accurate and timely decision on your claim, and could result in denial or loss of benefits.
             We rarely use the infonnotion you provide on this fom1 for any purpose other than for the reasons explained
             above. However, we may use it for the administration and integrity of Social Security programs. We may also
             disclose information to another person or to another agency in accordance with approved routine uses, including but not limited to
             the following:

                I. To enable a third party or an agency to assist us in establishing
                   rights to Social Security benefits and/or coverage;
                2. To comply with Federal laws requiring the release of information from our records (e.g., to the Government Accountability
                   Oflice, General Services Administration, National Archives Records Administration, and the Department of Veterans Affairs);
                3. To make detenninations for eligibility in similar health and income maintenance programs at the
                   Federal, State, and local level; end
                4. To facilitate statistical research, audit. or investigative activities necessary to assure the integrity and
                   in1provement of our programs (e g., to the U.S. Census Bureau and to pnvate entities under contr~t with us).

             We may also use the information you provide in computer matching programs.
             Matching programs compare our records with records kept by other Federal, State, or local government agencies. We use the
             mfom1at1on from these programs to establish or verify a person's eligibility for Federallyfunded or admmistered benefit programs
             and for repayment of incorrect payments or delinquent debts under these programs.
             A complete list of routine uses of the infom1ation you gave us is available in our Privacy Act Systems of
             Records Notices entitled, Claims Folder System, 60-0089; Master Beneficiary Record, 60-0090; Supplemental Security Income
             record and Special Veterans benefits, 60-0103; and Electronic Disability (eDIB) Claims File, 0-0340. The notices, additional
             information regarding this fonn, and information regarding our systems and programs, are avoilable on-line at www.
             socialsecunty.gov or at any Social Security office

                                                            PAPERWORK REDUCTION ACT
             This information collection meets the requirements of 44 U.S C. § 3507, as amended by Section 2 of the Paperwork Reduction
             Act of 1995. You do not need to answer these questions unless we display a valid Office of Management and Budget control
             number. We estimate that it will take about 10 minutes to read the instructions, gather the facts, and answer the questions. SEND
             OR BRING IN THE COMPLETED FORM TO YOUR LOCAL SOCIAL SECURITY OFFICE. You cnn find your locnl
             Social Security office through SSA's website 111 www.socl11lsecurity,l!Q.Y, Offices ore olso listed under U.S. Government
             agencies in your telephone directory or you mny call Social Security at l-800-772-1213 (TTY l-SOq-325-0778). You may
             send conm1e111s 011 our h·me estimate above to: SSA, 640/ Security Bh•d, Baltimore, MD 2/235-640/. Send Ql!U'. comments
             relating to our time estimate to tlris address, not tire completed form.

             Foon SSA-827 (11-2012) el (11-2012)                                                                                        Page 2 of2



END - Medical Records Release Form (3rd party)

BEGIN • Office Visit
Chief Complaint ~t17·2021 REMOTE VISIT: FOLLOW-
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                                                                                                                            474



 595 Castro Street San Francisco, CA 94114             Phone: 888-663-6331 • Fax: 888-663-6331
 Note Type       Office Visit
 Date of Service Fri Dec 17 2021 @ 10:25 AM
 Created By      Emanuel Vergis, MD (NPI: 1962478495)
 Signed By       Emanuel Vergis, MD (NPI: 1962478495)
 Date Signed     Fri Dec 17 2021 @ 10:45 AM



Subjective


Confirmed name and date of birth with patient
Patient verbally consented to virtual care
Visit held virtually due to efforts to reduce the spread of the COVID-19 virus

Presents to update me:
continues to deal with family issues/mother's health issues
1. psychiatry increased dose of bupropion to 300 mg per day
2. NURTEC approved for migraine headaches; neurologist recommended 81 mg ASA as needed for aural symptoms;
3. home sleep study approved; study pending;
4. long term disability approved by ANTHEM (psychiatry is managing this);



Exam


I did not examine Michael today and spent the majority of the time reviewing and coordination the care plan with him.



Procedures & Services




Assessment & Plan

Generalized anxiety disorder - F41.1

5/17/2021:
Started seeing a psychiatrist who increased the dose of escitalopram to 1O mg per day;
Follow-up scheduled with psychiatry later this week;
Scheduled f/u with me in 2-3 weeks;

6/16/2021:
dose of escitalopram 5 mg (decreased from 10 mg) and clonazepam 0.5 mg qday was started;
Follow-up with psychiatry;
Scheduled follow-up with me in one month;
SSDI to be completed by psychiatry (??);

7/20/2021:
Repeat GAD-7 survey;
Continue escitalopram/clonazepam;
Follow-up with me in 2-4 weeks;
updated return to work date to be mid October in the EDD website;
7/23/2021:
recent GAD-7 score is 21 which is unchanged from 4/23;
Question efficacy of treatment versus need for more intense therapy

7/26/2021:
continue with escitalopram 15 mg po ODAY;
no changes planned with medication doses according to his psychiatrist;
presumed component of PTSD;
I asked him to inquire if other modalities are being considered for treatment such as EMDR;

10/11/2021 :
see A/P Severe depression;

12/17/2021:
psychiatrist increased dose of bupropion to 300 mg per day;
sees psychiatrist every 3 months on average;

Severe depression - F32.2

5/17/2021:
See A/P Generalized anxiety disorder

7/26/2021: See A/P Generalized anxiety disorder
        Case 4:25-cv-00911-DMR                           Document 1                Filed 01/28/25        Page 475 of 500

                                                                                                                     475


•=·   one medical
595 Castro Street San Francisco, CA 94114             Phone: 888-663-6331 • Fax: 888-663-6331
check TSH , APR

7/28/2021 :
F/U PHQ-9 score is 25;
no change from prior survey;
will discuss dose adjustment for LEXAPRO, but this is something that his psychiatrist needs to decide;

10/11/2021 :
Overall no change in his status;
Switched to bupropion from escitalopram per his psychiatrist;
EDD form to reflect anticipated return to work in mid January;
F/U with me in - 4 weeks;

11/8/2021 :
Overall no change in status, but seems to think that bupropion is making a difference for him;
He plans to see his psychiatrist in December;
EDD paperwork to transition to Dr. Jillian for him to manage;
Check in with me in December;

12/17/2021 :
currently on increased dose of bupropion 300 mg per day;

Vestibular migraine - G43.809

Characterized by dizziness, tinnitus;

10/11/2021 :
he has noticed an uplick in headaches;
will identify an in-network provider for this;
discussed magnesium and B2 as preventatives;

118/2021:
Follow-up with neurology;
prior authorization for rimegepant pending;

12/17/2021 :
NURTEC approved;
advised by his neurologist to take ASA 81 mg at onset of aural migraine symptoms;



After Visit Guidance To Patient


END· Office Visit

BEGIN· Medical Record: Unedited
             Medical Record: Unedited: Department of Social
Note Title
             Services
Note Type    Medical Record: Unedited
Date of
             Mon Oct 25 2021 @ 04:57 PM
Service
Created By   Chris Ibanez
Signed By    Chris Ibanez
Date Signed  Mon Oct 25 2021 @ 05:00 PM
      Case 4:25-cv-00911-DMR                           Document 1            Filed 01/28/25   Page 476 of 500
                                                                                                                        476


•=·   one medical
595 Castro Street San Francisco, CA 94114          Phone: 888-663-6331 • Fax: 888-663-6331




            _ , TATE OF CALIFORNIA · HE ALTH AN D HUMAN SERVICES AGENCY                       Gavin Newsom , Governor
             DEPARTMENT OF SOCIAL SER VICES
             S05 CA DDS OAKLAND
             PO BOX 30722
             SALT LAKE CITY, UT 84130-9858

            FAX: 1-866-640 -1126

            October 13, 2021

            ONE MEDICAL
            MED ICAL RECORD S
            595 CASTRO ST
            SAN FRANCISCO CA 94114


                                                  RE :                    MICHAEL DAR DE N
                                                 AKA :
                                                 SSN :                    ••• _.. _6330
                                                 DOB :                    05/05/1966
                                     DDS CASE NUMBER :                    1338575
                                      REQUEST NUMBER :                    4443833
                               SERVICE VENDOR NUMBER :                    J292496


            The above -named individual has applied for disability benefits under the Social
            Security Act. This agency is responsible for adjudicating the claim . Your institution
            has been identified as a source of medical evidence for the claimant.

            IDENTIFYING INFORMATION
               Adm/Dschg Dates : 04/19 to present
                Outpatient Dates : 04/19 to present
             1
                     Patient NR :

            Please note that this is a request for all records during the dates of treatment period ,
            and is not limited to records pertaining to the alleged impairments listed below.

            Alleged Impairments:
            MAJOR DEPRESSIVE DISORDER; GENERALIZED ANXI ETY
            DIS
            ORDER ; PANIC DISORDER ; INSOMNIA; MIGRAINES ;
            TINNIT
            US ; MITRAL VALVE PROLAPSE ; SPOTS BEFORE EYES;

            INCLUDE TH E FOLLOWING INFORMATION IF APPLICABLE :
            Adm , H & P, Dchg .Sm.
            Consultations
            CT/MRI Reports
            EKG W/Tracings
            Lab Tests
            Operative Notes
            Outpatient Notes
            Psychological Tests
            MEF IH1 (12/17)
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                                                                                                       477


                                  I
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                                                                   DEA:     CWFREE
                                                       DDS CASE NUMBER:     1338575
                                                       REQUEST NUMBER:      4443833

            PT Progress Notes
            Psychiatric Consult
            Pathology Reports
            X-Ray Reports

            FOR ADULTS
                We would also like to have a statement, based on your medical findings,
                expressing your opinion about the claimant's ability, despite the functional
                limitations imposed by the impairment(s) to do work-related physical and/or
                mental activities as appropriate:
                         Physical activities such as sitting, standing, walking, lifting, carrying,
                         handling objects, hearing, speaking and traveling.

                           Mental activities such as understanding and memory; sustained
                           concentration and persistence; social interaction; and adaptation.

            FOR CHILDREN
                We would also like to have a statement, based on your medical findings,
                expressing your opinion about the child's functional limitations in learning, motor
                functioning, performing self-care activities, communicating, socializing,
                completing tasks and responsiveness to stimuli.

            A reasonable fee, as determined by this agency, may be paid upon request. Your
            request must be in writing on a separate form and must be attached to your response.
            To insure prompt payment, send your report within 14 days. It is our policy to not
            routinely pay for medical reports received more than 90 days after the date of the first
            request. Enclosed is an authorization for release of information.
             !

            f\,1R. COLTON F./K41,Dlsabillty Eval. Analyst I
            ($10) 622-3667

            _I_THIS REQUEST IS BEING RETURNED. WE DO NOT HAVE THE
            INFORMATION REQUESTED. PLEASE PROVIDE DATE LAST SEEN: _ _ __




            MEF IH1 (12/17)
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                                                                                                 Whose Records to be Disclosed




                                            AUTHORIZATION TO DISCLOSE INFORMATION TO
                                             THE SOCIAL SECURITY ADMINISTRATION (SSA)
                                          •• PLEASE READ THE ENTIRE FORM, BOTH PAGES, BEFORE SIGNING BELOW ..
    I voluntarily authorize and request disclosure (includlng paper, oral, and elecironic inlerchange).-:- - - - - - - - - - - - - - - - - - -
    OE.WHAI                All my medlcBI records: also education records and other Informal/on ro/sted to mv Abilltv to 11ertorm toslrs. This Includes Spru;l!l!;
                           permission to rofe:ase:
        1. All records and other Information regarding my treatment, hospitallzatlon, and outpatient care for my lmpalrmenl(s) Including, and not
            llmltedto:
            • Psychological, psychiatric or other mental impairment(s) (excludes •psychotherapy notes• as defined in 45 CFR 164.501)
            • Drug abuse. alcoholism, or olher substance abuse
            • Sickle cell anemia
            • Records which may indicate lhe presence of a communicable or noncommunicable disease; and les\S for or records of HIV/AIDS
            • Gone-related impairments (including genelic test resulls)
        2. Information about how my lmpalrment(s) affects my abHlty to complete tasks and activities of dally llvlng, and affects my ablllty to work.
        3. Coples of educational tests or evaluations, Including lndlvlduallied Educational Programs, triennial assessments, psychological and speech
            evaluations, and any other records that can help evaluate function; also teachers' observations and evaluations.
        4. Information craatad within 12 months after the date this authorization Is signed, as well as past lnfOffllatlon,
    FROM WHOM
        • All medical sources (hospitals, clinics, labs,
                                                                     THIS BOX TO BE COMPLETED BY SSA/DDS ( ~ ) . AddHional informalion to identify the
          physicians, psychologists, elc.) including mental
                                                                     subject (e.g., other names used), the specific source, or the material to be disclosed:
          health, correctional, addiction treatment. and VA
          health care facittties
       • AU educaUonal sources (schools, teachers, records
          admlnislrators, counselors, etc.)
                                                                           Org&ntz.ation; ONE HEOICAl
       • Social wOlkers/rehabilitation counselors
                                                                           V<ndor Addrus: 595 CASTllO ST SAN FRAliCISCO 94114
        • Consulting examiners used by SSA                                 Ir.pat.tent Oate: 04/19 to present
       • Employers, insurance companies, workers'                          Outpatunt Date: 04/19 to pruent
          compensation programs                                             Pathnt DOB: 05/05/66
       • Others who may know about my condition (family,                   Remarks:
          neighbors, frioods, public officials)
    I2.W!:!QM             The Social Security Administration and to the State agency authorized to process my case (usually callod •disabmty determination
                          seivices"), Including contract copy services, and doctors or other professlonals consulted during the process. (Also. for International
                          claims, to lhe U.S. Department of State Foreign S81Vlce Post.)
                         Determining my ellglbillty for benefits, including looking at lhe combined effect of any impairments that by themselves would not meet SSA'~
                          definition of disability; and whether I can manage such benefits.
                        0
    EXPIRES W~EN
                 I             Determining whether I am capable of managing benefits ONLY (chock only if this applies)
                        This authorization Is good for 12 months from lhe dale signed (below my signature).
      • I authorize lhe use of a copy (including electronic copy) of this form for the disclosure of the informabon described above.
      • I unders!and thal there are some circumstances In which this Information may be redisclosed to other parties (see pago 2 for dcIa,ts).
      • I may write to SSA and my sources to revoke this authorlzallon al any time (see page 2 for details).
      • SSA willlgive me a copy of this form if I ask; I may ask the source lo allow me to Inspect or get a copy of material lo be disciosed.
      • I have r ad both pages of this form and agree to the dlsclosures above from the types of sources listed.
    PLEASE SIGN USING BLUE OR Bl.ACK INK ONLY                          IF not algned by subject of disclosure, spe~ basis for authority to sign
                 \au     tzlng lsclosur lgnature                       O Parenl of minor           O Guardian LJ Other personal represenlalive
                 !                                                    ,_______                          _ ___...;(,_ex_,p_la_ln.,_)_ _ _ _ _ _ _ _ _ _ __
                                                                       (ParenVguardianlpersonal represenlative slgn
                                                                       here if two signatures required by State law)



                                                                                                                                                     ZIP

                                                     g this form or em setisfled of this person'sidenlily:
                                                                              IF needed, second witness sign here (e.g., if signed with "X' above)

                                                                              Phone Number (or Address)


   This gene I n pee authorization to di close was developed to comply with the provisions regarding disclosure of medical. educational, and other
   Information under P.L. 104,191 ("HIPM"); 45 CFR palls 160 and 164; 42 U.S. Code section 290dd-2; 42 CFR part 2; 38 U.S. Code section 7332; 38 CFH 1.475;
   20 U.S. Cade section 1232g ("FERPA"); 34 CFR palls 99 and 300; and Slale law.
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                                                       Explanation or Form SSA-827,
                             "Authorizntion lo Disdosr Information to lhe Social Security Admlnistrnlion (SSA)"
           We need your written authorization t~ help get_the infonnation required to _process your claim, and 10 detem1ine your capability of
           mana~mg_hcnefit~. Laws and rcg~lauons_rcqu1rc that sources of personal information have a signed authorizntion before
           releasing II to us. Also, laws require specific authonzauon for the rdea~ of infonnalion about certain conditions and from
           educational sources.
          You con pmvide this_authorizoti_on by signing o fonn SSA-8:27. Federal law_pennits sources with infom1otion about you to
          release th~t 111formallon 1fyou sign a s111gle aut~nzallon _to release all your information from all your possible sources. We will
          make copies of 11 for each source. A covered entity (that 1s, a source of medical mfom1at1on about you) may not condition
          treatment, payment, enrollment, or eligibility for benefit~ on whether you sign this authori1J1tion fonn . A few States, and some
          individual sources of information, require that the authoriwlion specifically name the source that you authorize to release
          personal information. In those cases, we may ask you to sign one authorization for each source and we may contact you again if
          we need you to sign more authorizations.
          You have the right to revoke this authorization at any tim e, except to the extent a source of information has already relied on it to
          take an action. To revoke, send o wrinen statement to any Social Security Office. If you do, also send a copy directly to any of
          your sources that you no longer wish to disclose information about you; SSA can tell you if we identified any sources you didn't
          tell us about. SSA may use information disclosed prior lo revocation to decide your claim.
           It is SSA's policy to provide service to people with limited English proficiency in their native language or preferred mode of
           communication consistent with Executive Order 13166 (August I I, 2000) and the Individuals with Disabilities Education /\ct.
           SSA makes every reasonable dfort to ensure that the infonnation in the SSA-827 is pro\'idcd to you in your native or preferred
           lalll!UaJ?e.
                                                                  Prl\ncy Act Slntrmenl
                                                     Collection and Use of Prrsonal Information
         Sections W5(a), :!33(d)(5XA), 1614(o)(3XH)(i). 1631(dXI) and 163l(e)(l)(A) of the Social Security Act os
         amended, (42 ll.S.C. 405(a), 433(d)(5)(A), 1382c(a)(3Xll)(i), 1383(dXI) and 1383(e)(IXA)] authorize us to
         collect this infom1ation. We will use the information you provide to help us determine your eligibility, or
         continuing eligibility for hcnefiL~. and your ability to manage nny b~ncfits received. The information you
         provide is voluntary. Howeva, failure to provide the requested information may prevent us from making an
         accurate and timely decision on your claim, and could result in denial or loss of benefits.
         We rnrely use the information you provide on this form for any purpose other than for the reasons explained
         above. However, we may use it for the administration and integrity of Social Security programs. We may also
         disclose infomiation to another person or to another agency in accordance with approved routine uses. including but not limited to
         th~ following:

            I. To enable a third party or an agency to assist us in establishing
               rights to Social Security benefits and/or coverage;
            2 To comply with Federnl laws requiring the release of information from our records (.:.g., to the Gov.:mmenl Accountability
               Office, General Services Administration, National Archives Records Administration, and the Department of Veterans Affairs);
            3 To make detem1inations for eligibility in similar health and income maintenance programs at the
             1Federal, State, ond locnl level; and                             .
             I
            4: To focilitote statistical research, audit, or investigative activities necessary to assure the integrity and
               improvement of our programs (e.g.. to lhe U.S. Census Bureau and Lo private entities under contract with us).

         We J,ay also use the infomrntion you provide in computer matching programs.
         Matching programs compare our records with records kept by other Federal, State, or local government agencies. We use the
         information from these programs to establish or verify a pcrson·s eligibility for Federallyfunded or administered benefit programs
         and tor repayment of incorrect payments or delinquent debts under these programs.
         A cJ.nplete )isl of routine uses of the information you ga\'e us is available in our Privacy Act Systems of
         Records Notices entitled, Claims Folder System, 60-0089; Master Beneficiary Record, 60-0090; Supplemental Security Income
         reco(d and Special Veterans benefits, 60-0103; and Electronic Disability (eDIB) Claims File, 0-0340. The notices, addi1ional
         information regarding this fom1, and information regarding our systems and programs, ore ovoiloble on-line at www.
         soci~lsecurity.gov or at any Social Security office.
             I
                                                         PAPERWORK REDUCTION ACT
         This information collection meets lhe requirements of 44 U.S.C. § 3507, as an1ended by Section 2 of the Paperwork Reduction
         Act of i 995. You do not need to answer these questions unless we display a valid Office of lvlanagement and Budget control
         number. \Ve estimate thot it will toke about IO minutes to read the instructions, gather the facts, and answer the questions. SEND
         OR BRING IN THE COMPLETED FORM TO YOUR LOCAL SOCIAL SECURITY OFFICE. You con find your local
         Soclol Sfcurily office through SSA's website at 1'~1!\V,sOciulsecurity.gov. Offices nre also listed under U.S. Government
         agencies In your telrphonr dlreclory or you mny coll Soclnl Security at 1-800-772-1213 (l'TY 1-800-325-0778). You may
         smd commmls 011 011r liml! l!s/imale above to: SSA, 640/ Sec1111ty Bfrd, Rallimorl!, MD 21235-640/. Send !!!WI. comments
         relating to our time estimate to this address, 1101 the compleJedform.

         Form SSA-827 (11-2012) el (11·2012)                                                                                        Page 2 of 2
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  One Medical Group                                                                                          595 Castro Stree t
                                                                                                             San Francisco. CA 941 14

  To:                                                                                                        phone: 888-663·6331
  From: Chris Ibanez                                                                                         fax: 415-29 1-0489




          Patient
          Patient                    Michael Darden
          DOB                        05/05/1966
          Sex                        M
          PCP                        Emanuel Vergls, MD
          Patient ID                 110786538
                                     1801 Shoro Line Dr
          Address                    Apartment 307
                                     Al ameda, CA 94501


          Anthem Blue Cross of California PPO
          Member ID: XDP24 1W06151
          Effective Al: 01/01/202 1
          Policy Holder: Michael Darden (Self)




                                       All records based on the parameters of your request.
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  Notes
  BEGIN • Office Vi sit

  Chief Complaint               REMOTE VISIT 10-11-2021: ANXIETY, DEPRESSION, PAN IC DISORDER
  Note Type                     Office Vi sit
  Date of Service               Mon Oct 11 2021@ 10:25 AM
  Created By                    Emanuel Vergls, MD (NPI: 1962478495)
  Signed By                    Emanuel Vergls, MD (NPI: 1962478495)
  Date Signed                  Mon Oct 11 2021@ 10:52 AM




  Subjective


  Confirmed name and date of birth with patient
  Patient verbally consented to virtual care
  Visit held virtually due to efforts to reduce the spread of the COVID-19 virus

  Presents to discuss ongoing issues (family);
  Recent increase in stress and anxiety stemming from taking care of his elderly mother;
  Other family members are trigg ering worsening of his symptoms and leaves him feeling overwhelmed;
  His psychia trist switched him to bupropion ER 150 mg per day from escitalopram;
  He anticipates returning to work In mid January 2022 ;

  Separately, notes that his migraine headaches are back;
  He had an extensive evaluation of !his in the pas t;
  Will Identify an in -network provider for him to see;



  Exam


  I did not examine Michael today and spent th e majority of the tim e reviewing and coordination th e care plan with him.



  Procedures & Services




  Assessment & Plan


  Generalize d anxiety disorder • F41 .1
  5/17/2021 :
  Started seeing a psychia trist who increased the dose of esci talopram to 10 mg per day;
  Follow-up scheduled with psychiatry later this week;
  Scheduled f/u with me in 2-3 weeks;

  6/ 16/2021 :
  dose of escitalopram 5 mg (decreased from 10 mg ) and clonazepam 0.5 mg qday was started;
  Follow-up with psychiatry;
  Scheduled follow-up with me in one month;
  SSDI to be completed by psychiatry (??);

 7/20/202 1:
 Repeal GAD-7 survey;
 Continue escitalopram/clonazepam;
 Follow-up with me in 2-4 weeks;
 updated return to work date to be mid October in the EDD website;

 7/23/202 1:
 rece nt GAD-7 score is 21 which is unchanged from 4/23;
 Ques tion efficacy of treatment versus need for more intense therapy

 7/26/2021:
 con tinue with escilalopram 15 mg po ODAY;
 no changes planned with medication doses according to his psychia trist;
 presumed component of PTSD ;
 I asked him to inquire if other modalities are being considered for trea tment such as EMDR ;

 10/11/202 1:
 see NP Severe depression;

 Panic disorder - F41.0
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  See NP Severo depression

  Severe depression - F32.2
  5/17/2021:
  See NP Generalized anxiety disorder

  7/26/2021: See NP Generalized anxiety disorder
  check TSH, RPR

  7/2812021:
  F/U PHQ-9 score is 25;
  no change from prior survey;
  will discuss dose adjustment for LEXAPRO, but this is something that his psychiatrist needs lo decide;
  10/11/2021:
  Overall no change in his status;
  Switched to bupropion from escitalopram per his psychiatrist:
  EDD form to reflect anticipated return to work in mid January;
  F/U with me in - 4 weeks;

  Vestibular migraine - G43.809
  Characterized by dizziness, tinnitus;

  10/11/2021:
  he has neticed an up\ick in headaches;
  will identify an in-network provider for this;
  discussed magnesium and B2 as preventatives;



  After Visit Guidance To Patient


  Hi Michael,

  Thank you for the updates today. For your headaches consider starting magnesium 400 mg once daily and riboflavin 400 mg once daily. These are used as a means lo
  prevent migraines.

  END - Office Visit



  BEGIN • Lab Result

  Nole Title                   Lab: CMP, CBC, Lipids, CT/NG NAAT (GU), CT/NG NAAT (rectal), CT/NG NAAT (pharyng), HIV Ab w/ rflx, RPR w/ reflex, TSH
  Note Type                    Lab Result
  Date of Service              Wed Jul 28 2021 @06:10 AM
  Created By                   Medical Team
  Signed By                    Emanuel Vergls, MD (NPI: 1962478495)
  Dale Signed                  Wed Jul 28 2021 @ 06:37 AM




          This lab report was automatically sent to the patient in ~g!lJ!J!!ps://one.11ife.com/1107865381Patieot timeline POsts/13204035) on 7/28/2021 at
          6:10 AM because it contained no abnormal or critical results.


       DARDEN, MICHAEL                                                                                                                   Overall Report Status: FINAL
       (SN: 20722938150)                                                                                                                     Received on 07/28/2021



       Lab Report from LabCorp

       Specimen Number                                  Patient ID                       Control Number                     Account Number

      , 20722938150                                      110786538                       3417450                            04338885

       Patient Last Name                                                                 Account Address

       DARDEN

       Patient First Name                     Patient Middle Name

       MICHAEL

     ' PatientSS#               Patient Phone                 Total Volume

                                917-868-8780
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       Datt of Birth                             Sex                 Ftttlng                    Account Address

       1966-05-05                                M                   N

       Patient Address

       1801 SHORE LINE DR APT 307                                                               One Medical Group
       ALAMEDA
                                                                                                595 Caslro Slreet San Francisco . Q A J ~ 94114
       CA, 94501-
                                                                 J
      Oatemmo Collected

      202 1-07-26 12.48:00 POT
                                 IDato Entered

                                  2021-07-26 21 :00_:_00 POT _
                                                                   Oate/Tlmo Reported

                                                                   2021 -07-28 05:35:00 ~T



                                                                                                Additional Information



                                                                                                Physician Namo      - lNPI #                -     -- 1   hy1lclanlO-



      ~~~                                                          --
                                                                                                VERG IS, E            -             19624 78495




      Comp. Melabollc Panel (14) (322000), CBC , Plalelet, No D1fferenlial (028142); Lipid Panel (303756); Chlamyd1a/GC Amplificalion (183194); CVGC
      NAA, Recla! (188672); CVGC NAA, Pharyngeal (188698); HIV Ag/Ab wilh Reflex (083935); RPR, Rfx Qn RPR/Confirm TP (01 2005); Thyroid
                                                                                                                                                         - -                    -]
      Cascade Profile (330015), Cardiovascular Report (910385)                                    ___ _          _   __ _ _ __                  _

      TESTS                                ~               SULTS         _     1   F~G       T uNI,:;-            1 R- ;ERENCE INTERVAL                            T   LAB

      Comp, Metabolic Pano! (14)

         Glucose                                     n                                         mg/dL                65-99                                              01


         BUN                                         18                                        mg/dL                6-24                                               01


         Crealinine                                  0.98                                      mg/dL                0 .76- 1.27                                        01


         eGFR If NonAfricn Am                        86                                        mllmin/1. 73         >59                                                01


         eGFR If Africn Am                           100                                       mUmin/ 1.73          >59                                                01




                                                                                                                                                                            j
             •LabcorP current ly report s eGFR in compliance wi th th e current ...
              rcc OMendations of the National Kidney Foundat i on, Labcorp will
              update r epor ting as new guidelines are published from the NKF-ASN
           [
              Tas k forc e.


         BUN/Creatinine Ratio                        18                                                             9-20                                               01


         Sodium                                      137                                       mmolll.              134- 144                                           01


         Potassium                                 4.8                                         mmolll.              3.5-5.2                                            01


         Chloride                                    102                                       mmoll\.              96- 106                                            01


         Carbon Dioxide, Tolal                     25                                          mmoll\.              20-29                                              01


         Calcium                                   9.7                                         mg/dL                8.7-1 0.2                                          01


         Prolein, Total                            7.2                                         gldL                 6.0-8.5                                            01


         Albumin                                   4.3                                         gldL                 3.8-4.9                                            01


         Globulin, Total                           2.9                                         gldL                 1.5-4 .5                                           01


         NG Ratio                                  1.5                                                              1.2-2.2                                            01


         Bilirubin, Total                          0.3                                         mg/dL               0.0-1.2                                             01


         Al kaline Phosphatase                     95                                          IU/1.               48-121                                              01


         AST( SGOT)                                15                                          IU/1.               0-40                                                01


         ALT(SGPT)                                 17                                          IU/1.               0-44                                                01


      CBC, Platelet, No 0lfforenllal
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       TESTS                                                        _ tLAG    I   UNITS      E      EFERENCE INTERVAL      _ I LAB   .
          WBC                                                                  x10E3/ul          3.4-10.8                     01

          RBC                                 5.00                             x10E6/ul          4.14·5.80                    01

          Hemoglobin                           15.2                            g/dl               13.0-17.7                   01

          Hemalocrit                          44.6                             %                 37.5-51.0                    01

          MCV                                 89                               fl                79-97                        01

          MCH                                 30.4                             pg                26.6-33.0                    01

         MCHC                                 34 .1                            gldl              31.5-35.7                    01

         RDW                                   12.1                            %                 11 .6-15.4                   01

         Platelets                            271                              x10E3/ul          150-450                      01

         NRBC                                 Canceled                                                                        01

      Lipid Pano!

         Cholesterol, Total                   210                    High      mg/dl             100-199                      01

         Triglycerides                        125                              mgldl             0-149                        01

         HDL Choles terol                     42                               mgldl             >39                          01

         VLDL Cholesterol Cal                 23                               mgldl             5-40                         01

         LDL Chol Cale (NIH)                  145                    High      mg/dL             0-99                         01

         Commenl:                             Canceled                                                                        01

      Chlamydla/GC Amplification

         Chlamydia trachomatis, NM            Negative                                           Negalivo                     01

         Neisseria gonorrhoeae, NM            Negative                                           Negative                     01

      CUGC NAA, Rectal

         C. lrachomalis, NM, Rec tal          Negative                                           Negalivo                     02

         N. gonorrhoeae, NM. Rectal           Negative                                           Negative                     02

      Ct/GC NAA, Pharyngeal

         C. tra chomatis, NAA, Pharyn         Negalive                                           Nega tive                    02

         N. gonorrhoeae, NAA, Pharyn          Negative                                           Negative                     02

      HIV Ag/Ab with Reflex

         HIV Screen 4th Generation wRfx       Non Reactive                                       Non Reactive                 01

      RPR, Rfx Qn RPR/Confirm TP

         RPR                                  Non Reactive                                       Non Rcaclive                 01

      Thyroid Cascade Profile

         TSH                                  3.730                           ulU/ml             0.450-4 .500                 01


           No apparent thyroid disorder. Additional testing not indicated. In
           1
           rar e instances, Secondary Hypothyroidism as wel l as Subclinical
             ypothyroidi sm have been reported in some patient s with normal TSH
           1 al ues.


      Cardiova scular Report

         Interpreta tion                      Note                                                                            03
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                                                              FLAG        UNITS       REFERENCE INTERVAL        LAB

          Current available clinical information suggests the
          patient's risk is at least LOW. One major CHO risk factor is
          present (age over 45). If the patient has CHO or a CHO risk
          equivalent, the risk category is high. If patient does not
          have CHO or a CHO risk equivalent, consider use of the
          ,Pooled Cohort Equations to estimate 10-year CVO risk, as
           individuals with greater than 7 .5% risk may warrant more
          intensive therapy. The calculator can be found at:
          http:/ /tools. cardiosource .org/ASCVD-Risk-Estimator/

          Insulin resistance, obesity, excessive alcohol use, smoking,
          nephrotic syndrome, liver disease, and certain medications
          can cause secondary dyslipidemia. Consider evaluation if
          clinically indicated.

          Therapeutic lifestyle changes are always valuable to achieve
          optimal blood lipid status (diet, exercise, weight
          management) .

           LIPID MANAGEMENT
          Select one patient risk category based upon medical history
          and clinical judgment. Additional risk factors such as
          personal or family history of premature CHO, smoking, and
          hypertension modify a patient's goals of therapy. In CVD
          prevention, the intensity of therapy should be adjusted to
          the level of patient risk. MODERATE intensity statin therapy
          generally results in an average LDL-C reduction of 30% to
           less than 50% from the untreated baseline. Examples include
           (daily doses): atorvastatin 10-20 mg, rosuvastatin 5-10 mg,
          ,simvastatin 20-40 mg, pravastatin 40-80 mg, lovastatin 40
          ,ng. HIGH intensity statin therapy generally results in an
          average LDL-C reduction of 50% or more from the untreated
          .baseline. Examples include (daily doses): atorvastatin 40-80
          mg and rosuvastatin 20 mg.
          LOW RISK ASSESSMENT AND TREATMHlT SUGGESTIONS


          LDL-C is acceptable, 145 mg/dL. Non-HDL Cholesterol is
          acceptable, 168 mg/dL.

          Considerations for use of statin therapy include family
          history of premature atherosclerotic disease, elevated
          coronary artery calcium score, ankle-brachia! index < 0.9,
          elevated CRP, or elevated 10-year or lifetime cvo risk.
          INTERMEDIATE RISK ASSESSMENT AND TREATMENT SUGGESTIONS


          LDL-C is borderline high, 145 mg/dL. Non-HDL Cholesterol is
          borderline high, 168 mg/dL.

          Consider beginning or increasing statin. Factors that may
           influence statin use include family history of premature
          atherosclerotic disease, elevated coronary artery calcium
          score, ankle-brachia! index < 0.9, elevated CRP, or elevated
          10-year or lifetime CVO risk. If statin cannot be tolerated
          or increased, alternatives include use of an intestinal
          ,agent (ezetimibe or bile acid sequestrant) or niacin.
          HIGH RISK ASSESSMENT AND TREATMENT SUGGESTIONS

          LDL-C is high, 145 mg/dL. Non-HOL Cholesterol is high, 168
          mg/dL.

          Begin statin. If statin already in use, consider increasing
          ,dose to achieve at least a SO¾ LDL reduction from baseline.
          Moderate or high intensity statin is preferred. If statin
          cannot be tolerated or increased, alternatives include use
          'of an intestinal agent (ezetimi~ or bile acid sequestrant)
          pr niacin.

          DISCLAIMER
          These assessments and treatment suggestions are provided as
          a convenience in support of the physician-patient
          relationship and are not intended to replace the physician's
       Case 4:25-cv-00911-DMR                                        Document 1                 Filed 01/28/25                     Page 486 of 500

                                                                                                                                                                486


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       TESTS                                         RESULTS                   FLAG          UNITS                REFERENCE INTERVAL                               LAB

               clinical judgw,ent. They are derived from national guidelines
               in addition to other evidence and expert opinion. The
               '<linician should consider this information within the
               ,context of clinical opinion and the individual patient.
               SEE GUIDANCE FOR CARDIOVASCULAR REPORT: Stone N) et al. 2013
               ACC/AHA guideline on the treatment of blood cholesterol to
               reduce atherosclerotic cardiovascular risk in adults: a
               report of the American College of Cardiology/American Heart
               ,Association Task Force on Practice Guidelines. Circulation
               2014; 129 (suppl 2): Sl?S45; Contois et al. Clin Chem 2009;
               55(3) :407-419; Brunzel! et al. Diabetes Care 2008;
               31(4) :811-82,



            PDF                                     Not applicable                                                                                                03



       01         01     LabCorp San Diego                                                                                             Die JennyGallowayMO
                         13112 Evening Creek Dr So Ste 200, San Diego, CA 92128-4108

       02         02     LabCO!p Phoenix                                                                                               Dir: EarleCollumMO
                         5005 S 40th Street Ste 1200, Phoenix, AZ 85040-2969

       03         03     Litholink Corp01alion                                                                                         Dir: JohnAsplinMD
                         150 Spring Lake Or Ste A, Itasca, IL 60143-2091

      ; For inquiries, tho physician may contact labcorp at 800-222-7566 Lab: 858-668-3700


  END • Lab Result



  BEGIN • Office Visit

  Chief Complaint               REMOTE VISIT 7-20-2021: MEDICATION FOLLOW-UP
  Note Type                     Office Visit
  Date of Service               Tue Jul 20 2021 @ 02:55 PM
  Created By                    Emanuel Vergls, MD (NPI: 1962478495)
  Signed By                     Emanuel Vergls, MD (NPI: 1962478495)
  Date Signed                   Tue Jul 20 2021 @ 03:18 PM




  Subjective


 Confirmed name and date of birth with patient
 Patient verbally consented to virtual care
 Visit held virtually due to efforts to reduce the spread of the COVID-19 virus

 Michael presents to update me
 1. feels better in general and believes that the medications are making a difference (50% better); mom's issues are not resolved, but he is belier able to discuss these;
 3. is now seeing his psychiatrist every 2 months;
 4, occasionally needs to take trazodone for sleep:



 Exam


 I did not examine Michael today and spent the majority of the time reviewing and coordination the care plan with him.



 Procedures & Services




 Assessment & Plan


 Generalized anxiety disorder - F4 U
 5/17/2021:
 Started seeing a psychiatrist who increased the dose of escitalopram to 10 mg per day:
 Follow-up scheduled with psychiatry later this week;
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                                                                                                                                                             487


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  Scheduled flu with me in 2-3 weeks;

  6116/2021:
  dose of escitalopram 5 mg (decreased from 10 mg) and clonazepam 0.5 mg qday was started;
  Follow-up with psychiatry;
  Scheduled follow-up with me in one month;
  SSDI to be completed by psychiatry (??);

  7120/2021:
  Repeat GAD-7 survey;
  Continue escHalopram/clonazepam;
  Follow-up with me in 2-4 weeks;
  updated return to work date to be mid October in the EDD website:

  Insomnia• G47.00
  511712021:
  Psychiatry prescribed trazodone 50 mg po OHS as needed (up to 3 tablets per night);
  Gabapenlin was stopped;

  712012021:
  continues to take trazodone 50 mg po as needed;



  After Visit Guidance To Patient


  END • Office Visit



  BEGIN • Office Visit

  Chief Complaint              ANNUAL EXAM
  Note Type                    Office Visit
  Date of Service              Mon Jul 26 2021 @ 02:55 PM
  Created By                   Emanuel Vargis, MD (NPI: 1962478495)
  Signed By                    Emanuel Vergls, MD (NPI: 1962478495)
  Date Signed                  Mon Jul 26 2021 @03:49 PM




  Subjective


  Patient presents for annual wellness visit.
  1. continues to work with psychiatry- no plans for medication change; disability until 10115/21; therapist commented to him that he is exhibiting PTSD symptoms;
  2. limited to no exercise since 2020;
  3. would like to be 155 pounds

  Reviewed age-appropriate health maintenance goals.

  PMH. PSH. Medications, Allergies. FHx reviewed and updated.

  Social Hx:
  Reviewed and updated In chart.

  ROS focused on patient risk factors:
  ROS negative except for pertinent positives listed above



 Allergies


 Penicillins (hives)



 Vitals


  sys dla HR RR temp wt     ht BMI
  108 72 78 -       160 lb65.5 in 26.2


 Exam


 I conducted the encounter wearing the following PPE: N95, face shield/goggles, gloves. The patient was wearing a mask.
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  General: No distress
  HEENT: EOMt, nl conjunctiva & lids, hearing grossly nl
  Neck: supple, no concerning masses, no LAD
  Lungs: CTA bilaterally, nl effort
  CV: RRR, no M/RIG
  Abd: SINT/ND
  Neuro/Psych: Normal affect, nonnal speech
  Skin: Wann and well perfused



  Procedures & Services




  Assessment & Plan


  ANNUAL EXAM - 200.01
  Check usual labs to day;
  Discussed that results will generally show up in 7-10 days, and will communicate results via VMT/provider;

  Reviewed AHRQ preventive medicine recommendations:
  PHQ-2 SCREEN: POSITIVE; PHQ.g sent;
  CRC screening: due in 2023; obtain prior HMR
  STI screening: check usual panel today
  VACCINATIONS: obtain prior HMR

  Generalized anxiety disorder - F41.1
  5/17/2021:
  Started seeing a psychiatrist who increased the dose of escilalopram to 10 mg per day;
  Follow-up scheduled with psychiatry later this week;
  Scheduled flu with me in 2-3 weeks;

  6116/2021:
  dose of escitalopram 5 mg (decreased from 10 mg) and clonazepam 0.5 mg qday was started;
  Follow-up with psychiatry;
  Scheduled follow-up with me in one month;
  SSDI to be completed by psychiatry (??);

  7/20/2021:
  Repeat GAD-7 survey;
  Continue escitalopram/clonazepam;
  Follow-up with me in 2-4 weeks;
  updated return to work date to be mid October in the EDD website;

 7/2312021:
 recent GAD-7 score is 21 which is unchanged from 4123;
 Question efficacy of treatment versus need for more intense therapy

 7/26/2021:
 continue with escitalopram 15 mg po ODAY;
 no changes planned with medication doses according to his psychiatrist:
 presumed component of PTSD;
 I asked him lo inquire ii other modalities are being considered for treatmenl such as EMDR;
 Severe depression - F32.2
 5117/2021:
 See NP Generalized anxiety disorder

 7126/2021: See NP Generalized anxiety disorder
 check TSH, RPR



 After Visit Guidance To Patient


 Health Maintenance


 Depression screening
 PHO-9 - due 07126/2021
 Screening History 04/23/2021 - PHQ-9 - 25
 Anxiety screening
 GAD-7 - due 08/2312021
 Screening History 07/23/2021 - GAD-7 - 21 04/23/2021 - GAD-7 • 21
        Case 4:25-cv-00911-DMR                                     Document 1                   Filed 01/28/25            Page 489 of 500

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                                                     I
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  Colon cancer screening
  Colonoscopy - due 05/0512023
  Screening History 2018 - Colonoscopy- NEGATIVE

  ENO - Office Visit



  BEGIN • Office Visit

  Chief Complain!               REMOTE VISIT 6-16-2021L ANXIETY FOLLOW-UP
  Note Type                     Office Visit
  Dale of Service               Wed Jun 16 2021 @07:55 AM
  Created By                    Emanuel Vergis, MO (NPI: 1962476495)
  Signed By                     Emanuel Vergis, MO (NPI: 1962478495)
  Dale Signed                   Wed Jun 16 2021 @ 08:21 AM




  Subjective


  Confirmed name and date of birth wilh patient
  Patient verbally consented to virtual care
  Visit held virtually due lo efforts to reduce the spread of !he COVID-19 virus
  Duration of appointment: 9 minutes; 10 min late for appointment

  Slates he is about 15% belter wl regard to his anxiety and about 10% belter wl regard lo his sleep;
  Met wilh Dr. Jillian who prescribed clonazepam 0.5 mg qday as needed and decreased escitalopram dose to 5 mg per day;
  Sees psychiatrist on 7112;

  Slill dealing with arranging things for his mom;
  Still dealing with his brother.

  He is applying for SSDI;
  Informed me !hat he has atypical migraines characterized by dizziness, tinnilus and visual "spots";
  No headaches:
  WIU in lhe 90s concluded that this migraine variant is caused by changes in barometric pressure:
  He had one last week and believes !hat his anxiety made it much worse;



  Exam


  I did nol examine loday and spenl lhe majority of !he time reviewing and coordination the care plan with .



  Procedures & Services




 Assessment & Plan


 Generalized anxiety disorder - F41.1
 5/1712021:
 Started seeing a psychiatrist who increased lhe dose of escitalopram to 10 mg per day;
 Follow-up scheduled with psychiatry later this week;
 Scheduled flu with me in 2-3 weeks;

 6/16/2021;
 dose of escitalopram 5 mg (deereased from 10 mg) and clonazeparn 0.5 mg qday was started:
 Follow-up wilh psychiatry;
 Scheduled follow-up with me in one month;
 SSDI lo be completed by psychiatry (??);

 Vestibular migraine• G43.809
 Characterized by dizziness, tinnitus;



 After Visit Guidance To Patient


 9 minutes spent on evaluation & management on 06/16/2021
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  EN D • Offi ce Vi sit



  BEG IN • Office Visit

  Chief Complaint               REM OTE VI SIT 5-17-2021 : ANXIETY FOLLOW-UP
  Nole Type                     Office Vi sit
  Date of Service               Mon May 17 2021 @ 08:25 AM
  Crea ted By                   Emanuel Vergls, MD (NPI: 1962478495)
  Signed By                     Emanuel Vergl s, MD (NPI : 1962478495)
  Dale Signed                   Mon May 17 2021 @ 08 :45 AM




  Subjective


  Confirmed name and date of birth with pa tient
  Patient verbally consented lo virtual care
  Visit held virtu ally due to efforts to reduce the spread of the COVID-19 virus
  Duration of appointment: 19 minutes

  Michael prese nts for follow-up:
  Started seeing psychiatrist per An them's recommendation:
  Saw Dr. Jillian last week who started him on trazodo ne 50 mg po QHS (1 -3 tablets) as needed (gabapenLin was slopped), and increased the dose of escilalopra m lo 10 mg
  per day;
  Psychiatrist will assume prescribing of these medications:
  He diagnosed Michael wi th MDD
  Still dealing with stre ss/anxiety;
  His brother is not being supportive with rega rd lo their mothe~s heallh circumstances:



  Exam


  I did not exa mine Michael today and spent the majority ol lhe time reviewing and coordination the ca re plan with him.



  Procedures & Services




 Assessment & Plan


 Generalized anxiety disorder - F41 .1
 5/ 17/2021:
 Started seeing a psychiatri st who Increased the dose ol escllalopram to 10 mg per day:
 Follow-up scheduled with psychiatry later this week:
 Scheduled flu with me in 2-3 we eks:

 In somnia• G4 7.00
 5/17/2021 :
 Psychiatry prescribed lrazodone 50 mg po QHS as needed (up lo 3 tablets per night):
 Ga bapenlin was slopped;

 Severe depress ion - F32.2
 5/17/202 1:
 See N P Generalized anxie ty disorder



 After Visit Guidance To Patient


 END • Office Vi sit



 BEGIN - Office Vi sit
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                                                  I
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  Chief Complaint               REMOTE VISIT 4-30-2021: SEVERE DEPRESSION
  Note Type                     Office Visit
  Date of Service               Fri Apr 30 2021 @ 04:25 PM
  Created By                    Emanuel Vargis, MD (NPI: 1962478495)
  Signed By                     Emanuel Vargis, MD (NPI: 1962478495)
  Date Signed                   Sat May 01 2021@ 09:00 AM




  Subjective


  Confirmed name and date of birth with patient
  Patient verbally consented to virtual care
  Visit held virtually due to efforts to reduce the spread of the COVID-19 virus
  Duration of appointment: 25 minutes

  Michael presents for follow-up;
  His husband, Gregory, was also present;
  Michael is back from visiting/moving his mother;
  He received the SDI check;
  Dealing with mom's issues and more recently their son was assaulted in NYC -> possible concussion;

  Michael endorses anxiety, sleep disturbance and fatigue;
  Continues to see his therapist weekly;



  Exam


  I did not examine Michael today and spent the majority of the time reviewing and coordination the care plan with him.



  Procedures & Services




  Assessment & Plan


  Generalized anxiety disorder - F41.1
  Characterize anxiety with GAD-7 survey;
  Consider low dose SSRI v. short term benzo use;
  F/U with therapist:
  Assisi with EDD and Anthem paperwork:

  4-23-2021:
  GAD-7 score is 21

 4/30/2021:
 Discussed starting escilalopram lo help with mood/sleep;
 Reviewed escitalopram 5 mg po Oday and that it may lake up lo 2 weeks lo notice improvement;
 Scheduled flu in 2 weeks with me;

 Insomnia - G47.00
 Discussed that treating underlying GAD and depression will contribute lo better sleep;
 Discussed role of gabapentin taken at bedtime to help with sleep with downstream effect on his anxiety;

 Severe depression - F32.2
 Will have him complete PHQ-9 lo characterize his depression;
 Assist with EDD and Anthem paperwork;
 Consider SSRI

 4/30/2021:
 PHQ-9 score is 25;
 See NP Generalized anxiety disorder,



 After Visit Guidance To Patient


 25 minutes spent on evaluation & management on 04/30/2021
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   END • Office Visit



   BEGIN • Office Visit

   Chief Complaint               REMOTE VISIT 4-21-2021: ANXIETY
    Note Type                    Office Visit
   Date of Service               Wed Apr 21 2021 @08:55 AM
   Created By                    Emanuel Vergis, MD (NPI: 1962478495)
    Signed By                    Emanuel Vergis, MD (NPI: 1962478495)
   Date Signed                   Wed Apr 21 2021 @09:25 AM




   Subjective


   Confirmed name and date of birth with patient
   Patient verbally consented to virtual care
   Visit held virtually due to efforts to reduce the spread of the COVID-19 virus
   Duration of appointment: 25 minutes

   Michael presents to discuss his current situation with anxiety and depression:
   He is currently in Maryland dealing with mom's dementia;
   She is in a NH currently:
   No other relatives and Michael's brother is overseas;
   He sees Penelope Fox weekly for therapy;
   He has been on leave from work since 4115;
   Needs assistance with SDI EDD and other paperwork which his husband Greg has started on his behalf;

   Endorses anxiety. sadness. exhaustion, and feeling overwhelmed:
   Passive SI. but no plan:



   Exam


   I did not Michael examine today and spent the majority of the time reviewing and coordination the care plan with him,


   Procedures & Services




   Assessment & Plan


   Depression screening needed - 213.31
   Will have him complete PHQ-9 to characterize his depression;
   Assist with EDD and Anthem paperwork;
   Consider SSRI

   Generalized anxiety disorder - F41, 1
   Characterize anxiety with GAD-7 survey;
   Consider low dose SSRI v. short term benzo use;
   F/U with therapist;
   Assist with EDD and Anthem paperwork:



   After Visit Guidance To Patient


   25 minutes spent on evaluation & management on 04/21/2021



   END • Office Visit




END· Medical Record: Unedited

BEGIN • Medical Records Release Form (3rd party)
              3rd Party MRRF: Department of Social
Note Title
              Services
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•=·   one medical
595 Castro Street San Francisco, CA 94114           Phone: 888-663-6331 • Fax: 888-663-6331
Note Type       Medical Records Release Form (3rd party)
Date of
               Mon Oct 18 2021 @ 02:05 PM
Service
Created By     Gabi Charbeneau
Signed By      Chris Ibanez
Date Signed    Mon Oct 25 2021 @ 05:00 PM


Type records (medical, billing, or all): MED Date range: 4/1/2019 - Present Send records to: 866 640 1126 Edited: NO Excluding: .. Release EXPIRES:
6/16/2022 Confirm signature: Approved Date sent: 10/25/2021 MRS: Chris Ibanez
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             ,·'ATE OF CALIFORNIA - HEALTH AflD HUIAAN SERVICES AGENCY
                                                                                                                               -.-··--·---.=,,i~~om. Gove!nor
                                                                         ., · - - - - - , . ••. - , ; • ~ . c , . . ~...........


            •DEPAfiTMENT OF SOCIAL SERVICES                                                                                                   S051K411CWFREE
             S05 CA DDS OAKLAND
             PO BOX 30722
             SALT LAKE CITY. UT 84130-9858

            FAX: 1-866-640-1126

            October 13, 2021

            ONE MEDICAL
            MEDICAL RECORDS
            595 CASTRO ST
            SAN FRANCISCO CA 94114


                                                 RE:                              MICHAEL DARDEN
                                                AKA:
                                                SSN:                             ***-**-6330
                                                DOB:                             05/05/1966
                                    DDS CASE NUMBER:                             1338575
                                     REQUEST NUMBER:                             4443833
                              SERVICE VENDOR NUMBER:                             J292496


            The above-named individual has applied for disability benefits under the Social
            Security Act. This agency is responsible for adjudicating the claim. Your institution
            has been identified as a source of medical evidence for the claimant.

            IDENTIFYING INFORMATION
              Adm/Dschg Dates: 04/19 to present
               Outpatient Dates: 04/19 to present
                    Patient NR:

            Please note that this is a request for all records during the dates of treatment period,
            and is not limited to records pertaining to the alleged impairments listed below.

            Alleged Impairments:
            MAJOR DEPRESSIVE DISORDER; GENERALIZED ANXIETY
            DIS
            ORDER; PANIC DISORDER; INSOMNIA; MIGRAINES;
            TINNIT
            US; MITRAL VALVE PROLAPSE; SPOTS BEFORE EYES;

            INCLUDE THE FOLLOWING INFORMATION IF APPLICABLE:
            Adm, H & P, Dchg.Sm.
            Consultations
            CT/MRI Reports
            EKG W/Tracings
            Lab Tests
            Operative Notes
            Outpatient Notes
            Psychological Tests
            MEF IH1 (12/17)
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                                                                   DEA:     CWFREE
                                                       DDS CASE NUMBER:     1338575
                                                       REQUEST NUMBER:      4443833

            PT Progress Notes
            Psychiatric Consult
            Pathology Reports
            X-Ray Reports

            FOR ADULTS
                We would also like to have a statement, based on your medical findings,
                expressing your opinion about the claimant's ability, despite the functional
                limitations imposed by the impairment(s) to do work-related physical and/or
                mental activities as appropriate:
                         Physical activities such as sitting, standing, walking, lifting, carrying,
                         handling objects, hearing, speaking and traveling.

                           Mental activities such as understanding and memory; sustained
                           concentration and persistence; social interaction; and adaptation.

            FOR CHILDREN
                We would also like to have a statement. based on your medical findings,
                expressing your opinion about the child's functional limitations in learning, motor
                functioning, performing self-care activities, communicating, socializing,
                completing tasks and responsiveness to stimuli.

            A reasonable fee, as determined by this agency, may be paid upon request. Your
            request must be in writing on a separate form and must be attached to your response.
            To insure prompt payment, send your report within 14 days. It is our policy to not
            routinely pay for medical reports received more than 90 days after the date of the first
            request. Enclosed is an authorization for release of information.



            MR. COLTON F./K41,Disablllty Eval. Analyst I
            (510) 622-3667
             I
             l

            _:_THIS REQUEST IS BEING RETURNED. WE DO NOT HAVE THE
            lf'JFORMATION REQUESTED. PLEASE PROVIDE DATE LAST SEEN: _ _ __




            MEF IH1 (12/17)
         Case 4:25-cv-00911-DMR                                     Document 1                     Filed 01/28/25                      Page 496 of 500
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•••
 •    one medical
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                                                                                                                Records to be Disclosed




                                              AUTHORIZATION TO DISCLOSE INFORMATION TO
                                               THE SOCIAL SECURITY ADMINISTRATION (SSA)
                                         "PLEASE READ THE ENTIRE FORM, BOTH PAGES, BEFORE SIGNING BELOW••
      I voluntarily authorize and request dlscloauro (including paper, oral, and electronic inlerchange):- - - - - - - - -- - -- - - - - - - -
      l2£..WHAI           All mv med/cal records; atso education moats and other lnfonnatlon rel@ted to my abillty to pedorm tasks, This lncludas soacm1;
                          aorm/ss/on to rotease:
          1, All records and other Information regarding my treatment, hospitallu tlon, and outpatient care for my lmpalrmonl(a) Including, and nol
              llmlledto:
              • Psychological, psychiatric or other mental impalrment(s) (excludes "psycholharapy notes" as defined in 45 CFR 164.501)
              • Drug abuse, alcoholism, or other subslance abUse
              • Sickle cell anemia
              • Record s which may indicate Iha presence of a communJcabla or noncommunicable disease; and tes1S for or records of HIV/AIDS
              • Gone-related lmpairmenls (including genetic tesl resulls)
          2. Information about how my Impairment(•) affects my ability to complete tasks and activities of dally llvlng, and affocts my ablllty to work.
          3. Coplea of educational teal s or evaluatlons, Including lndlvlduallHd Educational Programs, trlonnlal aase11ment1, psychologlcel and spoech
              ovaluatlons, and any other records that can help evaluate function; also teachers' obaen,atlons and ovaluatlona.
          4. Information created within 12 months after Iha dale Ihle authorization Is signed, as woll as paat Information,
      FROM WHOM
          • All medical eources (hospllals, clinics, labs,
                                                                       THIS BOX TO BE COMPLETED BY SSA/DOS (H.IIIKBJI). Addlllonal inlormalion lo identify !he
            physicians. psychologists. etc,) including mental
                                                                       subject (e.g., olher names used), lhe specific source, or !he material lo be disclosed:
            health, correcllonal, addiclion 1rea1manI, and VA
            health care facilities
          • AU educatlonal sources (schools, teachers, records
            admlnislralors, counselors, etc.)
                                                                             Oraantutton: OHE l<EOICAL
          • Social worllerslrehabllilation counselors
                                                                             Vendor Addre11: 595 CASTRO ST SAN FRANCISCO 9-4 114
          • Consulling oxaminers used by SSA                                 Inpattent Datt: 04/19 to prennt
          • Employers. insurance companies, workers'                         Outp1t1tnt Date: 0• 119 to present
            compensation programs                                             Pattcnt 001: 05/05/66
          • Olhers who may know about my condition (family,                  Reaark.s:
            neighbors, friends, public officials)
      IQ..WHQM              The Social Sacurtty Administration and to the Slato agency authorized to process my case (usually callod "disability delerminalion
                            services"), Including contract copy son,lcos, and doctor• or other professionals conaullad during tho process, (Also. lor International
                            claims. to !he U.S. Department or Slate Foreign Service Posl.}
      ~ I                  Determining my ollglbillty for bonents, Including looking at lhe combined elfecl ol any impairments lhal by themselves would not mael SSA'f
                            definition or disability: and whether I can manage such benefits.
                          0      Dalermlnlng whelher I em capable of managing benefll• ONLY (chccl! only if this applies)
      EXPIRES WH EN
                   I      This authorizallon is good for 12 months from the dale signed (below my signature).
        • I authorl~e Iha use ol a copy (Including eleclronJc copy) or !his form ror the disclosure or the inlormalion described above.
        • I unders(and that lllere are some circumstances ill which !Ills lnformauon may be redisclosed to olher parties (see page 2 for dotais).
        • I may wrlle to SSA and my sources to revoke this authorization al any time (see pago 2 for details).
        • SSA will give me a copy of this lonm 111 ask; I may ask lhe source lo allow me to Inspect or get a copy of material 10 be disclosed.
        • I haver ad both pages of thla form end agreo to the dlaclosures above from the types or sources listed.
      PLEASE SIGN USING BLUE OR BLACK INK ONLY                           IF not algned by 1ubJect or disclosure, ape~ b11l1 for authority to sign
                   ,■u     l1lng lscloaur . lgnalure                   O      Parent or minor      O      Guardian    D      Other personal represenlallve
                                                                                                                         (explain)
                                                                         (ParenVgun,dlan/personal representative sign
                                                                         here ii two signatures required by Stale law)




                                                      ng this form or am satisfied of this person's Identify:
                                                                                  IF needed. second witness sign here (e.g., if signed with "X' above)


                                                                                  Phone Number (or Address)


      This gene I nd pee authorization lo di clOse was dovoloped 10 comply wilh the provisions regarding disclosure of medical. educalional, and other
      information under P.L. 104-191 ('HIPM"); 45 CFR parts 160 and 164; 42 U.S. Code section 290dd-2; 42 CFR part 2; 38 U.S. Code section 7332; 38 CFR 1.475;
      20 U.S. Code section 1232g ('FERPA"); 34 CFR parts 99 and 300; and Slale law.
        Case 4:25-cv-00911-DMR                            Document 1                 Filed 01/28/25                  Page 497 of 500

                                                                                                                                               497



595 Castro Street San Francisco, CA 94114              Phone: 888-663-6331 • Fax: 888-663-6331



                                                         Explanation of Form SSA-827,
                              "Authorization to Disclose Information to the Social Security Administration (SSA)"
            We need your written authorization t~ help get.the infonnation required to_process your claim, and to determine your capability of
            mana&mg_ henefit~. Laws and reg~lauons_requ1rc th~t sources of personal mformatton have a signed authoriiation before
            rdeas1ng It to us. Also. laws require specific authonzat1on for the release of information about certain conditions and from
            educational sources.
            You can provide this. authori2.0ti~n by signing a form SSA-8::!7. Federal law permits sources with information about you to
            release th~t mf~malton 1f you sign a smgle authonzat1on _lo release all vour infoi:mation ~rom all your possible sources. We will
            make copies of 1I for each source. A covered enltty (that 1s. a source of med1C8l mformallon about vou) may not condition
            treatment, payment, enrollment, or eligibility for benefits on whether you sign this authoriwtion form. A few States, and some
            individual wurces of information, requirc that the authoriution specifically name the source that you authorize to release
            personal information. In those C8se~ we may ask you to sign one authorization for each source and we may contact you again if
            we need you to sign more authorizations.
            You have the right to revoke this authorization at any time. except to the extent a source of infonnation has already relied on it to
            take an action. To revoke, send a written statement to any Social Security Office. If you do, also send a copy directly to any of
            your sources that you no longer wish to disclose information about you; SSA can tell you if we identified any sourc..-s you didn't
            tell us about. SSA may use information disclosed prior to revocation to decide your claim.
            It is SSA's policy to provide service to people with limited English proficiency in their native language or preferred mode of
            communication consistent with Executive Order 13166 (August 11, 2000) and the Individuals with Disabilities Education Act.
            SSA makes every reasonable effort to ensure that the information in the SSA-827 is pro\·ided to you in your native or preferred
            language.
                                                                   Privacy Act Statement
                                                      Collection and l:se of Personal Information
          Sections 205(n), 233(d)(SXA), 1614(a)(3XHXi), 163 l(dXI) and 163 l(e)(l)(A) of the Social Security Act os
          amended, [4:2 U.S.C. 405(a), 433(d)(5XA), 1382c(a)(3)(H)(i). l383(dXI) and l383(e)(IXA)] authorize us to
          collect this infom1ation We will use the information you provide to help us determine your eligibility, or
          continuing eligibility for benefit~, and your ability to manage any benefits received. The information you
          provide is voluntary" However, failure to provide the requested information may prevent us from making an
          accurate and timely decision on your claim, and could result in denial or loss of benefits.
          We rarely use the information you provide on this fonn for any purpose other than for the reasons explained
          above. However, we may use it for the administration and integrity of Social Security programs" We may also
          disclose information to another person or to another agency in accordance with approved routine uses. including but not limited to
          the following:

             I. To enable a third party or an agency to assist us in establishing
                 rights to Social Security benefits and/or coverage;
             2. To comply with Federal laws requirinl! the release of infonnation from our records (e.g., lo the Government Accountability
               i Office, General Services Administration, National Archives Records Administration, and the Department of Veterans Affairs);
             31 To make determinations for eligibility in similar health and income maintenance programs at the
               i Federol, State, and lOC8l level; and
             4: To facilitate statistical research, audit, or investigative activities necessary to assure the integrity and
               i improvement of our programs (e"g.. lo the U.S. Census Bureau and to pnvate entities under contract with us).
               I
          We Jrny also use the infonnation you provide in computer matching programs.
          Matching programs compare our records with records kept by other Federal. State, or local government agencies. We use the
          information from these programs to establish or verify a person's eligibility for Federally funded or administered benefit programs
          and for repayment of incorrect payments or delinquent debts under these programs.
               I
          A cdmpkle list of routine uses of the information you gave us is available in our Privacy Acl Systems of
          Recdrds Notices entitled, Clain1s Folder System, 60-0089; Master Beneficiary Record, 60-0090; Supplemental Security Income
          recotd and Special Veterans benefits, 60-0103; and Electronic Disability (eDIB) Claims File, 0-0340. The notices, additional
          information regarding this form, and information regarding our systems and programs, are avoiloble on-line at www.
          soci~lsecuntv.gov or at any Social Security office.

                                                          PAPERWORK REDUCTION ACT
          This infom1alion collection meets the requirements of 44 U.S.C. § 3507, as an1ended by Section 2 of the Paperwork Reduction
          Act of 1995" You do not need to answer these questions unless we display a valid Office of Management and Budget control
          nwnber. We estimate that it will take about 10 minutes to read the instructions, gather the facts, and answer the questions. SEND
          OR BRING IN THE COMPLETED FOR\1 TO YOl;"R LOCAL SOCIAL SECURITY OFF1CE. You can find your local
          Social Security office through SSA's website at www,socialsecurUv,goy. Ofl"ices nre nlso listed under U.S. Government
          agencifS in your telephone directory or you may cnll Social Security at 1-800-772-1213 (l'TY 1-800-325-0778). You may
          .w1d commmls on our timi/ i/stimate above to: S.'U 640/ Security Blvd, Baltimori/, MD 21235-640/. Send e!!IJ, comments
          relating to our time estimate to this address, 11ot the completed form.

          Form SSA-827 (11-2012) e1(11-2012)                                                                                         Page 2 of2



END - Medical Records Release Form (3rd party)

BEGIN • Office Visit
  . fC
Ch le      I . t REMOTE VISIT 11-8-2021:
        omp am DEPRESSION
          Case 4:25-cv-00911-DMR                           Document 1               Filed 01/28/25              Page 498 of 500

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                                              I
 595 Castro Street San Francisco, CA 94114             Phone: 888-663-6331 • Fax: 888-663-6331
 Note Type       Office Visit
 Date of Service Mon Nov 08 2021 @ 10:25 AM
 Created By      Emanuel Vergis, MD (NPI: 1962478495)
 Signed By       Emanuel Vergis, MD (NPI: 1962478495)
 Date Signed     Mon Nov 08 2021 @ 10:42 AM



Subjective


Confirmed name and date of birth with patient
Patient verbally consented to virtual care
Visit held virtually due to efforts to reduce the spread of the COVID-19 virus

Michael presents for follow-up:
1. seems to be responding to bupropion; meets with his psychiatrist in December. Dr. Jillian will be assuming responsibility for EDD paperwork as well
as continuing Anthem long term disability paperwork;
2. meets with his therapist Q weekly on Mondays;
3. met with Dr. Maska (neurologist) who recommended NURTEC (rimegepant) for migraine prophylaxis; PA is pending;

Generally feels about the same overall;



Exam


I did not examine Michael today and spent the majority of the time reviewing and coordination the care plan with him.



Procedures & Services




Assessment & Plan

Severe depression - F32.2

5/17/2021:
See A/P Generalized anxiety disorder
7/26/2021: See A/P Generalized anxiety disorder
check TSH, RPR

7/28/2021:
F/U PHQ-9 score is 25;
no change from prior survey;
will discuss dose adjustment for LEXAPRO, but this is something that his psychiatrist needs to decide;

10/11/2021:
Overall no change in his status;
Switched to bupropion from escitalopram per his psychiatrist;
EDD form to reflect anticipated return to work in mid January;
F/U with me in 4 weeks;
                  N




11/8/2021:
Overall no change in status, but seems to think that bupropion is making a difference for him;
He plans to see his psychiatrist in December;
EDD paperwork to transition to Dr. Jillian for him to manage;
Check in with me in December;

Vestibular migraine - G43.809

Characterized by dizziness, tinnitus;
10/11/2021:
he has noticed an uptick in headaches;
will identify an in-network provider for this;
discussed magnesium and B2 as preventatives;

118/2021:
Follow-up with neurology;
prior authorization for rimegepant pending;



Aftor Vi .. it C::11lr1Anr.A Tn Patient
         Case 4:25-cv-00911-DMR                            Document 1             Filed 01/28/25               Page 499 of 500

                                                                                                                           499



 595 Castro Street San Francisco, CA 94114             Phone: 888-663-6331 • Fax: 888-663-6331
END - Office Visit

BEGIN • Office Visit
 Ch'18f Co     I · t REMOTE VISIT 10-11-2021: ANXIETY, DEPRESSION, PANIC
             mp am DISORDER
 Note Type       Office Visit
 Date of Service Mon Oct 11 2021 @ 10:25 AM
 Created By      Emanuel Vargis, MD (NPI: 1962478495)
 Signed By       Emanuel Vargis, MD (NPI: 1962478495)
 Date Signed     Mon Oct 11 2021 @ 10:52 AM



Subjective


Confirmed name and date of birth with patient
Patient verbally consented to virtual care
Visit held virtually due to efforts to reduce the spread of the COVID-19 virus

Presents to discuss ongoing issues (family);
Recent increase in stress and anxiety stemming from taking care of his elderly mother;
Other family members are triggering worsening of his symptoms and leaves him feeling overwhelmed;
His psychiatrist switched him to bupropion ER 150 mg per day from escitalopram;
He anticipates returning to work in mid January 2022;

Separately, notes that his migraine headaches are back;
He had an extensive evaluation of this in the past;
Will identify an in-network provider for him to see;



Exam


I did not examine Michael today and spent the majority of the time reviewing and coordination the care plan with him.



Procedures & Services




Assessment & Plan


Generalized anxiety disorder - F41.1

5/17/2021:
Started seeing a psychiatrist who increased the dose of escitalopram to 1O mg per day;
Follow-up scheduled with psychiatry later this week;
Scheduled f/u with me in 2-3 weeks;

6/16/2021:
dose of escitalopram 5 mg (decreased from 1O mg) and clonazepam 0.5 mg qday was started;
Follow-up with psychiatry;
Scheduled follow-up with me in one month;
SSDI to be completed by psychiatry(??);

7/20/2021:
Repeat GAD-7 survey;
Continue escitalopram/clonazepam;
Follow-up with me in 2-4 weeks;
updated return to work date to be mid October in the EDD website;

7/23/2021:
recent GAD-7 score is 21 which is unchanged from 4/23;
Question efficacy of treatment versus need for more intense therapy

7/26/2021:
continue with escitalopram 15 mg po ODAY;
no changes planned with medication doses according to his psychiatrist;
presumed component of PTSD;
I asked him to inquire if other modalities are being considered for treatment such as EMDR;

10/11/2021 :
see A/P Severe depression;
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                                                                                                                                 500


•=·   one medical
595 Castro Street San Francisco, CA 94114             Phone: 888-663-6331 • Fax: 888-663-6331
Panic disorder - F41 .0

See A/P Severe depression

Severe depression - F32.2

5/17/2021 :
See A/P Generalized anxiety disorder

7/26/2021: See A/P Generalized anxiety disorder
check TSH, RPR

7/28/2021 :
F/U PHQ-9 score is 25;
no change from prior survey;
will discuss dose adjustment for LEXAPRO, but this is something that his psychiatrist needs to decide;

10/11/2021 :
Overall no change in his status;
Switched to bupropion from escitalopram per his psychiatrist;
EDD form to reflect anticipated return to work in mid January;
F/U with me in - 4 weeks;

Vestibular migraine - G43.809

Characterized by dizziness, tinnitus;

10/11/2021:
he has noticed an uplick in headaches;
will identify an in-network provider for this;
discussed magnesium and 82 as preventatives;



After Visit Guidance To Patient


Hi Michael,

Thank you for the updates today. For your headaches consider starting magnesium 400 mg once daily and riboflavin 400 mg once daily. These are
used as a means to prevent migraines.

END - Office Visit

BEGIN - Official Letter
               NON - COVID Excuse Note - Work / Sick /
Note Title
               School
Note Type      Official Letter
Date of
               Tue Sep 28 2021 @ 07:01 AM
Service
Created By     Emanuel Vergis , MD (NPI: 1962478495)
Signed By      Emanuel Vergis, MD (NPI: 1962478495)
Date Signed    Tue Sep 28 2021 @ 07:02 AM
